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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9
     KURT SKAU, on behalf of himself and on
10   behalf of others similarly situated,                 No.
11                                                        DEFENDANT JBS CARRIERS,
                               Plaintiff,                 INC.’S RENEWED NOTICE OF
12                                                        REMOVAL OF CIVIL ACTION
            v.
13
     JBS CARRIERS, INC., a Delaware corporation,
14

15                             Defendant.

16

17          PLEASE TAKE NOTICE that Defendant JBS CARRIERS, INC. (“JBS”) hereby

18   removes this action from the Superior Court of the State of Washington in and for the County

19   of King (the “Superior Court”) to this Court based on diversity of citizenship jurisdiction

20   pursuant to 28 U.S.C. § 1332 and supplemental jurisdiction under 28 U.S.C. § 1367. In support

21   of its removal, JBS alleges as follows:

22                                             Introduction

23          1.      On September 5, 2017, plaintiff Kurt Skau commenced a civil action in King

24   County Superior Court against JBS, King County Sup. Ct. No. 17-2-23242-4 SEA (the

25   “Action”). Pursuant to Local Civil Rule 101(b), a copy of the operative complaint (the

26   “Complaint” or “Cmplt.”) is separately attached to this Notice as Exhibit A. Copies of all

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     NOTICE OF REMOVAL – 1
                                                                            Davis Wright Tremaine LLP
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 1   process, pleadings, and orders served on JBS, except the Complaint, are attached to this Notice

 2   as Exhibit B. See 28 U.S.C. § 1446(a). The allegations of the Complaint are incorporated by

 3   reference without admitting the truth of any of them.

 4          2.      Plaintiff was employed by JBS from approximately November 9, 2015, to

 5   May 5, 2017, which is approximately 77 weeks. Cmplt. ¶ 3.1. Plaintiff alleges five causes of

 6   action against JBS: (1) failure to provide Plaintiff paid rest periods as required under

 7   Washington law, RCW 49.12.020; (2) failure to pay Plaintiff the Washington Minimum Wage

 8   purportedly required by RCW 49.46.090; (3) failure to pay Plaintiff for overtime hours at one-

 9   and-a-half times the regular rate as required by RCW 49.46.130; (4) failure to pay Plaintiff for

10   unpaid wages on termination in violation of RCW 49.48.010; and (5) willfully depriving

11   Plaintiff of wages in violation of RCW 49.52.050. Cmplt. ¶¶ 6.1-10.5. Plaintiff seeks double

12   damages under RCW 49.52.050 and 49.52.070 on the first four causes of action. Cmplt. ¶ 10.5.

13   Plaintiff also seeks attorneys’ fees under state law. Cmplt. ¶¶ 9.4 and 10.5; see also Prayer for

14   Relief. Plaintiff is represented by Toby J. Marshall and Maria Hoisington-Bingham of Terrell

15   Marshall Law Group PLLC, and Hardeep S. Rehki and Gregory A. Wolk of Rekhi & Wolk,

16   P.S.

17          3.      JBS is the only defendant and has been properly joined and served, and

18   therefore, no other defendant must join this removal. See 28 U.S.C. § 1446(b)(2)(A).

19          4.      This Notice is effected properly and timely pursuant to 28 U.S.C. § 1446(b)(3)

20   because it is filed within 30 days after JBS received a copy of an “order or other paper from

21   which it may first be ascertained that the case is one which is or has become removable.”

22          5.      Notice of this removal will be given properly to Plaintiff and the Superior Court

23   pursuant to 28 U.S.C. § 1446(d).

24          6.      JBS removes the claims of Plaintiff Skau in this Action pursuant to diversity

25   jurisdiction under 28 U.S.C. § 1332(a), and JBS removes the claims of the remaining putative

26   Plaintiffs pursuant to supplemental jurisdiction under 28 U.S.C. § 1367.

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 1                JBS’s First Notice of Removal and Plaintiff’s Motion to Remand

 2          7.      On October 5, 2017, JBS filed a Notice of Removal pursuant to 28 U.S.C. §

 3   1332 and 28 U.S.C. § 1446(b)(1). On November 2, 2017, Plaintiff filed a Motion to Remand. In

 4   the Motion to Remand, Plaintiff conceded JBS’s calculation of potential damages but argued

 5   that future attorneys’ fees may not be included in the amount in controversy calculation. Skau

 6   v. JBS Carriers, Inc., 2:17-cv-014990JCC (Nov. 2, 2017), p. 9 [Doc. 13].

 7          8.      On November 30, 2017, Judge Coughenour granted Plaintiff’s Motion to

 8   Remand. In so doing, the Court held that “an estimate of future attorney fees [may not] be used

 9   to satisfy the amount in controversy requirement” and, therefore, JBS failed to prove the

10   amount in controversy exceeded $75,000 by a preponderance of the evidence. Skau v. JBS

11   Carriers, Inc., 2:17-cv-014990JCC (Nov. 30, 2017), p. 4 [Doc. 21]. The difference between the

12   amount in controversy found by Judge Coughenour and the $75,000 jurisdictional threshold

13   was only $7,266.34. Id.

14                                      Change of Circumstances

15          9.      On April 20, 2018, the Ninth Circuit issued a decision in Chavez v. JPMorgan

16   Chase & Co., -- F. 3d. --, 2018 WL 1882908 (9th Cir. April 20, 2018). There, the court held

17   “that the amount in controversy is not limited to damages incurred prior to notice of removal,”

18   but that it “encompasses all relief a court may grant on [the] complaint if the plaintiff is

19   victorious.” Id. at *1. Further, the Ninth Circuit directed trial courts to “consider damages that

20   are claimed at the time the case is removed” and it stated, “[t]hat the amount in controversy is

21   assessed at the time of removal does not mean that the mere futurity of certain classes of

22   damages precludes them from being part of the amount in controversy.” Id. at * 3 (emphasis in

23   original). Thus, Chavez dictates that future damages, including reasonable attorneys’ fees that

24   may be awarded by the Court if Plaintiff prevails, must be considered when determining the

25   amount in controversy.

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 1          10.     The Ninth Circuit’s decision is a “relevant change of circumstances justifying a

 2   reconsideration of a successive, good faith, petition for removal.” Rea v. Michaels Stores Inc.,

 3   742 F.3d 1234, 1238 (9th Cir. 2014).

 4                  Diversity of Citizenship Jurisdiction Regarding Plaintiff Skau

 5          11.     Diversity of citizenship jurisdiction is met as to Plaintiff Skau’s claims because

 6   (a) the named Plaintiff is completely diverse from the named Defendant; and (b) upon

 7   information and belief, the amount in controversy for Plaintiff Skau’s claims exceeds $75,000.

 8                                          Complete Diversity

 9          12.     Plaintiff. JBS is informed and believes that the named Plaintiff is now, and was

10   at the time the Action was commenced, a citizen of the State of Washington within the meaning

11   of 28 U.S.C. § 1332(d)(2). See Cmplt. ¶ 3.1 (alleging Plaintiff resides in the State of

12   Washington).

13          13.     Defendant JBS.

14                  a.     JBS is now, and was at the time the action was commenced, a citizen of

15   a state other than Washington within the meaning of 28 U.S.C. § 1332(c)(1). That section

16   provides that a corporation shall be deemed to be a citizen of every state by which it has been

17   incorporated and of the state where it has its principal place of business. 28 U.S.C. §

18   1332(c)(1). A corporation’s principal place of business “refers to the place where the

19   corporation’s high level officers direct, control, and coordinate the corporation’s activities.”

20   Hertz Corp. v. Friend, 559 U.S. 77, 80 (2010).

21                  b.     JBS is now, and was at the time the action was commenced, incorporated

22   in the State of Delaware. Moreover, JBS’s principal place of business is now, and was at the

23   time this action was commenced, in the State of Colorado. See Complaint ¶ 3.2. Specifically,

24   JBS’s headquarters is located at Greeley, Colorado. Id. Accordingly, JBS is a citizen of the

25   states of Delaware and Colorado.

26          14.     Therefore, Plaintiff is diverse from Defendant, and complete diversity is met.

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 1             The Amount in Controversy Exceeds $75,000 on Plaintiff Skau’s Claims

 2          15.     Without making an admission of liability or damages with respect to any aspect

 3   of this case, and without taking a position as to the proper legal test(s) applicable to Plaintiff’s

 4   allegations, Defendant represents that it has a good faith belief that the amount placed in

 5   controversy by Plaintiff’s claims exceed the jurisdictional minimum under Section 1332(a).

 6   Defendant is not obliged to “research, state, and prove the plaintiff’s claims for damages.”

 7   McCraw v. Lyons, 863 F. Supp. 430. 434 (W.D. Ky. 1994). But Defendant can establish the

 8   amount in controversy by the allegations in the Complaint, or by setting forth facts in the notice

 9   of removal that demonstrate that the amount in controversy “more likely than not” exceeds the

10   jurisdictional minimum. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir.

11   1996). The District Court may consider whether it is facially apparent from the Complaint that

12   the jurisdictional amount is in controversy. Singer v. State Farm Mm. Auto Ins. Co., 116 F.3d

13   373, 377 (9th Cir. 1997); Conrad Assoc. v. Hartford Accident & Indent. Co., 994 F. Supp.

14   1196, 1198 (N.D. Cal. 1998). In addition to the contents of the removal petition, the Court

15   considers “summary- judgment-type evidence relevant to the amount in controversy at the time

16   of removal,” such as affidavits or declarations. Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117

17   (9th Cir. 2004); Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997).

18          16.     “[T]he amount in controversy is simply an estimate of the total amount in

19   dispute, not a prospective assessment of defendant’s liability.” Lewis v. Verizon Comm., Inc.,

20   627 F.3d 395, 400 (9th Cir. 2010). In measuring the amount in controversy, a court must

21   assume that the allegations of the Complaint are true and that a jury will return a verdict for

22   Plaintiff on all claims made in the Complaint. Kenneth Rothschild Trust v. Morgan Stanley

23   Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002). The ultimate inquiry is what amount

24   is put “in controversy” by Plaintiff’s complaint, not what Defendant will actually owe. Rippee

25   v. Boston Market Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005); see also Scherer v.

26   Equitable Life Assurance Society of the United States, 347 F.3d 394, 399 (2d Cir. 2003)

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 1   (recognizing that the ultimate or provable amount of damages is not what is considered when

 2   determining the amount in controversy; rather, it is the amount put in controversy by the

 3   plaintiff’s complaint).

 4          17.     Defendant provides the below calculations only to demonstrate that the amount

 5   in controversy in this case easily exceeds the minimum amount in controversy for diversity

 6   jurisdiction. As noted above, Defendant makes no admission of any liability or damages with

 7   respect to any aspect of this case and takes no position as to the proper legal test(s) to be

 8   applied to Plaintiff’s claims. Nor does Defendant waive its right to ultimately contest the proper

 9   amount of damages due, if any, should Plaintiff prevail with respect to any of his claims.

10          18.     Here, Plaintiff seeks unpaid wages, double damages for the unpaid wages, and

11   attorneys’ fees. Cmplt. ¶¶ 6.1 to 10.5; Prayer for Relief. The amount placed in controversy by

12   those claims “exceeds the sum or value of $75,000.” See 28 U.S.C. § 1332(a).

13          19.     Unpaid Wages: Based on the allegations in the Complaint and using JBS’s

14   payroll data for Plaintiff Skau, JBS calculates the allegedly unpaid wages at issue by Plaintiff’s

15   claims is $26,824.33.

16                  a.         Unpaid Overtime Wages: Plaintiff alleges JBS failed to compensate

17   him when he worked over 40 hours per week as required by RCW 49.46.130. See Cmplt. ¶¶ 7.1

18   to 7.5; 8.4. JBS estimates, based on Plaintiff’s available Hours of Service Logs (“HOS Logs”),

19   that Plaintiff worked an average of 49 hours per week. See Taylor Decl. ¶ 10, attached hereto as

20   Exhibit C. Based on Plaintiff’s gross pay over the same period divided by the average number

21   of hours Plaintiff worked over that period, JBS estimates that Plaintiff’s average hourly wage

22   was approximately $25.81 per hour. See Taylor Decl. ¶ 8, attached hereto as Exhibit C. Thus,

23   Plaintiff’s overtime wage is approximately $38.72 per hour (1.5 times $25.81).

24                  b.         Assuming for purposes of removal that Plaintiff worked an average of

25   nine hours of overtime every week during his approximately 77 weeks of employment at JBS,

26   Plaintiff would have worked a total of 693 overtime hours for which he was paid his regular

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 1   hourly rate of $25.81, approximately $12.91 less than his overtime rate ($38.72 minus $25.81).

 2   Accordingly, Plaintiff has put $8,946.63 of alleged overtime compensation at issue (693 hours

 3   x $12.91 per hour =$8,946.63).

 4                    c.     Rest Period: Plaintiff also alleges that JBS failed to pay him and the

 5   putative class for 10-minute rest breaks every four hours worked. Cmplt. ¶¶ 5.7 to 5.9; 6.1 to

 6   6.8. Plaintiff does not allege how many rest breaks JBS failed to pay. Assuming, for purposes

 7   of removal, Plaintiff averaged 49 hours of work per week, Plaintiff would be entitled to

 8   approximately 12 breaks per week (49 hours worked divided by 4 hours), and 924 breaks

 9   during the entirety of his employment (12 breaks per week x 77 weeks). Also, assuming

10   Plaintiff worked 49 hours per week, the missed rest breaks, based on his allegations, would

11   represent additional time worked and would be compensable at his overtime rate of $38.72 per

12   hour. Based on that rate, Plaintiff could recover $6.50 per 10-minute rest break ($38.72 per

13   hour divided by 6 equals approximately $6.45 per 10-minute period). Thus, assuming Plaintiff

14   was not paid for any rest breaks while employed by JBS, Plaintiff has put $5,959.80 of alleged

15   unpaid rest period time at issue (924 allegedly missed breaks x $6.45 per break).

16                    d.     Off-the-Clock Work: Plaintiff claims JBS required him to perform off-

17   the-clock work without compensation. Cmplt. ¶ 5.4. The Complaint does not allege how many

18   hours per week the plaintiff worked off the clock. Assuming, based on Plaintiff’s available

19   HOS Logs, and only for purposes of removal, Plaintiff worked off the clock for approximately

20   three hours per week from November 9, 2015, to May 5, 2017, Plaintiff worked approximately

21   231 hours off the clock. See Taylor Decl. ¶ 9, attached hereto as Exhibit C. Thus, applying

22   Plaintiff’s overtime1 hourly rate of $38.72, Plaintiff has put $8,944.32 of alleged off-the-clock

23   work time at issue ($38.72 per hour x 231 alleged hours worked).

24                    e.     Minimum Wage for Training and Orientation Work: Plaintiff claims

25       JBS did not pay minimum wage for time worked during driver orientation or driver training.

26   1
      Assuming, again, that Plaintiff worked 49 hours per week and was entitled to overtime, the
27   additional off-the clock work hours, as alleged, would qualify as overtime.
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 1   Cmplt. ¶¶ 5.3, 7.1 to 7.5. With regard to orientation, Plaintiff claims he was not paid minimum

 2   wage for mandatory orientation. Cmplt. ¶ 5.3. Orientation typically ranges from 24 to 32

 3   hours, depending on the driver. See McQuade Decl. ¶ 6, attached hereto as Exhibit D. In 2015

 4   – when Plaintiff began working for JBS – Washington’s minimum wage was $9.47 per hour.

 5   Assuming Plaintiff did not receive minimum wage for the period in which he attended

 6   orientation, Plaintiff has put as much as $303.04 of alleged unpaid orientation time at issue (32

 7   hours x $9.47 per hour).

 8                  f.       With regard to driver training, Plaintiff alleges he did not receive at least

 9   minimum wage for 15,000 miles of driver training. Cmplt. ¶ 5.3. Based on Plaintiff’s available

10   HOS Log, JBS estimates for purposes of removal only that Plaintiff traveled approximately 53

11   miles per hour while working for JBS (10,410 miles driven divided by 195.53 hours). See

12   Taylor Decl. ¶ 11, attached hereto as Exhibit C. Assuming Plaintiff maintained that average

13   during his training, Plaintiff spent approximately 282 hours completing his 15,000 miles of

14   driver training (15,000 miles divided by 53 miles per hour). Thus, applying Washington’s

15   2015 minimum wage, Plaintiff has put approximately $2,670.54 of alleged unpaid training

16   time at issue ($9.47 per hour x 282 training hours).

17                  g.       Total Amount at Issue for Alleged Unpaid Wages. Based on the above

18   calculations, JBS reasonably estimates that Plaintiff has placed $26,824.33 in unpaid wages at

19   issue in this matter.

20          20.     Double Damages. Plaintiff also seeks double damages under RCW 49.52.050,

21   which allows an employee to recover an additional amount equal to the unpaid wages for

22   willful violations. Cmplt. ¶¶ 10.1 to 10.5 & Prayer for Relief. Here, Plaintiff alleges that JBS’s

23   failure to pay the alleged rest periods, minimum wages, overtime wages, and final wages was

24   willful and triggers the double-damages provision. Id. ¶¶ 10.1 to 10.5. Plaintiff therefore seeks

25   an amount equal to the back wages allegedly owed—i.e., an additional $26,824.33—as double

26   damages. Adding that amount to the alleged unpaid wages portions brings the amount in

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 1   controversy to $53,648.66. Plaintiff did not dispute this estimate in his Motion to Remand.

 2   Skau v. JBS Carriers, Inc., 2:17-cv-014990JCC (Nov. 2, 2017), p. 9 [Doc. 13].

 3          21.     Attorneys’ Fees.

 4                  a.     The Ninth Circuit has held that “where an underlying statute authorizes

 5   an award of attorneys’ fees, either with mandatory or discretionary language, such fees may be

 6   included in the amount in controversy.” Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156

 7   (9th Cir. 1998). Courts have interpreted Galt to allow a removing defendant to add to the

 8   amount in controversy a reasonable estimate of plaintiff’s attorneys’ fees likely to be incurred

 9   through the resolution of the case. See, e.g., Brady v. Mercedes-Benz USA, Inc., 243 F. Supp.

10   2d 1004, 1010-11 (N.D. Cal. 2002) (“[A] reasonable estimate of fees likely to be incurred to

11   resolution is part of the benefit permissibly sought by the plaintiff and thus contributes to the

12   amount in controversy.”); Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1034-35 (N.D. Cal.

13   2002) (Under Galt, “the measure of [attorneys’] fees should be the amount that can reasonably

14   be anticipated at the time of removal, not merely those already incurred.”). A court may look

15   to “the amount of fees commonly incurred in similar litigation” to determine the reasonable

16   fees likely to be incurred. Brady, 243 F. Supp. 2d at 1011.

17                  b.     The statutes that underlie Plaintiff’s wage-and-hour claims allow a

18   successful plaintiff to recover his or her attorneys’ fees, and Plaintiff seeks those fees in the

19   Complaint. Cmplt., Prayer for Relief, § E (seeking attorneys’ fees); RCW 49.52.070 (allowing

20   employee to recover attorneys’ fees in connection with willfully withheld wages). Therefore,

21   the amount in controversy here includes a reasonable estimate of Plaintiff’s attorney fees.

22                  c.     Plaintiff’s attorneys’ estimated fees would likely alone satisfy the

23   amount in controversy requirement for diversity jurisdiction. In the Motion to Remand,

24   Plaintiff stated that, as of JBS’s first notice of removal on October 5, 2017, his attorneys had

25   incurred $14,085 in attorney fees, making the undisputed amount in controversy $67,733.66 as

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 1   of that date, which is only $7,267 short of the jurisdictional threshold. Skau v. JBS Carriers,

 2   Inc., 2:17-cv-014990JCC (Nov. 2, 2017), p. 9 [Doc. 13].

 3                  d.     Since that time, the parties have engaged in briefing regarding the

 4   Motion to Remand, as well as written discovery. It is likely that Plaintiff has incurred greater

 5   than $7,267 performing these tasks. Thus, Plaintiff’s currently incurred attorneys’ fees likely

 6   exceed the amount in controversy requirements.

 7                  e.     Regardless, the Ninth Circuit’s decision in Chavez, supra, makes clear

 8   that future damages, including attorney fees that may be awarded by the Court if Plaintiff

 9   prevails, may properly be considered when determining the amount in controversy. 2018 WL

10   1882908, at *3. It cannot be disputed that the Court could award Plaintiff greater than $7,267 in

11   attorney fees if he prevails in this matter. Indeed, Plaintiff’s current attorneys have received

12   significant fee awards in other matters. See e.g., Helde v. Knight Transp., Inc., No. C12-

13   0904RSL, 2016 U.S. Dist. LEXIS 56162 (W.D. Wash. Apr. 26, 2016) ($1.2 million fee award);

14   Chesbro v. Best Buy Stores, L.P., No. 2:10-CV-00774-RAJ, 2014 WL 11906648, at *2 (W.D.

15   Wash. Sept. 19, 2014) ($1,137,500 award); Wilbur v. City of Mount Vernon, No. C11-

16   1100RSL, 2014 WL 11961980 (W.D. Wash. Apr. 15, 2014) (Plaintiff’s counsel received an

17   award for attorney’s fees of $2,500,000); Bronzich, et al. v. Persels & Associates, LLC, C10-

18   0364 (E.D. Wash.) ($650,000 award); Milligan v. Toyota Motor Sales, U.S.A., Inc., No. C 09-

19   05418 RS, 2012 WL 10277179 (N.D. Cal. Jan. 6, 2012) ($806,000 award); Estate of Brown v.

20   Consumer Law Assocs., LLC, No. 11-CV-0194-TOR, 2013 WL 2285368, at *6 (E.D. Wash.

21   May 23, 2013) (awarding $373,668.05 in attorney’s fees and costs and noting “[b]ased upon

22   the fees and costs reportedly incurred by Plaintiffs to date, any [future] assessment could easily

23   exceed $1 million.”); Barnett v. Wal-Mart Stores, Inc., 2009 WL 2194864 (Wash. Super. Ct.

24   July 20, 2009) ($10,500,000 award, including costs).

25                  f.     Moreover, there are only 20 putative class members in this case. In light

26   of Plaintiff’s attorneys’ significant fee awards in other cases, even on a pro rata basis, the

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 1   attorney fees reasonably anticipated to be incurred by Plaintiff Skau will exceed $7,267 and

 2   surpass the required $75,000 threshold.

 3          22.     Conclusion. The calculations above demonstrate the amount in controversy far

 4   exceeds the $75,000 requirement.

 5                                      Supplemental Jurisdiction

 6          23.     Because one Plaintiff’s claims are properly before the Court under traditional

 7   diversity jurisdiction, the Court has supplemental jurisdiction over the remaining putative

 8   Plaintiffs’ claims pursuant to 28 U.S.C. § 1367. See Exxon Mobil Corp. v. Allapattah Servs.,

 9   Inc., 545 U.S. 546, 559 (2005).

10                                Venue and Intradistrict Assignment

11          24.     Venue of this Action exists in this District pursuant to 28 U.S.C. § 1441(a)

12   because the Superior Court is located within the District. Moreover, the case is properly venued

13   in the Seattle Division of this District because a substantial portion of the alleged events or

14   omissions that give rise to Plaintiff’s claims occurred in King County. See LCR 3(d); Cmplt. ¶

15   2.2.

16                                             Conclusion

17          25.     Plaintiff’s Complaint is properly before this Court under diversity of citizenship

18   jurisdiction and supplemental jurisdiction.

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 1         DATED this 10th day of May, 2018.

 2                                             Davis Wright Tremaine LLP
 3                                             By: /s/ N. Joseph Wonderly
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                                                   E-mail: JWatson@shermanhoward.com
15

16
                                               Co-counsel for Defendant JBS Carriers, Inc.
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     NOTICE OF REMOVAL – 12
                                                                           Davis Wright Tremaine LLP
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                                                                              1201 Third Avenue, Suite 2200
                                                                                Seattle, WA 98101-3045
                                                                         206.622.3150 main · 206.757.7700 fax
           Case 2:18-cv-00681-RAJ Document 1 Filed 05/10/18 Page 13 of 590



                                    CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on May 10, 2018, I electronically filed the foregoing with the Clerk
 3   of the Court using the CM/ECF system which will send notification of such filing to the
 4   following:
 5
                   TERRELL MARSHALL LAW GROUP LLC
 6                 Toby J. Marshall, WSBA # 32726
 7                 Email: tmarshall@terrellmarshall.com
                   Maria Hoisington-Bingham, WSBA # 51493
 8                 Email: mhoisington@terrellmarshall.com
                   936 North 34th Street, Suite 300
 9                 Seattle, Washington 98103-8869
                   Telephone: 206-816-6603
10
                   Facsimile: 206-319-5450
11
                   REKHI & WOLK, P.S.
12                 Hardeep S. Rekhi, WSBA #34579
                   Email: Hardeep@rekhiwolk.com
13                 Gregory A. Wolk, WSBA #28946
                   Email: greg@rekhiwolk.com
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                   529 Warren Avenue North, Suite 201
15                 Seattle, WA 98109
                   Telephone: (206) 388-5887
16                 Facsimile: (206) 577-3924
17
                                                  /s/ Valerie Macan
18                                                Davis Wright Tremaine LLP
                                                  1201 Third Avenue, Suite 2200
19
                                                  Seattle, WA 98101-3045
20                                                P: 206-622-3150
                                                  F: 206-757-7700
21                                                Email: @dwt.com
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     NOTICE OF REMOVAL – 13
                                                                               Davis Wright Tremaine LLP
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                                                                                  1201 Third Avenue, Suite 2200
                                                                                    Seattle, WA 98101-3045
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                      Exh. B-10
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 1                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
 2                                                                                    E-FILED
                                                                            CASE NUMBER: 17-2-23242-4 SEA
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 6                           SUPERIOR COURT OF THE STATE OF WASHINGTON
                                   IN AND FOR THE COUNTY OF KING
 7
      KURT SKAU, on behalf of himself and on
 8    behalf of others similarly situated,                  No. 17-2-23242-4 SEA
 9                                      Plaintiff,          NOTICE OF FILING NOTICE OF
                                                            REMOVAL
10              v.
11    JBS CARRIERS, INC., a Delaware corporation,
12                                      Defendant.
13
      TO:       The Court and all counsel of record:
14
                PLEASE TAKE NOTICE that on October 5, 2017, Defendant JBS Carriers, Inc. filed a
15
      Notice of Removal in the United States District Court for the Western District of Washington.
16
      A true and correct copy of the Notice is attached as Exhibit A.
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     NOTICE OF FILING NOTICE OF REMOVAL - 1
                                                                              Davis Wright Tremaine LLP
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                                                                                 1201 Third Avenue, Suite 2200
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                                                                            206.622.3150 main · 206.757.7700 fax
               Case 2:18-cv-00681-RAJ Document 1 Filed 05/10/18 Page 67 of 590




                                              DATED this 5th day of October, 2017.
 1                                            Davis Wright Tremaine LLP
 2
                                              By: /s/ Michael J. Killeen
 3                                                Michael J. Killeen, WSBA # 7837
                                                  N. Joseph Wonderly, WSBA # 51925
 4                                                1201 Third Avenue, Suite 2200
                                                  Seattle, WA 98101-3045
 5                                                Telephone: 206-622-3150
 6                                                Fax: 206-757-7700
                                                  E-mail: MikeKilleen@dwt.com
 7                                                E-mail: JoeWonderly@dwt.com

 8
                                              Sherman & Howard LLC
 9

10                                            By: /s/ Jonathon Watson
                                                  Jonathon Watson (Pro Hac Vice pending)
11                                                633 Seventeenth Street, Suite 3000
                                                  Denver, Colorado 80202
12                                                Telephone: 303-299-8286
                                                  Fax: 303-298-0940
13                                                E-mail: JWatson@shermanhoward.com

14    .
                                              Attorneys for Defendant JBS Carriers, Inc.
15

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     NOTICE OF FILING NOTICE OF REMOVAL - 2
                                                                          Davis Wright Tremaine LLP
     4843-7384-9169v.1 0036800-000002                                              L AW O F FI CE S
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                                                                        206.622.3150 main · 206.757.7700 fax
               Case 2:18-cv-00681-RAJ Document 1 Filed 05/10/18 Page 68 of 590




                                        DECLARATION OF SERVICE
 1

 2              The undersigned certifies under the penalty of perjury under the laws of the State of

 3    Washington that I am now and at all times herein mentioned, a citizen of the United States, a

 4    resident of the state of Washington, over the age of eighteen years, not a party to or interested
 5    in the above-entitled action, and competent to be a witness herein.
 6
                On this date I caused to be served in the manner noted below a copy of the document
 7
      entitled NOTICE OF FILING NOTICE OF REMOVAL on the following:
 8

 9                                                          ☐   Via Legal Messenger
         TERRELL MARSHALL LAW GROUP LLC
         Toby J. Marshall, WSBA # 32726                     ☐   U.S. Mail, postage prepaid
10                                                          ☐   Federal Express
         Email: tmarshall@terrellmarshall.com
                                                            ☐   Facsimile
11       Maria Hoisington-Bingham, WSBA # 51493             ☐   E-Serve Application
         Email: mhoisington@terrellmarshall.com             ☒   Email
12       936 North 34th Street, Suite 300
         Seattle, Washington 98103-8869
13
         Telephone: 206-816-6603
14       Facsimile: 206-319-5450

15       REKHI & WOLK, P.S.                                 ☐   Via Legal Messenger
         Hardeep S. Rekhi, WSBA #34579                      ☐   U.S. Mail, postage prepaid
16       Email: Hardeep@rekhiwolk.com                       ☐   Federal Express
                                                            ☐   Facsimile
         Gregory A. Wolk, WSBA #28946                       ☐   E-Serve Application
17       Email: greg@rekhiwolk.com                          ☒   Email
18       529 Warren Avenue North, Suite 201
         Seattle, WA 98109
19       Telephone: (206) 388-5887
         Facsimile: (206) 577-3924
20

21              DATED this 5th day of October, 2017.

22

23
                                                     /s/ Daniela Najera
24                                                   Daniela Najera, Legal Secretary

25

26

27
     NOTICE OF FILING NOTICE OF REMOVAL - 3
                                                                                   Davis Wright Tremaine LLP
     4843-7384-9169v.1 0036800-000002                                                       L AW O F FI CE S
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               Exhibit A-1
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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT SEATTLE
 9
      KURT SKAU, on behalf of himself and on
10    behalf of others similarly situated,                  No.
11                                                          DEFENDANT JBS CARRIERS,
                                        Plaintiff,          INC.’S NOTICE OF REMOVAL
12                                                          OF CIVIL ACTION
                v.
13
      JBS CARRIERS, INC., a Delaware corporation,
14

15                                      Defendant.

16

17              PLEASE TAKE NOTICE that Defendant JBS CARRIERS, INC. (“JBS”) hereby

18    removes this action from the Superior Court of the State of Washington in and for the County

19    of King (the “Superior Court”) to this Court based on diversity of citizenship jurisdiction

20    pursuant to 28 U.S.C. § 1332 and supplemental jurisdiction under 28 U.S.C. § 1367. In support

21    of its removal, JBS alleges as follows:

22              1.       On September 5, 2017, plaintiff Kurt Skau commenced a civil action in King

23    County Superior Court against JBS, King County Sup. Ct. No. 17-2-23242-4 SEA (the

24    “Action”).       Pursuant to Local Civil Rule 101(b), a copy of the operative complaint (the

25    “Complaint” or “Cmplt.”) is separately attached to this Notice as Exhibit A. Copies of all

26    process, pleadings, and orders served on JBS, except the Complaint, are attached to this Notice

27
                                                                              Davis Wright Tremaine LLP
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 1    as Exhibit B. See 28 U.S.C. § 1446(a). The allegations of the Complaint are incorporated by

 2    reference without admitting the truth of any of them.

 3              2.       As alleged in the Complaint, Plaintiff was employed by JBS from November 9,

 4    2015 to May 5, 2017, which is approximately 77 weeks. Cmplt. ¶ 3.1. Plaintiff alleges five

 5    causes of action against JBS: (1) failure to provide Plaintiff paid rest periods as required under

 6    Washington law, RCW 49.12.020; (2) failure to pay Plaintiff the Washington Minimum Wage

 7    purportedly required by RCW 49.46.090; (3) failure to pay Plaintiff for overtime hours at one-

 8    and-a-half times the regular rate as required by RCW 49.46.130; (4) failure to pay Plaintiff for

 9    unpaid wages on termination in violation of RCW 49.48.010; and (5) willfully depriving

10    Plaintiff of wages in violation of RCW 49.52.050. Cmplt. ¶¶ 6.1-10.5. Plaintiff seeks double

11    damages under RCW 49.52.050 and 49.52.070 on his claims. Cmplt. ¶ 10.5. Plaintiff also seeks

12    attorneys’ fees under state law. Cmplt. ¶¶ 9.4 and 10.5; see also Prayer for Relief. Plaintiff is

13    represented by Toby J. Marshall and Maria Hoisington-Bingham of Terrell Marshall Law

14    Group PLLC, and Hardeep S. Rehki and Gregory A. Wolk of Rekhi & Wolk, P.S.

15              3.       On September 6, 2017, Plaintiff effected service of process on JBS by personal

16    service on JBS’ agent for service of process, Corporation Service Company.

17              4.       JBS is the only defendant and has been properly joined and served, and

18    therefore, no other defendant must join this removal. See 28 U.S.C. § 1446(b)(2)(A).

19              5.       This Notice is effected properly and timely pursuant to 28 U.S.C. § 1446(b)(1)

20    because it is filed within 30 days after JBS was served with the Complaint in the Action.

21              6.       Notice of this removal will be given properly to Plaintiff and the Superior Court

22    pursuant to 28 U.S.C. § 1446(d).

23              7.       JBS removes the claims of Plaintiff Skau in this Action pursuant to diversity

24    jurisdiction under 28 U.S.C. § 1332(a), and JBS removes the claims of the remaining putative

25    Plaintiffs pursuant to supplemental jurisdiction under 28 U.S.C. § 1367.

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27
                                                                                   Davis Wright Tremaine LLP
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                                                                  Page372  of 590
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 1                       Diversity of Citizenship Jurisdiction Regarding Plaintiff Skau

 2              8.       Diversity of citizenship jurisdiction is met as to Plaintiff Skau’s claims because

 3    (a) the named Plaintiff is completely diverse from the named Defendant; and (b) upon

 4    information and belief, the amount in controversy for Plaintiff Skau’s claims exceeds $75,000.

 5                                               Complete Diversity

 6              9.       Plaintiff. JBS is informed and believes that the named Plaintiff is now, and was

 7    at the time the Action was commenced, a citizen of the State of Washington within the meaning

 8    of 28 U.S.C. § 1332(d)(2). See Cmplt. ¶ 3.1 (alleging Plaintiff resides in the State of

 9    Washington).

10              10.      Defendant JBS.

11                       a.        JBS is now, and was at the time the action was commenced, a citizen of

12    a state other than Washington within the meaning of 28 U.S.C. § 1332(c)(1). That section

13    provides that a corporation shall be deemed to be a citizen of every State by which it has been

14    incorporated and of the State where it has its principal place of business. 28 U.S.C. §

15    1332(c)(1). A corporation’s principal place of business “refers to the place where the

16    corporation’s high level officers direct, control, and coordinate the corporation’s activities.”

17    Hertz Corp. v. Friend, 559 U.S. 77, 80 (2010).

18                       b.        JBS is now, and was at the time the action was commenced, incorporated

19    in the State of Delaware. Moreover, JBS’ principal place of business is now, and was at the

20    time this action was commenced, in the State of Colorado. See Complaint ¶ 3.2. Specifically,

21    JBS’ headquarters is located at Greeley, Colorado. Id. Accordingly, JBS is a citizen of the

22    states of Delaware and Colorado.

23              11.      Therefore, Plaintiff is diverse from Defendant, and complete diversity is met.

24                   The Amount in Controversy Exceeds $75,000 on Plaintiff Skau’s Claims

25              12.      Without making an admission of liability or damages with respect to any aspect

26    of this case, and without taking a position as to the proper legal test(s) applicable to Plaintiff’s

27    allegations, Defendant represents that it has a good faith belief that the amount placed in
                                                                                    Davis Wright Tremaine LLP
     NOTICE OF REMOVAL - 3                                                                   L AW O F FI CE S
     4843-3963-9377v.3 0036800-000002                                                  1201 Third Avenue, Suite 2200
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 1    controversy by Plaintiff’s claims exceed the jurisdictional minimum under Section 1332(a).

 2    Defendant is not obliged to “research, state, and prove the plaintiff’s claims for damages.”

 3    McCraw v. Lyons, 863 F. Supp. 430. 434 (W.D. Ky. 1994). But Defendant can establish the

 4    amount in controversy by the allegations in the Complaint, or by setting forth facts in the notice

 5    of removal that demonstrate that the amount in controversy “more likely than not” exceeds the

 6    jurisdictional minimum. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir.

 7    1996). The District Court may consider whether it is facially apparent from the Complaint that

 8    the jurisdictional amount is in controversy. Singer v. State Farm Mm. Auto Ins. Co., 116 F.3d

 9    373, 377 (9th Cir. 1997); Conrad Assoc. v. Hartford Accident & Indent. Co., 994 F. Supp.

10    1196, 1198 (N.D. Cal. 1998). In addition to the contents of the removal petition, the Court

11    considers “summary-judgment-type evidence relevant to the amount in controversy at the time

12    of removal,” such as affidavits or declarations. Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117

13    (9th Cir. 2004); Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 377 (9th Cir. 1997).

14              13.      “[T]he amount in controversy is simply an estimate of the total amount in

15    dispute, not a prospective assessment of defendant’s liability.” Lewis v. Verizon Comm., Inc.,

16    627 F.3d 395, 400 (9th Cir. 2010). In measuring the amount in controversy, a court must

17    assume that the allegations of the Complaint are true and that a jury will return a verdict for

18    Plaintiff on all claims made in the Complaint. Kenneth Rothschild Trust v. Morgan Stanley

19    Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal. 2002). The ultimate inquiry is what amount

20    is put “in controversy” by Plaintiff’s complaint, not what Defendant will actually owe. Rippee

21    v. Boston Market Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005); see also Scherer v.

22    Equitable Life Assurance Society of the United States, 347 F.3d 394, 399 (2d Cir. 2003)

23    (recognizing that the ultimate or provable amount of damages is not what is considered when

24    determining the amount in controversy; rather, it is the amount put in controversy by the

25    plaintiff’s complaint).

26              14.      Defendant provides the below calculations only to demonstrate that the amount

27    in controversy in this case easily exceeds the minimum amount in controversy for diversity
                                                                                 Davis Wright Tremaine LLP
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 1    jurisdiction. As noted above, Defendant makes no admission of any liability or damages with

 2    respect to any aspect of this case, and takes no position as to the proper legal test(s) to be

 3    applied to Plaintiff’s claims. Nor does Defendant waive its right to ultimately contest the proper

 4    amount of damages due, if any, should Plaintiff prevail with respect to any of his claims.

 5              15.      Here, Plaintiff seeks unpaid wages, double damages for the unpaid wages, and

 6    attorneys’ fees. Cmplt. ¶¶ 6.1 to 10.5; Prayer for Relief. The amounts placed in controversy by

 7    those claims “exceeds the sum or value of $75,000.” See 28 U.S.C. § 1332(a).

 8              16.      Unpaid Wages: Based on the allegations in the Complaint and using JBS’

 9    payroll data for Plaintiff Skau, JBS calculates the allegedly unpaid wages at issue by Plaintiff’s

10    claims is $26,824.33.

11                       a.        Unpaid Overtime Wages: Plaintiff alleges JBS failed to compensate

12    him when he worked over 40 hours per week as required by RCW 49.46.130. See Cmplt. ¶¶ 7.1

13    to 7.5; 8.4. JBS estimates, based on Plaintiff’s available Hours of Service Logs (“HOS Logs”),

14    that Plaintiff worked an average of 49 hours per week. See Taylor Decl. ¶ 10, attached hereto as

15    Exhibit C. Based on Plaintiff’s gross pay over the same period divided by the average number

16    of hours Plaintiff worked over that period, JBS estimates that Plaintiff’s average hourly wage

17    was approximately $25.81 per hour. See Taylor Decl. ¶ 8, attached hereto as Exhibit C. Thus,

18    Plaintiff’s overtime wage is approximately $38.72 per hour (1.5 times $25.81).

19                       b.        Assuming for purposes of removal that Plaintiff worked an average of 9

20    hours of overtime every week during his approximately 77 weeks of employment at JBS,

21    Plaintiff would have worked a total of 693 overtime hours for which he was paid his regular

22    hourly rate of $25.81, approximately $12.91 less than his overtime rate ($38.72 minus $25.81).

23    Accordingly, Plaintiff has put $8,946.63 of alleged overtime compensation at issue (693 hours

24    x $12.91 per hour =$8,946.63).

25                       c.        Rest Periods: Plaintiff also alleges that JBS failed to pay him and the

26    putative class for ten-minute rest breaks every four hours worked. Cmplt. ¶¶ 5.7 to 5.9; 6.1 to

27    6.8. Plaintiff does not allege how many rest breaks JBS failed to pay. Assuming, for purposes
                                                                                      Davis Wright Tremaine LLP
     NOTICE OF REMOVAL - 5                                                                     L AW O F FI CE S
     4843-3963-9377v.3 0036800-000002                                                    1201 Third Avenue, Suite 2200
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 1    of removal, Plaintiff averaged 49 hours of work per week, Plaintiff would be entitled to 12

 2    breaks per week (49 hours worked divided by 4 hours), and 924 breaks during the entirety of

 3    his employment (12 breaks per week x 77 weeks). Also, assuming Plaintiff worked 49 hours

 4    per week, the missed rest breaks, based on his allegations, would represent additional time

 5    worked and would be compensable at his overtime rate of $38.72 per hour. Based on that rate,

 6    Plaintiff could recover $6.50 per ten-minute rest break ($38.72 per hour divided by 6 equals

 7    approximately $6.45 per ten minute period). Thus, assuming Plaintiff was not paid for any rest

 8    breaks while employed by JBS, Plaintiff has put $5,959.80 of alleged unpaid rest period time at

 9    issue (924 allegedly missed breaks x $6.45 per break).

10                       d.        Off-the-Clock Work: Plaintiff claims JBS required him to perform off-

11    the-clock work without compensation. Cmplt. ¶ 5.4. The Complaint does not allege how many

12    hours per week the plaintiff worked off the clock. Assuming, based on Plaintiff’s available

13    HOS Logs, and only for purposes of removal, Plaintiff worked off the clock for approximately

14    three hours per week from November 9, 2015 to May 5, 2017, Plaintiff worked approximately

15    231 hours off the clock. See Taylor Decl. ¶ 9, attached hereto as Exhibit C. Thus, applying

16    Plaintiff’s overtime1 hourly rate of $38.72, Plaintiff has put $8,944.32 of alleged off-the-clock

17    work time at issue ($38.72 per hour x 231 alleged hours worked).

18                       e.        Minimum Wage for Training and Orientation Work: Plaintiff claims

19        JBS did not pay minimum wage for time worked during driver orientation or driver training.

20        Cmplt. ¶¶ 5.3, 7.1 to 7.5. With regard to orientation, Plaintiff claims he was not paid minimum

21        wage for mandatory orientation. Cmplt. ¶ 5.3. Orientation typically ranges from 24 to 32

22        hours, depending on the driver. See McQuade Decl. ¶ 6, attached hereto as Exhibit D. In 2015

23        – when Plaintiff began working for JBS – Washington’s minimum wage was $9.47 per hour.

24        Assuming Plaintiff did not receive minimum wage for the period in which he attended

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       Assuming, again, that Plaintiff worked 49 hours per week and was entitled to overtime, the additional off-the-
27    clock work hours, as alleged, would qualify as overtime.
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 1     orientation, Plaintiff has put as much as $303.04 of alleged unpaid orientation time at issue (32

 2     hours x $9.47 per hour).

 3                       f.        With regard to driver training, Plaintiff alleges he did not receive at least

 4     minimum wage for 15,000 miles of driver training. Cmplt. ¶ 5.3. Based on Plaintiff’s available

 5     HOS Log, JBS estimates for purposes of removal only that Plaintiff traveled approximately 53

 6     miles per hour while working for JBS (10,410 miles driven divided by 195.53 hours). See

 7     Taylor Decl. ¶ 11, attached hereto as Exhibit C. Assuming Plaintiff maintained that average

 8     during his training, Plaintiff spent approximately 282 hours completing his 15,000 miles of

 9     driver training (15,000 miles divided by 53 miles per hour). Thus, applying Washington’s

10     2015 minimum wage, Plaintiff has put approximately $2,670.54 of alleged unpaid training

11     time at issue ($9.47 per hour x 282 training hours).

12                       g.        Total Amount at Issue for Alleged Unpaid Wages. Based on the above

13     calculations, JBS reasonably estimates that Plaintiff has placed $26,824.33 in unpaid wages at

14     issue in this matter.

15              17.      Double Damages. Plaintiff also seeks double damages under RCW 49.52.050,

16    which allows an employee to recover an additional amount equal to the unpaid wages for

17    willful violations. Cmplt. ¶¶ 10.1 to 10.5 & Prayer for Relief. Here, Plaintiff alleges that JBS’

18    failure to pay the alleged rest periods, minimum wages, overtime wages, and final wages was

19    willful and triggers the double-damages provision. Id. ¶¶ 10.1 to 10.5. Plaintiff therefore seeks

20    an amount equal to the back wages allegedly owed—i.e., an additional $26,824.33—as double

21    damages. Adding that amount to the alleged unpaid wages portions brings the amount in

22    controversy to $53,648.66.

23              18.      Attorneys’ Fees.

24                       a.        The Ninth Circuit has held that “where an underlying statute authorizes

25    an award of attorney’ fees, either with mandatory or discretionary language, such fees may be

26    included in the amount in controversy.” Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156

27    (9th Cir. 1998). Courts have interpreted Galt to allow a removing defendant to add to the
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 1    amount in controversy a reasonable estimate of plaintiff’s attorneys’ fees likely to be incurred

 2    through the resolution of the case. See, e.g., Brady v. Mercedes-Benz USA, Inc., 243 F. Supp.

 3    2d 1004, 1010-11 (N.D. Cal. 2002) (“[A] reasonable estimate of fees likely to be incurred to

 4    resolution is part of the benefit permissibly sought by the plaintiff and thus contributes to the

 5    amount in controversy.”); Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1034-35 (N.D. Cal.

 6    2002) (Under Galt, “the measure of [attorneys’] fees should be the amount that can reasonably

 7    be anticipated at the time of removal, not merely those already incurred.”). A court may look

 8    to “the amount of fees commonly incurred in similar litigation” to determine the reasonable

 9    fees likely to be incurred. Brady, 243 F. Supp. 2d at 1011.

10                       b.        The statutes that underlie Plaintiff’s wage-and-hour claims allow a

11    successful plaintiff to recover his or her attorneys’ fees, and plaintiff seeks those fees in the

12    Complaint. Cmplt., Prayer for Relief, § E (seeking attorneys’ fees); RCW 49.52.070 (allowing

13    employee to recover attorneys’ fees in connection with willfully withheld wages). Therefore,

14    the amount in controversy here includes a reasonable estimate of Plaintiff’s attorney fees.

15                       c.        Plaintiff’s attorneys’ estimated fees would likely alone satisfy the

16    amount in controversy requirement for diversity jurisdiction. For example, in two prior cases

17    settled by Plaintiff’s counsel, the Terrell Marshall Law Group, in the Western District of

18    Washington, Mr. Marshall billed over $79,000 and $86,000, respectively, before a Notice of

19    Removal was even filed. See Plaintiff’s Attorney’s Time Entries in Helde v. Knight Transp.,

20    Inc., No. C12-0904RSL, 2016 U.S. Dist. LEXIS 56162 (W.D. Wash. Apr. 26, 2016) (Time

21    sheet attached hereto as Exhibit E); Wilbur, et al. v. City of Mount Vernon, et al., C11-1100

22    RSL (W.D. Wash.) (April 2014) (Time sheet attached hereto as Exhibit F). In fact, in Wilbur,

23    all of plaintiffs’ attorneys recorded a total of $136,000 in fees before the defendant filed a

24    notice of removal (the $136,000 total includes Mr. Marshall’s fees of $86,213 referenced

25    above.) See Time Sheet Attached Hereto as Exhibit F. Assuming Mr. Marshall and the three

26    additional Plaintiffs’ attorneys have recorded similar hours here, attorney’s fees alone would

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 1    satisfy the amount in controversy requirements. Of course, Plaintiff’s attorneys’ fees will only

 2    increase as this matter is further litigated.

 3              19.      Conclusion. The calculations above demonstrate the amount in controversy far

 4    exceeds the $75,000 requirement.

 5                                          Supplemental Jurisdiction

 6              20.      Because one Plaintiff’s claims are properly before the Court under traditional

 7    diversity jurisdiction, the Court has supplemental jurisdiction over the remaining putative

 8    Plaintiffs’ claims pursuant to 28 U.S.C. § 1367. See Exxon Mobil Corp. v. Allapattah Servs.,

 9    Inc., 545 U.S. 546, 559 (2005).

10                                      Venue and Intradistrict Assignment

11              21.      Venue of this Action exists in this District pursuant to 28 U.S.C. § 1441(a)

12    because the Superior Court is located within the District. Moreover, the case is properly

13    venued in the Seattle Division of this District because a substantial portion of the alleged events

14    or omissions that give rise to Plaintiff’s claims occurred in King County. See L.C.R. 3(d);

15    Cmplt. ¶ 2.2.

16                                                    Conclusion

17              22.      Plaintiff’s Complaint is properly before this Court under diversity of citizenship

18    jurisdiction and supplemental jurisdiction.

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 1              DATED this 5th day of October, 2017.

 2                                                 Davis Wright Tremaine LLP
 3
                                                   By: /s/ Michael J. Killeen
 4                                                     Michael J. Killeen, WSBA # 7837
                                                       N. Joseph Wonderly, WSBA # 51925
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 9
                                                   Sherman & Howard LLC
10

11                                                 By: /s/ Jonathon Watson
                                                       Jonathon Watson (Pro Hac Vice application
12                                                     forthcoming)
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14                                                     Fax: 303-298-0940
15                                                     E-mail: JWatson@shermanhoward.com

16    .
                                                   Attorneys for Defendant JBS Carriers, Inc.
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                                        CERTIFICATE OF SERVICE
 1

 2              I hereby declare under penalty of perjury under the laws of the State of Washington that
 3    on October 5, 2017, I electronically filed the foregoing with the Clerk of the Court using the
 4    CM/ECF system and served a copy of such filing to the following in the manner noted below:
 5
         TERRELL MARSHALL LAW GROUP LLC                     ☐   Via Legal Messenger
 6
         Toby J. Marshall, WSBA # 32726                     ☐   U.S. Mail, postage prepaid
 7       Email: tmarshall@terrellmarshall.com               ☐   Federal Express
         Maria Hoisington-Bingham, WSBA # 51493
                                                            ☐   Facsimile
 8       Email: mhoisington@terrellmarshall.com
         936 North 34th Street, Suite 300                   ☐   E-Serve Application
 9       Seattle, Washington 98103-8869                     ☒   Email
         Telephone: 206-816-6603
10
         Facsimile: 206-319-5450
11
         REKHI & WOLK, P.S.                                 ☐   Via Legal Messenger
12       Hardeep S. Rekhi, WSBA #34579                      ☐   U.S. Mail, postage prepaid
         Email: Hardeep@rekhiwolk.com                       ☐   Federal Express
13       Gregory A. Wolk, WSBA #28946
                                                            ☐   Facsimile
14       Email: greg@rekhiwolk.com
         529 Warren Avenue North, Suite 201                 ☐   E-Serve Application
         Seattle, WA 98109                                  ☒   Email
15
         Telephone: (206) 388-5887
16       Facsimile: (206) 577-3924
17
                DATED this 5th day of October 2017.
18

19                                                   /s/ Daniela Najera
                                                     Daniela Najera, Legal Secretary
20

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                                                                                  Davis Wright Tremaine LLP
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                   Exhibit A
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 6                         SUPERIOR COURT FOR THE STATE OF WASHINGTON
                                     IN AND FOR KING COUNTY
 7

 8   KURT SKAU, on behalf of himself and on behalf
     of others similarly situated,
                                                          NO.
 9
                                Plaintiff,                CLASS ACTION COMPLAINT FOR
10
                                                          DAMAGES
11          v.

12   JBS CARRIERS, INC., a Delaware corporation,
13                              Defendant.
14

15          Plaintiff Kurt Skau brings this action on his own behalf and on behalf of all others
16   similarly situated and alleges as follows:
17                                           I. INTRODUCTION
18          1.1     Nature of Action. Plaintiff Kurt Skau brings this class action against JBS Carriers,
19   Inc. (“Defendant”). Defendant is a truckload transportation company that delivers goods
20   throughout the United States, including the state of Washington. Plaintiff alleges Defendant
21   has engaged in a common course of failing to compensate its Washington-based driver
22   employees for the paid rest breaks to which they are entitled, failing to compensate driver
23   employees for all hours of work, and failing to pay overtime wages.
24                                    II. JURISDICTION AND VENUE
25          2.1     Jurisdiction. Defendant is within the jurisdiction of this Court. Defendant
26   conducts business in Washington. Defendant hires drivers that reside in Washington and have
27
                                                                         TERRELL MARSHALL LAW GROUP PLLC
                                                                              936 North 34th Street, Suite 300
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 1   commercial driver’s licenses issued by the state of Washington. Thus, Defendant has obtained
 2   the benefits of the laws of Washington as well as Washington’s commercial and labor
 3   markets.
 4          2.2     Venue. Venue is proper in King County because Defendant operates and
 5   transacts business in King County, and Plaintiff performed work for Defendant in King County.
 6          2.3     Governing Law. The claims asserted on behalf of Plaintiff and Class members in
 7   this complaint are brought solely under state law causes of action and are governed
 8   exclusively by Washington law.
 9                                            III. PARTIES
10          3.1     Plaintiff Kurt Skau. Plaintiff worked for Defendant from approximately
11   November 9, 2015 to May 5, 2017. Plaintiff worked as part of Defendant’s Western Regional
12   fleet and regularly transported goods within the western part of the United States, including
13   the state of Washington. Plaintiff has a commercial driver’s license issued by the state of
14   Washington. During the duration of his employment, Plaintiff was a resident of Port Orchard,
15   Washington. Plaintiff performed work for Defendant in King County, Washington.
16          3.2     Defendant JBS Carriers, Inc. Defendant is a Delaware corporation that is
17   headquartered in Greeley, Colorado and does business in Washington. Defendant is an
18   interstate and regional truckload transportation company that primarily transports meat and
19   poultry products. Defendant maintains a fleet of over 600 trucks and 800 employees.
20   Defendant’s Western Regional fleet operates in the western part of the United States,
21   including the state of Washington. Defendant recruits individuals who reside in Washington to
22   work for the Western Regional fleet. Defendant has employed Plaintiff and hundreds of other
23   Washington-based drivers and has exercised control over how and when those employees
24   were paid.
25

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 1                                  IV. CLASS ACTION ALLEGATIONS
 2          4.1     Class Definition. Under Civil Rule 23(a) and (b)(3), Plaintiff brings this case as a
 3   class action against Defendant on behalf of the class defined as follows (the “Class”):
 4                  All current and former employees of JBS Carriers, Inc. who
                    worked as drivers for the company while residing in the state of
 5                  Washington at any time between September 5, 2014 and the
 6                  date of final disposition of this action.

 7   Excluded from the Class are any entity in which Defendant has a controlling interest or that

 8   has a controlling interest in Defendant, and Defendant’s legal representatives, assignees, and

 9   successors. Also excluded are the judge to whom this case is assigned and any member of the

10   judge’s immediate family.

11          4.2     Numerosity. Plaintiff believes that more than one hundred persons have

12   worked as driver employees for Defendant while based in Washington during the proposed

13   class period. The Class members are so numerous that joinder of all members is impracticable.

14   Moreover, the disposition of the claims of the Class in a single action will provide substantial

15   benefits to all parties and the Court.

16          4.3     Commonality. There are numerous questions of law and fact common to

17   Plaintiff and Class members. These questions include, but are not limited to, the following:

18                  a.      Whether Defendant has engaged in a common course of failing to pay

19                          Class members at no less than minimum wage for all hours spent in

20                          mandatory orientation and driver training;

21                  b.      Whether Defendant has engaged in a common course of failing to pay

22                          Class members at no less than minimum wage for all non-driving work

23                          performed;

24                  c.      Whether Defendant has engaged in a common course of failing to pay

25                          Class members overtime compensation for hours worked beyond 40 in

26                          a week;

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 1                  d.      Whether Defendant has engaged in a common course of failing to
 2                          separately pay Class members for rest breaks, whether received or not;
 3                  e.      Whether Defendant has engaged in a common course of failing to keep
 4                          true and accurate time records for all hours worked by Class members;
 5                  f.      Whether Defendant’s failure to pay all wages owed to Class members
 6                          was willful;
 7                  g.      Whether Defendant has violated RCW 49.12.020;
 8                  h.      Whether Defendant has violated WAC 296-126-092;
 9                  i.      Whether Defendant has violated RCW 49.46.090;
10                  j.      Whether Defendant has violated RCW 49.46.130;
11                  k.      Whether Defendant has violated WAC 296-128-012;
12                  l.      Whether Defendant has violated RCW 49.46.040;
13                  m.      Whether Defendant has violated WAC 296-128-010;
14                  n.      Whether Defendant has violated WAC 296-128-011;
15                  o.      Whether Defendant has violated WAC 296-128-020;
16                  p.      Whether Defendant has violated WAC 296-126-040;
17                  q.      Whether Defendant has violated WAC 296-126-050;
18                  r.      Whether Defendant has violated RCW 49.48.010;
19                  s.      Whether Defendant has violated RCW 49.52.050; and
20                  t.      The nature and extent of Class-wide injury and the measure of
21                          compensation for such injury.
22          4.4     Typicality. Plaintiff’s claims are typical of the claims of the Class. Plaintiff has
23   performed work for Defendant as a driver employee while residing in the state of Washington
24   and is thus a member of the Class. Plaintiff’s claims, like the claims of the Class, arise out of
25   the same common course of conduct by Defendant and are based on the same legal and
26   remedial theories.
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 1           4.5    Adequacy. Plaintiff will fairly and adequately protect the interests of the Class.
 2   Plaintiff has retained competent and capable attorneys who have significant experience in
 3   complex and class action litigation, including employment law. Plaintiff and his counsel are
 4   committed to prosecuting this action vigorously on behalf of the Class and have the financial
 5   resources to do so. Neither Plaintiff nor his counsel have interests that are contrary to or that
 6   conflict with those of the Class.
 7           4.6    Predominance. Defendant has engaged in a common course of wage and hour
 8   abuse toward Plaintiff and members of the Class. The common issues arising from this
 9   conduct that affect Plaintiff and members of the Class predominate over any individual issues.
10   Adjudication of these common issues in a single action has important and desirable
11   advantages of judicial economy.
12           4.7    Superiority. Plaintiff and Class members have suffered and will continue to
13   suffer harm and damages as a result of Defendant’s unlawful and wrongful conduct. Absent a
14   class action, however, most Class members likely would find the cost of litigating their claims
15   prohibitive. Class treatment is superior to multiple individual suits or piecemeal litigation
16   because it conserves judicial resources, promotes consistency and efficiency of adjudication,
17   provides a forum for small claimants, and deters illegal activities. There will be no significant
18   difficulty in the management of this case as a class action. The Class members are readily
19   identifiable from Defendant’s records.
20                             V. SUMMARY OF FACTUAL ALLEGATIONS
21           5.1    Common Course of Conduct: Failure to Pay for All Hours of Work. Defendant
22   has engaged in a common course of failing to pay Plaintiff and Class members for each hour
23   worked.
24           5.2    Defendant pays its drivers a piece rate for driving work—specifically, a certain
25   amount for each mile driven. Defendant also pays drivers a piece rate for certain other
26   activities.
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                                                                         TERRELL MARSHALL LAW GROUP PLLC
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 1           5.3     Defendant has engaged in a common course of failing to pay Plaintiff and Class
 2   members at least minimum wage for all hours of work performed during mandatory
 3   orientation and driver training. Defendant requires new drivers to attend a mandatory
 4   orientation at Defendant’s headquarters in Greeley, Colorado. Defendant pays drivers a set
 5   weekly rate for this orientation. Defendant also requires new drivers to complete at least
 6   15,000 miles of driver training. Defendant pays drivers a set weekly rate for hours spent
 7   training.
 8           5.4     Defendant has engaged in a common course of failing to pay Plaintiff and Class
 9   members at least minimum wage for all hours spent performing many work activities,
10   including but not limited to pickups, deliveries, waiting and detention time, fueling, scaling,
11   loading, washing and cleaning trailers and tractors, unloading, pre-trip and post-trip
12   inspections, communicating with dispatch, completing paperwork, completing online training
13   courses, assisting new driver orientation, transporting drivers to and from Defendant’s
14   facilities, and moving trailers at Defendant’s facilities.
15           5.5     Defendant has engaged in a common course of encouraging Plaintiff and Class
16   members to perform non-driving work activities while off the clock and in “off-duty” or
17   “sleeper berth” status.
18           5.6     Defendant has had actual or constructive knowledge of the facts set forth in
19   Paragraphs 5.1 through 5.5.
20           5.7     Common Course of Conduct: Failure to Provide Paid Rest Breaks. Defendant
21   has engaged in a common course of failing to provide Plaintiff and Class members with a paid
22   ten-minute rest break for every four hours of work.
23           5.8     Defendant has engaged in a common course of failing to separately pay Class
24   members for rest breaks, whether received or not, at their average hourly rate.
25           5.9     Defendant has had actual or constructive knowledge of the facts set forth in
26   Paragraphs 5.7 through 5.8.
27
                                                                        TERRELL MARSHALL LAW GROUP PLLC
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 1          5.10    Common Course of Conduct: Failure to Pay Overtime Wages. Defendant has
 2   engaged in a common course of failing to pay overtime wages to Plaintiff and Class members.
 3          5.11    Defendant has engaged in a common course of failing to pay overtime wages to
 4   Plaintiff and Class members for hours worked in excess of forty hours per week. Defendant’s
 5   piece-rate compensation system fails to pay drivers the reasonable equivalent of overtime
 6   pay.
 7          5.12    Defendant has had actual or constructive knowledge of the facts set forth in
 8   Paragraphs 5.10 through 5.11.
 9          5.13    Common Course of Conduct: Failure to Maintain and Provide Accurate Wage
10   Statements. Defendant has engaged in a common course of failing to keep true and accurate
11   time records for all hours worked by Plaintiff and Class members.
12          5.14    Defendant has engaged in a common course of failing to provide proper payroll
13   documents to Plaintiff and Class members.
14          5.15    Defendant has had actual or constructive knowledge of the facts set forth in
15   Paragraphs 5.13 through 5.14.
16                                   VI. FIRST CLAIM FOR RELIEF
                         (Violations of RCW 49.12.020 and WAC 296-126-092 —
17
                                  Failure to Provide Paid Rest Periods)
18
            6.1     Plaintiff realleges and incorporates by reference each and every allegation set
19
     forth in the preceding paragraphs.
20
            6.2     RCW 49.12.010 provides that “[t]he welfare of the state of Washington
21
     demands that all employees be protected from conditions of labor which have a pernicious
22
     effect on their health. The state of Washington, therefore, exercising herein its police and
23
     sovereign power declares that inadequate wages and unsanitary conditions of labor exert
24
     such pernicious effect.”
25

26

27
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                                                                           Seattle, Washington 98103-8869
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 1          6.3     RCW 49.12.020 provides that “[i]t shall be unlawful to employ any person in
 2   any industry or occupation within the state of Washington under conditions of labor
 3   detrimental to their health.”
 4          6.4     Under RCW 49.12.005 and WAC 296-126-002, “conditions of labor” “means
 5   and includes the conditions of rest . . . periods” for employees.
 6          6.5     WAC 296-126-092 provides that employees shall be allowed certain paid rest
 7   periods during their shifts.
 8          6.6     Under Washington law, Defendant has an obligation to separately pay
 9   employees for each rest break to which they are entitled, regardless of whether the
10   employees receive those rest breaks.
11          6.7     By the actions alleged above, Defendant has violated the provisions of RCW
12   49.12.020 and WAC 296-126-092.
13          6.8     As a result of the unlawful acts of Defendant, Plaintiff and members of the
14   Class have been deprived of compensation in amounts to be determined at trial, and Plaintiff
15   and members of the Class are entitled to the recovery of such damages, including interest
16   thereon, attorneys’ fees under RCW 49.48.030, and costs.
17                                 VII. SECOND CLAIM FOR RELIEF
                  (Violation of RCW 49.46.090 — Payment of Wages Less than Entitled)
18
            7.1     Plaintiff realleges and incorporates by reference each and every allegation set
19
     forth in the preceding paragraphs.
20
            7.2     RCW 49.46.020 provides that every employer shall pay its employees not less
21
     than the minimum hourly wage in effect at the time the work is performed.
22
            7.3     RCW 49.46.090 provides that “[a]ny employer who pays any employee less
23
     than wages to which such employee is entitled under or by virtue of [the Minimum Wage Act],
24
     shall be liable to such employee affected for the full amount of such wage rate, less any
25
     amount actually paid to such employee by the employer, and for costs and such reasonable
26
     attorney's fees as may be allowed by the court.”
27
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 1          7.4     By the actions alleged above, Defendant has violated the provisions of RCW
 2   49.46.090.
 3          7.5     As a result of the unlawful acts of Defendant, Plaintiff and members of the
 4   Class have been deprived of compensation in amounts to be determined at trial, and Plaintiff
 5   and members of the Class are entitled to the recovery of such damages, including interest
 6   thereon, as well as attorneys’ fees and costs under RCW 49.46.090.
 7                                  VIII. THIRD CLAIM FOR RELIEF
                    (Violations of RCW 49.46.130 – Failure to Pay Overtime Wages)
 8
            8.1     Plaintiff realleges and incorporate by reference each and every allegation set
 9
     forth in the preceding paragraphs.
10
            8.2     RCW 49.46.130 provides that “no employer shall employ any of his employees
11
     for a workweek longer than 40 hours unless such employee receives compensation for his
12
     employment in excess of the hours above specified at a rate not less than one and one-half
13
     times the regular rate at which he is employed.”
14
            8.3     RCW 49.46.130 (f) excludes an individual employed as a truck or bus driver who
15
     is subject to the provisions of the Federal Motor Carrier Act (49 U.S.C. Sec. 3101 et seq. and 49
16
     U.S.C. Sec. 10101 et seq.), if the compensation system under which the truck or bus driver is
17
     paid includes overtime pay, reasonably equivalent to that required by this subsection, for
18
     working longer than forty hours per week. Upon information and belief, Defendant did not
19
     employ a “reasonably equivalent” method to pay overtime to Plaintiff and Class members.
20
            8.4     WAC 296-128-012 provides a method for compensating truck drivers for
21
     overtime pay. Defendant did not compensate Plaintiff and Class members for overtime hours
22
     worked.
23
            8.5     By the actions alleged above, Defendant has violated the provisions of RCW
24
     49.46.130.
25
            8.6     As a result of the unlawful acts of Defendant, Plaintiff and members of the
26
     Class have been deprived of compensation in amounts to be determined at trial, and Plaintiff
27
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 1   and members of the Class are entitled to recovery of such damages, including interest
 2   thereon, as well as attorneys’ fees and costs under RCW 49.46.090.
 3                                  IX. FOURTH CLAIM FOR RELIEF
                    (Violation of RCW 49.48.010 — Unpaid Wages on Termination)
 4
            9.1     Plaintiff realleges and incorporates by reference each and every allegation set
 5
     forth in the preceding paragraphs.
 6
            9.2     RCW 49.48.010 provides that “[w]hen any employee shall cease to work for an
 7
     employer, whether by discharge or by voluntary withdrawal, the wages due him or her on
 8
     account of his or her employment shall be paid to him or her at the end of the established pay
 9
     period.” The statute further provides that “[i]t shall be unlawful for any employer to withhold
10
     or divert any portion of an employee’s wages . . . .”
11
            9.3     By the actions alleged above, Defendant has violated the provisions of RCW
12
     49.48.010 by failing to pay wages to Plaintiff and Class members for rest breaks, by failing to
13
     pay wages to Plaintiff and Class members for all hours of work, and by failing to pay overtime
14
     wages to Plaintiff and Class members.
15
            9.4     As a result of the unlawful acts of Defendant, Plaintiff and members of the
16
     Class have been deprived of compensation in amounts to be determined at trial, and Plaintiff
17
     and members of the Class are entitled to the recovery of such damages, including interest
18
     thereon, attorneys’ fees under RCW 49.48.030, and costs.
19
                                     X. FIFTH CLAIM FOR RELIEF
20
                     (Violation of RCW 49.52.050 — Willful Deprivation of Wages)
21
            10.1    Plaintiff realleges and incorporates by reference each and every allegation set
22
     forth in the preceding paragraphs.
23
            10.2    RCW 49.52.050(2) provides that “[a]ny employer or officer, vice principal or
24
     agent of any employer . . . who . . . [w]ilfully and with intent to deprive the employee of any
25
     part of his or her wages, shall pay any employee a lower wage than the wage such employer is
26

27
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 1   obligated to pay such employee by any statute, ordinance, or contract” shall be guilty of a
 2   misdemeanor.
 3          10.3    Defendant’s violations of RCW 49.12.020, WAC 296-126-092, RCW 49.46.090,
 4   RCW 49.46.130, and RCW 49.48.010 as discussed above, were willful and constitute violations
 5   of RCW 49.52.050.
 6          10.4    RCW 49.52.070 provides that any employer who violates the provisions of RCW
 7   49.52.050 shall be liable in a civil action for twice the amount of wages withheld, attorneys’
 8   fees, and costs.
 9          10.5    As a result of the willful, unlawful acts of Defendant, Plaintiff and members of
10   the Class have been deprived of compensation in amounts to be determined at trial and
11   Plaintiff and members of the Class are entitled to recovery of twice such damages, including
12   interest thereon, as well as attorneys’ fees and costs under RCW 49.52.070.
13                                        XI. PRAYER FOR RELIEF
14          WHEREFORE, Plaintiff, on his own and on behalf of the members of the Class, prays for
15   judgment against Defendant as follows:
16          A.      Certify the proposed Class;
17          B.      Appoint Plaintiff as representative of the Class;
18          C.      Appoint the undersigned attorneys as counsel for the Class;
19          D.      Aware compensatory and exemplary damages to Plaintiff and Class members
20                  for violation of Washington’s wage and hour laws, in amounts to be proven at
21                  trial;
22          E.      Award attorneys’ fees and costs to Plaintiff and Class members, as allowed by
23                  law;
24          F.      Award prejudgment and post-judgment interest to Plaintiff and Class members,
25                  as provided by law;
26

27
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 1          G.     Permit Plaintiff and members of the Class leave to amend the complaint to
 2                 conform to the evidence presented at trial; and
 3          H.     Grant such other and further relief as the Court deems necessary, just, and
 4                 proper.
 5          RESPECTFULLY SUBMITTED AND DATED this 5th day of September, 2017.
 6                                             TERRELL MARSHALL LAW GROUP PLLC
 7

 8                                             By: /s/ Toby J. Marshall, WSBA #32726
                                                  Toby J. Marshall, WSBA #32726
 9
                                                  Email: tmarshall@terrellmarshall.com
10                                                Maria Hoisington-Bingham, WSBA #51493
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17                                                529 Warren Avenue North, Suite 201
18                                                Seattle, Washington 98109
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19                                                Facsimile: (206) 577-3924
20                                             Attorneys for Plaintiff
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               Exhibit B-1
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                                                                                            KING COUNTY
                                                                                        SUPERIOR COURT CLERK
                                                                                               E-FILED
                                                                                     CASE NUMBER: 17-2-23242-4 SEA




                        IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                  IN AND FOR THE COUNTY OF KING

 Kurt Skau                                        NO.   17-2-23242-4 SEA
                                  Plaintiff(s),   ORDER SETTING CIVIL CASE SCHEDULE
 vs.
                                                  ASSIGNED JUDGE:     Galvan, Veronica Alicea, Dept. 21
 JBS Carries, Inc.
                              Respondent(s)       FILED DATE: 9/5/2017
                                                  TRIAL DATE: 9/4/2018
                                                  SCOMIS CODE: *ORSCS

A civil case has been filed in the King County Superior Court and will be managed by the Case Schedule on Page 3 as
ordered by the King County Superior Court Presiding Judge.

                                                     I. NOTICES

NOTICE TO PLAINTIFF: The Plaintiff may serve a copy of this Order Setting Case Schedule (Schedule) on the
Defendant(s) along with the Summons and Complaint/Petition. Otherwise, the Plaintiff shall serve the Schedule on the
Defendant(s) within 10 days after the later of: (1) the filing of the Summons and Complaint/Petition or (2) service of
the Defendant's first response to the Complaint/Petition, whether that response is a Notice of Appearance, a response,
or a Civil Rule 12 (CR 12) motion. The Schedule may be served by regular mail, with proof of mailing to be filed
promptly in the form required by Civil Rule 5 (CR 5).



          "I understand that I am required to give a copy of these documents to all parties in this case."




                    PRINT NAME                                                 SIGN NAME
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                                                 I. NOTICES (continued)

NOTICE TO ALL PARTIES:
All attorneys and parties should make themselves familiar with the King County Local Rules [KCLCR] -- especially
those referred to in this Schedule. In order to comply with the Schedule, it will be necessary for attorneys and parties to
pursue their cases vigorously from the day the case is filed. For example, discovery must be undertaken promptly in
order to comply with the deadlines for joining additional parties, claims, and defenses, for disclosing possible witnesses
[See KCLCR 26], and for meeting the discovery cutoff date [See KCLCR 37(g)].

CROSSCLAIMS, COUNTERCLAIMS AND THIRD PARTY COMPLAINTS:
A filing fee of $240 must be paid when any answer that includes additional claims is filed in an existing case.

KCLCR 4.2(a)(2)
A Confirmation of Joinder, Claims and Defenses or a Statement of Arbitrability must be filed by the deadline in the
schedule. The court will review the confirmation of joinder document to determine if a hearing is required. If a Show
Cause order is issued, all parties cited in the order must appear before their Chief Civil Judge.

PENDING DUE DATES CANCELED BY FILING PAPERS THAT RESOLVE THE CASE:
When a final decree, judgment, or order of dismissal of all parties and claims is filed with the Superior Court Clerk's
Office, and a courtesy copy delivered to the assigned judge, all pending due dates in this Schedule are automatically
canceled, including the scheduled Trial Date. It is the responsibility of the parties to 1) file such dispositive documents
within 45 days of the resolution of the case, and 2) strike any pending motions by notifying the bailiff to the assigned
judge.

Parties may also authorize the Superior Court to strike all pending due dates and the Trial Date by filing a Notice of
Settlement pursuant to KCLCR 41, and forwarding a courtesy copy to the assigned judge. If a final decree, judgment or
order of dismissal of all parties and claims is not filed by 45 days after a Notice of Settlement, the case may be dismissed
with notice.

If you miss your scheduled Trial Date, the Superior Court Clerk is authorized by KCLCR 41(b)(2)(A) to present an
Order of Dismissal, without notice, for failure to appear at the scheduled Trial Date.

NOTICES OF APPEARANCE OR WITHDRAWAL AND ADDRESS CHANGES:
All parties to this action must keep the court informed of their addresses. When a Notice of Appearance/Withdrawal or
Notice of Change of Address is filed with the Superior Court Clerk's Office, parties must provide the assigned judge
with a courtesy copy.

 ARBITRATION FILING AND TRIAL DE NOVO POST ARBITRATION FEE:
A Statement of Arbitrability must be filed by the deadline on the schedule if the case is subject to mandatory
arbitration and service of the original complaint and all answers to claims, counterclaims and cross -claims have been
filed. If mandatory arbitration is required after the deadline, parties must obtain an order from th e assigned judge
transferring the case to arbitration. Any party filing a Statement must pay a $220 arbitration fee. If a party seeks a
trial de novo when an arbitration award is appealed, a fee of $250 and the request for trial de novo must be filed with the
Clerk’s Office Cashiers.

NOTICE OF NON-COMPLIANCE FEES:
All parties will be assessed a fee authorized by King County Code 4A.630.020 whenever the Superior Court Clerk must
send notice of non-compliance of schedule requirements and/or Local Civil Rule 41.

              King County Local Rules are available for viewing at www.kingcounty.gov/courts/clerk.
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                                                                  II. CASE SCHEDULE


  √      CASE EVENTS                                                                                                 DATE
         Case Filed and Schedule Issued.                                                                            9/5/2017
   √     Last Day for Filing Statement of Arbitrability without a Showing of Good Cause for Late Filing [See       2/13/2018
         KCLMAR2.1(a) and Notices on page 2]. $220 Arbitration fee must be paid
   √     DEADLINE to file Confirmation of Joinder if not subject to Arbitration [See KCLCR 4.2(a) and              2/13/2018
         Notices on page 2]
         DEADLINE for Hearing Motions to Change Case Assignment Area [KCLCR 82(e)]                                 2/27/2018
         DEADLINE for Disclosure of Possible Primary Witnesses [See KCLCR 26(k)]                                    4/3/2018
         DEADLINE for Disclosure of Possible Additional Witnesses [KCLCR 26(k)]                                    5/15/2018
         DEADLINE for Jury Demand [See KCLCR 38(b)(2)]                                                             5/29/2018
         DEADLINE for Change in Trial Date [See KCLCR 40(e)(2)]                                                    5/29/2018
         DEADLINE for Discovery Cutoff [See KCLCR 37(g)]                                                           7/17/2018
         DEADLINE for Engaging in Alternative Dispute Resolution [See KCLCR16(b )]                                  8/7/2018
         DEADLINE for Exchange Witness & Exhibit Lists & Documentary Exhibits [See KCLCR 4(j)]                     8/14/2018
   √     DEADLINE to file Joint Confirmation of Trial Readiness [See KCLCR 16(a)(1)]                               8/14/2018
         DEADLINE for Hearing Dispositive Pretrial Motions [See KCLCR 56;CR56]                                     8/21/2018
   √     Joint Statement of Evidence [See KCLCR 4(k)]                                                              8/28/2018
         DEADLINE for filing Trial Briefs, Proposed Findings of Fact and Conclusions of Law and Jury               8/28/2018
         Instructions (Do not file proposed Findings of Fact and Conclusion of Law with the Clerk)
         Trial Date [See KCLCR 40]                                                                                  9/4/2018
  The √ indicates a document that must be filed with the Superior Court Clerk's Office by the date shown.


                                                                       III. ORDER

  Pursuant to King County Local Rule 4 [KCLCR 4], IT IS ORDERED that the parties shall comply with the schedule
  listed above. Penalties, including but not limited to sanctions set forth in Local Rule 4(g) and Rule 37 of the Superior
  Court Civil Rules, may be imposed for non-compliance. It is FURTHER ORDERED that the party filing this action
  must serve this Order Setting Civil Case Schedule and attachment on all other parties.




DATED:        9/5/2017
                                                                                       PRESIDING JUDGE
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                    IV. ORDER ON CIVIL PROCEEDINGS FOR ASSIGNMENT TO JUDGE

READ THIS ORDER BEFORE CONTACTING YOUR ASSIGNED JUDGE.
This case is assigned to the Superior Court Judge whose name appears in the caption of this case schedule. The
assigned Superior Court Judge will preside over and manage this case for all pretrial matters.

COMPLEX LITIGATION: If you anticipate an unusually complex or lengthy trial, please notify the assigned court
as soon as possible.

APPLICABLE RULES: Except as specifically modified below, all the provisions of King County Local Civil Rules 4
through 26 shall apply to the processing of civil cases before Superior Court Judges. The local civil rules can be found
at www.kingcounty.gov/courts/clerk/rules/Civil.

CASE SCHEDULE AND REQUIREMENTS : Deadlines are set by the case schedule, issued pursuant to Local Civil
Rule 4.

THE PARTIES ARE RESPONSIBLE FOR KNOWING AND COMPLYING WITH ALL DEADLINES
IMPOSED BY THE COURT’S LOCAL CIVIL RULES.

A. Joint Confirmation regarding Trial Readiness Report
No later than twenty one (21) days before the trial date, parties shall complete and file (with a copy to the assigned
judge) a joint confirmation report setting forth whether a jury demand has been filed, the expected duration of the trial,
whether a settlement conference has been held, and special pro blems and needs (e.g., interpreters, equipment).

The Joint Confirmation Regarding Trial Readiness form is available at www.kingcounty.gov/courts/scforms . If parties
wish to request a CR 16 conference, they must contact the assigned court. Plaintiff’s/petitioner’s counsel is responsible
for contacting the other parties regarding the report.

B. Settlement/Mediation/ADR
a. Forty five (45) days before the trial date, counsel for plaintiff/petitioner shall submit a written settlement
demand. Ten (10) days after receiving plaintiff’s/petitioner’s written demand, counsel for defendant/respondent shall
respond (with a counter offer, if appropriate).

b. Twenty eight (28) days before the trial date, a Settlement/Mediation/ADR conference shall have been
held. FAILURE TO COMPLY WITH THIS SETTLEMENT CONFERENCE REQUIREM ENT MAY RESULT IN
SANCTIONS.

C. Trial
Trial is scheduled for 9:00 a.m. on the date on the case schedule or as soon thereafter as convened by the court. The
Friday before trial, the parties should access the court’s civil standby calendar on the King County Superior Court
website www.kingcounty.gov/courts/superiorcourt to confirm the trial judge assignment.

MOTIONS PROCEDURES
A. Noting of Motions
Dispositive Motions: All summary judgment or other dispositive motions will be heard with oral argument before the
assigned judge. The moving party must arrange with the hearing judge a date and time for the hearing, consistent with
the court rules. Local Civil Rule 7 and Local Civil Rule 56 govern procedures for summary judgment or other motions
that dispose of the case in whole or in part. The local civil rules can be found at
www.kingcounty.gov/courts/clerk/rules/Civil.

Non-dispositive Motions: These motions, which include discovery motions, will be ruled on by the assigned judge
without oral argument, unless otherwise ordered. All such motions must be noted for a date by which the ruling is
requested; this date must likewise conform to the applicable notice requirements. Rather than noting a time of day, the
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Note for Motion should state “Without Oral Argument.” Local Civil Rule 7 governs these motions, which include
discovery motions. The local civil rules can be found at www.kingcounty.gov/courts/clerk/rules/Civil.

Motions in Family Law Cases not involving children: Discovery motions to compel, motions in limine, motions
relating to trial dates and motions to vacate judgments/dismissals shall be b rought before the assigned judge. All other
motions should be noted and heard on the Family Law Motions calendar. Local Civil Rule 7 and King County Family
Law Local Rules govern these procedures. The local rules can be found at www.kingcounty.gov/courts/clerk/rules.
Emergency Motions: Under the court’s local civil rules, emergency motions will usually be allowed only upon entry
of an Order Shortening Time. However, some emergency motions may be brought in the Ex Parte and Probate
Department as expressly authorized by local rule. In addition, discovery disputes may be addressed by telephone call
and without written motion, if the judge approves in advance.
B. Original Documents/Working Copies/ Filing of Documents : All original documents must be filed with the
Clerk’s Office. Please see information on the Clerk’s Office website at www.kingcounty.gov/courts/clerk regarding
the requirement outlined in LGR 30 that attorneys must e-file documents in King County Superior Court. The
exceptions to the e-filing requirement are also available on the Clerk’s Office website. The local rules can be found at
www.kingcounty.gov/courts/clerk/rules.

The working copies of all documents in support or opposition must be marked on the upper right corner of the first page
with the date of consideration or hearing and the name of the assigned judge. The assigned judge’s working copies
must be delivered to his/her courtroom or the Judges’ mailroom. Working copies of motions to be heard on the Family
Law Motions Calendar should be filed with the Family Law Motions Coordinator. Working copies can be submitted
through the Clerk’s office E-Filing application at www.kingcounty.gov/courts/clerk/documents/eWC.

Service of documents: Pursuant to Local General Rule 30(b)(4)(B), e-filed documents shall be electronically served
through the e-Service feature within the Clerk’s eFiling application. Pre-registration to accept e-service is required. E-
Service generates a record of service document that can be e-filed. Please see the Clerk’s office website at
www.kingcounty.gov/courts/clerk/documents/efiling regarding E-Service.
Original Proposed Order: Each of the parties must include an original proposed order granting requested relief with
the working copy materials submitted on any motion. Do not file the original of the proposed order with the Clerk
of the Court. Should any party desire a copy of the order as signed and filed by the judge, a pre-addressed, stamped
envelope shall accompany the proposed order. The court may distribute orders electronically. Review the judge’s
website for information: www.kingcounty.gov/courts/SuperiorCourt/judges .
Presentation of Orders for Signature: All orders must be presented to the assigned judge or to the Ex Parte and
Probate Department, in accordance with Local Civil Rules 40 and 40.1. Such orders, if presented to the Ex Parte and
Probate Department, shall be submitted through the E-Filing/Ex Parte via the Clerk application by the attorney(s) of
record. E-filing is not required for self-represented parties (non-attorneys). If the assigned judge is absent, contact the
assigned court for further instructions. If another judge enters an order on the case, counsel is responsible for providing
the assigned judge with a copy.
Proposed orders finalizing settlement and/or dismissal by agreement of all parties shall be presented to the Ex
Parte and Probate Department. Such orders shall be submitted through the E-Filing/Ex Parte via the Clerk
application by the attorney(s) of record. E-filing is not required for self-represented parties (non-attorneys). Formal
proof in Family Law cases must be scheduled before the assigned judge by contacting the bailiff, or formal proof may
be entered in the Ex Parte Department. If final order and/or formal proof are entered in the Ex Parte and Probate
Department, counsel is responsible for providing the assigned judge with a copy.
C. Form
Pursuant to Local Civil Rule 7(b)(5)(B), the initial motion and opposing memorandum shall not exceed 4,200 words
and reply memoranda shall not exceed 1,750 words without authorization of the court. The word count includes all
portions of the document, including headings and footnotes, except 1) the caption; 2) table of content s and/or
authorities, if any; and 3): the signature block. Over-length memoranda/briefs and motions supported by such
memoranda/briefs may be stricken.
      Case 2:18-cv-00681-RAJ
         Case                 Document1-2
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IT IS SO ORDERED. FAILURE TO COMPLY WITH THE PROVISIONS OF THIS ORDER MAY RESULT IN
DISMISSAL OR OTHER SANCTIONS. PLAINTIFF/PEITITONER SHALL FORWARD A COPY OF THIS
ORDER AS SOON AS PRACTICABLE TO ANY PARTY WHO HAS NOT RECEIVED THIS ORDER.


                                                     PRES IDING JUDGE
Case 2:18-cv-00681-RAJ
   Case                 Document1-3
         2:17-cv-01499 Document  1 Filed
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                Exhibit B-2
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                                                                      KING COUNTY
                                                                  SUPERIOR COURT CLERK
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                                                               CASE NUMBER: 17-2-23242-4 SEA




                    SUPERIOR COURT OF WASHINGTON
                           COUNTY OF KING


Kurt Skau                                 NO. 17-2-23242-4 SEA

VS
                                          CASE INFORMATION COVER SHEET
JBS Carries, Inc.                         AND AREA DESIGNATION




                         CAUSE OF ACTION
(MSC) -        OTHER COMPLAINT/PETITION (MSC 2)


                             AREA DESIGNATION

SEATTLE -      Defined as all King County north of Interstate 90 and including all
               of Interstate 90 right of way, all of the cities of Seattle, Mercer
               Island, Issaquah, and North Bend, and all of Vashon and Maury
               Islands.
Case 2:18-cv-00681-RAJ
   Case                 Document1-4
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                Exhibit B-3
           Case 2:18-cv-00681-RAJ
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                                                                               CASE NUMBER: 17-2-23242-4 SEA
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 4
                            SUPERIOR COURT FOR THE STATE OF WASHINGTON
 5
                                      IN AND FOR KING COUNTY
 6
     KURT SKAU, on behalf of himself and on behalf
 7   of others similarly situated,
                                                         NO.
 8
                               Plaintiff,                SUMMONS (20 DAY)
 9
            v.
10

11   JBS CARRIERS, INC., a Delaware corporation,

12                             Defendant.

13

14   TO:    JBS CARRIERS, INC.:
15          A lawsuit has been started against you in the above-entitled court by the Plaintiff. The
16   Plaintiff’s claims are stated in the written complaint, a copy of which is served upon you with
17   this summons.
18          In order to defend against this lawsuit, you must respond to the complaint by stating
19   your defense in writing, and by serving a copy upon the person signing this summons within
20   20 days after the service of this summons, excluding the day of service, or a default judgment
21   may be entered against you without notice. A default judgment is one where the Plaintiff is
22   entitled to what has been asked for because you have not responded. If you serve a notice of
23   appearance on the undersigned person, you are entitled to notice before a default judgment
24   may be entered.
25          You may demand that Plaintiff file this lawsuit with the Court. If you do so, the
26   demand must be in writing and must be served upon the Plaintiff. Within fourteen (14) days
27
                                                                       TERRELL MARSHALL LAW GROUP PLLC
                                                                            936 North 34th Street, Suite 300
                                                                           Seattle, Washington 98103-8869
     SUMMONS (20 DAY) - 1                                                TEL. 206.816.6603 • FAX 206.319.5450
                                                                                www.terrellmarshall.com
           Case 2:18-cv-00681-RAJ
              Case                 Document1-4
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 1   after you serve the demand, the Plaintiff must file this lawsuit with the Court, or the service
 2   on you of this Summons and Complaint will be void.
 3          If you wish to seek the advice of an attorney in this matter, you should do so promptly
 4   so that your written response, if any, may be served on time.
 5          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the
 6   State of Washington.
 7          RESPECTFULLY SUBMITTED AND DATED this 5th day of September, 2017.
 8                                              TERRELL MARSHALL LAW GROUP PLLC
 9

10                                              By: /s/ Toby J. Marshall, WSBA #32726
                                                   Toby J. Marshall, WSBA #32726
11
                                                   Email: tmarshall@terrellmarshall.com
12                                                 Maria Hoisington-Bingham, WSBA #51493
                                                   Email: mhoisington@terrellmarshall.com
13                                                 936 North 34th Street, Suite 300
                                                   Seattle, Washington 98103-8869
14
                                                   Telephone: (206) 816-6603
15                                                 Facsimile: (206) 319-5450

16                                                 REKHI & WOLK, P.S.
17                                                 Hardeep S. Rekhi, WSBA #34579
                                                   Email: hardeep@rekhiwolk.com
18                                                 Gregory A. Wolk, WSBA #28946
                                                   Email: greg@rekhiwolk.com
19                                                 529 Warren Avenue North, Suite 201
20                                                 Seattle, Washington 98109
                                                   Telephone: (206) 388-5887
21                                                 Facsimile: (206) 577-3924
22                                              Attorneys for Plaintiff
23

24

25

26

27
                                                                          TERRELL MARSHALL LAW GROUP PLLC
                                                                               936 North 34th Street, Suite 300
                                                                              Seattle, Washington 98103-8869
     SUMMONS (20 DAY) - 2                                                   TEL. 206.816.6603 • FAX 206.319.5450
                                                                                   www.terrellmarshall.com
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                Exhibit B-4
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     IN THE SUPERIOR COURT, IN AND FOR THE COUNTY OF KING, STATE OF WASHINGTON

KURT SKAU, ON BEHALF OF HIMSELF AND ON                          Cause No.:        17-2-23242-4 SEA
BEHALF OF OTHERS SIMILARLY SITUATED                             Hearing Date:

                               Plaintiff/Petitioner
                                                                AFFIDAVIT OF SERVICE OF
vs.                                                             SUMMONS; CLASS ACTION COMPLAINT FOR DAMAGES;
JBS CARRIERS, INC., A DELAWARE CORPORATION                      CASE ASSIGNMENT AREA DESIGNATION AND CASE
                                                                INFORMATION COVER SHEET; ORDER SETilNG CML
                                   Defendant/Respondent         CASE SCHEDULE; CASE INFORMATION COVER SHEET
                                                                AND AREA DESIGNATION; PLAINTIFF'S FIRST SET OF
                                                                INTERROGATORIES AND REQUESTS FOR PRODUCTION
                                                                OF DOCUMENTS PROPOUNDED TO DEFENDANT

The undersigned hereby declares: That s(he) is now and at all times herein mentioned was a citizen of the United
States, over the age of eighteen, not an officer of a plaintiff corporation, not a party to nor interested in the above
entitled action, and is competent to be a witness therein.


On the 6th day of September, 2017at1:23 PM at the address of 1560 BROADWAY SUITE 2090,
DENVER, Denver County, CO 80202; this declarant served the above described documents upon JBS
CARRIERS, INC., A DELAWARE CORPORATION c/o CORPORATION SERVICE COMPANY,
REGISTERED AGENT by then and there personally delivering 1 true and correct copy(ies) thereof, by
then presenting to and leaving the same with Kurt Plender , CLERK, PERSON AUTHORIZED TO
ACCEPT, who accepted service, with identity confirmed by physical description, a gray-haired
white male approx. 45-55 years of age, 5'6"-5'8" tall and weighing 160-180 lbs •.
No information was provided or discovered that indicates that the subjects served are members of the
United States military.




                                            ORIGINAL PROOF OF SERVICE
                                                     PAGE 1 OF2                      Tracking#: 0018977946
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'
I'..-- •




                 PLAINTIFF/PETITIONER: K4RT SKAU, ON BEHALF OF HIMSELF AND ON BEHALF CASE NUMBER:
                                       OF OTHERS SIMILARLY SITUATED                         17-2-23242-4                                      SEA
              DEFENDANT/RESPONDENT: JBS CARRIERS, INC., A DELAWARE CORPORATION




              Megan Grimes
              Subscribed and Sworn to before                            -~-
                                                                          ·     Po-'
                                                                                . ..........__,   20.Ll
            Ar-(),J0{'f'if;Q
           Lefo'~suc in and for the State of Colorado
              Residing at: ---------;:::="""'--==.=:::~;;;;;;;:;;;;;;:::==::\
              My commission expires -----+-----tdt~~~~......____ 1
                                                               STATE OF COLORADO
                                                              NOTARY ID 20034027345
                                                       MY COMMISSION EXPIRES SEPTEMBER 22, 2019




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                Exhibit B-5
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                                                                                 CASE NUMBER: 17-2-23242-4 SEA




                            KING COUNTY SUPERIOR COURT
         CASE ASSIGNMENT AREA DESIGNATION and CASE INFORMATION COVER SHEET
                                       (CICS)

Pursuant to King County Code 4A.630.060, a faulty document fee of $15 may be assessed to new case
filings missing this sheet.

CASE NUMBER:
                                         (Provided by the Clerk)

CASE CAPTION: _Kurt Skau v. JBS Carriers, Inc.
(New case: Print name of person starting case vs. name of person or agency you are filing against.)
(When filing into an existing family law case, the case caption remains the same as the original filing.)

Please mark one of the boxes below:

     ☒    Seattle Area, defined as:
                                 All of King County north of Interstate 90 and including all of the
                                 Interstate 90 right-of-way; all the cities of Seattle, Mercer Island,
                                 Bellevue, Issaquah and North Bend; and all of Vashon and Maury
                                 Islands.

     ☐     Kent Area, defined as:
                                 All of King County south of Interstate 90 except those areas included in
                                 the Seattle Case Assignment Area.

I certify that this case meets the case assignment criteria, described in King County LCR 82(e).

/s/ Toby J. Marshall, WSBA #32726                                         09/05/2017
Signature of Attorney          WSBA Number                         Date

or


Signature of person who is starting case                           Date


936 North 34th Street, Suite 300, Seattle, Washington 98103
Address, City, State, Zip Code of person who is starting case if not represented by attorney
         Case 2:18-cv-00681-RAJ
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                            KING COUNTY SUPERIOR COURT
         CASE ASSIGNMENT AREA DESIGNATION and CASE INFORMATION COVER SHEET


                                                    CIVIL
                            Please check the category that best describes this case.


       APPEAL/REVIEW                                              JUDGMENT
 ☐     Administrative Law Review (ALR 2)*                    ☐    Abstract, Judgment, Another County (ABJ 2)
       (Petition to the Superior Court for review of              (A certified copy of a judgment docket from
       rulings made by state administrative                       another Superior Court within the state.)
       agencies.( e.g. DSHS Child Support, Good to
       Go passes, denial of benefits from                    ☐    Confession of Judgment (MSC 2)*
       Employment Security, DSHS, L & I))
                                                                  (The entry of a judgment when a defendant
                                                                  admits liability and accepts the amount of
 ☐     DOL Revocation (DOL 2)*
                                                                  agreed-upon damages but does not pay or
       (Appeal of a DOL revocation Implied                        perform as agreed upon.)
       consent-Test refusal ONLY.) RCW
       46.20.308(9)                                          ☐    Foreign Judgment (from another State or
                                                                  Country) (FJU 2)
       CONTRACT/COMMERCIAL
                                                                  (Any judgment, decree, or order of a court of
 ☐     Breach of Contract (COM 2)*
                                                                  the United States, or of any state or territory,
       (Complaint involving money dispute where                   which is entitled to full faith and credit in this
       a breach of contract is involved.)                         state.)

 ☐     Commercial Contract (COM 2)*                          ☐    Tax Warrant or Warrant (TAX 2)
       (Complaint involving money dispute where                   (A notice of assessment by a state agency or
       a contract is involved.)                                   self-insured company creating a
                                                                  judgment/lien in the county in which it is
 ☐     Commercial Non-Contract (COL 2)*                           filed.)
       (Complaint involving money dispute where
       no contract is involved.)                             ☐    Transcript of Judgment (TRJ 2)
                                                                  (A certified copy of a judgment from a court
 ☐     Third Party Collection (COL 2)*                            of limited jurisdiction (e.g. District or
       (Complaint involving a third party over a                  Municipal court) to a Superior Court.)
       money dispute where no contract is
       involved.)




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       PROPERTY RIGHTS                                     OTHER COMPLAINT/PETITION
 ☐     Condemnation/Eminent Domain (CON 2)*            ☐   Action to Compel/Confirm Private Binding
                                                           Arbitration (MSC 2)
       (Complaint involving governmental taking
       of private property with payment, but not           (Petition to force or confirm private binding
       necessarily with consent.)                          arbitration.)

 ☐     Foreclosure (FOR 2)*
                                                       ☐   Bond Justification (MSC 2)
       (Complaint involving termination of                 (Bail bond company desiring to transact
       ownership rights when a mortgage or tax             surety bail bonds in King County facilities.)
       foreclosure is involved, where ownership is
       not in question.)
                                                       ☐   Change of Name (CHN 5)
                                                           (Petition for name change, when domestic
 ☐     Land Use Petition (LUP 2)*
                                                           violence/antiharassment issues require
       (Petition for an expedited judicial review of       confidentiality.)
       a land use decision made by a local
       jurisdiction.) RCW 36.70C.040
                                                       ☐   Certificate of Rehabilitation (MSC 2)
                                                           (Petition to restore civil and political rights.)
 ☐
       Property Fairness (PFA 2)*
       (Complaint involving the regulation of
                                                       ☐   Certificate of Restoration of Opportunity
                                                           (MSC 2)
       private property or restraint of land use by
       a government entity brought forth by Title          (Establishes eligibility requirements for
       64.)                                                certain professional licenses)


 ☐     Quiet Title (QTI 2)*                            ☐   Civil Commitment (sexual predator) (PCC 2)

       (Complaint involving the ownership, use, or         (Petition to detain an individual
       disposition of land or real estate other than       involuntarily.)
       foreclosure.)
                                                       ☐   Deposit of Surplus Funds (MSC 2)
 ☐     Residential Unlawful Detainer (Eviction)            (Deposit of extra money from a foreclosure
       (UND 2)                                             after payment of expenses from sale and
       (Complaint involving the unjustifiable              obligation secured by the deed of trust.)
       retention of lands or attachments to land,
       including water and mineral rights.)            ☐   Emancipation of Minor (EOM 2)
                                                           (Petition by a minor for a declaration of
 ☐     Non-Residential Unlawful Detainer                   emancipation.)
       (Eviction) (UND 2)
       (Commercial property eviction.)                 ☐   Foreign Subpoena (MSC 2)
                                                           (To subpoena a King County resident or
                                                           entity for an out of state case.)




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 ☐     Frivolous Claim of Lien (MSC 2)                 ☐   Restoration of Firearm Rights (RFR 2)
       (Petition or Motion requesting a                    (Petition seeking restoration of firearms
       determination that a lien against a                 rights under RCW 9.41.040 and 9.41.047.)
       mechanic or materialman is excessive or
       unwarranted.)                                   ☐   School District-Required Action Plan (SDR 2)
                                                           (Petition filed requesting court selection of
 ☐     Injunction (INJ 2)*
                                                           a required action plan proposal relating to
       (Complaint/petition to require a person to          school academic performance.)
       do or refrain from doing a particular thing.)
                                                       ☐   Seizure of Property from the Commission of
 ☐     Interpleader (MSC 2)                                a Crime-Seattle (SPC 2)*
       (Petition for the deposit of disputed earnest       (Seizure of personal property which was
       money from real estate, insurance                   employed in aiding, abetting, or commission
       proceeds, and/or other transaction(s).)             of a crime, from a defendant after
                                                           conviction.)
 ☐     Malicious Harassment (MHA 2)*
       (Suit involving damages resulting from          ☐   Seizure of Property Resulting from a Crime-
                                                           Seattle (SPR 2)*
       malicious harassment.) RCW 9a.36.080
                                                           (Seizure of tangible or intangible property
                                                           which is the direct or indirect result of a
 ☐     Non-Judicial Filing (MSC 2)
                                                           crime, from a defendant following criminal
       (See probate section for TEDRA                      conviction. (e.g., remuneration for, or
       agreements. To file for the record                  contract interest in, a depiction or account
       document(s) unrelated to any other                  of a crime.))
       proceeding and where there will be no
       judicial review.)
                                                       ☐   Structured Settlements- Seattle (MSC 2)
                                                           (A financial or insurance arrangement
 ☒     Other Complaint/Petition (MSC 2)*
                                                           whereby a claimant agrees to resolve a
       (Filing a Complaint/Petition for a cause of         personal injury tort claim by receiving
       action not listed.)                                 periodic payments on an agreed schedule
                                                           rather than as a lump sum.)
 ☐     Public records Act (PRA 2)*
       (Actions filed under RCW 42.56.)
                                                       ☐   Vehicle Ownership (MSC 2)*
                                                           (Petition to request a judgment awarding
 ☐     Receivership (MSC 2)
                                                           ownership of a vehicle.)
       (The process of appointment by a court of a
       receiver to take custody of the property,
       business, rents and profits of a party to a         TORT, ASBESTOS
       lawsuit pending a final decision on
       disbursement or an agreement.)
                                                       ☐   Personal Injury (PIN 2)*
                                                           (Complaint alleging injury resulting from
                                                           asbestos exposure.)
 ☐     Relief from Duty to Register (RDR2)
       (Petition seeking to stop the requirement to
       register.)
                                                       ☐   Wrongful Death (WDE 2)*
                                                           (Complaint alleging death resulting from
                                                           asbestos exposure.)

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       TORT, MEDICAL MALPRACTICE                            ☐     Personal Injury (PIN 2)*
 ☐     Hospital (MED 2)*                                          (Complaint involving physical injury not
       (Complaint involving injury or death                       resulting from professional medical
       resulting from a hospital.)                                treatment, and where a motor vehicle is not
                                                                  involved.)
 ☐     Medical Doctor (MED 2)*
       (Complaint involving injury or death                 ☐     Products Liability (TTO 2)*
       resulting from a medical doctor.)                          (Complaint involving injury resulting from a
                                                                  commercial product.)
 ☐     Other Health care Professional (MED 2)*
       (Complaint involving injury or death                 ☐     Property Damages (PRP 2)*
       resulting from a health care professional                  (Complaint involving damage to real or
       other than a medical doctor.)                              personal property excluding motor
                                                                  vehicles.)
       TORT, MOTOR VEHICLE
 ☐     Death (TMV 2)*                                       ☐     Property Damages-Gang (PRG 2)*
       (Complaint involving death resulting from                  (Complaint to recover damages to property
       an incident involving a motor vehicle.)                    related to gang activity.)

 ☐     Non-Death Injuries (TMV 2)*                          ☐     Tort, Other (TTO 2)*
       (Complaint involving non-death injuries                    (Any other petition not specified by other
       resulting from an incident involving a motor               codes.)
       vehicle.)
                                                            ☐     Wrongful Death (WDE 2)*
 ☐     Property Damages Only (TMV 2)*
                                                                  (Complaint involving death resulting from
       (Complaint involving only property damages                 other than professional medical treatment.)
       resulting from an incident involving a motor
       vehicle.)
                                                                  WRIT
 ☐     Victims Vehicle Theft (VVT 2)*
                                                            ☐     Habeas Corpus (WHC 2)
       (Complaint filed by a victim of car theft to               (Petition for a writ to bring a party before
       recover damages.) RCW 9A.56.078                            the court.)

       TORT, NON-MOTOR VEHICLE
                                                            ☐     Mandamus (WRM 2)**
 ☐     Implants (PIN 2)
                                                                  (Petition for writ commanding performance
                                                                  of a particular act or duty.)
 ☐     Other Malpractice (MAL 2)*
       (Complaint involving injury resulting from           ☐     Review (WRV 2)**
       other than professional medical treatment.)                (Petition for review of the record or
                                                                  decision of a case pending in the lower
                                                                  court; does not include lower court appeals
                                                                  or administrative law reviews.)

* The filing party will be given an appropriate case schedule at time of filing.
** Case schedule will be issued after hearing and findings.
                                                                                             Page 5 of 5
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                Exhibit B-6
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      DATED this 21st day of September 2017.
 1
                                               Davis Wright Tremaine LLP
 2
                                               By:                         ~·QQQp
 3                                                   Michael J. Kil e , WSBA # 7837
                                                     1201 Third Avenue, Suite 2200
 4                                                   Seattle, WA 98101-3045
                                                     Telephone: 206-622-3150
 5                                                   Fax: 206-757-7700
                                                     E-mail:    MikeKilleen@dwt.com
 6
                                               Attorneys for Defendant JBS Carriers, Inc.
 7
                                               Sherman & Howard LLC
 8
                                                     Jonathon Watson,
 9                                                   633 Seventeenth Street, Suite 3000
                                                     Denver, Colorado 80202
10                                                   Telephone: 303-299-8286
                                                     Fax: 303-298-0940
11                                                   E-mail: JWatson(a),shermanhoward .com

12                                             Co-counsel for Defendant JBS Carriers, Inc.

13

14

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22

23

                                                                          Davis Wright Tremaine LLP
     NOTICE OF APPEARANCE - 2                                                      LAW OFFICES
      4828-8264-5584v.1 0050033-000295                                      1201 Third Avenue, Suile 2200
                                                                               Seattle, WA 98101 -3045
                                                                        206 622 3150 main · 206 757 7700 fax
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                                           CERTIFICATE OF SERVICE

 2              I hereby declare under penalty of perjury under the laws of the State of Washington and

 3    the United States that, on the date indicated below, I electronically filed the foregoing

 4    document with the Clerk of the Court using the ECF system and will provide a copy of such

 5    filing to the following:

 6              Via Legal Messenger

 7                        TERRELL MARSHALL LAW GROUP LLC
                          Toby J. Marshall, WSBA # 32726
 8                        Email: tmarshall@terrel lmarshall.com
                          Maria Hoisington-Bingham, WSBA # 51493
 9                        Email: mhoisington@terrellmarshall.com
                          936 North 34th Street, Suite 300
10                        Seattle, Washington 98103-8869
                          Telephone: 206-816-6603
11                        Facsimile: 206-319-5450

12                        REKHI & WOLK, P.S.
                          Hardeep S. Rekhi, WSBA #34579
13                        Email: Hardeep@rekhiwolk.com
                          Gregory A. Wolk, WSBA #28946
14                        Email: greg@rek.hiwolk .com
                          529 Warren Avenue North, Suite 201
15                        Seattle, WA 98109
                          Telephone: (206) 388-5887
16                        Facsimile: (206) 577-3924

17              DATED this 21" day of September 2~                        ~
18

19
                                                     Lind~
                                                     Davis Wright Tremaine LLP
                                                     1201 Third Avenue, Suite 2200
20                                                   Seattle, WA 98101-3045
                                                     P: 206-622-3150
21                                                   F: 206-757-7700
                                                     Email: lindseystrickland@dwt.com
22

23


                                                                                  Davis Wright Tremaine LLP
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      4828-8264-5584v . I 0050033-000295                                            1201 Third Avenue, Suile 2200
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                                                                                CASE NUMBER: 17-2-23242-4 SEA
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 5

 6
                                SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                                             KING COUNTY

      KURT SKAU, on behalf of himself and on
 8                                                             Case No. 17-2-23242-4 SEA
      behalf of others similarly situated,
 9                                                             NOTICE OF APPEARANCE
                                            Plaintiff,
                                                               ON BEHALF OF DEFENDANT JBS
10                                                             CARRIERS, INC.
                 v.
11
      JBS CARRIERS, INC., a Delaware corporation
12
                                            Defendant.
13

14    TO:                   CLERK OF THE COURT

      AND TO:               Plaintiff KURT SKAU
15
      AND TO:               TOBY J. MARSHALL, MARIA HOISINGTON-BINGHAM, HARDEEP S.
16
                            REKHI and GREGORY A. WOLK plaintiffs attorneys.
17
      YOU AND EACH OF YOU will please take notice that N. Joseph Wonderly of Davis Wright
18
      Tremaine LLP, hereby joins Michael J. Killeen of Davis Wright Tremaine LLP and Jonathon
19
      Watson of Sherman & Howard and appears as co-counsel on behalf of Defendant JBS Carriers,
20
      Inc., in the above-entitled action, and requests that all further papers and pleadings in this
21
      matter, except original process, be served upon him at the address below stated.
22

23


                                                                                   Davis Wright Tremaine LLP
     NOTICE OF APPEARANCE - I                                                                LAW 0ff1C:ES
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                                                                         3 ofof4 590




      DATED this 2 11 d day of October 2017.
 1

 2

 3                                                   . Joseph Wonderl y, WSBA #51925
                                                   1201 Third A venue, Suite 2200
 4                                                 Seattle, WA 98101-3045
                                                   Telephone: 206-757-8286
 5                                                 Fax: 206-757-7286
                                                   E-mail: Joe Wonderly@dwt.com
 6
                                               Co-counsel for Defendant JBS Carriers, Inc.
 7

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                                                                          Davis Wright Tremaine LLP
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 1                                       CERTIFICATE OF SERVICE

                I hereby declare under penalty of perjury under the laws of the State of Washington and

 3    the United States that, on the date indicated below, I electronically filed the foregoing

 4    document with the Clerk of the Court using the ECF system and will provide a copy of such

 5    filing to the following:

 6              Via Legal Messenger

 7                        TERRELL MARSHALL LAW GROUP LLC
                          Toby J. Marshall, WSBA # 32726
 8                        Email: tmar hal l@terrelJmm·shall.com
                          Maria Hoisington-Bingham, WSBA # 51493
 9                        Email : mhoisington ,terr lbnarshall.com
                          936 North 34 111 Street, Suite 300
10                        Seattle, Washington 98103-8869
                          Telephone: 206-816-6603
11                        Facsimile: 206-319-5450

12                        REKHI & WOLK, P.S.
                          Hardeep S. Rekhi, WSBA #34579
13                        Email : Hardeep@rekhiwolk.com
                          Gregory A. Wolk, WSBA #28946
14                        Email: greg@rekhi wolk. com
                          529 Warren Avenue North, Suite 201
15                        Seattle, WA 98109
                          Telephone: (206) 388-5887
16                        Facsimile: (206) 577-3924

17              DA TED this 2 11 d day of October 2017.

18                                                    ~~~~12 2~
                                                      Daniela~e~
                                                             ~
                                                                -=>
19                                                    Legal Secretary to N. Joseph Wonderly

20

21

22

23

                                                                                  Davis Wright Trcnrninc LL!'
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                                                             THE HONORABLE VERONICA  A. GALVAN
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 2                                                                               Department
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 6
                           SUPERIOR COURT FOR THE STATE OF WASHINGTON
 7                                   IN AND FOR KING COUNTY
 8
     KURT SKAU, on behalf of himself and on behalf
 9   of others similarly situated,
                                                         NO. 17-2-23242-4 SEA
10                              Plaintiff,               STIPULATION FOR ELECTRONIC SERVICE
11
            v.
12
     JBS CARRIERS, INC., a Delaware corporation,
13

14                              Defendant.

15

16          Pursuant to CR 5(b)(7), the parties, by and through the undersigned counsel of record,
17   stipulate and agree to accept service of all court filings, discovery documents (including
18   requests, responses, and documents produced), subpoenas, and other papers in the above-
19   captioned matter electronically as follows:
20          (1)     Documents that are to be served on the Plaintiff through their attorneys,
21   Terrell Marshall Law Group PLLC and Rekhi & Wolk, P.S., shall be sent to each and every
22   recipient listed below:
23          •       Toby J. Marshall at                   tmarshall@terrellmarshall.com
24          •       Elizabeth A. Adams at                 eadams@terrellmarshall.com
25          •       Maria C. Hoisington-Bingham at        mhoisington@terrellmarshall.com
26          •       Eden B. Nordby at                     enordby@terrellmarshall.com
27
                                                                        TERRELL MARSHALL LAW GROUP PLLC
                                                                             936 North 34th Street, Suite 300
                                                                            Seattle, Washington 98103-8869
     STIPULATION FOR ELECTRONIC SERVICE - 1                               TEL. 206.816.6603 • FAX 206.319.5450
     CASE NO. 17-2-23242-4 SEA                                                   www.terrellmarshall.com
           Case 2:18-cv-00681-RAJ
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                                                               Page126
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 1          •       Holly Rota at                         hrota@terrellmarshall.com
 2          •       Hardeep S. Rekhi at                   hardeep@rekhiwolk.com
 3          •       Gregory A. Wolk at                    greg@rekhiwolk.com
 4          •       Zoe Kahn at                           zoe@rekhiwolk.com
 5          (2)     Documents that are to be served on the Defendant through their attorneys,
 6   Davis Wright Tremaine LLP and Sherman & Howard L.L.C, shall be sent to each and every
 7   recipient listed below:
 8          •       Jonathon Watson at                    jwatson@shermanhoward.com
 9          •       James S. Korte at                     jkorte@shermanhoward.com
10          •       Katherine M. Edinger at               kedinger@shermanhoward.com
11          •       Lynn Z. Howell at                     lhowell@shermanhoward.com
12          •       Michael J. Killeen at                 mikekilleen@dwt.com
13          •       Joe Wonderly at                       joewonderly@dwt.com
14          •       Cindy Lein at                         cindylein@dwt.com
15          •       Lindsey Strickland at                 lindseystrickland@dwt.com
16          (3)     The documents to be electronically served may be served as attachments to
17   the email or by including a link within the email to download the documents from a cloud
18   storage provider. If attached to an email, the documents attached to any one email shall not
19   exceed 15 MB. To avoid over-sized attachments, attachments may be broken into two or
20   more PDF files (if the parties have agreed to the specific production in PDF form) and multiple
21   emails can be used. The correct format for the partial files should identify the order of the
22   parts numerically or alphabetically.
23          (4)     The email must be sent and received between 8:00 a.m. PT and midnight PT.;
24   service made on a Saturday, Sunday, holiday, or after midnight PT on any other day shall be
25   deemed complete on 8:00 a.m. PT on the first judicial day thereafter.
26

27
                                                                        TERRELL MARSHALL LAW GROUP PLLC
                                                                             936 North 34th Street, Suite 300
                                                                            Seattle, Washington 98103-8869
     STIPULATION FOR ELECTRONIC SERVICE - 2                               TEL. 206.816.6603 • FAX 206.319.5450
     CASE NO. 17-2-23242-4 SEA                                                   www.terrellmarshall.com
           Case 2:18-cv-00681-RAJ
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 1          (5)     The parties only agree to receive electronic service via email as set forth herein
 2   and do not agree to receive service via facsimile.
 3          (6)     This stipulation applies only to the above-referenced action and constitutes
 4   each party’s consent to be served electronically as indicated. Any party may revoke this
 5   consent, so long as written notice is provided three court days in advance of such revocation.
 6   Otherwise, this consent will remain in effect until the conclusion of this litigation.
 7

 8          RESPECTFULLY SUBMITTED AND DATED this 3rd day of October, 2017.
 9
     TERRELL MARSHALL LAW GROUP PLLC                    Davis Wright Tremaine LLP
10

11   By: /s/ Toby J. Marshall, WSBA #32726              By: /s/ Michael J. Killeen, WSBA #32726
12     Toby J. Marshall, WSBA #32726                       Michael J. Killeen, WSBA #7837
       Email: tmarshall@terrellmarshall.com                Email: mikekilleen@dwt.com
13     Maria Hoisington-Bingham, WSBA #51493               N. Joe Wonderly, WSBA #51925
       Email: mhoisington@terrellmarshall.com              Email: joewonderly@dwt.com
14     936 North 34th Street, Suite 300                    1201 Third Ave, Suite 2200
15     Seattle, WA 98103-8869                              Seattle, WA 98101
       Telephone: (206) 816-6603                           Telephone: (206) 622-3150
16     Facsimile: (206) 319-5450                           Facsimile: (206) 757-7700
17
       REKHI & WOLK, P.S.                                  Sherman & Howard LLC
18     Hardeep S. Rekhi, WSBA #34579                       Jonathon Watson
       Email: hardeep@rekhiwolk.com                        Email: jwatson@shermanhoward.com
19     Gregory A. Wolk, WSBA #28946                        633 Seventeenth Street, Suite 3000
       Email: greg@rekhiwolk.com                           Denver, CO 80202
20
       529 Warren Avenue North, Suite 201                  Telephone: (303) 299-8286
21     Seattle, Washington 98109                           Facsimile: (303) 298-0940
       Telephone: (206) 388-5887
22     Facsimile: (206) 577-3924
23
     Attorneys for Plaintiff                            Attorneys for Defendant
24

25

26

27
                                                                          TERRELL MARSHALL LAW GROUP PLLC
                                                                               936 North 34th Street, Suite 300
                                                                              Seattle, Washington 98103-8869
     STIPULATION FOR ELECTRONIC SERVICE - 3                                 TEL. 206.816.6603 • FAX 206.319.5450
     CASE NO. 17-2-23242-4 SEA                                                     www.terrellmarshall.com
           Case 2:18-cv-00681-RAJ
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                                                               THE HONORABLE VERONICA A. GALVAN
 1                                                                                KING COUNTY
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 5

 6                         SUPERIOR COURT FOR THE STATE OF WASHINGTON
                                     IN AND FOR KING COUNTY
 7

 8   KURT SKAU, on behalf of himself and on behalf
     of others similarly situated,
                                                         NO. 17-2-23242-4 SEA
 9
                                  Plaintiff,             DECLARATION OF SERVICE
10

11          v.

12   JBS CARRIERS, INC., a Delaware corporation,
13                                Defendant.
14

15

16          I, Toby J. Marshall, declare and say as follows:

17          1.      I am a citizen of the United States and resident of the State of Washington,

18   over the age of 18 years, not a party to the above-entitled action, and am competent to be a

19   witness herein. My business address is 936 North 34th Street, Suite 300, Seattle, Washington,

20   98103; telephone (206) 816-6603.

21          2.      On October 3, 2017, I caused true and correct copies of the following

22   documents to be delivered to Defendant in the above-captioned matter, by the means

23   indicated below:

24
                    • Stipulation for Electronic Service; and
25
                    •   [This] Declaration of Service.
26

27
                                                                       TERRELL MARSHALL LAW GROUP PLLC
                                                                            936 North 34th Street, Suite 300
                                                                           Seattle, Washington 98103-8869
     DECLARATION OF SERVICE - 1                                          TEL. 206.816.6603 • FAX 206.319.5450
     CASE NO. 17-2-23242-4 SEA                                                  www.terrellmarshall.com
           Case 2:18-cv-00681-RAJ
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                                                                    6 ofof6 590



     Michael J. Killeen, WSBA #7837                          U.S. Mail, postage prepaid
 1                                                           Hand Delivered via Messenger Service
     Email: mikekilleen@dwt.com
 2   N. Joe Wonderly, WSBA #51925                            Overnight Courier
     Email: joewonderly@dwt.com                              Facsimile
 3                                                           Electronic Mail
     Email: cindylein@dwt.com
                                                             Via the King County Electronic Filing
 4   Email: lindseystrickland@dwt.com
                                                             Notification System
     DAVIS WRIGHT TREMAINE LLP
 5   1201 Third Ave, Suite 2200
     Seattle, Washington 98101
 6   Telephone: (206) 622-3150
 7   Facsimile: (206) 757-7700

 8   Jonathon Watson
     Email: jwatson@shermanhoward.com
 9
     Email: jkorte@shermanhoward.com
10   Email: kedinger@shermanhoward.com
     Email: lhowell@shermandhoward.com
11   SHERMAN & HOWARD LLC
     633 Seventeenth Street, Suite 3000
12
     Denver, CO 80202
13   Telephone: (303) 299-8286
     Facsimile: (303) 298-0940
14
     Attorneys for Defendant
15
            I declare under penalty of perjury under the laws of the State of Washington and the
16
     United States that the foregoing is true and correct.
17
            DATED this 3rd day of October, 2017.
18

19                                             By: /s/ Toby J. Marshall, WSBA #32726
20                                                Toby J. Marshall, WSBA #32726

21

22

23

24

25

26

27
                                                                       TERRELL MARSHALL LAW GROUP PLLC
                                                                            936 North 34th Street, Suite 300
                                                                           Seattle, Washington 98103-8869
     DECLARATION OF SERVICE - 2                                          TEL. 206.816.6603 • FAX 206.319.5450
     CASE NO. 17-2-23242-4 SEA                                                  www.terrellmarshall.com
Case 2:18-cv-00681-RAJ
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                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 2                                        AT SEATTLE

 3   KURT SKAU, on behalf of himself and on      )
     behalf of others similarly situated,        )
 4                                               )           No.
                           Plaintiff,            )
 5                                               )           DECLARATION OF DARRIN
           v.                                    )           TAYLOR IN SUPPORT OF
 6                                               )           DEFENDANT JBS CARRIERS,
     JBS CARRIERS, INC., a Delaware corporation, )           INC'S NOTICE OF REMOVAL
 7                                               )
                           Defendant.            )
 8   ~~~~~~~~~~~~~~~~-)
 9

10            I, Darrin Taylor, declare:

11            1.      I am the Director of Sales & Regional Operations for Defendant, JBS Carriers,

12   Inc. ("JBS Carriers"). As Director of Sales & Regional Operations and in preparation for this

13   declaration, I reviewed Mr. Skau's settlement sheets, paycheck stubs, and his available Hours

14   of Service Logs ("HOS Logs"). I have personal knowledge of the facts stated herein and if

15   called to testify thereto could do so competently.

16
              2.     This declaration sets forth information I have compiled from other corporate
17   depaiiments located here in Greeley, Colorado. This information is maintained in the ordinary
18
     course of business, was prepared at or near the time of events or matters described therein, and
19   records such data accurately. I have access, either directly or indirectly, to these business and
20
     corporate records in the ordinary course of business, and I periodically refer to them.
21
              3.      JBS Carriers employs over the road truck drivers who transport product from
22
     production facilities to customers throughout the United States. Much of the product
23
     transported is animal proteins and agricultural products produced by a related entity, JBS USA
24
     Food Company ("JBS"). JBS Carriers is headquartered in Greeley, Colorado and does not have
25
     any offices or terminals in Washington. The majority of JBS Carriers' administrative functions
26
27   DECLARATION OF DARRIN TAYLOR IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC. 'S NOTICE OF
     REMOVAL                                                                    Davis Wright Tremaine LLP
     46827062.1                                                                          LAW OFFICES
                                                                                   I 20 I Third Avenue, Suite 2200
                                                                                       Seattle, WA 98I01-3045
                                                                              206.622.3150 main · 206. 757. 7700 fax
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 1   (including that of legal, payroll, human resources, operation, and planning) are conducted in

 2   Greeley, Colorado. Greeley, Colorado is where the actual center of direction, control, and

 3   coordination for JBS Carriers takes place. JBS Carriers' principal place of business is in

 4   Colorado.

 5            4.    Plaintiff Kurt Skau was a resident of Washington during his employment with
 6   JBS Carriers, and I do not have any reason to believe Plaintiff is no longer a resident of
 7   Washington. Plaintiff was employed by JBS Carriers from November 9, 2015 until May 5,
 8   2017.
 9
              5.    Drivers at JBS Carriers are paid on a per-trip basis, determined by factors
10
     including the length of the haul, and the driver's base per-mile rate, which varies depending on
11
     the level of experience and the length of the trip.
12
              6.    Pursuant to Department of Transportation ("DOT") regulations, JBS Carriers
13
     maintains a detailed HOS Log for rolling six month periods. The HOS Log is an electronic
14
     record of drivers' daily activities, as recorded into four primary categories; (1) off duty, (2)
15
     sleeper birth; (3) driving; and (4) on duty, not driving. The HOS Log is a requirement of DOT
16
     regulations.
17

18            7.    Mr. Skau filed his Complaint on September 5, 2017, and given a reasonable

19   amount of time after service occurred, JBS Carriers stopped the six month period from

20   continuing to roll. Therefore, the most accurate records of Mr. Skau's hours of service date

21   from March 26, 2017 to May 1, 2017 (Mr. Skau's last day of driving).

22            8.    By analyzing JBS Carriers' records, I calculate Mr. Skau earned an average
23   hourly rate of approximately $25.81 per hour. I calculated this number based on the five weeks
24   of Mr. Skau's available HOS Log (from March 26, 2017 until May, 1 2017), excluding one
25   week in which Mr. Skau did not work. Based on this data, I divided the total gross pay for the
26   same time period ($5,047.37) by the total number of hours that Mr. Skau worked (195.53
27   DECLARATION OF DARRIN TAYLOR IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC.'S NOTICE OF
     REMOVAL                                                                  Davis Wright Tremaine LLP
     46827062.1                                                                        LAW OFFICES
                                                                                 120 I Third A venue, Suite 2200
                                                                                   Seattle, WA 98101-3045
                                                                            206.622.3150 main 206. 757. 7700 fax
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     hours). Dividing $5,047.37 by 195.53 hours equals approximately $25.81, which 1s a

 2   reasonable estimate of Mr. Skau's hourly pay.

 3            9.        By analyzing Plaintiffs HOS       Log,   I calculate that Mr.           Skau spent
 4   approximately three hours per week working, but not driving. This number was calculated by
 5   reviewing the HOS Log data from the five week period, and excluding the week Mr. Skau did
 6   not work. As noted above, the HOS Log indicates how much time Plaintiff spent driving and
 7   also working, but not driving. Using the HOS Log, I first totaled all of the time Mr. Skau spent
 8   working, but not driving, which amounted to 13 .02 hours, or 781.2 minutes. I then divided that
 9   number by the days Mr. Skau worked in the period (30), which equals approximately 26.04
10   minutes per day of on duty, not driving time. Next, I multiplied the average minutes per day of
11   on duty, not driving time (26.04) by seven days to get the weekly average (182.28 minutes).
12   Based on the above calculations, I determined that Mr. Skau spent an average of three hours per
13   week working, but not driving (182.28 minutes divided by 60 minutes per hour).
14
                  10.   Also by analyzing Mr. Skau's HOS Log, I calculate that Mr. Skau worked an
15
     average of 49 hours per week. (This number combines the time Mr. Skau spent driving and the
16
     time spent working, but not driving.) I calculated this number by analyzing the available HOS
17
     Log data from the five week period, excluding the week Mr. Skau did not work. Using this data
18
     I totaled all of the time Mr. Skau spent working (195.53 hours) and divided it by the number of
19
     weeks Mr. Skau worked (4 weeks), Based on the above calculations, I determined that Mr.
20
     Skau spent an average of 49 hours per week working.
21
              11.       Based on Mr. Skau's available HOS Logs, I estimate that he drove 10,410 miles
22
     during the five week period of March 26, 201 7 to May 1, 2017. As noted above, Mr. Skau
23
     worked approximately 195.53 hours during this period, which includes both on duty driving
24
     and on duty, not driving time. Thus, I estimate that Mr. Skau traveled approximately 53 miles
25
     per hour during the period in which his HOS Logs are available.
26

27   DECLARATION OF DARRIN TAYLOR IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC.'S NOTICE OF
     REMOVAL                                                                   Davis Wright Tremaine LLP
     46827062.1                                                                        LAW OFFICES
                                                                                  1201 Third Avenue, Suile 2200
                                                                                     Seattle, WA 98101-3045
                                                                             206.622.3150 main 206.757.7700 fax
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     II


                       I declare under penalty of perjury under the laws of the United Stutes that the foregoing
 2        is true and correct.

 3                     Executed    at                                                                                             on

 4
          September..l~ 2017.
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26
27        DECLARATION OF DARRIN TAYLOR IN SUPPORT
          OF DEFENDANT JBS CARRIERS, INC.'S NOTICE OF
          REMOVAL                                                                         Davis Wright Trcmuine LLP
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                   Exhibit D
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 1

 2                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHING TON
 3                                         AT SEATTLE

 4   KURT SKAU, on behalf of himself and on             )
     behalf of others similarly situated,               )
 5                                                      )    No.
                                  Plaintiff,            )
 6                                                      )    DECLARATION OF MICHAEL
               v.                                       )    McQUADE IN SUPPORT OF
 7                                                      )    DEFENDANT JBS CARRIERS,
     JBS CARRIERS, INC., a Delaware corporation, )           INC'S NOTICE OF REMOVAL
 8                                               )
                           Defendant.            )
 9                                                      )
10

11             I, Michael McQuade, declare:

12                 1.   I am the Human Resources Director for Defendant, JBS Carriers, Inc. ("JBS
13
     Carriers"). In my role as Human Resources Director, I oversee all human resources operations
14
     for JBS Carriers.      As Human Resources Director and in preparation for this declaration, I
15
     reviewed Mr. Skau's personnel file and other documents relating to Mr. Skau. As such, I have
16
     personal knowledge of the facts stated herein and if called to testify thereto could do so
17   competently.
18
               2.       This declaration sets forth information I have compiled from other corporate
19
     departments located here in Greely, Colorado. This information is maintained in the ordinary
20
     course of business, was prepared at or near the time of events or matters described therein, and
21
     records such data accurately. I have access, either directly or indirectly, to these business and
22
     corporate records in the ordinary course of business, and I periodically refer to them.
23
               3.       JBS Carriers is a subsidiary of Swift Brands Company, which falls under the
24
     JBS USA Food Company ("JBS") umbrella. JBS is a food processing company with plants
25
     around the country.       JBS Carriers employs over the road truck drivers who, in large part,
26
27   DECLARATION OF MICHAEL MCQUADE IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC. 'S NOTICE OF
     REMOVAL                                                                    Davis Wright Tremaine LLP
     46816360. l                                                                         LAW OFFICES
                                                                                   120 I Third Avenue, Suite 2200
                                                                                     Seattle, \VA 9810 I -3045
                                                                              206.622.l 150 main· 206.757.7700 fax
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     transport JBS' animal protein and agricultural products from production facilities to customers

 2   throughout the United States. JBS Carriers operates nationwide.

 3             4.    JBS and JBS Carriers are both headquartered in Greeley, Colorado. Almost all
 4   of JBS Carriers' human resources, payroll, accounting, hiring, recruiting, and training
 5   personnel are located and operated out of Greeley, Colorado. The only exception is that JBS
 6   Carriers employs one recruiter in Green Bay, Wisconsin and Hyrum, Utah, and one billing
 7   specialist in Texas. As JBS CmTiers' HR Director, my office is located in Greeley, Colorado.
 8   JBS Carriers' principal place of business is in Colorado.
 9
               5.   Plaintiff Kurt Skau was a resident of Washington during his employment with
10
     JBS Carriers, and I do not have any reason to believe plaintiff is no longer a resident of
11
     Washington. Plaintiff was employed by JBS Carriers from November 9, 2015 until May 5,
12
     2017.
13
               6.   Every new driver, including Mr. Skau attends an orientation program that occurs
14
     m Greeley, Colorado. The orientation program offered to new drivers of JBS Carriers is
15
     approximately four days long, with drivers arriving on Monday and being relieved of work at
16
     varying times throughout the day on Thursday. The length of orientation is between 24-32
17
     hours, depending on the driver.
18

19             7.   In addition to the orientation program, some drivers also participate in a driving

20   training program, known as the "Trainee/Mentor Program." The Trainee/Mentor Program pairs

21   new drivers with a mentor for approximately 15,000 miles. The number of miles required

22   varies depending on the new driver's experience and development. Generally, it takes new

23   drivers 5 weeks to complete the training, but, again, it can take more or less time depending on

24   the experience and development of each individual. Once the new driver completes the

25   Trainee/Mentor Program, he is offered routes to drive on his own.

26
27   DECLARATION OF MICHAEL MCQUADE IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC.'S NOTICE OF
     REMOVAL                                                                   Davis Wright Tremaine LLP
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               I declare under penalty of perjury under the laws of the United States that the foregoing
 2   is true and correct.

 3             Executed     at                                                                                          on
     September 2..<\ , 2017.
 4

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 6
                                                            Michael McQuade
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27   DECLARATION OF MICHAEL MCQUADE IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC. 'S NOTICE OF
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                                                                                  Davis Wright Trcmnine LLP
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               Exhibit A-3
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                   Exhibit E
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 1                                                         THE HONORABLE ROBERT S. LASNIK
 2

 3

 4

 5

 6
                                       U.S. DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON

 8   KEVIN HELDE, JON BODILY, and MAX
     TENA, on their own behalf and on the behalf
 9   of all others similarly situated,                    NO. 2:12-cv-00904-RSL
10                            Plaintiffs,                 DECLARATION OF TOBY J.
11                                                        MARSHALL IN SUPPORT OF
               v.                                         PLAINTIFFS’ MOTION FOR
12                                                        AWARD OF ATTORNEYS’ FEES
     KNIGHT TRANSPORTATION, INC., an                      AND REIMBURSEMENT OF
13   Arizona corporation,                                 LITIGATION COSTS
14                            Defendant.
15

16

17             I, Toby J. Marshall, declare as follows:

18             1.     I am a member of Terrell Marshall Law Group PLLC and counsel for Plaintiffs

19   Kevin Helde, Jon Bodily and Max Tena in this matter. I am over 18 years of age, make this

20   declaration based on personal knowledge, and am competent to testify regarding the following

21   facts.

22                                          The Requested Fee Award

23             2.     Plaintiffs are moving for an award of reasonable attorneys’ fees and

24   reimbursement of litigation costs. Plaintiffs are requesting a fee award of $1,401,612, which

25   represents Class Counsel’s lodestar after reduction for unsuccessful claims and with a

26


     DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES                   TERRELL MARSHALL LAW GROUP PLLC
     AND REIMBURSEMENT OF LITIGATION COSTS - 1                               936 North 34th Street, Suite 300
                                                                            Seattle, Washington 98103-8869
     CASE NO. 2:12-CV-00904-RSL                                           TEL. 206.816.6603 • FAX 206.319-5450
                                                                                 www.terrellmarshall.com
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 1   multiplier of 1.5 in recognition of the risk of no recovery and the quality of services provided to
 2   the class.
 3           3.     Attached as Exhibit A is a spreadsheet that provides Class Counsel’s detailed
 4   time records in chronological order by timekeeper. The information in the chart is taken from
 5   contemporaneous, daily time reports prepared and maintained by Terrell Marshall and Rekhi &
 6   Wolk in the regular course of business. We have redacted privileged and similarly confidential
 7   information from the time reports, which are otherwise provided in full.
 8           4.     As of May 31, 2017, Class Counsel devoted 3,045.63 hours to his case for a
 9   total lodestar of $1,121,630.99.
10           5.     I reviewed Class Counsel’s billing records and reduced and eliminated time
11   where appropriate. I eliminated time that was administrative in nature, and made reductions
12   where time arguably could have been more efficiently spent. I also eliminated and reduced time
13   to account for Plaintiffs’ unsuccessful claims. I eliminated time that was devoted exclusively to
14   litigating claims for overtime wages, compensation for time spent on duty, not driving,
15   payment for miles driven, and delayed bonus payments, as well as claims brought under the
16   Washington Consumer Protection Act and time spent on the motion for reconsideration. I
17   reduced the time spent on class certification by 25%, on responding to Knight’s first summary
18   judgment motion by 25%, and on the parties’ cross-motions for summary judgment by 50%. I
19   reduced by 25% time spent working with experts and on damages issues through the Court’s
20   ruling in April 2016 that Plaintiffs could not recover separate wages for their on duty, not
21   driving tasks, and reduced all deposition time by 15%.
22           6.     The amount of and reason for each writedown is show on Exhibit A. In total
23   Class Counsel Counsel reduced their hours by 611.08, or 20.06%, and their lodestar by
24   $187,222.82, or 16.69%. Following these reductions, Class Counsel’s lodestar is $934,408.17.
25           7.     Class Counsel requests a multiplier of 1.5 on their reduced lodestar, for a total
26   fee award of $1,401,612.


     DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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 1                             Terrell Marshall’s Qualifications and Rates
 2          8.       The following table identifies the attorneys and staff members from my firm
 3   who worked on this case and for whom the recovery of fees is sought. For each of the
 4   timekeepers below, I have stated the current hourly rate, the number of hours billed after the
 5   reductions discussed above, and the total amount of fees.
 6
                       Name and Position            Rate      Hours                  Total
 7               Toby J. Marshall                   $475         713.7          $339,007.50
 8               Managing Partner
                 J.D. from Univ. of Washington
 9               School of Law, 2002
10               Jennifer Rust Murray               $450          5.6             $2,520.00
                 Partner
11
                 J.D. from Univ. of Washington
12               School of Law, 2005

13               Amanda M. Steiner                  $495         20.5            $10,147.50
                 Partner
14               J.D. from UC Berkeley School
15               of Law, 1997
                 Marc C. Cote                       $375         72.5           $27,187.50
16
                 Partner
17               J.D. from Univ. of Washington
                 School of Law, 2007
18
                 Erika L. Nusser                    $350         428.2          $149,870.00
19               Associate
20               J.D. from Univ. of San Francisco
                 School of Law, 2008
21
                 Sharon Safarik                     $225         35.1             $7,897.50
22               Associate
                 J.D. from Univ. of Washington
23               School of Law, 2005
24               Eric Nusser                        $150         25.2             $3,780.00
25               Associate
                 J.D. from Seattle Univ. School
26               of Law, 2016


     DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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                                                                              Seattle, Washington 98103-8869
     CASE NO. 2:12-CV-00904-RSL                                             TEL. 206.816.6603 • FAX 206.319-5450
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 1                     Name and Position              Rate      Hours                Total
                 Eden Nordby                          $150      131.3            $19,695.00
 2
                 Senior Paralegal
 3               11 years legal experience
 4               Jennifer Boschen                     $150        9.5             $1,425.00
                 Senior Paralegal
 5
                 17 years legal experience
 6               Hannelore Ohaus                      $75         5.3              $397.50
 7               Legal Assistant
                 6 years legal experience
 8
                 Hannah Buckendorf                    $50        13.0              $650.00
 9               Legal Assistant
10               Bradford Kinsey                      $100      42.075            $4,207.50
                 Legal Assistant
11
                 26 years legal experience
12               Holly Rota                           $100       15.5             $1,550.00
13               Legal Assistant
                 11 years legal experience
14
                 Christine Stanley                    $100       10.1             $1,010.00
15               Legal Assistant
16               10 years legal experience

17          9.        Terrell Marshall sets its rates for attorneys and staff members based on a variety

18   of factors, including among others: the experience, skill and sophistication required for the

19   types of legal services typically performed; the rates customarily charged in similar matters; the

20   rates customarily charged by other lawyers of similar skill and experience; and the experience,

21   reputation, and ability of Terrell Marshall’s attorneys and staff members.

22          10.       Our lodestar calculations are based on our current standard hourly rates. Courts

23   throughout Washington and around the country have approved fee requests by Terrell Marshall

24   that were based the standard rates of the firm at the time of the application. Indeed, many courts

25   have approved fee requests by Terrell Marshall that were based on higher billing rates. Here is

26


     DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES                     TERRELL MARSHALL LAW GROUP PLLC
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 1   a sample of the federal and state courts that have approved Terrell Marshall’s rates as
 2   reasonable in class action litigation:
 3                      a. Paz v. Sakuma Brothers Farms, Inc., C13-01918 MJP (W.D.
 4                          Wash.) (July 2016) (approving Terrell Marshall’s standard
 5                          rates);
 6                      b. Witschel v. IMCO General Construction, Inc., et al., Case No.
 7                          13-2-00975-0 (Wash. Super. Ct. Skagit County) (June 2016)
 8                          (approving Terrell Marshall’s standard rates);
 9                      c. Taylor v. Universal Auto Group I, Inc., C13-05245 KLS
10                          (W.D. Wash.) (Nov. 2015) (approving rates of up to
11                          $650/hour for Terrell Marshall attorneys);
12                      d. Romatka, et al. v. Brinker Int’l. Payroll Company, L.P., et al.,
13                          Case No. 13-2-14937-1 SEA (Wash. Super. Ct. King County)
14                          (March 2015) (approving Terrell Marshall’s standard rates);
15                      e. Chesbro v. Best Buy Stores, L.P., C10-774 RAJ (W.D.
16                          Wash.) (Sept. 2014) (approving rates up to $650/hour for
17                          Terrell Marshall attorneys);
18                      f. Wilbur, et al. v. City of Mount Vernon, et al., C11-1100 RSL
19                          (W.D. Wash.) (April 2014) (approving Terrell Marshall’s
20                          standard rates);
21                      g. Brown v. Consumer Law Associates, LLC, C11-0194 (E.D.
22                          Wash.) (Nov. 2013) (approving Terrell Marshall’s standard
23                          rates);
24                      h. Bronzich, et al. v. Persels & Associates, LLC, C10-0364
25                          (E.D. Wash.) (approving Terrell Marshall’s standard rates);
26


     DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES                  TERRELL MARSHALL LAW GROUP PLLC
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     CASE NO. 2:12-CV-00904-RSL                                          TEL. 206.816.6603 • FAX 206.319-5450
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 1                      i. Milligan v. Toyota Motor Sales, U.S.A., Inc., C09-05418 RS
 2                          (N.D. Cal.) (Jan. 2012) (approving rates up to $600/hour for
 3                          Terrell Marshall attorneys);
 4                      j. Seraphin v. AT&T Internet Svcs., CV-00131-REB (D. Idaho)
 5                          (Aug. 2011) (approving rates up to $600/hour for Terrell
 6                          Marshall attorneys);
 7                      k. Odom v. Microsoft Corp., Case No. 04-2-10618-4 SEA
 8                          (Wash. Super. Ct. King County) (Sept. 2010) (approving rates
 9                          up to $560/hour for Terrell Marshall attorneys);
10                      l. Ramirez v. Precision Drywall, Inc., Case No. 08-2-26023-2
11                          SEA (Wash. Super. Ct. King County) (Aug. 2010) (approving
12                          Terrell Marshall’s standard rates and awarding a multiplier)
13                      m. Splater v. Thermal Ease Hydronic Systems, Inc., Case No. 03
14                          2 33553-3 SEA (Wash. Super. Ct. King County) (July 2009)
15                          (approving rates up to $560/hour for Terrell Marshall
16                          attorneys); and
17                      n. Barnett, et al. v. Wal-Mart Stores, Inc., Case No. 01-2-24553-
18                          8 SEA (Wash. Super. Ct. King County) (July 2009)
19                          (approving rates up to $560/hour for Terrell Marshall
20                          attorneys)
21          11.     Since the beginning work on this case in September 2012, Terrell Marshall
22   worked with no guarantee of being compensated for their time and efforts. Payment of Terrell
23   Marshall’s fees has always been contingent on successfully obtaining relief for the Plaintiffs
24   and class members. As a result, there was a substantial risk of non-payment, particularly in
25   light of the legal challenges involved in litigating this case. Work on this case has necessarily
26


     DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES                   TERRELL MARSHALL LAW GROUP PLLC
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 1   been to the exclusion of work on other matters that likely would have generated fees. Terrell
 2   Marshall has also been denied use of the fees they earned over the course of this case.
 3          12.       Terrell Marshall is a law firm in Seattle, Washington that focuses on complex
 4   civil and commercial litigation with an emphasis on consumer protection, product defect,
 5   employment, wage and hour, real estate, personal injury, and civil rights matters. The firm’s
 6   attorneys have extensive experience in class actions, collective actions, and other complex
 7   matters. They have been appointed lead or co-lead class counsel in numerous cases at both the
 8   state and federal level. They have prosecuted a variety of multi-million-dollar consumer fraud,
 9   wage and hour, securities fraud, and product defect class actions. The defendants in these cases
10   have included companies such as Wal-Mart, Microsoft, Best Buy, Toyota, Honda, Sallie Mae,
11   Comcast, ABM Industries, AT&T, T-Mobile USA, Weyerhaeuser, Behr Products, American
12   Cemwood, Bank of America, Discover, Chase, Capital One, and HSBC.
13          13.       In addition to this case, Terrell Marshall’s attorneys have served as co-lead
14   counsel in several employment class or collective actions, including the following:
15                •   Romatka, et al. v. Brinker International Payroll Company, L.P., et al.
16                    — Filed in 2013 on behalf of approximately 900 current and former
                      hourly employees who alleged wage and hour violations regarding
17                    failure to provide rest breaks and failure to properly disclose service
                      charges. We obtained a $900,000 settlement on behalf of the Class.
18                    The settlement received final approval on March 6, 2015.
19                •   Newell v. Home Care of Washington, Inc., et al. — Terrell Marshall
20                    represented a class of more than 400 in-home health care workers
                      who alleged violations of state wage and hour law. The class was
21                    certified on December 20, 2012 by the Honorable Linda Tompkins,
                      in Washington State Superior Court, in and for Spokane County.
22                    This case settled in 2014 and received final settlement approval in
                      early 2015.
23
                  •   Paz v. Sakuma Brothers Farms, Inc. — Terrell Marshall represented
24
                      a class of almost 1,000 migrant and seasonal berry pickers who
25                    alleged violations of state wage and hour law and the federal
                      Agricultural Worker Protection Act. The primary claims in the case
26                    settled for $850,000 plus an agreement on injunctive relief in May
                      2014; preliminary approval of the settlement was granted by the
     DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
     PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES                    TERRELL MARSHALL LAW GROUP PLLC
     AND REIMBURSEMENT OF LITIGATION COSTS - 7                                 936 North 34th Street, Suite 300
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                  Honorable Marsha J. Pechman in the United States District Court for
 1                the Western District of Washington in July 2014, and final approval
 2                was granted in November 2014. We successfully litigated additional
                  claims not covered by the 2014 settlement, which resulted in a
 3                unanimous opinion by the Washington Supreme Court in Lopez
                  Demetrio v. Sakuma Brothers Farms, Inc., 183 Wn.2d 649 (2015).
 4                Following the Washington Supreme Court decision, the court
                  approved a final settlement of all claims and ordered payment of
 5
                  Plaintiffs’ attorneys’ fees and costs in July 2016.
 6
              •   Hill v. Xerox Business Services, LLC, et al. — Terrell Marshall
 7                represents a class of current and former call center workers who
                  allege violations of Washington wage and hour laws. This case was
 8                filed in 2012. In 2014, the Honorable John Coughenour found that
                  the elements for class certification were met and denied the
 9                defendants’ motion for partial summary judgment. The defendants
10                appealed the summary judgment ruling, and the appeal is pending in
                  the Ninth Circuit Court of Appeals.
11
              •   Douglas v. Xerox Business Services, LLC, et al. — Terrell Marshall
12                represents a proposed nationwide class of current and former call
                  center workers who allege violations of the Fair Labor Standards
13                Act. This case was filed in 2012. In 2014, the Honorable John
14                Coughenour conditionally certified a collective action on the central
                  claims. An appeal of a summary judgment ruling is pending in the
15                Ninth Circuit Court of Appeals.

16            •   Dickerson v. Cable Communications, Inc., et al. — Filed in 2012 on
                  behalf of approximately 500 individuals alleging their employer
17                violated Oregon’s wage and hour laws. Defendants’ systematic
18                scheme of wage and hour violations involved, among other things,
                  failure to pay non-managerial installation technicians for all hours
19                worked, including overtime. The case settled on a class-wide basis,
                  and approval was granted in 2013.
20
              •   Khadera v. ABM Industries, Inc. — Terrell Marshall represented an
21                opt-in FLSA class of 337 employees who alleged violations of
22                federal and state wage and hour law. The case settled in March 2012,
                  and final approval of the settlement was granted on October 17, 2012
23                by the Honorable Ricardo S. Martinez, in the United States District
                  Court for the Western District of Washington.
24

25

26


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              •   Simpson v. ABM Industries, Inc. — Terrell Marshall represented a
 1
                  CR 23 class of approximately 6,800 employees who alleged
 2                Washington State wage and hour violations. The case settled in
                  March 2012, and final approval of the settlement was granted on
 3                September 2012 by the Honorable Teresa B. Doyle, in the
                  Washington State Superior Court in and for King County.
 4
              •   Barnett, et al. v. Wal-Mart Stores, Inc. — Filed in 2001 on behalf of
 5
                  Washington employees alleging wage and hour violations by the
 6                country’s largest private employer. After more than seven years of
                  litigation, Terrell Marshall obtained a settlement of $35 million on
 7                behalf of a certified class of approximately 88,000 employees. That
                  settlement was approved in July 2009.
 8
              •   McGinnity, et al. v. AutoNation, Inc., et al. — Terrell Marshall
 9                represented a certified class of more than 500 employees who were
10                denied earned vacation benefits. After nearly two years of litigation
                  before an arbitrator, we obtained an award of $2.34 million on behalf
11                of the class. We successfully defended the award on appeal, and the
                  Washington Supreme Court denied defendants’ petition for review.
12                A judgment in excess of $2,600,000 was satisfied in September
                  2009.
13

14            •   Ramirez, et al. v. Precision Drywall, Inc. — Terrell Marshall
                  represented a certified class of workers who alleged they were not
15                paid for overtime work. The case was tried before a jury during a
                  five-week period in 2010, and Terrell Marshall successfully obtained
16                a judgment for the workers in excess of $4,000,000. Terrell Marshall
                  continues to work on enforcing the judgment against multiple
17
                  defendants. An initial distribution of funds collected so far was made
18                to eligible class members in April 2016.

19            •   Reese v. Dycom, Inc. — Terrell Marshall attorneys represented a
                  class of over 1,700 current and former employees in Washington and
20                Oregon who alleged wage and hour violations. Terrell Marshall
                  obtained a $1.4 million settlement on behalf of the Class. The
21                settlement received final approval on April 23, 2010.
22
              •   Telecommunications Company Lawsuit II — Attorneys of Terrell
23                Marshall represented a certified class of more than 2,400 current and
                  former employees in Washington and Oregon who alleged wage and
24                hour violations. Attorneys of Terrell Marshall obtained a $3,000,000
                  settlement after nearly four years of intense litigation, and the court
25                granted final approval of the settlement in March 2009.
26


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                     •   Labor Services Company Lawsuit — Terrell Marshall represented a
 1
                         class of 1,390 employees who alleged wage and hour violations. The
 2                       case settled in 2009, and Plaintiffs’ Motion for Final Approval of
                         Class Action Settlement was granted on April 23, 2010.
 3
                     •   Martinez v. 24 Hr. Professional Janitorial Services, Inc. — Terrell
 4                       Marshall represented a class of 175 employees who alleged wage and
                         hour violations. The case settled in 2009, and the settlement was
 5
                         approved by the Honorable Paris Kallas, in the Washington State
 6                       Superior Court in and for King County.

 7                   •   Mendis v. Schneider National Carriers, Inc. — Filed in 2014, Terrell
                         Marshall represents a certified class of approximately 900 current
 8                       and former employees who allege wage and hour violations that
                         include failure to pay for overtime, failure to pay for rest breaks,
 9                       failure to pay minimum wage, and other violations of Washington
10                       wage and hour laws.

11                   •   Witschel v. IMCO General Construction, Inc. — Filed in 2013 in
                         Washington State Superior Court in and for Skagit County. Terrell
12                       Marshall represented current and former hourly-paid employees who
                         alleged violations of Washington wage and hour law regarding rest
13                       breaks. The case settled on a class-wide basis for $1.1 million. Final
14                       approval of the settlement was granted on June 16, 2016
               14.       I am the lead attorney from Terrell Marshall for this case and I supervised all
15
     work performed. A founding member of the firm and its current managing member, I
16
     concentrate my practice in complex civil litigation, including the prosecution of consumer,
17
     wage and hour, and civil rights class actions. I have been actively involved in every aspect of
18
     dozens of class actions brought on behalf of consumers, employees, and others, and have
19
     recovered millions of dollars and obtained substantial injunctive relief for the represented
20
     groups.
21
               15.       I received a B.A., cum laude, from California State University, Sacramento in
22
     1996. In 2002, I received my J.D. from the University of Washington School of Law, where I
23
     served on the Moot Court Honor Board and was selected to the Order of Barristers.
24
               16.       I have tried and won cases in state and federal courts and have also successfully
25
     briefed and argued cases before the Washington Supreme Court, the Washington State Court of
26
     Appeals, and the Ninth Circuit Court of Appeals. In Wilbur v. Mount Vernon (W.D. Wash.), for
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 1   example, I was appointed co-lead class counsel for a certified class of indigent defendants in
 2   Mount Vernon and Burlington, Washington. After three years of litigation and a nine-day
 3   bench trial, my co-counsel and I prevailed and obtained substantial injunctive relief on behalf
 4   of the class. The New York Times noted that the settlement was “the first time a federal court
 5   had appointed a supervisor to oversee a public-defense system.” Attorney General Eric Holder
 6   called the result “pivotal” and said it “will help us meet our constitutional and moral
 7   obligations to administer a legal system that matches its demands for accountability with a
 8   commitment to due process.” My colleagues and I received the Champion of Justice Award
 9   from WACDL and the President’s Award from WDA for our work on the case.
10          17.     I am actively involved in several professional organizations and activities. For
11   example, I currently serve on the amicus and legislative committees of the Washington
12   Employment Lawyers Association and the board of the Washington Appellate Project. I am
13   also a member of the Washington State Association for Justice, the Public Justice Foundation,
14   and the National Association of Consumer Advocates. Previously, in 2013, I served as the
15   Chair of the Washington State Bar Association Labor & Employment Law Section Executive
16   Committee, and I served as the Section’s Treasurer in 2011 and 2012.
17          18.     I have been named several times to the annual Washington “Super Lawyers” list
18   and “Rising Star” list by Washington Law & Politics Magazine.
19          19.     Jennifer Rust Murray is a founding member of Terrell Marshall. Ms. Murray
20   graduated from the University of Washington School of Law in 2005 where she was a member
21   of the Washington Law Review. Ms. Murray’s law review article entitled “Proving Cause in
22   Fact under Washington’s Consumer Protection Act: The Case for a Rebuttable Presumption of
23   Reliance” won the Carkeek prize for best submission by a student author. Prior to law school,
24   Ms. Murray earned a Ph.D. in Philosophy from Emory University. Ms. Murray has been an
25   active member of the Washington State Bar Association since her admission to the bar in 2005.
26   In 2010, Ms. Murray was admitted to the Oregon State Bar. In 2011, 2012, 2013, 2014, 2015,


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 1   and 2016, Ms. Murray was named a Washington “Rising Star” by SuperLawyer Magazine.
 2   Ms. Murray focuses her practice on complex commercial litigation with an emphasis on
 3   consumer and employment issues. She has been involved in nearly every class action
 4   prosecuted by the firm.
 5          20.     Amanda M. Steiner is a member of Terrell Marshall with nearly twenty years of
 6   experience in class action and complex civil litigation. A 1997 graduate of UC Berkeley School
 7   of Law who is admitted in Washington, California, New York and Hawaii, she has authored
 8   briefs that have resulted in numerous favorable decisions for plaintiffs in high-profile and
 9   complex securities, antitrust, consumer and civil rights class action in federal and state courts
10   throughout the United States. Ms. Steiner was selected for inclusion in the annual Northern
11   California “Super Lawyers” list (2012-2016) and was named to the Top 50 Women Lawyers of
12   Northern California. She is a member of the Legal Writing Institute and the American Bar
13   Association’s Appellate Practice Committee, and is a Fellow of the American Bar Foundation.
14   I supervised Ms. Steiner’s legal work on this case.
15          21.     Marc C. Cote is a former partner at Terrell Marshall. He graduated from the
16   University of Washington School of Law with high honors in 2007. He served as a Law Clerk
17   to the Honorable Walter L. Carpeneti of the Alaska Supreme Court. Mr. Cote concentrates his
18   practice on complex civil litigation and employment law, including individual and class action
19   wage and hour cases. He was on the trial team for the plaintiffs in the wage and hour class
20   action, Ramirez v. Precision Drywall, Inc. (King County Superior Court, 2010), and has
21   litigated numerous employment cases, including wage and hour class actions, in both state and
22   federal court. He is also active in several professional organizations and is the co-author of the
23   Wage and Hour Law chapter of the 2013 edition of the Washington State Association for
24   Justice Employment Law Deskbook. He has been named to the Rising Star list by Super
25   Lawyers multiple times.
26


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 1            22.   Erika L. Nusser is a 2008 graduate of the University of San Francisco School of
 2   Law, with significant experience in class action litigation. Ms. Nusser has been actively
 3   involved in every aspect of numerous class actions, including serving as trial counsel in
 4   Ramirez v. Precision Drywall, Inc, supra. She has tried and won cases in state and federal
 5   courts and has also successfully briefed and argued cases before the Washington State Court of
 6   Appeals and the Ninth Circuit Court of Appeals. Ms. Nusser has also been named to the annual
 7   Washington “Super Lawyers” and “Rising Star” lists by Washington Law & Politics Magazine
 8   from 2013 – 2017. I supervised Ms. Nusser’s legal work on this case.
 9            23.   Sharon Safarik was an associate at Terrell Marshall. She graduated from the
10   University of Washington School of Law in 2005. I supervised Ms. Safarik’s legal work on this
11   case.
12            24.   Eric Nusser is a 2016 graduate of the University of Seattle University School of
13   Law. He focused his studies on labor and employment law and civil litigation, served as an
14   extern to the Honorable Lisa R. Worswick at the Washington Court of Appeals, and was a
15   summer associate at the Unemployment Law Project. He also served as a president of the
16   Seattle University Labor and Employment Law Association and was a three-time recipient of
17   the Presidential Law Scholarship. I supervised Mr. Nusser’s legal work on this case.
18            25.   Eden Nordby is a senior litigation paralegal and Terrell Marshall. She has a B.A.
19   from Sarah Lawrence College. Ms. Nordby has more than nine years of experience managing
20   complex litigation and also has extensive experience in conducting electronic discovery. I
21   supervised Ms. Nordby’s legal work on this case.
22            26.   Jennifer Boschen has been a senior litigation paralegal at Terrell Marshall. She
23   has a B.A. from Rutgers University. Ms. Boschen has ten years of experience managing
24   complex litigation and has become knowledgeable about conducting electronic discovery. Ms.
25   Boschen’s unique qualifications and experience as both an investigator and as a litigation
26


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 1   paralegal with extensive ESI experience make her extremely valuable. I supervised Ms.
 2   Boschen’s legal work on this case.
 3          27.      Hannelore Ohaus was a legal assistant at Terrell Marshall. She has a B.A. from
 4   Whitman College and six years of litigation experience. I supervised Ms. Ohaus’s legal work
 5   on this case.
 6          28.      Hannah Buckendorf was a legal assistant at Terrell Marshall. She has a B.A.
 7   from the College of Idaho. I supervised Ms. Buckendorf’s legal work on this case.
 8          29.      Bradford Kinsey is a litigation assistant at Terrell Marshall and has worked in
 9   that capacity with the firm since 2009. He has twenty-six years of experience as a litigation
10   assistant. I supervised Mr. Kinsey’s work on this case.
11          30.      Holly Rota is a litigation assistant at Terrell Marshall and has worked in that
12   capacity with the firm for two years. She has eleven years of experience as a litigation assistant.
13   I supervised Ms. Rota’s work on this case
14          31.      Christine Stanley was a litigation assistant at Terrell Marshall. When she left the
15   firm, she had ten years of experience as a litigation assistant. I supervised Ms. Stanley’s work
16   on the case.
17                                            Litigation Costs
18          32.      Through the date of this submission, Class Counsel have reasonably and
19   necessarily incurred $64,308.05 in unreimbursed litigation costs reasonably related to the
20   prosecution of this case. These costs are customarily charged to and paid by hourly clients. The
21   following chart summarizes Class Counsel’s litigation costs:
22
              Type of Cost                                                                 Amount
23
              Computer Research (Westlaw and Pacer)                                      $6,554.36
24
              Courier and Postage                                                           $584.16
25
              Expert Costs                                                                  $43,290
26
              Filing Fees                                                                   $232.49
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 1              Type of Cost                                                                 Amount
 2              Meals                                                                         $281.77
 3              Mediation Costs                                                            $5,055.50
 4              Notice Costs                                                                  $379.52
 5              Process Service                                                                 $60.00
 6              Records Productions/Transcripts                                            $4,660.89
 7              Reproductions (scanning and copying)                                       $1,633.90
 8              Travel and Lodging                                                         $1,575.46
 9              Total                                                                    $64,308.05
10             33.      This chart includes a 25% reduction of Westlaw charges and amounts paid to
11   experts Jeff Munson and Robert D. Abbott, Ph.D., for work related to Plaintiffs’ unsuccessful
12   claims.
13             34.      The spreadsheet attached as Exhibit B provides a detailed list of Terrell
14   Marshall’s litigation costs and is taken from contemporaneous, documented expense records
15   regularly prepared and maintained by Terrell Marshall in the regular course of business.
16             I declare under penalty of perjury under the laws of the United States and the State of
17   Washington that the foregoing is true and correct.
18             Executed at Seattle, Washington, on this 7th day of June, 2017.
19
                                                   By: /s/ Toby J. Marshall, WSBA #32726
20                                                    Toby J. Marshall, WSBA #32726
21

22

23

24

25

26


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 1                                    CERTIFICATE OF SERVICE
 2          I, Toby J. Marshall, hereby certify that on June 7, 2017, I electronically filed the
 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 4   such filing to the following:
 5                  Stellman Keehnel, WSBA #9309
 6                  Email: stellman.keehnel@dlapiper.com
                    Anthony Todaro, WSBA #30391
 7                  Email: Anthony.todaro@dlapiper.com
                    Jeffrey DeGroot, WSBA #46839
 8                  Email: jeffrey.degroot@dlapiper.com
                    DLA PIPER LLP
 9
                    701 Fifth Avenue, Suite 7000
10                  Seattle, Washington 98104-7044
                    Telephone: (206) 839-4800
11                  Facsimile: (206) 839-4801

12                  Eric S. Beane, Admitted Pro Hac Vice
                    Email: eric.beane@dlapiper.com
13
                    DLA PIPER LLP
14                  1999 Avenue of the Stars, Suite 400
                    Los Angeles, California 90067-6023
15                  Telephone: (310) 595-3005
                    Facsimile: (310) 595-3305
16
                    Attorneys for Defendant
17
            DATED this 7th day of June, 2017.
18

19                                              TERRELL MARSHALL LAW GROUP PLLC

20
                                                By: /s/ Toby J. Marshall, WSBA #32726
21                                                 Toby J. Marshall, WSBA #32726
                                                   Email: tmarshall@terrellmarshall.com
22
                                                   936 North 34th Street, Suite 300
23                                                 Seattle, Washington 98103-8869
                                                   Telephone: (206) 816-6603
24                                                 Facsimile: (206) 319-5450

25                                              Attorneys for Plaintiffs
26


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                   - Exhibit A -
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         A             B              C            D             E                                                  F                                              G               H                                         I               J
1      Date       Professional      Units        Price         Value        Narrative                                                                          Writedown     Revised Value                         Writedown Explanation   Firm
2    1/10/2012     Greg Wolk        1.70    $     425.00   $       722.50   meet with client re claims and representation                                                  $         722.50                                                RW
3    1/10/2012   Hardeep Rekhi      1.70    $     425.00   $       722.50   Initial client meeting                                                                         $         722.50                                                RW
4    1/10/2012   Jason Proctor      1.00    $     150.00   $       150.00   Created Redwell; Updated File                                                        1.00       $             - Administrative                                 RW
5    1/11/2012   Jason Proctor      0.20    $     150.00   $        30.00   Teleconference With Client; E-Mails HSR & Gaw                                                  $          30.00                                                RW

                                                                         Reviewed various case Issues & case caw; legal research regarding claims;
6    1/12/2012   Hardeep Rekhi      1.10    $ 425.00 $            467.50 research regarding defendant; research regarding other similar claims                             $        467.50                                                 RW
                                                                         Requested EEOC File For Client; Requested FMCSA File; Requested ESD File;
                                                                         Requested Personnel File From Knight Transportation's Human Resource Office In
7    1/12/2012   Jason Proctor      4.20    $ 150.00 $            630.00 Seattle.                                                                                3.40      $        120.00 Administrative/Relevance                        RW

                                                                            analyze and investgate retaliation claims (1.5); review client documents (.5);
8    1/13/2012    Greg Wolk         2.80    $ 425.00 $          1,190.00    prepare PRA request and rep letters (.2); research retaliation caselaw (.6)          2.30      $        212.50 Relevance                                       RW
                                                                            Strategized Case; review client documents; reviewed pay information; analyzed
9    1/13/2012   Hardeep Rekhi      0.90    $ 425.00 $            382.50    claims                                                                                         $        382.50                                                 RW
                                                                            Requested Personnel File; Requested L & I Documents; Teleconference With
10   1/13/2012   Jason Proctor      1.00    $ 150.00 $            150.00    Ahson Aziz; Saved Fax                                                                0.60      $         60.00 Relevance/Administraive                         RW
                                                                            Teleconference With Ahson Aziz; Teleconference With Comdata; Investigated
                                                                            Comdata Records; Requested Unemployment Records; Scanned In Documents;
11   1/13/2012   Jason Proctor      3.20     $ 150.00 $           480.00    Updated File                                                                         2.40      $        120.00 Administrative/Relevance                        RW
12   1/16/2012     Greg Wolk        4.30    $ 425.00 $          1,827.50    analyze and investigate claims: payroll card deductions                                        $      1,827.50                                                 RW
13   1/16/2012   Hardeep Rekhi      2.40    $ 425.00 $          1,020.00    Reviewed Case Issues; Teleconference With Client                                               $      1,020.00                                                 RW
                                                                            Teleconference With Ahson Aziz; Scanned In Letter; Reviewed & Faxed; Scanned
14   1/16/2012   Jason Proctor      0.30    $ 150.00 $             45.00    In Legal Research; Updated File                                                      0.10      $         30.00 Administrative/Relevance                        RW
                                                                            Teleconference With Unemployment Law Project; Scanned And Reviewed L & I
15   1/19/2012   Jason Proctor      1.70    $ 150.00 $            255.00    Public Records E-Mail                                                                1.70      $             - Administrative/Relevance                        RW
                                                                            Left Message For Eeoc; Reviewed Voicemail & Letter; Scanned And Calendared
16   1/26/2012   Jason Proctor      0.50     $    150.00   $       75.00    Deadlines                                                                            0.50       $            -   Administrative                                RW
17   1/30/2012   Jason Proctor      0.10     $    150.00   $       15.00    Scanned In Letter                                                                    0.10       $            -   Adminitrative                                 RW
18   1/31/2012   Hardeep Rekhi      0.20    $    425.00    $       85.00    Follow-Up With Opposing Counsel                                                                $         85.00                                                 RW
19   2/2/2012    Jason Proctor      0.80     $    150.00   $      120.00    Scanned In Esd Documents                                                             0.80       $            -   Administrative                                RW
20   2/3/2012      Greg Wolk        0.30    $    425.00    $      127.50    analyze and investigate retalation claim                                             0.30       $            -   Relevance                                     RW
21   2/3/2012    Jason Proctor      0.30     $    150.00   $       45.00    Strategized Case                                                                               $         45.00                                                 RW
22   2/7/2012    Hardeep Rekhi      0.60    $    425.00    $      255.00    Reviewed Client Documents; Discussed The Same                                                  $        255.00                                                 RW
23   2/8/2012      Greg Wolk        0.20    $    425.00    $       85.00    review client documents                                                                        $         85.00                                                 RW
24   2/8/2012    Jason Proctor      0.80     $    150.00   $      120.00    Saved Fax; Drafted Letter To Knight Transportation                                   0.20      $         90.00   Administrative                                RW
25   2/9/2012    Jason Proctor      0.20     $    150.00   $       30.00    Mailed Letter                                                                        0.20       $            -   Administrative                                RW
                                                                            Reviewed Case Issues; review client documents; analyze case issues and
26   2/14/2012   Hardeep Rekhi      0.80    $    425.00    $      340.00    strategize case; Teleconference With Client; E-Mailed Opposing Counsel                         $        340.00                                                 RW
27   2/17/2012     Greg Wolk        0.30    $    425.00    $      127.50    meet with client re claims and next steps                                            0.10      $         85.00   Relevance                                     RW
28   2/17/2012   Jason Proctor      0.20     $    150.00   $       30.00    Scanned In Letter From EEOC                                                          0.20       $            -   Administrative                                RW
29   2/20/2012   Hardeep Rekhi      0.80    $    425.00    $      340.00    Strategized Case; Reviewed Documents; Teleconference With Client                               $        340.00                                                 RW
30   2/21/2012   Jason Proctor      0.20     $    150.00   $       30.00    Reviewed L&I Letter; Scanned And Filed                                               0.20       $            -   Administrative                                RW
31   2/27/2012   Hardeep Rekhi      0.20    $    425.00    $       85.00    E-Mail Correspondence                                                                          $         85.00                                                 RW
32   2/27/2012   Jason Proctor      0.20     $    150.00   $       30.00    Saved & Reviewed E-Mail                                                                        $         30.00   Administrative                                RW
33   2/28/2012     Greg Wolk        0.40    $    425.00    $      170.00    review email from employer (.1); analyze next steps (.3)                                       $        170.00                                                 RW
                                                                            Reviewed E-Mails; research regarding the same; teleconfernce to client regarding
34   2/28/2012   Hardeep Rekhi      1.60    $ 425.00 $            680.00    the same; Review time logs received from defendant                                             $        680.00                                                 RW
35   2/28/2012   Jason Proctor      0.30     $ 150.00 $            45.00    Reviewed E-Mail; Saved Personnel File & Scanned E-Mail                                         $         45.00 Administrative                                  RW
                                                                            Reviewed Correspondence from Defendant; reviewed time logs received from
36   2/29/2012   Hardeep Rekhi      0.20    $    425.00    $       85.00    Defendant; analyzed the same                                                                   $         85.00                                                 RW
37   3/1/2012      Greg Wolk        0.90    $    425.00    $      382.50    research wage claims                                                                           $        382.50                                                 RW
38   3/1/2012    Hardeep Rekhi      1.00    $    425.00    $      425.00    Teleconference With Client                                                                     $        425.00                                                 RW
39   3/1/2012    Jason Proctor      0.30     $    150.00   $       45.00    Teleconference With Ahson Aziz; Strategized Case                                               $         45.00                                                 RW
40   3/5/2012      Greg Wolk        0.50    $    425.00    $      212.50    research per diem claim                                                                        $        212.50                                                 RW
                                                                            Researched Claims; find other similar claims; review dockets; review legal
41   3/5/2012    Hardeep Rekhi      2.80    $ 425.00 $          1,190.00    research regarding the same; develop and update case strategy                                  $      1,190.00                                                 RW
42   3/6/2012     Greg Wolk         0.30    $ 425.00 $            127.50    confer w HSR re communication from employer                                                    $        127.50                                                 RW
                                                                            Researched Claims; Teleconference With Defendant; review case records;
43   3/6/2012    Hardeep Rekhi      1.20    $    425.00    $      510.00    research WACs re hours                                                                         $        510.00                                                 RW
44   3/20/2012     Greg Wolk        0.60    $    425.00    $      255.00    review file (.2); analyze claims (.4)                                                0.20      $        170.00   Relevance                                     RW
45   3/20/2012   Hardeep Rekhi      1.20    $    425.00    $      510.00    Review Driver Records                                                                          $        510.00                                                 RW
46   3/20/2012   Jason Proctor      0.20     $    150.00   $       30.00    Saved Documents                                                                      0.20       $            -   Administrative                                RW
47   3/21/2012     Greg Wolk        2.40    $    425.00    $    1,020.00    analyze claims and confer w HSR re next steps                                        0.50      $        807.50   Relevance                                     RW
48   3/21/2012   Jason Proctor      0.20     $    150.00   $       30.00    Updated File                                                                         0.20       $            -   Administrative                                RW
49   3/26/2012   Hardeep Rekhi      1.10    $    425.00    $      467.50    Researched wages issue; research overtime issue; calculate hourly rates;             0.30      $        340.00   Unsuccessful claims                           RW
50   3/27/2012   Hardeep Rekhi      4.80    $    425.00    $    2,040.00    Reviewed driver Hours; Reviewed Case File; Developed Case Strategy                             $      2,040.00                                                 RW
51   3/28/2012     Greg Wolk        0.30    $    425.00    $      127.50    confer w HSR re communication with client                                                      $        127.50                                                 RW
                                                                            Called Client; Discussed Case; Amended Fact And Strategy Memo; determine next
52   3/28/2012   Hardeep Rekhi      2.70    $ 425.00 $          1,147.50    steps                                                                                          $      1,147.50                                                 RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 18
CASE NO. 2:12-CV-00904-RSL
                                  Case
                                  Case 2:18-cv-00681-RAJ
                                    Case
                                       2:12-cv-00904-RSL  Document
                                          2:17-cv-01499 Document
                                                          Document  1 Filed
                                                                 1-12
                                                                   193-1    05/10/18
                                                                      FiledFiled
                                                                             10/05/17  Page
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                                                                                                      64
          A             B              C        D                 E                                                 F                                          G               H                                       I               J
1       Date      Professional       Units     Price            Value      Narrative                                                                       Writedown     Revised Value                       Writedown Explanation   Firm
53    3/28/2012   Jason Proctor      0.20    $ 150.00 $              30.00 Strategized Case                                                                            $          30.00                                              RW
54    3/29/2012     Greg Wolk        0.40    $ 425.00 $             170.00 confer w HSR re next steps                                                                  $         170.00                                              RW
                                                                           Research wage claims; research trucking cases; research WACs; Research class
55    3/29/2012   Hardeep Rekhi       2.20   $    425.00    $       935.00 action claims issues                                                                        $        935.00                                               RW
56    4/2/2012      Greg Wolk         0.30   $    425.00    $       127.50 analyze and revise fact memo                                                                $        127.50                                               RW
57    4/2/2012    Hardeep Rekhi       5.00   $    425.00    $    2,125.00 Edited Fact Memo; Conducted Research on wage claims                                          $      2,125.00                                               RW
58    4/3/2012      Greg Wolk         1.20   $    425.00    $       510.00 analyze MSJ from OR Knight case                                                             $        510.00                                               RW
59    4/3/2012    Hardeep Rekhi       5.60   $    425.00    $    2,380.00 Researched Possible Class Claims; Called Client; Researched Class Claims                     $      2,380.00                                               RW
60    4/3/2012    Jason Proctor       0.30    $    150.00   $        45.00 Legal Research; Scanned, Reviewed And Calendared Letter From OSHA                  0.10     $         30.00 Administrative/Relevance                      RW
61    4/4/2012      Greg Wolk         0.70   $    425.00    $       297.50 review documents and analyze class claims                                                   $        297.50                                               RW
62    4/4/2012    Hardeep Rekhi       0.70   $    425.00    $       297.50 Teleconference With Client; Discussed Case Strategy                                         $        297.50                                               RW
63    4/5/2012      Greg Wolk         0.40   $    425.00    $       170.00 confer w HSR re class claims                                                                $        170.00                                               RW
                                                                           Researched Claims re class action, wage claims; research trucking industry re
64    4/5/2012    Hardeep Rekhi       2.90   $ 425.00 $          1,232.50 mileage pay                                                                                  $      1,232.50                                               RW
65    4/6/2012     Greg Wolk          1.70   $ 425.00 $             722.50 research class claims                                                                       $        722.50                                               RW
                                                                           Researched Claims re class action, wage claims; research trucking industry re
66    4/6/2012    Hardeep Rekhi       2.60   $ 425.00 $          1,105.00 mileage pay                                                                                  $      1,105.00                                               RW
                                                                           revise draft complaint; confer w HSR re meeting with opposing counsel and
67    4/9/2012     Greg Wolk          2.70   $ 425.00 $          1,147.50 possible co-counsel; confer w client                                                         $      1,147.50                                               RW
                                                                           Teleconference With Client; Discussed Class Action; Drafted Complaint;
68    4/9/2012    Hardeep Rekhi       3.60   $ 425.00 $          1,530.00 Researched Claims; Researched Defendant                                                      $      1,530.00                                               RW
69    4/10/2012    Greg Wolk          2.00   $ 425.00 $             850.00 revise complaint; research caselaw                                                          $        850.00                                               RW
                                                                           Revise Drafted Complaint; research re same; review other similar claims I
70    4/10/2012   Hardeep Rekhi       4.10   $ 425.00 $          1,742.50 industry;                                                                                    $      1,742.50                                               RW
71    4/10/2012   Jason Proctor       0.10    $ 150.00 $             15.00 Reviewed Voicemail                                                                 0.10     $             - Administrative                                RW
72    4/11/2012     Greg Wolk         2.80   $ 425.00 $          1,190.00 revise complaint; research caselaw; confer w client re next steps                            $      1,190.00                                               RW
                                                                           Revise Drafted Complaint; research re same; review other similar claims I
73    4/11/2012   Hardeep Rekhi       1.40   $    425.00    $       595.00 industry;                                                                                   $        595.00                                               RW
74    4/11/2012   Jason Proctor       0.40    $    150.00   $        60.00 Strategized Case; Left Message With Fmcsa; Teleconference With Client              0.10     $         45.00 Administrative                                RW
75    4/12/2012   Hardeep Rekhi       0.50   $    425.00    $       212.50 Reviewed Case Strategy                                                                      $        212.50                                               RW
76    4/12/2012   Jason Proctor       0.20    $    150.00   $        30.00 Records Management                                                                 0.20      $            - Administrative                                RW
77    4/13/2012   Hardeep Rekhi       1.10   $    425.00    $       467.50 Finalized Complaint                                                                         $        467.50                                               RW
78    4/16/2012     Greg Wolk         1.50   $    425.00    $       637.50 research law and draft PRA request to L&I                                          0.30     $        510.00 Relevance                                     RW
79    4/16/2012   Hardeep Rekhi       1.40   $    425.00    $       595.00 Strategized Meeting; Researched Per Diem Issue                                              $        595.00                                               RW
                                                                           Edited Summons & Complaint; Re-Requested L &I Records; Teleconference With L
80    4/16/2012   Jason Proctor       3.20    $    150.00   $       480.00 & I                                                                                0.30     $        435.00 Administrative                                RW
81    4/16/2012   Jason Proctor       0.10    $    150.00   $        15.00 Teleconference With Process Server                                                          $         15.00                                               RW
82    4/17/2012     Greg Wolk         0.50   $    425.00    $       212.50 confer w HSR re getting additional information and next steps                               $        212.50                                               RW
83    4/17/2012   Hardeep Rekhi       1.10   $    425.00    $       467.50 Researched Per Diem; Review Advertising                                            0.40     $        297.50 Unsuccessful claims                           RW
84    4/18/2012     Greg Wolk         1.00   $    425.00    $       425.00 research and draft complaint                                                                $        425.00                                               RW
85    4/18/2012   Hardeep Rekhi       1.80   $    425.00    $       765.00 Draft discovery                                                                             $        765.00                                               RW
86    4/18/2012   Jason Proctor       0.80    $    150.00   $       120.00 Drafted Letter To Fmcsa; Left Message For Client                                   0.70     $         15.00 Relevance                                     RW
87    4/19/2012     Greg Wolk         2.80   $    425.00    $    1,190.00 revise complaint (1.0); revise discovery requests (1.8)                                      $      1,190.00                                               RW
88    4/19/2012   Hardeep Rekhi       2.40   $    425.00    $    1,020.00 Finalized Complaint & Discovery                                                              $      1,020.00                                               RW
                                                                           Edited Discovery; Filed Summons & Complaint; Updated File; Prepared
                                                                           Documents For Process Server; Drafted Letter To Process Server; Mailed; Printed
89    4/19/2012   Jason Proctor       1.50   $    150.00    $       225.00 Copies; Updated File                                                               0.50     $        150.00    Administrative                             RW
90    4/19/2012   Jason Proctor       0.50   $    150.00    $        75.00 Calendared Deadlines                                                               0.50      $            -    Administrative                             RW
91    4/23/2012   Jason Proctor       0.50   $    150.00    $        75.00 Saved And Reviewed E-Mail From L & I; E-Mailed L & I                               0.50      $            -    Administrative                             RW
92    4/24/2012   Jason Proctor       0.20   $    150.00    $        30.00 Reviewed And Saved E-Mail; E-Mailed L & I                                          0.20      $            -    Administrative                             RW
93    4/26/2012   Jason Proctor       0.70   $    150.00    $       105.00 Calendared Deadlines; Updated File                                                 0.70      $            -    Administrative                             RW
94    4/29/2012     Greg Wolk         1.00   $    425.00    $       425.00 finalize complaint and discovery requests                                                   $        425.00                                               RW

95    4/30/2012     Greg Wolk         0.50   $    425.00    $      212.50   finalize complaint and discovery requests (.3); confer w HSR re work product (.2)          $        212.50                                               RW
96    4/30/2012   Hardeep Rekhi       0.20   $    425.00    $       85.00   Reviewed Service Issues                                                                    $         85.00                                               RW
97    4/30/2012   Jason Proctor       0.10    $    150.00   $       15.00   Calendared Answer To Defendant                                                      0.10    $            - Administrative                                RW
98    4/30/2012   Jason Proctor       0.20    $    150.00   $       30.00   Edited Summons And Strategized Case                                                        $         30.00                                               RW
                                                                            Edited Letter To Knight; Edited Discovery; Teleconference With Process Server; E-
99    4/30/2012   Jason Proctor       0.90   $    150.00    $      135.00   Mailed Process Server; Updated File                                                 0.20   $        105.00    Administrative                             RW
100   5/1/2012    Jason Proctor       0.40   $    150.00    $       60.00   Scanned In Declaration Of Service & Invoice & Calendared Answer                     0.40    $            -    Administrative                             RW
101   5/4/2012    Jason Proctor       0.40   $    150.00    $       60.00   E-Filed Corrected Summons And Declaration Of Service                                0.40    $            -    Administrative                             RW
102   5/7/2012    Jason Proctor       0.10   $    150.00    $       15.00   Mailed Check To Process Server                                                      0.10    $            -    Administrative                             RW
103   5/15/2012     Greg Wolk         0.20   $    425.00    $       85.00   confer w HSR re opposing counsel communication                                             $         85.00                                               RW

                                                                          Teleconference With Opposing Counsel; Reviewed Voicemail; Saved And Looked-
104   5/15/2012   Jason Proctor       0.80   $ 150.00 $            120.00 Up Attorney Information; E-Mailed HSR And Gaw; Document Management                    0.40   $         60.00 Administrative                                RW
                                                                          research class claims and determine strategy; review strategy from other similar
105   5/16/2012   Hardeep Rekhi       0.70   $ 425.00 $            297.50 claims                                                                                       $        297.50                                               RW
106   5/16/2012   Jason Proctor       1.20    $ 150.00 $           180.00 Strategized Case; Researched Multnomah County Records                                        $        180.00                                               RW
107   5/16/2012   Jason Proctor       0.20    $ 150.00 $            30.00 Strategized Case Regarding Obtaining Records From Multnomah County                           $         30.00                                               RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 19
CASE NO. 2:12-CV-00904-RSL
                                  Case
                                  Case 2:18-cv-00681-RAJ
                                    Case
                                       2:12-cv-00904-RSL  Document
                                          2:17-cv-01499 Document
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          A             B              C            D             E                                                    F                                        G               H                                         I               J
 1      Date      Professional       Units        Price         Value        Narrative                                                                      Writedown     Revised Value                         Writedown Explanation   Firm
108   5/21/2012   Jason Proctor      0.10    $     150.00   $        15.00   Strategized Case Regarding Obtaining Records From Multnomah County                         $          15.00                                                RW
109   5/22/2012     Greg Wolk        0.40    $     425.00   $       170.00   confer w HSR re no answer (.2); review letter re default (.2)                              $         170.00                                                RW
110   5/22/2012   Jason Proctor      0.10    $     150.00   $        15.00   Mailed And Saved Letter                                                                    $          15.00                                                RW
111   5/22/2012   Jason Proctor      0.50    $     150.00   $        75.00   Reviewed Voicemail; Saved And Reviewed Notice Of Removal                         0.40      $          15.00 Administrative                                 RW
112   5/24/2012     Greg Wolk        1.30    $     425.00   $       552.50   review notice of removal; research law                                                     $         552.50                                                RW
                                                                             Reviewed Notice Of Removal; Saved Ecf Documents; Document Management;
113   5/24/2012   Jason Proctor      1.00     $    150.00   $      150.00    Legal Research                                                                   0.30      $        105.00 Administrative                                  RW
114   5/25/2012     Greg Wolk        0.90    $    425.00    $      382.50    review Court's rules (.2); confer w HSR re next steps (.7)                                 $        382.50                                                 RW
115   5/29/2012     Greg Wolk        0.40    $    425.00    $      170.00    review letter from opposing counsel (.2); confer w HSR (.2)                                $        170.00                                                 RW
116   5/29/2012   Hardeep Rekhi      0.30    $    425.00    $      127.50    Reviewed Various Case Filings And Letters From Opposing Counsel                            $        127.50                                                 RW
117   5/29/2012   Jason Proctor      0.10     $    150.00   $       15.00    Saved E-Mail And Letter From Opposing Counsel                                    0.10       $            - Administrative                                  RW
118   5/30/2012     Greg Wolk        0.20    $    425.00    $       85.00    review corporate disclosure statement                                                      $         85.00                                                 RW
119   6/6/2012    Hardeep Rekhi      2.00    $    425.00    $      850.00    Researched Case Issues Regarding Procedures In Federal Court                               $        850.00                                                 RW
                                                                             Saved Notice Of Appearance & Corporation Disclosure Statement; Saved E-Mail
120   6/6/2012    Jason Proctor      0.60     $ 150.00 $            90.00    From L & I Records                                                                         $         90.00                                                 RW
121   6/7/2012    Hardeep Rekhi      0.50    $ 425.00 $            212.50    Reviewed Case Status Regarding Eeoc Issues                                       0.50       $            - Relevance                                       RW
                                                                             Teleconference With Client (2); Left Messages For Eeoc; Reviewed & Saved Fax
122   6/7/2012    Jason Proctor      0.50    $ 150.00 $             75.00    From Eeoc; E-Mailed HSR & Gaw                                                    0.30      $         30.00 Administrative                                  RW
123   6/8/2012    Jason Proctor      0.40    $ 150.00 $             60.00    Teleconference With Eeoc; Faxed Representation Letter                            0.40       $            - Relevance; Administrative                       RW
                                                                             Reviewed Case Filings And Researched Issue Related To Per Diem; Removal And
124   6/11/2012   Hardeep Rekhi      2.90    $ 425.00 $          1,232.50    Records Retrieval                                                                          $      1,232.50                                                 RW

125   6/12/2012   Hardeep Rekhi      2.10    $    425.00    $      892.50    Reviewed Case Filings And Researched Issues Relating To Per Diem And Wacs                  $        892.50                                                 RW
126   6/13/2012   Hardeep Rekhi      1.90    $    425.00    $      807.50    Reviewed Case Issues And Created Strategy                                                  $        807.50                                                 RW
127   6/14/2012    Greg Wolk         0.20    $    425.00    $       85.00    review motion to dismiss                                                         0.20       $            - Unsuccessful claims                             RW
128   6/15/2012    Greg Wolk         1.00    $    425.00    $      425.00    review motion to dismiss                                                         1.00       $            - Unsuccessful claims                             RW
129   6/15/2012   Hardeep Rekhi      0.50    $    425.00    $      212.50    Reviewed Motion To Dismiss                                                       0.50       $            - Unsuccessful claims                             RW
                                                                             Saved Defendant'S Motion To Dismiss; Calendared; Strategized Case; Drafted
130   6/15/2012   Jason Proctor      3.00     $    150.00   $      450.00    Response To Motion To Dismiss; E-Mail HSR And Gaw(2)                             2.50      $         75.00 Unsuccessful claims                             RW
131   6/16/2012     Greg Wolk        1.40    $    425.00    $      595.00    research and analyze motion to dismiss                                           1.40       $            - Unsuccessful claims                             RW
132   6/19/2012     Greg Wolk        0.30    $    425.00    $      127.50    review order re initial disclosures, etc.                                                  $        127.50                                                 RW
133   6/19/2012   Hardeep Rekhi      0.40    $    425.00    $      170.00    Reviewed Court Filings                                                           0.40       $            -                                                 RW
                                                                             Reviewed And Revised Documents; Researched Past Claims; Researched
134   6/19/2012   Hardeep Rekhi      2.20    $ 425.00 $            935.00    Regarding Motion To Dismiss                                                      0.80      $        595.00 Unsuccessful claims                             RW
135   6/20/2012    Greg Wolk         3.90    $ 425.00 $          1,657.50    research and draft response to motion to dismiss                                 3.90       $            - Unsuccessful claims                             RW
                                                                             Reviewed & Revised Documents; Researched Past Claims; Researched Regarding
136   6/20/2012   Hardeep Rekhi      2.00    $    425.00    $      850.00    Motion To Dismiss                                                                1.00      $        425.00 Unsuccessful claims                             RW
137   6/22/2012    Greg Wolk         5.20    $    425.00    $    2,210.00    draft response to motion to dismiss                                              5.20       $            - Unsuccessful claims                             RW
138   6/23/2012    Greg Wolk         1.00    $    425.00    $      425.00    revise PRA response documents                                                    1.00       $            - Unsuccessful claims                             RW
139   6/25/2012    Greg Wolk         3.10    $    425.00    $    1,317.50    analyze OR Knight case file                                                                $      1,317.50                                                 RW

140   6/25/2012   Hardeep Rekhi      3.60    $    425.00    $    1,530.00    Reviewed And Strategized Draft Response; Researched Regarding The Same           3.60      $             -   Unsuccessful claims                           RW
141   6/25/2012   Jason Proctor      0.20     $    150.00   $       30.00    Saved And Reviewed Ecf Documents; Document Management                            0.20      $             -   Administrative                                RW
142   6/26/2012     Greg Wolk        5.10    $    425.00    $    2,167.50    research and revise response to motion to dismiss                                5.10      $             -   Unsuccessful claims                           RW
143   6/26/2012   Hardeep Rekhi      3.90    $    425.00    $    1,657.50    Researched And Reviewed Response                                                 3.90      $             -   Unsuccessful claims                           RW
144   6/26/2012   Jason Proctor      1.10     $    150.00   $      165.00    Legal Research; Calendared Deadlines                                             1.10      $             -   Administrative; Unsuccessful claims           RW
145   6/27/2012     Greg Wolk        3.00    $    425.00    $    1,275.00    research and revise response to motion to dismiss                                3.00      $             -   Unsuccessful claims                           RW
146   6/27/2012   Hardeep Rekhi      4.50    $    425.00    $    1,912.50    Researched And Reviewed Response                                                 4.50      $             -   Unsuccessful claims                           RW
147   6/27/2012   Hardeep Rekhi      5.50    $    425.00    $    2,337.50    Drafted Opposition                                                               5.50      $             -   Unsuccessful claims                           RW
148   6/28/2012     Greg Wolk        2.00    $    425.00    $      850.00    revise HSR sections to response; revise response                                 2.00      $             -   Unsuccessful claims                           RW

149   6/28/2012   Hardeep Rekhi      4.90    $    425.00    $    2,082.50    Research, Drafted, Revised And Reviewed Opposition To Motion To Dismiss          4.90      $             -   Unsuccessful claims                           RW
150   6/30/2012    Greg Wolk         1.50    $    425.00    $      637.50    revise response                                                                  1.50      $             -   Unsuccessful claims                           RW
151   7/1/2012     Greg Wolk         1.30    $    425.00    $      552.50    finalize reponse                                                                 1.30      $             -   Unsuccessful claims                           RW
152   7/2/2012     Greg Wolk         3.90    $    425.00    $    1,657.50    finalize response to motion to dismiss                                           3.90      $             -   Unsuccessful claims                           RW
153   7/2/2012    Hardeep Rekhi      4.50    $    425.00    $    1,912.50    Reviewed And Revised Response                                                    4.50      $             -   Unsuccessful claims                           RW
                                                                             Edited Response To Motion To Dismiss; E-Filed; E-Mailed Proposed Order To
154   7/2/2012    Jason Proctor      0.50     $    150.00   $       75.00    Judge                                                                            0.50       $            -   Unsuccessful claims/Administrative            RW
155   7/3/2012    Hardeep Rekhi      3.50    $    425.00    $    1,487.50    Finalized Response                                                               3.50       $            -   Unsuccessful claims                           RW
156   7/5/2012    Hardeep Rekhi      1.40    $    425.00    $      595.00    Strategized Case; Reviewed And Revised Proposed Scheduling Order                           $        595.00                                                 RW
157   7/5/2012    Jason Proctor      0.50     $    150.00   $       75.00    Drafted Letter To Opposing Counsel; Mailed And E-Mailed                          0.20      $         45.00   Administrative                                RW
158   7/6/2012    Hardeep Rekhi      0.80    $    425.00    $      340.00    Reviewed Reply Motion                                                            0.80       $            -   Unsuccessful claims                           RW
159   7/9/2012      Greg Wolk        1.00    $    425.00    $      425.00    review Knight's reply to motion to dismiss; confer w HSR re same                 1.00       $            -   Unsuccessful claims                           RW
160   7/9/2012    Jason Proctor      0.20     $    150.00   $       30.00    Saved And Reviewed Reply                                                         0.20       $            -   Unsuccessful claims                           RW
161   7/10/2012   Hardeep Rekhi      0.50    $    425.00    $      212.50    Reviewed Case Strategy; E-Mailed Opposing Counsel                                          $        212.50                                                 RW
162   7/10/2012   Jason Proctor      0.10     $    150.00   $       15.00    Saved E-Mail To Opposing Counsel                                                           $         15.00                                                 RW
163   7/11/2012     Greg Wolk        0.80    $    425.00    $      340.00    review drafts for 26(f) conference, report and initial disclosures                         $        340.00                                                 RW
164   7/11/2012   Jason Proctor      1.80     $    150.00   $      270.00    Drafted Joint Status Report & Discovery Plan & Initial Disclosures                         $        270.00                                                 RW
165   7/16/2012   Jason Proctor      0.40     $    150.00   $       60.00    Legal Research                                                                             $         60.00                                                 RW


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 20
 CASE NO. 2:12-CV-00904-RSL
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                                  Case 2:18-cv-00681-RAJ
                                    Case
                                       2:12-cv-00904-RSL  Document
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1       Date      Professional       Units        Price         Value       Narrative                                                                               Writedown       Revised Value                     Writedown Explanation   Firm

166   7/17/2012     Greg Wolk        2.60    $    425.00    $    1,105.00   confer w counsel re 26(f) (.3); draft report (.5); draft discovery requests (2.0)                   $         1,105.00                                            RW
167   7/17/2012   Hardeep Rekhi      1.40    $    425.00    $      595.00   Reviewed And Prepared For Discovery Conference                                                      $           595.00                                            RW
168   7/17/2012   Jason Proctor      0.60     $    150.00   $       90.00   Strategized Case; Drafted Discovery Requests                                                        $            90.00                                            RW
169   7/20/2012     Greg Wolk        0.40    $    425.00    $      170.00   finalize disclosures and discovery requests                                                         $           170.00                                            RW
                                                                            Saved Documents; Reviewed Initial Disclosures; Edited Discovery Requests;
170   7/20/2012   Jason Proctor      1.10    $ 150.00 $           165.00    Mailed                                                                                    0.30      $           120.00 Administrative                             RW
171   7/23/2012     Greg Wolk        0.70    $ 425.00 $           297.50    revise initial disclosures                                                                          $           297.50                                            RW
                                                                            finalize initial disclosures (.3); review Knight's initial disclosures and discovery
172   7/24/2012    Greg Wolk         1.10    $ 425.00 $           467.50    requests (.8)                                                                                       $           467.50                                            RW
                                                                            analyze Knight's initial disclosures/discovery requests and revisions to Joint Status
173   7/30/2012    Greg Wolk         0.40    $ 425.00 $           170.00    Report                                                                                              $           170.00                                            RW
                                                                            Saved And Reviewed E-Mail From L & I&; E-Mailed L & I(2); Strategized Case;
174   7/30/2012   Jason Proctor      0.60    $ 150.00 $            90.00    Updated File                                                                              0.40      $            30.00 Administrative                             RW
175   7/31/2012     Greg Wolk        0.80    $ 425.00 $           340.00    revise Joint Status report                                                                          $           340.00                                            RW

176   7/31/2012   Hardeep Rekhi      1.30    $    425.00    $     552.50    Reviewed Joint Status Report; Reviewed Response From Opposing Counsel                               $           552.50                                            RW
177   7/31/2012   Jason Proctor      0.50     $    150.00   $      75.00    Left Message For Eeoc; E-Mailed Joint Status Report; E-Filed                              0.50       $               - Administrative                             RW
178   8/2/2012      Greg Wolk        0.30    $    425.00    $     127.50    confer w/ HSR and client re next steps                                                              $           127.50                                            RW
179   8/2/2012    Hardeep Rekhi      0.50    $    425.00    $     212.50    Strategize case with co-counsel re next steps                                                       $           212.50                                            RW
180   8/7/2012      Greg Wolk        0.80    $    425.00    $     340.00    confer w HSR and client re discovery responses                                                      $           340.00                                            RW
181   8/7/2012    Hardeep Rekhi      0.80    $    425.00    $     340.00    Strategize w/ co-counsel re discovery responses                                                     $           340.00                                            RW
182   8/8/2012      Greg Wolk        0.50    $    425.00    $     212.50    review case schedule (.2); confer w HSR and [redact] client (.3)                                    $           212.50                                            RW
183   8/8/2012    Hardeep Rekhi      0.30    $    425.00    $     127.50    Strategize w/ re [redact]                                                                           $           127.50                                            RW
184   8/9/2012    Jason Proctor      1.40     $    150.00   $     210.00    Saved And Calendared Minute Order                                                         1.40       $               - Administrative                             RW

185   8/14/2012   Jason Proctor      0.50    $ 150.00 $            75.00 Saved And Reviewed E-Mail From L & I; Saved And Calendared Documents                         0.50      $               - Administrative                              RW

186   8/15/2012    Greg Wolk         0.80    $ 425.00 $           340.00 confer w HSR re notice of deposition (.2); [redact] client(.1); research FRCP 33 (.5)                  $           340.00                                            RW
187   8/15/2012   Hardeep Rekhi      0.50    $ 425.00 $           212.50 discuss and strategize issues related to notice of deposition and [redact]                             $           212.50                                            RW
                                                                         confer w HSR and opposing counsel re deposition for client (.7); confer w client re
188   8/16/2012     Greg Wolk        1.20    $    425.00    $     510.00 [redacted] (.5)                                                                                        $           510.00                                            RW
189   8/16/2012   Hardeep Rekhi      1.40    $    425.00    $     595.00 Strategized Case; Reviewed E-Mail; Teleconference With Client                                          $           595.00                                            RW
190   8/16/2012   Jason Proctor      0.50     $    150.00   $      75.00 Teleconference With Client; Strategized Case                                                           $            75.00                                            RW
191   8/17/2012   Jason Proctor      0.10     $    150.00   $      15.00 Strategized Case                                                                                       $            15.00                                            RW
192   8/18/2012     Greg Wolk        0.20    $    425.00    $      85.00 confer w client re [redacted]                                                                          $            85.00                                            RW
193   8/19/2012     Greg Wolk        0.20    $    425.00    $      85.00 analyze next steps w HSR                                                                               $            85.00                                            RW
194   8/19/2012   Hardeep Rekhi      0.20    $    425.00    $      85.00 Determine next steps                                                                                   $            85.00                                            RW
195   8/20/2012     Greg Wolk        0.60    $    425.00    $     255.00 confer re deposition dates(.1); review Knight discovery requests (.5)                                  $           255.00                                            RW
196   8/21/2012     Greg Wolk        0.80    $    425.00    $     340.00 analyze and draft responses to Knight discovery requests                                               $           340.00                                            RW
                                                                         Reviewed Voicemail; Stategized Case; Teleconference With Opposing Counsel,
197   8/21/2012   Jason Proctor      0.50    $ 150.00 $            75.00 Edited Discovery                                                                                       $            75.00                                            RW

198   8/22/2012    Greg Wolk         1.70    $ 425.00 $           722.50 draft and prepare responses to Knight discovery requests(1.4); confer w client (.3)                    $           722.50                                            RW
199   8/22/2012   Hardeep Rekhi      1.00    $ 425.00 $           425.00 Reviewed Discovery; Call Client                                                                        $           425.00                                            RW
200   8/22/2012   Hardeep Rekhi      2.30    $ 425.00 $           977.50 Reviewed And Revised Discovery Responses                                                               $           977.50                                            RW

201   8/22/2012   Jason Proctor      0.40    $ 150.00 $             60.00 Saved And Reviewed Order; Teleconference With Client; Strategized Case                      0.20      $            30.00 Administrative                             RW
                                                                          draft and prepare responses to Knight discovery requests (1.8); confer w
202   8/23/2012     Greg Wolk        3.40    $ 425.00 $          1,445.00 client(.4); review Kinght's responses to our discovery requests (1.2)                                 $         1,445.00                                            RW
203   8/23/2012   Jason Proctor      3.20    $ 150.00 $            480.00 Strategized Case; Teleconference With Client; Answered Discovery                                      $           480.00                                            RW

                                                                         Finalize responses to discovery requests (.5); review Knight's discovery responses
204   8/24/2012    Greg Wolk         1.10    $ 425.00 $           467.50 (.3); revise letter to opposing counsel re discovery deficiencies (.3)                                 $           467.50                                            RW
                                                                         Worked On Answering Discovery, Documents Produced, Redacted, Bates
205   8/24/2012   Jason Proctor      6.00    $ 150.00 $           900.00 Numbered, Edited Letter To Opposing Counsel                                                  1.50      $           675.00 Administrative                             RW

206   8/27/2012   Hardeep Rekhi      1.60    $ 425.00 $           680.00 Reviewed Letters; Researched Issues; Draft Response To Opposing Counsel                                $           680.00                                            RW
                                                                         Scanned And Reviewed Documents; Saved And Reviewed Letter From Opposing
207   8/27/2012   Jason Proctor      0.90    $    150.00    $     135.00 Counsel                                                                                      0.90       $               -   Administrative                           RW
208   8/28/2012     Greg Wolk        0.50    $    425.00    $     212.50 meet and confer re Knight discovery responses                                                          $           212.50                                            RW
209   8/28/2012   Hardeep Rekhi      0.50    $    425.00    $     212.50 discuss re Knight discovery responses                                                                  $           212.50                                            RW
210   8/30/2012   Jason Proctor      0.60    $    150.00    $      90.00 Strategized Case; Updated File; Teleconference With Client                                   0.20      $            60.00   Administrative                           RW
211   9/4/2012    Jason Proctor      0.20    $    150.00    $      30.00 Saved And Reviweed Documents From L&I                                                        0.20       $               -   Administrative                           RW
212   9/6/2012      Greg Wolk        0.50    $    425.00    $     212.50 confer w client re [redacted]                                                                          $           212.50                                            RW
213   9/6/2012    Hardeep Rekhi      0.50    $    425.00    $     212.50 discussion w/ client                                                                                   $           212.50                                            RW
214   9/6/2012    Jason Proctor      0.20    $    150.00    $      30.00 Saved And Reviewed L & I Documents                                                           0.20       $               -   Administrative                           RW
215   9/7/2012      Greg Wolk        0.40    $    425.00    $     170.00 email opposing counsel re deposition of client                                                         $           170.00                                            RW
216   9/10/2012   Jason Proctor      0.20    $    150.00    $      30.00 Saved & Reviewed E-Mail                                                                      0.20       $               -   Administrative                           RW


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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 AND REIMBURSEMENT OF LITIGATION COSTS - 21
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                                      Case 2:18-cv-00681-RAJ
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1       Date         Professional        Units        Price         Value       Narrative                                                                              Writedown       Revised Value                   Writedown Explanation   Firm
                                                                                Saved And Reviewed E-Mails: Picked Up Cd From Opposing Counsel; Document
217   9/11/2012     Jason Proctor         3.20   $ 150.00 $           480.00    Management; Reviewed Documents; Strategized Case                                         0.60      $           390.00 Administrative                           RW
218   9/12/2012     Jason Proctor         0.30   $ 150.00 $            45.00    Saved & Reviewed E-Mail(2); Strategized Case                                             0.10      $            30.00 Administrative                           RW
                                                                                Research protective order for deposition(.3); confer w potential co-counsel (1);
                                                                                confer w client re [redacted] (.2); email and finalize confidentiality agreement w
219   9/13/2012      Greg Wolk            2.00   $ 425.00 $            850.00   opp counsel (.5)                                                                                   $           850.00                                          RW
220   9/13/2012     Hardeep Rekhi         2.50   $ 425.00 $          1,062.50   confer w potential co-counsel (1)                                                                  $         1,062.50                                          RW
                                                                                Saved & Reviewed E-Mail From Opposing Counsel; Saved Confidentiality
221   9/13/2012     Jason Proctor         0.60   $ 150.00 $            90.00    Agreement; Document Management; Strategized Case; Updated File                           0.50      $            15.00 Administrative                           RW
222   9/13/2012     Jason Proctor         1.30   $ 150.00 $           195.00    Meet With Client; Went To Opposing Counsel'S Office                                      0.90      $            60.00 Administrative                           RW

                                                                                Telephone conferences with Mr. Rekhi and Mr. Wolk regarding co-counsel
                                                                                arrangement, claims, procedural history, and factual background issues [1.0];
                                                                                researched and analyzed issues regarding same [.8]; ran conflict check and
                                                                                opened new matter [.1]; telephone conference with Mr. Keehnel regarding
                                                                                dispute over deposition date [.1]; telephone conferences with co-counsel
                                                                                regarding same [.3]; researched and analyzed issues regarding same [.5]; analyzed
223   9/13/2012     Toby Marshall         3.10   $ 475.00 $          1,472.50   issues regarding protective order and class list [.3].                                   0.10      $         1,425.00 Administrative                           TM
224   9/14/2012      Greg Wolk            0.40    $ 425.00 $           170.00   Telephone call with co-counsel regarding case strategy issues                                      $           170.00                                          RW
225   9/14/2012     Hardeep Rekhi         0.40    $ 425.00 $           170.00   Telephone call with co-counsel regarding case strategy issues                                      $           170.00                                          RW
                                                                                Reviewed E-Mail; Saved Class List; Strategized Case; Reviewed E-Mail From Co-
                                                                                Counsel; E-Mailed PRA Documents To Co-Counsel; Reviewed And Saved E-Mail;
                                                                                Drafted Motion For Protective Order, Declaration, Proposed Order; Document
226   9/14/2012     Jason Proctor         1.40    $ 150.00 $          210.00    Management                                                                               1.00      $            60.00 Administrative                           RW
227   9/14/2012    Bradford Kinsey        0.30   $ 100.00 $            30.00    Retrieved pleadings from King County Superior Court.                                     0.30       $               - Administrative                           TM
                                                                                Worked on converting class list to Excel spreadsheet [1]; worked on Accurint
228   9/14/2012      Eden Nordby          1.50   $ 150.00 $           225.00    searches; email regarding same [.5].                                                               $           225.00                                          TM
229   9/14/2012   Hannah Buckendorf       1.80   $ 50.00 $             90.00    Performed Accurint searches on potential class members.                                            $            90.00                                          TM
                                                                                Telephone calls from co-counsel regarding case strategy issues [.4]; researched
                                                                                and analyzed issues regarding protective order motion for deposition of plaintiff
230   9/14/2012     Toby Marshall         3.20   $ 475.00 $          1,520.00   [1.8]; worked on same [1.0].                                                                       $         1,520.00                                          TM
231   9/16/2012     Toby Marshall         0.20   $ 475.00 $             95.00   Reviewed materials from records requests to DLI [.2].                                              $            95.00                                          TM
                                                                                review class list and prepare script for class member interviews (1.3); confer w co-
232   9/17/2012       Greg Wolk           3.20   $ 425.00 $          1,360.00   counsel (1.5)                                                                                      $         1,360.00                                          RW

233   9/17/2012     Hardeep Rekhi         2.90   $ 425.00 $          1,232.50 confer w co-counsel; review class member interview script; confer re the same                        $         1,232.50                                          RW
                                                                              Perform Accurint Searches for poten al class members.
234   9/17/2012   Hannah Buckendorf       2.00   $     50.00 $         100.00                                                                                                      $           100.00                                          TM
                                                                              Telephone conference with co-counsel regarding legal and factual background
235   9/17/2012     Toby Marshall         1.50   $ 475.00 $            712.50 issues and worked on same [1.5].                                                                     $           712.50                                          TM
236   9/18/2012      Greg Wolk            1.50   $ 425.00 $            637.50 call class members (1.5)                                                                             $           637.50                                          RW
237   9/18/2012   Hannah Buckendorf       2.00   $ 50.00 $             100.00 Performed Accurint Advanced Person search.                                                           $           100.00                                          TM
                                                                              Worked on outline for witness interviews [.4]; email correspondence with co-
238   9/18/2012     Toby Marshall         0.50   $    475.00    $      237.50 counsel regarding witness calls [.1].                                                                $           237.50                                          TM
239   9/19/2012     Toby Marshall         0.70   $    475.00    $      332.50 Worked on class member calls [.7].                                                                   $           332.50                                          TM
240   9/20/2012      Greg Wolk            5.30   $    425.00    $    2,252.50 call class members (4.1); draft [redacted] (.4); confer with co-counsel (.8)                         $         2,252.50                                          RW
241   9/20/2012     Hardeep Rekhi         0.80   $    425.00    $      340.00 confer with co-counsel (.8)                                                                          $           340.00                                          RW
                                                                              Revised class list to send to vendor [.5]; email to vendor regarding request for
242   9/20/2012     Eden Nordby           0.80   $ 150.00 $            120.00 class list searches [.3].                                                                            $           120.00                                          TM

                                                                                Worked on class list updates [.1]; worked on class member calls [1.1]; telephone
243   9/20/2012     Toby Marshall         2.00   $    475.00    $     950.00    conference with co-counsel regarding same and case strategy issues [.8].                           $           950.00                                          TM
244   9/21/2012       Greg Wolk           2.20   $    425.00    $     935.00    call class members                                                                                 $           935.00                                          RW
245   9/21/2012     Jason Proctor         0.20    $    150.00   $      30.00    Strategized Case                                                                                   $            30.00                                          RW
246   9/21/2012     Eden Nordby           0.20   $    150.00    $      30.00    Correspondence regarding class list project.                                                       $            30.00                                          TM
                                                                                Worked on [redacted] and email correspondence with co-counsel regarding same
247   9/21/2012     Toby Marshall         1.10   $    475.00    $     522.50    [.2]; worked on class member calls [.9].                                                           $           522.50                                          TM
248   9/22/2012     Toby Marshall         0.60   $    475.00    $     285.00    Worked on class member calls [.6].                                                                 $           285.00                                          TM
249   9/24/2012      Greg Wolk            1.10   $    425.00    $     467.50    confer w co-counsel re [redacted]                                                                  $           467.50                                          RW
250   9/25/2012      Greg Wolk            1.80   $    425.00    $     765.00    call class members (1.3); confer w co-counsel (.5)                                                 $           765.00                                          RW
251   9/25/2012     Hardeep Rekhi         0.50   $    425.00    $     212.50    confer w/ TM                                                                                       $           212.50                                          RW
                                                                                Worked on class member calls [.7]; telephone conference with co-counsel
                                                                                regarding same [.4]; email correspondence with co-counsel regarding class list
252   9/25/2012     Toby Marshall         1.20   $    475.00    $     570.00    and motion to amend complaint [.1].                                                                $           570.00                                          TM
253   9/26/2012       Greg Wolk           0.90   $    425.00    $     382.50    call class members (.6); confer re [redacted] (.3)                                                 $           382.50                                          RW
254   9/26/2012     Jason Proctor         0.20    $    150.00   $      30.00    Teleconference With Opposing Counsel(2)                                                            $            30.00                                          RW
255   9/27/2012       Greg Wolk           1.00   $    425.00    $     425.00    confer w client (.2); confer w co-counsel(.2); call class members (.6)                             $           425.00                                          RW
                                                                                Saved And Reviewed Response To Motion; Drafted Notice Of Withdrawl; Drafted
256   9/27/2012     Jason Proctor         0.50   $ 150.00 $             75.00   Motion For Protective Order                                                              0.20      $            45.00 Administrative                           RW
257   9/28/2012       Greg Wolk           3.30   $ 425.00 $          1,402.50   call class members (2.6); confer w co-counsel (.7)                                                 $         1,402.50                                          RW


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                                       Case
                                          2:12-cv-00904-RSL  Document
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 1      Date        Professional        Units     Price            Value      Narrative                                                                          Writedown     Revised Value                  Writedown Explanation   Firm
258   9/28/2012    Hardeep Rekhi        0.70    $ 425.00 $             297.50 confer w co-counsel                                                                            $         297.50                                         RW
                                                                              Telephone conference with co-counsel regarding agreement with defense
                                                                              counsel on class representative issue and related discovery deadlines [.1];
259   9/28/2012    Toby Marshall        0.20    $ 475.00 $              95.00 analyzed issues regarding same [.1].                                                           $         95.00                                          TM
260   10/1/2012     Greg Wolk           0.30    $ 425.00 $             127.50 call class members                                                                             $        127.50                                          RW
261   10/1/2012    Eden Nordby          0.30    $ 150.00 $              45.00 Worked on docketing case scheduling order.                                                     $         45.00                                          TM
                                                                              Worked on class member calls and email correspondence with co-counsel
262   10/1/2012    Toby Marshall        1.10    $    475.00    $       522.50 regarding same [1.1].                                                                          $        522.50                                          TM
263   10/1/2012    Torrie Marshall      0.30    $    100.00    $        30.00 Worked on docketing case scheduling order.                                            0.30      $            - Administrative                           TM
264   10/2/2012       Greg Wolk         1.90    $    425.00    $       807.50 call class members (1.3); confer w co-counsel re [redacted] (.6)                               $        807.50                                          RW
265   10/2/2012     Jason Proctor       0.50     $    150.00   $        75.00 Legal Research                                                                                 $         75.00                                          RW
266   10/2/2012    Toby Marshall        0.90    $    475.00    $       427.50 Worked on class member calls [.9].                                                             $        427.50                                          TM
                                                                              call class members (1.5); confer w co-counsel (.3); research claims compare with
267   10/3/2012     Greg Wolk           2.60    $ 425.00 $          1,105.00 notes from calls (.8)                                                                           $      1,105.00                                          RW
268   10/4/2012     Greg Wolk           1.80    $ 425.00 $             765.00 call class members (1.4); confer w co-counsel (.4)                                             $        765.00                                          RW
269   10/4/2012    Hardeep Rekhi        0.40    $ 425.00 $             170.00 confer w/ TM                                                                                   $        170.00                                          RW
                                                                              Analyzed issues regarding class member calls and legal claims [.2]; researched and
                                                                              analyzed issues regarding legal claims and factual background issues [.7];
                                                                              telephone conference with co-counsel regarding same and case strategy [.5];
270   10/4/2012    Toby Marshall        2.20    $ 475.00 $          1,045.00 worked on class member calls [.8].                                                              $      1,045.00                                          TM

271   10/5/2012       Greg Wolk         3.20    $ 425.00 $          1,360.00 meet w [redacted] (2.2); confer w co-counsel re next steps (.2); analyze claims (.6)            $      1,360.00                                          RW
272   10/5/2012     Jason Proctor       0.20    $ 150.00 $             30.00 E-Mailed Discovery; Edited Class Agreement; Mailed                                     0.20     $             - Administrative                           RW
                                                                             Email correspondence with co-counsel regarding meeting with Mr. Bodily [.1]; to
                                                                             Bellevue for meeting with Mr. Bodily and return from same [2.4]; worked on
273   10/5/2012    Toby Marshall        2.70    $ 475.00 $          1,282.50 document management issues [.2].                                                                $      1,282.50                                          TM
274   10/8/2012    Toby Marshall        2.40    $ 475.00 $          1,140.00 Worked on class member calls [2.4].                                                             $      1,140.00                                          TM
                                                                             call class members (.7); meet w [redacted] (2.4); confer w co-counsel (.2); analyze
275   10/9/2012     Greg Wolk           3.70    $ 425.00 $          1,572.50 claims (.4)                                                                                     $      1,572.50                                          RW
276   10/9/2012    Hardeep Rekhi        3.20    $ 425.00 $          1,360.00 confer w co-counsel; meet with [redacted]                                                       $      1,360.00                                          RW
                                                                             Document Management For Notice Of Association And Representation
277   10/9/2012     Jason Proctor       0.20    $ 150.00 $             30.00 Agreement                                                                              0.20     $             - Administrative                           RW
                                                                             Prepared draft of and finalized Marshall notice of association of counsel [.2];
278   10/9/2012    Bradford Kinsey      0.30    $ 100.00 $             30.00 arranged filing and service [.1].                                                               $         30.00                                          TM

                                                                             Email correspondence with co-counsel regarding class member interviews [.1];
                                                                             analyzed issues regarding same [.1]; worked on representation agreement for
                                                                             [redacted] and email correspondence with [redacted] regarding same [.3]; ran
                                                                             conflict checks for potential class representatives [.1]; to Spanaway for meeting
279 10/9/2012      Toby Marshall        4.00    $ 475.00 $          1,900.00 with co-counsel and Mr. Helde [3.4].                                                            $      1,900.00                                          TM
280 10/10/2012       Greg Wolk          2.00    $ 425.00 $            850.00 meet w client (1.2); analyze claims (.8)                                                        $        850.00                                          RW
281 10/10/2012     Jason Proctor        0.40     $ 150.00 $            60.00 E-Mailed Representation Agreement; Document Management                                 0.40      $            - Administrative                           RW

                                                                             Message from Ms. Clifford regarding factual background issues [.1]; analyzed
                                                                             issues regarding and email correspondence with co-counsel regarding Jon Bodily's
282 10/10/2012     Toby Marshall        0.30    $ 475.00 $            142.50 documents [.1]; worked on case strategy issues [.1].                                            $        142.50                                          TM
283 10/11/2012      Greg Wolk           1.20    $ 425.00 $            510.00 analyze claims                                                                                  $        510.00                                          RW

284 10/11/2012      Jason Proctor       0.80    $ 150.00 $            120.00 Saved And Reviewed E-Mails(2); Document Management; E-Mailed Client                    0.80     $             - Administrative                           RW

285 10/12/2012      Jason Proctor       0.40    $ 150.00 $             60.00 Saved And Reviewed Letter; Document Management For Client Documents                    0.40     $             - Administrative                           RW
                                                                             Researched and analyzed issues regarding legal claims and factual background
286 10/15/2012     Toby Marshall        0.80    $ 475.00 $            380.00 [.8].                                                                                           $        380.00                                          TM
                                                                             Worked on factual background issues [.3]; telephone call from Mr. Tena regarding
                                                                             same [.5]; drafted representation agreement for Mr. Tena [.2]; to Tacoma to
                                                                             meet with Mr. Tena [.7]; meeting with Mr. Tena regarding factual background
287 10/16/2012     Toby Marshall        3.80    $ 475.00 $          1,805.00 issues [1.2]; returned from same [.9].                                                          $      1,805.00                                          TM
288 10/17/2012      Greg Wolk           0.20    $ 425.00 $             85.00 review email from co-counsel (.1); discuss next steps (.1)                                      $         85.00                                          RW
                                                                             Analyzed issues regarding claims of Mr. Tena [.1]; drafted email to co-counsel
289 10/17/2012     Toby Marshall        0.80    $ 475.00 $            380.00 regarding same [.4]; worked on factual background issues [.3].                                  $        380.00                                          TM
290 10/18/2012     Jason Proctor        0.20     $ 150.00 $            30.00 Edited Agreement; Emailed To Co-Counsel                                                0.10     $         15.00 Administrative                           RW
291 10/18/2012     Toby Marshall        0.10    $ 475.00 $             47.50 Worked on finalizing representation agreement for Mr. Tena [.1].                                $         47.50                                          TM

292 10/19/2012     Toby Marshall        2.80    $ 475.00 $          1,330.00 Worked on complaint and researched and analyzed issues regarding same [2.8].                    $      1,330.00                                          TM
                                                                             revise amended complaint (1.2); confer w co-counsel re next steps (.3); email
293   10/22/2012      Greg Wolk         1.90    $    425.00    $      807.50 opposing counsel (.2)                                                                           $        807.50                                          RW
294   10/23/2012      Greg Wolk         1.30    $    425.00    $      552.50 revise supp discovery production (1.0); confer w client re same (.3)                            $        552.50                                          RW
295   10/23/2012    Jason Proctor       0.10     $    150.00   $       15.00 Reviewed E-Mail                                                                        0.10      $            - Administrative                           RW
296   10/23/2012    Eden Nordby         0.30    $    150.00    $       45.00 Worked on document review.                                                             0.30      $            - Administrative                           TM


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 23
 CASE NO. 2:12-CV-00904-RSL
                                     Case
                                     Case 2:18-cv-00681-RAJ
                                       Case
                                          2:12-cv-00904-RSL  Document
                                             2:17-cv-01499 Document
                                                             Document  1 Filed
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1       Date        Professional        Units        Price         Value       Narrative                                                                            Writedown       Revised Value                      Writedown Explanation   Firm

                                                                             Email correspondence with co-counsel regarding discovery issues [.1]; worked on
                                                                             discovery issues [1.6]; telephone conference with co-counsel regarding same and
                                                                             factual background and case strategy issues [.4]; telephone conference with Mr.
297 10/23/2012     Toby Marshall         2.20   $ 475.00 $          1,045.00 Tena regarding factual background issues [.1].                                                     $         1,045.00                                             TM
298 10/24/2012       Greg Wolk           1.70   $ 425.00 $            722.50 revise supp discovery production (1.2); confer w clients re same (.5)                              $           722.50                                             RW
299 10/24/2012     Jason Proctor         0.10    $ 150.00 $            15.00 Reviewed E-Mail And Discovery                                                                      $            15.00                                             RW

300 10/24/2012     Eden Nordby           4.60   $ 150.00 $           690.00 Worked on document production; commenced document review and index.                                 $           690.00                                             TM
301 10/24/2012     Toby Marshall         0.40   $ 475.00 $           190.00 Worked on discovery issues [.4].                                                                    $           190.00                                             TM

302 10/25/2012      Jason Proctor        0.40   $ 150.00 $            60.00 Reviewed E-Mails; Document Management; Teleconference With Co-Counsel                     0.20      $            30.00 Administrative                              RW

303 10/25/2012      Jason Proctor        2.90   $ 150.00 $           435.00 Document Management; Finalized, Burnt Cd; E-Mailed; E-Mail Co-Counsel                     2.60      $            45.00 Administrative                              RW
                                                                            Worked on document review and production index [4.5]; worked on document
304 10/25/2012      Eden Nordby          6.20   $ 150.00 $           930.00 production [.7]; finalized discovery responses [1].                                                 $           930.00                                             TM
305 10/26/2012       Greg Wolk           0.30   $ 425.00 $           127.50 review client documents                                                                             $           127.50                                             RW
306 10/26/2012       Katie Lohr          0.50    $ 90.00 $            45.00 Delivered Documents To Opposing Counsel                                                   0.50       $               - Administrative                              RW
                                                                            Forwarded discovery responses and production to co-counsel for service on
307 10/26/2012      Eden Nordby          0.50   $ 150.00 $            75.00 Defendants [.3]; worked on file organization [.2]                                                   $            75.00                                             TM
308 10/29/2012      Jason Proctor        0.50    $ 150.00 $           75.00 Delivered Appendix A; Updated File                                                        0.50       $               - Administrative                              RW
309 10/29/2012      Eden Nordby          1.00   $ 150.00 $           150.00 Worked on appendix to supplemental discovery responses.                                             $           150.00                                             TM
                                                                            Worked on issues regarding first supplemental responses to defendant's
310 10/29/2012     Toby Marshall         0.20   $ 475.00 $            95.00 discovery requests [.2].                                                                            $            95.00                                             TM
311 10/30/2012       Greg Wolk           0.40   $ 425.00 $           170.00 confer w co-counsel re [redacted] (.2); draft disengagement letter (.2)                   0.20      $            85.00 Relevance                                   RW
312 10/30/2012     Jason Proctor         0.70    $ 150.00 $          105.00 Strategized Case; Disengaged Aziz                                                         0.40      $            45.00 Relevance                                   RW
                                                                            Email correspondence and telephone conference with with co-counsel regarding
                                                                            discovery and case strategy issues [.3]; analyzed issues and left message with
313   10/30/2012   Toby Marshall         0.50   $    475.00    $     237.50 opposing counsel regarding same [.2].                                                               $           237.50                                             TM
314   10/31/2012     Greg Wolk           0.30   $    425.00    $     127.50 confer w co-counsel on amending complaint                                                           $           127.50                                             RW
315   10/31/2012   Jason Proctor         0.50    $    150.00   $      75.00 Finalized, mailed and E-Mailed Letters To Aziz And OSHA                                   0.50       $               - Relevance/Administraive                     RW
316   10/31/2012   Toby Marshall         0.10   $    475.00    $      47.50 Analyzed issues regarding withdrawal of representation of Mr. Aziz [.1].                  0.10       $               - Relevance                                   TM
                                                                            analyze seeking leave to amend complaint (.5); confer with co-counsel re same
317   11/1/2012      Greg Wolk           1.30   $ 425.00 $           552.50 (.8)                                                                                                $           552.50                                             RW
318   11/1/2012    Hardeep Rekhi         0.80   $ 425.00 $           340.00 confer with co-counsel re seeking leave to amend complaint                                          $           340.00                                             RW
319   11/1/2012     Erika Nusser         0.40   $ 350.00 $           140.00 Worked on case strategy and motion to amend complaint [.4]                                          $           140.00                                             TM
                                                                            Analyzed issues regarding case strategy and email correspondence with co-
                                                                            counsel regarding same [.3]; telephone conference with co-counsel regarding
320   11/1/2012    Toby Marshall         1.10   $ 475.00 $           522.50 same and worked on amended complaint [.8].                                                          $           522.50                                             TM
321   11/2/2012     Greg Wolk            0.20   $ 425.00 $            85.00 meet w client re case status and scheduling deposition                                              $            85.00                                             RW
322   11/5/2012     Greg Wolk            0.50   $ 425.00 $           212.50 analyze amending complaint and supplementing discovery                                              $           212.50                                             RW

                                                                            Emails regarding case strategy issues [.2]; voicemail and telephone conference
                                                                            with Mr. Tena regarding [redacted][.2]; telephone conference with Mr. Wolk
323   11/5/2012     Erika Nusser         2.30   $ 350.00 $           805.00 regarding [redacted] [.2]; worked on motion to amend complaint [1.7]                                $           805.00                                             TM

                                                                             Prepared draft of plaintiff's motion for leave to amend complaint [.3]; prepared
                                                                             draft of Wolk declaration in support of motion for leave to amend complaint [.2];
                                                                             prepared draft of Marshall declaration in support of motion to amend complaint
324   11/6/2012    Bradford Kinsey       0.90   $ 100.00 $             90.00 [.2]; prepared draft of proposed order granting leave to amend complaint [.2].                     $            90.00                                             TM
                                                                             Worked on case strategy issues [.3]; worked on motion to amend complaint and
                                                                             supporting documents [4.4]; researched relation back and statute of limitations
325   11/6/2012     Erika Nusser         6.70   $ 350.00 $          2,345.00 issues [2]                                                                                         $         2,345.00                                             TM

                                                                               Telephone conference with opposing counsel regarding addition of named
                                                                               complaints and discovery issues [.2]; analyzed issues and email correspondence
326   11/6/2012    Toby Marshall         0.70   $ 475.00 $           332.50    with co-counsel regarding same [.3]; worked on amended complaint [.2].                           $           332.50                                             TM
327   11/7/2012      Greg Wolk           1.20   $ 425.00 $           510.00    analyze amended complaint and draft motion to amend complaint                                    $           510.00                                             RW
328   11/7/2012    Jason Proctor         0.40    $ 150.00 $           60.00    Document Management Regarding Jon Bodily Documents                                     0.40       $               - Administrative                              RW
                                                                               Continued research regarding relation back of claims and drafted memo regarding
                                                                               the same [3.4]; voicemail for Mr. Tena [.1]; worked on factual issues [.2]; worked
329   11/7/2012     Erika Nusser         6.20   $ 350.00 $          2,170.00   on motion to amend complaint [2.5]                                                               $         2,170.00                                             TM
330   11/8/2012      Greg Wolk           1.00   $ 425.00 $            425.00   analyze and revise motion to amend complaint                                                     $           425.00                                             RW
331   11/8/2012    Hardeep Rekhi         2.10   $ 425.00 $            892.50   Reviewed Issues Regarding Amended Complaint                                                      $           892.50                                             RW
                                                                               Edited Motion To Amend Complaint; Declarations; Proposed Order & Exhibits; E-
332   11/8/2012     Jason Proctor        4.80   $ 150.00 $           720.00    Filed; E-Mailed Proposed Order                                                         4.00      $           120.00 Administrative                              RW
                                                                               Worked on case strategy issues and motion to amend complaint [.7]; case
                                                                               strategy conferences regarding amended complaint [.4]; worked on motion to
                                                                               amend complaint and supporting documents, and revisions thereto [2.5]; worked
333   11/8/2012     Erika Nusser         6.90   $ 350.00 $          2,415.00   on amended complaint and revisions thereto. [3.3]                                                $         2,415.00                                             TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 24
CASE NO. 2:12-CV-00904-RSL
                                     Case
                                     Case 2:18-cv-00681-RAJ
                                       Case
                                          2:12-cv-00904-RSL  Document
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 1       Date       Professional        Units        Price         Value        Narrative                                                                            Writedown     Revised Value                   Writedown Explanation   Firm
334   11/8/2012    Toby Marshall        0.50    $    475.00    $       237.50   Worked on amended complaint [.5].                                                                $         237.50                                           TM
335   11/9/2012    Hardeep Rekhi        2.00    $    425.00    $       850.00   Reviewed Issues Regarding Amended Complaint                                                      $         850.00                                          RW
336   11/12/2012   Hardeep Rekhi        0.10    $    425.00    $        42.50   Sent E-Mail Regarding Discovery Issues                                                           $          42.50                                          RW
337   11/12/2012   Jason Proctor        0.20     $    150.00   $        30.00   Updated File                                                                           0.20       $             - Administrative                           RW
338   11/12/2012    Eden Nordby         0.20    $    150.00    $        30.00   Worked on docketing.                                                                   0.20       $             - Administrative                            TM
339   11/12/2012    Erika Nusser        0.20    $    350.00    $        70.00   Voicemail and telephone conference with Mr. Tena [.2]                                            $          70.00                                           TM
                                                                                Analyzed issues regarding production of Mr. Tena's documents; email
                                                                                correspondence with co-counsel regarding response from opposing counsel to
                                                                                amended complaint proposal; analyzed issues regarding same and deposition
340 11/12/2012     Toby Marshall         0.20   $ 475.00 $             95.00    scheduling [.2].                                                                                 $         95.00                                           TM
                                                                                Telephone conference with Mr. Tena regarding [redacted] and email
                                                                                correspondence with co-counsel regarding same and case strategy issues [.2]; left
341   11/13/2012   Toby Marshall         0.30   $    475.00    $      142.50    message with opposing counsel regarding same [.1].                                               $        142.50                                           TM
342   11/13/2012   Torrie Marshall       0.10   $    100.00    $       10.00    Worked on docketing.                                                                   0.10       $            - Administrative                            TM
343   11/14/2012     Greg Wolk           0.20    $    425.00   $       85.00    Confer with co-counsel regarding case strategy and class cert                                    $         85.00                                           RW
344   11/14/2012   Hardeep Rekhi         0.20    $    425.00   $       85.00    Confer with co-counsel regarding case strategy and class cert                                    $         85.00                                           RW
345   11/14/2012   Hardeep Rekhi         0.20   $    425.00    $       85.00    Reviewed E-Mails Regarding Discovery                                                             $         85.00                                           RW
                                                                                Telephone call from co-counsel regarding case strategy and class certification
                                                                                isses [.2]; exchanged messages with opposing counsel regarding amended
346 11/14/2012     Toby Marshall         0.30   $ 475.00 $            142.50    complaint and plaintiff depositions [.1].                                                        $        142.50                                           TM
347 11/15/2012     Hardeep Rekhi         0.50   $ 425.00 $            212.50    Followed-Up On Discovery                                                                         $        212.50                                           RW
                                                                                Telephone conference with opposing counsel regarding discovery issues [.1];
348 11/15/2012     Toby Marshall         0.20   $ 475.00 $             95.00    worked on same [.1].                                                                             $         95.00                                           TM

                                                                             review and analyze client docs (.4); confer w clients re docs and depositions (.4);
                                                                             review email by co-counsel re amended complaint and next steps (.1); confer w
349 11/16/2012       Greg Wolk           1.90   $ 425.00 $            807.50 co-counsel re amended complaint, discovery, and deposition issues (1.0)                             $        807.50                                           RW
                                                                             confer w co-counsel re amended complaint, discovery, and deposition issues ;
350 11/16/2012     Hardeep Rekhi         2.00   $ 425.00 $            850.00 follow up re the same                                                                               $        850.00                                           RW
                                                                             Strategized Case; Left Message For John Bodily; Left Message For Kevin Helde;
                                                                             Reviewed E-Mail From Co-Counsel; Edited W-9; E-Mailed Opposing Counsel;
                                                                             Teleconference With Jon Bodily; Teleconference With Kevin Helde; E-Mails HSR,
351 11/16/2012     Jason Proctor         1.00    $ 150.00 $           150.00 Gaw And Tm                                                                                0.80      $         30.00 Administrative                            RW
352 11/16/2012      Erika Nusser         0.20   $ 350.00 $             70.00 Emails regarding amended complaint and discovery issues [.2]                                        $         70.00                                           TM

                                                                                Prepared for and participated in telephone conference with opposing counsel
                                                                                regarding amended complaint, discovery, and deposition issues [.3]; telephone
                                                                                conferences with co-counsel regarding same [1.0]; researched and analyzed
353   11/16/2012   Toby Marshall         2.50   $    475.00    $    1,187.50    issues regarding same [.8]; drafted email to opposing counsel regarding same [.4].               $      1,187.50                                           TM
354   11/19/2012     Greg Wolk           0.20   $    425.00    $       85.00    confer on withdrawing complaint, subbing parties`                                                $         85.00                                           RW
355   11/19/2012   Hardeep Rekhi         0.20   $    425.00    $       85.00     worked on withdrawing complaint and adding parties                                              $         85.00                                           RW
356   11/19/2012    Eden Nordby          0.80   $    150.00    $      120.00    Worked on notice of withdrawal of motion; filed and served same.                       0.40      $         60.00 Efficiency                                TM
                                                                                Email correspondence with opposing counsel and co-counsel regarding
                                                                                withdrawal of motion to file amended complaint [.1]; analyzed issues and email
357   11/19/2012   Toby Marshall         0.30   $    475.00    $      142.50    correspondence with co-counsel regarding same [.2].                                              $        142.50                                           TM
358   11/20/2012     Greg Wolk           0.20   $    425.00    $       85.00    analyze final amendments to complaint                                                            $         85.00                                           RW
359   11/20/2012   Hardeep Rekhi         1.10   $    425.00    $      467.50    Strategized Case; discuss w/ Co-Counsel; follow up research                                      $        467.50                                           RW
360   11/20/2012   Jason Proctor         0.20    $    150.00   $       30.00    Document Management; E-Mailed Amended Complaint                                        0.20       $            - Administrative                            RW
                                                                                Finalized and formatted amended complaint; filed and served same; telephone
361 11/20/2012      Eden Nordby          1.50   $ 150.00 $            225.00    conference with clerk regarding amended complaint.                                               $        225.00                                           TM

                                                                                Analyzed issues regarding filing of amended complaint and email correspondence
                                                                                with co-counsel regarding same [.2]; telephone conference with Mr. Tena
                                                                                regarding [redacted] [.1]; analyzed issues regarding same [.1]; email to opposing
362   11/20/2012   Toby Marshall         0.50   $    475.00    $      237.50    counsel regarding same and deadline for class certification filing [.1].                         $        237.50                                           TM
363   11/21/2012   Hardeep Rekhi         2.30   $    425.00    $      977.50    Reviewed Discovery Issues; Reviewed Discovery Regarding Clients                                  $        977.50                                           RW
364   11/21/2012   Jason Proctor         0.40    $    150.00   $       60.00    Document Management With Ecf & Letter; E-Mail To Co-Counsel                            0.40       $            - Administrative                            RW
365   11/26/2012     Greg Wolk           0.20    $    425.00   $       85.00    Confer w. co-counsel re discovery and class cert issues                                          $         85.00                                           RW
366   11/26/2012   Hardeep Rekhi         0.20    $    425.00   $       85.00    Confer w. co-counsel re discovery and class cert issues                                          $         85.00                                           RW
                                                                                Telephone call from Mr. Tena regarding [redacted] [.1]; analyzed issues regarding
                                                                                same [.2]; email correspondence and telephone conference with co-counsel
                                                                                regarding discovery and class certification issues [.2]; email correspondence with
367 11/26/2012     Toby Marshall         0.60   $ 475.00 $            285.00    opposing counsel regarding same [.1].                                                            $        285.00                                           TM
                                                                                review discovery from Knight (.5); contact clients and discuss dep prep and timing
368 11/27/2012      Greg Wolk            0.90   $ 425.00 $            382.50    issues with co-counsel (.4)                                                                      $        382.50                                           RW
369 11/27/2012     Hardeep Rekhi         3.90   $ 425.00 $          1,657.50    Reviewed Case Material And Discovery Produced                                                    $      1,657.50                                           RW
                                                                                Worked on document production and deposition scheduling issues and telephone
370 11/27/2012     Toby Marshall         0.90   $ 475.00 $            427.50    conference with opposing counsel regarding same [.9].                                            $        427.50                                           TM
371 11/28/2012      Greg Wolk            0.20   $ 425.00 $             85.00    analyze discovry produced                                                                        $         85.00                                           RW
372 11/28/2012     Hardeep Rekhi         0.50   $ 425.00 $            212.50    Reviewed Discovery Issues                                                                        $        212.50                                           RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 25
CASE NO. 2:12-CV-00904-RSL
                                      Case
                                     Case
                                       Case2:18-cv-00681-RAJ
                                          2:12-cv-00904-RSL   Document
                                             2:17-cv-01499 Document
                                                             Document  1 Filed
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 1     Date        Professional          Units     Price            Value      Narrative                                                                             Writedown     Revised Value                       Writedown Explanation   Firm
373 11/28/2012     Jason Proctor         0.20    $ 150.00 $              30.00 Reviewed E-Mails; Document Management; E-Mails Clients                                   0.20      $             - Administrative                               RW
374 11/29/2012       Greg Wolk           0.40    $ 425.00 $             170.00 speak with clients about depositions (.2); review discovery (.2)                                  $         170.00                                              RW
                                                                               Strategized Case; Teleconference With Jon Bodily And Kevin Helde; E-Mailed
375 11/29/2012     Jason Proctor         0.50     $ 150.00 $             75.00 Clients Regarding The Same                                                              0.30      $         30.00 Administrative                                RW
376 11/29/2012     Eden Nordby           0.20    $ 150.00 $              30.00 Worked on docketing.                                                                    0.20       $            - Administrative                                TM
377 11/29/2012     Eden Nordby           0.20    $ 150.00 $              30.00 Forwarded deposition documents to Mr. Tena.                                                       $         30.00                                               TM
                                                                               Telephone conference with Mr. Tena regarding [redacted] [.1]; worked on
378 11/29/2012     Toby Marshall         0.30    $    475.00    $       142.50 docketing issues and scheduling of preparation for same [.2].                                     $        142.50                                               TM
379 12/4/2012      Toby Marshall         0.10    $    475.00    $        47.50 Left message with Mr. Tena regarding [redacted] [.1].                                             $         47.50                                               TM
380 12/5/2012      Hardeep Rekhi         1.90    $    425.00    $       807.50 Reviewed Deadlines; Prepared For Deposition                                                       $        807.50                                               RW
381 12/5/2012       Erika Nusser         0.20    $    350.00    $        70.00 Emails regarding case strategy issues [.2]                                                        $         70.00                                               TM

                                                                              Analyzed issues regarding class certification deadline and email correspondence
382   12/5/2012    Toby Marshall         0.20    $ 475.00 $             95.00 with co-counsel and opposing counsel regarding same [.2].                                          $         95.00                                               TM

                                                                                Telephone call from opposing counsel regarding discovery issues and extension of
383   12/5/2012    Toby Marshall         0.50    $ 475.00 $            237.50   class certification deadline [.4]; analyzed issues regarding same [.1].                          $        237.50                                               TM
384   12/6/2012    Hardeep Rekhi         0.80    $ 425.00 $            340.00   Reviewed Document Production; prep for dep                                                       $        340.00                                               RW
385   12/6/2012    Jason Proctor         0.30     $ 150.00 $            45.00   Document Management                                                                    0.30       $            - Administrative                                RW
                                                                                Worked on discovery issues [.8]; telephone conference with opposing counsel
386   12/6/2012    Toby Marshall         1.40    $ 475.00 $            665.00   regarding same [.6].                                                                             $        665.00                                               TM
387   12/7/2012     Greg Wolk            0.80    $ 425.00 $            340.00   analyze answer                                                                                   $        340.00                                               RW
                                                                                Reviewed Documents Regarding Depositions; E-Mail Correspondence With Co-
388   12/7/2012    Hardeep Rekhi         2.30    $    425.00    $      977.50   Counsel                                                                                          $        977.50                                               RW
389   12/7/2012    Jason Proctor         0.30     $    150.00   $       45.00   Strategized Case; E-Mailed Co-Counsel; Burned Cd                                       0.20      $         15.00 Administrative                                RW
390   12/7/2012     Erika Nusser         0.20    $    350.00    $       70.00   Emails regarding case strategy issues [.2]                                                       $         70.00                                               TM
391   12/7/2012    Toby Marshall         0.40    $    475.00    $      190.00   Worked on discovery issues [.4].                                                                 $        190.00                                               TM
                                                                                confer w co-counsel re document production and timing with discovery motion
392 12/10/2012      Greg Wolk            0.60    $ 425.00 $            255.00   deadlines                                                                                        $        255.00                                               RW
393 12/10/2012     Hardeep Rekhi         0.70    $ 425.00 $            297.50   Teleconference Regarding Discovery                                                               $        297.50                                               RW

394 12/10/2012     Jason Proctor         0.30     $ 150.00 $            45.00 Document Management; Teleconference With Helde And Bodily; E-Mailed Bodily               0.20      $         15.00 Administrative                                RW
395 12/10/2012     Eden Nordby           0.10    $ 150.00 $             15.00 Worked on docketing.                                                                     0.10       $            - Administrative                                TM

                                                                                Prepared for and participated in telephone conference with co-counsel and
                                                                                opposing counsel regarding Knight's document production, deposition scheduling,
                                                                                and class certification issues [.9]; worked on issues and email correspondence
396 12/10/2012     Toby Marshall         1.40    $ 475.00 $            665.00   with co-counsel and opposing counsel regarding same [.5].                                        $        665.00                                               TM
                                                                                analyze preemption (.5); confer with co-counsel re legal claims and factual
397 12/11/2012       Greg Wolk           1.60    $ 425.00 $            680.00   background (1.1)                                                                                 $        680.00                                               RW
                                                                                Reviewed Discovery In Preparing Of Deposition (2.9); confer with co-counsel re
398 12/11/2012     Hardeep Rekhi         4.00    $ 425.00 $          1,700.00   issues regarding legal claims and factual background (1.1)                                       $      1,700.00                                               RW
                                                                                Telephone call from Mr. Tena regarding [redacted] [.1]; researched and analyzed
                                                                                issues regarding legal claims and factual background and telephone conferences
399 12/11/2012     Toby Marshall         1.20    $ 475.00 $            570.00   with co-counsel regarding same [1.1].                                                            $        570.00                                               TM
                                                                                analyze notes from witness driver (.4); confer w co-counsel re same (.3); dep prep
400 12/12/2012      Greg Wolk            5.30    $ 425.00 $          2,252.50   w client (3.6); analyze claims (1)                                                     0.50      $      2,040.00 Unsuccessful claims                           RW
401 12/12/2012     Hardeep Rekhi         7.50    $ 425.00 $          3,187.50   Reviewed Discovery; Met With Client; Prepared For Deposition                           1.10      $      2,720.00 Unsuccessful claims                           RW
                                                                                Telephone conference with class member and drafted summary regarding same
402 12/12/2012    Jennifer Boschen       0.90    $ 150.00 $            135.00   [.9].                                                                                            $        135.00                                               TM
                                                                                Reviewed documents produced by Knight and analyzed issues regarding factual
                                                                                background [2.9]; meeting with co-counsel and clients regarding factual
                                                                                background issues and preparation for depositions [3.6]; analyzed issues
403 12/12/2012     Toby Marshall         6.90    $ 475.00 $          3,277.50   regarding class certification and witness interviews [.4].                             1.00      $      2,802.50 Unsuccessful claims                           TM
404 12/13/2012     Hardeep Rekhi         2.00    $ 425.00 $            850.00   Reviewed Discovery; E-Mail Correspondence With Co-Counsel                                        $        850.00                                               RW
                                                                                Saved And Reviewed E-Mail And Documents; Saved And Reviewed Amended
405 12/13/2012     Jason Proctor         0.30    $ 150.00 $             45.00   Notice Of Deposition; E-Mailed To Client                                               0.30      $             - Administrative                                RW

406 12/13/2012     Jason Proctor         0.20    $ 150.00 $             30.00 Saved And Reviewed Letter And Uploaded Documents; E-Mailed To Co-Counsel                 0.20      $             - Administrative                                RW
                                                                              Worked on document production [.2]; updated caption [.2]; letter to opposing
407 12/13/2012     Eden Nordby           0.60    $ 150.00 $             90.00 counsel regarding document production[.2].                                                         $         90.00                                               TM
                                                                              Worked on discovery issues and email correspondence with co-counsel and
408 12/13/2012     Toby Marshall         0.40    $ 475.00 $            190.00 opposing counsel regarding same [.4].                                                              $        190.00                                               TM
                                                                              Strategized Case; Legal Research; Records Management; Converted Documents; E-
409 12/14/2012     Jason Proctor         3.30     $ 150.00 $           495.00 Mailed Gaw & HSR; Reviewed E-Mail From Gaw                                               1.30      $        300.00 Administrative                                RW
410 12/14/2012     Eden Nordby           0.10    $ 150.00 $             15.00 Worked on docketing.                                                                               $         15.00                                               TM
                                                                              analyze similar wage and actions cases and Knight claims chart (.4); confer w co-
411 12/17/2012       Greg Wolk           1.80    $ 425.00 $            765.00 counsel re legal claims and factual background (1.6)                                     0.10      $        722.50 Unsuccessful claims                           RW
                                                                              Reviewed Various Materials For Deposition (6.2); confer w co-counsel re legal
412 12/17/2012     Hardeep Rekhi         7.80    $ 425.00 $          3,315.00 claims and factual background (1.6)                                                                $      3,315.00                                               RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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AND REIMBURSEMENT OF LITIGATION COSTS - 26
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                                     Case
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 1     Date         Professional         Units    Price             Value      Narrative                                                                             Writedown     Revised Value                       Writedown Explanation   Firm
413 12/17/2012      Jason Proctor        2.70    $ 150.00 $             405.00 Legal Research; Teleconference With Aziz                                                 1.00     $         255.00 Relevance/Efficiency                         RW

                                                                                Reviewed documents produced by Knight [.1]; reviewed materials from related
                                                                                case in CA [.1]; researched and analyzed issues regarding legal claims and factual
414 12/17/2012     Toby Marshall         2.00    $ 475.00 $            950.00   background and telephone conference with co-counsel regarding same [1.8].                        $        950.00                                               TM
415 12/17/2012     Torrie Marshall       0.10    $ 100.00 $             10.00   Worked on docketing.                                                                   0.10       $            - Administrative                                TM
                                                                                review discovery produced and similar case pleadings (.9); meet with co-counsel
416 12/18/2012       Greg Wolk           1.70    $ 425.00 $            722.50   and client regarding factual background issues (.8)                                              $        722.50                                               RW
                                                                                Prepared For And Defended Deposition (8); meet with co-counsel and client
417 12/18/2012     Hardeep Rekhi         8.80    $ 425.00 $          3,740.00   regarding factual background issues (.8)                                               1.30      $      3,187.50 Unsuccessful claims                           RW
418 12/18/2012     Jason Proctor         1.10     $ 150.00 $           165.00   Legal Research; Document Management                                                    0.80      $         45.00 Administrative/Efficiency                     RW
419 12/18/2012      Erika Nusser         0.50    $ 350.00 $            175.00   Analyzed related litigation [.5]                                                       0.50       $            - Relevance                                     TM
                                                                                Meeting with Mr. Tena in preparation for deposition [.7]; traveled to and
                                                                                defended Mr. Tena's deposition and returned from same [8.0]; meeting with co-
420 12/18/2012     Toby Marshall         9.50    $ 475.00 $          4,512.50   counsel and client regarding factual background issues [.8].                           1.40      $      3,847.50 Unsuccessful claims                           TM
                                                                                review discovery and similar pleadings/motions (.3); meeting with co-counsel and
421 12/19/2012       Greg Wolk           1.10    $ 425.00 $            467.50   client re factual background issues (.8)                                                         $        467.50                                               RW
                                                                                Prepared For And Defended Deposition (8.7); meeting with co-counsel and client
422 12/19/2012     Hardeep Rekhi         9.50    $ 425.00 $          4,037.50   re factual background issues (.8)                                                      1.40      $      3,442.50 Unsuccessful claims                           RW
                                                                                Strategized Case; Legal Research; Reviewed E-Mail; E-Mailed HSR; Document
                                                                                Management Regarding Proteective Order And Defendant'S Documents
423 12/19/2012      Jason Proctor        2.50     $ 150.00 $           375.00   Produced; Teleconference With Kevin Helde                                              2.20      $         45.00 Administrative                                RW
424 12/19/2012        Katie Lohr         5.30     $ 90.00 $            477.00   Legal Research                                                                         2.50      $        252.00 Efficiency                                    RW
425 12/19/2012       Erika Nusser        0.50    $ 350.00 $            175.00   Researched factual issues for subpoena to Qualcomm [.5]                                          $        175.00                                               TM

                                                                                Meeting with Mr. Bodily in preparation for deposition [.5]; traveled to and
                                                                                defended Mr. Bodily's deposition and returned from same [8.3]; meeting with co-
426 12/19/2012     Toby Marshall         9.60    $ 475.00 $          4,560.00   counsel and Mr. Bodily regarding factual background issues [.8].                       1.40      $      3,895.00 Unsuccessful claims                           TM
427 12/20/2012      Greg Wolk            0.70     $ 425.00 $           297.50   Meet with co-counsel and client re factual background issues                           0.70      $             -                                               RW
                                                                                Defended Depostion (7.5); Meet with co-counsel and client re factual background
428 12/20/2012     Hardeep Rekhi         8.20    $ 425.00 $          3,485.00   issues (.7)                                                                            1.20      $      2,975.00 Unsuccessful claims                           RW
429 12/20/2012     Jason Proctor         3.20     $ 150.00 $           480.00   Document Management Regarding Exhibits                                                 3.20      $             - Administrative                                RW

                                                                              Prepared draft of subpoena to produce documents directed to Qualcomm, Inc.
                                                                              [.3]; prepared draft of associated Exhibit A [.4]; prepared draft of declaration of
430 12/20/2012     Bradford Kinsey       1.10    $ 100.00 $            110.00 records custodian [.2]; prepared draft of declaration of service [.2].                             $        110.00                                               TM
                                                                              Analyzed discovery responses and production, and worked on subpoena to
431 12/20/2012      Erika Nusser         1.70    $ 350.00 $            595.00 Qualcomm [1.7]                                                                                     $        595.00                                               TM
                                                                              Telephone call from Mr. Helde regarding deposition attendance and email to
                                                                              opposing counsel regarding same [.1]; traveled to and defended Mr. Helde's
                                                                              deposition and returned from same [7.3]; meeting with Mr. Helde and co-counsel
432   12/20/2012   Toby Marshall         8.10    $    475.00    $    3,847.50 regarding factual background issues [.7].                                                1.20      $      3,277.50   Unsuccessful claims                         TM
433   12/21/2012   Hardeep Rekhi         0.90    $    425.00    $      382.50 Reviewed E-Mail And Correspondence; Discussed Case Status                                          $        382.50                                               RW
434   12/21/2012   Jason Proctor         1.00     $    150.00   $      150.00 Document Management Regarding Exhibits; E-Mailed Co-Counsel                              1.00       $            -   Administrative                              RW
435   12/21/2012   Jason Proctor         0.10     $    150.00   $       15.00 Saved And Reviewed Stipulation And Proposed Order                                        0.10       $            -   Administrative                              RW
436   12/21/2012    Erika Nusser         0.20    $    350.00    $       70.00 Emails regarding stipulated protective order [.2]                                                  $         70.00                                               TM
437   12/21/2012   Sharon Safarik        0.40    $    225.00    $       90.00 Discussed new research assignment.                                                       0.20      $         45.00   Efficiency                                  TM

                                                                              Worked on outline of claims/issues and research projects to complete before
                                                                              class certification [.8]; reviewed proposed confidentiality agreement, analyzed
                                                                              issues regarding same, and email correspondence with co-counsel regarding same
                                                                              [.3]; email correspondence opposing counsel regarding discovery production
                                                                              issues [.1]; email correspondence with opposing counsel regarding briefing
438 12/21/2012     Toby Marshall         1.30    $ 475.00 $            617.50 schedule for class certification [.1].                                                             $        617.50                                               TM
                                                                              Prepared draft of stipulation and proposed order regarding class certification
439 12/26/2012     Bradford Kinsey       0.70    $ 100.00 $             70.00 briefing schedule.                                                                                 $         70.00                                               TM
                                                                              Continued analyzing discovery responses and production, and worked on
440 12/26/2012      Erika Nusser         2.70    $ 350.00 $            945.00 subpoena and letter to Qualcomm [2.7]                                                              $        945.00                                               TM

                                                                              Worked on stipulation for briefing schedule on class certification [.1]; message
                                                                              from client regarding document production [.1]; worked on stipulation and
                                                                              proposed order to vacate case schedule pending class certification and email
441 12/26/2012     Toby Marshall         0.50    $ 475.00 $            237.50 correspondence with co-counsel regarding same [.3].                                                $        237.50                                               TM

442 12/27/2012       Greg Wolk           0.40    $ 425.00 $            170.00 Telephone call with co-counsel regarding discovery and factual background issues                   $        170.00                                               RW

443 12/27/2012     Hardeep Rekhi         0.40    $ 425.00 $            170.00 Telephone call with co-counsel regarding discovery and factual background issues                   $        170.00                                               RW
                                                                              Prepared draft of and finalized Nusser notice of association of counsel [.2];
444 12/27/2012     Bradford Kinsey       0.30    $ 100.00 $             30.00 arranged filing and service [.1].                                                                  $         30.00                                               TM


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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        A              B                C            D              E                                                   F                                            G                 H                                          I               J
1      Date       Professional         Units        Price         Value       Narrative                                                                          Writedown       Revised Value                          Writedown Explanation   Firm
                                                                              Worked on document production project [.2]; commenced document review and
445 12/27/2012    Eden Nordby          4.00    $ 150.00 $           600.00    index [3.8].                                                                                   $           600.00                                                 TM
446 12/27/2012    Erika Nusser         2.00    $ 350.00 $           700.00    Analyzed production from Knight [2]                                                            $           700.00                                                 TM
447 12/27/2012   Sharon Safarik        4.10    $ 225.00 $           922.50    Researched preemption issues.                                                        2.10      $           450.00 Efficiency                                      TM
                                                                              Researched and analyzed issues regarding factual background and worked on
                                                                              case strategy [.3]; worked on document production issues [.2]; email to opposing
                                                                              counsel regarding class certification briefing and case schedule deadlines [.1];
                                                                              worked on document review issues [.2]; reviewed defendant's document
                                                                              production [1.5]; telephone conference with co-counsel regarding discovery and
448 12/27/2012   Toby Marshall         2.70    $ 475.00 $          1,282.50   factual background issues [.4].                                                                $         1,282.50                                                 TM
                                                                              Telephone conference with co-counsel re factual background, legal, and case
449 12/28/2012     Greg Wolk           1.50    $ 425.00 $           637.50    strategy issues                                                                                $           637.50                                                 RW

                                                                            Legal Research Regarding Similar Claims; E-Mail Correspondence With Co-
                                                                            Counsel; Researched Issues Relating To Comdata; Strategized Subpoenas; confer
450 12/28/2012   Hardeep Rekhi         6.40    $ 425.00 $          2,720.00 with co-counsel re factual background, legal and case strategy issues (1.5)                      $         2,720.00                                                 RW

                                                                              Saved And Reviewed E-Mails; Document Management Regarding Letter And
451 12/28/2012    Jason Proctor        3.50    $ 150.00 $           525.00    Defendant'S Documents Produced; E-Mailed Documents To Co-Counsel                     3.50      $                - Administrative                                  RW
                                                                              Worked on document production [.5]; created production CDs for opposing
                                                                              counsel [.3]; letter to opposing counsel [.2]; served document production [.2];
452 12/28/2012    Eden Nordby          5.00    $ 150.00 $           750.00    continued document review and index [3.8].                                                     $           750.00                                                 TM
                                                                              Worked on revisions to subpoena to Qualcomm [.3]; analyzed production of
                                                                              Comdata account for Mr. Aziz [.3]; researched factual issues and worked on
453 12/28/2012    Erika Nusser         2.10    $ 350.00 $           735.00    subpoena to Comdata [1.5]                                                                      $           735.00                                                 TM
454 12/28/2012   Sharon Safarik        0.50    $ 225.00 $           112.50    Researched preemption issues.                                                        0.30      $            45.00 Efficiency                                      TM
                                                                              Worked on discovery and factual background issues and researched and analyzed
                                                                              same [1.8]; telephone conference with co-counsel regarding factual background,
455 12/28/2012   Toby Marshall         3.30    $ 475.00 $          1,567.50   legal, and case strategy issues [1.5].                                                         $         1,567.50                                                 TM
456 12/31/2012   Jason Proctor         0.30     $ 150.00 $            45.00   Document Management                                                                  0.30      $                - Administrative                                  RW
                                                                              Legal Research Regarding Similar Cases; Reviewed Docket; Reviewed Other Cases;
457   1/2/2013   Hardeep Rekhi         3.80    $ 425.00 $          1,615.00   E-Mail Correspondence With Co-Counsel                                                          $         1,615.00                                                 RW
                                                                              Strategized Case: Teleconfrence With Aziz; Document Management For Exhibits &
                                                                              Transcripts; E-Mailed Clients And Co-Counsel With Exhibits & Transcripts;
458   1/2/2013    Jason Proctor        2.10    $ 150.00 $           315.00    Reviewed E-Mails; Reviewed Legal Research.                                           1.80      $            45.00 Administrative/Relevance/Efficiency             RW
459   1/2/2013      Katie Lohr         5.20    $ 90.00 $            468.00    Legal Research                                                                       2.00      $           288.00 Efficiency                                      RW

                                                                           Prepared draft of subpoena to produce documents directed to Comdata;
                                                                           prepared draft of and finalized declaration of records custodian; prepared draft of
460   1/2/2013   Bradford Kinsey       0.60    $ 100.00 $            60.00 transmittal letter; prepared draft of declaration of service.                                     $            60.00                                                 TM
461   1/2/2013    Eden Nordby          0.20    $ 150.00 $            30.00 Correspondence with co-counsel regarding client contact information.                              $            30.00                                                 TM
462   1/2/2013    Eden Nordby          3.10    $ 150.00 $           465.00 Worked on document review.                                                                        $           465.00                                                 TM

463   1/2/2013    Erika Nusser         1.60    $ 350.00 $            560.00 Researched legal and factual issues [1.1]; worked on subpoena to Comdata [.5]                    $           560.00                                                 TM
464   1/2/2013   Sharon Safarik        7.40    $ 225.00 $          1,665.00 Researched preemtion and orientation issues.                                           3.70      $           832.50 Efficiency                                      TM
                                                                            Telephone call from Mr. Tena regarding document production [.1]; worked on
465   1/2/2013   Toby Marshall         0.50    $    475.00    $      237.50 issues regarding same and discovery [.4].                                                        $           237.50                                                 TM
466   1/3/2013   Hardeep Rekhi         2.90    $    425.00    $    1,232.50 Researched Issue Regarding Bonuses; Reviewed Deposition Transcripts                    1.20      $           722.50   Unsuccessful claims                           RW
467   1/3/2013   Hardeep Rekhi         0.30    $    425.00    $      127.50 Reviewed E-Mail Correspondence Regarding Setting Hearing Dates                         0.30       $               -   Administrative                                RW
468   1/3/2013   Jason Proctor         0.20     $    150.00   $       30.00 Saved And Reviewed Letter Form Judge Lasnik; Strategized Case                          0.20       $               -   Administrative                                RW
469   1/3/2013     Katie Lohr          6.00     $     90.00   $      540.00 Reviewed Documents And Personnel Files                                                           $           540.00                                                 RW
470   1/3/2013     Katie Lohr          0.70     $     90.00   $       63.00 Legal Research                                                                         0.70       $               -   Unsuccessful claims                           RW
                                                                            Conduct legal research regarding Garza v. Swift Transportation matter; revise
471   1/3/2013   Bradford Kinsey       0.60    $ 100.00 $             60.00 Qualcomm subpoena.                                                                               $            60.00                                                 TM
                                                                            Continued document review [4]; worked on document production project [.2];
                                                                            worked on docketing [.1]; email correspondence regarding Plaintiffs' deposition
472   1/3/2013    Eden Nordby          4.40    $ 150.00 $            660.00 transcripts [.1].                                                                                $           660.00                                                 TM

                                                                            Emails regarding case strategy issues [.3]; reviewed analysis of bonus issue [.2];
473   1/3/2013    Erika Nusser         1.00    $ 350.00 $            350.00 worked on subpoena to Comdata and supporting documents [.5]                            0.20      $           280.00 Unsuccessful Claims                             TM
474   1/3/2013   Sharon Safarik        5.50    $ 225.00 $          1,237.50 Researched preemption and orientation issues.                                          2.70      $           630.00 Efficiency                                      TM

                                                                           Reviewed letter from court regarding proposed stipulated protective order [.1];
                                                                           analyzed issues regarding extension of case schedule deadlines and email
                                                                           correspondence with co-counsel and opposing counsel regarding same [.3];
                                                                           worked on revisions to proposed stipulated protective order [.3]; reviewed
                                                                           documents from Mr. Tena and worked on production of same [.1]; worked on
                                                                           subpoena duces tecum to ComData and email correspondence with co-counsel
475   1/3/2013   Toby Marshall         1.10    $ 475.00 $           522.50 regarding same [.2]; worked on research issues [.1].                                              $           522.50                                                 TM


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 28
 CASE NO. 2:12-CV-00904-RSL
                                     Case
                                    Case
                                      Case2:18-cv-00681-RAJ
                                         2:12-cv-00904-RSL   Document
                                            2:17-cv-01499 Document
                                                            Document  1 Filed
                                                                   1-12
                                                                     193-1
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         A              B                C            D              E                                                   F                                            G                 H                                        I               J
1       Date       Professional         Units        Price         Value       Narrative                                                                          Writedown       Revised Value                        Writedown Explanation   Firm
                                                                               Review E-Mails Regarding Scheduling; Researched Case Law Regarding Faaa;
476   1/4/2013    Hardeep Rekhi         4.20    $ 425.00 $          1,785.00   Researched Case Law Regarding Fmsca; Teleconference With Aziz                         0.50     $         1,572.50 Relevance                                     RW
477   1/4/2013    Jason Proctor         0.40     $ 150.00 $            60.00   Teleconference With Aziz(2); Mailed Documents                                         0.40     $                - Relevance/Administrative                      RW
                                                                               Reviewed and revised proposed class certification briefing schedule stipulation
478   1/4/2013    Bradford Kinsey       0.40    $ 100.00 $            40.00    and proposed order.                                                                            $            40.00                                               TM
479   1/4/2013     Eden Nordby          2.90    $ 150.00 $           435.00    Continued document review.                                                                     $           435.00                                               TM
                                                                               Analyzed proposed changes to subpoenas to Qualcom and Comdata [.4]; emails
480   1/4/2013     Erika Nusser         0.60    $ 350.00 $            210.00   regarding scheduling issues [.2]                                                               $           210.00                                               TM
481   1/4/2013    Sharon Safarik        5.10    $ 225.00 $          1,147.50   Researched preemption and orientation issues.                                         2.50     $           585.00 Efficiency                                    TM
                                                                               Email correspondence with co-counsel and opposing counsel regarding proposed
482   1/4/2013    Toby Marshall         0.20    $ 475.00 $            95.00    amendments to case schedule [.2].                                                              $            95.00                                               TM
                                                                               Reviewed Case File; Drafted Outline For 30(B)(6) Deposition; Teleconference With
483   1/7/2013    Hardeep Rekhi         2.90    $ 425.00 $          1,232.50   Co-Counsel                                                                            0.40     $         1,062.50 Unsuccessful claims                           RW
484   1/7/2013     Jason Proctor        0.60     $ 150.00 $            90.00   Saved And Reviewed E-Mail And Documents                                               0.60     $                - Administrative                                RW
485   1/7/2013    Bradford Kinsey       0.20    $ 100.00 $             20.00   Reviewed order on Beane pro hac vice admission; amended caption.                      0.20     $                - Administrative                                TM
                                                                               Worked on document production issues [.3]; transmittal letter to opposing
                                                                               counsel [.2]; served document production [.2]; updated production log [.1];
486   1/7/2013     Eden Nordby          5.10    $    150.00    $      765.00   continued document review [4.3].                                                               $           765.00                                               TM
487   1/7/2013    Sharon Safarik        7.70    $    225.00    $    1,732.50   Researched preemption and orientation issues.                                         3.80     $           877.50 Efficiency                                    TM
488   1/7/2013    Toby Marshall         0.50    $    475.00    $      237.50   Worked on discovery and factual backgroundissues [.5].                                         $           237.50                                               TM
489   1/8/2013    Hardeep Rekhi         0.70    $    425.00    $      297.50   Followed-Up On 30(B)(6)                                                                        $           297.50                                               RW
490   1/8/2013    Jason Proctor         0.10     $    150.00   $       15.00   Saved And Reviewed E-Mails And Documents                                              0.10      $               - Administrative                                RW
491   1/8/2013      Katie Lohr          0.20     $     90.00   $       18.00   Legal Research                                                                        0.20      $               - Unsuccessful claims                           RW
                                                                               Reviewed, revised and finalized stipulation and proposed order regarding class
                                                                               certification briefing schedule; arranged filing and service; email correspondence
492   1/8/2013    Bradford Kinsey       0.40    $ 100.00 $             40.00   to Judge's chambers regarding same.                                                            $            40.00                                               TM
493   1/8/2013      Eden Nordby         5.50    $ 150.00 $            825.00   Continued document review.                                                                     $           825.00                                               TM
494   1/8/2013     Sharon Safarik       8.00    $ 225.00 $          1,800.00   Researched preemption and orientation issues.                                         4.00     $           900.00 Efficiency                                    TM

495   1/8/2013    Toby Marshall         0.20    $    475.00    $       95.00   Telephone conference with opposing counsel regarding discovery issues [.2].                    $            95.00                                               TM
496   1/8/2013    Torrie Marshall       0.10    $    100.00    $       10.00   Worked on docketing.                                                                  0.10      $               - Administrative                                TM
497   1/9/2013    Hardeep Rekhi         1.20    $    425.00    $      510.00   Looked At 30(B)(6); Researched Comdata Issue                                                   $           510.00                                               RW
498   1/9/2013     Jason Proctor        0.10     $    150.00   $       15.00   Saved And Reviewed Stipulation                                                                 $            15.00 Administrative                                RW
499   1/9/2013     Eden Nordby          4.00    $    150.00    $      600.00   Completed document review.                                                                     $           600.00                                               TM
500   1/9/2013    Sharon Safarik        8.00    $    225.00    $    1,800.00   Researched preemtion and orientation issues.                                          4.00     $           900.00 Efficiency                                    TM
501   1/9/2013    Toby Marshall         0.10    $    475.00    $       47.50   Telephone call from Mr. Bodily regarding [redacted][.1].                                       $            47.50                                               TM
502   1/10/2013   Hardeep Rekhi         0.80    $    425.00    $      340.00   Reviewed Discovery                                                                             $           340.00                                               RW

503   1/10/2013    Jason Proctor        0.50    $ 150.00 $             75.00 Reviewed Fax And Docket; Saved And Reviewed Order; Calendared Deadlines                 0.50     $                - Administrative                                RW
                                                                             Emails regarding stipulated protective order [.1]; analyzed same [.4]; analyzed
504   1/10/2013    Erika Nusser         0.80    $ 350.00 $            280.00 30(b)(6) deposition notice [.3]                                                                  $           280.00                                               TM
                                                                             Reviewed memorandum regarding preemption and other issues; personal
505   1/10/2013   Jennifer Murray       1.50    $    450.00    $      675.00 conference with Ms. Safarik regarding same.                                                      $           675.00                                               TM
506   1/10/2013    Sharon Safarik       8.60    $    225.00    $    1,935.00 Researched preemption and orientation issues.                                           4.30     $           967.50 Efficiency                                    TM
507   1/11/2013    Jason Proctor        0.70     $    150.00   $      105.00 Calendared Deadlines                                                                    0.70      $               - Administrative                                RW
508   1/11/2013     Eden Nordby         0.30    $    150.00    $       45.00 Worked on docketing.                                                                    0.30      $               - Administrative                                TM
                                                                             Conference regarding case strategy issues and subpoenas to Comdata and
509   1/11/2013    Erika Nusser         0.40    $ 350.00 $            140.00 Qualcomm [.4]                                                                                    $           140.00                                               TM
510   1/11/2013   Sharon Safarik        8.00    $ 225.00 $          1,800.00 Researched preemption and orientation issues.                                           4.00     $           900.00 Efficiency                                    TM

                                                                               Analyzed issues regarding revised protective order and email correspondence
                                                                               with co-counsel regarding same [.1]; reviewed order on class certification briefing
                                                                               and case schedule deadlines and analyzed issues regarding docketing of same
511   1/11/2013    Toby Marshall        0.40    $    475.00    $      190.00   [.1]; worked on case strategy issues [.2].                                                     $           190.00                                               TM
512   1/11/2013   Torrie Marshall       0.30    $    100.00    $       30.00   Worked on docketing case scheduling order.                                            0.30      $               - Administrative                                TM
513   1/14/2013    Hardeep Rekhi        0.50    $    425.00    $      212.50   Researched Knight Issues Regarding Wages                                                       $           212.50                                               RW
514   1/14/2013   Jennifer Murray       0.80    $    450.00    $      360.00   Reviewed memorandum regarding preemption.                                                      $           360.00                                               TM
515   1/14/2013    Sharon Safarik       6.70    $    225.00    $    1,507.50   Researched preemption and orientation issues.                                         3.30     $           765.00 Efficiency                                    TM

516   1/15/2013    Greg Wolk            0.50    $ 425.00 $           212.50 analyze proposed stipulated protective order (.2); analyze relevant caselaw (.3)                  $           212.50                                               RW
517   1/15/2013   Hardeep Rekhi         1.90    $ 425.00 $           807.50 Legal Research; Reviewed Client Documents; Reviewed Stipulation                                   $           807.50                                               RW
                                                                            Reviewed Aziz Pro Se Documents; E-Mailed Co-Counsel; Saved And Reviewed
518   1/15/2013   Jason Proctor         0.70     $    150.00   $     105.00 Revised Stipulation And Declaration                                                      0.70      $               - Relevance/Administrative/Efficiency           RW
519   1/16/2013     Greg Wolk           0.90    $    425.00    $     382.50 analyze notes on document production                                                              $           382.50                                               RW
520   1/16/2013   Hardeep Rekhi         0.90    $    425.00    $     382.50 Reviewed Discovery Issues; E-Mail Correspondence With Co-Counsel                                  $           382.50                                               RW
521   1/16/2013   Jason Proctor         0.40     $    150.00   $      60.00 Saved And Reviewed Documents From Co-Counsel                                             0.40      $               - Administrative/Efficiency                     RW

                                                                            Reviewed, revised and finalized Qualcomm subpoena and related documents;
                                                                            reviewed, revised and finalized Comdata subpoena; arranged service of process;
522   1/16/2013   Bradford Kinsey       1.40    $ 100.00 $           140.00 prepared declaration of service; arranged service on opposing counsel.                            $           140.00                                               TM


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PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 29
CASE NO. 2:12-CV-00904-RSL
                                     Case
                                    Case
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                                         2:12-cv-00904-RSL   Document
                                            2:17-cv-01499 Document
                                                            Document  1 Filed
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         A              B                C         D            E                                            F                                                     G                 H                                        I               J
1       Date       Professional         Units     Price       Value    Narrative                                                                               Writedown       Revised Value                        Writedown Explanation   Firm
                                                                       Worked on revisions to subpoenas to Qualcomm and Comdata, and finalized the
523   1/16/2013    Erika Nusser         0.70    $ 350.00 $      245.00 same for service [.7]                                                                               $           245.00                                               TM

                                                                          Reviewed index of hot documents and analyzed issues regarding factual
                                                                          background [.4]; researched and analyzed issues regarding Knight's scheme for
                                                                          compensating productive versus non-productive work [.3]; reviewed
                                                                          memorandum regarding MCA and FAA preemption, applicability of Washington
                                                                          law to work performed outside of Washington, and orientation pay [.4]; worked
                                                                          on topics for Rule 30(b)(6) deposition of defendant [.4]; email correspondence
524   1/16/2013   Toby Marshall         1.70    $ 475.00 $      807.50    with co-counsel regarding case strategy issues and worked on sme [.2].                 0.30      $           665.00 Unsuccessful Claims                           TM
                                                                          Reviewed Motion For Class Certification, Etc.; Email Correspondence Regarding
525   1/17/2013   Hardeep Rekhi         0.50    $ 425.00 $      212.50    Deposition; Reviewed Court Filing                                                      0.10      $           170.00 Unsuccessful claims                           RW
                                                                          Saved And Reviewed Revised Stipulated Protective Order; Document
526   1/17/2013    Jason Proctor        0.30     $ 150.00 $      45.00    Management                                                                             0.30      $               - Administrative                                 RW
527   1/17/2013    Eden Nordby          0.20    $ 150.00 $       30.00    Worked on docketing.                                                                   0.20      $               - Administrative                                 TM
528   1/17/2013   Torrie Marshall       0.10    $ 100.00 $       10.00    Worked on docketing.                                                                   0.10      $               - Administrative                                 TM

                                                                        analyze notes and memos on class scope, preemption and orientation (2); confer
529   1/18/2013    Greg Wolk            3.00    $ 425.00 $     1,275.00 with co-counsel regarding discovery and case strategy issues (1)                                   $         1,275.00                                               RW
530   1/18/2013   Hardeep Rekhi         1.80    $ 425.00 $       765.00 Discussion With Co-Counsel Regarding Class Certification                                 0.40      $           595.00 Unsuccessful claims                           RW

                                                                          Analyzed production index and documents [2.2]; telephone conference regarding
                                                                          class certification and case strategy issues [1]; researched and docketed deadline
531   1/18/2013    Erika Nusser         3.30    $ 350.00 $     1,155.00   for filing motion for over-length brief in support of class certification [.1]                   $         1,155.00                                               TM
                                                                          Telephone conference with co-counsel regarding discovery and case strategy
532   1/18/2013   Toby Marshall         2.10    $ 475.00 $      997.50    issues and worked on same [2.1].                                                                 $           997.50                                               TM
533   1/21/2013   Hardeep Rekhi         0.50    $ 425.00 $      212.50    Edited Letter To Client Regarding Invoice And Discovery                                          $           212.50                                               RW
                                                                          Strategized Class Certification Issues; Called Possible Declarants; Reviewed Legal
534   1/21/2013   Hardeep Rekhi         2.00    $ 425.00 $      850.00    Issues Regarding The Same                                                              0.50      $           637.50 Unsuccessful claims                           RW

                                                                          Researched and summarized case law interpreting 29 CFR 778.318 [1.8]; analyzed
                                                                          defendant's production regarding parties' understanding as to per-mile rate [3.5];
535   1/21/2013     Marc Cote           6.10    $ 375.00 $     2,287.50   worked on memo analyzing claims under 29 CFR 778.318 [.8].                             6.10       $               - Unsuccessful Claims                           TM
536   1/22/2013   Hardeep Rekhi         1.10    $ 425.00 $       467.50   Worked On 30(B)(6)                                                                               $           467.50                                               RW
537   1/22/2013    Eden Nordby          0.10    $ 150.00 $        15.00   Worked on docketing.                                                                   0.10       $               - Administrative                                TM
                                                                          Worked on research memo regarding 29 CFR 778.318 and nonpayment for non-
538   1/22/2013     Marc Cote           2.90    $ 375.00 $     1,087.50   driving activities.                                                                    2.90      $               - Unsuccessful Claims                            TM
                                                                          Conferred With Aziz; Reviewed Documents Regarding The Same; Sent 30(B)(6)
539   1/23/2013   Hardeep Rekhi         1.00    $ 425.00 $      425.00    Documents                                                                              0.70      $           127.50 Relevance                                     RW
540   1/23/2013   Hardeep Rekhi         1.50    $ 425.00 $      637.50    Reviewed, Revised, And Finalized 30(B)(6) Outline                                                $           637.50                                               RW
541   1/23/2013   Hardeep Rekhi         0.90    $ 425.00 $      382.50    E-Mail Correspondence And Discussed Case With Co-Counsel                                         $           382.50                                               RW
                                                                          Teleconference With Aziz; Document Management; Burned Cd Of Client File;
542   1/23/2013    Jason Proctor        1.20    $ 150.00 $      180.00    Mailed                                                                                 1.20      $               - Relevance/Administrative                       RW
                                                                          Edited Letter And Notice Of 30(B)(6) Deposition; E-Mailed And Mailed To
543   1/23/2013    Jason Proctor        1.60    $ 150.00 $      240.00    Opposing Counsel                                                                       1.30      $            45.00 Administrative                                RW
                                                                          Prepared draft of motion for summary judgment; prepared draft of Marshall
544   1/23/2013   Bradford Kinsey       0.50    $ 100.00 $       50.00    declaration in support of motion for summary judgment.                                           $            50.00                                               TM
                                                                          Telephone conference with Ms. Wadi regarding Comdata's response to subpoena
                                                                          and emails regarding the same [.4]; voicemails and telephone conference with
                                                                          Mr. Bull regarding Qualcomm's response to subpoena [.5]; researched jurisdiction
545   1/23/2013    Erika Nusser         1.70    $ 350.00 $      595.00    from which subpoena should issue [.8]                                                            $           595.00                                               TM
                                                                          Worked on research memo regarding effect of 29 CFR 778.318 on claims for
546   1/23/2013     Marc Cote           1.70    $ 375.00 $      637.50    unpaid time for non-driving activity.                                                  1.70       $               - Unsuccessful Claims                           TM
547   1/23/2013   Torrie Marshall       0.10    $ 100.00 $       10.00    Worked on docketing.                                                                   0.10       $               - Administrative                                TM
548   1/24/2013     Greg Wolk           0.50    $ 425.00 $      212.50    review deposition transcript with client                                                         $           212.50                                               RW
                                                                          Reviewed Subpoena Issue; Strategized Regarding The Same; Reviewed Jon Bodily
549   1/24/2013   Hardeep Rekhi         1.40    $ 425.00 $      595.00    Documents; Sent Out 30(B)(6)                                                                     $           595.00                                               RW
550   1/24/2013   Jason Proctor         0.10     $ 150.00 $      15.00    E-Mailed Opposing Counsel And Co-Counsel                                               0.10       $               - Administrative                                RW
                                                                          Left messages with class representatives [redacted] [.2]; Worked on docketing
551   1/24/2013    Eden Nordby          0.30    $ 150.00 $       45.00    [.1].                                                                                  0.10      $            30.00 Administrative                                TM
                                                                          Telephone conference with Mr. Bull regarding Qualcomm's response to subpoena
                                                                          [.2]; researched burden issues related to third-party production [.8]; conference
                                                                          regarding Qualcomm's response to subpoena [.2]; email to opposing counsel
552   1/24/2013    Erika Nusser         1.40    $ 350.00 $      490.00    regarding the same [.2]                                                                          $           490.00                                               TM
                                                                          Analyzed issues regarding review of depositions and signatures for same [.1];
553   1/24/2013   Toby Marshall         0.30    $ 475.00 $      142.50    worked on discovery issues [.2].                                                                 $           142.50                                               TM
554   1/24/2013   Torrie Marshall       0.10    $ 100.00 $       10.00    Worked on docketing.                                                                   0.10       $               - Administrative                                TM
555   1/25/2013    Jason Proctor        0.20     $ 150.00 $      30.00    Reviewed E-Mail; Calendared Deadline                                                   0.20       $               - Administrative                                RW

556   1/25/2013    Erika Nusser         0.20    $ 350.00 $       70.00 Emails from and to Ms. Waddy regarding Comdata's response to subpoena [.2]                          $            70.00                                               TM


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CASE NO. 2:12-CV-00904-RSL
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 1      Date       Professional         Units     Price            Value      Narrative                                                                             Writedown       Revised Value                          Writedown Explanation   Firm
557   1/27/2013    Erika Nusser         1.00    $ 350.00 $             350.00 Worked on template for class member declarations [1]                                              $           350.00                                                  TM

                                                                             Reviewed memorandum regarding claims arising out of Knight's failure to pay for
558   1/27/2013   Toby Marshall         0.60    $ 475.00 $            285.00 non-driving work [.3]; worked on class member declaration template [.3].                           $          285.00                                                  TM
559   1/28/2013    Greg Wolk            0.80    $ 425.00 $            340.00 analyze sample declaration for class cert                                                          $          340.00                                                  RW

560   1/28/2013   Hardeep Rekhi         1.90    $ 475.00 $            902.50 Review case law research; review memo re claims; conduct additional research             0.50      $          665.00 Unsuccessful Claims                              RW
561   1/28/2013   Jason Proctor         0.10     $ 150.00 $            15.00 Saved And Reviewed E-Mail                                                                0.10       $              - Administrative                                   RW
                                                                             Worked on revisions to template for class member declarations [.7]; emails to and
                                                                             from Ms. Tadano regarding Qualcomm subpoena [.4]; analyzed protective order
562   1/28/2013    Erika Nusser         1.30    $ 350.00 $            455.00 [.2]                                                                                               $          455.00                                                  TM
                                                                             Telephone call from Mr. Tena regarding [redacted] [.2]; worked on discovery and
563   1/28/2013   Toby Marshall         0.60    $    475.00    $      285.00 class certification issues [.4].                                                         0.30      $          142.50    Unsuccessful Claims                           TM
564   1/29/2013     Greg Wolk           2.20    $    425.00    $      935.00 analyze class cert issues: practical miles                                               2.20       $              -    Unsuccessful claims                           RW
565   1/29/2013   Jason Proctor         0.20     $    150.00   $       30.00 Transferred Client File; Saved And Reviewed E-Mails                                      0.20       $              -    Administrative                                RW
566   1/29/2013   Jason Proctor         0.10     $    150.00   $       15.00 Strategized Case                                                                                   $           15.00                                                  RW
567   1/29/2013   Toby Marshall         0.70    $    475.00    $      332.50 Worked on discovery and class certification issues [.7].                                           $          332.50                                                  TM
568   1/30/2013     Greg Wolk           0.90    $    425.00    $      382.50 analyze discovery and class cert issue: practical miles                                  0.90       $              -    Unsuccessful claims                           RW
569   1/30/2013   Jason Proctor         0.10     $    150.00   $       15.00 Document Management                                                                      0.10       $              -    Administrative                                RW
570   1/31/2013     Greg Wolk           0.30    $    425.00    $      127.50 analyze issues for 30b6 dep: class scope                                                           $          127.50                                                  RW
571   1/31/2013   Jason Proctor         0.10     $    150.00   $       15.00 Saved And Reviewed E-Mail                                                                0.10       $              -    Administrative                                RW
                                                                             Reviewed E-Mails; Cancelled Conference Rooms; Re-Noted Deposition For
                                                                             30(B)(6); Looked Into Travel Arrangements; Saved And Reviewed E-Mails And
572   1/31/2013    Jason Proctor        2.20    $ 150.00 $            330.00 Objections; Document Management; E-Mailed And Mailed                                     2.20      $               - Administrative                                   RW
573   1/31/2013      Katie Lohr         3.50    $ 90.00 $             315.00 Legal Research Regarding Bonuses                                                         3.50      $               - Unsuccessful claims                              RW
                                                                             Reviewed correspondence regarding Qualcomm subpoena objections; prepared
574   1/31/2013   Bradford Kinsey       0.60    $ 100.00 $             60.00 amended subpoena package of same.                                                                  $           60.00                                                  TM
                                                                             Scheduled court reporter for Knight Transportation deposition; correspondence
575   1/31/2013    Eden Nordby          0.40    $ 150.00 $             60.00 regarding same.                                                                                    $           60.00                                                  TM
                                                                             Analyzed production and commenced working on motion for class certification
                                                                             [1.3]; letter from Mr. Bull regarding objection to subpoena to Qualcomm [.3];
                                                                             worked on letter to Mr. Bull regarding subpoena [1]; email to Mr. Bull regarding
576   1/31/2013    Erika Nusser         2.70    $ 350.00 $            945.00 amended subpoena [.1]                                                                              $          945.00                                                  TM

                                                                               Worked on document management issues and email to opposing counsel
                                                                               regarding response to Rule 30(b)(6) deposition notice [.1]; message from
                                                                               opposing counsel regarding scheduling of Rule 30(b)(6) deposition and email to co-
                                                                               counsel regarding same [.1]; telephone conferences and email correspondence
                                                                               with with opposing counsel and co-counsel regarding same and worked on
                                                                               arrangements for same [.4]; analyzed issues regarding response to Qualcomm
                                                                               subpoena [.1]; reviewed objections to Rule 30(b)(6) deposition notice [.3];
                                                                               telephone conference with co-counsel regarding same and preparation for
577   1/31/2013   Toby Marshall         1.20    $ 475.00 $            570.00   deposition [.2].                                                                                 $          570.00                                                  TM
578   2/1/2013     Greg Wolk            0.50    $ 425.00 $            212.50   analyze memo re bonus claim                                                            0.50       $              - Unsuccessful claims                              RW
                                                                               Review legal issues regarding Bonuses; research issues in preparation of
579   2/1/2013    Hardeep Rekhi         1.75    $ 425.00 $            743.75   Depositions                                                                            0.75      $          425.00 Unsuccessful claims                              RW
580   2/1/2013      Katie Lohr          5.60     $ 90.00 $            504.00   Legal Research Regarding Bonuses                                                       5.60       $              - Unsuccessful claims                              RW
                                                                               Reviewed, revised and finalized letter to Mr. Bull enclosing amended Qualcomm
581   2/1/2013    Bradford Kinsey       0.30    $ 100.00 $             30.00   subpoena package.                                                                                $           30.00                                                  TM
582   2/1/2013     Erika Nusser         0.20    $ 350.00 $             70.00   Emails to and from Mr. Bull regarding amended subpoena [.2]                                      $           70.00                                                  TM

583   2/4/2013      Greg Wolk           0.20    $ 425.00 $             85.00 Telephone call with co-counsel regarding preparation for Rule 30(b)(6) deposition                  $           85.00                                                  RW
                                                                             Teleconference with Co-Counsel; worked on 30(b)(6) outline; strategize re
584   2/4/2013    Hardeep Rekhi         0.80    $ 425.00 $            340.00 depositions                                                                              0.20      $          255.00 Unsuccessful claims                              RW
585   2/4/2013     Eden Nordby          0.10    $ 150.00 $             15.00 Worked on docketing.                                                                     0.10       $              - Administrative                                   TM
                                                                             Analyzed issues regarding preparation for Rule 30(b)(6) deposition and email
                                                                             correspondence with co-counsel regarding same [.1]; telephone call from co-
586   2/4/2013    Toby Marshall         0.30    $ 475.00 $            142.50 counsel regarding same [.2].                                                             0.10      $           95.00 Unsuccessful Claims                              TM
587   2/4/2013    Torrie Marshall       0.10    $ 100.00 $             10.00 Worked on docketing.                                                                     0.10       $              - Administrative                                   TM

588   2/5/2013    Hardeep Rekhi         3.00    $    425.00    $    1,275.00   Reviewed Outline For 30(B)(6) Deposition Preparation; Reviewed Discovery               0.50      $         1,062.50 Unsuccessful Claims                             RW
589   2/5/2013    Hardeep Rekhi         1.00    $    425.00    $      425.00   Reviewed Deposition Transcript                                                                   $           425.00                                                 RW
590   2/5/2013    Jason Proctor         0.10     $    150.00   $       15.00   Reviewed E-Mail                                                                        0.10       $               - Unsuccessful claims                             RW
591   2/5/2013      Katie Lohr          4.40     $     90.00   $      396.00   Legal Research Re Reimbursement                                                        4.40       $               - Unsuccessful claims                             RW
592   2/6/2013      Greg Wolk           0.50    $    425.00    $      212.50   review discovery re orientation claim                                                            $           212.50                                                 RW
593   2/6/2013    Jason Proctor         0.40     $    150.00   $       60.00   Strategized Case; Teleconference With Comdata                                                    $            60.00                                                 RW
594   2/6/2013     Eden Nordby          0.10    $    150.00    $       15.00   Worked on docketing.                                                                   0.10       $               -                                                 TM

                                                                             Telephone conference with Mr. Bull regarding Qualcomm's response to subpoena
595   2/6/2013     Erika Nusser         0.40    $ 350.00 $            140.00 [.3]; email to Ms. Waddy rearding Comdata's response to subpoena [.1]                              $          140.00                                                  TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 31
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                                              2:17-cv-01499 Document
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1       Date         Professional         Units        Price         Value       Narrative                                                                             Writedown       Revised Value                          Writedown Explanation   Firm

                                                                                 Message from opposing counsel regarding Rule 30(b)(6) deposition and email
                                                                                 correspondence with co-counsel regarding same [.1]; analyzed issues regarding
                                                                                 same [.2]; telephone call from opposing counsel regarding same [1.0]; analyzed
596   2/6/2013     Toby Marshall          1.40    $ 475.00 $           665.00    issues regarding subpoena duces tecum to Qualcomm [.1].                                 0.20      $           570.00 Unsuccessful Claims                             TM
597   2/6/2013     Torrie Marshall        0.10    $ 100.00 $            10.00    Worked on docketing.                                                                    0.10       $               - Administrative                                  TM
                                                                                 confer re 30b6 scope and review orientation documents (3.7); review emails from
598   2/7/2013        Greg Wolk           3.90    $ 425.00 $          1,657.50   counsel re Qualcomm production (.2)                                                               $         1,657.50                                                 RW
599   2/7/2013      Jason Proctor         0.40     $ 150.00 $            60.00   E-Mailed Co-Counsel; Reviewed E-Mails; Strategized Case                                 0.30      $            15.00 Administrative                                  RW
600   2/7/2013        Katie Lohr          3.30     $ 90.00 $            297.00   Prepared For 30(B)(6) Deposition                                                        0.50      $           252.00 Unsuccessful Claims                             RW
601   2/7/2013      Eden Nordby           0.20    $ 150.00 $             30.00   Email correspondence with co-counsel regarding [redacted].                                        $            30.00                                                 TM
                                                                                 Emails from and to Ms. Waddy regarding Comdata's response to subpoena, and
                                                                                 telephone conference with Ms. Waddy regarding the same [.4]; telephone
                                                                                 conference and emails with Mr. Bull regarding Qualcomm's response to subpoena
                                                                                 [.3]; conference regarding the same [.2]; email to Ms. Tadano regarding
602   2/7/2013       Erika Nusser         1.10    $ 350.00 $           385.00    Qualcomm subpoena [.2]                                                                            $           385.00                                                 TM
                                                                                 Reviewed materials in preparation for 30(b)(6) deposition of defendant and
                                                                                 analyzed issues regarding same [1.3]; worked on outline of questions for same
603   2/7/2013      Toby Marshall         2.30    $ 475.00 $          1,092.50   [.6]; worked on declarations from employees [.4].                                       0.30      $           950.00 Unsuccessful Claims                             TM
604   2/8/2013       Greg Wolk            2.10    $ 425.00 $            892.50   call drivers for declarations                                                                     $           892.50                                                 RW
                                                                                 analyze and revise 30b6 outline and exhibits (2.3); review discovery production
605   2/8/2013        Greg Wolk           3.00    $ 425.00 $          1,275.00   (.7)                                                                                              $         1,275.00                                                 RW
606   2/8/2013      Jason Proctor         4.10     $ 150.00 $           615.00   Document Management For Exhibits For 30(B)(6) Deposition                                4.10       $               - Administrative                                  RW
607   2/8/2013        Katie Lohr          6.30     $ 90.00 $            567.00   Prepared For 30(B)(6) Deposition                                                        1.00      $           477.00 Unsuccessful Claims                             RW
608   2/8/2013     Bradford Kinsey        0.30    $ 100.00 $             30.00   Drafted motion to file overlength brief.                                                          $            30.00                                                 TM

                                                                                 Emails to and from Mr. Bull regarding Qualcomm's response to subpoena [.2];
                                                                                 telephone conference with Ms. Waddy regarding factual issues and emails
                                                                                 regarding the same [.3]; case strategy conference [.4]; analyzed and revised
                                                                                 outline for 30(b)(6) deposition [1.3]; analyzed production [2.4]; analyzed
609   2/8/2013       Erika Nusser         5.10    $    350.00    $    1,785.00   production from Qualcomm and emails regarding the same [.5];                            0.70      $         1,540.00   Unsuccessful Claims                           TM
610   2/8/2013      Toby Marshall         0.90    $    475.00    $      427.50   Reviewed documents in preparation for deposition of Knight [.9].                        0.20      $           332.50   Unsuccessful Claims                           TM
611   2/10/2013       Greg Wolk           2.00    $    425.00    $      850.00   review discovery production`                                                            0.30      $           722.50   Unsuccessful Claims                           RW
612   2/10/2013     Toby Marshall         2.00    $    475.00    $      950.00   Reviewed defendant's document production [2.0].                                         0.30      $           807.50   Unsuccessful Claims                           TM
613   2/11/2013       Greg Wolk           1.20    $    425.00    $      510.00   review Qualcomm's production                                                                      $           510.00                                                 RW
614   2/11/2013     Hardeep Rekhi         2.30    $    425.00    $      977.50   Prepared For 30(B)(6) Deposition                                                        0.30      $           850.00   Unsuccessful claims                           RW
615   2/11/2013     Hardeep Rekhi         4.00    $    425.00    $    1,700.00   Traveled To Deposition                                                                            $         1,700.00                                                 RW
616   2/11/2013     Hardeep Rekhi         3.50    $    425.00    $    1,487.50   Prepared For 30(B)(6) Deposition                                                        0.50      $         1,275.00   Unsuccessful claims                           RW
                                                                                 Document Management For Exhibits For 30(B)(6) Depoisition; Reviewed E-Mail
617   2/11/2013     Jason Proctor         4.00     $ 150.00 $          600.00    And Letter                                                                              4.00       $               - Administrative                                  RW
618   2/11/2013     Eden Nordby           0.20    $ 150.00 $            30.00    Correspondence confirming court reporter for deposition.                                          $            30.00                                                 TM

                                                                              Emails regarding discovery issues [.2]; analyzed production from Qualcomm and
619   2/11/2013      Erika Nusser         0.80    $ 350.00 $           280.00 production from Knight [.2]; emails and analysis regarding preemption issues [.4]                    $           280.00                                                 TM

620   2/11/2013   Hannah Buckendorf       1.50    $     50.00 $          75.00 Printed documents needed for deposition and sent documents via Sharefile.                           $            75.00                                                 TM
                                                                               Reviewed documents in preparation for Rule 30(b)(6) deposition, worked on
621   2/11/2013     Toby Marshall         9.80    $    475.00    $    4,655.00 strategy for same, and traveled to Phoenix for same [9.8].                                1.40      $         3,990.00   Unsuccessful claims                           TM
622   2/12/2013       Greg Wolk           0.90    $    425.00    $      382.50 review notes from 30b6 dep (.4); confer w co-counsel re dep (.5)                          0.20      $           297.50   Unsuccessful claims                           RW
623   2/12/2013     Hardeep Rekhi         1.50    $    425.00    $      637.50 Prepared For 30(B)(6) Deposition (1); confer w co-counsel re dep (.5)                     0.20      $           552.50   Unsuccessful claims                           RW
624   2/12/2013     Hardeep Rekhi         9.50    $    425.00    $    4,037.50 Attend And Took 30(B)(6) Deposition                                                       1.40      $         3,442.50   Unsuccessful claims                           RW
625   2/12/2013     Hardeep Rekhi         4.00    $    425.00    $    1,700.00 Travel Back From Deposition                                                                         $         1,700.00                                                 RW
626   2/12/2013     Jason Proctor         0.30     $    150.00   $       45.00 Teleconference With Comdata                                                                         $            45.00                                                 RW
627   2/12/2013      Erika Nusser         2.40    $    350.00    $      840.00 Analyzed production and worked on motion for class certification [2.4]                              $           840.00                                                 TM
                                                                               Prepared for and participated in deposition of Mr. Quast, designee for Knight
                                                                               Transportation; meetings with co-counsel regarding same; worked on case
628   2/12/2013    Toby Marshall         13.80    $ 475.00 $          6,555.00 strategy issues; returned to Seattle from Phoenix [13.8].                                 1.40      $         5,890.00 Unsuccessful claims                             TM
629   2/12/2013    Torrie Marshall       0.10     $ 100.00 $             10.00 Worked on docketing.                                                                      0.10      $                - Administrative                                  TM

                                                                               draft fact section on Comdata reimbursement (4.1); draft fact section on CPA
                                                                               claim (3.1); call witnesses for declarations (1.2); draft declaration (.8); telephone
630   2/13/2013      Greg Wolk           10.80    $ 425.00 $          4,590.00 conference with co-counsel re case strategy issues and claims for class cert (1.7)        3.10      $         3,272.50                                                 RW
631   2/13/2013     Hardeep Rekhi        2.20     $ 425.00 $            935.00 Teleconference With Co-Counsel                                                                      $           935.00                                                 RW
                                                                               Reviewed Various Issues In The Case With Co-Counsel; Researched Regarding The
632   2/13/2013     Hardeep Rekhi         2.00    $ 425.00 $            850.00 Same                                                                                                $           850.00                                                 RW
633   2/13/2013     Jason Proctor         0.10     $ 150.00 $            15.00 Saved And Reviewed E-Mail(2); Document Management                                         0.10       $               - Administrative                                  RW
634   2/13/2013      Eden Nordby          0.10    $ 150.00 $             15.00 Worked on docketing.                                                                      0.10       $               - Administrative                                  TM



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
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1       Date      Professional        Units       Price        Value       Narrative                                                                            Writedown       Revised Value                        Writedown Explanation   Firm

                                                                         Telephone conference regarding 30(b)(6) deposition and class certification issues
                                                                         [.5]; researched factual and legal issues related to orientation pay claim [1.2];
                                                                         analyzed notes from 30(b)(6) deposition [.5]; emails regarding stipulation to allow
                                                                         defendant to file amended answer [.2]; analyzed declaration of James Moon [.2];
635   2/13/2013    Erika Nusser       5.80    $ 350.00 $        2,030.00 analyzed declaration of Cory Holt [.2]; worked on motion for class certification [3]               $         2,030.00                                               TM

                                                                           Worked on outline for class certification motion and researched and analyzed
                                                                           issues regarding same [1.8]; message from opposing counsel regarding leave to
                                                                           amend answer [.1]; telephone conferences with co-counsel regarding case
                                                                           strategy issues and claims for class certification [1.7]; reviewed documents in
                                                                           relation to same [.4]; telephone conference with opposing counsel regarding
                                                                           request for leave to amend answer [.1]; email correspondence with co-counsel
                                                                           regarding same [.1]; left message with opposing counsel regarding same [.1];
                                                                           worked on template for class member declarations [.5]; left message with
                                                                           [redacted] regarding [redacted] [.1]; telephone conference with [redacted]
636   2/13/2013   Toby Marshall       5.90    $ 475.00 $        2,802.50   regarding [redacted] [.8]; finalized same [.2].                                        1.00      $         2,327.50 Unsuccessful Claims                           TM
                                                                           call witnesses for declarations (2.3); draft declaration (.8); phone call with co-
637   2/14/2013    Greg Wolk          3.30    $ 425.00 $        1,402.50   counsel regarding legal analysis per diem claims (.2)                                            $         1,402.50                                               RW
                                                                           phone call with co-counsel regarding legal analysis per diem claims; research re
638   2/14/2013   Hardeep Rekhi       0.70    $ 425.00 $         297.50    same                                                                                             $           297.50                                               RW
639   2/14/2013   Jason Proctor       0.20    $ 150.00 $          30.00    Saved And Reviewed E-Mail                                                              0.20       $               - Administrative                                RW
                                                                           Letter to class member regarding declaration; forwarded same [.4];
640   2/14/2013   Eden Nordby         0.60    $ 150.00 $          90.00    correspondence regarding class certification motion [.2].                                        $            90.00                                               TM
                                                                           Worked on orientation and rest break sections for motion for class certification
641   2/14/2013    Erika Nusser       7.00    $ 350.00 $        2,450.00   [7]                                                                                              $         2,450.00                                               TM

                                                                         Telephone call from co-counsel regarding legal analysis of per diem claims [.2];
                                                                         reviewed case law regarding same [.3]; worked on gathering class member
642   2/14/2013   Toby Marshall       1.20    $ 475.00 $          570.00 declarations and telephone conferences with [redacted] regarding same [.7].                        $           570.00                                               TM
643   2/15/2013    Greg Wolk          1.00    $ 425.00 $          425.00 review preemption issue for break claims                                                           $           425.00                                               RW
644   2/15/2013    Greg Wolk          3.00    $ 425.00 $        1,275.00 draft fact section on practical miles                                                    3.00       $               - Unsuccessful claims                           RW

645   2/15/2013   Jason Proctor       1.30     $ 150.00 $         195.00 Saved And Reviewed Declarations; Strategized Case; Investigated [redacted]               0.70      $            90.00 Administrative/Efficiency                     RW
646   2/15/2013     Katie Lohr        0.10     $ 90.00 $            9.00 Document Management                                                                      0.10       $               - Administrative                                RW
647   2/15/2013   Eden Nordby         0.10    $ 150.00 $           15.00 Worked on file organization.                                                             0.10       $               - Administrative                                TM
                                                                         Letter to class member regarding [redacted]; forwarded declaration to class
648   2/15/2013   Eden Nordby         0.30    $ 150.00 $           45.00 member for signature [.3].                                                                         $            45.00                                               TM
                                                                         Worked on orientation and rest break sections for motion for class certification
                                                                         [6]; emails regarding preemption issues [.4]; analyzed declaration of Steven Smith
649   2/15/2013    Erika Nusser       6.60    $ 350.00 $        2,310.00 [.2]                                                                                               $         2,310.00                                               TM

                                                                           Worked on draft of declaration for [redacted] and left message with [redacted]
                                                                           regarding same [.3]; telephone conference with [redacted] regarding [redacted]
                                                                           [.2]; worked on declaration of [redacted] and telephone conference with
                                                                           [redacted]regarding same [1.7]; worked on class certification motion [.2];
                                                                           reviewed email from opposing counsel regarding preemption argument and
650   2/15/2013   Toby Marshall       2.70    $   475.00   $    1,282.50   researched and analyzed issues regarding same [.3].                                              $         1,282.50                                               TM
651   2/16/2013     Greg Wolk         1.20    $   425.00   $      510.00   revise fact section on practical miles                                                 1.20       $               - Unsuccessful claims                           RW
652   2/16/2013    Erika Nusser       6.00    $   350.00   $    2,100.00   Worked on overtime section for motion for class certification [6]                      6.00       $               - Unsuccessful Claims                           TM
653   2/17/2013     Greg Wolk         0.70    $   425.00   $      297.50   call witnesses for declarations; draft declaration                                               $           297.50                                               RW
654   2/17/2013     Greg Wolk         0.30    $   425.00   $      127.50   finalize fact section on practical miles                                               0.30       $               - Unsuccessful claims                           RW

655   2/17/2013    Erika Nusser       5.70    $ 350.00 $        1,995.00 Worked on overtime and per diem sections for motion for class certification [5.7]        2.90      $           980.00 Unsuccessful Claims                           TM

656   2/18/2013    Greg Wolk          4.50    $ 425.00 $        1,912.50 review discovery for exhibits to CPA, practical miles, ODND, and bonus pay claims        4.10      $           170.00 Unsuccessful claims                           RW
657   2/18/2013    Greg Wolk          0.70    $ 425.00 $          297.50 analyze bonus pay section                                                                0.70       $               - Unsuccessful claims                           RW

658   2/18/2013   Hardeep Rekhi       2.40    $ 425.00 $        1,020.00 Review research re claims; strategize motion; update strategy memo re the same           0.50      $           807.50 Unsuccessful claims                           RW
659   2/18/2013   Jason Proctor       1.90    $ 150.00 $          285.00 Investigated Comdata Records                                                                       $           285.00                                               RW
                                                                         Worked on orientation and per diem sections for motion for class certification [4];
                                                                         analyzed 30(b)(6) deposition [2]; analyzed and worked on revisions to fact
660   2/18/2013    Erika Nusser       8.30    $ 350.00 $        2,905.00 sections for motion for class certification [2.3]                                                  $         2,905.00                                               TM

                                                                        Telephone conferences with co-counsel regarding draft of class certification
                                                                        motion and factual background and legal issues [.8]; worked on same [1.0];
                                                                        telephone conference with opposing counsel regarding leave to amend answer to
661   2/18/2013   Toby Marshall       2.10    $ 475.00 $         997.50 assert preemption defense [.1]; analyzed issues regarding same [.2].                      0.50      $           760.00 Unsuccessful Claims                           TM
662   2/19/2013    Greg Wolk          2.10    $ 425.00 $         892.50 analyze 30b6 deposition                                                                             $           892.50                                               RW
663   2/19/2013    Greg Wolk          0.80    $ 425.00 $         340.00 revise practical miles section with cites                                                 0.80       $               - Unsuccessful claims                           RW


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 1      Date       Professional         Units     Price          Value      Narrative                                                                              Writedown   Revised Value                      Writedown Explanation   Firm
664   2/19/2013     Greg Wolk           0.50    $ 425.00 $           212.50 analyze CPA claim section                                                                 0.50     $            - Unsuccessful claims                         RW
665   2/19/2013     Greg Wolk           0.60    $ 425.00 $           255.00 analyze and revise ODND section                                                           0.60     $            - Unsuccessful Claims                         RW

666   2/19/2013   Hardeep Rekhi         2.90    $ 425.00 $        1,232.50 Review research re claims; strategize motion; update strategy memo re the same            0.50      $     1,020.00                                             RW
                                                                           Strategized Case; Downloaded Exhibits From Sharefile; Renamed Files;
                                                                           Downloaded Mynatt Motion For Class Certification Brief; Saved Motion For Class
667   2/19/2013    Jason Proctor        0.40    $ 150.00 $           60.00 Cert Draft; Saved Motion For Leave And Proposed Order                                     0.40      $            - Administrative                              RW
                                                                           Prepared draft of motion for overlength brief; prepared draft of proposed order
668   2/19/2013   Bradford Kinsey       1.30    $ 100.00 $          130.00 granting motion for overlength brief.                                                               $       130.00                                             TM
669   2/19/2013    Eden Nordby          0.30    $ 150.00 $           45.00 Reviewed Defendant's production for employee handbook documents.                                    $        45.00                                             TM
                                                                           Worked on motion for class certification [6.9]; worked on motion to file over-
670   2/19/2013    Erika Nusser         7.40    $ 350.00 $        2,590.00 length brief [.5]                                                                         1.30      $     2,135.00 Unsuccessful Claims                         TM
671   2/19/2013   Toby Marshall         0.20    $ 475.00 $           95.00 Worked on strategy for class certification [.2].                                                    $        95.00                                             TM
672   2/20/2013     Greg Wolk           0.80    $ 425.00 $          340.00 review CPA order and revise section                                                       0.80       $           - Unsuccessful claims                         RW
                                                                           call witnesses for declarations (1.1); draft declaration (.3); telephone conference
                                                                           with co-counsel re class certification motion and legal issues regarding the same
673   2/20/2013     Greg Wolk           1.90    $ 425.00 $          807.50 (.5)                                                                                                $       807.50                                             RW
                                                                           telephone conference with co-counsel re class certification motion and legal
674   2/20/2013   Hardeep Rekhi         0.50    $ 425.00 $          212.50 issues regarding the same                                                                           $       212.50                                             RW
675   2/20/2013   Jason Proctor         0.20    $ 150.00 $           30.00 Updated File; Saved Order                                                                 0.20       $           - Administrative                              RW

                                                                           Reviewed documents and deposition transcripts for class certification motion [1];
676   2/20/2013    Eden Nordby          1.20    $ 150.00 $          180.00 telephone conferences with class members regarding [redacted] [.2].                                 $       180.00                                             TM

                                                                             Telephone conference regarding motion for class certification and case strategy
                                                                             issues [.6]; analyzed declaration of Dwight Simmons [.2]; researched factual issues
677   2/20/2013    Erika Nusser         7.70    $ 350.00 $        2,695.00   and worked on motion for class certification [6.9]                                                $     2,695.00                                             TM
                                                                             Worked on class certification motion and researched and analyzed issues
                                                                             regarding same [4.2]; telephone conferences with co-counsel regarding same [.5];
                                                                             telephone conferences with [redacted] regarding [redacted] [1.1]; worked on
678   2/20/2013   Toby Marshall         6.20    $ 475.00 $        2,945.00   same [.4].                                                                              1.20      $     2,375.00 Unsuccessful Claims                         TM
679   2/21/2013    Greg Wolk            3.40    $ 425.00 $        1,445.00   analyze draft of class cert motion                                                      0.90      $     1,062.50 Unsuccessful claims                         RW
                                                                             contact witness(.8); revise declaration (.2); telephone conference with co-counsel
680   2/21/2013     Greg Wolk           1.90    $   425.00   $      807.50   regarding class cert motion and issues regarding the same (.9)                                    $       807.50                                             RW
681   2/21/2013     Greg Wolk           1.70    $   425.00   $      722.50   analyzed and research practical miles                                                   1.70       $           - Unsuccessful claims                         RW
682   2/21/2013   Hardeep Rekhi         2.00    $   425.00   $      850.00   Motion for Class Certification                                                          0.50      $       637.50 Unsuccessful Claims                         RW
683   2/21/2013   Hardeep Rekhi         0.01    $   425.00   $        3.31   Motion for Class Certification                                                          0.00      $         2.48                                             RW
                                                                             Review Draft of Motion for Continuance; review stipulation by Defendant
684   2/21/2013   Hardeep Rekhi         0.35    $ 425.00 $          150.28   regarding amending answer                                                                         $       150.28                                             RW
                                                                             Review and revise Motion for Class Certification; teleconference with co-counsel;
685   2/21/2013   Hardeep Rekhi         5.27    $ 425.00 $        2,238.33   review and analyze exhibits                                                             1.32      $     1,678.75                                             RW
                                                                             Review and revise Motion for Class Certification; teleconference with co-counsel;
686   2/21/2013   Hardeep Rekhi         1.64    $ 425.00 $          697.71   review and analyze exhibits                                                             0.41      $       523.28                                             RW
                                                                             telephone conference with co-counsel regarding class cert motion and issues
687   2/21/2013   Hardeep Rekhi         0.90    $ 425.00 $          382.50   regarding the same                                                                                $       382.50                                             RW
                                                                             Reviewed E-Mail; Saved Declaration; Saved Declaration; Legal Research; Saved
                                                                             And Reviewed Stipulated Motion And Proposed Order For Leave To File Amended
                                                                             Answer To First Amended Complaint; Saved And Reviewed E-Mail And Letter
                                                                             From Opposing Counsel; Saved And Labeled Documents Produced; E-Mailed Co-
688   2/21/2013    Jason Proctor        1.20     $ 150.00 $         180.00   Counsel                                                                                 1.00      $        30.00 Administrative/Efficiency                   RW
689   2/21/2013   Bradford Kinsey       1.20    $ 100.00 $          120.00   Reviewed and revised motion for class certification.                                              $       120.00                                             TM
                                                                             Worked on declaration and exhibits in support of class certification; forwarded
690   2/21/2013    Eden Nordby          3.70    $ 150.00 $          555.00   class member declarations to co-counsel.                                                          $       555.00                                             TM
                                                                             Worked on motion for class certification [14]; analyzed declaration of Erin Moon
691   2/21/2013    Erika Nusser        14.20    $ 350.00 $        4,970.00   [.2]                                                                                    2.70      $     4,025.00 Unsuccessful Claims                         TM
                                                                             Worked on class certification motion and researched and analyzed issues
                                                                             regarding same [9.6]; telephone conferences with co-counsel regarding same [.9];
                                                                             reviewed stipulated motion for leave to amend answer and analyzed issues
                                                                             regarding same [.2]; researched and analyzed issues regarding Knight's job
692   2/21/2013   Toby Marshall        11.00    $   475.00   $    5,225.00   advertisements [.3].                                                                    2.60      $     3,990.00 Unsuccessful Claims                         TM
693   2/22/2013    Greg Wolk           2.90     $   425.00   $    1,232.50   analyze latest version of class cert motion                                             0.70      $       935.00 Unsuccessful claims                         RW
694   2/22/2013    Greg Wolk           0.80     $   425.00   $      340.00   draft declaration in support of motion for class cert                                             $       340.00                                             RW
695   2/22/2013    Greg Wolk           1.40     $   425.00   $      595.00   reseach and revise section on practical miles                                           1.40       $           - Unsuccessful claims                         RW
                                                                             Review and revise Motion for Class Certification; teleconference with co-counsel;
696   2/22/2013   Hardeep Rekhi         2.51    $ 425.00 $        1,066.51   review and analyze exhibits                                                             0.50      $       854.01 unsuccessful claims                         RW
                                                                             Updated File; Reviewed E-Mails From Co-Counlel; Reviewed And Edited Motion
697   2/22/2013    Jason Proctor        5.00    $ 150.00 $          750.00   For Class Certification                                                                 5.00      $            - Administrative/Efficiency                   RW



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 34
 CASE NO. 2:12-CV-00904-RSL
                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
                                                              Document  1 Filed
                                                                     1-12
                                                                       193-1
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         A                B                C            D              E                                                   F                                             G                 H                                        I               J
1       Date         Professional         Units        Price         Value       Narrative                                                                           Writedown       Revised Value                        Writedown Explanation   Firm
                                                                                 Reviewed, revised and finalized motion for class certification; prepared table of
                                                                                 contents and table of authorities; reviewed and finalized Hardeep Rekhi, Erin
                                                                                 Moon, James Moon, Cory Holt, Steven Smith and Dwight Simmons declarations;
                                                                                 reviewed, revised and finalized Marshall declaration; assembled exhibits;
698   2/22/2013    Bradford Kinsey        8.00    $ 100.00 $            800.00   arranged filing and service.                                                          2.00      $           600.00 Unsuccessful Claims                           TM
699   2/22/2013     Eden Nordby           9.00    $ 150.00 $          1,350.00   Worked on motion for class certification and supporting documents.                    2.30      $         1,005.00 Unsuccessful Claims                           TM
                                                                                 Worked on revisions to motion for class certrification and supporting documents
700   2/22/2013      Erika Nusser        11.00    $ 350.00 $          3,850.00   and finalized the same for filing [11]                                                2.00      $         3,150.00 Unsuccessful Claims                           TM
                                                                                 Worked on exhibits to class certification brief and conferences and
701   2/22/2013    Jennifer Boschen       2.40    $ 150.00 $           360.00    correspondence regarding same [2.4].                                                            $           360.00                                               TM
                                                                                 Worked on class certification motion and related documents and telephone
702   2/22/2013     Toby Marshall         8.10    $ 475.00 $          3,847.50   conference with co-counsel regarding same [8.1].                                      2.00      $         2,897.50 Unsuccessful Claims                           TM

                                                                                 Saved And Printed Plaintiffs' Motion For Class Certification And Supporting
703   2/25/2013     Jason Proctor         2.30    $ 150.00 $           345.00    Documents; Calendared; Created Notebook; Conducted Legal Research                     2.00      $            45.00 Administrative/Efficiency                     RW
                                                                                 Prepared bench copy of motion for class certification; arranged delivery to
704   2/25/2013    Bradford Kinsey        0.80    $ 100.00 $            80.00    chambers.                                                                             0.20      $            60.00 Unsuccessful Claims                           TM
705   2/25/2013   Hannah Buckendorf       1.50    $ 50.00 $             75.00    Created Judges notebook and set up ABC pick up.                                                 $            75.00                                               TM
706   2/26/2013      Greg Wolk            0.30     $ 425.00 $          127.50    Telephone call with co-counsel re scope of class period                                         $           127.50                                               RW

707   2/26/2013    Hardeep Rekhi          0.35    $    425.00    $     148.75    Teleconference with Co-Counsel re status and subpoena of Qualcomm records                       $           148.75                                               RW
708   2/26/2013    Hardeep Rekhi          0.30     $    425.00   $     127.50    Telephone call with co-counsel re scope of class period                                         $           127.50                                               RW
709   2/26/2013     Jason Proctor         2.80     $    150.00   $     420.00    Drafted Records Requests To L&I Regarding Public Records Requests                     2.80       $               - Administrative/Unsuccessful Claims            RW
710   2/26/2013      Erika Nusser         0.20    $    350.00    $      70.00    Emails regarding subpoena to Qualcomm [.2]                                                      $            70.00                                               TM

                                                                                 Email from opposing counsel regarding scope of class period and email to co-
                                                                                 counsel regarding same [.1]; telephone call from co-counsel regarding same [.3];
                                                                                 email to opposing counsel regarding same [.2]; analyzed issues regarding same
711   2/26/2013    Toby Marshall          0.90    $ 475.00 $           427.50    [.2]; analyzed issues regarding Comdata fees [.1].                                              $           427.50                                               TM
712   2/27/2013      Greg Wolk            0.40    $ 425.00 $           170.00    confer and research issue of Qualcomm subpoena                                                  $           170.00                                               RW
713   2/27/2013    Hardeep Rekhi          0.48    $ 425.00 $           205.06    review email correspondence; research issue re subpeona                                         $           205.06                                               RW
                                                                                 Emails regarding subpoena to Qualcomm [.3]; telephone conference and emails
                                                                                 with Mr. Bull regarding subpoena to Qualcomm [.2]; email to Ms. Tadano
714   2/27/2013      Erika Nusser         0.70    $ 350.00 $           245.00    regarding subpoena to Qualcomm [.2]                                                             $           245.00                                               TM
                                                                                 Telephone call from opposing counsel regarding scope of class, analyzed issues
                                                                                 regarding same, and email to opposing counsel regarding subpoena to Qualcomm
715   2/27/2013    Toby Marshall          0.30    $ 475.00 $           142.50    [.3].                                                                                           $           142.50                                               TM
716   2/28/2013    Hardeep Rekhi          0.20    $ 425.00 $            85.00    review email correspondence regarding qualcomm records                                          $            85.00                                               RW
                                                                                 Signed And Scanned 23 L&I Public Records Requests; Saved And Printed 2013.2.28
717   2/28/2013     Jason Proctor         1.00    $ 150.00 $           150.00    Defendant's Amended Answer To First Amended Complaint                                 1.00      $               - Administrative/Unsuccessful Claims             RW

                                                                                 Emails regarding subpoena to Qualcomm [.4]; emails and telephone conference
                                                                                 with Mr. Bull regarding the same [.2]; telephone conference with counsel for
                                                                                 Comdata regarding subpoena and emails regarding the same [.4]; emails to and
718   2/28/2013      Erika Nusser         1.20    $ 350.00 $           420.00    from Ms. Tadano regarding Qualcomm subpoena [.2]                                                $           420.00                                               TM
719   3/1/2013      Jason Proctor         1.20     $ 150.00 $          180.00    Signed And Scanned 28 L&I Public Records Requests; Updated Filed                      1.20       $               - Administrative/Unsuccessful Claims            RW
                                                                                 Saved And Reviewed Defendant'S Motion To File Over-Length Brief Iso Its Motion
720   3/4/2013      Jason Proctor         0.10    $ 150.00 $            15.00    For Sj And Proposed Order                                                             0.10       $               - Administrative                                RW
721   3/5/2013        Greg Wolk           0.60    $ 425.00 $           255.00    speak with witness driver                                                                       $           255.00                                               RW

                                                                              Teleconference With L&I(2); Reviewed And Analyzed Records; Strategized Public
722   3/5/2013      Jason Proctor         0.90     $ 150.00 $          135.00 Records Requests; E-Mailed L&I; Saved And Printed E-Mail                                 0.90       $               - Administrative                                RW
723   3/7/2013       Erika Nusser         0.20    $ 350.00 $            70.00 Emails regarding case strategy issues [.2]                                                         $            70.00                                               TM
                                                                              Telephone call from [redacted] regarding [redacted] [.1]; researched and
                                                                              analyzed issues and telephone conference with co-counsel regarding same [1.1];
724   3/7/2013      Toby Marshall         1.40    $ 475.00 $           665.00 telephone conferences with [redacted] regarding same [.2].                                         $           665.00                                               TM
725   3/8/2013       Erika Nusser         0.20    $ 350.00 $            70.00 Emails regarding defendant's contact with class members [.2]                                       $            70.00                                               TM
                                                                              Analyzed issues regarding defendant's improper contacts with proposed class
726   3/8/2013      Toby Marshall         0.20    $ 475.00 $            95.00 members who submitted declarations in support of plaintiffs [.2].                                  $            95.00                                               TM

727   3/11/2013     Toby Marshall         0.10    $ 475.00 $            47.50 Analyzed issues regarding reply in support of class certification motion [.1].                     $            47.50                                               TM
728   3/12/2013      Greg Wolk            0.90    $ 425.00 $           382.50 analyze caselaw on ODND and practical miles claim                                        0.90       $               - Unsuccessful claims                           RW
                                                                              Telephone conference with co-counsel re defendant's inquiry into represented
729   3/12/2013       Greg Wolk           0.20    $ 425.00 $            85.00 status of declarants and analyzed issues regarding same                                            $            85.00                                               RW
                                                                              review case law regarding piece rate; email correspondence with co counsel
730   3/12/2013    Hardeep Rekhi          1.00    $ 425.00 $           425.00 regarding show cause hearing                                                                       $           425.00                                               RW
                                                                              Reviewed order to show cause; telephone conference to and from Ms. Roberts,
731   3/12/2013    Bradford Kinsey        0.30    $ 100.00 $            30.00 Judge Lasnik's bailliff, regarding missing notebook.                                               $            30.00                                               TM



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 35
 CASE NO. 2:12-CV-00904-RSL
                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
                                                              Document  1 Filed
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         A                B                C            D              E                                                F                                                G                 H                                          I               J
1       Date         Professional         Units        Price         Value       Narrative                                                                           Writedown       Revised Value                          Writedown Explanation   Firm

                                                                              Analyzed recent decision regarding practical miles issues and emails regarding the
732   3/12/2013      Erika Nusser         1.00    $ 350.00 $           350.00 same [.7]; analyzed order to show cause and emails regarding the same [.3]               0.70      $           105.00 Unsuccessful Claims                             TM
                                                                              Researched and analyzed issues regarding failure to pay for all hours worked on
                                                                              ground that productive pay covers non-productive work time and emails to co-
                                                                              counsel regarding same [.4]; telephone conference with co-counsel regarding
                                                                              defendant's inquiry into represented status of declarants and analyzed issues
733   3/12/2013     Toby Marshall         0.60    $ 475.00 $           285.00 regarding same [.2]. .                                                                   0.40      $            95.00 Unsuccessful Claims                             TM
734   3/13/2013      Greg Wolk            0.30    $ 425.00 $           127.50 Telephone conference and e-mail corresponence with co-counsel                                      $           127.50                                                 RW
735   3/13/2013     Hardeep Rekhi         0.30    $ 425.00 $           127.50 Telephone conference and e-mail corresponence with co-counsel                                      $           127.50                                                 RW

                                                                              Telephone conference and email correspondence with co-counsel regarding
                                                                              [redacted] [.3]; telephone conferences with [redacted] regarding same [.4]; left
736   3/13/2013     Toby Marshall         0.80    $ 475.00 $           380.00 message with Mr. Tena regarding [redacted] [.1].                                                   $           380.00                                                 TM
737   3/18/2013       Greg Wolk           0.60    $ 425.00 $           255.00 review PRA response to REOT request                                                      0.60       $               - Unsuccessful claims                             RW
738   3/18/2013     Jason Proctor         0.40     $ 150.00 $           60.00 Saved And Reviewed E-Mail From L&I ; Saved And Reviewed Records                          0.40       $               - Administrative                                  RW

739   3/18/2013   Hannah Buckendorf       1.00    $ 50.00 $             50.00    Uploaded two sets of documents to ShareFile and sent documents via Sharefile.                   $            50.00                                                 TM
740   3/19/2013       Greg Wolk           0.30    $ 425.00 $           127.50    draft PRA requests for REOT files for various trucking companies                      0.30       $               - Unsuccessful claims                             RW
741   3/19/2013      Eden Nordby          0.20    $ 150.00 $            30.00    Email regarding Defendant's new production and document database.                               $            30.00                                                 TM
742   3/19/2013      Erika Nusser         1.00    $ 350.00 $           350.00    Analyzed production and conference regarding the same [1]                                       $           350.00                                                 TM

743   3/19/2013    Jennifer Boschen       0.10    $ 150.00 $            15.00 Analyzed document production format and correspondence regarding same [.1].                        $            15.00                                                 TM

                                                                                 Reviewed E-Mails From Co-Counsel; E-Mailed Paralegal For Opposing Counsel; E-
                                                                                 Mailed Co-Counsel Re Supplemental Documents Produced From Opposing
                                                                                 Counsel; Reviewed E-Mail Form Co-Counsel; E-Mailed Co-Counsel L&I Documents;
                                                                                 Downloaded And Renamed Documents Produced By Opposing Counsel, Bates Nos
                                                                                 Def0004688-Def0010762; Sent E-Mail Regarding Discovery; E-Mailed L&I Re
744   3/20/2013     Jason Proctor         3.40    $ 150.00 $           510.00    Regrds Request (51); Reviewed E-Mail From Co-Counsel Regarding Class Member           3.40      $               - Administrative                                   RW
                                                                                 Forwarded document production to co-counsel [.2]; reviewed document
                                                                                 production; email and personal conference regarding same [2]; worked on file
745   3/20/2013     Eden Nordby           2.90    $ 150.00 $           435.00    organization [.7].                                                                    0.70      $           330.00 Administrative                                  TM
                                                                                 Telephone call from Mr. Bodily regarding [redacted] [.1]; worked on case strategy
746   3/20/2013     Toby Marshall         0.20    $ 475.00 $            95.00    issues [.1].                                                                                    $            95.00                                                 TM
747   3/21/2013     Jason Proctor         0.10     $ 150.00 $           15.00    Reviewed E-Mail From Co-Counsel Re Class Rep; Responded To E-Mail                     0.10       $               - Administrative                                  RW
748   3/22/2013     Jason Proctor         0.10     $ 150.00 $           15.00    Reviewed Records                                                                                $            15.00                                                 RW

                                                                               Prepared draft of plaintiffs' response to partial motion for summary judgment;
749   3/22/2013    Bradford Kinsey        0.80    $ 100.00 $             80.00 prepared draft of proposed order denying motion for partial summary judgment.                     $            80.00                                                 TM
                                                                               Analyzed issues regarding defendant's recent document production [.1]; reviewed
                                                                               defendant's motion for summary judgment and analyzed issues regarding same
750   3/22/2013     Toby Marshall         1.70    $ 475.00 $            807.50 [1.6].                                                                                  0.40      $           617.50 Unsuccessful Claims                             TM
                                                                               Telephone conference with co-counsel regarding defendant's opposition to class
751   3/25/2013      Greg Wolk            1.70     $ 425.00 $           722.50 certification and motion for summary judgment                                                     $           722.50                                                 RW
752   3/25/2013    Hardeep Rekhi          1.75    $ 425.00 $            743.75 Review SJ and supporting documents; begin strategy outline a response,                  0.44      $           557.81                                                 RW
                                                                               Review SJ and supporting documents; begin strategy outline a response, review
753   3/25/2013    Hardeep Rekhi          2.60    $ 425.00 $          1,106.30 opposition to class certification; teleconference with co-counsel                       0.65      $           829.72                                                 RW
                                                                               Document Management For Defendant'S Motion For Partial Sj;
                                                                               Decl. Of Kevin Quast Iso Defendant'S Motion For Partial Sj &
                                                                               Exhibits A-H; 2013.3.21 Decl. Of Clark Jenkins Iso Defendant'S
                                                                               Motion For Partial Sj; Decl. Of Dominic Dorsett Iso Defendant'S
                                                                               Motion For Partial Sj & Exhibits A-1-8; Decl. Of Sonya Kwon Iso
                                                                               Defendant'S Motion For Partial Sj & Exhibit A & B; Decl. Of
                                                                               Stellman Keehnel Iso Defendant'S Motion For Partial Sj &
                                                                               Exhibits A-J; 2013.3.22 Praecipe To Decl. Of Kevin Quast Iso
754   3/25/2013     Jason Proctor         2.00     $    150.00   $      300.00 Defendant's Motion For Partial Sj & Exhibits A-H                                        2.00       $               -   Administrative                                RW
755   3/25/2013     Jason Proctor         0.30     $    150.00   $       45.00 Reviewed And Analyzed Discovery Regarding L & I Documents                               0.30       $               -   Unsuccessful claims                           RW
756   3/25/2013     Jason Proctor         0.20     $    150.00   $       30.00 Drafted L & I Records Request Re Disc Containing Reot Materials                         0.20       $               -   Unsuccessful claims                           RW
757   3/25/2013     Jason Proctor         0.10     $    150.00   $       15.00 Teleconference With Co-Counsel                                                                    $            15.00                                                 RW
758   3/25/2013    Bradford Kinsey        0.30    $    100.00    $       30.00 Prepared draft of reply in support of motion for class certification.                   0.08      $            22.50                                                 TM
759   3/25/2013     Eden Nordby           0.20    $    150.00    $       30.00 Worked on docketing.                                                                    0.20       $               -   Administrative                                TM

                                                                                 Reviewed defendant's opposition to class certification and researched and
                                                                                 analyzed issues regarding [.7]; telephone conference with co-counsel regarding
                                                                                 defendant's opposition to class certification and motion for summary judgment
760   3/25/2013    Toby Marshall          2.40    $    475.00    $    1,140.00   and researched and analyzed issues regarding same [1.7].                              0.60      $           855.00   Unsuccessful Claims                           TM
761   3/25/2013    Torrie Marshall        0.10    $    100.00    $       10.00   Worked on docketing.                                                                  0.10       $               -   Administrative                                TM
762   3/26/2013      Greg Wolk            0.20    $    425.00    $       85.00   confer w LNI PRA officer re REOT request                                              0.20       $               -   Unsuccessful claims                           RW
763   3/26/2013      Greg Wolk            1.20    $    425.00    $      510.00   analyze Knight's SJ motion                                                            0.20      $           425.00   Unsuccessful claims                           RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 36
CASE NO. 2:12-CV-00904-RSL
                                      Case
                                     Case
                                       Case2:18-cv-00681-RAJ
                                          2:12-cv-00904-RSL   Document
                                             2:17-cv-01499 Document
                                                             Document  1 Filed
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         A              B                 C            D              E                                                 F                                                  G                 H                                        I               J
1       Date       Professional          Units        Price         Value       Narrative                                                                              Writedown       Revised Value                        Writedown Explanation   Firm
                                                                                Research, and review previous legal research and analyse the same regarding
764   3/26/2013   Hardeep Rekhi          2.50    $ 425.00 $          1,062.50   FAAAA issues                                                                                       $         1,062.50                                               RW
765   3/27/2013     Greg Wolk            0.30    $ 425.00 $            127.50   analyze questions for per diem expert                                                              $           127.50                                               RW
766   3/27/2013     Greg Wolk            2.60    $ 425.00 $          1,105.00   draft opp to SJ motion                                                                   0.70      $           807.50 Unsuccessful claims                           RW
                                                                                Research legal issues raised in Defendants SJ and opposition to class cert.; discuss
767   3/27/2013   Hardeep Rekhi          2.15    $ 425.00 $           913.99    the issue regarding tax liability                                                        0.50      $           701.49                                               RW
                                                                                Research legal issues raised in Defendants SJ and opposition to class cert.; discuss
768   3/27/2013   Hardeep Rekhi          0.68    $    425.00    $      290.42   the issue regarding tax liability                                                        0.17      $           217.81                                               RW
769   3/27/2013    Jason Proctor         0.30     $    150.00   $       45.00   Corresponded With L&I Re Records Requests                                                0.30       $               - Administrative                                RW
770   3/28/2013      Greg Wolk           1.50    $    425.00    $      637.50   revise draft opp to SJM                                                                  0.30      $           510.00 Unsuccessful claims                           RW
771   3/28/2013   Jennifer Murray        4.50    $    450.00    $    2,025.00   Worked on damages issues for class certification motion.                                 1.20      $         1,485.00 Unsuccessful claims                           TM

                                                                             Telephone conference with [redacted] regarding expert consultation services [.2];
772   3/28/2013    Toby Marshall         0.40    $ 475.00 $           190.00 analyzed issues regarding response to class certification opposition [.2].                            $           190.00                                               TM
                                                                             Researched and analyzed issues regarding Wang decision and worked on strategy
773   3/30/2013    Toby Marshall         1.10    $ 475.00 $           522.50 for dealing with same [1.1].                                                                          $           522.50                                               TM

                                                                              Reviewed defendant's opposition to class certification, researched and analyzed
774   3/31/2013    Toby Marshall         6.20    $ 475.00 $          2,945.00 issues regarding same, and worked on outline of reply to same [6.2].                       1.50      $         2,232.50 Unsuccessful Claims                           TM
                                                                              revise section on orientation (2.5); telephone conferences with co-counsel
                                                                              regarding strategy for class certification reply and summary judgment opposition
775   4/1/2013       Greg Wolk           4.10    $ 425.00 $          1,742.50 (1.6)                                                                                                $         1,742.50                                               RW
                                                                              Research legal issues raised in Defendants SJ and opposition to class cert.; discuss
776   4/1/2013    Hardeep Rekhi          5.60    $ 425.00 $          2,381.42 the issue regarding tax liability                                                          1.40      $         1,786.06                                               RW
                                                                              telephone conferences with co-counsel regarding strategy for class certification
777   4/1/2013     Hardeep Rekhi         1.60    $ 425.00 $            680.00 reply and summary judgment opposition (1.6)                                                          $           680.00                                               RW
                                                                              Document Management Re Motion For Class Certification And Summary
                                                                              Judgment; Legal Research; Strategized Case And Document Management Re Per
778   4/1/2013     Jason Proctor         3.00    $ 150.00 $            450.00 Diem Expert                                                                                2.40      $            90.00 Administrative/Unsuccessful Claims            RW
                                                                              Analyzed defendant's response to plaintiffs' motion for class certification and
                                                                              telephone conference and emails regarding the same [1.2]; analyzed defendant's
                                                                              motion for summary judgment and telephone conference and emails regarding
                                                                              the same [1.6]; commenced working on response to defendant's motion for
779   4/1/2013      Erika Nusser         6.40    $ 350.00 $          2,240.00 summary judgment [3.6]                                                                     1.60      $         1,680.00 Unsuccessful Claims                           TM

                                                                                Worked on reply in support of class certification and analyzed issues regarding
                                                                                same [1.0]; worked on outline for opposition to summary judgment and
                                                                                researched and analyzed issues regarding same [1.2]; telephone conferences with
                                                                                co-counsel regarding strategy for class certification reply and summary judgment
                                                                                opposition [1.6]; prepared for and participated in telephone call with Mr. Head
                                                                                regarding expert consultation [.7]; researched and analyzed issues regarding
                                                                                orientation claim and employee status determinations and email correspondence
                                                                                with co-counsel regarding same [1.0]; researched and analyzed issues regarding
780   4/1/2013    Toby Marshall          6.90    $ 475.00 $          3,277.50   summary judgment and class certification issues [1.4].                                   1.30      $         2,660.00 Unsuccessful Claims                           TM
781   4/2/2013    Hardeep Rekhi          4.03    $ 425.00 $          1,714.64   Research legal issues regarding class definition                                                   $         1,714.64                                               RW
                                                                                Document Management For Expert Re Per Diem Pay; E-Mailed Co-Counsel
782   4/2/2013     Jason Proctor         3.70    $ 150.00 $           555.00    Specific Documents                                                                       3.70      $                - Administrative                                RW
                                                                                Email from Mr. Bull regarding subpoena to Qualcomm [.1]; emails regarding
                                                                                expert on taxation under the per diem program [.4]; researched factual issues for
                                                                                response to summary judgment motion [3.8]; worked on response to motion for
783   4/2/2013      Erika Nusser         7.30    $ 350.00 $          2,555.00   summary judgment [3]                                                                     1.70      $         1,960.00 Unsuccessful Claims                           TM
                                                                                Telephone conference with [redacted] regarding [redacted] and email to co-
                                                                                counsel regarding same [.4]; worked on reply in support of class certification and
784   4/2/2013     Toby Marshall         9.60    $ 475.00 $          4,560.00   researched and analyzed issues regarding same [9.2].                                     2.70      $         3,277.50 Unsuccessful Claims                           TM
785   4/3/2013      Greg Wolk            0.30    $ 425.00 $            127.50   revise analysis for per diem expert                                                                $           127.50                                               RW
786   4/3/2013      Greg Wolk            4.50    $ 425.00 $          1,912.50   draft section opp SJM on orientation                                                               $         1,912.50                                               RW

787   4/3/2013    Hardeep Rekhi          4.11    $ 425.00 $          1,747.81 Research legal issues regarding class definition; legal research regarding class cert      1.03      $         1,310.86 Unsuccessful claims                           RW

788   4/3/2013    Hardeep Rekhi          1.89    $ 425.00 $            803.60 Research legal issues regarding class definition; legal research regarding class cert      0.47      $           602.70 Unsuccessful claims                           RW
                                                                              Edited Legal Citations For Plaintiffs' Reply In Support Of Motion For Class
789   4/3/2013     Jason Proctor         2.90     $ 150.00 $           435.00 Certification                                                                              1.50      $           210.00 Efficiency                                    RW
790   4/3/2013    Bradford Kinsey        0.60    $ 100.00 $             60.00 Retrieve related cases.                                                                              $            60.00                                               TM
                                                                              Analyzed and revised expert declaration and emails regarding the same [.5];
                                                                              worked on issues relating to motion to strike [.3]; worked on response to motion
791   4/3/2013      Erika Nusser         6.20    $ 350.00 $          2,170.00 for summary judgment [5.4]                                                                 1.40      $         1,680.00 Unsuccessful Claims                           TM
792   4/3/2013    Jennifer Boschen       0.40    $ 150.00 $             60.00 Prepared index of documents reviewed by expert [.4].                                                 $            60.00                                               TM
                                                                              Worked on reply in support of class certification and researched and analyzed
                                                                              issues regarding same [9.4]; worked on declaration of Mr. Head and researched
793   4/3/2013     Toby Marshall         11.00   $ 475.00 $          5,225.00 and analyzed issues regarding same [1.6].                                                  2.30      $         4,132.50 Unsuccessful Claims                           TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 37
CASE NO. 2:12-CV-00904-RSL
                                      Case
                                     Case
                                       Case2:18-cv-00681-RAJ
                                          2:12-cv-00904-RSL   Document
                                             2:17-cv-01499 Document
                                                             Document  1 Filed
                                                                    1-12
                                                                      193-1
                                                                          Filed 05/10/18
                                                                              Filed
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          A              B                 C        D                 E                                                  F                                                G               H                                         I               J
 1      Date        Professional         Units     Price            Value      Narrative                                                                              Writedown     Revised Value                         Writedown Explanation   Firm
794   4/4/2013       Greg Wolk           2.60    $ 425.00 $          1,105.00 revise reply to class cert                                                                 0.70     $         807.50 Unsuccessful claims                            RW
795   4/4/2013       Greg Wolk           0.60    $ 425.00 $             255.00 revise reply section on CPA claim                                                         0.60      $             - Unsuccessful claims                            RW

796   4/4/2013       Greg Wolk           2.30    $    425.00    $      977.50   revise orientation section on opp SJM (2); confer w co-counsel re same (.3)                       $        977.50                                                 RW
797   4/4/2013    Hardeep Rekhi          4.13    $    425.00    $    1,755.25   Research legal response                                                                 1.03      $      1,316.44 Unsuccessful Claims                             RW
798   4/4/2013    Hardeep Rekhi          2.32    $    425.00    $      984.58   Research legal issues regarding response                                                0.58      $        738.44 Unsuccessful Claims                             RW
799   4/4/2013     Jason Proctor         0.10     $    150.00   $       15.00   Document Management                                                                     0.10       $            - Administrative                                  RW

                                                                                Emails regarding case strategy issues [.4]; worked on response to motion for
                                                                                summary judgment [6.9]; analyzed and revised reply in support of motion for
800   4/4/2013      Erika Nusser         8.40    $ 350.00 $          2,940.00   class certification [.9]; emails regarding case strategy issues [.2]                    2.00      $      2,240.00 Unsuccessful Claims                             TM
                                                                                Prepared draft reply in support of Plaintiffs motion for class certification and
801   4/4/2013    Jennifer Boschen       0.40    $ 150.00 $             60.00   correspondence regarding same [.4].                                                               $         60.00                                                 TM
                                                                                Worked on reply in support of class certification and researched and analyzed
802   4/4/2013    Toby Marshall          9.30    $    475.00    $    4,417.50   issues regarding same [9.3].                                                            2.30      $      3,325.00   Unsuccessful Claims                           TM
803   4/5/2013      Greg Wolk            1.80    $    425.00    $      765.00   draft CPA section on opp to SJM                                                         1.80       $            -   Unsuccessful claims                           RW
804   4/5/2013      Greg Wolk            1.70    $    425.00    $      722.50   revise reply to class cert                                                              0.40      $        552.50   Unsuccessful claims                           RW
805   4/5/2013    Hardeep Rekhi          1.57    $    425.00    $      665.83   worked on reply                                                                         0.39      $        499.38   Unsuccessful Claims                           RW
806   4/5/2013    Hardeep Rekhi          1.88    $    425.00    $      800.65   worked on reply                                                                         0.47      $        600.49   Unsuccessful Claims                           RW
                                                                                Reviewed, revised and finalized plaintiffs' reply in support of motion for class
                                                                                certification; finalized supplemental Marshall declaration; arranged filing and
807   4/5/2013    Bradford Kinsey        3.00    $ 100.00 $            300.00   service.                                                                                0.75      $        225.00 Unsuccessful Claims                             TM

808   4/5/2013     Eden Nordby           1.50    $ 150.00 $            225.00 Worked on declaration and exhibits for reply to class certification motion.               0.40      $        165.00 Unsuccessful Claims                             TM
                                                                              Worked on reply in support of motion for class certification and supporting
                                                                              documents, and revised and finalized the same for filing [5.5]; telephone
                                                                              conference regarding case strategy issues [.3]; worked on response to motion for
809   4/5/2013      Erika Nusser         7.80    $    350.00    $    2,730.00 summary judgment [2]                                                                      1.00      $      2,380.00 Unsuccessful Claims                             TM
810   4/5/2013   Hannah Buckendorf       1.00    $     50.00    $       50.00 Created a notebook to send to Jugde Lasnik.                                                         $         50.00                                                 TM
811   4/6/2013       Greg Wolk           0.60    $    425.00    $      255.00 analyze rest break preemption section to opp SJM                                                    $        255.00                                                 RW
812   4/6/2013     Hardeep Rekhi         1.19    $    425.00    $      505.04 Research and draft and analyze brief related to preemption                                          $        505.04                                                 RW
813   4/6/2013      Erika Nusser         6.90    $    350.00    $    2,415.00 Worked on response to motion for summary judgment [6.9]                                   1.70      $      1,820.00 Unsuccessful Claims                             TM
814   4/7/2013       Greg Wolk           2.50    $    425.00    $    1,062.50 revise opp to SJM draft                                                                   0.60      $        807.50 Unsuccessful claims                             RW
                                                                              review and analyze draft response to SJ, revise motion, conduct legal research
815   4/7/2013    Hardeep Rekhi          1.13    $ 425.00 $            480.01 regarding the same, teleconference regarding the same                                               $        480.01                                                 RW

                                                                                Worked on response to motion for summary judgment and supporting
816   4/7/2013      Erika Nusser         4.80    $    350.00    $    1,680.00   documents, and revisions thereto [3.7]; emails regarding case strategy issues [1.1]     1.20      $      1,260.00 Unsuccessful Claims                             TM
817   4/7/2013     Toby Marshall         0.50    $    475.00    $      237.50   Worked on response to motion for summary judgment [.5].                                 0.10      $        190.00 Unsuccessful Claims                             TM
818   4/8/2013       Greg Wolk           1.60    $    425.00    $      680.00   revise opp to SJM draft - orientation section                                                     $        680.00                                                 RW
819   4/8/2013       Greg Wolk           2.00    $    425.00    $      850.00   finalize opp to SJM                                                                     0.50      $        637.50 Unsuccessful claims                             RW
                                                                                Review and revise CPA section; review and revise SJ response; Teleconference
820   4/8/2013    Hardeep Rekhi          0.86    $ 425.00 $            366.68   with Co-Counsel regarding the same                                                      0.40      $        196.68 Unsuccessful Claims                             RW
                                                                                Document Management Re Reply Iso Plaintiffs' Motion For Class
                                                                                Certification & Supplemental Declaration Of Toby J. Marshall Iso
                                                                                Plaintiffs' Motion Of Class Certification; Emailed Co-Counsel Re
821   4/8/2013     Jason Proctor         0.50    $ 150.00 $             75.00   Updates For Motion                                                                      0.50      $             - Administrative                                  RW
                                                                                Reviewed, revised and finalized plaintiffs' response to defendant's motion for
                                                                                partial summary judgment; finalized Head declaration; finalized Marshall
                                                                                declaration; prepared table of contents and table of authorities; arranged filing
822   4/8/2013    Bradford Kinsey        2.20    $ 100.00 $            220.00   and service.                                                                            0.50      $        170.00 Unsuccessful Claims                             TM
                                                                                Worked on exhibits and declaration in support of response to Defendants' motion
823   4/8/2013     Eden Nordby           5.00    $ 150.00 $            750.00   for partial summary judgment.                                                           1.30      $        555.00 Unsuccessful Claims                             TM
                                                                                Worked on revisions to response to motion for summary judgment and
824   4/8/2013      Erika Nusser         8.00    $ 350.00 $          2,800.00   supporting documents, and finalized the same for filing [8]                             2.00      $      2,100.00 Unsuccessful Claims                             TM
825   4/8/2013     Toby Marshall         0.80    $ 475.00 $            380.00   Worked on response to motion for summary judgment [.8].                                 0.20      $        285.00 Unsuccessful Claims                             TM
                                                                                Saved & Reviewed Plaintiffs' Opposition To Defendant'S Motion
                                                                                For Partial Summary Judgment, [Proposed] Order Denying
                                                                                Defendant'S Motion For Partial Summary Judgment, Decl. Of Toby
                                                                                Marshall Iso Plaintiff'S Response To Defendant'S Motion For
826   4/9/2013     Jason Proctor         0.50    $ 150.00 $             75.00   Partial Summary Judgment & Ex. 1-33                                                     0.50      $             - Administrative                                  RW
                                                                                Arranged delivery of plaintiffs' response to defendant's motion for partial
827   4/9/2013    Bradford Kinsey        0.40    $ 100.00 $             40.00   summary judgment to chambers.                                                                     $         40.00                                                 TM

                                                                              Review correspondence from and to opposing counsel regarding Head declaration
828   4/9/2013    Bradford Kinsey        0.80    $ 100.00 $             80.00 exhibits; prepared draft and finalized preaecipe; assembled exhibits.                               $         80.00                                                 TM

                                                                              Emails from and to Ms. Tadano regarding plaintiffs' filings in response to
829   4/9/2013      Erika Nusser         0.20    $ 350.00 $             70.00 defendant's motion for summary judgment [.1]; emails regarding the same [.1]                        $         70.00                                                 TM
830   4/9/2013   Hannah Buckendorf       1.00    $ 50.00 $              50.00 Notebook for Judge Lasnik re motion for summary judgment.                                           $         50.00                                                 TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 38
CASE NO. 2:12-CV-00904-RSL
                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
                                                              Document  1 Filed
                                                                     1-12
                                                                       193-1
                                                                           Filed 05/10/18
                                                                               Filed
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          A               B                 C       D                  E                                                  F                                             G              H                                          I               J
 1      Date        Professional          Units    Price             Value      Narrative                                                                           Writedown    Revised Value                          Writedown Explanation   Firm
831   4/10/2013     Jason Proctor         0.10    $ 150.00 $              15.00 Teleconference With HSR, Gaw, & Co-Counsel Re Next Steps                                        $         15.00                                                 RW
                                                                                Arranged filing and service of praecipe to attach documents; arranged delivery to
832   4/10/2013    Bradford Kinsey        0.40    $ 100.00 $              40.00 chambers.                                                                                       $         40.00                                                 TM
                                                                                Worked on refiling documents in support of plaintiffs' response to motion for
833   4/10/2013      Erika Nusser         0.30    $ 350.00 $             105.00 summary judgment [.3]                                                                           $       105.00                                                  TM
                                                                                Reviewed Praecipe To Attach Documents - Ex. A & B To Richard
834   4/11/2013     Jason Proctor         0.20     $ 150.00 $             30.00 Head Decl.                                                                            0.20       $           - Administrative                                   RW
835   4/13/2013       Greg Wolk           1.60    $ 425.00 $             680.00 analyze Knight reply to SJM                                                           0.40      $       510.00 Unsuccessful claims                              RW
836   4/15/2013    Hardeep Rekhi          0.50    $ 425.00 $             212.50 Review SJ REPLY                                                                       0.13      $       159.38 Unsuccessful claims                              RW
                                                                                Document Management For Defendant'S Reply Iso Motion For
                                                                                Partial Sj, 2013.4.12 Supplemental Decl. Of Stellman Keehnel
                                                                                Iso Defendant'S Reply Iso Motion For Partial Sj & Ex. A-G, And
                                                                                Supplemental Decl. Of Kevin Quast Iso Defendant'S Reply Iso
837   4/15/2013     Jason Proctor         0.50     $ 150.00 $             75.00 Motion For Partial Sj                                                                 0.50       $            - Administrative                                  RW
838   4/17/2013      Erika Nusser         0.10    $ 350.00 $              35.00 Emails regarding subpoena to Qualcomm [.1]                                                      $         35.00                                                 TM
                                                                                Email to Ms. Tadano regarding class list for Qualcomm subpoena [.1]; conference
839   4/23/2013       Erika Nusser        0.30    $    350.00    $       105.00 regarding case strategy [.2]                                                                    $       105.00                                                  TM
840   4/24/2013       Erika Nusser        0.40    $    350.00    $       140.00 Emails from and to Mr. Bull regarding Qualcomm subpoena [.4]                                    $       140.00                                                  TM
841   4/25/2013      Jason Proctor        0.20     $    150.00   $        30.00 Requested Cd For L&I                                                                  0.20       $           -    Administrative                                RW
842   4/25/2013      Jason Proctor        0.20     $    150.00   $        30.00 Requested Cd For L&I                                                                  0.20       $           -    Administrative                                RW
843   4/26/2013   Hannah Buckendorf       0.50    $     50.00    $        25.00 Sent documents via Sharefile for TJM to Co-counsel.                                   0.50       $           -    Administrative                                TM
844   4/26/2013    Jennifer Boschen       0.30    $    150.00    $        45.00 Worked on production issues and correspondence regarding same [.3].                             $        45.00                                                  TM
845   4/30/2013        Greg Wolk          3.20    $    425.00    $    1,360.00 review LNI REOT PRA response                                                           3.20       $           -    Unsuccessful claims                           RW
                                                                                Document Management Re Letter & Documents Received From L
                                                                                & I Pursuant To PRA Request For Reot Materials; Emailed
846   4/30/2013     Jason Proctor         0.90     $ 150.00 $            135.00 Co-Counsel; Mailed Dvd                                                                0.90       $            - Administrative                                  RW
847   4/30/2013      Erika Nusser         0.20    $ 350.00 $              70.00 Emails regarding L&I response to records request [.2]                                           $         70.00                                                 TM
                                                                                Teleconference With L & I And Gaw Re PRA Request For Reot
848   5/3/2013      Jason Proctor         0.50    $ 150.00 $              75.00 Material; Reviewed Documents                                                          0.50      $            - Administrative/Unsuccessful Claims               RW

849   5/5/2013      Jason Proctor         0.20    $ 150.00 $             30.00 Reviewed E-Mail From Tm To Opposing Counsel Re Amended Abbott Report                   0.20      $            - Efficiency                                       RW
                                                                               Bates labeled documents regarding Max Tena. Combined 50 files and OCRed to
850   5/8/2013    Hannah Buckendorf       1.00    $ 50.00 $              50.00 ready for production.                                                                            $         50.00                                                 TM
851   5/9/2013       Eden Nordby          0.20    $ 150.00 $             30.00 Correspondence regarding document production.                                                    $         30.00                                                 TM
852   5/10/2013       Greg Wolk           2.40    $ 425.00 $          1,020.00 review LNI REOT PRA respone                                                            2.40       $            - Unsuccessful claims                             RW
                                                                               Document Management Re Max Tena Documents From
853   5/10/2013     Jason Proctor         0.10    $ 150.00 $             15.00 Co-Counsel                                                                             0.10      $            - Administrative                                   RW
                                                                               Transmittal letter to opposing counsel regarding document production; served
854   5/10/2013     Eden Nordby           0.50    $ 150.00 $             75.00 document production; updated production log.                                                     $        75.00                                                  TM
855   5/10/2013     Toby Marshall         0.10    $ 475.00 $             47.50 Reviewed Tena documents for production [.1].                                                     $        47.50                                                  TM

856   5/14/2013    Hardeep Rekhi          1.10    $ 425.00 $            467.50 Review recent case law on FAAAA; report to co-counsels regarding the same                        $       467.50                                                  RW
857   5/14/2013     Jason Proctor         0.20     $ 150.00 $            30.00 Reviewed Aziz Pro Se Docket; Reviewed Documents                                        0.20       $           - Relevance                                        RW

                                                                               Analyzed issues regarding recent supreme court case on FAAA preemption and
858   5/14/2013     Toby Marshall         0.10    $ 475.00 $             47.50 email correspondence with co-counsel regarding same [.1].                                        $         47.50                                                 TM
                                                                               Emails and telephone conference with Mr. Bull regarding production from
859   5/15/2013      Erika Nusser         0.50    $ 350.00 $            175.00 Qualcomm [.5]                                                                                    $       175.00                                                  TM
                                                                               Email and letter from Mr. Bull regarding Qualcomm production and objections to
860   5/22/2013      Erika Nusser         0.90    $ 350.00 $            315.00 subpoena [.4]; analyzed production [.5]                                                          $       315.00                                                  TM
                                                                               Strategized Case Re L & I Documents, Defendant's Motion For
861   5/23/2013     Jason Proctor         0.20     $ 150.00 $            30.00 Summary Judgment & Reot Issue                                                          0.20       $           - Unsuccessful claims                              RW
862   5/23/2013      Erika Nusser         0.50    $ 350.00 $            175.00 Email regarding production from Qualcomm [.1]; analyzed the same [.4]                            $       175.00                                                  TM
                                                                               Reviewed Email To And From Co-Counsel Re Qualcomm Records;
                                                                               Document Management Re Qualcomm Production; Strategized
863   5/24/2013     Jason Proctor         2.70     $ 150.00 $           405.00 Case Re Discovery                                                                      2.40      $         45.00 Administrative                                  RW
864   5/28/2013    Hardeep Rekhi          0.25    $ 425.00 $            106.25 Anaylze and discuss LNI documents regarding REOT                                       0.25       $            -                                                 RW
                                                                               Telephone conference with co-counsel regarding supplemental filing on class
865   5/30/2013      Greg Wolk            0.20    $ 425.00 $             85.00 certification                                                                                    $         85.00                                                 RW
                                                                               Review new case law; review local rules regarding supplemental briefing; discuss
866   5/30/2013    Hardeep Rekhi          0.80    $ 425.00 $            340.00 the same with Co-counsel                                                                         $       340.00                                                  RW
                                                                               Drafted Plaintiffs' Notice Of Supplemental Authority Re
867   5/30/2013     Jason Proctor         1.50    $ 150.00 $            225.00 Individualized Damages; E-Filed Supplement                                             1.00      $        75.00 Administrative/Efficiency                        RW
                                                                               Telephone conference with co-counsel regarding supplemental filing on class
868   5/30/2013    Toby Marshall          0.20    $    475.00    $       95.00 certification [.2].                                                                              $        95.00                                                  TM
869   6/3/2013     Hardeep Rekhi          0.70    $    425.00    $      297.50 Review recent Case law; follow up on Court Deadlines                                             $       297.50                                                  RW
870   6/6/2013     Hardeep Rekhi          0.10    $    425.00    $       42.50 Email co-counsel re discovery deadlines                                                          $        42.50                                                  RW
871   6/21/2013      Greg Wolk            0.20     $    425.00   $       85.00 Telephone conference with co-counsel regarding discovery issues                                  $        85.00                                                  RW
872   6/21/2013     Erika Nusser          0.10    $    350.00    $       35.00 Emails regarding scheduling and case strategy issues [.1]                                        $        35.00                                                  TM


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 39
 CASE NO. 2:12-CV-00904-RSL
                                     Case
                                    Case
                                      Case2:18-cv-00681-RAJ
                                         2:12-cv-00904-RSL   Document
                                            2:17-cv-01499 Document
                                                            Document  1 Filed
                                                                   1-12
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         A              B                C            D              E                                                  F                                          G                 H                                        I               J
1       Date       Professional         Units        Price         Value      Narrative                                                                        Writedown       Revised Value                        Writedown Explanation   Firm
                                                                              Telephone conference with co-counsel regarding discovery issues [.2]; analyzed
873   6/21/2013   Toby Marshall         0.40    $ 475.00 $           190.00   issues regarding same and case strategy [.2].                                                $           190.00                                               TM
                                                                              Reviewed Email And Invoice From Co-Counsel; Document
874   6/26/2013    Jason Proctor        0.20    $ 150.00 $            30.00   Management                                                                          0.20     $                - Administrative                                RW
                                                                              Email correspondence with co-counsel regarding status of case and discovery plan
                                                                              [.1]; reviewed production from Qualcomm and analyzed issues regarding same
875   6/26/2013   Toby Marshall         0.40    $    475.00    $     190.00   [.2]; analyzed issues regarding expert services [.1].                                        $           190.00                                               TM
876   6/28/2013   Toby Marshall         0.10    $    475.00    $      47.50   Analyzed issues regarding expert and discovery deadlines [.1].                               $            47.50                                               TM
877   7/3/2013      Greg Wolk           0.20     $    425.00   $      85.00   Telephone call from co-counsel                                                               $            85.00                                               RW
878   7/3/2013    Hardeep Rekhi         0.17    $    425.00    $      70.83   Teleconference with co-counsel                                                               $            70.83                                               RW
879   7/3/2013    Toby Marshall         0.20    $    475.00    $      95.00   Telephone call from co-counsel regarding [redacted] [.2].                                    $            95.00                                               TM
880   7/8/2013    Toby Marshall         0.10    $    475.00    $      47.50   Analyzed issues regarding deadline for expert disclosures [.1].                              $            47.50                                               TM
                                                                              Reviewed Email From Co-Counsel; Strategized Deadlines; Emailed
881   7/9/2013     Jason Proctor        0.20    $ 150.00 $            30.00   HSR & Gaw Re Calendar                                                               0.20     $                - Administrative/Efficiency                     RW
                                                                              Analyzed issues regarding extension of case scheduling deadlines and email
                                                                              correspondence with co-counsel regarding same [.2]; left message with opposing
882   7/9/2013    Toby Marshall         0.30    $ 475.00 $           142.50   counsel regarding same [.1].                                                                 $           142.50                                               TM
883   7/11/2013    Erika Nusser         0.10    $ 350.00 $            35.00   Email regarding extending case scheduling deadlines [.1]                                     $            35.00                                               TM
                                                                              Telephone call from opposing counsel regarding request for extension of case
884   7/11/2013   Toby Marshall         0.10    $ 475.00 $            47.50   scheduling deadlines [.1].                                                                   $            47.50                                               TM
                                                                              Reviewed Email From Co-Counsel; Strategized Deadlines; Emailed
885   7/12/2013   Jason Proctor         0.10     $ 150.00 $           15.00   HSR, Gaw & Co-Counsel Re Calendar                                                   0.10      $               - Administrative/Efficiency                     RW
886   7/17/2013   Toby Marshall         0.10    $ 475.00 $            47.50   Exchanged messages with client regarding [redacted] [.1].                                    $            47.50                                               TM
                                                                              Saved & Reviewed Email From Opposing Counsel & Co-Counsel
887   7/22/2013    Jason Proctor        0.10     $ 150.00 $           15.00   Re Three Month Extension                                                            0.10      $               - Efficiency                                    RW
888   7/22/2013     Erika Nusser        0.20    $ 350.00 $            70.00   Emails regarding scheduling issues [.2]                                                      $            70.00                                               TM
                                                                              Analyzed issues regarding extension of case scheduling deadlines [.1]; email
                                                                              correspondence with co-counsel and opposing counsel regarding same [.1];
889   7/22/2013   Toby Marshall         0.30    $ 475.00 $           142.50   worked on case strategy issues [.1].                                                         $           142.50                                               TM
890   7/23/2013    Greg Wolk            0.50    $ 425.00 $           212.50   Review proposed deadlines (.2); analyze next steps (.3)                                      $           212.50                                               RW

891   7/24/2013    Erika Nusser         0.30    $ 350.00 $           105.00 Reviewed and revised stipulation to extend case scheduling deadlines [.3]                      $           105.00                                               TM
892   7/24/2013   Toby Marshall         0.10    $ 475.00 $            47.50 Analyzed issues regarding extension of case scheduling deadlines [.1].                         $            47.50                                               TM
893   7/25/2013     Greg Wolk           0.90    $ 425.00 $           382.50 teleconference w co-counsel re next steps                                                      $           382.50                                               RW
                                                                            Strategized Case Re Discovery; Reviewed Email
894   7/25/2013    Jason Proctor        0.30    $ 150.00 $            45.00 Correspondence With Co-Counsel; Document Management                                 0.20       $            15.00 Administrative                                RW
                                                                            Telephone conference with co-counsel regarding [redacted][.9]; emails regarding
895   7/25/2013    Erika Nusser         1.10    $ 350.00 $           385.00 the same [.2]                                                                                  $           385.00                                               TM
                                                                            Telephone conference with co-counsel regarding case strategy and discovery
896   7/25/2013   Toby Marshall         0.90    $ 475.00 $           427.50 issues [.9].                                                                                   $           427.50                                               TM
897   7/26/2013    Erika Nusser         0.20    $ 350.00 $            70.00 Emails regarding case strategy issues [.2]                                                     $            70.00                                               TM
898   7/26/2013   Toby Marshall         0.30    $ 475.00 $           142.50 Worked on stipulation extending case scheduling deadlines [.3].                                $           142.50                                               TM
                                                                            Saved And Reviewed Ecf Re Stipulation & [Proposed] Order
                                                                            Extending Case Schedule Deadlines & PRAecipe To Stipulation &
                                                                            [Proposed] Order Extending Case Schedule Deadlines;
899   7/29/2013    Jason Proctor        0.30    $ 150.00 $            45.00 Emailed HSR & Gaw Re Filing                                                         0.30        $               - Administrative                                RW
900   7/30/2013      Greg Wolk          0.20    $ 425.00 $            85.00 Review and finalize draft rogs                                                                 $            85.00                                               RW
901   7/30/2013    Jason Proctor        2.10    $ 150.00 $           315.00 Saved, Reviewed, And Calendared Minute Order From Ecf                               2.10        $               - Administrative                                RW
                                                                            Drafted Discovery Requests, Delivered To Opposing Counsel; E-Mailed To
902   7/31/2013    Jason Proctor        1.60     $    150.00   $     240.00 Opposing Counsel And Co-Counsel                                                     1.00       $            90.00   Administrative                              RW
903   8/1/2013     Eden Nordby          0.10    $    150.00    $      15.00 Worked on docketing.                                                                0.10        $               -   Administrative                              TM
904   8/1/2013    Torrie Marshall       0.10    $    100.00    $      10.00 Worked on docketing.                                                                0.10        $               -   Administrative                              TM
905   8/5/2013    Torrie Marshall       0.10    $    100.00    $      10.00 Worked on docketing.                                                                0.10        $               -   Administrative                              TM
906   8/13/2013    Jason Proctor        0.10     $    150.00   $      15.00 Reviewed Ecf Notice Of Change Of Address                                            0.10        $               -   Administrative                              RW
                                                                            Prepared draft and finalized TMDW notice of change of address; arranged filing
907   8/13/2013   Bradford Kinsey       0.30    $ 100.00 $            30.00 and service.                                                                                   $            30.00                                               TM
                                                                            Voicemail for and telephone conference with Ms. Laird regarding Comdata's
908   8/14/2013    Erika Nusser         0.20    $ 350.00 $            70.00 response to subpoena [.2]                                                                      $            70.00                                               TM
909   8/19/2013     Greg Wolk           0.40    $ 425.00 $           170.00 Review docus re comdata card (.2); confer w HSR re docs (.2)                                   $           170.00                                               RW
                                                                            Reviewed Email From Erika Nusser Re Comdata Reports For
                                                                            Helde; Document Management; Emailed HSR & Gaw Re
910   8/19/2013    Jason Proctor        0.50    $ 150.00 $            75.00 Comdata                                                                             0.50       $                - Administrative/Efficiency                     RW

911   8/19/2013     Erika Nusser        0.40    $ 350.00 $           140.00 Analyzed sample production from Comdata and emails regarding the same [.4]                     $           140.00                                               TM
912   8/21/2013    Jason Proctor        0.10     $ 150.00 $           15.00 Reviewed Gaw E-Mail To Co-Counsel Re Comdata                                        0.10        $               - Efficiency                                    RW
913   8/21/2013     Erika Nusser        0.20    $ 350.00 $            70.00 Email from co-counsel regarding [redacted] [.2]                                                $            70.00                                               TM

                                                                            Reviewed E-Mail From Opposing Counsel; Document Management; Reviewed
914   9/3/2013     Jason Proctor        0.20    $ 150.00 $            30.00 Defendant'S Repsonses And Objections To Plaintiffs' Second Set Of Rogs And Rfps     0.20        $               - Administrative/Efficiency                     RW
915   9/4/2013       Greg Wolk          0.70    $ 425.00 $           297.50 Review email from clerk; analyze Wang; confer w HSR and co-counsel                             $           297.50                                               RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 40
CASE NO. 2:12-CV-00904-RSL
                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
                                                              Document  1 Filed
                                                                     1-12
                                                                       193-1
                                                                           Filed 05/10/18
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 1      Date        Professional          Units     Price            Value      Narrative                                                                            Writedown    Revised Value                        Writedown Explanation   Firm
916   9/4/2013     Hardeep Rekhi          0.17    $ 425.00 $              70.83 Teleconference with client                                                                       $         70.83                                               RW
                                                                                Reviewed Email From Co-Counsel & Court Clerk & HSR Re Oral
                                                                                Argument On Defendant'S Motion For S.J. And Plaintiffs' Motion For
917   9/4/2013      Jason Proctor         0.20     $ 150.00 $             30.00 Class Certification; Reviewed Calendar                                                 0.20       $            - Administrative                                RW
918   9/4/2013     Bradford Kinsey        0.30    $ 100.00 $              30.00 Prepared draft of notice of supplemental authority.                                              $         30.00                                               TM
                                                                                Analyzed new Ninth Circuit case [.5]; emails regarding case strategy issues [.2];
919   9/4/2013       Erika Nusser         0.80    $ 350.00 $             280.00 worked on notice of supplemental authority [.1]                                                  $       280.00                                                TM
                                                                                Analyzed issues regarding submission of supplemental authority [.1]; exchanged
                                                                                messages and email correspondence with opposing counsel, co-counsel, and
                                                                                court regarding scheduling of hearing on class certification and summary
920   9/4/2013     Toby Marshall          0.20    $ 475.00 $              95.00 judgment [.1].                                                                                   $        95.00                                                TM
921   9/5/2013       Greg Wolk            1.10    $ 425.00 $             467.50 Review Knight's discovery to our recent requests                                                 $       467.50                                                RW
922   9/5/2013     Hardeep Rekhi          0.17    $ 425.00 $              70.83 Emaiil Correspondence regarding case status                                                      $        70.83                                                RW
                                                                                Reviewed Email From Co-Counsel To Teri Roberts Re Oral
                                                                                Argument On Defendant's Motion For S.J. And Plaintiffs' Motion For
                                                                                Class Certification; Reviewed Email From Teri Roberts;
                                                                                Calendared Hearing; Reviewed Minute Order Setting Hearing
                                                                                On Defendant'S [51] Motion For Partial Summary Judgment And
                                                                                Plaintiffs' [37] Motion To Certify Class & Notice Of Request For
                                                                                Video Recording Of Motion Hearing; Conferred With HSR Re
923   9/5/2013      Jason Proctor         0.40    $ 150.00 $              60.00 Hearing                                                                                0.40      $            - Administrative/Efficiency                      RW
                                                                                Reviewed, revised and finalized plaintiffs' second notice of supplemental
924   9/5/2013     Bradford Kinsey        0.30    $ 100.00 $              30.00 authority; arranged filing and service.                                                          $         30.00                                               TM
925   9/5/2013      Erika Nusser          0.20    $ 350.00 $              70.00 Emails regarding case strategy issues [.2]                                                       $         70.00                                               TM
                                                                                Created two case management notebooks for TJM and ELN regarding, 1)
                                                                                Plaintiff's Motion for Class Certifications, and 2) Defendant's motion for Summary
926   9/5/2013    Hannah Buckendorf       3.40    $     50.00 $          170.00 Judgement. (Including all declarations and exhibits)                                   3.40      $            - Administrative                                 TM

927   9/5/2013      Toby Marshall         0.20    $ 475.00 $             95.00 Analyzed issues regarding impact on case of amended decision in Wang [.2].                        $         95.00                                               TM
                                                                               Reviewed Email From Co-Counsel; Reviewed Documents;
928   9/6/2013      Jason Proctor         0.20    $ 150.00 $             30.00 Emailed Co-Counsel                                                                      0.10      $         15.00 Administrative/Efficiency                     RW

                                                                                 Reviewed Comdata production and analyzed issues regarding same [.1]; reviewed
                                                                                 defendant's most recent discovery responses and analyzed issues regarding same
                                                                                 [.1]; reviewed court request for video recording of class certification and
929   9/8/2013      Toby Marshall         0.30    $    475.00    $      142.50   summary judgment hearing and analyzed issues regarding same [.1].                               $       142.50                                                TM
930   9/9/2013       Jason Proctor        0.10     $    150.00   $       15.00   Reviewed E-Mail From Toby Marshall Re Comdata                                         0.10       $           - Administrative/Efficiency                      RW
931   9/9/2013    Hannah Buckendorf       1.50    $     50.00    $       75.00   Completed notebooks for TJM and ELN. Discussed missing exhibit status.                1.50       $           - Administrative                                 TM
932   9/9/2013      Torrie Marshall       0.10    $    100.00    $       10.00   Worked on docketing.                                                                  0.10       $           - Administrative                                 TM
933   9/10/2013        Greg Wolk          0.30    $    425.00    $      127.50   email opposing counsel re deposition of client                                                  $       127.50                                                RW
934   9/10/2013     Hardeep Rekhi         0.17    $    425.00    $       70.83   Emaiil Correspondence regarding case status                                                     $        70.83                                                RW
                                                                                 Reviewed Email From Toby Marshall To Kerry Simonds Re
                                                                                 Response To Request For Video Recording; Reviewed Plaintiffs'
935   9/10/2013     Jason Proctor         0.10     $ 150.00 $            15.00   Response To Request For Consent To Video Recording; Reviewed                          0.10      $            - Administrative/Efficiency                      RW
936   9/10/2013     Eden Nordby           0.20    $ 150.00 $             30.00   Worked on docketing.                                                                  0.20      $            - Administrative                                 TM
                                                                                 Printing, scanning, and filing for TJM regarding request for consent to video
937   9/10/2013   Hannah Buckendorf       0.20    $     50.00 $          10.00   recording.                                                                                      $         10.00                                               TM
                                                                                 Email to court clerk regarding response to request for video recording of
                                                                                 upcoming hearing [.1]; analyzed issues regarding impact on class certification
938   9/10/2013    Toby Marshall          0.30    $ 475.00 $            142.50   issues of amended decision in Wang [.2].                                                        $       142.50                                                TM
939   9/11/2013     Eden Nordby           0.10    $ 150.00 $             15.00   Worked on docketing.                                                                  0.10       $           - Administrative                                 TM
940   9/13/2013    Hardeep Rekhi          0.17    $ 425.00 $             70.83   email with co-counsel regarding strategy for hearing                                            $        70.83                                                RW

941   9/16/2013    Hardeep Rekhi          0.17    $ 425.00 $             70.83 Review various briefing relating to class certification in preparation for Meeting                $         70.83                                               RW
                                                                               Reviewed Email Correspondence Between HSR & Co-Counsel
942   9/16/2013     Jason Proctor         0.10     $ 150.00 $            15.00 Re Hearing                                                                              0.10       $            - Administrative/Efficiency                     RW
943   9/16/2013      Erika Nusser         0.20    $ 350.00 $             70.00 Emails regarding case strategy issues [.2]                                                        $         70.00                                               TM
                                                                               Analyzed issues regarding argument for hearing on class certification and
                                                                               summary judgment [.2]; analyzed issues regarding discovery, experts, and factual
944   9/16/2013     Toby Marshall         0.70    $ 475.00 $            332.50 background [.5].                                                                                  $       332.50                                                TM
                                                                               Reviewed filings in preparation for hearing on motion for class certification and
                                                                               researched, analyzed issues regarding same, and worked on outline for argument
945   9/17/2013     Toby Marshall         3.10    $ 475.00 $          1,472.50 [3.1].                                                                                  0.80      $      1,092.50 Unsuccessful Claims                           TM
                                                                               Confer w HSR and co-counsel re hearing and next steps (1.2); research Knight's
946   9/18/2013      Greg Wolk            1.70    $ 425.00 $            722.50 retention requirements (.5)                                                                       $       722.50                                                RW
                                                                               review case law; review prior arguments; prepare for meeting regarding strategy
947   9/18/2013    Hardeep Rekhi          2.90    $ 425.00 $          1,231.20 hearing                                                                                 0.72      $       923.40 unsuccessful claims                            RW
                                                                               review case law; review prior arguments; prepare for meeting regarding strategy
948   9/18/2013    Hardeep Rekhi          1.16    $ 425.00 $            491.82 hearing                                                                                 0.29      $       368.86 unsuccessful claims                            RW
949   9/18/2013    Hardeep Rekhi          1.20    $ 425.00 $            510.00 Confer w co-counsel re hearing and next steps                                           0.25      $       403.75 Unsuccessful Claims                            RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 41
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                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
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1       Date         Professional         Units        Price         Value       Narrative                                                                           Writedown       Revised Value                        Writedown Explanation   Firm
                                                                                 Reviewed Email From Toby Marshall; Reviewed Becerra Decision;
                                                                                 Conducted Legal Research; Reviewed Plaintiffs' Third Notice Of
950   9/18/2013     Jason Proctor         0.60    $ 150.00 $            90.00    Supplemental Authority; Reviewed Email From Gaw                                       0.40      $            30.00 Administrative/Efficiency                     RW
                                                                                 Amended master caption; prepared draft of plaintiffs' third notice of
951   9/18/2013    Bradford Kinsey        0.60    $ 100.00 $            60.00    supplemental authority; arranged filing and service.                                            $            60.00                                               TM
                                                                                 Emails regarding retention of driver's records and researched the same [.2];
952   9/18/2013      Erika Nusser         1.30    $ 350.00 $           455.00    telephone conference with co-counsel regarding same [1.1]                                       $           455.00                                               TM
                                                                                 Continued reviewing materials in preparation for hearing on class certification
                                                                                 and summary judgment, researched and analyzed issues regarding same, and
                                                                                 worked on outline for same [2.8]; telephone conference with co-counsel
                                                                                 regarding same [1.1]; worked on supplemental authority filing for Becerra
953   9/18/2013     Toby Marshall         4.00    $ 475.00 $          1,900.00   decision [.1].                                                                        1.00      $         1,425.00 Unsuccessful Claims                           TM
                                                                                 Review preemption issue and new case law and briefing (1.1); telephone
954   9/19/2013       Greg Wolk           1.50    $    425.00    $      637.50   conference with co-counsel re hearing on summary judgment (.4)                                  $           637.50                                               RW
955   9/19/2013    Hardeep Rekhi          2.56    $    425.00    $    1,088.24   Review Certification Briefing                                                         0.64      $           816.18 Unsuccessful Claims                           RW
956   9/19/2013    Hardeep Rekhi          0.40    $    425.00    $      170.00   telephone conference with co-counsel re hearing on summary judgment                   0.10      $           127.50                                               RW
957   9/19/2013     Jason Proctor         0.10     $    150.00   $       15.00   Reviewed E-Mail From Gaw Re Briefing                                                  0.10       $               - Administrative/Efficiency                     RW

                                                                               Research and emails regarding preemtption issues [1.1]; analyzed discovery
                                                                               responses and worked on letter regarding discovery [3.2]; researched
958   9/19/2013      Erika Nusser         6.00    $ 350.00 $          2,100.00 recordkeeping requirements and factual isues relating to the same [1.7]                           $         2,100.00                                               TM
                                                                               Researched and analyzed issues for hearing on summary judgment [.6]; telephone
                                                                               conference with co-counsel regarding same [.4]; worked on supplemental
959   9/19/2013     Toby Marshall         1.30    $ 475.00 $            617.50 authority filing [.1]; worked on discovery letter [.2].                                 0.30      $           475.00 Unsuccessful Claims                           TM
                                                                               Review briefing; discuss supplement with G. Wolk; review case law regarding
960   9/20/2013    Hardeep Rekhi          0.33    $ 425.00 $            141.67 hearing                                                                                           $           141.67                                               RW
                                                                               Reviewed Email From Co-Counsel Re Meet & Confer; Reviewed
                                                                               Letter From Erika Nusser To Opposing Counsel Re Meet & Confer;
961   9/20/2013     Jason Proctor         0.70    $ 150.00 $            105.00 Conducted Legal Reseach                                                                 0.50      $            30.00 Administrative/Efficiency                     RW
                                                                               Prepared draft of and finalized notice of supplemental authority; arranged filing
962   9/20/2013    Bradford Kinsey        0.40    $ 100.00 $             40.00 and service.                                                                                      $            40.00                                               TM

                                                                                 Continued reviewing materials for hearing on motions for class certification and
                                                                                 summary judgment, continued working on outline for same, and continued
963   9/20/2013     Toby Marshall         3.50    $ 475.00 $          1,662.50   researching and analyzing issues regarding same [3.5].                                0.90      $         1,235.00 Unsuccessful Claims                           TM
                                                                                 Worked on outline for hearing on class certification and summary judgment and
                                                                                 researched and analyzed issues regarding same [4.8]; reviewed defendants'
964   9/21/2013     Toby Marshall         5.20    $ 475.00 $          2,470.00   supplemental authorities [.4].                                                        1.30      $         1,852.50 Unsuccessful Claims                           TM
                                                                                 Worked on outline for hearing on class certification and summary judgment and
965   9/22/2013     Toby Marshall         3.30    $ 475.00 $          1,567.50   researched and analyzed issues regarding same [3.3].                                  0.80      $         1,187.50 Unsuccessful Claims                           TM
966   9/23/2013      Greg Wolk            2.40    $ 425.00 $          1,020.00   Review briefing for hearing                                                           0.60      $           765.00 Unsuccessful claims                           RW

                                                                              Document Management; Reviewed Defendant's Notice Of
                                                                              Supplemental Authority; Reviewed Email From Toby Marshal Re
967   9/23/2013     Jason Proctor         0.30     $ 150.00 $           45.00 Plaintiffs' Claims; Reviewed Email & Letter From Nusser Re Meet And Confer               0.30       $               - Administrative/Efficiency                     RW
968   9/23/2013     Eden Nordby           0.40    $ 150.00 $            60.00 Reviewed Defendants' document production for examples of daily logs.                               $            60.00                                               TM

                                                                              Analyzed Defendant's supplemental authority [.5]; emails regarding hearing on
                                                                              motions for class certification and summary judgment [.4]; analyzed factual and
969   9/23/2013      Erika Nusser         1.80    $ 350.00 $           630.00 legal issues relating to recordkeeping requirements [.9]                                           $           630.00                                               TM
970   9/23/2013   Hannah Buckendorf       0.40    $ 50.00 $             20.00 Updated case management notebook.                                                        0.40       $               - Administrative                                TM

                                                                               Email to co-counsel regarding factual background issues [.1]; worked on same
                                                                               [.4]; revised outline for hearing on class certification and summary judgment [.4];
971   9/23/2013    Toby Marshall          2.90    $ 475.00 $          1,377.50 reviewed various factual background issues in preparation for same [2.0].               0.60      $         1,092.50 Unsuccessful Claims                           TM
972   9/23/2013    Torrie Marshall        0.10    $ 100.00 $             10.00 Worked on docketing.                                                                    0.10      $                - Administrative                                TM

973   9/24/2013       Greg Wolk           4.50    $ 425.00 $          1,912.50 Meet w co-counsel to prep for hearing; research outstanding issue for hearing           1.10      $         1,445.00 Unsuccessful claims/Efficiency                RW
974   9/24/2013     Hardeep Rekhi         4.50    $ 425.00 $          1,912.50 Meet w co-counsel to prep for hearing (3.5)                                             1.10      $         1,445.00                                               RW
975   9/24/2013      Eden Nordby          0.10    $ 150.00 $             15.00 Worked on docketing.                                                                    0.10      $                - Administrative                                TM
                                                                               Meeting with co-counsel regarding hearing on motions for class certification and
                                                                               summary judgment [3.5]; analyzed legal and factual issues in preparation for the
976   9/24/2013      Erika Nusser         4.40    $ 350.00 $          1,540.00 same [.9]                                                                                         $         1,540.00                                               TM
                                                                               Worked on outline for hearing on motions for class certification and summary
                                                                               judgment [2.6]; researched and analyzed issues regarding same [1.6]; meeting
977   9/24/2013     Toby Marshall         7.60    $ 475.00 $          3,610.00 with co-counsel regarding same [3.4].                                                   1.90      $         2,707.50 Unsuccessful Claims                           TM
978   9/25/2013      Greg Wolk            2.80    $ 425.00 $          1,190.00 Attend hearing; research case law and issues from hearing                               0.80      $           850.00 Unsuccessful claims/Efficiency                RW



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 42
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                                     Case
                                    Case
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 1      Date       Professional         Units     Price      Value     Narrative                                                                                  Writedown       Revised Value                        Writedown Explanation   Firm
                                                                       Prepared For Hearing; Went To Courthouse; Met With Co-Counsel;
                                                                       Took Notes During Hearing; Went Back To Office; Emailed
                                                                       Co-Counsel; Reviewed Gaw Email & Case Law Sent To
979   9/25/2013    Jason Proctor        2.70    $ 150.00 $      405.00 Co-Counsel                                                                                   2.70      $               - Administrative/Efficiency                      RW
                                                                       Legal Research Into Griffus; Reviewed Email From Tadano Re
980   9/25/2013    Jason Proctor        1.10    $ 150.00 $      165.00 Griffus Transcript & Briefing                                                                0.80      $            45.00 Administrative/Efficiency                     RW
                                                                       Prepared for, traveled to, participated in, and returned from hearing on motions
                                                                       for class certification and summary judgment [3.7]; emails regarding legal and
                                                                       factual issues [.3]; email from opposing counsel regarding supplemental briefing
981   9/25/2013    Erika Nusser         4.10    $ 350.00 $    1,435.00 [.1]                                                                                                   $         1,435.00                                               TM

                                                                       Prepared for, traveled to, participated in, and returned from hearing on motions
                                                                       for class certification and summary judgment [4.2]; telephone call from opposing
982   9/25/2013   Toby Marshall         4.50    $ 475.00 $    2,137.50 counsel regarding discovery issues [.2]; worked on same [.1].                                1.00      $         1,662.50 Unsuccessful Claims                           TM
                                                                       Follow up on research from hearing; confer w co-counsel on supplementing
983   9/26/2013     Greg Wolk           0.70    $ 425.00 $      297.50 authority                                                                                              $           297.50                                               RW
                                                                       Conferred With HSR & Gaw Re Griffus Transcript;
                                                                       Teleconference With Toby Marshall Re The Same & Discovery;
984   9/26/2013    Jason Proctor        0.50    $ 150.00 $       75.00 Reviewed Email From HSR To Tadano Re Griffus Transcript                                      0.50      $               - Administrative/Efficiency                      RW
                                                                       Analyzed choice of law research and emails and conference regarding the same
985   9/26/2013    Erika Nusser         2.20    $ 350.00 $      770.00 [2.2]                                                                                                  $           770.00                                               TM
                                                                       Telephone call from co-counsel regarding [redacted][.1]; reviewed decision
                                                                       regarding significant contacts analysis and analyzed issues regarding same [.3];
                                                                       worked on discovery issues [.2]; telephone conference with opposing counsel
986   9/26/2013   Toby Marshall         1.60    $ 475.00 $      760.00 regarding discovery issues [1.0].                                                                      $           760.00                                               TM
987   9/27/2013    Greg Wolk            1.00    $ 425.00 $      425.00 Review response by defendant and transcript                                                            $           425.00                                               RW
                                                                       Reviewed Email Correspondence Between HSR, Gaw, &
                                                                       Co-Counsel Re Supplemental Case Law; Reviewed Defendant’S
                                                                       Submission Of Transcript In Griffus V. Knight Transportation Re
                                                                       Sj On Per Diem Claiml; Reviewed Hearing Transcript From Griffus
988   9/27/2013    Jason Proctor        0.80    $ 150.00 $      120.00 V. Knight Transportation; Reviewed Client Documents                                          0.60      $            30.00 Administrative/Efficiency                     RW

                                                                         Emails regarding filing of transcript for supplemental briefing on class certification
989   9/27/2013    Erika Nusser         0.30    $ 350.00 $     105.00    and summary judgment [.1]; analyzed defendant's supplemental submission [.2]                         $           105.00                                               TM
990   9/30/2013     Greg Wolk           1.50    $ 425.00 $     637.50    Review response, transcript and confer w co-counsel re our reply                                     $           637.50                                               RW
991   9/30/2013   Hardeep Rekhi         1.00    $ 425.00 $     425.00    Confer with co-counsel re our reply                                                                  $           425.00                                               RW
                                                                         Reviewed transcript from summary judgment hearing in Griffus case and analyzed
                                                                         issues regarding same [.9]; telephone conference with co-counsel regarding
                                                                         [redacted] [1.0]; email correspondence with co-counsel regarding [redacted] [.5];
                                                                         researched Oregon law and worked on supplemental brief regarding summary
992   9/30/2013    Erika Nusser         6.20    $ 350.00 $    2,170.00   judgment in Griffus case [3.8].                                                                      $         2,170.00                                               TM
                                                                         Reviewed transcript from summary judgment hearing in Griffus case and analyzed
                                                                         issues regarding same [1.2]; researched and analyzed issues regarding deduction
                                                                         laws in Oregon [0.7]; telephone conference with co-counsel regarding same and
                                                                         strategy for distinguishing per diem decision [1.0]; email correspondence with co-
                                                                         counsel regarding same [.4]; telephone call from opposing counsel regarding
993   9/30/2013   Toby Marshall         3.60    $ 475.00 $    1,710.00   discovery isses [.3].                                                                                $         1,710.00                                               TM
994   10/1/2013   Eden Nordby           0.10    $ 150.00 $       15.00   Worked on docketing.                                                                       0.10      $                - Administrative                                TM
                                                                         Continued working on supplemental brief regarding summary judgment in Griffus
995   10/1/2013    Erika Nusser         1.20    $ 350.00 $     420.00    case [.9]; conference and emails regarding the same [.3]                                             $           420.00                                               TM
996   10/1/2013   Torrie Marshall       0.10    $ 100.00 $      10.00    Worked on docketing.                                                                       0.10       $               - Administrative                                TM
                                                                         Revise and revise our draft response (1); confer with co-counsel re per diem
997   10/2/2013    Greg Wolk            1.80    $ 425.00 $     765.00    decision in Griffus case (.8)                                                                        $           765.00                                               RW
998   10/2/2013   Hardeep Rekhi         0.80    $ 425.00 $     340.00    confer with co-counsel re per diem decision in Griffus case (.8)                                     $           340.00                                               RW
                                                                         Emails regarding supplemental brief regarding per diem decision in Griffus case
999   10/2/2013    Erika Nusser         0.80    $ 350.00 $     280.00    [.5]; conferences regarding same [.3].                                                               $           280.00                                               TM
                                                                         Worked on supplemental brief regarding per diem decision in Griffus case [1.5];
                                                                         researched and analyzed issues regarding same [.5]; telephone calls from co-
1000 10/2/2013    Toby Marshall         2.80    $ 475.00 $    1,330.00   counsel regarding same [.8].                                                                         $         1,330.00                                               TM
1001 10/3/2013     Greg Wolk            1.30    $ 425.00 $      552.50   Revise response and confer w co-counsel                                                              $           552.50                                               RW
                                                                         Reviewed Response; Conferred With Gaw & HSR Re Plaintiffs'
1002 10/3/2013     Jason Proctor        0.50    $ 150.00 $      75.00    Response To Defendant's Submission Of Transcript                                           0.50      $               - Administrative/Efficiency                      RW
                                                                         Reviewed, revised and finalized plaintiffs' supplemental brief; arranged filing and
1003 10/3/2013    Bradford Kinsey       0.60    $ 100.00 $      60.00    service.                                                                                             $            60.00                                               TM
                                                                         Analyzed issues regarding supplemental briefing on per diem claim [.1]; worked
1004 10/3/2013    Toby Marshall         0.50    $ 475.00 $     237.50    on response to defendant's submission of transcript [.4].                                            $           237.50                                               TM
1005 10/10/2013    Greg Wolk            1.70    $ 425.00 $     722.50    Reviewed Orders from Judge (.9); conferred with co-counsel (.8)                                      $           722.50                                               RW
1006 10/10/2013   Hardeep Rekhi         0.80    $ 425.00 $     340.00    conferred with co-counsel                                                                            $           340.00                                               RW



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 43
 CASE NO. 2:12-CV-00904-RSL
                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
                                                              Document  1 Filed
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                                                                       193-1
                                                                           Filed 05/10/18
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          A               B                C            D              E                                               F                                              G                 H                                          I               J
 1       Date        Professional         Units        Price         Value    Narrative                                                                           Writedown       Revised Value                          Writedown Explanation   Firm
                                                                              Reviewed Order Granting In Part Defendant's Motion For
                                                                              Summary Judgment; Reviewed Order Regarding Motion For
1007 10/10/2013      Jason Proctor        0.80    $ 150.00 $           120.00 Class Certification; Teleconference With Opposing Counsel                             0.80      $               - Administrative/Efficiency                        RW
                                                                              Email to Ms. Laird regarding subpoena to Comdata [.1]; analyzed orders on class
                                                                              certification and summary judgment and telephone conference with co-counsel
1008 10/10/2013      Erika Nusser         0.90    $ 350.00 $           315.00 regarding the same [.8]                                                                         $           315.00                                                 TM

                                                                                 Reviewed court's orders on summary judgment and class certification and
                                                                                 analyzed issues regarding same [1.1]; telephone conference with co-counsel
1009 10/10/2013     Toby Marshall         2.20    $ 475.00 $          1,045.00   regarding same [1.0]; left message with [redacted] regarding [redacted] [.1].      0.60      $           760.00 Unsuccessful Claims                             TM
1010 10/14/2013      Greg Wolk            0.60    $ 425.00 $            255.00   Confer w co-counsel re issues for motion to reconsider                             0.60       $               - Unsuccessful claims                             RW
1011 10/14/2013     Hardeep Rekhi         0.60    $ 425.00 $            255.00   Confer w co-counsel re issues for motion to reconsider                             0.60       $               - Unsuccessful claims                             RW
                                                                                 Emails from and to Ms. Laird regarding Comdata's response to subpoena [.2];
                                                                                 emails regarding factual issues related to overtime claim and motion for
1012 10/14/2013      Erika Nusser         0.30    $ 350.00 $           105.00    reconsideration [.1]                                                               0.10      $            70.00 Unsuccessful Claims                             TM

                                                                              Telephone calls from [redacted] regarding [redacted] [.3]; analyzed issues
                                                                              regarding same [.1]; email to co-counsel regarding same [.1]; meeting with co-
1013 10/14/2013     Toby Marshall         0.70    $ 475.00 $           332.50 counsel regarding same and strategy for reconsideration [.2].                         0.70      $               - Unsuccessful Claims                              TM
1014 10/14/2013     Torrie Marshall       0.10    $ 100.00 $            10.00 Worked on docketing.                                                                  0.10      $               - Administrative                                   TM
1015 10/15/2013       Greg Wolk           0.60    $ 425.00 $           255.00 Research REOT docs re reconsideration                                                 0.60      $               - Unsuccessful claims                              RW

1016   10/15/2013   Jason Proctor         0.10     $    150.00   $      15.00    Reviewed E-Mail From Toby Mashall; Reviewed E-Mail From Gaw To Co-Counsel          0.10       $               -   Administrative/Efficiency                     RW
1017   10/17/2013     Greg Wolk           0.60    $    425.00    $     255.00    Research agency review issues                                                      0.60       $               -   Unsuccessful claims                           RW
1018   10/17/2013    Erika Nusser         0.10    $    350.00    $      35.00    Email to Ms. Laird regarding subpoena to Comdata [.1]                                        $            35.00                                                 TM
1019   10/18/2013     Greg Wolk           0.90    $    425.00    $     382.50    Confer w co-counsel re mtn to reconsider                                           0.90       $               -   Unsuccessful claims                           RW
1020   10/18/2013   Hardeep Rekhi         0.90    $    425.00    $     382.50    Confer w co-counsel re mtn to reconsider                                           0.90       $               -   Unsuccessful claims                           RW
                                                                                 Telephone conference with co-counsel regarding overtime claims and possible
1021 10/18/2013      Erika Nusser         0.90    $ 350.00 $           315.00    motion for reconsideration [.5]; emails regarding same [.4]                        0.90      $               - Unsuccessful Claims                              TM
                                                                                 Researched and analyzed issues regarding overtime claims and possible motion
                                                                                 for reconsideration [1.5]; telephone conference with co-counsel regarding same
1022 10/18/2013     Toby Marshall         2.00    $ 475.00 $           950.00    [.5].                                                                              2.00      $               - Unsuccessful Claims                              TM
                                                                                 Confer and review mtn to reconsider (.3); discovery responses from opp counsel
1023 10/21/2013       Greg Wolk           0.50    $ 425.00 $           212.50    (.2)                                                                               0.20      $           127.50 Unsuccessful claims                             RW
                                                                                 Reviewed Email From Opposing Counsel; Reviewed Defendant's
                                                                                 Supplemental Responses & Objections To P'S 2Nd Set Of Rogs;
1024 10/21/2013      Jason Proctor        0.30    $ 150.00 $            45.00    Conferred With Gaw Re The Same                                                     0.30      $               - Administrative/Efficiency                        RW
                                                                                 Analyzed legal issues regarding reasonably equivalent overtime rule and emails
1025 10/21/2013      Erika Nusser         0.30    $ 350.00 $           105.00    regarding the same [.3]                                                            0.30      $               - Unsuccessful Claims                              TM

                                                                                 Researched and analyzed issues regarding reconsideration of court's ruling on
                                                                                 overtime claim [.3]; memorandum to and email correspondence with co-counsel
                                                                                 regarding same [.3]; worked on motion for reconsideration and researched and
1026 10/21/2013      Toby Marshall        4.20    $ 475.00 $          1,995.00   analyzed issues regarding same [3.6].                                              4.20      $               - Unsuccessful Claims                              TM
1027 10/22/2013        Greg Wolk          2.50    $ 425.00 $          1,062.50   Review REOT docs from L&I                                                          2.50      $               - Unsuccessful claims                              RW
1028 10/22/2013     Jennifer Murray       0.30    $ 450.00 $            135.00   Reviewed motion for reconsideration.                                               0.30      $               - Unsuccessful Claims                              TM
                                                                                 Worked on motion for reconsideration and researched and analyzed issues
1029 10/22/2013     Toby Marshall         4.80    $ 475.00 $          2,280.00   regarding same [4.8].                                                              4.80      $               - Unsuccessful Claims                              TM
1030 10/23/2013      Greg Wolk            3.50    $ 425.00 $          1,487.50   Review and revise mtn to reconsider                                                3.50      $               - Unsuccessful claims                              RW

                                                                              Reviewed, revised and finalized plaintiff's motion for reconsideration; prepared
1031 10/23/2013     Bradford Kinsey       2.80    $ 100.00 $           280.00 table of contents and table of authorities; arranged filing and service.              2.80      $               - Unsuccessful Claims                              TM
                                                                              Analyzed and worked on revisions to motion for reconsideration [.5]; emails
1032 10/23/2013       Erika Nusser        0.80    $ 350.00 $           280.00 regarding case strategy issues [.3]                                                   0.50      $           105.00 Unsuccessful Claims                             TM
1033 10/23/2013     Jennifer Murray       0.30    $ 450.00 $           135.00 Reviewed motion for reconsideration.                                                  0.30       $               - Unsuccessful Claims                             TM

                                                                                 Worked on motion for reconsideration of decision dismissing overtime claim and
                                                                                 researched and analyzed issues regarding same [4.0]; email correspondence with
                                                                                 co-counsel regarding same [.3]; researched and analyzed issues regarding
                                                                                 requests to certify issues to state supreme court [.4]; telephone call from
1034 10/23/2013     Toby Marshall         4.90    $ 475.00 $          2,327.50   opposing counsel regarding discovery and case scheduling issues [.2].              4.70      $            95.00 Unsuccessful Claims                             TM
1035 10/24/2013      Greg Wolk            1.00    $ 425.00 $            425.00   Confer w co-counsel re next steps                                                  0.30      $           297.50 Efficiency                                      RW
1036 10/24/2013     Hardeep Rekhi         1.00    $ 425.00 $            425.00   Confer w co-counsel re next steps                                                  0.30      $           297.50 Efficiency                                      RW
                                                                                 Plaintiffs' Motion For Reconsideration Of Order Grantin In Part D'S
1037 10/24/2013      Jason Proctor        0.30    $ 150.00 $            45.00    Motion For Sj                                                                      0.30      $               - Administrative/Efficiency                        RW
                                                                                 Telephone conference with co-counsel regarding discovery, damages and case
1038 10/24/2013      Erika Nusser         0.90    $ 350.00 $           315.00    strategy issues [.9]                                                                         $           315.00                                                 TM

                                                                               Worked on trial plan and researched and analyzed issues regarding discovery and
1039 10/24/2013     Toby Marshall         3.40    $ 475.00 $          1,615.00 experts [2.2]; telephone conference with co-counsel regarding same [1.2].                      $         1,615.00                                                 TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 44
CASE NO. 2:12-CV-00904-RSL
                                         Case
                                        Case
                                          Case2:18-cv-00681-RAJ
                                             2:12-cv-00904-RSL   Document
                                                2:17-cv-01499 Document
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          A                B                 C            D              E                                           F                                                    G                 H                                          I               J
 1       Date         Professional          Units        Price         Value    Narrative                                                                             Writedown       Revised Value                          Writedown Explanation   Firm
                                                                                Telephone conference with opposing counsel regarding damages data and
1040 10/25/2013      Toby Marshall          1.50    $ 475.00 $           712.50 discovery [1.5].                                                                                  $           712.50                                                 TM
1041 10/28/2013       Greg Wolk             0.50    $ 425.00 $           212.50 Confer w clients                                                                                  $           212.50                                                 RW

1042 10/28/2013      Toby Marshall          0.10    $ 475.00 $            47.50 Email correspondence with co-counsel and [redacted] regarding [redacted] [.1].                    $            47.50                                                 TM
                                                                                Analyzed issues regarding case scheduling deadlines and discovery [.1]; email to
1043   11/4/2013     Toby Marshall          0.20    $    475.00    $      95.00 opposing counsel regarding same [.1].                                                             $            95.00                                                 TM
1044   11/5/2013        Greg Wolk           0.20    $    425.00    $      85.00 Confer w co-counsel re stip on dates and discovery (.1); review stip (.1)                         $            85.00                                                 RW
1045   11/5/2013     Hardeep Rekhi          0.13    $    425.00    $      55.37 Teleconference with co counsel                                                                    $            55.37                                                 RW
1046   11/5/2013     Hardeep Rekhi          0.10    $    425.00    $      42.50 Confer w co-counsel re stip on dates and discovery                                                $            42.50                                                 RW
1047   11/5/2013      Jason Proctor         0.10     $    150.00   $      15.00 Reviewed E-Mail And Stipulation From Co-Counsel                                         0.10       $               - Administrative/Efficiency                       RW
1048   11/5/2013    Christine Stanley       0.70    $    100.00    $      70.00 Worked on stipulation regarding deadlines.                                                        $            70.00                                                 TM

                                                                                  Telephone calls from opposing counsel regarding case scheduling deadlines and
                                                                                  stipulation to extend same [.3]; analyzed issues regarding same [.2]; worked on
                                                                                  stipulation [.4]; email to opposing counsel regarding same [.1]; telephone
1049 11/5/2013       Toby Marshall          1.10    $ 475.00 $           522.50   conference with co-counsel regarding same and damages data [.1].                                $           522.50                                                 TM
                                                                                  Telephone conference with opposing counsel and co-counsel re stipulation to
1050 11/6/2013         Greg Wolk            0.30    $ 425.00 $           127.50   extend deadlines                                                                                $           127.50                                                 RW
                                                                                  Reviewed From Co-Counsel; Reviewed E-Mail From Opposing Counsel; Document
1051 11/6/2013       Jason Proctor          0.20     $ 150.00 $           30.00   Management                                                                            0.20       $               - Administrative/Efficiency                       RW
1052 11/6/2013      Christine Stanley       0.30    $ 100.00 $            30.00   Worked on and filed with the court stipulation regarding deadlines.                             $            30.00                                                 TM
1053 11/6/2013        Erika Nusser          0.10    $ 350.00 $            35.00   Emails regarding scheduling deadlines [.1]                                                      $            35.00                                                 TM
                                                                                  Telephone conferences with opposing counsel and co-counsel regarding
1054 11/6/2013       Toby Marshall          0.50    $ 475.00 $           237.50   stipulation to extend deadlines [.3]; worked on same [.2].                                      $           237.50                                                 TM
                                                                                  Reviewed Stipulation & [Proposed] Order Extending Case
                                                                                  Scheduling Deadlines; Reviewed Email & Ecf From Court Clerk;
1055 11/7/2013       Jason Proctor          0.90     $ 150.00 $          135.00   Reviewed Emails From Co-Counsel(3)                                                    0.90       $               - Administrative/Efficiency                       RW
1056 11/7/2013      Christine Stanley       0.20    $ 100.00 $            20.00   Worked on letter to Max Tena.                                                                   $            20.00                                                 TM
                                                                                  Emails regarding trial date [.1]; email to Ms. Laird regarding Comdata's response
1057 11/7/2013        Erika Nusser          0.20    $ 350.00 $            70.00   to subpoena [.1]                                                                                $            70.00                                                 TM

                                                                                  Analyzed issues regarding trial date and email correspondence with co-counsel,
                                                                                  opposing counsel, and court regarding same [.2]; worked on amended stipulation
                                                                                  [.2]; telephone call from opposing counsel regarding same [.3]; worked on
                                                                                  revisions to same [.1]; attempted to contact Mr. Tena by phone and email
1058 11/7/2013       Toby Marshall          0.90    $ 475.00 $           427.50   correspondence with co-counsel regarding same [.1].                                             $           427.50                                                 TM
1059 11/8/2013        Greg Wolk             0.50    $ 425.00 $           212.50   Confer w co-counsel re pushing dates out (.3); review stip (.2)                                 $           212.50                                                 RW
1060 11/8/2013       Hardeep Rekhi          0.30    $ 425.00 $           127.50   Confer w co-counsel re pushing dates out (.3)                                                   $           127.50                                                 RW
                                                                                  Reviewed Amended Stipulation & [Proposed] Order Extending
1061 11/8/2013       Jason Proctor          0.10    $ 150.00 $            15.00   Case Scheduling Deadlines                                                             0.10      $               - Administrative/Efficiency                        RW
                                                                                  Worked on amended stipulation regarding case schedule and filed same with
1062 11/8/2013      Christine Stanley       0.20    $ 100.00 $            20.00   court.                                                                                          $            20.00                                                 TM
                                                                                  Telephone conference with co-counsel regarding case scheduling deadlines and
1063 11/8/2013       Toby Marshall          0.20    $ 475.00 $            95.00   discovery issues [.2].                                                                          $            95.00                                                 TM
1064 11/13/2013       Erika Nusser          0.10    $ 350.00 $            35.00   Email from Ms. Laird regarding Comdata's response to subpoena [.1]                              $            35.00                                                 TM

1065 11/15/2013      Eden Nordby            2.20    $ 150.00 $           330.00 Worked on class notice regarding class certification and exclusion request form.                  $           330.00                                                 TM
1066 11/15/2013      Erika Nusser           0.10    $ 350.00 $            35.00 Emails from and to Ms. Laird regarding subpoena to Comdata [.1]                                   $            35.00                                                 TM
1067 11/18/2013       Greg Wolk             0.30    $ 425.00 $           127.50 Review Order from Judge; confer w co-counsel re discovery                                         $           127.50                                                 RW
                                                                                Reviewed Amended Stipulation & Order Extending Case
                                                                                Scheduling Deadlines; Reviewed Order Denying Plaintiffs'
1068 11/18/2013      Jason Proctor          1.30     $ 150.00 $          195.00 Motion For Reconsideration; Calendared Amended Deadlines                                1.30      $               - Administrative/Efficiency                        RW
1069 11/18/2013      Eden Nordby            0.10    $ 150.00 $            15.00 Worked on docketing.                                                                    0.10      $               - Administrative                                   TM
                                                                                Email to co-counsel regarding cost for Comdata to respond to subpoena [.1];
                                                                                analyzed order denying motion for reconsideration and conference regarding the
1070 11/18/2013       Erika Nusser          0.50    $ 350.00 $           175.00 same and case strategy issues [.4]                                                      0.40      $            35.00 Unsuccessful Claims                             TM
                                                                                Reviewed court's denial of motion to reconsider summary judgment ruling on
                                                                                overtime claim [.1]; analyzed issues regarding same [.2]; reviewed court's order
                                                                                amending case scheduling deadlines and trial date and analyzed issues regarding
1071   11/18/2013   Toby Marshall           0.40    $    475.00    $     190.00 same [.1].                                                                              0.30      $            47.50   Unsuccessful Claims                           TM
1072   11/19/2013   Torrie Marshall         0.10    $    100.00    $      10.00 Worked on docketing.                                                                    0.10       $               -   Administrative                                TM
1073   11/20/2013    Jason Proctor          0.50     $    150.00   $      75.00 Calendared Deadlines                                                                              $            75.00   Admininstrative                               RW
1074   11/20/2013   Torrie Marshall         0.10    $    100.00    $      10.00 Worked on docketing.                                                                    0.10       $               -   Administrative                                TM
                                                                                Worked on class notice form and researched and analyzed issues regarding same
1075 11/30/2013      Toby Marshall          1.10    $ 475.00 $           522.50 [1.0]; worked on exclusion request form [.1].                                                     $           522.50                                                 TM
                                                                                Worked on class notice and exclusion request forms and researched and analyzed
1076 12/1/2013       Toby Marshall          0.50    $ 475.00 $           237.50 issues regarding same [.5].                                                                       $           237.50                                                 TM
1077 12/2/2013        Greg Wolk             0.30    $ 425.00 $           127.50 Review class notice                                                                               $           127.50                                                 RW


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 45
 CASE NO. 2:12-CV-00904-RSL
                                     Case
                                    Case
                                      Case2:18-cv-00681-RAJ
                                         2:12-cv-00904-RSL   Document
                                            2:17-cv-01499 Document
                                                            Document  1 Filed
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         A              B                C         D            E                                              F                                               G                 H                                        I               J
 1      Date       Professional         Units     Price       Value    Narrative                                                                           Writedown       Revised Value                        Writedown Explanation   Firm
                                                                       review newly decided case; review class notice; email correspondence regarding
1078 12/2/2013    Hardeep Rekhi         0.33    $ 425.00 $      141.67 the same                                                                                        $           141.67                                               RW
                                                                       Reviewed Email From Tm Re Exclusion Request Form, & Notice
                                                                       Re Class Certification; Reviewed Fjc Website Re Class Notice
1079 12/2/2013     Jason Proctor        0.30    $ 150.00 $       45.00 Requirements; Reviwed Drafts Of Documents                                             0.30      $                - Administrative/Efficiency                     RW

                                                                       Reviewed class notice documents [.3]; analyzed decision on class certification in
1080 12/2/2013     Erika Nusser         0.50    $ 350.00 $      175.00 similar case involving truck drivers and emails regarding the same [.2]                         $           175.00                                               TM
                                                                       Analyzed issues regarding Swift class certification decision and impact on our
1081 12/2/2013    Toby Marshall         0.10    $ 475.00 $       47.50 case; email correspondence with co-counsel regarding same [.1].                                 $            47.50                                               TM
1082 12/3/2013      Greg Wolk           0.20    $ 425.00 $       85.00 Review class notive revisions                                                                   $            85.00                                               RW
1083 12/3/2013    Hardeep Rekhi         0.10    $ 425.00 $       42.50 review communications from co-counsel                                                           $            42.50                                               RW
                                                                       Reviewed Case Law; Reviewed Email Correspondence Re The
1084 12/3/2013     Jason Proctor        0.40    $ 150.00 $       60.00 Same; Reviewed Email From Tm To Opposing Counsel Re Notices                           0.30      $            15.00 Administrative/Efficiency                     RW

                                                                       Email to opposing counsel regarding draft class notice and exclusion request
1085 12/3/2013    Toby Marshall         0.20    $ 475.00 $       95.00 forms [.1]; analyzed issues regarding creation of of notice website [.1].                       $            95.00                                               TM

1086 12/5/2013     Jason Proctor        0.10    $ 150.00 $       15.00 Reviewed E-Mail From Opposing Counsel Re Draft Notice Re Class Certification          0.10      $                - Administrative/Efficiency                     RW

                                                                       Reviewed defendant's proposed revisions to notice and exclusion request forms
                                                                       and analyzed issues regarding same [.3]; email correspondence with co-counsel
                                                                       regarding same [.1]; worked on additional revisions to notice and exclusion
                                                                       request forms [.4]; email to opposing counsel regarding same [.1]; telephone call
1087 12/6/2013    Toby Marshall         1.00    $ 475.00 $      475.00 from opposing counsel regarding production of damages data [.1].                                $           475.00                                               TM
                                                                       Reviewed Email From Co-Counsel Re Draft Notice Re Class
1088 12/9/2013     Jason Proctor        0.10    $ 150.00 $       15.00 Certification; Document Management                                                    0.10      $                - Administrative/Efficiency                     RW
                                                                       Email to [redacted] requesting [redacted] [.1]; analyzed issues regarding
1089 12/10/2013   Toby Marshall         0.20    $ 475.00 $       95.00 defendant's production of damages data [.1].                                          0.10      $            47.50 Unsuccessful Claims                           TM

1090 12/16/2013     Greg Wolk           0.20    $ 425.00 $        85.00 Telephone conference with co-counsel regarding issues with damages data                        $            85.00                                               RW
                                                                        Reviewed Email From Tm To Opposing Counsel Re Draft Notice Of
                                                                        Class Certification; Reviewed Email Correspondence Between Tm
1091 12/19/2013    Jason Proctor        0.20     $ 150.00 $       30.00 & Opposing Counsel                                                                   0.20       $               - Administrative/Efficiency                     RW
1092 12/19/2013    Eden Nordby          0.20    $ 150.00 $        30.00 Updated production log.                                                                        $            30.00                                               TM
                                                                        Email to opposing counsel regarding status of class notice and exclusion forms
                                                                        [.1]; telephone call from[redacted] regarding [redacted] and email to co-counsel
1093 12/19/2013   Toby Marshall         0.30    $ 475.00 $       142.50 regarding same [.2].                                                                           $           142.50                                               TM
1094 12/20/2013   Toby Marshall         0.20    $ 475.00 $        95.00 Worked on expert issues [.2].                                                                  $            95.00                                               TM
                                                                        Reviewed, revised and finalized stipulation and proposed order regarding class
1095 12/23/2013   Bradford Kinsey       0.60    $ 100.00 $        60.00 notice; assembled exhibits.                                                                    $            60.00                                               TM
                                                                        Telephone conference and email correspondence with opposing counsel
1096 12/23/2013   Toby Marshall         0.30    $ 475.00 $       142.50 regarding notice approval [.1]; worked on same [.2].                                           $           142.50                                               TM
                                                                        Reviewed, revised and finalized stipulation and proposed order regarding class
                                                                        notice; re-assembled exhibits; arranged filing and service; arranged delivery of
1097 12/26/2013   Bradford Kinsey       0.30    $ 100.00 $        30.00 proposed order and exhibits to chambers.                                                       $            30.00                                               TM
                                                                        Worked on stipulation for notice and exclusion forms and email from opposing
                                                                        counsel regarding same [.1]; analyzed damages data and worked on plan for
1098 12/26/2013   Toby Marshall         3.70    $ 475.00 $     1,757.50 having experts calculate damages [3.6].                                              0.90      $         1,330.00 Unsuccessful Claims                           TM
                                                                        Reviewed payroll data and analyzed issues regarding same [1.4]; email to
                                                                        opposing counsel regarding same [.5]; left message with and email to Dr. Munson
1099 12/27/2013   Toby Marshall         2.00    $ 475.00 $       950.00 regarding expert consultation [.1].                                                  0.50      $           712.50 Unsuccessful Claims                           TM
                                                                        Reviewed Stipulation And [Proposed] Order Regarding Class
                                                                        Notice; Reviewed Email From Tm Re Knight Class List And
                                                                        Damages Data Production; Document Management; Reviewed
                                                                        Email Between Tm, Abbott & Munson Re Expert Work; Document
1100 12/30/2013    Jason Proctor        0.80    $ 150.00 $       120.00 Management; Reviewed Tm Email To Opposing Counsel                                    0.80      $                - Administrative/Efficiency                     RW
                                                                        Worked on expert analyses and damages calculations and drafted email to Dr.
1101 12/30/2013   Toby Marshall         0.80    $ 475.00 $       380.00 Munson regarding data for same [.8].                                                 0.20      $           285.00 Unsuccessful Claims                           TM
1102 1/3/2014     Hardeep Rekhi         0.60    $ 425.00 $       255.00 email correspondence with co-counsel; review stip issues                                       $           255.00                                               RW
                                                                        Emails regarding appellate argument on overtime issues in related case [.2];
1103   1/3/2014    Erika Nusser         0.30    $ 350.00 $       105.00 emails regarding discovery issues [.1]                                               0.20      $            35.00 Unsuccessful Claims                           TM

                                                                       Analyzed issues regarding damages data and email correspondence with opposing
                                                                       counsel regarding same [.2]; analyzed issues regarding expert consultation and
1104   1/3/2014   Toby Marshall         0.30    $ 475.00 $      142.50 email correspondence with Dr. Abbott and Dr. Munson regarding same [.1].                        $           142.50                                               TM
1105   1/6/2014   Jason Proctor         0.10     $ 150.00 $      15.00 Reviewed Stipulation & Order Regarding Class Notice                                   0.10       $               - Administrative/Efficiency                     RW

1106   1/6/2014    Erika Nusser         1.80    $ 350.00 $      630.00 Travelled to and from and attended oral agrument in Gordon Trucking case [1.8]        1.80       $               - Relevance                                     TM
1107   1/7/2014   Hardeep Rekhi         0.90    $ 425.00 $      382.50 review discovery                                                                                $           382.50                                               RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 46
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                                       Case
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 1       Date       Professional          Units     Price            Value      Narrative                                                                          Writedown     Revised Value                      Writedown Explanation   Firm
1108   1/7/2014    Hardeep Rekhi          0.50    $ 425.00 $             212.50 review correspondence from co-counsel                                                 0.10     $         170.00 Unsuccessful Claims                         RW
                                                                                Reviewed Email From Opposing Counsel; Reviewed Email From Tm
1109   1/7/2014     Jason Proctor         0.20     $ 150.00 $             30.00 To Opposing Counsel                                                                   0.20      $            - Administrative/Efficiency                    RW
1110   1/7/2014     Eden Nordby           0.20    $ 150.00 $              30.00 Email correspondence regarding class notice mailing.                                           $         30.00                                              TM
                                                                                Emails regarding appellate argument on overtime issue in related case [.3]; emails
1111   1/7/2014      Erika Nusser         0.40    $ 350.00 $             140.00 regarding class notice [.1]                                                           0.30     $         35.00 Relevance                                    TM

                                                                                 Analyzed issues regarding appeal of overtime claim in related case and email
                                                                                 correspondence with co-counsel regarding same [.3]; worked on class notice
                                                                                 issues and email correspondence with opposing counsel regarding same [.4];
1112   1/7/2014     Toby Marshall         0.90    $ 475.00 $            427.50   worked on expert and damage calculation issues [.2].                                 0.30     $        285.00 Relevance                                    TM
1113   1/8/2014     Eden Nordby           0.10    $ 150.00 $             15.00   Worked on docketing.                                                                 0.10      $            - Administrative                               TM
                                                                                 Worked on finalizing class notice and exclusion request; email correspondence
                                                                                 regarding same; worked on class list for notice mailing; drafted email to vendor
1114   1/8/2014      Eden Nordby          1.30    $    150.00    $      195.00   regarding project.                                                                            $        195.00                                              TM
1115   1/8/2014      Erika Nusser         0.20    $    350.00    $       70.00   Emails regarding class notice issues [.2]                                                     $         70.00                                              TM
1116   1/8/2014    Jennifer Boschen       3.10    $    150.00    $      465.00   Worked on class notice website [3.1].                                                         $        465.00                                              TM
1117   1/8/2014     Torrie Marshall       0.10    $    100.00    $       10.00   Worked on docketing.                                                                 0.10      $            - Administrative                               TM
1118   1/9/2014     Hardeep Rekhi         0.20    $    425.00    $       85.00   review correspondence from co-counsel                                                         $         85.00                                              RW
1119   1/9/2014      Eden Nordby          0.20    $    150.00    $       30.00   Email correspondence with vendor regarding notice mailing project.                            $         30.00                                              TM

1120   1/9/2014      Erika Nusser         0.20    $ 350.00 $             70.00 Emails regarding class notices issues [.1]; emails regarding discovery issues [.1]              $         70.00                                              TM
1121   1/9/2014     Toby Marshall         0.10    $ 475.00 $             47.50 Worked on class notice issues [.1].                                                             $         47.50                                              TM
                                                                               Worked on notice website [.1]; worked on class notice issues [.1]; meeting with
                                                                               Mr. Munson regarding factual background issues and damages calculations [2.2];
1122 1/10/2014      Toby Marshall         2.70    $ 475.00 $          1,282.50 worked on same [.3].                                                                   0.60     $        997.50 Unsuccessful Claims                          TM
1123 1/15/2014      Jason Proctor         0.10     $ 150.00 $            15.00 Conferred With Gaw Re Jeremie Moon                                                              $         15.00                                              RW
                                                                               Email correspondence regarding notice mailing; set up notice tracking
1124   1/15/2014    Eden Nordby           0.30    $    150.00    $       45.00 spreadsheet [.3].                                                                               $         45.00                                              TM
1125   1/15/2014     Erika Nusser         0.10    $    350.00    $       35.00 Emails regarding class notice [.1]                                                              $         35.00                                              TM
1126   1/15/2014   Toby Marshall          0.10    $    475.00    $       47.50 Email correspondence with experts regarding damages analyses [.1].                              $         47.50                                              TM
1127   1/16/2014      Greg Wolk           0.20     $    425.00   $       85.00 Confer with co-counsel re damages data                                                          $         85.00                                              RW
1128   1/16/2014   Hardeep Rekhi          1.91    $    425.00    $      811.04 review data                                                                                     $        811.04                                              RW
1129   1/16/2014   Hardeep Rekhi          0.90    $    425.00    $      382.50 reviewed per diem data                                                                          $        382.50                                              RW
1130   1/16/2014   Hardeep Rekhi          0.20     $    425.00   $       85.00 Confer with co-counsel re damages data                                                          $         85.00                                              RW
1131   1/16/2014    Jason Proctor         0.10     $    150.00   $       15.00 Reviewed Email From Tm Re Knight Per Diem Data                                         0.10      $            - Administrative/Efficiency                    RW
1132   1/16/2014     Erika Nusser         0.20    $    350.00    $       70.00 Emails regarding discovery issues [.2]                                                          $         70.00                                              TM

                                                                                 Email correspondence with experts regarding work on damages calculations [.1];
                                                                                 telephone conference with co-counsel regarding issues with damages data [.2];
                                                                                 worked on same [.2]; telephone conference with opposing counsel regarding
1133 1/16/2014      Toby Marshall         1.20    $ 475.00 $            570.00   same, expert disclosure timing, and possibility of settlement negotiations [.7].     0.20     $        475.00 Unsuccessful Claims                          TM
1134 1/17/2014       Erika Nusser         0.20    $ 350.00 $             70.00   Emails regarding discovery issues [.2]                                                        $         70.00                                              TM
                                                                                 Analyzed issues regarding additional data and information produced by Knight
                                                                                 [.1]; email correspondence with expert, co-counsel, and opposing counsel
1135 1/17/2014      Toby Marshall         0.20    $ 475.00 $             95.00   regarding same [.1].                                                                          $         95.00                                              TM
1136 1/20/2014       Greg Wolk            0.20    $ 425.00 $             85.00   Review and reply to emails from co-counsel                                                    $         85.00                                              RW
                                                                                 Prepared for meeting with experts and analyzed issues regarding damages
                                                                                 calculations [.6]; meeting with experts regarding damages calculations and
                                                                                 related issues [2.0]; analyzed issues regarding data and email to opposing counsel
                                                                                 with questions about same [.4]; analyzed issues regarding calculation of regular
1137 1/20/2014     Toby Marshall          3.60    $ 475.00 $          1,710.00   rates of pay [.6].                                                                   0.70     $      1,377.50 Unsuccessful Claims                          TM
1138 1/21/2014     Hardeep Rekhi          0.50    $ 425.00 $            212.50   reviewed spreadsheets from counsel                                                            $        212.50                                              RW
1139 1/21/2014      Jason Proctor         0.20     $ 150.00 $            30.00   Reviewed Email & Spreadsheet From Opposing Counsel                                   0.20      $            - Administrative/Efficiency                    RW
                                                                                 Telephone call from opposing counsel regarding damages data issues [.6]; worked
1140 1/21/2014      Toby Marshall         0.70    $ 475.00 $            332.50   on same [.1].                                                                                 $        332.50                                              TM
1141 1/22/2014     Hannelore Ohaus        0.50    $ 75.00 $              37.50   Ran skip trace searches for class members and remailed class notices.                         $         37.50                                              TM
                                                                                 Telephone conference with Dr. Munson regarding damages calculations and data
1142 1/23/2014      Toby Marshall         0.20    $ 475.00 $             95.00   issues [.2].                                                                                  $         95.00                                              TM
1143 1/24/2014     Hannelore Ohaus        0.60    $ 75.00 $              45.00   Ran skip trace searches for class members and remailed class notices.                         $         45.00                                              TM

1144 1/24/2014      Toby Marshall         0.10    $ 475.00 $             47.50 Telephone conference with Mr. Munson regarding damages calculations [.1].                       $         47.50                                              TM
1145 1/27/2014        Greg Wolk           0.70    $ 425.00 $            297.50 Review per diem support for expert report; review per diem research                             $        297.50                                              RW
1146 1/27/2014     Hannelore Ohaus        2.00    $ 75.00 $             150.00 Ran skip trace searches for class members and remailed class notices.                           $        150.00                                              TM

1147   1/27/2014   Toby Marshall          1.00    $    475.00    $      475.00   Telephone call from Dr. Munson regarding issues with damages data [1.0].             0.30     $        332.50 Unsuccessful Claims                          TM
1148   1/29/2014     Greg Wolk            0.30    $    425.00    $      127.50   review rule re expert reports                                                                 $        127.50                                              RW
1149   1/29/2014   Hardeep Rekhi          0.50    $    425.00    $      212.50   review email correspondence and strategist discovery issues                                   $        212.50                                              RW
1150   1/29/2014    Eden Nordby           0.20    $    150.00    $       30.00   Telephone conference with class member regarding [redacted].                                  $         30.00                                              TM


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
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                                                                            Worked on expert discovery issues [.1]; message from and telephone conferences
                                                                            with Dr. Munson regarding same [.6]; left messages with opposing counsel and
                                                                            Dr. Abbott regarding same [.1]; telephone call from and email correspondence
1151 1/29/2014     Toby Marshall          1.60    $ 475.00 $      760.00    with opposing counsel regarding problems with data [.7]; worked on same [.1].       0.20      $           665.00 Unsuccessful Claims                           TM
                                                                            Review data from expert and respond to co-counsel (.5); telephone call with co-
1152 1/30/2014      Greg Wolk             0.70    $ 425.00 $      297.50    counsel (.2)                                                                        0.20      $           212.50 Unsuccessful Claims                           RW
1153 1/30/2014    Hardeep Rekhi           1.20    $ 425.00 $      510.00    review preliminary expert data; analyze the same                                    0.30      $           382.50 Unsuccessful Claims                           RW
1154 1/30/2014    Hardeep Rekhi           0.20    $ 425.00 $       85.00    telephone call with co-counsel                                                                $            85.00                                               RW
                                                                            Reviewed Deadlines; Reviewed Frcp 26(A)(2); Conferred With
                                                                            HSR & Gaw; Teleconference With Tm; Reviewed Email From Tm
                                                                            Re Preliminary Expert Analysis Of Data Issues & Attached
                                                                            Spreadsheet; Reviewed Email From Gaw Re The Same; Reviewed Email From Tm
1155 1/30/2014     Jason Proctor          0.70    $ 150.00 $      105.00    Re Deadline For Expert Report                                                       0.70      $               - Administrative/Efficiency                      RW
                                                                            Telephone call from co-counsel and email correspondence with co-counsel and
                                                                            opposing counsel regarding data issues and extension to deadline for expert
1156 1/30/2014    Toby Marshall           0.20    $ 475.00 $       95.00    report [.2].                                                                                  $            95.00                                               TM
1157 2/3/2014     Hardeep Rekhi           0.20    $ 425.00 $       85.00    Review communication from co-counsel re expert                                                $            85.00                                               RW
                                                                            Reviewed Email From Tm Re Invoice From Dr. Munson; Reviewed
1158   2/3/2014    Jason Proctor          0.20     $ 150.00 $      30.00    Invoice; Conferred With Gaw Re Invoice                                              0.20       $               - Administrative/Efficiency                     RW
1159   2/4/2014   Hardeep Rekhi           0.20    $ 425.00 $       85.00    Review communication from co-counsel                                                          $            85.00                                               RW
1160   2/7/2014    Eden Nordby            0.20    $ 150.00 $       30.00    Telephone conference with class member regarding [redacted].                                  $            30.00                                               TM

1161 2/10/2014     Toby Marshall          0.40    $ 475.00 $      190.00 Telephone call from opposing counsel regarding issues with damages data [.4].                    $           190.00                                               TM
1162 2/17/2014     Toby Marshall          1.20    $ 475.00 $      570.00 Worked on damages and case strategy issues [1.2].                                      0.20      $           475.00 Unsuccessful Claims                           TM

1163 2/18/2014    Hardeep Rekhi           0.48    $ 425.00 $      205.42 review correspondence from opposing counsel; follow up regarding the same                        $           205.42                                               RW
                                                                         Telephone call from opposing counsel regarding status of damages calculations
1164 2/18/2014     Toby Marshall          0.20    $ 475.00 $       95.00 and data issues [.2].                                                                            $            95.00                                               TM
1165 2/19/2014      Greg Wolk             1.10    $ 425.00 $      467.50 confer w co-counsel & HSR re next steps on discovery                                             $           467.50                                               RW
1166 2/19/2014     Hardeep Rekhi          1.10    $ 425.00 $      467.50 confer w co-counsel & HSR re next steps on discovery                                             $           467.50                                               RW
                                                                         Telephone conference with Dr. Munson regarding damages analyses and data
                                                                         issues [.6]; worked on same [.1]; telephone conference with co-counsel regarding
                                                                         issues with damages data, discovery, and case strategy [.9]; worked on expert
1167 2/19/2014     Toby Marshall          1.70    $ 475.00 $      807.50 issues [.1].                                                                           0.30      $           665.00 Unsuccessful Claims                           TM
                                                                         Review email from co-counsel; review various issues related to expert; review
1168 2/24/2014    Hardeep Rekhi           0.50    $ 425.00 $      212.50 client docs related to same                                                            0.10      $           170.00 Unsuccessful Claims                           RW

                                                                            Email correspondence with Mr. Head regarding expert declaration [.1]; telephone
                                                                            conference with Dr. Munson regarding damages data and analyses [.4];
                                                                            researched and analyzed issues regarding same [1.3]; left message with opposing
                                                                            counsel regarding status of expert report [.1]; telephone call from Mr. Head
1169 2/24/2014    Toby Marshall           2.30    $ 475.00 $     1,092.50   regarding expert report and additional discovery [.4].                              0.40      $           902.50 Unsuccessful Claims                           TM
1170 2/25/2014      Greg Wolk             0.50    $ 425.00 $       212.50   review Head report and draft discovery                                                        $           212.50                                               RW
1171 2/25/2014    Hardeep Rekhi           0.30    $ 425.00 $       127.50   reviewed Discovery                                                                            $           127.50                                               RW
                                                                            Reviewed Email From Tm Re Knight Data Plots; Document
                                                                            Management; Reviewed Expert Report Of Rick Head; Reviewed
                                                                            Pls' First Rfas To Defendant; Reviewed Pls' Third Rfps To
1172 2/25/2014     Jason Proctor          0.70    $ 150.00 $      105.00    Defendant                                                                           0.70      $               - Administrative/Efficiency                      RW

1173 2/25/2014    Christine Stanley       1.80    $ 100.00 $      180.00 Worked on requests for production and requests for admission to defendant.                       $           180.00                                               TM

1174 2/25/2014      Erika Nusser          0.70    $ 350.00 $      245.00 Analyzed discovery requests and expert report and emails regarding the same[.7]        0.20      $           175.00 Unsuccessful Claims                           TM

                                                                         Worked on discovery requests to Knight regarding tax, financial, and accounting
                                                                         records [.4]; worked on requests for admission to Knight regarding records of
                                                                         hours worked and researched and analyzed issues regarding same [.4]; worked on
                                                                         expert report of Mr. Head [.4]; telephone call from opposing counsel regarding
1175 2/25/2014     Toby Marshall          1.70    $ 475.00 $      807.50 damages data and settlement negotiations [.4]; worked on same [.1].                              $           807.50                                               TM
1176 2/26/2014      Greg Wolk             0.30    $ 425.00 $      127.50 review draft discovery                                                                           $           127.50                                               RW

1177 2/26/2014     Hardeep Rekhi          0.75    $ 425.00 $      318.75 Review discovery issues and draft regarding RFAs; teleconference with co-counsel                 $           318.75                                               RW
1178 2/26/2014    Christine Stanley       0.40    $ 100.00 $       40.00 Worked on discovery responses to defendants.                                                     $            40.00                                               TM
1179 2/26/2014      Erika Nusser          0.20    $ 350.00 $       70.00 Emails regarding discovery requests [.2]                                                         $            70.00                                               TM
                                                                         Worked on expert report and email correspondence with Mr. Head and co-
                                                                         counsel regarding same [.2]; worked on requests for admission and email
                                                                         correspondence with co-counsel regarding same [.4]; telephone call from Mr.
                                                                         Rekhi regarding same and settlement issues [.3]; reviewed data on orientation
                                                                         pay and email correspondence with Dr. Munson and co-counsel regarding same
1180 2/26/2014     Toby Marshall          1.10    $ 475.00 $      522.50 [.2].                                                                                            $           522.50                                               TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
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 1     Date         Professional           Units     Price            Value     Narrative                                                                            Writedown    Revised Value                          Writedown Explanation   Firm
1181 2/27/2014     Hardeep Rekhi           0.20    $ 425.00 $             85.00 reviewed emails from co-counsel                                                                  $         85.00                                                 RW
                                                                                Reviewed Email From Co-Counsel; Document Management;
                                                                                Calendared Deadlines; Emailed Co-Counsel; Reviewed Email From
1182 2/27/2014      Jason Proctor          0.30    $ 150.00 $             45.00 Co-Counsel                                                                             0.30      $            - Administrative/Efficiency                        RW
                                                                                Worked on discovery requests to defendant Knight Transportation, Inc.; worked
1183 2/27/2014     Christine Stanley       0.70    $ 100.00 $             70.00 on Mr. Head's expert report.                                                                     $         70.00                                                 TM
1184 2/27/2014      Eden Nordby            0.40    $ 150.00 $             60.00 Forwarded case documents to Rick Head.                                                           $         60.00                                                 TM

                                                                                  Telephone conference with Dr. Munson regarding damages data and calculations
                                                                                  [.8]; analyzed issues regarding same and effect of delay on case schedule [.2];
                                                                                  email correspondence with Dr. Munson regarding damages data [.1]; left message
                                                                                  with Mr. Beane regarding expert reports [.1]; left message with Mr. Head
                                                                                  regarding expert report [.1]; telephone call from Mr. Head regarding same [.1];
1185   2/27/2014   Toby Marshall           1.50    $    475.00    $      712.50   worked on Mr. Head's declaration [.1].                                               0.30      $       570.00 Unsuccessful Claims                              TM
1186   2/27/2014   Torrie Marshall         0.10    $    100.00    $       10.00   Worked on docketing.                                                                 0.10       $           - Administrative                                   TM
1187   2/28/2014    Eden Nordby            0.20    $    150.00    $       30.00   Worked on docketing.                                                                 0.20       $           - Administrative                                   TM
1188   2/28/2014   Toby Marshall           0.20    $    475.00    $       95.00   Telephone call from Dr. Munson regarding damages analyses [.2].                                $        95.00                                                  TM
                                                                                  Telephone call from opposing counsel regarding expert, case deadline, and
1189   3/3/2014    Toby Marshall           0.60    $    475.00    $      285.00   settlement issues [.4]; worked on same [.2].                                                   $       285.00                                                  TM
1190   3/3/2014    Torrie Marshall         0.10    $    100.00    $       10.00   Worked on docketing.                                                                 0.10       $           - Administrative                                   TM
1191   3/4/2014    Rachel Hoover           0.10    $    150.00    $       15.00   Worked on docketing.                                                                 0.10       $           - Administrative                                   TM
1192   3/5/2014    Toby Marshall           1.00    $    475.00    $      475.00   Meeting with damages expert regarding data and calculations [1.0].                   0.30      $       332.50 Unsuccessful Claims                              TM
                                                                                  Telephone conference with Dr. Munson regarding damages calculations [.5]; left
1193 3/11/2014      Toby Marshall          0.60    $ 475.00 $            285.00   message with Dr. Abbott regarding expert report [.1].                                0.20      $       190.00 Unsuccessful Claims                              TM

                                                                                  Reviewed preliminary results from damages calculations and analyzed issues
                                                                                  regarding same [.8]; telephone conference with Dr. Munson regarding same [.3];
1194 3/12/2014      Toby Marshall          1.60    $ 475.00 $            760.00   reviewed materials regarding hours spent in orientation [.5].                        0.30      $       617.50 Unsuccessful Claims                              TM
                                                                                  Worked on damages issues [.3]; telephone conferences with Dr. Munson
1195   3/13/2014    Toby Marshall          1.10    $    475.00    $      522.50   regarding same [.8].                                                                 0.30      $       380.00    Unsuccessful Claims                           TM
1196   3/14/2014      Greg Wolk            0.60    $    425.00    $      255.00   confer w co-counsel re experts                                                       0.20      $       170.00    Unsuccessful Claims                           RW
1197   3/14/2014    Hardeep Rekhi          0.60    $    425.00    $      255.00   confer w co-counsel re experts                                                       0.20      $       170.00    Unsuccessful Claims                           RW
1198   3/14/2014    Jason Proctor          0.10     $    150.00   $       15.00   Conferred With HSR & Gaw Re Deadline For Experts                                     0.10       $           -    Administrative/Efficiency                     RW

                                                                                  Prepared for and met with experts regarding damages calculations [1.5]; analyzed
                                                                                  issues regarding case scheduling and left message with opposing counsel
                                                                                  regarding same [.2]; telephone call from opposing counsel regarding same [.1];
                                                                                  telephone conferences with co-counsel regarding damages calculations and case
1199 3/14/2014      Toby Marshall          2.30    $ 475.00 $          1,092.50   scheduling issues [.3]; worked on same [.2].                                         0.40      $       902.50 Unsuccessful Claims                              TM
                                                                                  Reviewed Email From Jeff Munson Re Knight Damages Draft &
                                                                                  Knight Plots; Document Management; Conferred With Gaw Re
1200 3/17/2014      Jason Proctor          0.20    $ 150.00 $             30.00   Expert                                                                               0.20      $            - Administrative/Efficiency                        RW
                                                                                  Telephone call from Dr. Munson regarding latest calculations [.1]; reviewed data
1201 3/17/2014      Toby Marshall          0.20    $ 475.00 $             95.00   analysis plots [.1].                                                                           $         95.00                                                 TM
                                                                                  Telephone calls from opposing counsel regarding expert issues and scheduling
                                                                                  deadlines [.5]; telephone call from Dr. Munson regarding damages data and
1202 3/18/2014      Toby Marshall          1.50    $ 475.00 $            712.50   calculations [1.0].                                                                  0.30      $       570.00 Unsuccessful Claims                              TM
1203 3/19/2014       Greg Wolk             0.20    $ 425.00 $             85.00   review stip and approve                                                                        $        85.00                                                  RW
                                                                                  Reviewed Email From Tm; Reviewed Stipulation And Proposed
                                                                                  Order To Extend Certain Case Schedule; Reviewed Email From
                                                                                  Tm Re Expert & Most Recent Plots; Document Management;
1204 3/19/2014      Jason Proctor          0.40    $ 150.00 $             60.00   Reviewed Gaw Email To Tm                                                             0.40      $            - Administrative/Efficiency                        RW

1205 3/19/2014       Erika Nusser          0.30    $ 350.00 $            105.00 Analyzed stipulation to extend case schedule and emails regarding the same [.3]                  $       105.00                                                  TM
                                                                                Analyzed issues regarding and worked on stipulation to extend certain case
                                                                                schedule deadlines [.4]; file management and email correspondence with co-
1206 3/19/2014      Toby Marshall          0.50    $ 475.00 $            237.50 counsel regarding damages calculations [.1].                                                     $       237.50                                                  TM
                                                                                Reviewed Gaw Email To Tm Re Expert Plots; Reviewed Email
                                                                                From Tm To Opposing Counsel Re Stip. To Extend Expert
                                                                                Discovery & Msj Deadlines; Reviewed Draft Stipulation And
1207 3/20/2014      Jason Proctor          0.20    $ 150.00 $             30.00 Proposed Order To Extend Certain Case Schedule                                         0.20      $            - Administrative/Efficiency                        RW

                                                                                Telephone call from Dr. Munson regarding damages data and calculations [1.0];
                                                                                researched and analyzed issues regarding hours of service and email to Dr.
                                                                                Munson regarding cap on weekly hours [.3]; email correspondence with opposing
1208 3/20/2014      Toby Marshall          1.40    $ 475.00 $            665.00 counsel regarding extension of certain deadlines [.1].                                 0.40      $       475.00 Unsuccessful Claims                              TM
                                                                                Telephone conference with Dr. Munson regarding damages analyses and
1209 3/21/2014      Toby Marshall          1.40    $ 475.00 $            665.00 calculations [.8]; worked on same [.6].                                                0.30      $       522.50                                                  TM
1210 3/24/2014     Christine Stanley       0.30    $ 100.00 $             30.00 Worked on stipulation in regard to deadlines.                                                    $        30.00                                                  TM


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 49
 CASE NO. 2:12-CV-00904-RSL
                                     Case
                                    Case
                                      Case2:18-cv-00681-RAJ
                                         2:12-cv-00904-RSL   Document
                                            2:17-cv-01499 Document
                                                            Document  1 Filed
                                                                   1-12
                                                                     193-1
                                                                         Filed 05/10/18
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         A              B                C            D              E                                                   F                                              G                 H                                        I               J
 1      Date       Professional         Units        Price         Value       Narrative                                                                            Writedown       Revised Value                        Writedown Explanation   Firm
                                                                               Meeting with Dr. Abbott and Dr. Munson regarding damages data, damages
1211 3/24/2014    Toby Marshall         3.70    $ 475.00 $          1,757.50   calculations, and expert report [1.9]; worked on same [1.8].                           0.90      $         1,330.00 Unsuccessful Claims                           TM
                                                                               Telephone conference with potential class member; email correspondence to
1212 3/25/2014     Eden Nordby          0.40    $ 150.00 $            60.00    attorney regarding same.                                                                         $            60.00                                               TM
1213 3/25/2014     Erika Nusser         0.10    $ 350.00 $            35.00    Emails regarding potential class member [.1]                                                     $            35.00                                               TM
                                                                               Telephone conference with Dr. Munson regarding damages data and calculations
                                                                               [.4]; worked on expert report [5.8]; telephone call from Dr. Munson regarding
1214 3/25/2014    Toby Marshall         6.40    $ 475.00 $          3,040.00   same [.2].                                                                             1.60      $         2,280.00 Unsuccessful Claims                           TM
1215 3/26/2014     Greg Wolk            1.10    $ 425.00 $            467.50   confer w co-counsel (.3); review and revise expert draft report (.8)                   0.20      $           382.50 Unsuccessful Claims                           RW
                                                                               Discussion w/ cocounsel re damages; review damages documents regarding the
1216 3/26/2014    Hardeep Rekhi         1.00    $ 425.00 $           425.00    same;                                                                                  0.30      $           297.50 Unsuccessful Claims                           RW
                                                                               Reviewed Email Between Opposing Counsel & Tm Re Stipulation;
                                                                               Document Management; Reviewed Stipulation & [Proposed]
                                                                               Order Extending Certain Case Schedule Deadlines; Reviewed
                                                                               Email Between Gaw & Tm Re Expert Report & Damages
                                                                               Calculation; Document Management; Teleconference With Tm;
1217 3/26/2014    Jason Proctor         0.50     $ 150.00 $           75.00    Reviewed Email From Gaw To Tm Re Revisions                                             0.50       $               - Administrative/Efficiency                     RW
1218 3/26/2014     Erika Nusser         0.90    $ 350.00 $           315.00    Analyzed expert report and emails regarding the same [.9]                              0.20      $           245.00 Unsuccessful Claims                           TM

                                                                               Worked on expert report and email correspondence with experts regarding same
                                                                               [.8]; email to co-counsel regarding same [.2]; telephone conferences with co-
                                                                               counsel regarding same [.5]; worked on revisions to expert report [.4]; telephone
                                                                               conference with Dr. Munson regarding same [.1]; telephone call from Dr. Abbott
                                                                               regarding same [.2]; finalized report and related materials and email to opposing
1219 3/26/2014    Toby Marshall         2.70    $ 475.00 $          1,282.50   counsel regarding same [.5].                                                           0.70      $           950.00 Unsuccessful Claims                           TM
1220 3/28/2014    Eden Nordby           0.10    $ 150.00 $             15.00   Worked on docketing.                                                                   0.10       $               - Administrative                                TM
                                                                               Reviewed Email From Tm To Opposing Counsel Re Expert Report
                                                                               Of Dr. Robert Abbott; Document Management; Reviewed
                                                                               Stipulation & Order Extending Certain Case Schedule
1221 3/31/2014     Jason Proctor        0.40     $ 150.00 $           60.00    Deadlines; Calendared                                                                  0.40      $                - Administrative/Efficiency                     RW
1222 3/31/2014    Torrie Marshall       0.10    $ 100.00 $            10.00    Worked on docketing.                                                                   0.10      $                - Administrative                                TM
                                                                               Document Management; Reviewed Defendant'S Responses &
                                                                               Objections To Plaintiffs' First Set Of Rfas; Conferred With HSR Re
                                                                               Def0010763-Def0149538; Reviewed Defendant'S Responses &
1223   4/1/2014   Jason Proctor         0.50     $ 150.00 $           75.00    Objections To Plaintiffs' Third Set Of Rfps                                            0.50       $               - Administrative/Efficiency                     RW
1224   4/1/2014   Eden Nordby           0.50    $ 150.00 $            75.00    Worked on issues regarding Defendant's document production.                                      $            75.00                                               TM
1225   4/1/2014    Erika Nusser         0.10    $ 350.00 $            35.00    Emails regarding discovery issues [.1]                                                           $            35.00                                               TM
                                                                               Analyzed issues regarding Knight's responses to RFAs and email correspondence
                                                                               with co-counsel regarding same [.1]; worked on document management issues
1226 4/1/2014     Toby Marshall         0.20    $    475.00    $      95.00    [.1].                                                                                            $            95.00                                               TM
1227 4/3/2014     Jason Proctor         0.20     $    150.00   $      30.00    Reviewed Email From Co-Counsel; Document Management                                    0.20       $               - Administrative/Efficiency                     RW
1228 4/3/2014     Eden Nordby           0.20    $    150.00    $      30.00    Forwarded Defendant's document production to co-counsel.                                         $            30.00                                               TM
1229 4/10/2014      Greg Wolk           0.20     $    425.00   $      85.00    confer with co-counsel re case strategy                                                          $            85.00                                               RW
1230 4/10/2014      Greg Wolk           0.20     $    425.00   $      85.00    confer with co-counsel re case strategy                                                          $            85.00                                               RW

1231 4/10/2014    Toby Marshall         0.20    $ 475.00 $            95.00 Telephone conference with co-counsel regarding case strategy issues [.2].                           $            95.00                                               TM
                                                                            Reviewed Email From Tm Re Expert Invoice; Reviewed Invoice;
                                                                            Document Management; Reviewed Tm Email To Opposing
1232 4/14/2014    Jason Proctor         0.20    $ 150.00 $            30.00 Counsel Re Dennis Lopez                                                                   0.20      $                - Administrative/Efficiency                     RW

                                                                               Email correspondence with opposing counsel regarding status of individual left off
1233 4/14/2014    Toby Marshall         0.20    $ 475.00 $            95.00    of class list [.1]; worked on document management issues [.1].                                   $            95.00                                               TM
                                                                               Reviewed Emails Between Tm And HSR, Gaw & Opposing
1234 4/18/2014    Jason Proctor         0.20     $ 150.00 $           30.00    Counsel Re Teleconference On Monday; Calendared                                        0.20       $               - Administrative/Efficiency                     RW
1235 4/18/2014     Erika Nusser         0.10    $ 350.00 $            35.00    Emails regarding discovery scheduling [.1]                                                       $            35.00                                               TM
                                                                               Email from opposing counsel regarding expert deposition and email
                                                                               correspondence with co-counsel regarding same [.1]; worked on discovery issues
1236 4/18/2014    Toby Marshall         0.20    $ 475.00 $            95.00    [.1].                                                                                            $            95.00                                               TM
1237 4/21/2014      Greg Wolk           0.40    $ 425.00 $           170.00    T/C w counsel re expert dep                                                            0.10      $           127.50 Unsuccessful Claims                           RW
1238 4/21/2014    Hardeep Rekhi         0.33    $ 425.00 $           141.67    Teleconference with co-counsel and opposing counsel                                              $           141.67                                               RW
                                                                               Reviewed Emails Re Conference Call; Conferred With Gaw Re
1239 4/21/2014    Jason Proctor         0.20    $ 150.00 $            30.00    The Same; Reviewed Email From Tm Re Expert Invoice                                     0.20      $                - Administrative/Efficiency                     RW
                                                                               Prepared for telephone conference with opposing counsel regarding experts and
                                                                               settlement negotiations [.1]; participated in same [.3]; telephone conference with
1240 4/21/2014    Toby Marshall         0.60    $ 475.00 $           285.00    co-counsel regarding same [.2].                                                                  $           285.00                                               TM

                                                                            Left message with and email to Dr. Abbott regarding deposition dates [.1];
                                                                            analyzed issues regarding damages calculations for payroll card advance
                                                                            deductions [.3]; telephone conference with Dr. Munson regarding same [.1];
1241 4/22/2014    Toby Marshall         0.60    $ 475.00 $           285.00 telephone call from Dr. Abbott regarding deposition and expert issues [.1].                         $           285.00                                               TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 50
CASE NO. 2:12-CV-00904-RSL
                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
                                                              Document  1 Filed
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         A               B                  C       D                  E                                            F                                                     G             H                                         I               J
 1     Date        Professional           Units    Price             Value      Narrative                                                                             Writedown   Revised Value                         Writedown Explanation   Firm
1242 4/23/2014     Jason Proctor          0.10    $ 150.00 $             15.00 Reviewed Email From Tm Re Expert Deposition                                               0.10     $            - Administrative/Efficiency                      RW
                                                                                Reviewed Email From Tm To Opposing Counsel Re Deposition;
1243 4/24/2014     Jason Proctor          0.10     $ 150.00 $            15.00 Calendared                                                                               0.10      $            - Administrative/Efficiency                      RW
1244 4/24/2014    Hannelore Ohaus         0.10    $ 75.00 $                7.50 Worked on docketing.                                                                    0.10      $            - Administrative                                 TM

                                                                                 Email correspondence with opposing counsel and Dr. Abbott regarding deposition
                                                                                 of Dr. Abbott [.1]; analyzed issues regarding same [.1]; telephone conference with
                                                                                 Dr. Munson regarding preparation for deposition and issues with payroll advance
1245 4/24/2014     Toby Marshall          0.40    $ 475.00 $            190.00   deduction calculations [.1]; worked on same [.1].                                                $       190.00                                                TM
                                                                                 Reviewed Emails Between HSR & Tm Re Prep Abbott;
1246 4/25/2014     Jason Proctor          0.20    $ 150.00 $             30.00   Calendared                                                                             0.20      $            - Administrative/Efficiency                      RW
                                                                                 Email correspondence with experts regarding scheduling issues [.1]; email
                                                                                 correspondence with co-counsel regarding case strategy and settlement issues
1247 4/25/2014    Toby Marshall           0.20    $ 475.00 $             95.00   [.1].                                                                                            $        95.00                                                TM
1248 4/25/2014    Torrie Marshall         0.10    $ 100.00 $             10.00   Worked on docketing.                                                                   0.10       $           - Administrative                                 TM
                                                                                 Ran calculations for purposes of explaning recovery versus actual damages and
1249 4/25/2014    Toby Marshall           0.50      $475.00 $           237.50   interest in motion for preliminary approval [.5].                                                $       237.50                                                TM
1250 4/28/2014    Hardeep Rekhi           0.30    $ 425.00 $            127.50   review notice of dep                                                                             $       127.50                                                RW
                                                                                 Reviewed subpoena duces tecum to Dr. Abbott and analyzed issues regarding
1251 4/28/2014    Toby Marshall           0.40    $    475.00    $      190.00   same [.4].                                                                                       $       190.00                                                TM
1252 4/29/2014     Jason Proctor          0.10     $    150.00   $       15.00   Reviewed Notice Of Deposition; Document Management                                     0.10       $           - Administrative/Efficiency                      RW
1253 5/1/2014        Greg Wolk            0.20    $    425.00    $       85.00   review objections re expert deposition notice                                                    $        85.00                                                RW
1254 5/1/2014     Hardeep Rekhi           0.10    $    425.00    $       42.50   review objections                                                                                $        42.50                                                RW
                                                                                 Reviewed Email From Tm Re Objections And Responses To
                                                                                 Document Requests In Abbott Dep Notice; Reviewed Plaintiffs’
                                                                                 Objections And Responses To Notice Of Deposition Of Dr.
                                                                                 Robert Abbott; Reviewed Email From HSR Re The Same;
1255   5/1/2014    Jason Proctor          0.40     $ 150.00 $            60.00   Reviewed Email From Gaw                                                                0.40       $           - Administrative/Efficiency                      RW
1256   5/1/2014   Christine Stanley       0.20    $ 100.00 $             20.00   Worked on objections to the deposition notice of Dr. Abbott.                                     $        20.00                                                TM

                                                                                 Analyzed issues regarding data and damages calculations for expert reports [.5];
                                                                                 telephone conferences with Dr. Munson regarding same [.7]; researched and
                                                                                 analyzed issues regarding document requests in notice of deposition of Dr. Abbott
                                                                                 [.8]; worked on objections and responses to same [1.0]; left message with Dr.
1257   5/1/2014   Toby Marshall           3.20    $ 475.00 $          1,520.00   Abbott regarding same [.1]; telephone call from Dr. Abbott regarding same [.1].        0.30      $     1,377.50 Unsuccessful Claims                            TM
1258   5/2/2014   Hardeep Rekhi           0.50    $ 425.00 $            212.50   Review various emails from opposing counsel and co counsel                                       $       212.50                                                RW
                                                                                 Analyzed issues regarding expert report and damages calculations and prepared
1259   5/2/2014   Toby Marshall           2.00    $    475.00    $      950.00   for meeting with experts in preparation for deposition [2.0].                          0.50      $       712.50   Unsuccessful Claims                          TM
1260   5/3/2014     Greg Wolk             4.40    $    425.00    $    1,870.00   expert deposition prep                                                                 1.10      $     1,402.50   Unsuccessful Claims                          RW
1261   5/3/2014   Hardeep Rekhi           0.50    $    425.00    $      212.50   Dep prep                                                                               0.10      $       170.00   Unsuccessful Claims                          RW
1262   5/3/2014   Hardeep Rekhi           3.91    $    425.00    $    1,660.45   Dep prep of Expert witness                                                             1.00      $     1,235.45   Unsuccessful Claims                          RW
1263   5/3/2014   Hardeep Rekhi           2.04    $    425.00    $      868.42   Dep prep of Expert witness                                                             0.50      $       655.92   Unsuccessful Claims                          RW

                                                                               Meeting with Dr. Abbott, Dr. Munson, and co-counsel regarding amended report
                                                                               and preparation for deposition [4.0]; worked on amended report [1.5]; telephone
1264   5/3/2014   Toby Marshall           5.60    $ 475.00 $          2,660.00 call from Dr. Abbott regarding same [.1].                                                1.40      $     1,995.00 Unsuccessful Claims                            TM
1265   5/5/2014   Hardeep Rekhi           8.00    $ 425.00 $          3,400.00 Dep of Expert witness                                                                    2.00      $     2,550.00 Unsuccessful Claims                            RW

                                                                               Prepared for, traveled to, and defended deposition of Dr. Abbott and meetings
1266   5/5/2014    Toby Marshall          8.20    $ 475.00 $          3,895.00 with Dr. Abbott, Dr. Munson, and co-counsel regarding same [8.2].                        2.00      $     2,945.00 Unsuccessful Claims                            TM
                                                                               follow up on outstanding issues related to deposition and discovery and expert
1267   5/6/2014   Hardeep Rekhi           0.50    $ 425.00 $            212.50 report                                                                                   0.10      $       170.00 Unsuccessful Claims                            RW
                                                                               Worked on case strategy issues [.1]; worked on amendments to damages
1268   5/6/2014    Toby Marshall          1.20    $ 475.00 $            570.00 calculations [.6]; telephone call from Dr. Munson regarding same [.5].                   0.30      $       427.50 Unsuccessful Claims                            TM
                                                                               Reviewed Email From Tm Re Abbott Invoice; Reviewed Invoice;
1269   5/7/2014    Jason Proctor          0.10    $ 150.00 $             15.00 Document Management                                                                      0.10      $            - Administrative/Efficiency                      RW
                                                                               Researched and analyzed issues regarding compensation for time expert spends
                                                                               preparing for deposition [.2]; email correspondence with opposing counsel
                                                                               regarding expert fees, amended expert report, and extension on rebuttal report
1270   5/7/2014    Toby Marshall          0.30    $ 475.00 $            142.50 [.1].                                                                                              $       142.50                                                TM
                                                                               Reviewed Email From From Tm & Jeff Munson Re
                                                                               Updated/Amended Report; Document Management; Reviewed
1271   5/9/2014    Jason Proctor          0.20    $ 150.00 $             30.00 Email From Eric Beane Re Dennis Lopez                                                    0.20      $            - Administrative/Efficiency                      RW
                                                                               Telephone call from Dr. Munson regarding revised damages analyses and
                                                                               calculations [1.2]; worked on second amended expert report [1.4]; email
1272   5/9/2014    Toby Marshall          2.70    $ 475.00 $          1,282.50 correspondence with Dr. Munson and Dr. Abbott regarding same [.1].                       0.70      $       950.00 Unsuccessful Claims                            TM

                                                                               Telephone conference with Dr. Abbott regarding second amended expert report
                                                                               [.3]; worked on finalizing second amended expert report of Dr. Abbott and
1273 5/10/2014     Toby Marshall          1.20    $ 475.00 $            570.00 documents supporting same [.7]; email to opposing counsel regarding same [.2].           0.30      $       427.50 Unsuccessful Claims                            TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 51
CASE NO. 2:12-CV-00904-RSL
                                     Case
                                    Case
                                      Case2:18-cv-00681-RAJ
                                         2:12-cv-00904-RSL   Document
                                            2:17-cv-01499 Document
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         A               B                C        D                 E                                                     F                                        G               H                                       I               J
 1     Date         Professional        Units     Price            Value        Narrative                                                                       Writedown     Revised Value                       Writedown Explanation   Firm
1274 5/12/2014       Greg Wolk          0.40    $ 425.00 $             170.00   review settlement offer (.2); confer with co-counsel (.2)                                   $         170.00                                              RW
1275 5/12/2014     Hardeep Rekhi        0.50    $ 425.00 $             212.50   Review Settlement issues                                                                    $         212.50                                              RW
1276 5/12/2014     Hardeep Rekhi        0.20    $ 425.00 $              85.00   confer with co-counsel                                                                      $          85.00                                              RW
                                                                                Reviewed Email From Tm Re Settlement(2); Document
                                                                                Management; Calculated Fees & Costs; Reviewed Email From Tm
                                                                                Re Second Amended Report Of Dr. Abbott; Conferred With HSR &
1277 5/12/2014     Jason Proctor        1.10     $ 150.00 $           165.00    Gaw Re Fees & Costs                                                               1.10       $            - Administrative/Efficiency                     RW
1278 5/12/2014      Erika Nusser        0.20    $ 350.00 $             70.00    Emails regarding settlement issues [.2]                                                     $         70.00                                               TM
                                                                                Worked on settlement analysis and prepared spreadsheet regarding same [2.0];
                                                                                telephone call from and email correspondence with co-counsel regarding same
1279   5/12/2014   Toby Marshall        2.20    $    475.00    $    1,045.00    [.2].                                                                                       $      1,045.00                                               TM
1280   5/13/2014    Erika Nusser        0.20    $    350.00    $       70.00    Emails regading settlement issues [.2]                                                      $         70.00                                               TM
1281   5/13/2014   Toby Marshall        0.20    $    475.00    $       95.00    Worked on settlement strategy issues [.2].                                                  $         95.00                                               TM
1282   5/14/2014   Hardeep Rekhi        0.15    $    425.00    $       64.46    Telephone calls to clients; email client; email co-counsel                                  $         64.46                                               RW
1283   5/14/2014   Hardeep Rekhi        0.17    $    425.00    $       72.13    Telephone calls to clients; email client; email co-counsel                                  $         72.13                                               RW
1284   5/14/2014   Hardeep Rekhi        0.13    $    425.00    $       56.67    Telephone calls to clients; email client; email co-counsel                                  $         56.67                                               RW

                                                                             Reviewed Email From Tm Re Settlement Offer; Reviewed Email
                                                                             From HSR Re The Same; Conferred With HSR Re Settlement;
1285 5/14/2014     Jason Proctor        0.30    $ 150.00 $             45.00 Reviewed Email From HSR Re Calling Clients; Conferred With HSR Re The Same           0.30      $             - Administrative/Efficiency                     RW
                                                                             Email correspondence with opposing counsel regarding extension of expert
1286 5/14/2014     Toby Marshall        0.10    $ 475.00 $             47.50 rebuttal report deadline [.1].                                                                 $         47.50                                               TM
1287 5/15/2014     Hardeep Rekhi        0.10    $ 425.00 $             42.50 Telephone calls to clients; email client; email co-counsel                                     $         42.50                                               RW
1288 5/15/2014      Jason Proctor       0.20     $ 150.00 $            30.00 Telecoference With Kevin Helde; Teleconference With Max Tena                                   $         30.00                                               RW
                                                                             Email correspondence with co-counsel regarding communications with clients
1289 5/15/2014     Toby Marshall        0.10    $ 475.00 $             47.50 about settlement issues [.1].                                                                  $         47.50                                               TM
                                                                             Reviewed Emails Between Tm & Opposing Counsel Re Knight'S
                                                                             Rebuttal Report; Reviewed Emails Between HSR & Tm Re
1290 5/16/2014     Jason Proctor        0.20    $ 150.00 $             30.00 Settlement                                                                           0.20       $            - Administrative/Efficiency                     RW
1291 5/19/2014       Greg Wolk          0.10    $ 425.00 $             42.50 review settlement offer                                                                        $         42.50                                               RW
                                                                             Reviewed Email From Tm Re Jeff Munson Invoice; Reviewed
1292 5/19/2014     Jason Proctor        0.10     $ 150.00 $            15.00 Invoice                                                                              0.10       $            - Administrative/Efficiency                     RW
1293 5/19/2014      Erika Nusser        0.20    $ 350.00 $             70.00 Emails regarding settlement offer [.2]                                                         $         70.00                                               TM
                                                                             Worked on settlement proposal and email correspondence with co-counsel and
1294 5/19/2014     Toby Marshall        1.00    $ 475.00 $            475.00 opposing counsel regarding same [1.0].                                                         $        475.00                                               TM
1295 5/20/2014       Greg Wolk          0.30    $ 425.00 $            127.50 review report by opp expert                                                                    $        127.50                                               RW
1296 5/20/2014     Jason Proctor        0.10     $ 150.00 $            15.00 Reviewed Email From Tm, HSR & Gaw Re Settlement Offer                                0.10       $            - Administrative/Efficiency                     RW

1297 5/20/2014     Toby Marshall        0.60    $ 475.00 $            285.00 Reviewed rebuttal report of Ms. Kwan and analyzed issues regarding same [.6].                  $        285.00                                               TM
1298 5/21/2014      Greg Wolk           1.00    $ 425.00 $            425.00 confer w co-counsel re export report & next steps                                              $        425.00                                               RW

1299 5/21/2014       Greg Wolk          2.00    $ 425.00 $            850.00 confer w HSR and opp counsel re subpoena & discovery issues & settlement                       $        850.00                                               RW
1300 5/21/2014     Hardeep Rekhi        0.50    $ 425.00 $            213.68 Review Expert Report                                                                 0.10      $        171.18 Unsuccessful Claims                           RW
                                                                             Reviewed Email From Nicole Tidano; Reviewed Rebuttal Expert
                                                                             Report Of Sonya Kwon, Mba, In Support Of Defendant Knight
                                                                             Transportation, Inc.; Document Management; Reviewed Emails
                                                                             Between Tm, HSR, & Gaw Re The Same; Calendared
1301 5/21/2014     Jason Proctor        0.50    $ 150.00 $             75.00 Teleconference                                                                       0.50      $             - Administrative/Efficiency                     RW
                                                                             Prepared for and participated in conference with co-counsel regarding expert and
1302   5/21/2014   Toby Marshall        0.80    $    475.00    $      380.00 case strategy issues [.8].                                                           0.20      $        285.00 Unsuccessful Claims                           TM
1303   5/27/2014     Greg Wolk          0.10    $    425.00    $       42.50 confer w counsel re settlement deadline                                                        $         42.50                                               RW
1304   5/27/2014   Jason Proctor        0.10     $    150.00   $       15.00 Reviewed Email From Tm Re Knight Settlement Talks                                    0.10       $            - Administrative/Efficiency                     RW
1305   5/27/2014    Erika Nusser        0.20    $    350.00    $       70.00 Emails regarding settlement issues [.2]                                                        $         70.00                                               TM

                                                                             Analyzed issues regarding settlement [.2]; telephone conference with opposing
1306 5/27/2014     Toby Marshall        0.70    $ 475.00 $            332.50 counsel regarding same [.4]; email to opposing counsel regarding same [.1].                    $        332.50                                               TM
1307 6/2/2014      Jason Proctor        0.10     $ 150.00 $            15.00 Reviewed Tm Email To Opposing Counsel Re Abbott Invoice                              0.10       $            - Administrative/Efficiency                     RW
                                                                             Email correspondence with Dr. Abbott and opposing counsel regarding status of
1308   6/2/2014    Toby Marshall        0.10    $ 475.00 $             47.50 payment for expert deposition invoice [.1].                                                    $         47.50                                               TM

1309   6/3/2014     Greg Wolk           0.10     $ 425.00 $            42.50 Confer with co-counsel regarding Knight's challenge to expert deposition invoice               $         42.50                                               RW
1310   6/3/2014    Hardeep Rekhi        0.40    $ 425.00 $            170.00 Research issues re expert Deposition; teleconfernece with co-counsel                           $        170.00                                               RW
                                                                             Rewiewed Email From Tm Re Message From Eric Beane Re
                                                                             Settlement Negotiations; Reviewed Voicemail; Reviewed Emails
                                                                             Between Tm, Gaw & Nichole Tadano Re Abbott Invoice;
1311   6/3/2014    Jason Proctor        0.30    $ 150.00 $             45.00 Document Management                                                                  0.30      $             - Administrative/Efficiency                     RW

1312   6/3/2014     Erika Nusser        0.30    $ 350.00 $            105.00 Emails and conference regarding motion for partial summary judgment [.3]                       $        105.00                                               TM



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 52
 CASE NO. 2:12-CV-00904-RSL
                                        Case
                                       Case
                                         Case2:18-cv-00681-RAJ
                                            2:12-cv-00904-RSL   Document
                                               2:17-cv-01499 Document
                                                               Document  1 Filed
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 1       Date        Professional          Units        Price         Value     Narrative                                                                           Writedown       Revised Value                        Writedown Explanation   Firm

                                                                               Analyzed issues regarding Knight's challenge to expert deposition invoice [.2];
                                                                               analyzed issues regarding settlement negotiations [.2]; telephone conference
                                                                               with co-counsel regarding same [.1]; analyzed issues regarding motion for
                                                                               summary judgment to apply Mt. Clemens burden-shifting standard [.2]; prepared
                                                                               for and participated in telephone conference with opposing counsel regarding
1313   6/3/2014     Toby Marshall          1.00    $ 475.00 $           475.00 settlement negotiations [.3].                                                                    $           475.00                                               TM

1314   6/5/2014      Erika Nusser          0.20    $ 350.00 $            70.00 Conference and emails regarding motion for partial summary judgment [.2]                         $            70.00                                               TM
                                                                               Worked on motion for summary judgment on recordkeeping violations [1.5];
1315   6/5/2014     Toby Marshall          1.60    $    475.00    $     760.00 worked on settlement issues [.1].                                                                $           760.00                                               TM
1316   6/6/2014     Jason Proctor          0.10     $    150.00   $      15.00 Reviewed Email From Tm Re Settlement Conference; Calendared                            0.10       $               - Administrative/Efficiency                     RW
1317   6/9/2014     Jason Proctor          0.10     $    150.00   $      15.00 Reviewed Gaw E-Mail To Co-Counsel                                                      0.10       $               - Administrative/Efficiency                     RW
1318   6/9/2014     Toby Marshall          0.10    $    475.00    $      47.50 Analyzed issues regarding settlement [.1].                                                       $            47.50                                               TM

1319 6/10/2014        Greg Wolk            0.20    $ 425.00 $             85.00 confer w JP re client presence at settlement conference and email co-counsel                    $            85.00                                               RW
                                                                                Reviewed Emails Between Tm & Gaw; Conferred With Gaw Re
                                                                                Settlement Conference; Teleconference With Kevin Helde; Left
                                                                                Message For Jon Bodily; Left Message For Max Tena; Emailed
                                                                                HSR & Gaw Re The Same; Teleconference With Max Tena;
                                                                                Emailed HSR & Gaw Re The Same; Teleconference With Jon
                                                                                Bodily; Emailed HSR & Gaw To The Same; Reviewed Emails
1320 6/10/2014      Jason Proctor          0.70     $ 150.00 $           105.00 Between Gaw & Tm Re The Same                                                          0.50      $            30.00 Administrative/Efficiency                     RW
1321 6/10/2014     Toby Marshall           0.10    $ 475.00 $             47.50 Analyzed issues regarding settlement [.1].                                                      $            47.50                                               TM
1322 6/11/2014     Torrie Marshall         0.10    $ 100.00 $             10.00 Worked on docke ng.                                                                   0.10       $               - Administrative                                TM
                                                                                Reviewed Emails Between Gaw & Tm Re Sj; Reviewed
1323 6/12/2014      Jason Proctor          0.50    $ 150.00 $             75.00 Documents From Tm; Document Management                                                0.50      $                - Administrative/Efficiency                     RW
                                                                                Emails and telephone conference regarding motion for partial summary judgment
1324 6/12/2014       Erika Nusser          1.00    $ 350.00 $            350.00 and commenced review of materials relating to the same [1]                                      $           350.00                                               TM
                                                                                Worked on plaintiffs' motion for partial summary judgment and related
1325 6/13/2014     Christine Stanley       0.20    $ 100.00 $             20.00 documents.                                                                                      $            20.00                                               TM
                                                                                Researched legal and factual issues and commenced working on motion for
1326 6/13/2014       Erika Nusser          3.10    $ 350.00 $          1,085.00 partial summary judgment [3.1]                                                                  $         1,085.00                                               TM
1327 6/16/2014      Hardeep Rekhi          2.00    $ 425.00 $            850.00 Worked on summary judgment motion                                                     0.50      $           637.50                                               RW
                                                                                Reviwed Email & Letter From Opposing Counsel Re Document
1328 6/16/2014      Jason Proctor          0.10    $ 150.00 $             15.00 Production                                                                            0.10      $                - Administrative/Efficiency                     RW

                                                                                Telephone conference with expert regarding factual issues and declaration in
                                                                                support of motion for partial summary judgment [.2]; researched legal and factual
1329 6/16/2014       Erika Nusser          5.60    $ 350.00 $          1,960.00 issues and worked on motion for partial summary judgment [5.4]                                  $         1,960.00                                               TM
1330 6/17/2014      Jason Proctor          0.10     $ 150.00 $            15.00 Reviewed Emails Between Tm & Opposing Counsel                                         0.10      $                - Administrative/Efficiency                     RW
                                                                                Researched legal and factual issues and worked on motion for partial summary
1331 6/17/2014       Erika Nusser          7.20    $ 350.00 $          2,520.00 judgment [7.2]                                                                                  $         2,520.00                                               TM
                                                                                Email correspondence with Dr. Abbott and opposing counsel regarding invoice for
1332 6/17/2014      Toby Marshall          0.10    $ 475.00 $             47.50 deposition time [.1].                                                                           $            47.50                                               TM
                                                                                Reviewed Emails Between HSR & Tm Re Settlement Conference;
1333   6/18/2014    Jason Proctor          0.10     $    150.00   $       15.00 Calendared                                                                            0.10       $               - Administrative/Efficiency                     RW
1334   6/18/2014    Toby Marshall          1.90    $    475.00    $      902.50 Worked on motion for summary judgment regarding recordkeeping [1.9].                            $           902.50                                               TM
1335   6/19/2014      Greg Wolk            0.30    $    425.00    $      127.50 review draft SJ motion                                                                          $           127.50                                               RW
1336   6/19/2014    Hardeep Rekhi          1.30    $    425.00    $      552.50 Worked on summary judgment motion                                                     0.33      $           414.38                                               RW
1337   6/19/2014    Jason Proctor          0.10     $    150.00   $       15.00 Conferred With Gaw Re Motion For Partial Sj                                           0.10       $               - Administrative/Efficiency                     RW
1338   6/19/2014   Christine Stanley       1.50    $    100.00    $      150.00 Worked on motion for summary judgment and related documents.                                    $           150.00                                               TM
1339   6/19/2014     Eden Nordby           0.80    $    150.00    $      120.00 Worked on exhibits in support of motion for summary judgment.                                   $           120.00                                               TM

                                                                                Worked on declaration of expert and telephone conference and emails to expert
                                                                                regarding the same [.5]; worked on revisions to motion for partial summary
1340 6/19/2014       Erika Nusser          6.10    $ 350.00 $          2,135.00 judgment and supporting documents, and finalized the same for filing [5.6]                      $         2,135.00                                               TM

                                                                                Worked on motion for summary judgment and supporting documents [1.1];
                                                                                telephone conferences with Dr. Munson regarding expert declaration in support
1341 6/19/2014      Toby Marshall          3.80    $ 475.00 $          1,805.00 of same [1.5]; worked on Dr. Munson's declaration [1.2].                                        $         1,805.00                                               TM
1342 6/20/2014     Christine Stanley       0.20    $ 100.00 $             20.00 Worked on stipulation regarding mediation deadlines.                                            $            20.00                                               TM
1343 6/20/2014      Eden Nordby            0.20    $ 150.00 $             30.00 Worked on docketing.                                                                  0.20       $               - Administrative                                TM

                                                                               Analyzed issues regarding expert invoice and email correspondence with Dr.
                                                                               Abbott regarding same [.1]; worked on stipulation to extend mediation deadline
1344 6/20/2014     Toby Marshall           0.40    $ 475.00 $           190.00 and email correspondence with opposing counsel regarding same [.3].                    0.10      $           142.50 Administrative                                TM
1345 6/20/2014     Torrie Marshall         0.10    $ 100.00 $            10.00 Worked on docketing.                                                                   0.10       $               - Administrative                                TM
1346 6/23/2014       Greg Wolk             0.20    $ 425.00 $            85.00 review Knight's counter-offer                                                                    $            85.00                                               RW


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 53
 CASE NO. 2:12-CV-00904-RSL
                                        Case
                                       Case
                                         Case2:18-cv-00681-RAJ
                                            2:12-cv-00904-RSL   Document
                                               2:17-cv-01499 Document
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          A               B                 C            D              E                                                F                                                G              H                                       I               J
 1       Date        Professional          Units        Price         Value    Narrative                                                                              Writedown    Revised Value                       Writedown Explanation   Firm
                                                                               Reviewed Emails Between Gaw, Tm, & En Re Motion For
                                                                               Summary Judgment; Reviewed Plaintiffs’ Motion For Partial
                                                                               Summary Judgment, Declaration Of Erika L. Nusser Iso
                                                                               Plaintiffs’ Motion For Partial Summary Judgment, & Declaration Of
                                                                               Jeffrey Munson, Ph.D. Iso Plaintiffs’ Motion For Partial Summary
                                                                               Judgment; Reviewed Emails Between Tm & Opposing Counsel
                                                                               Re Stip & Prop Order Re Mediation; Reviewed Stip & Prop Order
                                                                               Re Mediation; Reviewed Letter From Eric Beane Re Settlement -
1347 6/23/2014      Jason Proctor          0.50    $ 150.00 $            75.00 Fre 408; Emailed HSR & Gaw Re Settlement                                                 0.50      $            - Administrative/Efficiency                     RW

1348   6/23/2014    Toby Marshall          0.20    $    475.00    $      95.00    Reviewed defendant's settlement offer and analyzed issues regarding same [.2].                  $         95.00                                              TM
1349   6/24/2014     Erika Nusser          0.20    $    350.00    $      70.00    Reviewed counter offer from Knight and emails regarding the same [.2]                           $         70.00                                              TM
1350   6/25/2014    Jason Proctor          0.10     $    150.00   $      15.00    Conferred With Gaw Re Settlement Offer                                                0.10       $            - Efficiency                                   RW
1351   6/25/2014    Toby Marshall          0.10    $    475.00    $      47.50    Reviewed recent class notice decision regarding similar case [.1].                    0.10       $            - Relevance                                    TM
                                                                                  Reviewed Stipulation & Order Extending Mediation Deadline;
1352 6/26/2014      Jason Proctor          0.10     $ 150.00 $           15.00    Calendared                                                                            0.10       $            - Administrative                               RW
1353 6/26/2014      Eden Nordby            0.20    $ 150.00 $            30.00    Worked on docketing.                                                                  0.20       $            - Administrative                               TM
1354 6/26/2014      Toby Marshall          0.10    $ 475.00 $            47.50    Worked on settlement issues [.1].                                                               $         47.50                                              TM
                                                                                  Analyzed issues regarding settlement [.1]; worked on issues regarding Knight's
1355   6/27/2014   Toby Marshall           0.20    $    475.00    $       95.00   payment to Dr. Abbott for deposition [.1].                                                      $         95.00                                              TM
1356   6/27/2014   Torrie Marshall         0.10    $    100.00    $       10.00   Worked on docketing.                                                                  0.10       $            - Administrative                               TM
1357   6/29/2014   Toby Marshall           2.70    $    475.00    $    1,282.50   Prepared and worked on strategy for settlement meeting [2.7].                                   $      1,282.50                                              TM
1358   6/30/2014     Greg Wolk             0.20    $    425.00    $       85.00   confer w HSR re settlement                                                                      $         85.00                                              RW
1359   6/30/2014   Hardeep Rekhi           0.80    $    425.00    $      340.00   review settlement issues and strategy                                                           $        340.00                                              RW

                                                                                Email correspondence with co-counsel regarding preparation for settlement
1360 6/30/2014      Toby Marshall          0.40    $ 475.00 $            190.00 meeting [.1]; worked on preparations for settlement meeting [.3].                                 $        190.00                                              TM
1361 7/1/2014        Greg Wolk             6.00    $ 425.00 $          2,550.00 attend settlement conference                                                                      $      2,550.00                                              RW
                                                                                Prepared for, traveled to, participated in, and returned from settlement
1362   7/1/2014      Erika Nusser          8.00    $ 350.00 $          2,800.00 conference [8].                                                                                   $      2,800.00                                              TM
                                                                                Prepared for, traveled to, participated in, and returned from settlement
1363   7/1/2014     Toby Marshall          9.10    $ 475.00 $          4,322.50 conference [9.1].                                                                                 $      4,322.50                                              TM
                                                                                Email correspondence with co-counsel regarding settlement negotiations [.1];
1364   7/2/2014     Toby Marshall          0.40    $ 475.00 $            190.00 worked on strategy for settlement and mediation [.3].                                             $        190.00                                              TM
1365   7/3/2014      Greg Wolk             0.20    $ 425.00 $             85.00 confer with co-counsel re settlement negotiations                                                 $         85.00                                              RW
1366   7/3/2014     Hardeep Rekhi          0.20    $ 425.00 $             85.00 confer with co-counsel re settlement negotiations                                                 $         85.00                                              RW
                                                                                Telephone conference with co-counsel regarding selection of mediator and
                                                                                settlement strategy [.2]; email correspondence with opposing counsel regarding
1367   7/3/2014     Toby Marshall          0.30    $ 475.00 $            142.50 selection of mediator [.1].                                                                       $        142.50                                              TM
1368   7/7/2014    Christine Stanley       0.10    $ 100.00 $             10.00 Worked on reply in support of motion for summary judgment.                                        $         10.00                                              TM
                                                                                Conference and emails regarding reply in support of motion for summary
                                                                                judgment [.3]; commenced working on reply in support of motion for summary
1369   7/8/2014      Erika Nusser          3.60    $ 350.00 $          1,260.00 judgment [3.3]                                                                                    $      1,260.00                                              TM

                                                                                  Reviewed Knight's response to motion for summary judgment, researched and
1370 7/8/2014       Toby Marshall          2.00    $    475.00    $      950.00   analyzed issues regarding same, and worked on strategy for reply [2.0].                         $        950.00                                              TM
1371 7/9/2014        Erika Nusser          3.80    $    350.00    $    1,330.00   Worked on reply in support of motion for summary judgment [3.8]                                 $      1,330.00                                              TM
1372 7/9/2014       Toby Marshall          0.20    $    475.00    $       95.00   Worked on mediation issues [.2].                                                                $         95.00                                              TM
1373 7/10/2014        Greg Wolk            1.10    $    425.00    $      467.50   confer w co-counsel and review new 9th circuit case                                             $        467.50                                              RW
                                                                                  Anaylzed Ninth Circuit decision regarding preemption of rest break claims and
                                                                                  emails regarding the same [.5]; worked on reply in support of motion for
1374 7/10/2014       Erika Nusser          8.20    $ 350.00 $          2,870.00   summary judgment [7.7]                                                                          $      2,870.00                                              TM
                                                                                  Analyzed issues regarding case strategy in light of Ninth Circuit opinion holding
1375 7/10/2014        Marc Cote            0.40    $ 375.00 $           150.00    that meal and rest break laws are not preempted.                                      0.40      $            - Efficiency                                    TM

                                                                                  Reviewed Ninth Circuit decision in Dilts and analyzed issues regarding impact on
                                                                                  case and settlement [1.2]; emails to co-counsel regarding same [.5]; worked on
                                                                                  damages calculations for rest break claims [1.0]; email to opposing counsel
                                                                                  regarding impact of Dilts on settlement negotiations [.1]; worked on reply in
1376   7/10/2014   Toby Marshall           3.00    $    475.00    $    1,425.00   support of summary judgment motion on recordkeeping violations [.2].                            $      1,425.00                                              TM
1377   7/11/2014     Greg Wolk             0.40    $    425.00    $      170.00   confer w co-counsel re case and settlement strategy                                             $        170.00                                              RW
1378   7/11/2014   Hardeep Rekhi           0.64    $    425.00    $      270.82   Analysis and discussion of dilts                                                                $        270.82                                              RW
1379   7/11/2014   Hardeep Rekhi           0.40    $    425.00    $      170.00   confer w co-counsel re case and settlement strategy                                             $        170.00                                              RW
                                                                                  Worked on reply in support of motion for summary judgment and proposed
1380 7/11/2014     Christine Stanley       0.40    $ 100.00 $            40.00    order, filed same with Court.                                                                   $         40.00                                              TM
                                                                                  Emails regarding case strategy and settlement issues [.2]; worked on reply in
                                                                                  support of motion for summary judgment and revisions to the same and finalized
1381 7/11/2014       Erika Nusser          4.10    $ 350.00 $          1,435.00   for filing [3.9]                                                                                $      1,435.00                                              TM



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 1       Date        Professional          Units       Price        Value       Narrative                                                                       Writedown       Revised Value                   Writedown Explanation   Firm
                                                                                Worked on reply in support of summary judgment motion [.4]; telephone
                                                                                conference with co-counsel regarding case and settlement strategy issues [.4];
                                                                                left message with opposing counsel regarding impact of Dilts on case and
                                                                                settlement negotiations [.1]; analyzed issues regarding same [.1]; telephone
                                                                                conferences with opposing counsel regarding same [.3]; worked on scheduling of
1382 7/11/2014      Toby Marshall          1.40    $ 475.00 $         665.00    mediation [.1].                                                                             $           665.00                                          TM
                                                                                Email correspondence with co-counsel and opposing counsel regarding mediation
1383 7/14/2014      Toby Marshall          0.10    $ 475.00 $          47.50    [.1].                                                                                       $            47.50                                          TM
                                                                                Left message with opposing counsel regarding mediation scheduling [.1];
                                                                                analyzed issues timing of mediation and Knight's preparedness for same [.2];
1384 7/15/2014      Toby Marshall          0.40    $ 475.00 $         190.00    email correspondence with co-counsel regarding same [.1].                                   $           190.00                                          TM
                                                                                Worked on plaintiffs' motion for revision of summary judgment order and
1385 7/16/2014     Christine Stanley       0.20    $ 100.00 $          20.00    determination of class certification on rest break claims.                                  $            20.00                                          TM
                                                                                Worked on motion to revise summary judgment order on rest break claims and
                                                                                researched and analyzed issues regarding same [5.2]; telephone conferences with
                                                                                opposing counsel regarding extension on case schedule deadlines [.1]; analyzed
1386 7/16/2014      Toby Marshall          5.40    $ 475.00 $        2,565.00   issues regarding same [.1].                                                                 $         2,565.00                                          TM

1387 7/17/2014        Greg Wolk            0.30    $ 425.00 $         127.50 review and revise motions to vacate and stay; contact clients re mediation                     $           127.50                                          RW
1388 7/17/2014      Hardeep Rekhi          0.90    $ 425.00 $         382.50 review filings                                                                                 $           382.50                                          RW

                                                                             Worked on motion to revise for summary judgment order and class certification
                                                                             in regard to rest break claims and motion to vacate case scheduling order, and
                                                                             related documents; worked on e-service agreement; worked on updating caption
1389 7/17/2014     Christine Stanley       1.30    $ 100.00 $         130.00 to reflect Notice of Appearance of Mr. Swaminathan.                                    0.10    $           120.00 Administrative                           TM

                                                                                Worked on revisions to motion to reinstate and certify rest break claims [.5];
                                                                                worked on motion to vacate trial date and stay case schedule deadlines [2.0];
                                                                                worked on proposed orders for motions [.1]; email correspondence with opposing
1390   7/17/2014    Toby Marshall          2.70    $   475.00   $    1,282.50   counsel regarding motion to vacate trial date [.1].                                         $         1,282.50                                          TM
1391   7/18/2014     Eden Nordby           0.20    $   150.00   $       30.00   Worked on docketing.                                                                0.20     $               - Administrative                           TM
1392   7/18/2014    Toby Marshall          0.10    $   475.00   $       47.50   Analyzed issues regarding mediation [.1].                                                   $            47.50                                          TM
1393   7/21/2014   Christine Stanley       0.20    $   100.00   $       20.00   Worked on mediation letter.                                                                 $            20.00                                          TM
1394   7/21/2014   Hannelore Ohaus         0.10    $    75.00   $        7.50   Worked on docketing.                                                                0.10     $               - Administrative                           TM
1395   7/21/2014   Hannelore Ohaus         0.10    $    75.00   $        7.50   Worked on docketing.                                                                0.10     $               - Administrative                           TM

                                                                                Worked on mediation letter [3.3]; telephone call from opposing counsel regarding
                                                                                request for one-week extension to respond to rest break claims motion [.1];
1396   7/21/2014    Toby Marshall          3.80    $   475.00   $    1,805.00   worked on damages calculations for rest break claims [.4].                                  $         1,805.00                                          TM
1397   7/22/2014      Greg Wolk            1.00    $   425.00   $      425.00   revise mediation letter                                                                     $           425.00                                          RW
1398   7/22/2014   Christine Stanley       0.30    $   100.00   $       30.00   Worked on mediation letter and arranged service.                                            $            30.00                                          TM
1399   7/22/2014    Toby Marshall          2.80    $   475.00   $    1,330.00   Worked on mediation letter [2.8].                                                           $         1,330.00                                          TM
1400   7/24/2014      Greg Wolk            0.30    $   425.00   $      127.50   review and revise reply and response to stay                                                $           127.50                                          RW

                                                                             Worked on re-note in regard to plaintiffs' motion for revision of summary
1401 7/24/2014     Christine Stanley       0.40    $ 100.00 $          40.00 judgment order and determination of class certification on rest break claims.          0.20    $            20.00 Efficiency                               TM

1402 7/24/2014        Marc Cote            0.20    $ 375.00 $          75.00 Analyzed law regarding segregation of attorneys' fees for mediation purposes.          0.20    $               - Efficiency                                TM

                                                                                Message from and email to Judge Kallas regarding mediation [.1]; analyzed issues
                                                                                regarding same [.1]; reviewed defendant's response to motion to vacate trial date
                                                                                and stay case schedule deadlines and drafted reply to same [.5]; worked on re-
                                                                                note of motion to reinstate and certify rest break claim [.1]; prepared for
1403   7/24/2014    Toby Marshall          1.50    $   475.00   $      712.50   mediation [.6]; telephone call from Mr. Helde regarding same [.1].                          $           712.50                                          TM
1404   7/25/2014      Greg Wolk            6.00    $   425.00   $    2,550.00   attend mediation                                                                            $         2,550.00                                          RW
1405   7/25/2014    Eden Nordby            0.20    $   150.00   $       30.00   Worked on docketing.                                                                0.20     $               - Administrative                           TM
1406   7/25/2014     Erika Nusser          7.80    $   350.00   $    2,730.00   Traveled to, participated in, and returned from mediation [7.8]                             $         2,730.00                                          TM
1407   7/25/2014    Toby Marshall          7.80    $   475.00   $    3,705.00   Traveled to, participated in, and returned from mediation [7.8].                            $         3,705.00                                          TM
                                                                                Analyzed issues regarding pretrial deadlines and case strategy [.3]; analyzed
                                                                                issues regarding calculation of rest break damages and sharing of analysis with
1408   7/28/2014    Toby Marshall          0.50    $   475.00   $     237.50    opposing counsel [.2].                                                                      $           237.50                                          TM
1409   7/29/2014      Greg Wolk            0.30    $   425.00   $     127.50    confer w co-counsel & review issues re pretrial statement                                   $           127.50                                          RW
1410   7/29/2014    Hardeep Rekhi          0.30    $   425.00   $     127.50    confer w co-counsel & review issues re pretrial statement                                   $           127.50                                          RW
1411   7/29/2014     Eden Nordby           0.20    $   150.00   $      30.00    Email correspondence regarding document production.                                         $            30.00                                          TM
1412   7/29/2014     Erika Nusser          0.20    $   350.00   $      70.00    Emails regarding settlement and scheduling issues [.2]                                      $            70.00                                          TM
1413   7/29/2014   Hannelore Ohaus         0.30    $    75.00   $      22.50    Worked on docketing.                                                                0.30     $               - Administrative                           TM




 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 55
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                                         Case2:18-cv-00681-RAJ
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 1       Date        Professional          Units       Price        Value       Narrative                                                                           Writedown       Revised Value                        Writedown Explanation   Firm

                                                                                Researched and analyzed issues regarding pretrial deadlines and email
                                                                                correspondence with co-counsel regarding same [.6]; email correspondence with
                                                                                opposing counsel regarding pretrial deadlines and rest break damages
                                                                                calculations [.1]; telephone conferences with opposing counsel regarding pretrial
                                                                                deadlines [.2]; telephone conferences with co-counsel regarding trial preparation
                                                                                issues [.8]; worked on same [.6]; email correspondence with court clerk regarding
                                                                                resolution of motion to vacate trial date [.1]; email correspondence with experts
                                                                                regarding trial schedule [.1]; reviewed documents produced by Knight regarding
                                                                                per diem program [.2]; analyzed issues regarding Knight's failure to identify
                                                                                [redacted] as member of class and Knight's misrepresentations regarding hourly
                                                                                rates of Washington drivers, and email correspondence with [redacted] regarding
1414   7/29/2014    Toby Marshall          3.20    $   475.00   $    1,520.00   same [.5].                                                                                      $         1,520.00                                               TM
1415   7/30/2014      Greg Wolk            2.00    $   425.00   $      850.00   prepare pretrial statement; call drivers to be witnesses                                        $           850.00                                               RW
1416   7/30/2014    Hardeep Rekhi          1.96    $   425.00   $      833.94   research regarding pre-trial deadlines; class list                                              $           833.94                                               RW
1417   7/30/2014    Hardeep Rekhi          0.59    $   425.00   $      251.69   research regarding expert witness issues                                                        $           251.69                                               RW
1418   7/30/2014    Hardeep Rekhi          0.60    $   425.00   $      256.89   research regarding Defendant's witness                                                          $           256.89                                               RW
1419   7/30/2014   Christine Stanley       0.50    $   100.00   $       50.00   Worked on plaintiffs' pretrial statement.                                                       $            50.00                                               TM
                                                                                Emails regarding factual issues related to hourly pay and potential overtime
1420   7/30/2014     Erika Nusser          0.20    $   350.00   $      70.00    damages [.2]                                                                          0.20       $               - Unsuccessful Claims                           TM
1421   7/30/2014    Toby Marshall          0.20    $   475.00   $      95.00    Worked on pretrial statement [.2].                                                              $            95.00                                               TM
1422   7/31/2014      Greg Wolk            2.00    $   425.00   $     850.00    prepare exhibits for pretrial statement                                                         $           850.00                                               RW
1423   7/31/2014    Eden Nordby            1.00    $   150.00   $     150.00    Worked on Plaintiffs' pretrial statement.                                                       $           150.00                                               TM
                                                                                Emails regarding Order Granting Motion to Vacate Trial Date and Stay Case
1424 7/31/2014       Erika Nusser          0.10    $ 350.00 $          35.00    Schedule [.1]                                                                                   $            35.00                                               TM

                                                                                Reviewed order vacating trial date and analyzed issues regarding same [.1];
                                                                                analyzed issues regarding Knight's misrepresentations on hourly pay and potential
1425 7/31/2014      Toby Marshall          1.20    $ 475.00 $         570.00    overtime damages [1.0]; worked on case strategy issues [.1].                          1.00      $            95.00 Unsuccessful Claims                           TM
                                                                                confer with co-counsel re Knight's failure to identify all class members and
1426   8/1/2014       Greg Wolk            0.70    $ 425.00 $         297.50    misrepresentations about hourly rates of local drives                                 0.30      $           170.00 Unsuccessful Claims                           RW
                                                                                confer with co-counsel re Knight's failure to identify all class members and
1427   8/1/2014     Hardeep Rekhi          0.70    $ 425.00 $         297.50    misrepresentations about hourly rates of local drives                                 0.30      $           170.00 Unsuccessful Claims                           RW
                                                                                Researched and analyzed issues regarding Knight's misrepresentations about
                                                                                hourly rates of local drivers and ran estimated damages regarding same [.8];
                                                                                telephone conference with co-counsel regarding same and Knight's failure to
1428   8/1/2014     Toby Marshall          1.50    $ 475.00 $         712.50    identify all class members [.7].                                                      1.10      $           190.00 Unsuccessful Claims                           TM
                                                                                Worked on reply in support of motion for revision of summary judgment order
1429   8/4/2014    Christine Stanley       0.10    $ 100.00 $          10.00    and determination of class certification of rest break claims.                                  $            10.00                                               TM
1430   8/4/2014     Eden Nordby            0.20    $ 150.00 $          30.00    Worked on docketing.                                                                  0.20       $               - Administrative                                TM
                                                                                Analyzed response to motion for revisions of summary judgment order and
1431   8/4/2014      Erika Nusser          0.40    $ 350.00 $         140.00    reinstatement of rest break claim [.4]                                                          $           140.00                                               TM
1432   8/5/2014       Greg Wolk            0.40    $ 425.00 $         170.00    contact witnesses; review Def response to mtn for revision                                      $           170.00                                               RW
                                                                                Reviewed Knight's response to motion to reinstate and certify rest break claims
1433   8/5/2014     Toby Marshall          3.30    $ 475.00 $        1,567.50   and researched and analyzed issues regarding same [3.3].                                        $         1,567.50                                               TM
                                                                                Researched and analyzed issues for and worked on reply in support of motion to
1434   8/6/2014     Toby Marshall          3.50    $ 475.00 $        1,662.50   reinstate claims [3.5].                                                                         $         1,662.50                                               TM
1435   8/7/2014      Greg Wolk             0.70    $ 425.00 $          297.50   analyze response and research; confer w co-counel                                               $           297.50                                               RW
1436   8/7/2014     Hardeep Rekhi          0.70    $ 425.00 $          297.50   analyze response and research; confer w co-counel                                               $           297.50                                               RW
                                                                                Worked on reply in support of motion to reinstate and certify rest break claims
                                                                                and telephone conference and email correspondence with co-counsel regarding
1437   8/7/2014    Toby Marshall           3.00    $ 475.00 $        1,425.00   same [3.0].                                                                                     $         1,425.00                                               TM
1438   8/8/2014      Greg Wolk             0.80    $ 425.00 $          340.00   revise reply; confer w co-counsel                                                               $           340.00                                               RW
1439   8/8/2014    Hardeep Rekhi           1.81    $ 425.00 $          768.42   review reply brief; make edits and research regarding the same                                  $           768.42                                               RW
                                                                                Reviewed, revised and finalized reply in support of motion for revision of
1440   8/8/2014    Bradford Kinsey         0.80    $ 100.00 $          80.00    summary judgment order; arranged filing and service.                                  0.80      $               - Unsuccessful Claims                            TM
                                                                                Worked on reply in support of motion to reinstate rest break claims, and emails
1441   8/8/2014      Erika Nusser          1.10    $ 350.00 $         385.00    and telephone conference with co-counsel regarding same [1.1]                                   $           385.00                                               TM
                                                                                Worked on reply in support of motion to reinstate rest break claims and email
1442   8/8/2014    Toby Marshall           0.70    $   475.00   $     332.50    correspondence with co-counsel regarding same [.7].                                             $           332.50                                               TM
1443   8/18/2014     Greg Wolk             0.60    $   425.00   $     255.00    confer w HSR and co-counsel re class list issue                                                 $           255.00                                               RW
1444   8/18/2014   Hardeep Rekhi           0.67    $   425.00   $     283.33    teleconferecne re missig class memebrs and overtime issue                             0.17      $           212.50 Unsuccessful Claims                           RW
1445   8/18/2014   Hardeep Rekhi           0.67    $   425.00   $     284.99    teleconferecne re missig class memebrs and overtime issue                             0.17      $           213.74 Unsuccessful Claims                           RW
1446   8/18/2014   Hardeep Rekhi           0.60    $   425.00   $     255.00    confer w co-counsel re class list issue                                                         $           255.00                                               RW

                                                                             Telephone conference with co-counsel regarding issues with Knight's failure to
                                                                             identify all class members and Knight's misrepresentations regarding hourly pay
                                                                             [.6]; telephone conference with [redacted] regarding same [.1]; worked on
1447 8/18/2014      Toby Marshall          1.70    $ 475.00 $         807.50 analysis of overtime issue in light of misrepresentations [1.0].                         1.30      $           190.00 Unsuccessful Claims                           TM
1448 8/19/2014       Greg Wolk             0.50    $ 425.00 $         212.50 review order and confer w HSR re next steps                                                        $           212.50                                               RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 56
CASE NO. 2:12-CV-00904-RSL
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                                       Case
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                                            2:12-cv-00904-RSL   Document
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 1       Date        Professional          Units       Price        Value    Narrative                                                                             Writedown       Revised Value                        Writedown Explanation   Firm
                                                                             Reviewed and analyzed orders from Judge Lasnik; conference with Mr. Marshall
1449 8/19/2014        Marc Cote            0.20    $ 375.00 $          75.00 regarding same.                                                                         0.20      $               - Efficiency                                     TM

                                                                             Reviewed orders on reinstatement and certification of rest break claims and Mt.
1450 8/19/2014      Toby Marshall          0.50    $ 475.00 $         237.50 Clemens burden-shifting and analyzed issues regarding same [.5].                                  $           237.50                                               TM
                                                                             Order granting motion for partial summary judgment and order reinstating and
1451 8/20/2014       Erika Nusser          0.50    $ 350.00 $         175.00 certifying rest break claims [.5]                                                                 $           175.00                                               TM

                                                                                Analyzed issues and worked on letter to opposing counsel regarding Knight's
                                                                                failure to identify class members and Knight's misrepresentations about hourly
1452 8/20/2014      Toby Marshall          0.70    $ 475.00 $         332.50    pay [.2]; worked on analysis of overtime issues [.5].                                0.70       $               - Unsuccessful Claims                           TM
1453 8/21/2014       Greg Wolk             0.30    $ 425.00 $         127.50    review and respond to email from co-counsel re class list issue                                $           127.50                                               RW
                                                                                Downloaded various documents from the Haji v. Knight Transportation case in
1454 8/21/2014     Christine Stanley       0.20    $ 100.00 $          20.00    Western Washington U.S.D.C. per Mr. Marshall.                                        0.20      $               - Administrative                                 TM
1455 8/21/2014       Erika Nusser          0.20    $ 350.00 $          70.00    Emails regarding overtime calculations [.2]                                          0.20      $               - Unsuccessful Claims                            TM
1456 8/21/2014      Rachel Hoover          0.10    $ 150.00 $          15.00    Worked on docketing.                                                                 0.10      $               - Administrative                                 TM

                                                                                Worked on analysis of overtime claims in light of Knight's misrepresentations on
1457   8/21/2014    Toby Marshall          0.50    $   475.00   $     237.50    hourly pay and email correspondence with co-counsel regarding same [.5].             0.50       $               - Unsuccessful Claims                           TM
1458   8/27/2014    Toby Marshall          0.20    $   475.00   $      95.00    Telephone call from Mr. Bodily regarding [redacted][.2].                                       $            95.00                                               TM
1459   8/28/2014     Greg Wolk             0.10    $   425.00   $      42.50    confer with co-counsel re case strategy                                                        $            42.50                                               RW
1460   8/28/2014    Hardeep Rekhi          0.10    $   425.00   $      42.50    confer with co-counsel re case strategy                                                        $            42.50                                               RW
1461   8/28/2014    Toby Marshall          0.10    $   475.00   $      47.50    Telephone conference with co-counsel regarding case strategy [.1].                             $            47.50                                               TM
                                                                                Researched and analyzed issues regarding information learned from Haji case and
                                                                                misrepresentations Knight and its counsel made to court [1.0]; drafted letter to
1462   9/1/2014     Toby Marshall          2.40    $ 475.00 $        1,140.00   opposing counsel regarding same [1.4].                                                         $         1,140.00                                               TM
1463   9/3/2014    Christine Stanley       0.20    $ 100.00 $           20.00   Letter to Mr. Swaminathan.                                                                     $            20.00                                               TM
                                                                                Worked on letter to opposing counsel regarding unidentified class members and
1464   9/3/2014     Toby Marshall          0.10    $ 475.00 $          47.50    misrepresentations about hourly pay [.1].                                                      $            47.50                                               TM
                                                                                research and analyze class list issues (.7); confer with co-counsel re Knight's
                                                                                misreprensentations over hourly workers and scope of Washington-based drivers
1465 9/17/2014        Greg Wolk            1.40    $ 425.00 $         595.00    (.7)                                                                                 0.20      $           510.00 Unsuccessful Claims                           RW
                                                                                Teleconference regarding missing class members; research and investigation into
                                                                                seperate entities as related to missing class members; discussion regarding new
1466 9/17/2014     Hardeep Rekhi           0.72    $ 425.00 $         304.58    trial dates                                                                                    $           304.58                                               RW
                                                                                confer with co-counsel re Knight's misreprensentations over hourly workers and
1467 9/17/2014      Hardeep Rekhi          0.70    $ 425.00 $         297.50    scope of Washington-based drivers                                                    0.20      $           212.50 Unsuccessful Claims                           RW

                                                                             Telephone conference with co-counsel regarding Knight's misrepresentations
                                                                             over hourly workers and scope of Washington-based drivers [.7]; analyzed issues
1468 9/17/2014      Toby Marshall          0.90    $ 475.00 $         427.50 regarding case schedule [.1]; email to experts regarding availability [.1].             0.20      $           332.50 Unsuccessful Claims                           TM
1469 9/24/2014       Greg Wolk             0.10    $ 425.00 $          42.50 confer with co-counsel re timing of trial                                                         $            42.50                                               RW
1470 9/24/2014      Hardeep Rekhi          0.10    $ 425.00 $          42.50 confer with co-counsel re timing of trial                                                         $            42.50                                               RW
                                                                             Telephone conference with co-counsel regarding timing of trial [.1]; analyzed
1471 9/24/2014      Toby Marshall          0.20    $ 475.00 $          95.00 issues regarding same [.1].                                                                       $            95.00                                               TM

1472 10/7/2014       Greg Wolk             0.50    $ 425.00 $         212.50 review case schedule plan (.3); confer with co-counsel re scheduling issues (.2)                  $           212.50                                               RW
1473 10/7/2014     Hardeep Rekhi           0.24    $ 425.00 $         100.82 tc w/ opposing counsel re trial date and class rep.                                               $           100.82                                               RW
1474 10/7/2014     Hardeep Rekhi           0.20    $ 425.00 $          85.00 confer with co-counsel re scheduling issues (.2)                                                  $            85.00                                               RW
                                                                             Worked on case scheduling issues and email correspondence with co-counsel
                                                                             regarding same [.2]; telephone conference with co-counsel and personal
1475 10/7/2014      Toby Marshall          0.40    $ 475.00 $         190.00 conference with Dr. Abbott regarding same [.2].                                                   $           190.00                                               TM
                                                                             Worked on proposed case schedule and email correspondence with co-counsel
1476 10/8/2014      Toby Marshall          0.30    $ 475.00 $         142.50 regarding same [.3].                                                                              $           142.50                                               TM

1477 10/9/2014     Bradford Kinsey         0.60    $ 100.00 $          60.00 Prepared draft of stipulation and proposed order establishing pre-trial deadlines.                $            60.00                                               TM
1478 10/16/2014      Greg Wolk             0.20    $ 425.00 $          85.00 confer w client re claims                                                                         $            85.00                                               RW

1479 10/27/2014     Toby Marshall          0.10    $ 475.00 $          47.50 Email correspondence with opposing counsel regarding case scheduling [.1].                        $            47.50                                               TM
1480 10/28/2014     Toby Marshall          0.10    $ 475.00 $          47.50 Worked on scheduling issues [.1].                                                                 $            47.50                                               TM
                                                                             confer with co-counsel re defendant's request for extension of trial date and plan
1481 10/29/2014       Greg Wolk            0.20    $ 425.00 $          85.00 for responding to same                                                                            $            85.00                                               RW
                                                                             confer with co-counsel re defendant's request for extension of trial date and plan
1482 10/29/2014     Hardeep Rekhi          0.20    $ 425.00 $          85.00 for responding to same                                                                            $            85.00                                               RW
                                                                             Email correspondence with opposing counsel regarding proposed case schedule
1483 11/2/2014      Toby Marshall          0.10    $ 475.00 $          47.50 and trial date [.1].                                                                              $            47.50                                               TM
1484 11/5/2014       Erika Nusser          0.20    $ 350.00 $          70.00 Telephone conference with Max Tena regarding [redacted] [.2]                                      $            70.00                                               TM
                                                                             Telephone call from expert regarding trial date and additional anticipated work
1485 11/7/2014      Toby Marshall          0.20    $ 475.00 $          95.00 [.2].                                                                                             $            95.00                                               TM
1486 11/14/2014    Hannelore Ohaus         0.10    $ 75.00 $            7.50 Worked on docketing.                                                                    0.10       $               - Administrative                                TM


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 1      Date         Professional         Units     Price          Value     Narrative                                                                              Writedown     Revised Value                       Writedown Explanation   Firm
1487 11/14/2014       Holly Rota          1.00    $ 100.00 $           100.00Drafted Plaintiffs' Response to Defendant Knight's motion to Decertify                             $         100.00                                               TM
1488 11/17/2014       Greg Wolk           0.10    $ 425.00 $            42.50confer with co-counsel re trial date                                                               $          42.50                                              RW
1489 11/17/2014     Hardeep Rekhi         0.10    $ 425.00 $            42.50confer with co-counsel re trial date                                                               $          42.50                                              RW
                                                                             Reviewed motion to decertify and previous orders of court in preparation for
                                                                             response to motion to decertify [2.2]; conferences with Mr. Marshall regarding
1490 11/17/2014       Marc Cote           2.70    $ 375.00 $        1,012.50 response to motion to decertify [.5].                                                              $      1,012.50                                               TM

                                                                             Reviewed defendant's motion to decertify claims, researched and analyzed issues
                                                                             regarding same, and worked on outline of response to same [3.0]; telephone
1491 11/17/2014     Toby Marshall         3.10    $ 475.00 $        1,472.50 conference with co-counsel regarding trial date [.1].                                              $      1,472.50                                               TM

1492 11/18/2014       Greg Wolk           0.40    $ 425.00 $          170.00 confer with co-counsel re motion to decertify and plan for responding to same                      $        170.00                                               RW
1493 11/18/2014     Hardeep Rekhi         1.20    $ 425.00 $          510.00 Review Motion to Decertify; teleconference with co-counsel                                         $        510.00                                               RW

1494 11/18/2014     Hardeep Rekhi         0.40    $ 425.00 $          170.00 confer with co-counsel re motion to decertify and plan for responding to same                      $        170.00                                               RW
1495 11/18/2014       Marc Cote           3.80    $ 375.00 $        1,425.00 Worked on response to motion to decertify.                                                         $      1,425.00                                               TM
                                                                             Telephone conference with co-counsel regarding motion to decertify and plan for
                                                                             responding to same [.4]; reviewed Kwon declaration and analyzed issues
                                                                             regarding same [.4]; worked on outline for response to motion to decertify and
1496 11/18/2014     Toby Marshall         2.10    $ 475.00 $          997.50 analyzed issues regarding same [1.3].                                                    0.10      $        950.00 Unsuccessful Claims                           TM
                                                                             Worked on response to motion to decertify [4.9]; conference regarding strategy
1497 11/19/2014       Marc Cote           5.10    $ 375.00 $        1,912.50 for response to motion to decertify [.2].                                                          $      1,912.50                                               TM
                                                                             Telephone conference with opposing counsel regarding case scheduling issues
1498   11/19/2014   Toby Marshall         0.40    $   475.00   $      190.00 [.4].                                                                                              $        190.00                                               TM
1499   11/20/2014    Marc Cote            7.60    $   375.00   $    2,850.00 Worked on response to motion to decertify.                                                         $      2,850.00                                               TM
1500   11/21/2014    Marc Cote            5.30    $   375.00   $    1,987.50 Worked on response to motion to decertify.                                                         $      1,987.50                                               TM
1501   11/21/2014   Toby Marshall         0.20    $   475.00   $       95.00 Worked on case management issues [.2].                                                             $         95.00                                               TM
                                                                             Worked on response to motion to decertify, including conference with Mr.
1502   11/23/2014     Marc Cote           3.70    $   375.00   $    1,387.50 Marshall regarding arguments [3.7].                                                                $      1,387.50                                               TM
1503   11/23/2014   Toby Marshall         0.10    $   475.00   $       47.50 Worked on case strategy issues [.1].                                                               $         47.50                                               TM
1504   11/24/2014    Marc Cote            7.50    $   375.00   $    2,812.50 Worked on response to motion to decertify.                                                         $      2,812.50                                               TM
1505   11/25/2014    Marc Cote            4.70    $   375.00   $    1,762.50 Worked on response to motion to decertify.                                                         $      1,762.50                                               TM

1506 11/25/2014     Toby Marshall         0.10    $ 475.00 $           47.50 Email correspondence with co-counsel regarding case schedule and trial date [.1].                  $         47.50                                               TM
1507 11/26/2014       Holly Rota          1.00    $ 100.00 $          100.00 Drafted Declaration of Mr. Marshall; Formatted Brief                                               $        100.00                                               TM
1508 11/26/2014      Marc Cote            5.20    $ 375.00 $        1,950.00 Worked on response to motion to decertify.                                                         $      1,950.00                                               TM
                                                                             Worked on response to motion to decertify and researched and analyzed issues
1509 11/29/2014     Toby Marshall         3.00    $ 475.00 $        1,425.00 regarding same [3.0].                                                                              $      1,425.00                                               TM
1510 11/30/2014      Marc Cote            0.60    $ 375.00 $          225.00 Worked on response to motion to decertify.                                                         $        225.00                                               TM
                                                                             Worked on response to motion to decertify and researched and analyzed issues
1511 11/30/2014     Toby Marshall         2.80    $ 475.00 $        1,330.00 regarding same [2.8].                                                                              $      1,330.00                                               TM

1512 12/1/2014        Greg Wolk           0.20    $ 425.00 $           85.00 confer with co-counsel re Plts' response to Knight's decertification motion                        $         85.00                                               RW
1513 12/1/2014      Hardeep Rekhi         1.55    $ 425.00 $          656.86 review response to motion for Decertifaction                                                       $        656.86                                               RW

1514 12/1/2014      Hardeep Rekhi         0.20    $ 425.00 $           85.00 confer with co-counsel re Plts' response to Knight's decertification motion                        $         85.00                                               RW

1515 12/1/2014        Holly Rota          1.00    $ 100.00 $          100.00 Finalized response to motion; declaration of Mr. Marshall; efiled response                         $        100.00                                               TM
1516 12/1/2014        Marc Cote           5.20    $ 375.00 $        1,950.00 Worked on response to motion to decertify and declaration.                                         $      1,950.00                                               TM

                                                                             Worked on Plaintiffs' response to Knight's decertification motion and researched
                                                                             and analyzed issues regarding same [3.5]; telephone conference with co-counsel
1517 12/1/2014      Toby Marshall         3.90    $ 475.00 $        1,852.50 regarding same [.2]; worked on case scheduling issues [.2].                                        $      1,852.50                                               TM
                                                                             Reviewed defendant's reply in support of decertification and analyzed issues
1518 12/6/2014      Toby Marshall         0.30    $ 475.00 $          142.50 regarding same [.3].                                                                               $        142.50                                               TM
1519 12/8/2014      Hardeep Rekhi         1.50    $ 425.00 $          637.50 review reply to motion for Decertifaction; research regarding the same                             $        637.50                                               RW
                                                                             Prepared praecipe to replace; reviewed and revised response to motion to
1520 12/8/2014      Bradford Kinsey       2.20    $ 100.00 $          220.00 decertify; arranged filing and service.                                                            $        220.00                                               TM
                                                                             Reviewed and analyzed reply brief filed by Knight on decert motion [1.2]; worked
1521 12/8/2014        Marc Cote           2.70    $ 375.00 $        1,012.50 on praecipe and revisions to response to motion [1.5].                                             $      1,012.50                                               TM
                                                                             Analyzed issues regarding need for praecipe to correct for mistake in response to
                                                                             motion for decertification [.1]; analyzed issues regarding Knight's reply in support
1522 12/8/2014      Toby Marshall         0.40    $ 475.00 $          190.00 of motion for decertification [.3].                                                                $        190.00                                               TM
1523 12/30/2014     Toby Marshall         0.10    $ 475.00 $           47.50 Telephone call from Mr. Tena regarding [redacted] [.1].                                            $         47.50                                               TM
                                                                             Message from and telephone conference with client regarding [redacted] [.2];
1524    1/5/2015    Toby Marshall         0.30    $   475.00   $      142.50 drafted memorandum to file regarding same same [.1].                                               $        142.50                                               TM
1525    1/6/2015     Greg Wolk            0.10    $   425.00   $       42.50 confer with co-counsel                                                                             $         42.50                                               RW
1526    1/6/2015    Hardeep Rekhi         0.10    $   425.00   $       42.50 confer with co-counsel                                                                             $         42.50                                               RW
1527    1/6/2015    Toby Marshall         0.10    $   475.00   $       47.50 Telephone conference with co-counsel regarding [redacted] [.1].                                    $         47.50                                               TM


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 58
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                                      Case
                                     Case
                                       Case2:18-cv-00681-RAJ
                                          2:12-cv-00904-RSL   Document
                                             2:17-cv-01499 Document
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 1       Date       Professional         Units       Price        Value    Narrative                                                                                 Writedown       Revised Value                   Writedown Explanation   Firm
                                                                           Email correspondence with counsel representing class in Oregon action regarding
1528   1/8/2015     Toby Marshall        0.20    $ 475.00 $          95.00 factual background and legal issues [.2].                                                   0.20      $               - Relevance                                 TM
                                                                           Analyzed issues regarding class case against Knight in Oregon and email
                                                                           correspondence with counsel there regarding factual background and legal issues
1529   1/9/2015     Toby Marshall        0.20    $ 475.00 $          95.00 [.2].                                                                                       0.20      $               - Relevance                                 TM

                                                                           Email correspondence with expert regarding billing invoice and processed same
                                                                           [.1]; analyzed issues regarding proposed trial date and pretrial deadlines and
1530   2/2/2015     Toby Marshall        0.30    $ 475.00 $         142.50 worked on revisions to draft stipulation regarding same [.2].                               0.10      $            95.00 Administrative                           TM
                                                                           Email correspondence with opposing counsel regarding trial date and case
1531   2/3/2015     Toby Marshall        0.10    $ 475.00 $          47.50 schedule [.1].                                                                                        $            47.50                                          TM

                                                                              Email correspondence with co-counsel, opposing counsel, and court clerk
1532 2/5/2015       Toby Marshall        0.20    $   475.00   $      95.00    regarding proposed trial date [.1]; analyzed issues regarding expert deadlines [.1].               $            95.00                                          TM
1533 2/8/2015        Greg Wolk           0.20    $   425.00   $      85.00    confer with co-counsel re damages data and witness calls                                           $            85.00                                          RW
1534 2/8/2015       Hardeep Rekhi        0.20    $   425.00   $      85.00    confer with co-counsel re damages data and witness calls                                           $            85.00                                          RW
1535 2/11/2015      Toby Marshall        0.10    $   475.00   $      47.50    Email correspondence with opposing counsel regarding trial date [.1].                              $            47.50                                          TM

                                                                              Left message and email correspondence with opposing counsel regarding trial
                                                                              date and case schedule issues [.1]; analyzed issues regarding same [.1]; email
                                                                              correspondence with court and co-counsel regarding scheduling of hearing on
1536 2/12/2015      Toby Marshall        0.40    $ 475.00 $         190.00    motion to decertify [.1]; analyzed issues regarding motion to decertify [.1].                      $           190.00                                          TM
                                                                              Email correspondence with co-counsel and opposing counsel regarding Knight's
                                                                              refusal to agree to setting of trial date [.1]; analyzed issues regarding same [.1];
                                                                              telephone call from opposing counsel regarding same [.1]; worked on case
1537   2/13/2015    Toby Marshall        0.40    $   475.00   $     190.00    strategy issues [.1].                                                                              $           190.00                                          TM
1538   2/17/2015   Hannelore Ohaus       0.20    $    75.00   $      15.00    Worked on docketing.                                                                     0.20       $               - Administrative                           TM
1539   2/18/2015      Holly Rota         0.50    $   100.00   $      50.00    Emailed Party response to request for video recording to clerk                           0.40      $            10.00 Efficiency                               TM
1540   2/18/2015    Toby Marshall        0.10    $   475.00   $      47.50    Analyzed issues regarding consent to recording of hearing request [.1].                            $            47.50                                          TM
1541   2/23/2015      Greg Wolk          0.10    $   425.00   $      42.50    confer with co-counsel re hearing on motion to decertify                                           $            42.50                                          RW
1542   2/23/2015    Hardeep Rekhi        0.10    $   425.00   $      42.50    confer with co-counsel re hearing on motion to decertify                                           $            42.50                                          RW
                                                                              Telephone conference with co-counsel regarding hearing on motion to decertify
1543 2/23/2015      Toby Marshall        0.10    $ 475.00 $          47.50    [.1].                                                                                              $            47.50                                          TM
1544 3/5/2015       Toby Marshall        0.10    $ 475.00 $          47.50    Prepared materials for hearing on motion to decertify [.1].                                        $            47.50                                          TM
                                                                              Reviewed briefing on motion for decertification and related documents and
1545 3/14/2015      Toby Marshall        4.60    $ 475.00 $        2,185.00   researched and analyzed issues regarding same [4.6].                                               $         2,185.00                                          TM
1546 3/15/2015       Marc Cote           0.30    $ 375.00 $          112.50   Conference regarding motion hearing and rest break issues.                                         $           112.50                                          TM

1547 3/15/2015      Toby Marshall        0.60    $ 475.00 $          285.00 Analyzed issues in preparation for hearing on motion for decertification [.6].                       $           285.00                                          TM
                                                                            Worked on outline of argument for hearing on motion to decertify and
1548 3/16/2015      Toby Marshall        1.70    $ 475.00 $          807.50 researched and analyzed issues regarding same [1.7].                                                 $           807.50                                          TM
                                                                            review motions for dercertification, prep for hearing (1.8); confer with co-counsel
1549 3/17/2015       Greg Wolk           3.10    $ 425.00 $        1,317.50 re same (1.3)                                                                                        $         1,317.50                                          RW

1550 3/17/2015     Hardeep Rekhi         2.50    $ 425.00 $        1,062.50 Knight Transportation; review previous filings; discuss and strategize argument                      $         1,062.50                                          RW
1551 3/17/2015     Hardeep Rekhi         1.30    $ 425.00 $          552.50 confer with co-counsel re same                                                                       $           552.50                                          RW
1552 3/17/2015      Erika Nusser         1.20    $ 350.00 $          420.00 Telephone conference regarding hearing on motion to decertify [1.2]                                  $           420.00                                          TM
                                                                            Worked on outline and PowerPoint presentation for hearing on motion to
                                                                            decertify and researched and analyzed issues regarding same [6.8]; telephone
1553 3/17/2015      Toby Marshall        8.10    $ 475.00 $        3,847.50 conference with co-counsel regarding same [1.3].                                                     $         3,847.50                                          TM
1554 3/18/2015        Greg Wolk          2.30    $ 425.00 $          977.50 prep,attend and debrief decert hearing                                                               $           977.50                                          RW
1555 3/18/2015       Erika Nusser        1.60    $ 350.00 $          560.00 Traveled to and from and attended hearing on motion to decertify [1.6]                               $           560.00                                          TM
                                                                            Worked on PowerPoint presentation for hearing on motion to decertify [.5];
                                                                            traveled to, participated in, and returned from hearing on motion to decertify
1556 3/18/2015      Toby Marshall        3.40    $ 475.00 $        1,615.00 [2.6]; analyzed issues regarding same [.3].                                                          $         1,615.00                                          TM
1557 3/19/2015        Greg Wolk          0.80    $ 425.00 $          340.00 analyze Sakuma bros. arguments and briefing                                                          $           340.00                                          RW
1558 3/19/2015     Hannelore Ohaus       0.10    $ 75.00 $             7.50 Worked on docketing.                                                                       0.10       $               - Administrative                           TM

                                                                           Email correspondence with co-counsel regarding Sakuma briefing [.1]; analyzed
1559 3/19/2015      Toby Marshall        1.10    $ 475.00 $         522.50 issues regarding same [.6]; telephone call from co-counsel regarding same [.4].                       $           522.50                                          TM
                                                                           Analyzed issues regarding Sakuma case and Court's request for briefing on same
1560 3/20/2015      Toby Marshall        0.20    $ 475.00 $          95.00 [.2].                                                                                                 $            95.00                                          TM
                                                                           Reviewed order requesting additional briefing on Sakuma and analyzed proper
                                                                           approach to timing of decision [.3]; conference with Mr. Marshall regarding
1561 3/23/2015       Marc Cote           0.90    $ 375.00 $         337.50 strategy for response to court [.6].                                                                  $           337.50                                          TM
1562 3/23/2015      Toby Marshall        0.80    $ 475.00 $         380.00 Analyzed issues regarding supplemental briefing on Sakuma case [.8].                                  $           380.00                                          TM
1563 3/24/2015       Greg Wolk           1.40    $ 425.00 $         595.00 draft supp briefing on stay re Sakuma bros; research same                                             $           595.00                                          RW

1564 3/24/2015       Erika Nusser        0.80    $ 350.00 $         280.00 Telephone conference regarding supplemental briefing on Sakuma decision [.8]                          $           280.00                                          TM


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
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                                      Case
                                     Case
                                       Case2:18-cv-00681-RAJ
                                          2:12-cv-00904-RSL   Document
                                             2:17-cv-01499 Document
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          A              B                C           D             E                                                  F                                               G                 H                                        I               J
 1       Date       Professional         Units       Price        Value       Narrative                                                                            Writedown       Revised Value                        Writedown Explanation   Firm
                                                                              Telephone conference with co-counsel regarding strategy for supplemental brief
1565 3/24/2015      Toby Marshall        0.30    $ 475.00 $          142.50   on Sakuma case [.3].                                                                             $           142.50                                               TM
1566 3/25/2015       Greg Wolk           2.40    $ 425.00 $        1,020.00   draft briefing on stay pending Sakuma bros                                                       $         1,020.00                                               RW
                                                                              Knight Transportation; review previous filings; discuss and strategize argument re
1567 3/25/2015     Hardeep Rekhi         0.50    $ 425.00 $         212.50    stay                                                                                             $           212.50                                               RW
                                                                              Began analyzing draft brief regarding delaying decision on Knight's motion until
1568 3/25/2015       Marc Cote           0.10    $ 375.00 $          37.50    Sakuma is decided.                                                                               $            37.50                                               TM
                                                                              Reviewed draft supplemental brief on Sakuma and analyzed issues regarding
1569 3/25/2015      Toby Marshall        0.20    $ 475.00 $          95.00    same [.2].                                                                                       $            95.00                                               TM

1570 3/26/2015       Greg Wolk           0.90    $ 425.00 $         382.50 revise supp briefing re Sakuma Bros (.7); confer with co-counsel re same (.2)                       $           382.50                                               RW
                                                                           Review supplemental briefing related to stay; review emails regarding the same;
1571 3/26/2015     Hardeep Rekhi         0.33    $ 425.00 $         141.67 strategize regarding the same                                                                       $           141.67                                               RW
1572 3/26/2015     Hardeep Rekhi         0.20    $ 425.00 $          85.00 Confer with co-counsel re briefing re Sakuma Bros                                                   $            85.00                                               RW
                                                                           Analyzed supplemental brief regarding rest breaks and on duty not-driving claims,
1573 3/26/2015       Erika Nusser        1.60    $ 350.00 $         560.00 and emails and conference regarding the same [1.6]                                        0.80      $           280.00 Unsuccessful Claims                           TM
                                                                           Reviewed and analyzed draft brief re effect of Sakuma, made proposed revisions,
                                                                           and emailed comments regarding draft to Mr. Marshall [.7]; conference regarding
1574 3/26/2015       Marc Cote           1.00    $ 375.00 $         375.00 strategy for brief regarding stay [.3].                                                             $           375.00                                               TM
                                                                           Reviewed draft brief on Sakuma, analyzed issues regarding same, and drafted
                                                                           proposed revisions [.8]; telephone conference with co-counsel regarding same
1575   3/26/2015    Toby Marshall        1.00    $   475.00   $     475.00 [.2].                                                                                               $           475.00                                               TM
1576   3/27/2015     Greg Wolk           0.20    $   425.00   $      85.00 review final draft of supp briefing on Sakuma Bros                                                  $            85.00                                               RW
1577   3/27/2015      Holly Rota         1.00    $   100.00   $     100.00 Finalized Plaintiffs' brief in support of staying case; efiled                                      $           100.00                                               TM
1578   3/27/2015     Marc Cote           0.20    $   375.00   $      75.00 Conference regarding submission to court re Sakuma.                                                 $            75.00                                               TM
                                                                           Analyzed issues regarding supplemental briefing on motion for decertification
1579 3/27/2015      Toby Marshall        0.30    $ 475.00 $         142.50 [.3].                                                                                               $           142.50                                               TM
                                                                           Reviewed Knight's supplemental brief on whether to stay case and email
1580 3/29/2015      Toby Marshall        0.20    $ 475.00 $          95.00 correspondence with co-counsel regarding same [.2].                                                 $            95.00                                               TM
1581 3/30/2015       Greg Wolk           0.20    $ 425.00 $          85.00 review Defendant's briefing on Sakuma                                                               $            85.00                                               RW
                                                                           Knight Transportation; review Defendant's Supplemental response; meet with
                                                                           client; review deposition schedule, review issues related to Defendants RFPs,
1582 3/30/2015     Hardeep Rekhi         0.50    $ 425.00 $         212.50 review case strategy                                                                                $           212.50                                               RW

1583   3/30/2015     Marc Cote           0.20    $   375.00   $      75.00    Reviewed brief from Knight re effect of Sakuma and email regarding same.                         $            75.00                                               TM
1584   3/31/2015     Greg Wolk           0.30    $   425.00   $     127.50    review Court's Order; confer w co-counsel re outstanding issues                                  $           127.50                                               RW
1585   3/31/2015    Eden Nordby          0.20    $   150.00   $      30.00    Email correspondence to class member regarding [redacted].                                       $            30.00                                               TM
1586   3/31/2015     Marc Cote           0.30    $   375.00   $     112.50    Reviewed order staying case and denying decertification.                               0.30       $               - Efficiency                                    TM

                                                                           Responded to class member inquiry regarding [redacted] [.1]; reviewed order
1587 3/31/2015      Toby Marshall        0.30    $ 475.00 $         142.50 staying case pending Sakuma decision and analyzed issues regarding same [.2].                       $           142.50                                               TM

1588   4/1/2015      Erika Nusser        0.20    $ 350.00 $          70.00 Analyzed order denying motion to decertify and emails regarding the same [.2]                       $            70.00                                               TM
                                                                           Analyzed issues regarding DLI policy that supports plaintiffs' interpretation of
1589 4/21/2015      Toby Marshall        0.10    $ 475.00 $          47.50 WAC 296-126-021 [.1].                                                                     0.10      $                - Unsuccessful Claims                           TM
                                                                           Telephone conference with non-class member regarding Knight Transportation
1590 6/11/2015      Eden Nordby          0.20    $ 150.00 $          30.00 lease program.                                                                            0.20      $                - Relevance                                     TM
                                                                           Reviewed SJ order from similar truck driver case against Wal-Mart and emailed
1591   6/12/2015      Marc Cote          0.50    $   375.00   $     187.50 findings to Mr. Marshall.                                                                 0.50       $               - Unsuccessful Claims                           TM
1592   7/10/2015    Toby Marshall        0.10    $   475.00   $      47.50 Email correspondence with client regarding status of case [.1].                                     $            47.50                                               TM
1593   7/16/2015      Greg Wolk          1.00    $   425.00   $     425.00 review Sakuma decision (.3) and confer w co-counsel re same (.7)                                    $           425.00                                               RW
1594   7/16/2015    Hardeep Rekhi        0.70    $   425.00   $     297.50 confer w co-counsel re Sakuma decision                                                              $           297.50                                               RW
1595   7/16/2015   Hannelore Ohaus       0.10    $    75.00   $       7.50 Worked on docketing.                                                                      0.10       $               - Administrative                                TM

                                                                           Telephone conference with co-counsel regarding impact of Sakuma decision [.7];
1596 7/16/2015      Toby Marshall        0.80    $ 475.00 $         380.00 worked on docketing of joint status report regarding same [.1].                                     $           380.00                                               TM
                                                                           Reviewed recent case in which court ruled that truck drivers are entitled to
1597 7/19/2015      Toby Marshall        0.20    $ 475.00 $          95.00 separate compensation for nonproduction hours worked [.2].                                0.20      $                - Unsuccessful Claims                           TM

1598 7/20/2015       Erika Nusser        0.30    $ 350.00 $         105.00 Analyzed order in related trucking case and emails regarding the same [.3]                0.30       $               - Relevance                                     TM
1599 7/21/2015        Greg Wolk          0.40    $ 425.00 $         170.00 confer w co-counsel re next steps after Sakuma decision                                             $           170.00                                               RW
1600 7/21/2015      Hardeep Rekhi        0.40    $ 425.00 $         170.00 confer w co-counsel re next steps after Sakuma decision                                             $           170.00                                               RW
                                                                           Telephone conference with co-counsel regarding effect of Sakuma on case
1601 7/21/2015      Toby Marshall        0.30    $ 475.00 $         142.50 strategy and timing of trial [.3].                                                                  $           142.50                                               TM
1602 7/22/2015       Erika Nusser        0.20    $ 350.00 $          70.00 Conference regarding case strategy issues [.2]                                                      $            70.00                                               TM
                                                                           Analyzed issues regarding mediation, summary judgment, and case schedule and
                                                                           trial date and email correspondence with co-counsel regarding same [.9]; email
                                                                           correspondence with opposing counsel regarding case schedule and trial date
1603 7/22/2015      Toby Marshall        1.00    $ 475.00 $         475.00 [.1].                                                                                               $           475.00                                               TM
1604 7/24/2015       Erika Nusser        0.20    $ 350.00 $          70.00 Emails and conference regarding settlement communications [.2]                                      $            70.00                                               TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
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 1       Date        Professional         Units       Price        Value      Narrative                                                                         Writedown       Revised Value                          Writedown Explanation   Firm
                                                                              Analyzed issues regarding mediation strategy and case scheduling and email
1605 7/24/2015       Toby Marshall        0.20    $ 475.00 $          95.00   correspondence with co-counsel regarding same [.2].                                           $            95.00                                                 TM
1606 7/28/2015        Greg Wolk           0.60    $ 425.00 $         255.00   contact clients with case update                                                              $           255.00                                                 RW
                                                                              Message from opposing counsel regarding joint status report and response to
1607 7/29/2015       Toby Marshall        0.10    $ 475.00 $          47.50   mediation request [.1].                                                                       $            47.50                                                 TM
1608 7/30/2015        Greg Wolk           0.50    $ 425.00 $         212.50   confer with co-counsel re joint status report                                                 $           212.50                                                 RW
1609 7/30/2015       Hardeep Rekhi        0.50    $ 425.00 $         212.50   confer with co-counsel re joint status report                                                 $           212.50                                                 RW

                                                                              Email correspondence with opposing counsel regarding joint status report [.3];
                                                                              telephone conferences with opposing counsel regarding same [.5]; telephone
                                                                              conferences with co-counsel regarding same [.5]; researched and analyzed issues
1610 7/30/2015       Toby Marshall        1.50    $ 475.00 $         712.50   regarding finality of State Supreme Court decision [.2].                                      $           712.50                                                 TM
1611 7/31/2015      Hannelore Ohaus       0.20    $ 75.00 $           15.00   Worked on docketing.                                                                0.20       $               - Administrative                                  TM
1612 7/31/2015       Toby Marshall        0.10    $ 475.00 $          47.50   Telephone conference with Mr. Tena regarding [redacted][.1].                                  $            47.50                                                 TM
1613 8/3/2015        Hardeep Rekhi        0.20    $ 425.00 $          85.00   discuss case strategy                                                                         $            85.00                                                 RW

1614    8/3/2015     Toby Marshall        0.10    $ 475.00 $          47.50 Telephone conference with co-counsel regarding case scheduling issues [.1].                     $            47.50                                                 TM
                                                                            Email correspondence with opposing counsel regarding status of draft joint status
1615 8/10/2015       Toby Marshall        0.10    $ 475.00 $          47.50 report [.1].                                                                                    $            47.50                                                 TM
                                                                            Analyzed issues and email correspondence correspondence with opposing
1616 8/13/2015       Toby Marshall        0.10    $ 475.00 $          47.50 counsel and co-counsel regarding joint status report [.1].                                      $            47.50                                                 TM
                                                                            Analyzed issues regarding joint status report and email to opposing counsel
1617 8/17/2015       Toby Marshall        0.10    $ 475.00 $          47.50 regarding same [.1].                                                                            $            47.50                                                 TM
1618 8/18/2015        Greg Wolk           0.20    $ 425.00 $          85.00 confer with co-counsel re joint status report                                                   $            85.00                                                 RW
1619 8/18/2015       Hardeep Rekhi        0.20    $ 425.00 $          85.00 confer with co-counsel re joint status report                                                   $            85.00                                                 RW
                                                                            Telephone conference with co-counsel regarding joint status report [.2]; email
1620 8/18/2015       Toby Marshall        0.30    $ 475.00 $         142.50 correspondence with co-counsel regarding same [.1].                                             $           142.50                                                 TM
1621 8/19/2015        Greg Wolk           0.40    $ 425.00 $         170.00 anayze and propose stipulation to joint stipulation                                             $           170.00                                                 RW
1622 8/19/2015       Toby Marshall        0.90    $ 475.00 $         427.50 Worked on joint status report and related issues [.9].                                          $           427.50                                                 TM
                                                                            Telephone calls from opposing counsel regarding joint status report [.4]; email
                                                                            correspondence with co-counsel regarding same [.2]; worked on revisions to joint
1623 8/20/2015       Toby Marshall        0.80    $ 475.00 $         380.00 status report [.2].                                                                             $           380.00                                                 TM
1624 8/24/2015      Hannelore Ohaus       0.10    $ 75.00 $            7.50 Worked on docketing.                                                                  0.10       $               - Administrative                                  TM

                                                                              Telephone conference with court reporter regarding transcript of hearing; email
1625 8/28/2015        Eden Nordby         0.40    $   150.00   $      60.00   correspondence regarding same; worked on letter to court reporter.                            $            60.00                                                 TM
1626 8/28/2015      Hannelore Ohaus       0.70    $    75.00   $      52.50   Worked on docketing scheduling order.                                               0.70       $               - Administrative                                  TM
1627 8/28/2015       Toby Marshall        0.10    $   475.00   $      47.50   Analyzed issues regarding new case scheduling order [.1].                                     $            47.50                                                 TM
1628 9/9/2015          Greg Wolk          0.10    $   425.00   $      42.50   conver with co-counsel re case strategy issues                                                $            42.50                                                 RW
1629 9/9/2015        Hardeep Rekhi        0.10    $   425.00   $      42.50   conver with co-counsel re case strategy issues                                                $            42.50                                                 RW

1630 9/9/2015        Toby Marshall        0.10    $ 475.00 $          47.50 Telephone conference with co-counsel regarding case strategy issues [.1].                       $            47.50                                                 TM
1631 9/10/2015       Toby Marshall        0.10    $ 475.00 $          47.50 Worked on case management issues [.1].                                                          $            47.50                                                 TM
1632 9/20/2015       Toby Marshall        0.20    $ 475.00 $          95.00 Worked on case management issues [.2].                                                          $            95.00                                                 TM

                                                                             Worked on motion for partial summary judgment on rest break and on duty, not
1633 10/11/2015      Toby Marshall        3.60    $ 475.00 $        1,710.00 driving claims and researched and analyzed issues regarding same [3.6].              1.80      $           855.00 Unsuccessful Claims                             TM

1634 10/12/2015     Elizabeth Adams       3.30    $ 285.00 $          940.50 Updated research regarding non-production work time under California law.            3.30       $               - Unsuccessful Claims                             TM
1635 10/12/2015         Holly Rota        0.50    $ 100.00 $           50.00 Worked on plaintiffs' motion for partial summary judgment.                                     $            50.00                                                 TM
1636 10/12/2015         Marc Cote         0.30    $ 375.00 $          112.50 Analyzed summary judgment arguments and authority.                                   0.10      $            75.00 Unsuccessful Claims                             TM
                                                                             Researched and analyzed issues regarding pay for non-production work [1.0];
                                                                             worked on factual background issues for partial summary judgment motion on
                                                                             rest break and on duty, not driving claims [.7]; worked on motion for summary
1637   10/12/2015    Toby Marshall        2.50    $   475.00   $    1,187.50 judgment [.8].                                                                       1.20      $           617.50   Unsuccessful Claims                           TM
1638   10/13/2015   Elizabeth Adams       1.60    $   285.00   $      456.00 Completed updating research regarding non-production work issue.                     1.60       $               -   Unsuccessful Claims                           TM
1639   10/13/2015    Razel Agustino       0.10    $    75.00   $        7.50 Worked on notice of firm name and email address change.                              0.10       $               -   Administrative                                TM
1640   10/15/2015      Erika Nusser       0.30    $   350.00   $      105.00 Conference and emails regarding motion for summary judgment [.3]                               $           105.00                                                 TM
1641   10/15/2015    Toby Marshall        0.30    $   475.00   $      142.50 Worked on summary judgment motion [.3].                                              0.10      $            95.00   Unsuccessful Claims                           TM
1642   10/16/2015     Eden Nordby         0.10    $   150.00   $       15.00 Left message for class member regarding [redacted].                                            $            15.00                                                 TM
1643   10/16/2015    Toby Marshall        1.00    $   475.00   $      475.00 Worked on outline of motion for partial summary judgment [1.0].                      0.50      $           237.50   Unsuccessful Claims                           TM
                                                                             Prepared draft of notice of firm name change; amended master caption; arranged
1644 10/23/2015     Bradford Kinsey       0.30    $ 100.00 $           30.00 filing and service.                                                                            $            30.00                                                 TM
                                                                             Analyzed issues regarding damages data production [.2]; worked on motion for
1645   10/26/2015   Toby Marshall         0.30    $   475.00   $      142.50 partial summary judgment [.1].                                                                 $           142.50                                                 TM
1646   10/28/2015     Greg Wolk           0.60    $   425.00   $      255.00 analyze and revise partial SJ                                                        0.30      $           127.50 Unsuccessful claims                             RW
1647   10/28/2015   Hardeep Rekhi         0.10    $   425.00   $       42.50 email from opposing counsel                                                                    $            42.50                                                 RW
1648   10/28/2015   Hardeep Rekhi         0.83    $   425.00   $      353.81 Review Motion for Summary Judgment                                                   0.21      $           265.36 Unsuccessful Claims                             RW



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 61
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                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
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 1       Date        Professional         Units       Price        Value    Narrative                                                                             Writedown       Revised Value                          Writedown Explanation   Firm
                                                                            Worked on proposed order granting plaintiffs' motion for partial summary
                                                                            judgment and declaration of Mr. Marshall in support of plaintiffs' motion for
1649 10/28/2015        Holly Rota         1.00    $ 100.00 $         100.00 partial summary judgment.                                                                         $           100.00 Unsuccessful Claims                             TM

                                                                             Worked on motion for partial summary judgment and researched and analyzed
                                                                             issues regarding same [3.8]; telephone call from opposing counsel regarding
                                                                             request to extend trial date [.2]; analyzed issues regarding same and email
1650 10/28/2015     Toby Marshall         4.20    $ 475.00 $        1,995.00 correspondence with co-counsel regarding same [.2].                                    1.90      $         1,092.50 Unsuccessful Claims                             TM
1651 10/29/2015     Hardeep Rekhi         0.42    $ 425.00 $          177.08 Review summary judgement motion                                                        0.10      $           132.81 Unsuccessful Claims                             RW
                                                                             Worked on declaration and exhibits in support of motion for partial summary
1652 10/29/2015      Eden Nordby          2.50    $ 150.00 $          375.00 judgment.                                                                              0.60      $           285.00 Unsuccessful Claims                             TM

                                                                             Worked on and finalized plaintiffs' motion for partial summary judgment,
                                                                             proposed order, declaration of Mr. Marshall in support of plaintiffs' motion for
1653 10/29/2015        Holly Rota         3.00    $ 100.00 $          300.00 partial summary judgment; electronically filed same.                                   1.50      $           150.00 Unsuccessful Claims                             TM
                                                                             Worked on motion for partial summary judgment and began reviewing
1654 10/29/2015       Marc Cote           2.90    $ 375.00 $        1,087.50 Defendant's motion.                                                                    1.50      $           525.00 Unsuccessful Claims                             TM

                                                                               Telephone conference with co-counsel regarding defendant's request for
                                                                               extension of trial date and plan for responding to same [.2]; worked on proposed
                                                                               order granting plaintiffs' motion for partial summary judgment [.1]; worked on
1655 10/29/2015      Toby Marshall        4.00    $ 475.00 $        1,900.00   motion for partial summary judgment and analyzed issues regarding same [3.7].        1.90      $           997.50 Unsuccessful Claims                             TM
1656 10/30/2015      Hardeep Rekhi        0.50    $ 425.00 $          213.56   Review Defendant's summary judgement motion                                          0.13      $           160.17 Unsuccessful Claims                             RW
1657 10/30/2015     Hannelore Ohaus       0.20    $ 75.00 $            15.00   Worked on docketing.                                                                 0.20       $               - Administrative                                  TM
                                                                               Worked on judges' copies of plaintiffs' motion for partial summary judgment,
                                                                               proposed order and declaration of Mr. Marshall; coordinated with messenger for
1658 10/30/2015       Holly Rota          1.00    $ 100.00 $         100.00    delivery.                                                                            0.50      $            50.00 Unsuccessful Claims                             TM
1659 10/30/2015       Marc Cote           0.10    $ 375.00 $          37.50    Began reviewing Knight's SJ motion.                                                            $            37.50 Unsuccessful Claims                             TM
                                                                               Analyzed issues regarding plan for responding to defendant's motion for partial
1660 10/30/2015      Toby Marshall        0.20    $ 475.00 $          95.00    summary judgment [.2].                                                               0.10      $            47.50 Unsuccessful Claims                             TM
                                                                               Conference regarding response to defendant's motion for summary judgment and
                                                                               emails regarding the same [.3]; conference and emails regarding case strategy
1661 11/2/2015        Erika Nusser        0.60    $ 350.00 $         210.00    issues [.3]                                                                          0.30      $           105.00 Unsuccessful Claims                             TM
1662 11/2/2015      Hannelore Ohaus       0.30    $ 75.00 $           22.50    Worked on docketing.                                                                 0.30       $               - Administrative                                  TM
1663 11/2/2015         Marc Cote          0.20    $ 375.00 $          75.00    Analyzed arguments on summary judgment motion.                                       0.10      $            37.50 Unsuccessful Claims                             TM

                                                                               Worked on plan for responding to defendant's motion for partial summary
                                                                               judgment [.5]; worked on docketing issues [.2]; reviewed Knight's motion for
                                                                               partial summary judgment, researched and analyzed issues regarding same, and
                                                                               worked on outline of response to same [3.2]; analyzed issues regarding Knight's
                                                                               request to extend trial date and email correspondence with co-counsel regarding
1664 11/2/2015      Toby Marshall         4.30    $ 475.00 $        2,042.50   same [.2]; drafted email to opposing counsel regarding same [.2].                    1.80      $         1,187.50 Unsuccessful Claims                             TM
1665 11/3/2015      Hardeep Rekhi         1.06    $ 425.00 $          452.27   review d's SJ                                                                        0.27      $           339.20 Unsuccessful Claims                             RW
                                                                               Email correspondence with co-counsel regarding defendant's continued request
                                                                               to move trial date [.1]; worked on case management issues [.2]; analyzed issues
                                                                               regarding factual background for response to defendant's motion for partial
                                                                               summary judgment and email correspondence with co-counsel regarding same
1666 11/3/2015       Toby Marshall        0.70    $ 475.00 $         332.50    [.4].                                                                                0.20      $           237.50 Unsuccessful Claims                             TM
1667 11/4/2015      Hannelore Ohaus       0.30    $ 75.00 $           22.50    Worked on docketing.                                                                 0.30       $               - Administrative                                  TM
                                                                               Worked on plaintiffs' response to defendants' motion for partial summary
1668   11/4/2015      Holly Rota          1.00    $   100.00   $      100.00   judgment.                                                                            0.50      $            50.00   Unsuccessful Claims                           TM
1669   11/4/2015      Marc Cote           3.30    $   375.00   $    1,237.50   Outlined issues for response to motion for SJ.                                       0.80      $           937.50   Unsuccessful Claims                           TM
1670   11/5/2015      Marc Cote           6.10    $   375.00   $    2,287.50   Worked on response to Knight's motion for summary judgment.                          3.00      $         1,162.50   Unsuccessful Claims                           TM
1671   11/6/2015      Greg Wolk           2.20    $   425.00   $      935.00   analyze Knight SJ motion and begin drafting opposition                               1.10      $           467.50   Unsuccessful claims                           RW
1672   11/6/2015    Hardeep Rekhi         1.90    $   425.00   $      807.50   Review and outltine Kinght SJ; teleconfernce with co-counsel                         0.50      $           595.00   Unsuccessful Claims                           RW
1673   11/6/2015      Marc Cote           8.00    $   375.00   $    3,000.00   Worked on response to motion for summary judgment.                                   4.00      $         1,500.00   Unsuccessful Claims                           TM
                                                                               Analyzed issues regarding response to Knight's motion for partial summary
1674 11/6/2015       Toby Marshall        0.90    $ 475.00 $          427.50   judgment [.9].                                                                       0.50      $           190.00 Unsuccessful Claims                             TM
1675 11/9/2015       Eden Nordby          0.40    $ 150.00 $           60.00   Worked on document production management.                                                      $            60.00                                                 TM
1676 11/9/2015        Marc Cote           5.40    $ 375.00 $        2,025.00   Worked on response to Knight's motion for SJ.                                        2.70      $         1,012.50 Unsuccessful Claims                             TM
                                                                               Worked on document production management; worked on document review;
1677   11/10/2015    Eden Nordby          1.50    $   150.00   $     225.00    email correspondence regarding same; updated production log.                                   $           225.00                                                 TM
1678   11/12/2015     Marc Cote           2.40    $   375.00   $     900.00    Worked on response to SJ motion.                                                     1.20      $           450.00 Unsuccessful Claims                             TM
1679   11/13/2015     Greg Wolk           0.60    $   425.00   $     255.00    revise draft opp to SJM                                                              0.30      $           127.50 Unsuccessful claims                             RW
1680   11/13/2015     Marc Cote           0.20    $   375.00   $      75.00    Analyzed arguments on response to motion for summary judgment.                       0.10      $            37.50 Unsuccessful Claims                             TM
                                                                               Analyzed issues regarding response to Knight's motion for partial summary
1681 11/15/2015      Toby Marshall        0.10    $ 475.00 $           47.50   judgment [.1].                                                                                 $            47.50                                                 TM
1682 11/16/2015       Greg Wolk           1.10    $ 425.00 $          467.50   revise draft opp to SJM                                                              0.50      $           255.00 Unsuccessful claims                             RW
1683 11/17/2015       Greg Wolk           2.80    $ 425.00 $        1,190.00   revise draft opp to SJM; speak with client                                           1.40      $           595.00 Unsuccessful claims                             RW


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
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                                    Case
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 1      Date       Professional         Units     Price      Value      Narrative                                                                            Writedown       Revised Value                        Writedown Explanation   Firm

1684 11/17/2015   Toby Marshall         0.40    $ 475.00 $     190.00 Worked on response to Knight's motion for partial summary judgment [.4].                 0.20      $            95.00 Unsuccessful Claims                           TM
1685 11/18/2015   Toby Marshall         1.40    $ 475.00 $     665.00 Worked on response to motion for partial summary judgment [1.4].                         0.70      $           332.50 Unsuccessful Claims                           TM
                                                                      Worked on declaration and exhibits in support of response to motion for
1686 11/19/2015    Eden Nordby          1.40    $ 150.00 $     210.00 summary judgment.                                                                        0.40      $           150.00 Unsuccessful Claims                           TM
1687 11/19/2015     Marc Cote           0.30    $ 375.00 $     112.50 Analyzed issues for response to summary judgment motion.                                 0.10      $            75.00 Unsuccessful Claims                           TM

1688 11/19/2015   Toby Marshall         1.10    $ 475.00 $     522.50 Worked on response to Knight's motion for partial summary judgment [1.1].                0.50      $           285.00 Unsuccessful Claims                           TM
                                                                      confer with co-counsel re response to Knight's motion for partial sumary
1689 11/20/2015     Greg Wolk           0.50    $ 425.00 $     212.50 judgment                                                                                           $           212.50                                               RW
                                                                      confer with co-counsel re response to Knight's motion for partial sumary
1690 11/20/2015   Hardeep Rekhi         0.50    $ 425.00 $     212.50 judgment                                                                                           $           212.50                                               RW
                                                                      Reviewed, revised and finalized Plaintiffs' response to Defendant's partial motion
                                                                      for partial summary judgment; finalized and finalized supporting Marshall
                                                                      declaration; prepared draft and finalzied proposed order; arranged filing and
1691 11/20/2015   Bradford Kinsey       2.80    $ 100.00 $     280.00 service.                                                                                 0.70      $           210.00 Unsuccessful Claims                           TM

                                                                      Worked on response to defendant's motion for partial summary judgment;
                                                                      worked on and finalized declaration of Mr. Marshall in support of plaintiffs'
1692 11/20/2015     Holly Rota          1.00    $ 100.00 $     100.00 response to defendant's motion for partial summary judgment                              0.50      $            50.00 Unsuccessful Claims                           TM
                                                                      Worked on response to Knight's motion for partial summary judgment,
                                                                      declaration in support of same, and proposed order granting same [.3]; telephone
                                                                      conference with co-counsel regarding response to Knight's motion for partial
1693 11/20/2015   Toby Marshall         0.50    $ 475.00 $     237.50 summary judgment [.2].                                                                   0.30      $            95.00 Unsuccessful Claims                           TM
                                                                      Analyzed issues regarding damages data and left message with Dr. Munson
                                                                      regarding same [.3]; worked on response to Knight's motion for partial summary
1694 11/23/2015   Toby Marshall         1.70    $ 475.00 $     807.50 judgment [1.4].                                                                          0.70      $           475.00 Unsuccessful Claims                           TM

1695 11/24/2015     Marc Cote           0.30    $ 375.00 $     112.50 Analyzed authentication issue for deposition transcript and sent email re same.          0.20      $            37.50 Unsuccessful Claims                           TM
1696 11/27/2015     Marc Cote           0.10    $ 375.00 $      37.50 Analyzed Knight's arguments in response to SJ motion.                                    0.10       $               - Efficiency                                    TM

1697 12/3/2015      Greg Wolk           0.10    $ 425.00 $      42.50 confer with co counsel re reply ISO plts' motion for partial summary judgment                      $            42.50                                               RW

1698 12/3/2015    Hardeep Rekhi         0.10    $ 425.00 $      42.50 confer with co counsel re reply ISO plts' motion for partial summary judgment                      $            42.50                                               RW
                                                                      Worked on reply in support of Plaintiffs' motion for partial summary judgment
1699 12/3/2015    Toby Marshall         1.10    $ 475.00 $     522.50 [1.0]; telephone call from co-counsel regarding same [.1].                               0.50      $           285.00 Unsuccessful Claims                           TM
1700 12/4/2015     Greg Wolk            0.60    $ 425.00 $     255.00 revise reply to partial SJ                                                               0.30      $           127.50 Unsuccessful claims                           RW
                                                                      Reviewed, revised and finalzied reply in support of class certification; finalized
1701 12/4/2015    Bradford Kinsey       2.30    $ 100.00 $     230.00 supplemental Marshall declaration; arranged filing and service.                                    $           230.00                                               TM
                                                                      Worked on declaration and exhibits in support of reply to motion for summary
1702 12/4/2015     Eden Nordby          1.00    $ 150.00 $     150.00 judgment.                                                                                          $           150.00                                               TM

                                                                       Worked on reply in support of motion for partial summary judgment [2.8]; email
1703 12/4/2015    Toby Marshall         2.90    $ 475.00 $    1,377.50 correspondence with expert regarding additional data analysis [.1].                     1.40      $           712.50 Unsuccessful Claims                           TM
1704 12/7/2015    Toby Marshall         0.20    $ 475.00 $       95.00 Worked on damages issues [.2].                                                                    $            95.00                                               TM
1705 12/9/2015    Eden Nordby           0.30    $ 150.00 $       45.00 Worked on file organization; updated production log.                                    0.20      $            15.00 Administrative                                TM
                                                                       Worked on plan for procesing additional data and recalculating damages [1.5];
1706 12/9/2015    Toby Marshall         3.10    $ 475.00 $    1,472.50 meeting with Dr. Munson regarding same [1.6].                                           0.80      $         1,092.50 Unsuccessful Claims                           TM
                                                                       Reviewed Knight's reply in support of its motion for partial summary judgment
                                                                       [.2]; analyzed issues regarding factual background and class definition and drafted
1707 12/13/2015   Toby Marshall         0.40    $ 475.00 $      190.00 email to co-counsel regarding same [.2].                                                          $           190.00                                               TM
1708 12/15/2015    Greg Wolk            1.30    $ 425.00 $      552.50 review recent production and discovery responses                                                  $           552.50                                               RW
                                                                       strategize for trial; discussion regarding trial prep; review Defendants discovery
1709 12/15/2015   Hardeep Rekhi         0.50    $ 425.00 $      212.62 supplement                                                                                        $           212.62                                               RW
1710 12/16/2015     Greg Wolk           0.90    $ 425.00 $      382.50 call witnesses re trial availability                                                              $           382.50                                               RW

1711 12/17/2015   Toby Marshall         0.10    $ 475.00 $      47.50 Email correspondence with Dr. Munson regarding delay in data production [.1].                      $            47.50                                               TM

1712 12/29/2015   Toby Marshall         0.10    $ 475.00 $      47.50 Email correspondence with opposing counsel regarding damages data issues [.1].                     $            47.50                                               TM

1713   1/7/2016     Greg Wolk           0.10    $ 425.00 $      42.50 confer with co-counsel re request for damages data and trial preparations                          $            42.50                                               RW

1714   1/7/2016   Hardeep Rekhi         0.10    $ 425.00 $      42.50 confer with co-counsel re request for damages data and trial preparations                          $            42.50                                               RW
                                                                      Email correspondence with opposing counsel regarding request for damages data
                                                                      [.1]; telephone conference with co-counsel regarding same and trial preparations
1715   1/7/2016   Toby Marshall         0.20    $ 475.00 $      95.00 [.1].                                                                                              $            95.00                                               TM

                                                                      Email correspondence with opposing counsel regarding request for meet and
1716 1/12/2016    Toby Marshall         0.10    $ 475.00 $      47.50 confer to discuss Knight's failure to produce requested damages data [.1].                         $            47.50                                               TM


 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
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 1       Date       Professional         Units       Price        Value      Narrative                                                                                Writedown       Revised Value                        Writedown Explanation   Firm

                                                                             Prepared for telephone conference with opposing counsel regarding Knight's
                                                                             failure to timely produce damages data [.3]; telephone conference with opposing
1717 1/13/2016      Toby Marshall        0.70    $ 475.00 $         332.50   counsel regarding same [.2]; analyzed issues regarding same [.2].                                    $           332.50                                               TM
                                                                             Worked on case strategy issues and email correspondence with co-counsel
1718 1/18/2016      Toby Marshall        0.10    $ 475.00 $          47.50   regarding same [.1].                                                                                 $            47.50                                               TM
1719 1/19/2016       Greg Wolk           0.60    $ 425.00 $         255.00   call witnesses re trial availability                                                                 $           255.00                                               RW
                                                                             call witnesses re trial availability (.8); confer with co-counsel regarding trial plan
1720   1/20/2016      Greg Wolk          1.10    $   425.00   $     467.50   (.3)                                                                                                 $           467.50                                               RW
1721   1/20/2016    Hardeep Rekhi        0.30    $   425.00   $     127.50   confer with co-counsel regarding trial plan                                                          $           127.50                                               RW
1722   1/20/2016     Erika Nusser        0.20    $   350.00   $      70.00   Telephone conference regarding case strategy issues [.2]                                             $            70.00                                               TM
1723   1/20/2016    Toby Marshall        0.30    $   475.00   $     142.50   Telephone conference with co-counsel regarding trial plan [.3].                                      $           142.50                                               TM
1724   1/21/2016     Eden Nordby         0.50    $   150.00   $      75.00   Worked on document production management; updated production log.                                    $            75.00                                               TM

                                                                             Reviewed damages data from Knight and analyzed issues regarding same [.7];
                                                                             telephone conference with opposing counsel regarding same [.2]; exchanged
                                                                             messages with Dr. Munson regarding same [.1]; drafted email to opposing
1725 1/21/2016      Toby Marshall        1.30    $ 475.00 $         617.50   counsel regarding same [.1]; worked on trial strategy issues [.2].                         0.20      $           522.50 Unsuccessful Claims                           TM
1726 1/22/2016     Bradford Kinsey       0.10    $ 100.00 $          10.00   Reviewed Tadano withdrawal of counsel; amended master caption.                             0.10       $               - Administrative                                TM
                                                                             Telephone conference with Dr. Munson regarding damages data [.4]; analyzed
                                                                             issues regarding same [.1]; email to opposing counsel regarding same [.1];
1727 1/22/2016      Toby Marshall        0.70    $ 475.00 $         332.50   telephone conference with Mr. Tena regarding [redacted][.1].                               0.10      $           285.00 Unsuccessful Claims                           TM
1728 1/25/2016       Erika Nusser        0.10    $ 350.00 $          35.00   Emails regarding pretrial deadlines [.1]                                                             $            35.00                                               TM
1729 1/26/2016        Greg Wolk          1.60    $ 425.00 $         680.00   draft calling script for witnesses; identify witnesses to call                                       $           680.00                                               RW
                                                                             Telephone conference with Dr. Munson regarding status of damages data [.1];
1730 1/26/2016      Toby Marshall        0.40    $ 475.00 $         190.00   worked on trial plan issues [.3].                                                          0.10      $           142.50 Unsuccessful Claims                           TM
                                                                             Reviewed records regarding exclusion requests; email correspondence regarding
1731 1/27/2016       Eden Nordby         0.20    $ 150.00 $          30.00   same.                                                                                                $            30.00                                               TM
1732 1/27/2016       Erika Nusser        0.40    $ 350.00 $         140.00   Analyzed scheduling issues and emails regarding the same [.4]                                        $           140.00                                               TM
1733 1/27/2016     Hannelore Ohaus       0.20    $ 75.00 $           15.00   Worked on docketing.                                                                       0.20       $               - Administrative                                TM

                                                                           Telephone conference with Dr. Munson regarding damages data and analysis
                                                                           [1.0]; worked on issues regarding same [.2]; analyzed issues regarding case
                                                                           schedule and inability to prepare for trial without ruling on summary judgment
1734 1/27/2016      Toby Marshall        1.70    $ 475.00 $         807.50 motions [.4]; email correspondence with opposing counsel regarding same [.1].                0.30      $           665.00 Unsuccessful Claims                           TM
                                                                           confer with co-counsel regarding trail date, case schedule, and proposal to modify
1735 1/28/2016       Greg Wolk           0.50    $ 425.00 $         212.50 trial date and case schedule                                                                           $           212.50                                               RW
                                                                           confer with co-counsel regarding trail date, case schedule, and proposal to modify
1736 1/28/2016      Hardeep Rekhi        0.50    $ 425.00 $         212.50 trial date and case schedule                                                                           $           212.50                                               RW

                                                                           Telephone conferences regarding expert issues and case schedule [.9]; worked on
1737 1/28/2016       Erika Nusser        1.50    $ 350.00 $         525.00 stipulation to extend trial date and emails regarding the same [.6]                                    $           525.00                                               TM
1738 1/28/2016     Hannelore Ohaus       0.50    $ 75.00 $           37.50 Worked on docketing.                                                                         0.50       $               - Administrative                                TM
1739 1/28/2016        Holly Rota         1.00    $ 100.00 $         100.00 Worked on stipulation and proposed order regarding case schedule.                            0.50      $            50.00 Efficiency                                    TM

                                                                             Analyzed issues regarding trial date and case schedule [.2]; telephone conference
                                                                             with opposing counsel regarding same and expert data issues [.2]; worked on trial
                                                                             plan issues [.2]; telephone conference with co-counsel regarding same and
                                                                             proposal to modify trial date and case schedule [.5]; worked on stipulation and
                                                                             proposed order vacating trial date pending court's decision on cross-motions for
1740 1/28/2016      Toby Marshall        1.40    $ 475.00 $         665.00   summary judgment [.1]; worked on update to website notice [.2].                                      $           665.00                                               TM
                                                                             Finalized stipulation and proposed order regarding case schedule; electronically
1741 1/29/2016       Holly Rota          0.50    $ 100.00 $          50.00   filed same.                                                                                          $            50.00                                               TM
1742 2/2/2016       Eden Nordby          0.20    $ 150.00 $          30.00   Telephone conference with class member regarding [redacted].                                         $            30.00                                               TM
                                                                             Worked on scheduling of meeting to discuss trial plan [.1]; telephone call from Dr.
1743   2/2/2016     Toby Marshall        0.20    $   475.00   $      95.00   Abbott regarding status of trial date [.1].                                                          $            95.00                                               TM
1744   2/4/2016       Greg Wolk          1.00    $   425.00   $     425.00   confer w co-counsel re trial plan                                                                    $           425.00                                               RW
1745   2/4/2016     Hardeep Rekhi        1.00    $   425.00   $     425.00   confer w co-counsel re trial plan                                                                    $           425.00                                               RW
1746   2/4/2016      Eden Nordby         1.00    $   150.00   $     150.00   Worked on issues regarding trial preparation projects and timeline.                                  $           150.00                                               TM
1747   2/4/2016      Erika Nusser        1.00    $   350.00   $     350.00   Telephone conference to discuss trial plan [1]                                                       $           350.00                                               TM

                                                                           Prepared for telephone conference with co-counsel regarding trial preparation
1748   2/4/2016     Toby Marshall        0.70    $ 475.00 $         332.50 efforts [.1]; telephone conference with co-counsel regarding same [.6].                                $           332.50                                               TM

1749   2/5/2016     Toby Marshall        0.10    $ 475.00 $          47.50 Email to opposing counsel regarding status of raw data for damages analyses [.1].                      $            47.50                                               TM
1750   2/8/2016     Eden Nordby          0.20    $ 150.00 $          30.00 Email correspondence regarding trial preparation projects.                                             $            30.00                                               TM
                                                                           Telephone conference and emails regarding case strategy issues and script for
1751   2/8/2016      Erika Nusser        0.30    $ 350.00 $         105.00 class member calls [.3]                                                                                $           105.00                                               TM



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 64
 CASE NO. 2:12-CV-00904-RSL
                                      Case
                                     Case
                                       Case2:18-cv-00681-RAJ
                                          2:12-cv-00904-RSL   Document
                                             2:17-cv-01499 Document
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 1       Date       Professional         Units       Price        Value       Narrative                                                                           Writedown       Revised Value                          Writedown Explanation   Firm

                                                                              Worked on plan for calling potential trial witnesses and email correspondence
                                                                              with co-counsel regarding same [.3]; worked on script for calling potential trial
                                                                              witnesses [.4]; prepared for telephone conference with opposing counsel
                                                                              regarding damages data issues [.1]; participated in same [.1]; analyzed issues
                                                                              regarding damages data and reviewed Knight's experts response to Dr. Abbott's
                                                                              second amended report [.4]; telephone conference with co-counsel regarding
1752   2/8/2016     Toby Marshall        1.50    $ 475.00 $         712.50    damages data and witness calls [.2].                                                  0.10      $           665.00 Unsuccessful Claims                             TM
1753   2/9/2016      Greg Wolk           0.30    $ 425.00 $         127.50    confer w co-counsel on plan for moving forward                                                  $           127.50                                                 RW
1754   2/9/2016     Hardeep Rekhi        0.30    $ 425.00 $         127.50    confer on plan for moving forward                                                               $           127.50                                                 RW
                                                                              Worked on index of potential trial witnesses and claims [2]; updated production
1755   2/9/2016     Eden Nordby          2.50    $ 150.00 $         375.00    log with documents produced to experts [.5].                                                    $           375.00                                                 TM
                                                                              Telephone conference and email correspondence with Dr. Munson regarding
                                                                              discrepancies in damages data [.4]; analyzed issues regarding discrepancies in
                                                                              damages data [.2]; email to opposing counsel regarding same [.1]; worked on
                                                                              scheduling of same [.1]; worked on analysis of claims held by class members who
1756   2/9/2016     Toby Marshall        1.10    $ 475.00 $         522.50    may be trial witnesses [.3].                                                                    $           522.50                                                 TM

1757 2/10/2016      Eden Nordby          1.20    $ 150.00 $         180.00 Worked on issues regarding potential witnesses; analyzed damages for same.                         $           180.00                                                 TM

                                                                           Analyzed factual issues for class members [redacted], and voicemail for
1758 2/10/2016       Erika Nusser        0.50    $ 350.00 $         175.00 [redacted] [.3]; emails regarding calls to class members and factual issues [.2]                   $           175.00                                                 TM

                                                                              Prepared for telephone conference with opposing counsel and experts regarding
                                                                              discrepencies in damages data and analyzed issues regarding same [1.2];
                                                                              telephone conference with opposing counsel and experts regarding discrepencies
1759 2/12/2016      Toby Marshall        3.20    $ 475.00 $        1,520.00   in damages data [1.0]; meeting with Dr. Munson regarding same [1.0].                            $         1,520.00                                                 TM
                                                                              Telephone call from Dr. Munson regarding analysis of damages data discrepencies
1760 2/15/2016      Toby Marshall        0.10    $ 475.00 $          47.50    [.1].                                                                                           $            47.50                                                 TM
1761 2/18/2016       Greg Wolk           0.30    $ 425.00 $         127.50    revise calling script                                                                           $           127.50                                                 RW
1762 2/18/2016      Eden Nordby          0.20    $ 150.00 $          30.00    Updated production log.                                                                         $            30.00                                                 TM
                                                                              Worked on adding information regarding Denham Amendment to class member
1763 2/18/2016       Erika Nusser        0.60    $ 350.00 $         210.00    call script and emails regarding the same [.6]                                                  $           210.00                                                 TM
                                                                              Analyzed issues regarding damages data [.6]; emails to opposing counsel and Dr.
1764 2/18/2016      Toby Marshall        0.80    $ 475.00 $         380.00    Munson regarding same [.2].                                                                     $           380.00                                                 TM
                                                                              Reviewed class member call script; worked on contacting potential class member
1765 2/26/2016      Eden Nordby          0.70    $ 150.00 $         105.00    witnesses [redacted]; updated tracking spreadsheet.                                             $           105.00                                                 TM
1766 3/10/2016       Greg Wolk           0.40    $ 425.00 $         170.00    speak to driver witness re case                                                                 $           170.00                                                 RW
                                                                              Message from Mr. Tena regarding [redacted] [.1]; telephone conference with Mr.
1767 3/16/2016      Toby Marshall        0.20    $ 475.00 $          95.00    Tena regarding same [.1].                                                                       $            95.00                                                 TM

                                                                              Reviewed email from court clerk regarding setting of hearing on motions for
                                                                              summary judgment and email correspondence with co-counsel and opposing
                                                                              counsel regarding same [.2]; analyzed issues regarding inquiry by widow of class
                                                                              member [redacted] and email correspondence with co-counsel regarding same
                                                                              [.1]; worked on preparing notebook for hearing on motions for summary
1768   3/17/2016    Toby Marshall        0.70    $ 475.00 $         332.50    judgment [.2]; worked on case management issues [.2].                                           $           332.50                                                 TM
1769   3/18/2016     Eden Nordby         0.20    $ 150.00 $          30.00    Telephone conference with non-class member regarding case status.                     0.20       $               - Relevance                                       TM
1770   3/18/2016   Hannelore Ohaus       0.30    $ 75.00 $           22.50    Worked on docketing.                                                                  0.30       $               - Administrative                                  TM
1771   3/18/2016    Razel Agustino       0.10    $ 75.00 $            7.50    Worked on docketing.                                                                  0.10       $               - Administrative                                  TM
                                                                              Created case management notebooks for Mr. Marshall re Motions for Summary
1772 3/18/2016       Sam Hoover          1.50    $    50.00 $        75.00    Judgment                                                                              1.50      $               - Administrative                                   TM
                                                                              Email correspondence with court and co-counsel regarding scheduling of Knight
1773 3/18/2016      Toby Marshall        0.10    $ 475.00 $          47.50    hearing; docketed same [.1].                                                                    $            47.50                                                 TM
                                                                              Email correspondence with co-counsel regarding scheduling of moot for
1774 4/8/2016       Toby Marshall        0.10    $ 475.00 $          47.50    upcoming hearing on summary judgment motions [.1].                                              $            47.50                                                 TM
1775 4/15/2016        Holly Rota         0.50    $ 100.00 $          50.00    Update client contact information.                                                              $            50.00                                                 TM
1776 4/15/2016      Toby Marshall        0.10    $ 475.00 $          47.50    Prepared for argument on motions for partial summary judgment [.1].                   0.10       $               - Unsuccessful Claims                             TM
                                                                              Reviewed briefing and case law in preparation for hearing on motions for partial
1777 4/17/2016      Toby Marshall        1.80    $ 475.00 $         855.00    summary judgment [1.8].                                                               0.90      $           427.50 Unsuccessful Claims                             TM
                                                                              Researched and analyzed issues regarding motions for partial summary judgment
1778   4/18/2016   Toby Marshall         1.40    $   475.00   $      665.00   and worked on outline of argument for hearing on same [1.4].                          0.70      $           332.50   Unsuccessful Claims                           TM
1779   4/19/2016     Greg Wolk           2.00    $   425.00   $      850.00   meet with co-counsel to prep for hearing                                              1.00      $           425.00   Unsuccessful claims                           RW
1780   4/19/2016   Hardeep Rekhi         3.33    $   425.00   $    1,413.24   Moot Court Argumentl strategize Summary judgment argument                             1.30      $           860.74   Unsuccessful Claims                           RW
1781   4/19/2016   Hardeep Rekhi         2.00    $   425.00   $      850.00   meet with co-counsel to prep for hearing                                              1.00      $           425.00   Unsuccessful claims                           RW
                                                                              Travelled to and from and participated in preparation for hearing on plaintiffs'
                                                                              motion for partial summary judgment, and researched legal and factual issues
1782 4/19/2016       Erika Nusser        2.50    $ 350.00 $         875.00    related to the same [2.5]                                                             0.60      $           665.00 Unsuccessful Claims                             TM



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
 AND REIMBURSEMENT OF LITIGATION COSTS - 65
 CASE NO. 2:12-CV-00904-RSL
                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
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 1       Date        Professional         Units       Price        Value       Narrative                                                                             Writedown       Revised Value                        Writedown Explanation   Firm
                                                                               Researched and analyzed issues regarding motions for partial summary judgment
                                                                               and worked on outline of argument and PowerPoint presentation for hearing on
                                                                               same [5.4]; traveled to, participated in, and returned from meeting with co-
                                                                               counsel to moot argument for hearing on motions for partial summary judgment
1783 4/19/2016      Toby Marshall         9.50    $ 475.00 $        4,512.50   [4.1].                                                                                  4.80      $         2,232.50 Unsuccessful Claims                           TM
1784 4/20/2016       Greg Wolk            0.90    $ 425.00 $          382.50   confer with co-counsel re motion for partial summary judgment                                     $           382.50                                               RW
1785 4/20/2016      Hardeep Rekhi         0.90    $ 425.00 $          382.50   confer with co-counsel re motion for partial summary judgment                                     $           382.50                                               RW
                                                                               Conference in preparation for hearing on plaintiffs' motion for partial summary
1786 4/20/2016       Erika Nusser         0.90    $ 350.00 $         315.00    judgment [.9]                                                                           0.20      $           245.00 Unsuccessful Claims                           TM

                                                                             Researched and analyzed issues regarding motions for partial summary judgment
                                                                             and worked on outline of argument and PowerPoint presentation for hearing on
1787 4/20/2016      Toby Marshall         6.90    $ 475.00 $        3,277.50 same [6.0]; telephone conference with co-counsel regarding same [.9].                     3.50      $         1,615.00 Unsuccessful Claims                           TM
1788 4/21/2016       Greg Wolk            1.30    $ 425.00 $          552.50 prep and attend SJ hearing                                                                0.70      $           255.00 Unsuccessful claims                           RW
                                                                             Prepared for, travelled to and from and attended hearing on parties' cross
1789 4/21/2016       Erika Nusser         3.30    $ 350.00 $        1,155.00 motions for partial summary judgment [3.3]                                                0.80      $           875.00 Unsuccessful Claims                           TM
1790 4/21/2016        Marc Cote           0.20    $ 375.00 $           75.00 Conference regarding summary judgment hearing.                                            0.20       $               - Efficiency                                    TM
                                                                             Prepared ipad for Mr. Marshall's use in court; Tested presentation display on
                                                                             external screen; Gave tutorial to Mr. Marshall and Ms. Nusser re using
                                                                             PowerPoint on the ipad; Prepared physical copies of Mr. Marshall's presentation
1791 4/21/2016       Sam Hoover           4.00    $    50.00 $        200.00 for use in court;                                                                         4.00      $               - Administrative                                 TM

                                                                               Worked on argument for hearing on motions for partial summary judgment [3.8];
                                                                               traveled to, attended, and returned from hearing on motions for partial summary
1792   4/21/2016   Toby Marshall          6.70    $   475.00   $    3,182.50   judgment [2.4]; meeting with co-counsel regarding same [.5].                            3.40      $         1,567.50 Unsuccessful Claims                           TM
1793   4/26/2016    Eden Nordby           0.20    $   150.00   $       30.00   Email correspondence with co-counsel regarding hearing presentation.                              $            30.00                                               TM
1794   4/27/2016     Greg Wolk            0.50    $   425.00   $      212.50   review Order on SJ                                                                                $           212.50                                               RW
1795   4/27/2016   Hardeep Rekhi          0.75    $   425.00   $      318.75   Review order; email regarding the same                                                            $           318.75                                               RW

1796 4/27/2016       Erika Nusser         0.50    $ 350.00 $         175.00 Order on motions for summary judgment and emails regarding the same [.5]                   0.30      $            70.00 Unsuccessful Claims                           TM
1797 4/27/2016     Hannelore Ohaus        0.30    $ 75.00 $           22.50 Worked on docketing.                                                                       0.30       $               - Administrative                                TM
                                                                            Reviewed order on motions for summary judgment and analyzed issues regarding
1798 4/27/2016      Toby Marshall         0.40    $ 475.00 $         190.00 same [.4].                                                                                 0.20      $            95.00 Unsuccessful Claims                           TM

1799   5/2/2016      Eden Nordby          0.10    $ 150.00 $          15.00 Reviewed correspondence regarding case update and new case schedule.                                 $            15.00                                               TM

                                                                            Analyzed issues regarding claims to be tried, damages data analyses, and
                                                                            proposed case schedule in preparation for telephone conference with opposing
                                                                            counsel [.6]; telephone conference with opposing counsel regarding damages
                                                                            data analyses, mediation scheduling, and case schedule [.2]; worked on proposed
                                                                            case schedule [.3]; email correspondence with co-counsel regarding telephone
                                                                            conference with opposing counsel and proposed case schedule [.2]; worked on
1800   5/2/2016     Toby Marshall         1.60    $ 475.00 $         760.00 issues regarding damages calculations [.3].                                                          $           760.00                                               TM

                                                                               Analyzed issues regarding schedule for exchange of damages calculations and pre-
                                                                               mediation offers [.3]; email to opposing counsel regarding proposed case
                                                                               schedule and deadlines for exchange of damages calculations and pre-mediation
1801   5/3/2016     Toby Marshall         0.70    $ 475.00 $         332.50    offers [.2]; analyzed issues regarding settlement strategy [.2].                                  $           332.50                                               TM
                                                                               confer w co-counsel re case schedule, data production and analyses, and
1802   5/5/2016       Greg Wolk           0.60    $ 425.00 $         255.00    mediation issues                                                                                  $           255.00                                               RW
                                                                               Call potential class member; strategize mediation; Discussion regarding new class
1803   5/5/2016    Hardeep Rekhi          0.60    $ 425.00 $         256.06    members                                                                                           $           256.06                                               RW
                                                                               confer w co-counsel re case schedule, data production and analyses, and
1804   5/5/2016     Hardeep Rekhi         0.60    $ 425.00 $         255.00    mediation issues                                                                                  $           255.00                                               RW

                                                                               Telephone conference with co-counsel regarding [redacted] [.4]; telephone
                                                                               conference with opposing counsel regarding case schedule, data production and
                                                                               analsyes, and mediation issues [.2]; telephone conference with co-counsel
                                                                               regarding same [.2]; email correspondence with Ms. Roberts, co-counsel, and
                                                                               opposing counsel regarding proposed trial dates [.1]; worked on revisions to
1805   5/5/2016     Toby Marshall         1.10    $ 475.00 $         522.50    proposed case schedule and email to opposing counsel regarding same [.2].                         $           522.50                                               TM
                                                                               Email correspondence with Ms. Roberts, opposing counsel, and co-counsel
1806   5/6/2016     Toby Marshall         0.20    $ 475.00 $          95.00    regarding case scheduling issues [.2].                                                            $            95.00                                               TM
                                                                               Prepared 4/21/16 hearing transcript request [.1]; arranged filing and service [.1];
                                                                               email correspondence to and from Ms. Zurn [.1]; requested check payment and
1807   5/16/2016    Bradford Kinsey       0.40    $ 100.00 $          40.00    arranged messenger [.1].                                                                          $            40.00                                               TM
1808   5/16/2016   Hannelore Ohaus        0.60    $ 75.00 $           45.00    Worked on docketing.                                                                    0.60       $               - Administrative                                TM
1809   5/16/2016    Razel Agustino        0.30    $ 75.00 $           22.50    Worked on docketing.                                                                    0.30       $               - Administrative                                TM
1810   5/18/2016    Hardeep Rekhi         0.25    $ 425.00 $         106.49    teleconfernce with witness                                                                        $           106.49                                               RW
1811   5/23/2016   Hannelore Ohaus        0.10    $ 75.00 $            7.50    Worked on docketing.                                                                    0.10       $               - Administrative                                TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 66
CASE NO. 2:12-CV-00904-RSL
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                                    Case
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                                            2:17-cv-01499 Document
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 1     Date        Professional         Units     Price          Value      Narrative                                                                      Writedown      Revised Value                     Writedown Explanation   Firm
1812 5/25/2016     Eden Nordby          0.20    $ 150.00 $            30.00 Followed up with class representative regarding [redacted].                                 $          30.00                                             TM
1813 6/2/2016      Eden Nordby          0.80    $ 150.00 $           120.00 Worked on issues regarding defendant's document production.                                 $         120.00                                             TM
                                                                            Worked on document production management; email correspondence regarding
1814 6/3/2016       Eden Nordby         0.30    $   150.00   $        45.00 same.                                                                                       $         45.00                                             TM
1815 6/3/2016      Toby Marshall        0.20    $   475.00   $        95.00 Analyzed issues regarding damages data [.2].                                                $         95.00                                             TM
1816 6/9/2016        Greg Wolk          0.20    $   425.00   $        85.00 confer w co-counsel re moving forward                                                       $         85.00                                             RW
1817 6/9/2016      Hardeep Rekhi        0.20    $   425.00   $        85.00 confer w co-counsel re moving forward                                                       $         85.00                                             RW
1818 6/9/2016      Toby Marshall        0.10    $   475.00   $        47.50 Telephone conference with co-counsel regarding damages data [.1].                           $         47.50                                             TM
1819 6/17/2016     Toby Marshall        0.20    $   475.00   $        95.00 Analyzed issues regarding [redacted] [.2].                                                  $         95.00                                             TM
                                                                            Worked on damages data issues and analysis [1.5]; email to opposing counsel
1820 6/20/2016     Toby Marshall        1.60    $ 475.00 $           760.00 regarding same [.1].                                                                        $        760.00                                             TM
                                                                            Analyzed issues regarding damages data and email correspondence with opposing
1821 6/22/2016     Toby Marshall        0.30    $ 475.00 $           142.50 counsel regarding same [.3].                                                                $        142.50                                             TM
                                                                            Telephone conference with Mr. Tena regarding [redacted]; updated address in
1822   7/7/2016    Eden Nordby          0.20    $ 150.00 $            30.00 class list.                                                                                 $         30.00                                             TM
                                                                            Telephone conference with opposing counsel regarding status of damages data
                                                                            extraction [.1]; email correspondence with co-counsel and Dr. Munson regarding
1823 7/12/2016     Toby Marshall        0.20    $ 475.00 $            95.00 same [.1].                                                                                  $         95.00                                             TM
1824 7/13/2016     Toby Marshall        0.10    $ 475.00 $            47.50 Telephone call from Dr. Munson regarding damages data analysis [.1].                        $         47.50                                             TM
                                                                            Left message with Dr. Munson regarding meeting to analyze damages data and
1825 7/15/2016     Toby Marshall        0.10    $ 475.00 $            47.50 calculations [.1].                                                                          $         47.50                                             TM

                                                                           Analyzed issues regarding mediation and email correspondence with co-counsel
                                                                           and opposing counsel regarding same [.2]; analyzed issues regarding damages
                                                                           analyses and calculations and email correspondence with opposing counsel
                                                                           regarding same [.2]; exchanged messages with Dr. Munson regarding damages
                                                                           analyses and calculations [.1]; telephone conference with Dr. Munson regarding
1826 7/19/2016     Toby Marshall        0.60    $ 475.00 $          285.00 meeting to analyze damages data and prepare calculations [.1].                               $        285.00                                             TM
                                                                           Updated production log; worked on document production for expert review;
1827 7/21/2016     Eden Nordby          1.00    $ 150.00 $          150.00 forwarded same.                                                                              $        150.00                                             TM

                                                                             Analyzed issues regarding damages data needed for mediation and email
                                                                             correspondence with opposing counsel regarding same [.2]; prepared for meeting
                                                                             with Dr. Munson regarding damages data and calculations [.3]; participated in
                                                                             same [1.4]; worked on getting additional document production to Dr. Munson
                                                                             [.2]; email to Dr. Munson regarding updated class list, prejudgment interest, and
1828 7/21/2016     Toby Marshall        2.20    $ 475.00 $        1,045.00   extrapolations for current employees [.1].                                                 $      1,045.00                                             TM
                                                                             Worked on issues regarding document production for expert; email
1829 7/22/2016     Eden Nordby          0.50    $ 150.00 $           75.00   correspondence to expert regarding same.                                                   $         75.00                                             TM
1830 7/25/2016     Eden Nordby          0.20    $ 150.00 $           30.00   Email correspondence to expert regarding [redacted].                                       $         30.00                                             TM
                                                                             Email correspondence with co-counsel and opposing counsel regarding proposed
1831 7/26/2016     Toby Marshall        0.20    $ 475.00 $           95.00   mediation dates [.1]; worked on efforts to lock in date [.1].                              $         95.00                                             TM
1832 7/27/2016    Hannelore Ohaus       0.10    $ 75.00 $             7.50   Worked on docketing.                                                                0.10    $            - Administrative                              TM
                                                                             Email correspondence with co-counsel and opposing counsel regarding
1833 7/27/2016     Toby Marshall        0.50    $   475.00   $      237.50   scheduling of mediation [.2]; worked on issues related to same [.3].                       $        237.50                                             TM
1834 7/28/2016     Hardeep Rekhi        0.20    $   425.00   $       85.00   Review email correspondance                                                                $         85.00                                             RW
1835 8/1/2016      Hardeep Rekhi        0.10    $   425.00   $       42.50   Email correspondence regarding knight andd review of bickley                               $         42.50                                             RW
1836 8/2/2016      Toby Marshall        0.20    $   475.00   $       95.00   Worked on damages data analyses [.2].                                                      $         95.00                                             TM
1837 8/3/2016       Eden Nordby         0.10    $   150.00   $       15.00   Worked on docketing.                                                                0.10    $            -    Administrative                           TM
1838 8/3/2016     Hannelore Ohaus       0.10    $    75.00   $        7.50   Worked on docketing.                                                                0.10    $            -    Administrative                           TM
1839 8/4/2016     Hannelore Ohaus       0.10    $    75.00   $        7.50   Worked on docketing.                                                                0.10    $            -    Administrative                           TM
1840 8/4/2016      Razel Agustino       0.10    $    75.00   $        7.50   Worked on docketing.                                                                0.10    $            -    Administrative                           TM
                                                                             Left message with Dr. Munson regarding status of damages data analyses [.1];
1841   8/5/2016    Toby Marshall        0.30    $ 475.00 $          142.50   telephone conference with Dr. Munson regarding same [.2].                                  $        142.50                                             TM
                                                                             Email and voicemail messages from Dr. Munson regarding damages data
1842   8/7/2016    Toby Marshall        0.20    $ 475.00 $           95.00   calculations [.1]; analyzed issues regarding same [.1].                                    $         95.00                                             TM

                                                                           Analyzed issues regarding exchange of damages calculations, mediation, and
                                                                           scheduling [.4]; email correspondence with opposing counsel regarding same [.1];
1843   8/8/2016    Toby Marshall        0.80    $ 475.00 $          380.00 telephone call from opposing counsel regarding same [.3].                                    $        380.00                                             TM
1844   8/9/2016     Greg Wolk           0.30    $ 425.00 $          127.50 confer w co-counsel re schedule                                                              $        127.50                                             RW

                                                                           Analyzed issues regarding case strategy, modifications to schedule, and proposed
                                                                           additional class [.4]; telephone conference with co-counsel regarding same [.3];
                                                                           drafted proposed stipulation and order for modification of deadlines [.3]; email to
                                                                           co-counsel regarding same [.1]; email to opposing counsel regarding proposed
                                                                           case schedule modifications and settlement data [.1]; analyzed issues regarding
1845   8/9/2016    Toby Marshall        1.60    $ 475.00 $          760.00 damages calculations and related data [.4].                                                  $        760.00                                             TM
                                                                           Telephone conferences with Dr. Munson regarding damages calculations [1.5];
1846 8/10/2016     Toby Marshall        1.70    $ 475.00 $          807.50 worked on same [.2].                                                                         $        807.50                                             TM


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                                             2:17-cv-01499 Document
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 1     Date         Professional         Units     Price          Value        Narrative                                                                       Writedown      Revised Value                  Writedown Explanation   Firm
1847 8/11/2016       Greg Wolk           0.30    $ 425.00 $           127.50   confer w co-counsel re schedule and mediation                                                $         127.50                                         RW
1848 8/11/2016     Hardeep Rekhi         0.90    $ 425.00 $           382.50   Settlement Discussion with Mediator                                                          $         382.50                                         RW
1849 8/11/2016     Hardeep Rekhi         0.20    $ 425.00 $            85.00   Discuss mediation                                                                            $          85.00                                         RW
                                                                               Worked on damages calculations [.6]; telephone conferences with Dr. Munson
1850 8/11/2016      Toby Marshall        1.90    $ 475.00 $          902.50    regarding same [1.3].                                                                        $        902.50                                          TM
1851 8/12/2016       Greg Wolk           0.20    $ 425.00 $           85.00    confer w co-counsel re damages                                                               $         85.00                                          RW
1852 8/12/2016      Hardeep Rekhi        0.20    $ 425.00 $           85.00    confer w co-counsel re damages                                                               $         85.00                                          RW
                                                                               Telephone conference with Dr. Munson regarding damages calculations [.8];
                                                                               telephone conference with co-counsel regarding same [.2]; email correspondence
                                                                               with opposing counsel regarding exchange of damages calculations [.1]; analyzed
1853 8/12/2016      Toby Marshall        1.20    $ 475.00 $          570.00    issues regarding same [.1]. .                                                                $        570.00                                          TM

1854 8/14/2016     Toby Marshall         3.30    $ 475.00 $        1,567.50 Telephone conference with Dr. Munson regarding damages calculations [3.3].                      $      1,567.50                                          TM
1855 8/15/2016     Hardeep Rekhi         3.20    $ 425.00 $        1,360.00 Telephone call with witness                                                                     $      1,360.00                                          RW
                                                                            Telephone conferences with Dr. Munson regarding damages calculations [1.7];
1856 8/15/2016     Toby Marshall         1.80    $ 475.00 $          855.00 email correspondence with opposing counsel regarding same [.1].                                 $        855.00                                          TM
1857 8/16/2016     Hardeep Rekhi         0.10    $ 425.00 $           42.50 Telephone call w/ co-counsel                                                                    $         42.50                                          RW

                                                                            Analyzed issues regarding damages calculations and email correspondence with
                                                                            co-counsel regarding same [.2]; telephone conferences with Dr. Munson
                                                                            regarding damages calculations [.6]; worked on narrative explanation of process
1858 8/16/2016      Toby Marshall        2.30    $ 475.00 $        1,092.50 for calculating damages [1.5].                                                                  $      1,092.50                                          TM

1859   8/17/2016     Greg Wolk           0.40    $   425.00   $      170.00    confer w co-counsel regarding damages calculations and settlement strategy                   $        170.00                                          RW
1860   8/17/2016   Hardeep Rekhi         1.10    $   425.00   $      467.50    Review Damages Spreadsheet                                                                   $        467.50                                          RW
1861   8/17/2016   Hardeep Rekhi         0.30    $   425.00   $      127.50    review damages                                                                               $        127.50                                          RW
1862   8/17/2016   Hardeep Rekhi         0.20    $   425.00   $       85.00    Review excel sheets related to damages                                                       $         85.00                                          RW
1863   8/17/2016   Hardeep Rekhi         0.10    $   425.00   $       42.50    teleconfernce with co-counsel                                                                $         42.50                                          RW
1864   8/17/2016   Hardeep Rekhi         0.60    $   425.00   $      255.00    Review Damages Spreadsheets                                                                  $        255.00                                          RW

1865 8/17/2016      Hardeep Rekhi        0.40    $ 425.00 $          170.00 confer w co-counsel regarding damages calculations and settlement strategy                      $        170.00                                          RW
1866 8/17/2016     Hannelore Ohaus       0.10    $ 75.00 $             7.50 Worked on docketing.                                                                     0.10    $            - Administrative                           TM

                                                                               Worked on narrative explanation of damages calculations [1.8]; email
                                                                               correspondence with Dr. Munson regarding same [.1]; worked on damages
                                                                               calculations and email correspondence with Dr. Munson regarding same [.3];
                                                                               telephone conference with co-counsel regarding damages calculations and
                                                                               settlement strategy [.4]; telephone conferences with Dr. Munson regarding
                                                                               narrative explanation of damages calculations and corrections to damages
                                                                               calculations [.9]; worked on project for identifying declarants with minimum wage
                                                                               violations [.1]; email to opposing counsel regarding damages calculations and
                                                                               supporting information [.1]; reviewed and analyzed issues regarding Knight's
                                                                               damages calculations and email correspondence with Dr. Munson and co-counsel
1867   8/17/2016    Toby Marshall        4.20    $   475.00   $    1,995.00    regarding same [.5].                                                                         $      1,995.00                                          TM
1868   8/18/2016    Hardeep Rekhi        0.10    $   425.00   $       42.50    Email Correspondence                                                                         $         42.50                                          RW
1869   8/18/2016   Hannelore Ohaus       0.10    $    75.00   $        7.50    Worked on docketing.                                                                  0.10    $            - Administrative                           TM
1870   8/18/2016    Razel Agustino       0.10    $    75.00   $        7.50    Worked on docketing.                                                                  0.10    $            - Administrative                           TM
1871   8/18/2016    Toby Marshall        0.20    $   475.00   $       95.00    Telephone conference with Mr. Tena regarding [redacted] [.2].                                $         95.00                                          TM
1872   8/19/2016    Hardeep Rekhi        1.40    $   425.00   $      595.00    Review Knight Damages issues                                                                 $        595.00                                          RW
                                                                               Reviewed damages data for class member declarants; email correspondence
1873 8/19/2016      Eden Nordby          0.40    $ 150.00 $           60.00    regarding same.                                                                              $         60.00                                          TM

                                                                            Analyzed issues regarding minimum wage claim [.1]; telephone conference with
1874 8/19/2016      Toby Marshall        0.70    $ 475.00 $          332.50 Dr. Munson regarding issues with Knight's rest break damages calculations [.6].                 $        332.50                                          TM
                                                                            Email and telephone call from Dr. Munson regarding additional data analysis for
1875 8/23/2016      Toby Marshall        0.40    $ 475.00 $          190.00 damages calculations [.4].                                                                      $        190.00                                          TM
1876 8/25/2016       Greg Wolk           2.80    $ 425.00 $        1,190.00 draft mediation letter                                                                          $      1,190.00                                          RW
                                                                            revise mediation letter (.9); confer w client re availability and status of case (.3);
1877 8/26/2016       Greg Wolk           1.30    $ 425.00 $          552.50 confer with co-counsel re settlement issues (.1)                                                $        552.50                                          RW
1878 8/26/2016     Hardeep Rekhi         0.10    $ 425.00 $           42.50 review mediation brief                                                                          $         42.50                                          RW
1879 8/26/2016     Hardeep Rekhi         0.10    $ 425.00 $           42.50 confer w co-counsel re settlement issues                                                        $         42.50                                          RW
                                                                            Telephone conference with co-counsel regarding settlement issues [.1]; worked
1880   8/26/2016   Toby Marshall         0.20    $   475.00   $       95.00 on mediation submission [.1].                                                                   $         95.00                                          TM
1881   8/28/2016   Toby Marshall         1.60    $   475.00   $      760.00 Worked on mediation submission [1.6].                                                           $        760.00                                          TM
1882   8/29/2016     Greg Wolk           0.40    $   425.00   $      170.00 revise mediation letter                                                                         $        170.00                                          RW
1883   8/30/2016     Greg Wolk           0.30    $   425.00   $      127.50 finalize mediation letter                                                                       $        127.50                                          RW
1884   8/30/2016   Hardeep Rekhi         1.20    $   425.00   $      510.00 correspondence re settlement                                                                    $        510.00                                          RW
1885   8/30/2016   Hardeep Rekhi         0.40    $   425.00   $      170.00 Review issues related to knight fees                                                            $        170.00                                          RW
1886   8/30/2016   Toby Marshall         0.30    $   475.00   $      142.50 Worked on mediation submission [.3].                                                            $        142.50                                          TM
1887   9/1/2016      Greg Wolk           0.20    $   425.00   $       85.00 contact clients re mediation                                                                    $         85.00                                          RW


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1888   9/1/2016    Hardeep Rekhi         0.20    $ 425.00 $           85.00 Review expert data; review issues for mediation; review mediation letter                           $            85.00                                          RW
1889   9/1/2016    Hardeep Rekhi         0.10    $ 425.00 $           42.50 Review issues related to mediation                                                                 $            42.50                                          RW
1890   9/2/2016    Hardeep Rekhi         1.70    $ 425.00 $          722.50 Review issues related to mediation                                                                 $           722.50                                          RW
                                                                            Email correspondence with co-counsel regarding mediation submission [.1]; email
1891   9/2/2016     Toby Marshall        0.20    $ 475.00 $           95.00 correspondence with expert regarding invoice [.1].                                       0.10      $            47.50 Administrative                           TM
                                                                            Worked on damage and class member share calculations, settlement strategy,
1892   9/4/2016     Toby Marshall        2.80    $ 475.00 $        1,330.00 and other issues in preparation for mediation [2.8].                                               $         1,330.00                                          TM
                                                                            prepare for mediation -review caselaw and orders (1); analyze approach with co-
1893   9/5/2016      Greg Wolk           2.20    $ 425.00 $          935.00 counsel (1.2)                                                                                      $           935.00                                          RW
1894   9/5/2016    Hardeep Rekhi         0.20    $ 425.00 $           85.00 Review email correspondence; follow up on the same                                                 $            85.00                                          RW
1895   9/5/2016    Hardeep Rekhi         1.20    $ 425.00 $          510.00 analyze approach for mediation with co-counsel (1.2)                                               $           510.00                                          RW

                                                                              Prepared for mediation by working on settlement strategy and researching and
                                                                              analyzing various issues regarding damages calculations, appropriate rate of pay
                                                                              for rest break damages, prejudgment interest entitlement, and alleged defense to
                                                                              willfulness claim [2.4]; email correspondence with co-counsel regarding
                                                                              mediation submissions [.1]; telephone conference with co-counsel regarding
                                                                              strategy for mediation and issues raised in Knight's mediation submission [1.2];
1896   9/5/2016    Toby Marshall         3.90    $   475.00   $    1,852.50   email to co-counsel regarding damages spreadsheet [.2].                                          $         1,852.50                                          TM
1897   9/6/2016      Greg Wolk           10.50   $   425.00   $    4,462.50   attend mediation                                                                                 $         4,462.50                                          RW
1898   9/6/2016    Hardeep Rekhi         10.50   $   425.00   $    4,462.50   Mediation                                                                                        $         4,462.50                                          RW
1899   9/6/2016     Eden Nordby          0.20    $   150.00   $       30.00   Worked on file organization.                                                           0.20       $               - Administrative                           TM
1900   9/6/2016     Erika Nusser         11.00   $   350.00   $    3,850.00   Prepared for, travelled to and from, and attended mediation [11]                                 $         3,850.00                                          TM
1901   9/6/2016    Toby Marshall         10.70   $   475.00   $    5,082.50   Traveled to, participated in, and returned from mediation [10.7].                                $         5,082.50                                          TM
1902   9/7/2016      Greg Wolk           0.40    $   425.00   $      170.00   call clients re mediation                                                                        $           170.00                                          RW
1903   9/7/2016    Hardeep Rekhi         0.10    $   425.00   $       42.50   review email correspondence and follow up regarding settlement                                   $            42.50                                          RW
1904   9/7/2016    Toby Marshall         0.10    $   475.00   $       47.50   Telephone call from Mr. Tena regarding [redacted] [.1].                                          $            47.50                                          TM
1905   9/8/2016    Hardeep Rekhi         0.10    $   425.00   $       42.50   review email correspondence regarding settlement                                                 $            42.50                                          RW
                                                                              Analyzed issues regarding expert deadlines and email correspondence with
1906   9/8/2016    Toby Marshall         0.20    $ 475.00 $          95.00    opposing counsel regarding same [.2].                                                            $            95.00                                          TM
1907   9/9/2016    Hardeep Rekhi         0.10    $ 425.00 $          42.50    email correpondence re settlement                                                                $            42.50                                          RW
                                                                              Email correspondence with opposing counsel and co-counsel regarding
1908 9/9/2016       Toby Marshall        0.10    $ 475.00 $          47.50    settlement [.1].                                                                                 $            47.50                                          TM
1909 9/12/2016      Hardeep Rekhi        0.10    $ 425.00 $          42.50    review email correspondence;                                                                     $            42.50                                          RW
1910 9/12/2016     Hannelore Ohaus       0.10    $ 75.00 $            7.50    Worked on docketing.                                                                   0.10       $               - Administrative                           TM

                                                                              Email correspondence with opposing counsel regarding expert disclosure deadline
                                                                              [.1]; analyzed issues regarding settlement negotiations and email correspondence
1911   9/12/2016   Toby Marshall         0.20    $   475.00   $      95.00    with co-counsel regarding same [.1].                                                             $            95.00                                          TM
1912   9/13/2016     Greg Wolk           0.20    $   425.00   $      85.00    confer w co-counsel re new settlement information                                                $            85.00                                          RW
1913   9/13/2016   Hardeep Rekhi         0.10    $   425.00   $      42.50    review email correspondence                                                                      $            42.50                                          RW
1914   9/13/2016   Hardeep Rekhi         0.20    $   425.00   $      85.00    confer w co-counsel re new settlement information                                                $            85.00                                          RW

                                                                           Telephone call from opposing counsel regarding settlement negotiations [.5];
                                                                           telephone conference with co-counsel regarding same [.4]; email correspondence
1915 9/13/2016      Toby Marshall        1.00    $ 475.00 $         475.00 with opposing counsel regarding rates charged by plaintiffs' counsel [.1].                          $           475.00                                          TM
                                                                           review emails from mediator and co-counsel re settlement (.2); confer re
1916 9/14/2016       Greg Wolk           0.30    $ 425.00 $         127.50 response (.1)                                                                                       $           127.50                                          RW
1917 9/14/2016     Hardeep Rekhi         0.10    $ 425.00 $          42.50 email correspondence re settlement                                                                  $            42.50                                          RW
1918 9/14/2016     Hardeep Rekhi         0.10    $ 425.00 $          42.50 confer re response to e-mails from mediator re settlement (.1)                                      $            42.50                                          RW

                                                                              Analyzed issues regarding settlement negotiations and email correspondence
                                                                              with Judge Kallas and co-counsel regarding same [.3]; telephone call from co-
                                                                              counsel regarding same [.1]; analyzed issues regarding damages calculations and
1919   9/14/2016   Toby Marshall         1.00    $   475.00   $     475.00    underlying data [.4]; worked on issues regarding amended expert report [.2].                     $           475.00                                          TM
1920   9/15/2016     Greg Wolk           0.30    $   425.00   $     127.50    confer w co-counsel re settlement negotiations                                                   $           127.50                                          RW
1921   9/15/2016   Hardeep Rekhi         0.10    $   425.00   $      42.50    Emails re settlement                                                                             $            42.50                                          RW
1922   9/15/2016   Hardeep Rekhi         0.30    $   425.00   $     127.50    confer w co-counsel re settlement negotiations                                                   $           127.50                                          RW
                                                                              Telephone call from co-counsel regarding settlement negotiations [.3]; analyzed
                                                                              issues regarding rest break calculations by experts on both sides [1.1]; telephone
1923 9/15/2016      Toby Marshall        1.80    $ 475.00 $         855.00    conference with Dr. Munson regarding same [.4].                                                  $           855.00                                          TM

1924 9/16/2016       Greg Wolk           0.40    $ 425.00 $         170.00 confer with co-counsel re settlement negotiations and expert calculations                           $           170.00                                          RW

1925 9/16/2016     Hardeep Rekhi         0.50    $ 425.00 $         212.50 Discussion with co-counse regarding settlment offer; exlcusion of expert                            $           212.50                                          RW

1926 9/16/2016      Hardeep Rekhi        0.40    $ 425.00 $         170.00 confer with co-counsel re settlement negotiations and expert calculations                           $           170.00                                          RW



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 1       Date       Professional         Units       Price        Value       Narrative                                                                             Writedown       Revised Value                   Writedown Explanation   Firm
                                                                              Worked on settlement negotiation and analyzed issues regarding expert
                                                                              calculations [.9]; telephone conference with co-counsel regarding same [.4];
                                                                              telephone conference with Dr. Abbott regarding amended report and trial
                                                                              testimony [.1]; email correspondence with Dr. Abbott regarding data and
1927 9/16/2016      Toby Marshall        1.50    $ 475.00 $         712.50    calculations for settlement [.1].                                                                 $           712.50                                          TM
                                                                              Analyzed issues regarding damages calculations and data and worked on third
                                                                              amended expert report [1.0]; researched and analyzed issues regarding
                                                                              defendants arguments in settlement negotiations and drafted memorandum
1928 9/18/2016     Toby Marshall         2.80    $ 475.00 $        1,330.00   responding to same [1.8].                                                                         $         1,330.00                                          TM
1929 9/19/2016       Greg Wolk           0.30    $ 425.00 $          127.50   review settlement offer and draft response to co-counsel                                          $           127.50                                          RW
1930 9/19/2016     Hardeep Rekhi         0.20    $ 425.00 $           85.00   Settlement discussions regarding case; emails regarding the same                                  $            85.00                                          RW

                                                                              Prepared for meeting with experts to work on third amended report [.1]; meeting
                                                                              with experts regarding damages calculations and third amended report [2.2];
                                                                              worked on trial preparation and strategy issues [.3]; telephone conferences with
                                                                              co-counsel and Judge Kallas regarding settlement negotiations [.7]; telephone
1931   9/19/2016   Toby Marshall         4.00    $   475.00   $    1,900.00   conference with opposing counsel regarding same [.7].                                             $         1,900.00                                          TM
1932   9/20/2016     Greg Wolk           0.20    $   425.00   $       85.00   confer with co-counsel re settlement negotiations                                                 $            85.00                                          RW
1933   9/20/2016   Hardeep Rekhi         0.40    $   425.00   $      170.00   Review email correspondence; send out email re same                                               $           170.00                                          RW
1934   9/20/2016   Hardeep Rekhi         0.20    $   425.00   $       85.00   confer with co-counsel re settlement negotiations                                                 $            85.00                                          RW

                                                                              Worked on settlement negotiations and email correspondence with co-counsel
                                                                              and opposing counsel regarding same [.5]; telephone conference with co-counsel
                                                                              regarding same [.2]; worked on damages calculations and third amended expert
1935 9/20/2016      Toby Marshall        5.30    $ 475.00 $        2,517.50   report [3.8]; telephone conferences with expert regarding same [.8].                              $         2,517.50                                          TM
1936 9/21/2016      Hardeep Rekhi        0.20    $ 425.00 $           85.00   Review and respond to email correspondence                                                        $            85.00                                          RW
1937 9/21/2016     Megan Wildhood        0.70    $ 75.00 $            52.50   Production management.                                                                  0.70       $               - Administrative                           TM
                                                                              Worked on third amended expert report [1.3]; worked on damages calculations
                                                                              [2.4]; telephone conferences with Dr. Munson regarding damages calculations
                                                                              and third amended expert report [2.6]; telephone conference with Dr. Abbott
1938   9/21/2016   Toby Marshall         6.40    $   475.00   $    3,040.00   regarding same [.1].                                                                              $         3,040.00                                          TM
1939   9/22/2016     Greg Wolk           1.60    $   425.00   $      680.00   analyze damage analysis and settlement offer                                                      $           680.00                                          RW
1940   9/22/2016     Greg Wolk           0.30    $   425.00   $      127.50   confer with co-counsel re Knight's current rest break practices                                   $           127.50                                          RW
1941   9/22/2016   Hardeep Rekhi         0.30    $   425.00   $      127.50   Review Damages documents                                                                          $           127.50                                          RW
1942   9/22/2016   Hardeep Rekhi         0.30    $   425.00   $      127.50   confer with co-counsel re Knight's current rest break practices                                   $           127.50                                          RW

                                                                              Worked on third amended expert report [4.7]; telephone calls from and email
                                                                              correspondence with Dr. Munson regarding same [1.7]; telephone conference
                                                                              with Dr. Abbott regarding same [.1]; analyzed issues regarding Knight's current
                                                                              rest break practices [.3]; telephone conference with co-counsel regarding same
1943 9/22/2016      Toby Marshall        7.60    $ 475.00 $        3,610.00   [.3]; reviewed damages calculations and analyzed issues regarding same [.5].                      $         3,610.00                                          TM
                                                                              contact clients re [redacted] (.5); confer with co-counsel re settlement and expert
1944 9/23/2016       Greg Wolk           1.30    $ 425.00 $         552.50    report                                                                                            $           552.50                                          RW
1945 9/23/2016     Hardeep Rekhi         0.70    $ 425.00 $         297.50    Review case file for trial prep                                                                   $           297.50                                          RW
1946 9/23/2016     Hardeep Rekhi         0.80    $ 425.00 $         340.00    confer with co-counsel re settlement and expert report                                            $           340.00                                          RW
                                                                              Emails regarding settlement issues [.3]; analyzed expert reports [1.4];
1947 9/23/2016       Erika Nusser        3.00    $ 350.00 $        1,050.00   conferences regarding settlement and trial strategy issues [1.3]                                  $         1,050.00                                          TM
                                                                              Ran PeopleMap searches for class member background information [.8]; Worked
1948 9/23/2016     Hannelore Ohaus       1.30    $    75.00 $        97.50    on docketing [.5].                                                                      0.50      $            60.00                                          TM
                                                                              Telephone conferences with Dr. Munson regarding damages calculations and
                                                                              expert report [.5]; worked on expert report [3.8]; telephone conference with Dr.
                                                                              Abbott regarding same [.7]; telephone conferences with co-counsel regarding
                                                                              settlement and expert report [.8]; worked on settlement issues [.4]; telephone
                                                                              conference with opposing counsel regarding settlement [.2]; worked on trial
1949 9/23/2016      Toby Marshall        8.00    $ 475.00 $        3,800.00   preparation issues [1.6].                                                                         $         3,800.00                                          TM
1950 9/27/2016       Greg Wolk           0.20    $ 425.00 $           85.00   contact clients re [redacted]                                                                     $            85.00                                          RW
                                                                              Commenced working on pretrial statement and analyzing production for exhibit
1951   9/27/2016     Erika Nusser        1.70    $ 350.00 $         595.00    list for trial [1.7]                                                                              $           595.00                                          TM
1952   9/27/2016   Hannelore Ohaus       0.10    $ 75.00 $            7.50    Worked on docketing.                                                                    0.10       $               - Administrative                           TM
1953   9/29/2016      Greg Wolk          2.30    $ 425.00 $         977.50    contact drivers as witnesses for trial (1.8); confer with co-counsel (.5)                         $           977.50                                          RW
1954   9/29/2016    Hardeep Rekhi        0.50    $ 425.00 $         212.50    confer with co-counsel                                                                            $           212.50                                          RW
                                                                              Telephone conference with co-counsel regarding [redacted]; email
1955 9/29/2016      Eden Nordby          0.50    $ 150.00 $          75.00    correspondence regarding [redacted].                                                              $            75.00                                          TM

                                                                              Telephone conference and emails regarding class member calls in preparation for
1956   9/29/2016     Erika Nusser        7.00    $   350.00   $    2,450.00   trial [.2]; analyzed production and worked on exhibit list for trial [6.8]                        $         2,450.00                                          TM
1957   9/30/2016    Hardeep Rekhi        0.70    $   425.00   $      297.50   Review case documents related expert                                                              $           297.50                                          RW
1958   9/30/2016    Hardeep Rekhi        0.40    $   425.00   $      170.00   Review case documents; review memo re expert                                                      $           170.00                                          RW
1959   9/30/2016     Erika Nusser        7.50    $   350.00   $    2,625.00   Continued analyzing production and working on exhibit list for trial [7.5]                        $         2,625.00                                          TM
1960   9/30/2016   Hannelore Ohaus       0.20    $    75.00   $       15.00   Worked on docketing.                                                                    0.20       $               - Administrative                           TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 70
CASE NO. 2:12-CV-00904-RSL
                                      Case
                                     Case
                                       Case2:18-cv-00681-RAJ
                                          2:12-cv-00904-RSL   Document
                                             2:17-cv-01499 Document
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 1     Date         Professional         Units     Price          Value     Narrative                                                                                   Writedown    Revised Value                   Writedown Explanation   Firm
1961 10/3/2016       Greg Wolk           2.80    $ 425.00 $        1,190.00 review draft exhibit list (1); contact drivers for trial testimony (1.8)                                $      1,190.00                                          RW

1962   10/3/2016   Hardeep Rekhi         1.50    $   425.00   $      637.50   Review documents; Review Quast Dep; Trial Prep; designate dep testimony                               $       637.50                                           RW
1963   10/3/2016   Toby Marshall         0.20    $   475.00   $       95.00   Analyzed issues regarding pretrial statement and trial strategy [.2].                                 $        95.00                                           TM
1964   10/4/2016     Greg Wolk           0.90    $   425.00   $      382.50   confer with co-counsel re settlement and trial strategy issues                                        $       382.50                                           RW
1965   10/4/2016   Hardeep Rekhi         1.20    $   425.00   $      510.00   Settlement discussions; ER 408 emails; review case file; prepare for trial                            $       510.00                                           RW
1966   10/4/2016   Hardeep Rekhi         0.90    $   425.00   $      382.50   confer with co-counsel re settlement and trial strategy issues                                        $       382.50                                           RW
                                                                              Worked on issues regarding contacting potential trial witnesses; made calls to
1967 10/4/2016      Eden Nordby          2.00    $ 150.00 $          300.00   class members regarding [redacted].                                                                   $       300.00                                           TM
                                                                              Telephone conferences regarding settlement and trial strategy issues [1.3];
                                                                              conference regarding calls to locate trial witnesses [.3]; worked on call script to
1968 10/4/2016       Erika Nusser        2.00    $ 350.00 $          700.00   locate trial witnesses and emails regarding the same [.4]                                             $       700.00                                           TM
1969 10/4/2016     Hannelore Ohaus       1.40    $ 75.00 $           105.00   Made phone calls to potential trial witnesses.                                                        $       105.00                                           TM
                                                                              Prepared for telephone conference with co-counsel regarding settlement and trial
                                                                              strategy issues [.1]; participated in same [.9]; analyzed issues regarding
1970 10/4/2016      Toby Marshall        1.20    $ 475.00 $          570.00   settlement talks [.2].                                                                                $       570.00                                           TM
1971 10/5/2016       Greg Wolk           1.20    $ 425.00 $          510.00   call drivers for trial availability (1); confer w co-counsel re settlement (.2)                       $       510.00                                           RW
                                                                              review email correspondence and follow up regarding trial prep; review case
1972 10/5/2016     Hardeep Rekhi         2.00    $ 425.00 $          850.00   orders;                                                                                               $       850.00                                           RW
1973 10/5/2016     Hardeep Rekhi         0.20    $ 425.00 $           85.00   confer w co-counsel re settlement                                                                     $        85.00                                           RW
1974 10/5/2016      Eden Nordby          0.40    $ 150.00 $           60.00   Telephone conference with class member regarding [redacted].                                          $        60.00                                           TM

                                                                              Telephone conferences with co-counsel regarding settlement negotiations, trial
                                                                              exhibits, and motions in limine [1.3]; telephone conference with opposing counsel
1975 10/5/2016      Toby Marshall        1.50    $ 475.00 $          712.50   regarding settlement negotiations [.2].                                                               $       712.50                                           TM
                                                                              review Knight motion for continuance (.6); research opp (.6); confer with co-
1976 10/6/2016       Greg Wolk           1.60    $ 425.00 $          680.00   counsel re settlement strategy and pretrial preparations (.4)                                         $       680.00                                           RW
1977 10/6/2016     Hardeep Rekhi         0.70    $ 425.00 $          297.50   Prepare for Trial; email correspondence and discussion re continuance                                 $       297.50                                           RW
1978 10/6/2016     Hardeep Rekhi         0.40    $ 425.00 $          170.00   confer with co-counsel re settlement strategy and pretrial preparations                               $       170.00                                           RW

                                                                              Exchanged messages with opposing counsel regarding settlement negotiations
                                                                              [.1]; telephone conference with co-counsel regarding settlement strategy and
                                                                              pretrial preparations [.4]; worked on trial preparations [.5]; telephone conference
                                                                              with opposing counsel regarding settlenent negotiations and defendant's request
                                                                              to continue trial date [.3]; telephone conference with co-counsel regarding same
                                                                              [.4]; worked on settlement issues [.2]; reviewed motion to continue trial date and
1979 10/6/2016      Toby Marshall        2.10    $ 475.00 $          997.50   analyzed issues regarding same [.2].                                                                  $       997.50                                           TM
                                                                              speak w drivers re trial availability (3.2); confer with co-counsel re trial witnesses,
1980 10/7/2016       Greg Wolk           4.30    $ 425.00 $        1,827.50   deposition designations and settlement issues (1.1)                                                   $      1,827.50                                          RW
1981 10/7/2016     Hardeep Rekhi         0.30    $ 425.00 $          127.50   Discussion re trial prep; email correspondence re continuance                                         $        127.50                                          RW
                                                                              confer with co-counsel re trial witnesses, deposition designations and settlement
1982 10/7/2016      Hardeep Rekhi        1.10    $ 425.00 $          467.50   issues                                                                                                $       467.50                                           RW

                                                                              Worked on outline of response to motion for continuance of trial and drafted
                                                                              email to co-counsel regarding same [.3]; worked on trial preparations [.1];
                                                                              telephone conference with co-counsel regarding trial witnesses [.5]; telephone
                                                                              conferences with co-counsel regarding deposition designations and settlement
                                                                              issues [.6]; reviewed deposition transcripts for designation at trial [.2]; worked on
1983 10/7/2016      Toby Marshall        2.20    $ 475.00 $        1,045.00   settlement negotiations [.5].                                                                         $      1,045.00                                          TM
                                                                              Researched and analyzed issues regarding admission of deposition testimony
1984 10/8/2016     Toby Marshall         1.80    $ 475.00 $          855.00   from other cases [1.8].                                                                               $       855.00                                           TM
1985 10/9/2016     Hardeep Rekhi         1.60    $ 425.00 $          680.00   Review Deposition in prep for trial                                                                   $       680.00                                           RW
                                                                              Drafted memorandum regarding admission of deposition transcripts from other
                                                                              cases [1.0]; reviewed expert report of Ms. Kwon and analyzed issues regarding
                                                                              same [2.3]; worked on pretrial statement [.5]; worked on outline of motions in
1986 10/9/2016      Toby Marshall        5.10    $ 475.00 $        2,422.50   limine [1.3].                                                                                         $      2,422.50                                          TM

                                                                              draft opp to mtn to continue trial date (2.5); analyze expert report & depo
                                                                              designations (1.8); confer re settlement (.3); spoke w witnesses (1.1); confer with
1987 10/10/2016      Greg Wolk           6.90    $ 425.00 $        2,932.50   co-counsel re Knight's expert report, settlement strategy, and trial strategy (1.2)                   $      2,932.50                                          RW
1988 10/10/2016    Hardeep Rekhi         1.30    $ 425.00 $          552.50   Trial prep; review email correpondence; call potential trial witnesses                                $        552.50                                          RW
                                                                               confer with co-counsel re Knight's expert report, settlement strategy, and trial
1989 10/10/2016     Hardeep Rekhi        1.20    $ 425.00 $          510.00   strategy (1.2)                                                                                        $       510.00                                           RW
                                                                              Worked on Plaintiffs' deposition designations [2.5]; left message for class member
                                                                              regarding [redacted] [.1]; researched local rules regarding trial subpoenas; email
1990 10/10/2016     Eden Nordby          3.60    $ 150.00 $          540.00   correspondence regarding same [1].                                                                    $       540.00                                           TM
                                                                              Worked on Plaintiffs' Pretrial Statement [6]; telephone conference regarding
1991 10/10/2016      Erika Nusser        7.20    $ 350.00 $        2,520.00   settlement and case strategy issues [1.2]                                                             $      2,520.00                                          TM
1992 10/10/2016    Hannelore Ohaus       0.20    $ 75.00 $            15.00   Worked on docketing.                                                                        0.20       $            - Administrative                           TM
1993 10/10/2016       Holly Rota         0.20    $ 100.00 $           20.00   Updated master caption and related contacts.                                                          $         20.00                                          TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 71
CASE NO. 2:12-CV-00904-RSL
                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
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          A               B                C           D             E                                                  F                                                 G                 H                                   I               J
 1       Date        Professional         Units       Price        Value       Narrative                                                                              Writedown       Revised Value                   Writedown Explanation   Firm

                                                                               Worked on settlement negotiations and email correspondence with co-counsel
                                                                               regarding same [.2]; worked on trial strategy issues and email correspondence
                                                                               with co-counsel regarding same [.2]; worked on analysis of damages calculations
                                                                               by Knight's expert and email correspondence with co-counsel regarding same and
                                                                               expert discovery [.2]; worked on outline of motions in limine [.8]; email
                                                                               correspondence with opposing counsel regarding settlement [.1]; analyzed issues
                                                                               regarding pretrial statement [.2]; worked on analysis of exhibits for trial [.7];
                                                                               telephone conference with co-counsel regarding Knight's expert report,
1994 10/10/2016      Toby Marshall        4.40    $ 475.00 $        2,090.00   settlement strategy, and trial strategy [1.2]; worked on pretrial statement [.8].                  $         2,090.00                                          TM
                                                                               draft opp to mtn to continue (3); review draft pretrial statement (1.3); confer with
1995   10/11/2016     Greg Wolk           4.30    $   425.00   $    1,827.50   co-counsel re pretrial statement (.2)                                                              $         1,827.50                                          RW
1996   10/11/2016   Hardeep Rekhi         1.80    $   425.00   $      765.00   Case research re continuance                                                                       $           765.00                                          RW
1997   10/11/2016   Hardeep Rekhi         0.80    $   425.00   $      340.00   Review Pretrial statement; trial prep                                                              $           340.00                                          RW
1998   10/11/2016   Hardeep Rekhi         0.30    $   425.00   $      127.50   Review Quast Testimony; email correspondence re same                                               $           127.50                                          RW
1999   10/11/2016   Hardeep Rekhi         0.10    $   425.00   $       42.50   Email correspondence re discovery supplement                                                       $            42.50                                          RW
2000   10/11/2016   Hardeep Rekhi         0.20    $   425.00   $       85.00   confer with co-counsel re pretrial statement (.2)                                                  $            85.00                                          RW

                                                                             Worked on trial deposition designations; worked on trial exhibit list; worked on
2001 10/11/2016      Eden Nordby          4.00    $ 150.00 $          600.00 trial exhibits; finalized pretrial statement; served same on opposing counsel.                       $           600.00                                          TM
                                                                             Analyzed documents, worked on pretrial order and deposition and discovery
2002 10/11/2016       Erika Nusser        9.90    $ 350.00 $        3,465.00 designations, and finalized the same for filing [9.9]                                                $         3,465.00                                          TM
2003 10/11/2016     Hannelore Ohaus       0.10    $ 75.00 $             7.50 Worked on docketing.                                                                       0.10      $                - Administrative                           TM

                                                                               Worked on pretrial statement [2.1]; telephone conference with co-counsel
                                                                               regarding same [.2]; worked on trial exhibits [.5]; researched and analyzed issues
                                                                               regarding knowing submission defense to liability under RCW 49.52.070 [.5];
                                                                               prepared for call with opposing counsel regarding settlement [.1]; telephone
                                                                               conference with opposing counsel regarding settlement negotiations [.3]; worked
                                                                               on request to Knight for supplementation of specific discovery responses [.5];
2004 10/11/2016      Toby Marshall        5.80    $ 475.00 $        2,755.00   worked on deposition designations [1.6].                                                           $         2,755.00                                          TM
                                                                               finalize response to opp to continue trial date (2); confer with co-counsel re
2005   10/12/2016     Greg Wolk           2.20    $   425.00   $     935.00    negotiations (.2)                                                                                  $           935.00                                          RW
2006   10/12/2016   Hardeep Rekhi         0.10    $   425.00   $      42.50    Draft response to motion to continue                                                               $            42.50                                          RW
2007   10/12/2016   Hardeep Rekhi         0.20    $   425.00   $      85.00    confer with co-counsel re negotiations (.2)                                                        $            85.00                                          RW
2008   10/12/2016    Erika Nusser         1.20    $   350.00   $     420.00    Analyzed and revised response to motion to stay case [1.2].                                        $           420.00                                          TM

                                                                            Worked on response to motion for continuance of trial date [.6]; telephone call
                                                                            from co-counsel regarding same [.3]; telephone conference with Dr. Munson
                                                                            regarding issues with damages calculations by Knight's expert [.6]; telephone
                                                                            conference with co-counsel regarding same and settlement negotiations [.2];
2009 10/12/2016     Toby Marshall         1.80    $ 475.00 $         855.00 worked on settlement negotiations [.1].                                                               $           855.00                                          TM
2010 10/13/2016     Hardeep Rekhi         0.20    $ 425.00 $          85.00 Review issue re per diem claim; email correspondence re the same                                      $            85.00                                          RW
                                                                            Emails regarding factual and legal issues relating to written authorizations for per
2011 10/13/2016       Erika Nusser        0.40    $ 350.00 $         140.00 diem deduction [.4].                                                                                  $           140.00                                          TM

                                                                               Telephone call from opposing counsel regarding settlement negotiations [.4];
2012   10/13/2016    Toby Marshall        2.30    $   475.00   $    1,092.50   email to opposing counsel regarding same [.1]; worked on motions in limine [1.8].                  $         1,092.50                                          TM
2013   10/14/2016     Greg Wolk           0.10    $   425.00   $       42.50   confer with co-counsel re settlement issues                                                        $            42.50                                          RW
2014   10/14/2016    Hardeep Rekhi        0.10    $   425.00   $       42.50   confer with co-counsel re settlement issues                                                        $            42.50                                          RW
2015   10/14/2016     Eric Nusser         0.20    $   150.00   $       30.00   Email correspondence regarding motions in limine [.2].                                             $            30.00                                          TM
                                                                               Worked on motions in limine [.7]; telephone conference with co-counsel
2016 10/14/2016      Toby Marshall        0.80    $ 475.00 $         380.00    regarding settlement issues [.1].                                                                  $           380.00                                          TM
                                                                               Review Email correspondence related to trial prep and MIL; follow up on the
2017 10/17/2016     Hardeep Rekhi         0.30    $ 425.00 $         127.50    same                                                                                               $           127.50                                          RW
2018 10/17/2016     Hardeep Rekhi         0.20    $ 425.00 $          85.00    Review Reply related to Motion to Continue                                                         $            85.00                                          RW

                                                                            Conferences regarding motions in limine [.8]; worked on motions in limined [1.7];
2019 10/17/2016       Erika Nusser        2.80    $ 350.00 $         980.00 analyzed reply to motion to continue and emails regarding the same [.3].                              $           980.00                                          TM
                                                                            Prepared for telephone conference with opposing counsel regarding motions in
                                                                            limine [.2]; telephone conference with opposing counsel regarding motions in
                                                                            limine [1.2]; analyzed issues regarding same [.1]; reviewed reply in support of
2020 10/17/2016      Toby Marshall        1.70    $ 475.00 $         807.50 motion for continuance of trial date [.2].                                                            $           807.50                                          TM

2021   10/18/2016     Greg Wolk           2.00    $   425.00   $     850.00    analyze mtns to limine (1); confer with co-counsel re motions in limine (1)                        $           850.00                                          RW
2022   10/18/2016   Hardeep Rekhi         1.00    $   425.00   $     425.00    Telephone call regarding MIL; Draft the same                                                       $           425.00                                          RW
2023   10/18/2016   Hardeep Rekhi         0.70    $   425.00   $     297.50    Review stipulation and issues related to MIL                                                       $           297.50                                          RW
2024   10/18/2016   Hardeep Rekhi         0.60    $   425.00   $     255.00    Meeting re MIL                                                                                     $           255.00                                          RW
2025   10/18/2016   Hardeep Rekhi         0.20    $   425.00   $      85.00    Review issues related to MIL                                                                       $            85.00                                          RW
2026   10/18/2016   Hardeep Rekhi         1.00    $   425.00   $     425.00    confer with co-counsel re motions in limine (1)                                                    $           425.00                                          RW


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 72
CASE NO. 2:12-CV-00904-RSL
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                                       Case
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                                            2:12-cv-00904-RSL   Document
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         A                 B                 C        D               E                                                  F                                                G              H                                  I               J
 1      Date         Professional          Units     Price          Value     Narrative                                                                               Writedown    Revised Value                  Writedown Explanation   Firm
2027 10/18/2016       Eric Nusser          8.40    $ 150.00 $        1,260.00 Drafted motions in limine [8.4].                                                                    $      1,260.00                                          TM

                                                                              Conference and outline regarding motion in limine to exclude other cases [1.2];
                                                                              analyzed stipultion on motions in limine [.2]; worked on motions in limine [2.3];
2028 10/18/2016       Erika Nusser         4.10    $ 350.00 $        1,435.00 telephone conference regarding motions in limine [.4].                                              $      1,435.00                                         TM
                                                                              Worked on stipulation regarding motions in limine and proposed order regarding
2029 10/18/2016        Holly Rota          0.30    $ 100.00 $           30.00 motions in limine.                                                                                  $         30.00                                         TM
                                                                              Prepared for telephone conference with co-counsel regarding motions in limine
                                                                              [.1]; telephone conference with co-counsel regarding motions in limine [1.0];
                                                                              worked on stipulations regarding motions in limine [1.7]; drafted email to
                                                                              opposing counsel regarding same [.1]; worked on plaintiffs' motions in limine
2030 10/18/2016      Toby Marshall         3.90    $ 475.00 $        1,852.50 [1.0] .                                                                                             $      1,852.50                                         TM
2031 10/19/2016       Greg Wolk            0.10    $ 425.00 $           42.50 confer with co-counsel re stipulations on motions in limine                                         $         42.50                                         RW

2032 10/19/2016     Hardeep Rekhi          0.30    $ 425.00 $          127.50 Review issues relate to trial prep, MIL, email correspondence re the same                           $        127.50                                         RW
2033 10/19/2016     Hardeep Rekhi          0.10    $ 425.00 $           42.50 confer with co-counsel re stipulations on motions in limine                                         $         42.50                                         RW
2034 10/19/2016      Erika Nusser          6.60    $ 350.00 $        2,310.00 Worked on motions in limine [6.6].                                                                  $      2,310.00                                         TM
                                                                              Worked on plaintiffs' motions in limine, declaration of Mr. Marshall in support of
2035 10/19/2016        Holly Rota          1.00    $ 100.00 $          100.00 motion and proposed order.                                                                          $       100.00                                          TM
                                                                              Worked on motions in limine [4.9]; telephone conferences with co-counsel
                                                                              regarding same [.4]; telephone conference with opposing counsel regarding
                                                                              stipulations on motions in limine [.1]; analyzed issues regarding same [.3]; email
2036 10/19/2016      Toby Marshall         5.80    $ 475.00 $        2,755.00 to opposing counsel regarding same [.1].                                                            $      2,755.00                                         TM

                                                                              Reviewed, revised and finalized Plaintiffs' motions in limine; finalized Marshall
2037 10/20/2016     Bradford Kinsey        2.30    $ 100.00 $          230.00 declaration and proposed order; assembled exhibits; arranged filing and service.                    $       230.00                                          TM
                                                                              Worked on motions in limine; worked on declaration and exhibits in support of
2038 10/20/2016      Eden Nordby           5.00    $ 150.00 $          750.00 motions in limine.                                                                                  $       750.00                                          TM
                                                                              Worked on motions in limine, supporting documents and proposed order, and
2039 10/20/2016       Erika Nusser         9.60    $ 350.00 $        3,360.00 finalized the same for filing [9.6]                                                                 $      3,360.00                                         TM
2040 10/20/2016        Holly Rota          1.20    $ 100.00 $          120.00 Worked on plaintiffs' motions in limine.                                                            $        120.00                                         TM
                                                                              Telephone and conferences regarding exhibits to motions in limine; prepared
2041 10/20/2016     Jennifer Boschen       1.20    $ 150.00 $          180.00 exhibits to motions in limine.                                                                      $       180.00                                          TM
                                                                              Worked on motions in limine and researched and analyzed issues regarding same
2042 10/20/2016      Toby Marshall         5.10    $ 475.00 $        2,422.50 [5.1].                                                                                              $      2,422.50                                         TM
2043 10/21/2016       Erika Nusser         0.20    $ 350.00 $           70.00 Order denying motion for stay [.2].                                                                 $         70.00                                         TM

                                                                              Printed and mailed Judges' working copies of plaintiffs' motions in limine,
2044   10/21/2016     Holly Rota           0.50    $   100.00   $       50.00 declaration of Mr. Marshall in support of motion and proposed order.                                $        50.00                                          TM
2045   10/22/2016   Toby Marshall          0.20    $   475.00   $       95.00 Worked on case management issues [.2].                                                              $        95.00                                          TM
2046   10/23/2016   Hardeep Rekhi          0.20    $   425.00   $       85.00 Email re Meeting of Attorneys                                                                       $        85.00                                          RW
2047   10/23/2016    Eden Nordby           1.10    $   150.00   $      165.00 Worked on plaintiffs' trial exhibits.                                                               $       165.00                                          TM
                                                                              prepare for pre-trial statement meeting (2.4); review Knight's reply to mtn to
2048 10/24/2016       Greg Wolk            3.00    $ 425.00 $        1,275.00 continue (.6)                                                                                       $      1,275.00                                         RW
2049 10/24/2016     Hardeep Rekhi          0.20    $ 425.00 $           85.00 Email to court; follow up re same                                                                   $         85.00                                         RW
2050 10/24/2016      Eden Nordby           1.00    $ 150.00 $          150.00 Worked on trial exhibits.                                                                           $        150.00                                         TM

                                                                              Analyzed Defendant's pretrial statement and proposed exhibits and emails
2051 10/24/2016       Erika Nusser         1.80    $ 350.00 $          630.00 regarding the same [1.3]; telephone conference regarding pretrial issues [.5].                      $       630.00                                          TM
2052 10/24/2016     Hannelore Ohaus        0.30    $ 75.00 $            22.50 Worked on docketing.                                                                      0.30       $           - Administrative                           TM
2053 10/24/2016     Hannelore Ohaus        0.10    $ 75.00 $             7.50 Worked on docketing.                                                                      0.10       $           - Administrative                           TM
                                                                              Prepared for pretrial conference of attorneys [.9]; traveled to, participated in, and
                                                                              returned from pretrial conference of attorneys [2.7]; worked on trial preparation
2054 10/24/2016      Toby Marshall         3.80    $ 475.00 $        1,805.00 issues [.2].                                                                                        $      1,805.00                                         TM
2055 10/25/2016       Greg Wolk            1.60    $ 425.00 $          680.00 research willfulness and defenses                                                                   $        680.00                                         RW

                                                                                Researched and analyzed issues regarding bona fide dispute defense to violations
                                                                                of RCW 49.52.050(2) [.8]; reviewed discovery responses in relation to same [.4];
                                                                                drafted memorandum to co-counsel regarding same [.2]; telephone call from Dr.
                                                                                Abbott regarding trial scheduling issues [.1]; worked on trial exhibit issues [.5];
2056 10/25/2016      Toby Marshall         3.40    $ 475.00 $        1,615.00   worked on pretrial order [1.0]; worked on trial strategy issues [.4].                             $      1,615.00                                         TM
                                                                                revise pretrial order (.4); MIL responses (.4); confer with co-counsel re Knight's
2057 10/26/2016       Greg Wolk            1.40    $ 425.00 $          595.00   motions in limine and plan for responding to same (.6)                                            $       595.00                                          RW
2058 10/26/2016     Hardeep Rekhi          0.80    $ 425.00 $          340.00   Review D's MIL                                                                                    $       340.00                                          RW
2059 10/26/2016     Hardeep Rekhi          0.20    $ 425.00 $           85.00   Trial prep                                                                                        $        85.00                                          RW
                                                                                confer with co-counsel re Knight's motions in limine and plan for responding to
2060 10/26/2016      Hardeep Rekhi         0.60    $ 425.00 $          255.00   same                                                                                              $       255.00                                          RW
                                                                                Worked on trial exhibits [.2]; email correspondence regarding deposition
                                                                                designations [.1]; worked on document production management; updated
2061 10/26/2016      Eden Nordby           0.60    $ 150.00 $           90.00   production log [.3].                                                                              $         90.00                                         TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 73
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                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
                                           2:12-cv-00904-RSL   Document
                                              2:17-cv-01499 Document
                                                              Document  1 Filed
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          A               B                C           D             E                                            F                                                       G                 H                                   I               J
 1       Date        Professional         Units       Price        Value    Narrative                                                                                 Writedown       Revised Value                   Writedown Explanation   Firm
                                                                            Telephone conference and emails regarding response to Defendant's motions in
2062 10/26/2016       Erika Nusser        0.70    $ 350.00 $         245.00 limine and analyzed the same [.7].                                                                    $           245.00                                          TM

                                                                               Worked on proposed pretrial order [.3]; email to co-counsel regarding same [.2];
                                                                               email to opposing counsel regarding same [.2]; analyzed issues regarding exhibits
                                                                               [.2]; researched and analyzed issues regarding bona fide dispute exception to
                                                                               willfulness and worked on memorandum to co-counsel regarding same [2.4];
                                                                               telephone conference with co-counsel regarding Knight's motions in limine and
2063   10/26/2016   Toby Marshall         3.90    $   475.00   $    1,852.50   plan for responding to same [.6].                                                                  $         1,852.50                                          TM
2064   10/27/2016     Greg Wolk           1.10    $   425.00   $      467.50   confer w co-counsel (.3); review pretrial order (.8)                                               $           467.50                                          RW
2065   10/27/2016   Hardeep Rekhi         0.40    $   425.00   $      170.00   Review and email correspondence re PTO                                                             $           170.00                                          RW
2066   10/27/2016   Hardeep Rekhi         0.30    $   425.00   $      127.50   confer w co-counsel (.3)                                                                           $           127.50                                          RW
2067   10/27/2016    Eden Nordby          0.40    $   150.00   $       60.00   Finalized and filed proposed pretrial order.                                                       $            60.00                                          TM

                                                                            Telephone conference regarding pretrial order and trial preparation [.5]; emails
2068 10/27/2016       Erika Nusser        1.50    $ 350.00 $         525.00 regarding pretrial order and case strategy issues, and worke don the same [1].                        $           525.00                                          TM
2069 10/27/2016        Holly Rota         0.30    $ 100.00 $          30.00 Worked on agreement regarding partial settlement of class claims.                                     $            30.00                                          TM

                                                                             Worked on finalizing terms of partial settlement for signature [.1]; worked on
                                                                             finalizing stipulation and proposed order on agreed in limine issues [.1]; worked
                                                                             on pretrial order issues [.1]; telephone conference with co-counsel regarding
                                                                             same [.3]; telephone conference with opposing counsel regarding pretrial order
                                                                             and settlement [.6]; telephone conference with co-counsel regarding pretrial
                                                                             order [.1]; worked on revisions to pretrial order [.4]; researched and analyzed
                                                                             issues regarding bona fide dispute defense [.4]; email correspondence with
                                                                             opposing counsel regarding revisions to pretrial order [.2]; analyzed issues
2070 10/27/2016      Toby Marshall        2.50    $ 475.00 $        1,187.50 regarding same [.1]; worked on filing of same [.1].                                                  $         1,187.50                                          TM
2071 10/28/2016       Greg Wolk           1.00    $ 425.00 $          425.00 draft opp to Knight MIL 2                                                                            $           425.00                                          RW
                                                                             Emails regarding case strategy issues, and briefing on liability for rest break
2072 10/28/2016       Erika Nusser        0.50    $ 350.00 $          175.00 practices after summary judgment order [.5].                                                         $           175.00                                          TM

2073 10/28/2016      Toby Marshall        2.00    $ 475.00 $          950.00 Researched and analyzed issues regarding Knight's motions in limine [2.0].                           $           950.00                                          TM
                                                                             Researched and analyzed issues regarding Knight's motions in limine and worked
2074 10/30/2016      Toby Marshall        4.80    $ 475.00 $        2,280.00 on response to same [4.8].                                                                           $         2,280.00                                          TM

2075   10/31/2016      Greg Wolk          2.40    $   425.00   $    1,020.00   finalize draft opp MIL 2 (.4); analyze & revise draft opps to Knight MILs 1, 3-6 (2)               $         1,020.00                                          RW
2076   10/31/2016    Hardeep Rekhi        3.80    $   425.00   $    1,615.00   Review case law; Draft MIL; Review MIL; Trial prep                                                 $         1,615.00                                          RW
2077   10/31/2016    Hardeep Rekhi        0.40    $   425.00   $      170.00   Work on opposition to MIL                                                                          $           170.00                                          RW
2078   10/31/2016     Eden Nordby         1.20    $   150.00   $      180.00   Worked on trial subpoenas and acceptance of service regarding same.                                $           180.00                                          TM
2079   10/31/2016     Erika Nusser        6.20    $   350.00   $    2,170.00   Worked on responses to Defendant's motions in limine [6.2].                                        $         2,170.00                                          TM
2080   10/31/2016   Hannelore Ohaus       0.10    $    75.00   $        7.50   Worked on docketing.                                                                     0.10       $               - Administrative                           TM
                                                                               Worked on opposition to Knight's motions in limine and researched and analyzed
                                                                               issues regarding same [9.2]; analyzed issues regarding deadline for jury
                                                                               instructions and email correspondence with opposing counsel regarding same
2081   10/31/2016   Toby Marshall         9.30    $   475.00   $    4,417.50   [.1].                                                                                              $         4,417.50                                          TM
2082   11/1/2016      Greg Wolk           0.70    $   425.00   $      297.50   review MIL responses                                                                               $           297.50                                          RW
2083   11/1/2016    Hardeep Rekhi         0.10    $   425.00   $       42.50   Discuss MIL                                                                                        $            42.50                                          RW
2084   11/1/2016    Hardeep Rekhi         0.10    $   425.00   $       42.50   Discuss MIL                                                                                        $            42.50                                          RW
2085   11/1/2016     Eden Nordby          0.40    $   150.00   $       60.00   Finalized trial subpoenas.                                                                         $            60.00                                          TM
                                                                               Emails regarding stipulation on agreed motions in limine [.2]; conference and
2086 11/1/2016        Erika Nusser        0.40    $ 350.00 $         140.00    emails regarding trial subpoenas [.2].                                                             $           140.00                                          TM
                                                                               Reviewed Knight's opposition to plaintiffs' motions in limine and analyzed issues
                                                                               regarding same [.3]; worked on subpoenas for Quest and Jenkins [.1]; worked on
                                                                               stipulation regarding agreed in limine terms and email correspondence with co-
                                                                               counsel regarding same [.2]; telephone conference with Mr. Head regarding
2087 11/1/2016       Toby Marshall        0.80    $ 475.00 $         380.00    expert testimony [.2].                                                                             $           380.00                                          TM
                                                                               analyze & respond to objections to dep designations (.8); object to Knight's dep
2088 11/2/2016        Greg Wolk           1.40    $ 425.00 $         595.00    designations (.6)                                                                                  $           595.00                                          RW
2089 11/2/2016      Hardeep Rekhi         0.10    $ 425.00 $          42.50    Trial prep                                                                                         $            42.50                                          RW

2090 11/2/2016      Bradford Kinsey       1.20    $ 100.00 $          120.00 Prepared draft of Plaintiffs' proposed jury instructions and special verdict form.                   $           120.00                                          TM
2091 11/2/2016       Erika Nusser         0.30    $ 350.00 $          105.00 Conference and emails regarding trial strategy issues [.3].                                          $           105.00                                          TM
                                                                             Worked on jury instructions and researched and analyzed issues regarding same
2092 11/2/2016       Toby Marshall        6.40    $ 475.00 $        3,040.00 [6.4].                                                                                               $         3,040.00                                          TM
                                                                             analyze jury instructions & verdict form (.8); confer with co-counsel re jury
2093 11/3/2016        Greg Wolk           1.10    $ 425.00 $          467.50 instructions (.3)                                                                                    $           467.50                                          RW
2094 11/3/2016       Hardeep Rekhi        0.30    $ 425.00 $          127.50 confer with co-counsel re jury instructions (.3)                                                     $           127.50                                          RW
                                                                             Prepared draft of trial brief; reviewed and revised Plaintiffs' proposed jury
2095 11/3/2016      Bradford Kinsey       0.60    $ 100.00 $           60.00 instructions.                                                                                        $            60.00                                          TM
2096 11/3/2016       Eden Nordby          0.20    $ 150.00 $           30.00 Worked on file organization.                                                                         $            30.00                                          TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 74
CASE NO. 2:12-CV-00904-RSL
                                       Case
                                      Case
                                        Case2:18-cv-00681-RAJ
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 1       Date        Professional         Units       Price        Value       Narrative                                                                             Writedown       Revised Value                   Writedown Explanation   Firm
                                                                               Analyzed proposed jury instructions and worked on proposed verdict form, and
2097 11/3/2016        Erika Nusser        3.20    $ 350.00 $        1,120.00   emails regarding the same [3.2]                                                                   $         1,120.00                                          TM
2098 11/3/2016      Hannelore Ohaus       0.10    $ 75.00 $             7.50   Worked on docketing.                                                                    0.10      $                - Administrative                           TM
                                                                               Worked on jury instructions and researched and analyzed issues regarding same
                                                                               [3.7]; telephone conference with co-counsel regarding same [.3]; worked on jury
2099 11/3/2016       Toby Marshall        5.10    $ 475.00 $        2,422.50   verdict form [1.1].                                                                               $         2,422.50                                          TM
                                                                               Worked on brief regarding liability for rest break practices after summary
2100 11/4/2016        Erika Nusser        5.00    $ 350.00 $        1,750.00   judgment order [5]                                                                                $         1,750.00                                          TM
2101 11/4/2016      Hannelore Ohaus       0.10    $ 75.00 $             7.50   Worked on docketing.                                                                    0.10      $                - Administrative                           TM
                                                                               Outlined plan for briefing Knight's liability for rest break practices from July to
2102 11/4/2016       Toby Marshall        0.30    $ 475.00 $         142.50    December 2016 [.2]; worked on revisions to jury instructions [.1].                                $           142.50                                          TM
                                                                               Worked on brief regarding liability for rest break practices after summary
2103   11/6/2016     Erika Nusser         2.20    $   350.00   $     770.00    judgment order [2.2]                                                                              $           770.00                                          TM
2104   11/7/2016      Greg Wolk           0.60    $   425.00   $     255.00    analyze settlement offer and confer w co-counsel                                                  $           255.00                                          RW
2105   11/7/2016    Hardeep Rekhi         0.20    $   425.00   $      85.00    work on Settlement of Claims                                                                      $            85.00                                          RW
2106   11/7/2016    Hardeep Rekhi         0.60    $   425.00   $     255.00    analyze settlement offer and confer w co-counsel                                                  $           255.00                                          RW
2107   11/7/2016     Eden Nordby          0.10    $   150.00   $      15.00    Left message for class member regarding [redacted].                                               $            15.00                                          TM
                                                                               Worked on brief regarding liability for rest break practices after summary
                                                                               judgment order [4.9]; worked on proposed CR2 agreement [.5]; telephone
2108 11/7/2016        Erika Nusser        7.50    $ 350.00 $        2,625.00   conferences and emails regarding settlement issues [2.1].                                         $         2,625.00                                          TM
                                                                               Analyzed issues regarding Knight's settlement offer [.4]; telephone conferences
2109   11/7/2016    Toby Marshall         1.20    $   475.00   $     570.00    with co-counsel regarding same [.8].                                                              $           570.00                                          TM
2110   11/8/2016      Greg Wolk           0.60    $   425.00   $     255.00    confer with co-counsel re settlement issues                                                       $           255.00                                          RW
2111   11/8/2016    Hardeep Rekhi         1.00    $   425.00   $     425.00    Draft Settlement; discussion and strategize re the same                                           $           425.00                                          RW
2112   11/8/2016    Hardeep Rekhi         0.10    $   425.00   $      42.50    Email correspondence re settlement                                                                $            42.50                                          RW
2113   11/8/2016    Hardeep Rekhi         0.10    $   425.00   $      42.50    Review and discuss settlement issues                                                              $            42.50                                          RW
2114   11/8/2016    Hardeep Rekhi         0.60    $   425.00   $     255.00    confer with co-counsel re settlement issues                                                       $           255.00                                          RW
                                                                               Telephone conferences and emails regarding settlement issues, and worked on
                                                                               revisions to proposed settlement [3.7]; worked on revisions to motion relating to
                                                                               liability for rest break practices after summary order, and supporting documents
                                                                               [1.5]; worked on stipulation to stay case and emails regarding the same [.4];
2115 11/8/2016        Erika Nusser        6.30    $ 350.00 $        2,205.00   worked on trial brief [.7].                                                                       $         2,205.00                                          TM

                                                                               Worked on draft settlement agreement regarding rest break and per diem claims
                                                                               and analyzed issues regarding same [.5]; reviewed defendant's settlement terms
                                                                               proposal and analyzed issues regarding same [.2]; worked on brief regarding
                                                                               Knight's liability on rest breaks from July to December 2016 [1.0]; telephone
                                                                               conference with co-counsel regarding settlement issues [.6]; worked on
2116   11/8/2016    Toby Marshall         2.60    $   475.00   $    1,235.00   additional revisions to settlement agreement [.3].                                                $         1,235.00                                          TM
2117   11/9/2016      Greg Wolk           0.20    $   425.00   $       85.00   confer with co-counsel re settlement agreement                                                    $            85.00                                          RW
2118   11/9/2016    Hardeep Rekhi         0.10    $   425.00   $       42.50   Review, revise draft proposed stipulation                                                         $            42.50                                          RW
2119   11/9/2016    Hardeep Rekhi         0.20    $   425.00   $       85.00   confer with co-counsel re settlement agreement                                                    $            85.00                                          RW
                                                                               Worked on terms of settlement; forwarded same to co-counsel and opposing
2120 11/9/2016       Eden Nordby          0.40    $ 150.00 $          60.00    counsel.                                                                                          $            60.00                                          TM
2121 11/9/2016       Erika Nusser         0.70    $ 350.00 $         245.00    Analyzed proposed CR2 agreement and emails regarding the same [.7].                               $           245.00                                          TM
                                                                               Telephone conferences with co-counsel regarding settlement agreement [a];
                                                                               analyzed issues regarding same [.2]; worked on revisions to and execution of
2122 11/9/2016       Toby Marshall        0.40    $ 475.00 $         190.00    same [.2].                                                                                        $           190.00                                          TM
2123 11/11/2016       Greg Wolk           1.80    $ 425.00 $         765.00    call clients and class members                                                                    $           765.00                                          RW
                                                                               Emails to Mr. Head, Dr. Abbott, and Dr. Munson regarding settlement of case [.1];
2124   11/13/2016    Toby Marshall        0.30    $   475.00   $     142.50    worked on outline of next steps [.2].                                                             $           142.50                                          TM
2125   11/14/2016      Greg Wolk          0.20    $   425.00   $      85.00    confer with co-counsel re next steps                                                              $            85.00                                          RW
2126   11/14/2016    Hardeep Rekhi        0.30    $   425.00   $     127.50    Review issues related to Denham Act and FAAAA amendement                                          $           127.50                                          RW
2127   11/14/2016    Hardeep Rekhi        0.10    $   425.00   $      42.50    review documents related to settlment; discuss next steps                                         $            42.50                                          RW
2128   11/14/2016    Hardeep Rekhi        0.20    $   425.00   $      85.00    confer with co-counsel re next steps                                                              $            85.00                                          RW
2129   11/14/2016   Hannelore Ohaus       0.40    $    75.00   $      30.00    Worked on docketing.                                                                    0.40       $               - Administrative                           TM

                                                                               Telephone conferences with co-counsel regarding post-settlement work to be
                                                                               done [.2]; analyzed issues regarding same [.1]; telephone conference with
2130   11/14/2016   Toby Marshall         0.40    $   475.00   $     190.00    opposing counsel regarding drafting of full settlement agreement [.1].                            $           190.00                                          TM
2131   11/15/2016   Hardeep Rekhi         2.30    $   425.00   $     977.50    Research regarding legislative issues                                                             $           977.50                                          RW
2132   11/16/2016     Greg Wolk           0.40    $   425.00   $     170.00    call drivers                                                                                      $           170.00                                          RW
2133   11/16/2016    Eden Nordby          0.20    $   150.00   $      30.00    Email correspondence regarding class list updating for settlement notice.                         $            30.00                                          TM
2134   11/17/2016   Hardeep Rekhi         1.00    $   425.00   $     425.00    Review case law related to motion to continue                                                     $           425.00                                          RW
2135   11/17/2016    Eden Nordby          0.40    $   150.00   $      60.00    Worked on spreadsheet for class member address updates.                                           $            60.00                                          TM
2136   11/17/2016   Toby Marshall         0.10    $   475.00   $      47.50    Telephone call from Dr. Abbott regarding status of trial [.1].                                    $            47.50                                          TM
                                                                               Analyzed issues regarding fee multipliers and worked on game plan for
2137 11/27/2016      Toby Marshall        0.30    $ 475.00 $         142.50    researching same [.3].                                                                            $           142.50                                          TM
2138 11/28/2016       Eric Nusser         0.40    $ 150.00 $          60.00    Evaluated research project regarding lodestar fee multipliers [.4].                               $            60.00                                          TM
2139 11/29/2016       Eric Nusser         0.40    $ 150.00 $          60.00    Researched and analyzed issues regarding fee multipliers.                                         $            60.00                                          TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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AND REIMBURSEMENT OF LITIGATION COSTS - 75
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                                     Case
                                    Case
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 1      Date        Professional        Units     Price          Value     Narrative                                                                              Writedown     Revised Value                  Writedown Explanation   Firm
2140 11/30/2016      Eric Nusser        4.50    $ 150.00 $           675.00Legal research regarding lodestar fee multipliers [4.5].                                           $         675.00                                          TM
2141 12/1/2016      Eden Nordby         0.20    $ 150.00 $            30.00Updated class member contact information.                                                          $          30.00                                          TM
2142 12/5/2016       Eric Nusser        1.10    $ 150.00 $           165.00Legal research and drafted memo regarding lodestar fee multpliers [1.1].                           $         165.00                                          TM
                                                                           Email correspondence with opposing counsel regarding status of settlement
2143 12/5/2016      Toby Marshall       0.10    $ 475.00 $           47.50 agreement [.1].                                                                                    $         47.50                                          TM

2144 12/6/2016       Eric Nusser        2.60    $ 150.00 $          390.00 Legal research and drafted memo regarding lodestar fee multipliers [2.6].                          $        390.00                                          TM
                                                                           Legal research regarding lodestar fee multipliers [4.1]; drafted memo regarding
2145 12/7/2016       Eric Nusser        7.10    $ 150.00 $        1,065.00 lodestar fee multipliers [3].                                                            3.00      $        615.00 Efficiency                               TM
                                                                           Legal research regarding lodestar fee multpliers [3.4]; drafted and edited memo
2146 12/8/2016       Eric Nusser        9.50    $ 150.00 $        1,425.00 regarding lodestar fee multipliers [6.1].                                                6.00      $        525.00 Efficiency                               TM
                                                                           Reviewed Knight's draft of the settlement agreement and analyzed issues
2147 12/14/2016     Toby Marshall       0.50    $ 475.00 $          237.50 regarding same [.5].                                                                               $        237.50                                          TM

2148 12/15/2016       Greg Wolk         1.50    $ 425.00 $          637.50 analyze and revise draft settlement agreement; confer w clients re status                          $        637.50                                          RW
2149 12/15/2016     Hardeep Rekhi       1.90    $ 425.00 $          807.50 Settlement analysis                                                                                $        807.50                                          RW
                                                                           Worked on settlement agreement and email correspondence with co-counsel
2150 12/20/2016     Toby Marshall       0.20    $ 475.00 $           95.00 regarding same [.2].                                                                               $         95.00                                          TM
2151 12/21/2016     Hardeep Rekhi       1.30    $ 425.00 $          552.50 Correspondence with co-counsel re class issues                                                     $        552.50                                          RW
                                                                           Email correspondence with opposing counsel regarding status of settlement
2152   12/22/2016   Toby Marshall       0.10    $   475.00   $       47.50 agreement [.1].                                                                                    $         47.50                                          TM
2153   12/30/2016   Toby Marshall       0.90    $   475.00   $      427.50 Worked on draft settlement agreement [.9].                                                         $        427.50                                          TM
2154   1/11/2017     Eden Nordby        0.20    $   150.00   $       30.00 Updated class member contact information in class list.                                            $         30.00                                          TM
2155   1/12/2017      Greg Wolk         0.30    $   425.00   $      127.50 confer w co-counsel re next steps                                                                  $        127.50                                          RW
2156   1/12/2017    Hardeep Rekhi       0.20    $   425.00   $       85.00 Meeting                                                                                            $         85.00                                          RW
2157   1/12/2017    Hardeep Rekhi       0.20    $   425.00   $       85.00 Meeting                                                                                            $         85.00                                          RW
2158   1/12/2017    Hardeep Rekhi       0.30    $   425.00   $      127.50 confer w co-counsel re next steps                                                                  $        127.50                                          RW
                                                                           Telephone conference with co-counsel regarding strategy for reviewing details of
                                                                           time records, filing motion for award of fees and costs, and filing for preliminary
2159   1/12/2017    Toby Marshall       0.40    $   475.00   $      190.00 approval [.4].                                                                           0.10      $        142.50 Administrative                           TM
2160   1/13/2017    Hardeep Rekhi       8.30    $   425.00   $    3,527.50 review settlement issues; email correspondence re the same                                         $      3,527.50                                          RW
2161   1/18/2017    Hardeep Rekhi       0.90    $   425.00   $      382.50 ER 408 issues                                                                                      $        382.50                                          RW
2162   1/19/2017     Eden Nordby        0.10    $   150.00   $       15.00 Email correspondence regarding class representative.                                               $         15.00                                          TM
2163   1/19/2017     Eden Nordby        0.10    $   150.00   $       15.00 Email correspondence regarding class representative.                                               $         15.00                                          TM
                                                                           Telephone call from Mr. Tena regarding settlement agreement and upcoming
2164 1/19/2017      Toby Marshall       0.20    $ 475.00 $           95.00 surgery [.2].                                                                                      $         95.00                                          TM
2165 1/23/2017      Hardeep Rekhi       0.60    $ 425.00 $          255.00 ER 408 Discussions                                                                                 $        255.00                                          RW

                                                                              Worked on compiling and coordinating detailed fees and costs reports [.2]; email
                                                                              correspondence with co-counsel regarding same [.1]; worked on draft settlement
2166 1/23/2017      Toby Marshall       1.10    $ 475.00 $          522.50    agreement and drafted memorandum to co-counsel regarding same [.8].                   0.30      $        380.00 Administrative                           TM
                                                                              analyze draft settlement agreement (.4); confer with co-counsel re attempting to
2167 1/24/2017        Greg Wolk         0.50    $ 425.00 $          212.50    settle dispute over attorneys' fees and costs (.1)                                              $        212.50                                          RW
2168 1/24/2017      Hardeep Rekhi       0.30    $ 425.00 $          127.50    ER 408 Discussions                                                                              $        127.50                                          RW
                                                                               confer with co-counsel re attempting to settle dispute over attorneys' fees and
2169 1/24/2017      Hardeep Rekhi       0.10    $ 425.00 $           42.50    costs                                                                                           $         42.50                                          RW
                                                                              Email correspondence with co-counsel regarding strategy for attempting to settle
                                                                              dispute over attorneys' fees and costs [.1]; telephone conference with co-counsel
                                                                              regarding same [.4]; drafted email to opposing counsel regarding fees and costs
                                                                              [.1]; telephone call from co-counsel regarding settlement agreement [.1]; worked
2170   1/24/2017    Toby Marshall       0.90    $   475.00   $      427.50    on same [.2].                                                                                   $        427.50                                          TM
2171   1/25/2017      Greg Wolk         3.40    $   425.00   $    1,445.00    draft settlement agreement                                                                      $      1,445.00                                          RW
2172   1/30/2017      Greg Wolk         0.40    $   425.00   $      170.00    confer w class member re settlement                                                             $        170.00                                          RW
2173   1/31/2017      Greg Wolk         0.50    $   425.00   $      212.50    confer w class members re settlement                                                            $        212.50                                          RW
2174   1/31/2017    Hardeep Rekhi       0.20    $   425.00   $       85.00    ER 408 Discussions                                                                              $         85.00                                          RW

                                                                           Prepared for telephone conference with opposing counsel regarding settlement
                                                                           negotiations for fees and costs [.1]; telephone conference with opposing counsel
2175 1/31/2017      Toby Marshall       0.30    $   475.00   $      142.50 regarding same [.1]; email to co-counsel regarding same [.1].                                      $        142.50                                          TM
2176 2/1/2017        Greg Wolk          0.30    $   425.00   $      127.50 confer w class member re settlement                                                                $        127.50                                          RW
2177 2/2/2017       Toby Marshall       1.00    $   475.00   $      475.00 Worked on revisions to final settlement agreement [1.0].                                           $        475.00                                          TM
2178 2/5/2017       Toby Marshall       4.10    $   475.00   $    1,947.50 Continued working on revisions to final settlement agreement [4.1].                                $      1,947.50                                          TM
2179 2/6/2017       Toby Marshall       1.70    $   475.00   $      807.50 Worked on draft settlement agreement [1.7].                                                        $        807.50                                          TM
                                                                           analyze and revise settlement agreement (.6); confer w class member re
2180    2/7/2017      Greg Wolk         1.40    $ 425.00 $          595.00 settlement (.8)                                                                                    $        595.00                                          RW
2181    2/8/2017      Greg Wolk         0.30    $ 425.00 $          127.50 analyze revisions to settlement agreement                                                          $        127.50                                          RW




 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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 AND REIMBURSEMENT OF LITIGATION COSTS - 76
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                                          2:17-cv-01499 Document
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                                                                       Telephone call from Mr. Helde regarding status of settlement and left message
                                                                       with Mr. Tena regarding same [.2]; worked on revisions to settlement agreement
                                                                       [.5]; worked on damages issues [.2]; email correspondence with co-counsel and
2182   2/8/2017   Toby Marshall       1.10    $ 475.00 $     522.50    opposing counsel regarding settlement agreement [.2].                                         $           522.50                           TM
                                                                       Analyzed issues regarding Knight's proposal on payment of fees and costs and
2183 2/14/2017    Toby Marshall       0.80    $ 475.00 $     380.00    email correspondence with co-counsel regarding same [.8].                                     $           380.00                           TM
                                                                       Email correspondence with opposing counsel regarding settlement negotiations
2184 2/15/2017    Toby Marshall       0.10    $ 475.00 $      47.50    for fees and costs payment [.1].                                                              $            47.50                           TM
2185 2/16/2017     Erika Nusser       0.20    $ 350.00 $      70.00    Emails regarding settlement issues [.2].                                                      $            70.00                           TM
                                                                       Email correspondence with co-counsel and opposing counsel regarding
2186 2/16/2017    Toby Marshall       0.10    $ 475.00 $      47.50    settlement offer on fees and costs [.1].                                                      $            47.50                           TM

                                                                    Researched and analyzed issues raised by Knight in its counteroffer on fees and
2187 2/17/2017    Toby Marshall       0.80    $ 475.00 $     380.00 costs [.5]; drafted proposed response and circulated same to co-counsel [.3].                    $           380.00                           TM
2188 2/21/2017     Erika Nusser       0.20    $ 350.00 $      70.00 Telephone conference regarding case strategy issues [.2].                                        $            70.00                           TM
2189 3/1/2017     Eden Nordby         0.20    $ 150.00 $      30.00 Updated class member contact information in tracking log.                                        $            30.00                           TM

2190   3/3/2017    Erika Nusser       0.30    $ 350.00 $     105.00 Analyzed revisions to settlement agreement and emails regarding the same [.3].                   $           105.00                           TM
                                                                    Email correspondence with opposing counsel regarding settlement agreement
2191   3/5/2017   Toby Marshall       0.20    $ 475.00 $      95.00 [.2].                                                                                            $            95.00                           TM
2192   3/6/2017    Greg Wolk          0.30    $ 425.00 $     127.50 analyze email from opposing counsel                                                              $           127.50                           RW

                                                                    Email correspondence with opposing counsel regarding settlement agreement
                                                                    [.1]; reviewed email from opposing counsel regarding Knight's most recent offer
                                                                    on fees and costs and analyzed issues regarding same [.3]; email correspondence
                                                                    with co-counsel and opposing counsel regarding counteroffer on fees and costs
                                                                    [.2]; email correspondence with court clerk regarding status of settlement and
2193   3/6/2017   Toby Marshall       0.70    $ 475.00 $     332.50 filing of motion for preliminary approval [.1].                                                  $           332.50                           TM
                                                                    Conference regarding discovery requests and continued to work on the same
2194   3/7/2017    Erika Nusser       1.20    $ 350.00 $     420.00 [1.2].                                                                                           $           420.00                           TM

2195 3/16/2017     Erika Nusser       7.30    $ 350.00 $    2,555.00 Worked on motion for preliminary approval of class action settlement [7.3].                     $         2,555.00                           TM

                                                                    Worked on plaintiffs' motion for preliminary approval of class action settlement,
2196 3/16/2017      Holly Rota        0.60    $ 100.00 $      60.00 declaration of Mr. Marshall in support of motion and proposed order.                             $            60.00                           TM
2197 3/17/2017     Greg Wolk          0.10    $ 425.00 $      42.50 confer with co-counsel re form of settlement notice                                              $            42.50                           RW
2198 3/17/2017    Hardeep Rekhi       0.10    $ 425.00 $      42.50 confer with co-counsel re form of settlement notice                                              $            42.50                           RW

                                                                       Email correspondence with co-counsel regarding notice form and with opposing
                                                                       counsel regarding settlement negotiations [.1]; telephone call from co-counsel
                                                                       regarding form of settlement notice [.1]; worked on proposed counteroffer on
2199 3/17/2017    Toby Marshall       0.40    $ 475.00 $     190.00    fees and costs and email correspondence with co-counsel regarding same [.2].                  $           190.00                           TM
2200 3/20/2017     Greg Wolk          0.30    $ 425.00 $     127.50    confer w class member re settlement                                                           $           127.50                           RW
                                                                       Email correspondence with co-counsel and opposing counsel regarding plaintiffs'
2201 3/20/2017    Toby Marshall       0.10    $ 475.00 $      47.50    counteroffer on fees and costs [.1].                                                          $            47.50                           TM
                                                                       Continued working on motion for preliminary approval of class action settlement
2202 3/21/2017     Erika Nusser       4.00    $ 350.00 $    1,400.00   [4].                                                                                          $         1,400.00                           TM

2203 3/24/2017     Erika Nusser       0.80    $ 350.00 $      280.00 Worked on revisions to settlement notice and emails regarding the same [.8].                    $           280.00                           TM
2204 3/24/2017    Toby Marshall       0.60    $ 475.00 $      285.00 Worked on form of settlement notice [.6].                                                       $           285.00                           TM
                                                                     Continued working on motion for preliminary approval of class action settlement
2205 3/27/2017     Erika Nusser       6.80    $ 350.00 $    2,380.00 [6.8].                                                                                          $         2,380.00                           TM
                                                                     Emails and voicemails to clients regarding final settlement agreement [.5];
                                                                     continued working on motion for preliminary approval of class action settlement
2206 3/28/2017     Erika Nusser       3.50    $ 350.00 $    1,225.00 [3].                                                                                            $         1,225.00                           TM
                                                                     Analyzed issues regarding issues finalizing settlement agreement and filing
2207 3/28/2017    Toby Marshall       0.10    $ 475.00 $       47.50 motion for preliminary approval [.1].                                                           $            47.50                           TM
2208 4/3/2017      Erika Nusser       0.20    $ 350.00 $       70.00 Worked on settlement issues [.2].                                                               $            70.00                           TM
2209 4/3/2017       Holly Rota        0.30    $ 100.00 $       30.00 Worked on and finalized settlement agreement.                                                   $            30.00                           TM
                                                                     Email correspondence with opposing counsel regarding status of settlement
                                                                     negotiations on fees and costs and Knight's signature on settlement agreement
2210   4/3/2017   Toby Marshall       0.10    $ 475.00 $       47.50 [.1].                                                                                           $            47.50                           TM
2211   4/5/2017     Greg Wolk         0.50    $ 425.00 $      212.50 analyze fees and settlement offer re same                                                       $           212.50                           RW
2212   4/5/2017    Erika Nusser       0.50    $ 350.00 $      175.00 Telephone conference regarding settlement issues [.5].                                          $           175.00                           TM
                                                                     Analyzed issues regarding settlement negotiations [.2]; telephone and personal
                                                                     conference with co-counsel regarding same [.3]; drafted email to opposing
2213   4/5/2017   Toby Marshall       0.80    $ 475.00 $      380.00 counsel regarding final offer on fees and costs [.3].                                           $           380.00                           TM
                                                                     Worked on plan for filing motion for determination of reasonable fees and costs
2214 4/12/2017    Toby Marshall       0.20    $ 475.00 $       95.00 [.2].                                                                                           $            95.00                           TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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 1     Date         Professional         Units     Price       Value      Narrative                                                                           Writedown       Revised Value                  Writedown Explanation   Firm
2215 4/13/2017       Greg Wolk           0.40    $ 425.00 $        170.00 confer w co-counsel re fees motion and review same                                              $           170.00                                         RW
                                                                          confer with co-counsel re determination of fees and costs and drafted memo re
2216 4/13/2017     Hardeep Rekhi         0.40    $ 425.00 $        170.00 same                                                                                            $          170.00                                          RW
2217 4/13/2017     Amanda Steiner        0.20    $ 495.00 $         99.00 Strategy conference regarding motion for attorneys' fees and costs [.2].                        $           99.00                                          TM
                                                                          Worked on plan for moving for determination of fees and costs and drafted
                                                                          memorandum regarding same [.6]; telephone conferences with co-counsel
2218 4/13/2017     Toby Marshall         1.00    $ 475.00 $        475.00 regarding same [.4].                                                                            $          475.00                                          TM
                                                                          Worked on plaintiffs' motion for attorneys' fees and costs, declaration of Mr.
2219 4/14/2017       Holly Rota          0.50    $ 100.00 $         50.00 Marshall in support of motion and proposed order.                                               $           50.00                                          TM
2220 4/16/2017       Greg Wolk           0.70    $ 425.00 $        297.50 worked on review of time entries to submit to court re approval of fees                         $          297.50                                          RW
                                                                          Worked on review of time entries to be submitted in support of motion for
2221 4/16/2017     Toby Marshall         0.80    $ 475.00 $        380.00 determination of reasonable fees and costs award [.8].                                          $          380.00                                          TM
                                                                          Reviewed background materials [1.6]; worked on motion for attorneys' fees and
2222 4/17/2017     Amanda Steiner        2.80    $ 495.00 $     1,386.00 costs [1.2].                                                                                     $         1,386.00                                         TM
                                                                          Analyzed issues regarding efforts to contact Mr. Tena and worked on plan to
2223 4/17/2017     Toby Marshall         0.10    $ 475.00 $         47.50 locate family members [.1].                                                                     $           47.50                                          TM
                                                                          Worked on research regarding contact information for Mr. Tena; left messages
2224 4/18/2017      Eden Nordby          1.00    $ 150.00 $        150.00 for Mr. Tena and family members.                                                                $          150.00                                          TM
                                                                          Email correspondence with Mr. Zabriskie regarding settlement administration
2225 4/19/2017      Toby Marshall        0.20    $ 475.00 $         95.00 issues [.1]; worked on issues regarding same [.1].                                              $            95.00                                         TM
2226 4/20/2017     Amanda Steiner        5.60    $ 495.00 $     2,772.00 Worked on motion for attorneys fees and costs, related research [5.6].                           $         2,772.00                                         TM

                                                                         Worked on plan for obtaining declarations in support of motion for fees and costs
                                                                         and email correspondence with co-counsel regarding same [.3]; worked on review
                                                                         of detailed fee entries for submission with motion for award of fees and costs and
2227 4/20/2017     Toby Marshall         0.50    $ 475.00 $       237.50 email correspondence with co-counsel regarding same [.2].                              0.20      $          142.50 Administrative                           TM

2228 4/21/2017       Greg Wolk           1.00    $ 425.00 $       425.00 drafted supporting declarations for approval of fees; confer w co-counsel re same                $          425.00                                          RW
                                                                         Researched contact information for and left messages with possible family
2229 4/21/2017      Eden Nordby          0.50    $ 150.00 $        75.00 members of Mr. Tena.                                                                             $           75.00                                          TM

                                                                         Telephone conference and email correspondence with Mr. Zabriskie regarding
                                                                         settlement administration issues [.3]; worked on same [.1]; worked on fee
2230 4/21/2017     Toby Marshall         0.60      $475.00 $      285.00 petition issues [.1]; analyzed issues regarding status of Mr. Tena [.1].                         $          285.00                                          TM
                                                                         Telephone conference with opposing counsel regarding settlement negotiations
                                                                         and email correspondence with co-counsel regarding same [.2]; worked on plan
2231 4/22/2017     Toby Marshall         0.40      $475.00 $      190.00 for fee petition [.2].                                                                           $          190.00                                          TM

                                                                         Worked on motion for attorneys fees and costs, related research and factual
2232 4/24/2017     Amanda Steiner        7.90    $ 495.00 $     3,910.50 analysis [7.6]; email with team regarding deadlines and procedural issues [.3].                  $         3,910.50                                         TM
                                                                         Analyzed issues regarding efforts to locate Mr. Tena and his relatives [.1];
                                                                         analyzed issues regarding Mr. Tena's health status and impact on ability to sign
                                                                         settlement agreement [.1]; worked on issues regarding motion for preliminary
2233   4/24/2017   Toby Marshall         0.30    $ 475.00 $       142.50 approval [.1].                                                                                   $          142.50                                          TM
2234   4/25/2017    Greg Wolk            0.80    $ 425.00 $       340.00 revise supporting declarations for approval of fees                                              $          340.00                                          RW
2235   4/26/2017   Toby Marshall         0.20      $475.00 $       95.00 Analyzed issues regarding motion for preliminary approval [.2].                                  $           95.00                                          TM
2236   4/27/2017   Toby Marshall         1.20      $475.00 $      570.00 Worked on motion for preliminary approval [1.2].                                                 $          570.00                                          TM
                                                                         Worked on exhibits in support of motion for preliminary approval of settlement
                                                                         [.3]; email correspondence regarding settlement website; searched for available
2237 4/28/2017      Eden Nordby          0.50    $ 150.00 $        75.00 domain names for same [.2].                                                                      $           75.00                                          TM

2238 4/28/2017     Toby Marshall         0.30      $475.00 $      142.50 Worked on motion for preliminary approval and supporting declaration [.3].                       $          142.50                                          TM
                                                                         Worked on motion for preliminary approval and declaration in support of same
2239 4/30/2017     Toby Marshall         0.30    $ 475.00 $       142.50 [.3].                                                                                            $          142.50                                          TM
                                                                         Worked on motion for preliminary approval and declaration in support of same
2240 4/30/2017     Toby Marshall         0.30      $475.00 $      142.50 [.3].                                                                                            $          142.50                                          TM

2241   5/1/2017     Eden Nordby          0.20    $ 150.00 $        30.00 Worked on exhibits in support of motion for preliminary approval of settlement.                  $           30.00                                          TM
                                                                         Finalized motion for preliminary approval and supporting documents for filing
2242   5/1/2017     Erika Nusser         0.30    $ 350.00 $       105.00 [.3].                                                                                            $          105.00                                          TM

                                                                         Email correspondence with co-counsel regarding action items for motion on fees
2243   5/1/2017    Toby Marshall         0.60    $ 475.00 $       285.00 and costs [.1]; worked on draft of supporting declaration from Mr. Berger [.5].                  $          285.00                                          TM
                                                                         Reviewed, revised and finalized motion for preliminary approval; reviewed and
                                                                         finalized Marshall and Tena declarations; assemble Marshall declaration exhibit;
                                                                         finalized proposed order; arrangted filing and service; arranged delivery of
                                                                         courtesy copies to chambers; email transmittal correspondence to chambers
2244   5/1/2017    Bradford Kinsey       1.10      $100.00 $      110.00 attaching proposed order.                                                                        $          110.00                                          TM

2245   5/1/2017     Eden Nordby          0.20      $150.00 $       30.00 Worked on exhibits in support of motion for preliminary approval of settlement.                  $           30.00                                          TM


DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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 1      Date       Professional          Units    Price       Value    Narrative                                                                               Writedown       Revised Value                   Writedown Explanation   Firm
                                                                       Finalized motion for preliminary approval and supporting documents for filing
2246   5/1/2017     Erika Nusser         0.30     $350.00 $     105.00 [.3].                                                                                               $           105.00                                          TM

                                                                        Email correspondence with co-counsel regarding action items for motion on fees
2247   5/1/2017    Toby Marshall         0.60     $475.00 $      285.00 and costs [.1]; worked on draft of supporting declaration from Mr. Berger [.5].                    $           285.00                                          TM
                                                                        Prepared draft of and finalized praecipe to replace Exhibit 1 (executed settlement
                                                                        agreement) to the Marshall declaration in support of motion for preliminary
2248   5/2/2017   Bradford Kinsey        0.60     $100.00 $       60.00 approval.                                                                                          $            60.00                                          TM
                                                                        Worked on issues regarding settlement website; worked on exhibit to
2249   5/2/2017    Eden Nordby           0.40     $150.00 $       60.00 supplemental declaration in support of motion for preliminary approval.                            $            60.00                                          TM
                                                                        Worked on praecipe to attach Defendant's counsel's signature page to settlement
                                                                        agreement for motion for preliminary approval [.1]; conference regarding
2250   5/2/2017     Erika Nusser         0.20     $350.00 $       70.00 settlement website [.1].                                                                           $            70.00                                          TM
                                                                        Worked on review, redaction, and writedown of lodestar for motion to determine
2251   5/2/2017    Toby Marshall         1.80     $475.00 $      855.00 and award reasonable fees [1.8].                                                                   $           855.00                                          TM
                                                                        analyze and discount fees (2); revise declaration to support fee (0.8); confer w co-
2252   5/3/2017      Greg Wolk           2.80    $ 425.00 $    1,190.00 counsel re same                                                                                    $         1,190.00                                          RW

                                                                        Worked on content for settlement website; revised long form notice [1]; worked
2253   5/3/2017     Eden Nordby          1.70     $150.00 $      255.00 on documents for CAFA notice; forwarded same to settlement administrator [.7].                     $           255.00                                          TM
2254   5/3/2017     Erika Nusser         0.10     $350.00 $       35.00 Emails regarding documents for CAFA notice [.1].                                                   $            35.00                                          TM
2255   5/3/2017   Jennifer Boschen       0.70     $150.00 $      105.00 Purchased settlement domain; configured hosting and redirect page.                                 $           105.00                                          TM
                                                                        Telephone conference with co-counsel regarding strategy for motion for fees and
                                                                        costs [.4]; worked on spreadsheet setting forth detailed time entries for same
2256   5/3/2017    Toby Marshall         0.70     $475.00 $      332.50 [.3].                                                                                    0.30      $           190.00 Administrative                           TM
2257   5/5/2017     Greg Wolk            0.80     $425.00 $      340.00 Discount staff fee entries                                                                         $           340.00                                          RW
2258   5/5/2017   Amanda Steiner         3.10     $495.00 $    1,534.50 Worked on fee motion, related research [3.1].                                                      $         1,534.50                                          TM
                                                                        Telephone conference with co-counsel and email to opposing counsel regarding
2259   5/8/2017    Toby Marshall         0.20     $475.00 $       95.00 settlement negotiations over fees and costs [.2].                                                  $            95.00                                          TM
                                                                        returned calls from Class members (.4); analyze defense counsel's response to fee
2260   5/9/2017      Greg Wolk           0.60     $425.00 $      255.00 negotiations (.2)                                                                                  $           255.00                                          RW
                                                                        Emails and conference regarding CAFA notice, and worked on revisions to the
2261   5/9/2017     Erika Nusser         0.50     $350.00 $      175.00 same [.5].                                                                                         $           175.00                                          TM
                                                                        Email correspondence with co-counsel regarding negotiations over fees and costs
2262   5/9/2017    Toby Marshall         0.30     $475.00 $      142.50 [.1]; analyzed issues regarding CAFA notice [.2].                                                  $           142.50                                          TM
                                                                        Email correspondence with co-counsel and opposing counsel regarding
2263 5/11/2017     Toby Marshall         0.20     $475.00 $       95.00 settlement negotiations for fees and costs [.2].                                                   $            95.00                                          TM
2264 5/15/2017     Eden Nordby           0.50     $150.00 $       75.00 Updated settlement class list with new class member addresses.                                     $            75.00                                          TM

                                                                       Worked on preparation of fee details for presentation to court [.4]; worked on
2265 5/15/2017     Toby Marshall         0.80     $475.00 $     380.00 declaration of Mr. Berger in support of motion for award of fees [.4].                    0.40      $           190.00 Administrative                           TM

                                                                       Email correspondence with opposing counsel regarding settlement negotiations
                                                                       over fees and costs [.1]; worked on declaration of Mr. Berger in support of motion
2266 5/16/2017     Toby Marshall         0.30     $475.00 $     142.50 for award of fees and email correspondence with co-counsel regarding same [.2].                     $           142.50                                          TM
                                                                       revise decs for fee petition (.3); confer w co-counsel re fee settlement discussions
2267 5/17/2017      Greg Wolk            0.50     $425.00 $     212.50 (.2)                                                                                                $           212.50                                          RW
2268 5/17/2017     Eden Nordby           0.20     $150.00 $      30.00 Email correspondence regarding settlement website.                                                  $            30.00                                          TM

                                                                       Telephone conferences with co-counsel regarding settlement negotiations over
                                                                       fees and costs [.3]; email correspondence with opposing counsel regarding same
                                                                       [.1]; analyzed issues regarding Knight's assertion that additional time should be
2269 5/17/2017     Toby Marshall         1.10     $475.00 $     522.50 cut for work with experts and reviewed detailed reports for same [.7].                              $           522.50                                          TM
2270 5/18/2017      Erika Nusser         0.20     $350.00 $      70.00 Worked on reply in support of motion for preliminary approval [.2].                                 $            70.00                                          TM

                                                                       Worked on and finalized reply in support of plaintiffs' motion for preliminary
2271 5/19/2017       Holly Rota          0.50     $100.00 $      50.00 approval of class action settlement; electronically filed same.                                     $            50.00                                          TM

                                                                         Reviewed settlement agreement and preliminary approval order; worked on
2272 5/24/2017     Eden Nordby           3.00     $150.00 $     450.00   calculating deadlines regarding settlement; worked on finalizing long form notice.                $           450.00                                          TM
                                                                         Emails regarding preliminary approval of settlement and settlement
2273 5/24/2017      Erika Nusser         0.30     $350.00 $     105.00   administration, and deadlines for the same [.3].                                                  $           105.00                                          TM
                                                                         Telephone conference with co-counsel regarding settlement negotiations on fees
2274 5/24/2017     Toby Marshall         0.10     $475.00 $      47.50   and costs [.1].                                                                                   $            47.50                                          TM
                                                                         Strategy conference regarding fee motion [.2]; reviewed and revised declaration
2275 5/25/2017    Amanda Steiner         0.90     $495.00 $     445.50   in support [.7].                                                                                  $           445.50                                          TM
2276 5/25/2017     Erika Nusser          0.20     $350.00 $      70.00   Emails regarding settlement administration issues [.2].                                           $            70.00                                          TM



 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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          A             B               C        D              E                                                F                                              G                 H                                   I               J
 1       Date      Professional        Units    Price         Value       Narrative                                                                         Writedown       Revised Value                   Writedown Explanation   Firm

                                                                          Analyzed issues regarding award calculations for settlement payments to class
                                                                          members and email correspondence with settlement administrator regarding
                                                                          same [.2]; telephone conference with opposing counsel regarding same [.1];
                                                                          worked on motion for award of fees and declarations in support of same [.2];
2277   5/25/2017   Toby Marshall       0.70     $475.00   $      332.50   worked on settlement award calculations [.2].                                                 $           332.50                                          TM
2278   5/26/2017   Eden Nordby         0.40     $150.00   $       60.00   Worked on issues regarding settlement website and notice.                                     $            60.00                                          TM
2279   5/26/2017    Erika Nusser       0.20     $350.00   $       70.00   Emails regarding settlement administration issues [.2].                                       $            70.00                                          TM
2280   5/26/2017    Samuel Levy        0.20     $100.00   $       20.00   Worked on docketing.                                                                0.20       $               - Administrative                           TM
2281   5/30/2017     Greg Wolk         0.40     $425.00   $      170.00   review notice and proposed changes by opp counsel                                             $           170.00                                          RW
2282   5/30/2017    Samuel Levy        0.50     $100.00   $       50.00   Worked on docketing.                                                                0.20      $            30.00 Administrative                           TM
                                                                          Analyzed issues regarding finalization of notice documents and email
2283 5/30/2017     Toby Marshall       0.20     $475.00 $         95.00   correspondence with co-counsel regarding same [.2].                                           $            95.00                                          TM
2284 5/31/2017      Greg Wolk          0.30     $425.00 $        127.50   finalize notice revisions                                                                     $           127.50                                          RW
2285 5/31/2017     Toby Marshall       0.10     $475.00 $         47.50   Worked on action items for fees and costs motion [.1].                                        $            47.50                                          TM

                                                                        draft case summary for fee petition (1.2); call class member and email co-counsel
2286   6/1/2017     Greg Wolk          1.70     $425.00 $        722.50 re updated addresses (.3); review case summary and email co-counsel (.2)                        $           722.50                                          RW

                                                                        Worked on update to case website [.3]; email correspondence with co-counsel
2287   6/1/2017    Eden Nordby         0.70     $150.00 $        105.00 and settlement administrator regarding settlement notice issues [.4].                           $           105.00                                          TM

                                                                       Worked on supporting declarations for fee motion [.2]; worked on notice issues
                                                                       [.1]; worked on fee detail review and preparation [2.1]; worked on memorandum
                                                                       regarding history of litigation for attorneys providing declarations in support of
                                                                       fee motion and email correspondence with co-counsel regarding same [.6];
                                                                       worked on calculations showing recovery versus calculations by defendant's
                                                                       expert [.4]; gathered materials and drafted email to Mr. Johnson regarding
2288   6/1/2017    Toby Marshall       3.70     $475.00 $     1,757.50 request for declaration in support of fee motion [.3].                                 2.10      $          760.00 Administrative                            TM
2289                                  3045.63           $ 1,121,630.99                                                                                       611.08     $      934,408.17




 DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
 PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
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       Case
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                   - Exhibit B -
DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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        Date          Component          Units       Price           Value
         10/9/2012    Accurint                   1   $     354.77    $    354.77
          2/4/2014    Accurint                   1   $      41.00    $     41.00
          3/6/2014    Accurint                   1   $       5.00    $      5.00
          4/2/2014    Accurint                   1   $      13.00    $     13.00
                                                                     $     413.77

          2/11/2013 Air Fare                     1 $       306.80 $        306.80
                                                                     $     306.80

          1/29/2014 Class Notice                 1 $        87.25 $         87.25
          1/31/2014 Class Notice                 1 $       246.19 $        246.19
           5/3/2017 Class Notice                 1 $        46.08 $         46.08
                                                                     $     379.52

          1/31/2013   Courier/PS                 1   $     150.00    $     150.00
          2/19/2013   Courier/PS                 1   $     150.00    $     150.00
          2/26/2013   Courier/PS                 1   $      39.00    $      39.00
           4/9/2013   Courier/PS                 1   $      29.00    $      29.00
          4/10/2013   Courier/PS                 1   $      18.75    $      18.75
          4/15/2013   Courier/PS                 1   $       7.00    $       7.00
           3/6/2014   Courier/PS                 1   $       7.00    $       7.00
          6/27/2014   Courier/PS                 1   $      25.00    $      25.00
          11/6/2015   Courier/PS                 1   $       7.00    $       7.00
          5/20/2016   Courier/PS                 1   $      25.00    $      25.00
         10/26/2016   Courier/PS                 1   $       7.00    $       7.00
                                                                     $     464.75

          5/31/2013   Expert                     1   $    2,070.00   $    2,070.00
          1/31/2014   Expert                     1   $    3,312.50   $    3,312.50
          3/21/2014   Expert                     1   $    5,968.75   $    5,968.75
          3/21/2014   Expert                     1   $    5,968.75   $    5,968.75
          3/31/2014   Expert                     1   $      787.50   $      787.50
          4/16/2014   Expert                     1   $    1,487.50   $    1,487.50
          4/16/2014   Expert                     1   $    1,487.50   $    1,487.50
          5/16/2014   Expert                     1   $    2,125.00   $    2,125.00
          5/16/2014   Expert                     1   $    2,125.00   $    2,125.00
          6/20/2014   Expert                     1   $      875.00   $      875.00
          1/19/2015   Expert                     1   $      375.00   $      375.00
          3/15/2016   Expert                     1   $    1,937.50   $    1,937.50
          5/31/2016   Expert                     1   $      700.00   $      700.00
          8/31/2016   Expert                     1   $   14,400.00   $   14,400.00
          10/4/2016   Expert                     1   $    3,750.00   $    3,750.00
         11/19/2016   Expert                     1   $    3,325.00   $    3,325.00
                                                                     $ 50,695.00

DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
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        Date       Component             Units     Price        Value
         2/11/2013 Hotel                         1 $     201.42 $    201.42
                                                                 $   201.42

         12/18/2012   Meal                       1   $   34.92   $    34.92
         12/19/2012   Meal                       1   $   32.85   $    32.85
         12/20/2012   Meal                       1   $   25.98   $    25.98
          2/12/2013   Meal                       1   $   19.12   $    19.12
           5/5/2014   Meal                       1   $   27.04   $    27.04
           7/1/2014   Meal                       1   $   21.69   $    21.69
           7/1/2014   Meal                       1   $    5.37   $     5.37
          7/25/2014   Meal                       1   $   30.00   $    30.00
          6/21/2016   Meal                       1   $    7.82   $     7.82
                                                                 $   204.79

          7/16/2014 Mediation                    1 $ 2,387.50 $ 2,387.50
          7/25/2014 Mediation                    1 $    18.00 $    18.00
          8/19/2016 Mediation                    1 $ 1,325.00 $ 1,325.00
                                                                 $ 3,730.50

          10/5/2012 Mileage                      1 $     13.88 $      13.88
          10/9/2012 Mileage                      1 $     46.62 $      46.62
         10/15/2012 Mileage                      1 $     48.84 $      48.84
                                                                 $   109.34

         10/15/2012   PACER                      1   $   14.30   $    14.30
           1/9/2013   PACER                      1   $    4.70   $     4.70
          4/25/2013   PACER                      1   $   11.40   $    11.40
           8/7/2013   PACER                      1   $   11.40   $    11.40
         10/24/2013   PACER                      1   $    4.50   $     4.50
         10/15/2014   PACER                      1   $    4.40   $     4.40
           2/5/2016   PACER                      1   $    6.70   $     6.70
                                                                 $    57.40

         12/20/2012   Parking                    1   $   28.00   $    28.00
          2/12/2013   Parking                    1   $   56.00   $    56.00
          9/25/2013   Parking                    1   $   13.00   $    13.00
           1/6/2014   Parking                    1   $   12.00   $    12.00
           5/5/2014   Parking                    1   $   28.00   $    28.00
           7/1/2014   Parking                    1   $   30.00   $    30.00
          7/25/2014   Parking                    1   $   14.00   $    14.00
          3/18/2015   Parking                    1   $   10.00   $    10.00
          4/19/2016   Parking                    1   $   19.00   $    19.00
          4/21/2016   Parking                    1   $   15.00   $    15.00
           9/6/2016   Parking                    1   $   25.00   $    25.00
         10/25/2016   Parking                    1   $   23.00   $    23.00
DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
AND REIMBURSEMENT OF LITIGATION COSTS - 83
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        Date          Component          Units       Price           Value
                                                                     $   273.00

         10/18/2012   Postage                    1   $        1.64   $     1.64
         11/19/2012   Postage                    1   $        0.90   $     0.90
         12/18/2012   Postage                    1   $        0.45   $     0.45
          1/22/2013   Postage                    1   $       23.69   $    23.69
          2/19/2013   Postage                    1   $       18.28   $    18.28
          4/23/2013   Postage                    1   $       18.72   $    18.72
         11/18/2013   Postage                    1   $        0.46   $     0.46
          1/22/2014   Postage                    1   $        0.46   $     0.46
          2/19/2014   Postage                    1   $       36.68   $    36.68
          3/18/2014   Postage                    1   $       10.96   $    10.96
          4/18/2014   Postage                    1   $        0.48   $     0.48
          9/18/2015   Postage                    1   $        0.49   $     0.49
                                                                     $   113.21

          9/20/2012   Rep B&W                   6    $        0.15   $     0.90
          10/8/2012   Rep B&W                  38    $        0.15   $     5.70
         10/10/2012   Rep B&W                  55    $        0.15   $     8.25
         10/16/2012   Rep B&W                   6    $        0.15   $     0.90
         10/18/2012   Rep B&W                   2    $        0.15   $     0.30
         10/23/2012   Rep B&W                   2    $        0.15   $     0.30
          12/3/2012   Rep B&W                   1    $        0.15   $     0.15
          12/4/2012   Rep B&W                   1    $        0.15   $     0.15
         12/13/2012   Rep B&W                  96    $        0.15   $    14.40
         12/17/2012   Rep B&W                   1    $        0.15   $     0.15
         12/20/2012   Rep B&W                  32    $        0.15   $     4.80
           1/9/2013   Rep B&W                  38    $        0.15   $     5.70
          2/11/2013   Rep B&W                 807    $        0.15   $   121.05
          2/13/2013   Rep B&W                  87    $        0.15   $    13.05
          2/14/2013   Rep B&W                   3    $        0.15   $     0.45
          2/19/2013   Rep B&W                 116    $        0.15   $    17.40
          2/20/2013   Rep B&W                  42    $        0.15   $     6.30
          2/25/2013   Rep B&W            1,149.00    $        0.15   $   172.35
          2/28/2013   Rep B&W                  62    $        0.15   $     9.30
           3/4/2013   Rep B&W                 104    $        0.15   $    15.60
          3/25/2013   Rep B&W                 443    $        0.15   $    66.45
           4/1/2013   Rep B&W                 433    $        0.15   $    64.95
           4/2/2013   Rep B&W                  59    $        0.15   $     8.85
           4/3/2013   Rep B&W                  34    $        0.15   $     5.10
          4/23/2013   Rep B&W                  36    $        0.15   $     5.40
          4/23/2013   Rep B&W                 778    $        0.15   $   116.70
          4/24/2013   Rep B&W                  13    $        0.15   $     1.95
          4/29/2013   Rep B&W                   4    $        0.15   $     0.60
           9/9/2013   Rep B&W            1,693.00    $        0.15   $   253.95
          9/11/2013   Rep B&W                   3    $        0.15   $     0.45
DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
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        Date          Component          Units         Price          Value
         9/23/2013    Rep B&W                    536   $       0.15   $     80.40
         9/24/2013    Rep B&W                     38   $       0.15   $      5.70
         9/25/2013    Rep B&W                     60   $       0.15   $      9.00
        10/14/2013    Rep B&W                     27   $       0.15   $      4.05
        10/21/2013    Rep B&W                      4   $       0.15   $      0.60
        10/28/2013    Rep B&W                     40   $       0.15   $      6.00
        11/25/2013    Rep B&W                      7   $       0.15   $      1.05
         1/22/2014    Rep B&W                      7   $       0.15   $      1.05
         3/25/2014    Rep B&W                     41   $       0.15   $      6.15
         3/26/2014    Rep B&W                     18   $       0.15   $      2.70
         6/18/2014    Rep B&W                     27   $       0.15   $      4.05
         6/23/2014    Rep B&W                     30   $       0.15   $      4.50
         6/30/2014    Rep B&W                     65   $       0.15   $      9.75
         7/17/2014    Rep B&W                     57   $       0.15   $      8.55
         7/22/2014    Rep B&W                     57   $       0.15   $      8.55
         7/25/2014    Rep B&W                     23   $       0.15   $      3.45
          8/6/2014    Rep B&W                    137   $       0.15   $     20.55
        11/18/2014    Rep B&W                     57   $       0.15   $      8.55
         12/1/2014    Rep B&W                     55   $       0.15   $      8.25
         12/5/2014    Rep B&W                    113   $       0.15   $     16.95
        12/15/2014    Rep B&W                     18   $       0.15   $      2.70
         3/10/2015    Rep B&W                    174   $       0.15   $     26.10
         3/17/2015    Rep B&W                    136   $       0.15   $     20.40
         3/30/2015    Rep B&W                     15   $       0.15   $      2.25
        10/19/2015    Rep B&W                     30   $       0.15   $      4.50
         11/2/2015    Rep B&W                     52   $       0.15   $      7.80
         12/9/2015    Rep B&W                     40   $       0.15   $      6.00
        12/22/2015    Rep B&W                     38   $       0.15   $      5.70
         2/17/2016    Rep B&W                     15   $       0.15   $      2.25
         3/18/2016    Rep B&W                    216   $       0.15   $     32.40
         4/20/2016    Rep B&W                     71   $       0.15   $     10.65
         4/25/2016    Rep B&W                    107   $       0.15   $     16.05
         9/19/2016    Rep B&W                      1   $       0.15   $      0.15
         9/19/2016    Rep B&W                      1   $       0.15   $      0.15
        10/18/2016    Rep B&W                     17   $       0.15   $      2.55
         12/5/2016    Rep B&W                     17   $       0.15   $      2.55
          4/3/2017    Rep B&W                     33   $       0.15   $      4.95
          5/3/2017    Rep B&W                    174   $       0.15   $     26.10
                                                                      $ 1,304.70

          10/8/2012   Rep Color                  12    $       0.25   $      3.00
         10/10/2012   Rep Color                   1    $       0.25   $      0.25
         10/18/2012   Rep Color                   1    $       0.25   $      0.25
         12/13/2012   Rep Color                   2    $       0.25   $      0.50
           1/2/2013   Rep Color                   2    $       0.25   $      0.50
           1/9/2013   Rep Color                  25    $       0.25   $      6.25
DECLARATION OF TOBY J. MARSHALL IN SUPPORT OF
PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’ FEES
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        Date          Component          Units         Price            Value
         2/14/2013    Rep Color                    2   $         0.25   $      0.50
         2/19/2013    Rep Color                    2   $         0.25   $      0.50
         2/25/2013    Rep Color                   34   $         0.25   $      8.50
         5/13/2013    Rep Color                    1   $         0.25   $      0.25
         11/7/2013    Rep Color                    1   $         0.25   $      0.25
         3/25/2014    Rep Color                   66   $         0.25   $     16.50
         6/23/2014    Rep Color                   65   $         0.25   $     16.25
         3/10/2015    Rep Color                    3   $         0.25   $      0.75
         3/30/2015    Rep Color                  156   $         0.25   $     39.00
        10/19/2015    Rep Color                    1   $         0.25   $      0.25
         11/2/2015    Rep Color                   66   $         0.25   $     16.50
         12/9/2015    Rep Color                   45   $         0.25   $     11.25
        12/22/2015    Rep Color                   92   $         0.25   $     23.00
         4/20/2016    Rep Color                  166   $         0.25   $     41.50
         4/25/2016    Rep Color                  348   $         0.25   $     87.00
                                                                        $   272.75

          10/8/2012   Scans                      367   $         0.05   $    18.35
         10/10/2012   Scans                      245   $         0.05   $    12.25
         12/13/2012   Scans                        1   $         0.05   $     0.05
           1/2/2013   Scans                      249   $         0.05   $    12.45
           1/9/2013   Scans                      100   $         0.05   $     5.00
          5/21/2014   Scans                      167   $         0.05   $     8.35
                                                                        $    56.45

          2/11/2013 Taxi                           1 $          31.49 $      31.49
          2/12/2013 Taxi                           1 $          37.00 $      37.00
                                                                        $    68.49

          10/5/2012 Toll                           1 $           7.68 $        7.68
                                                                        $     7.68

           1/2/2013   Transcript                   1   $ 1,192.98 $ 1,192.98
          2/18/2013   Transcript                   1   $   957.24 $   957.24
          8/28/2015   Transcript                   1   $    47.70 $    47.70
          5/16/2016   Transcript                   1   $   203.70 $   203.70
                                                                        $ 2,401.62

          9/13/2012   Westlaw                      1   $        43.05   $    43.05
          9/14/2012   Westlaw                      1   $       286.50   $   286.50
         10/16/2012   Westlaw                      1   $        45.00   $    45.00
          11/7/2012   Westlaw                      1   $       111.75   $   111.75
         11/16/2012   Westlaw                      1   $        12.90   $    12.90
         12/27/2012   Westlaw                      1   $       256.80   $   256.80
         12/28/2012   Westlaw                      1   $         4.50   $     4.50
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        Date         Component           Units       Price          Value
          1/2/2013   Westlaw                     1   $     207.30   $    207.30
          1/3/2013   Westlaw                     1   $      46.95   $     46.95
          1/4/2013   Westlaw                     1   $     492.75   $    492.75
          1/7/2013   Westlaw                     1   $     455.55   $    455.55
          1/8/2013   Westlaw                     1   $     625.20   $    625.20
          1/9/2013   Westlaw                     1   $     171.75   $    171.75
         1/10/2013   Westlaw                     1   $     337.35   $    337.35
         1/11/2013   Westlaw                     1   $     238.95   $    238.95
         1/12/2013   Westlaw                     1   $      80.40   $     80.40
         1/14/2013   Westlaw                     1   $     351.60   $    351.60
         1/21/2013   Westlaw                     1   $      66.60   $     66.60
         1/23/2013   Westlaw                     1   $       3.90   $      3.90
         1/24/2013   Westlaw                     1   $      36.45   $     36.45
         1/31/2013   Westlaw                     1   $      46.95   $     46.95
         2/12/2013   Westlaw                     1   $      10.95   $     10.95
         2/13/2013   Westlaw                     1   $       3.90   $      3.90
         2/14/2013   Westlaw                     1   $      22.65   $     22.65
         2/15/2013   Westlaw                     1   $       5.85   $      5.85
         2/16/2013   Westlaw                     1   $      12.90   $     12.90
         2/17/2013   Westlaw                     1   $      18.75   $     18.75
         2/20/2013   Westlaw                     1   $     124.80   $    124.80
         2/21/2013   Westlaw                     1   $     162.30   $    162.30
         2/21/2013   Westlaw                     1   $      72.30   $     72.30
         2/22/2013   Westlaw                     1   $       1.95   $      1.95
         2/22/2013   Westlaw                     1   $      38.70   $     38.70
         3/21/2013   Westlaw                     1   $       9.00   $      9.00
         3/28/2013   Westlaw                     1   $      40.65   $     40.65
         3/31/2013   Westlaw                     1   $     196.95   $    196.95
          4/1/2013   Westlaw                     1   $      14.85   $     14.85
          4/1/2013   Westlaw                     1   $     111.90   $    111.90
          4/2/2013   Westlaw                     1   $      85.95   $     85.95
          4/4/2013   Westlaw                     1   $      73.50   $     73.50
          4/5/2013   Westlaw                     1   $       1.95   $      1.95
          4/5/2013   Westlaw                     1   $      18.00   $     18.00
          4/6/2013   Westlaw                     1   $     138.25   $    138.25
          4/6/2013   Westlaw                     1   $       8.25   $      8.25
          4/7/2013   Westlaw                     1   $       1.95   $      1.95
          4/8/2013   Westlaw                     1   $      43.35   $     43.35
         4/23/2013   Westlaw                     1   $       1.95   $      1.95
          9/4/2013   Westlaw                     1   $      16.80   $     16.80
         9/18/2013   Westlaw                     1   $      27.00   $     27.00
         9/19/2013   Westlaw                     1   $      37.50   $     37.50
         9/20/2013   Westlaw                     1   $      56.25   $     56.25
         9/21/2013   Westlaw                     1   $      61.35   $     61.35
         9/23/2013   Westlaw                     1   $       3.90   $      3.90
         9/24/2013   Westlaw                     1   $      34.80   $     34.80
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        Date         Component           Units       Price          Value
         9/25/2013   Westlaw                     1   $      18.75   $     18.75
         9/30/2013   Westlaw                     1   $      64.50   $     64.50
         9/30/2013   Westlaw                     1   $      85.05   $     85.05
         10/1/2013   Westlaw                     1   $       1.95   $      1.95
         10/1/2013   Westlaw                     1   $       1.95   $      1.95
        10/18/2013   Westlaw                     1   $     133.65   $    133.65
        10/21/2013   Westlaw                     1   $      25.35   $     25.35
        10/22/2013   Westlaw                     1   $      36.75   $     36.75
        10/23/2013   Westlaw                     1   $      61.35   $     61.35
         2/17/2014   Westlaw                     1   $      36.75   $     36.75
         2/17/2014   Westlaw                     1   $      36.75   $     36.75
         4/24/2014   Westlaw                     1   $       9.00   $      9.00
          5/1/2014   Westlaw                     1   $      66.90   $     66.90
          5/7/2014   Westlaw                     1   $      12.90   $     12.90
         6/17/2014   Westlaw                     1   $     169.20   $    169.20
         6/25/2014   Westlaw                     1   $       1.95   $      1.95
         6/29/2014   Westlaw                     1   $      78.30   $     78.30
          7/8/2014   Westlaw                     1   $      96.90   $     96.90
         7/10/2014   Westlaw                     1   $      10.95   $     10.95
         7/10/2014   Westlaw                     1   $     249.00   $    249.00
         7/11/2014   Westlaw                     1   $      12.90   $     12.90
         7/12/2014   Westlaw                     1   $     211.50   $    211.50
         7/16/2014   Westlaw                     1   $     151.95   $    151.95
         7/17/2014   Westlaw                     1   $      64.95   $     64.95
         7/24/2014   Westlaw                     1   $      12.90   $     12.90
        11/19/2014   Westlaw                     1   $      12.90   $     12.90
        11/20/2014   Westlaw                     1   $       3.90   $      3.90
        11/21/2014   Westlaw                     1   $      77.40   $     77.40
        11/23/2014   Westlaw                     1   $      28.50   $     28.50
        11/24/2014   Westlaw                     1   $      18.75   $     18.75
        11/25/2014   Westlaw                     1   $       7.80   $      7.80
        11/26/2014   Westlaw                     1   $      22.65   $     22.65
        11/29/2014   Westlaw                     1   $     192.30   $    192.30
        11/30/2014   Westlaw                     1   $      15.60   $     15.60
        11/30/2014   Westlaw                     1   $       1.98   $      1.98
         12/1/2014   Westlaw                     1   $       6.20   $      6.20
         12/1/2014   Westlaw                     1   $       7.18   $      7.18
         3/14/2015   Westlaw                     1   $       5.31   $      5.31
         3/17/2015   Westlaw                     1   $       9.54   $      9.54
         3/18/2015   Westlaw                     1   $       1.88   $      1.88
        10/11/2015   Westlaw                     1   $       7.95   $      7.95
        10/12/2015   Westlaw                     1   $       9.79   $      9.79
        10/13/2015   Westlaw                     1   $      25.63   $     25.63
        10/26/2015   Westlaw                     1   $       1.15   $      1.15
        10/27/2015   Westlaw                     1   $       0.86   $      0.86
        10/28/2015   Westlaw                     1   $       2.59   $      2.59
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Date       Component           Units   Price       Value
10/29/2015 Westlaw                   1 $      1.44 $       1.44
10/29/2015 Westlaw                   1 $      8.06 $       8.06
10/29/2015 Westlaw                   1 $      3.74 $       3.74
 11/2/2015 Westlaw                   1 $      3.82 $       3.82
 11/6/2015 Westlaw                   1 $      0.29 $       0.29
 11/9/2015 Westlaw                   1 $      9.22 $       9.22
11/12/2015 Westlaw                   1 $      5.76 $       5.76
11/13/2015 Westlaw                   1 $      0.29 $       0.29
11/18/2015 Westlaw                   1 $      1.73 $       1.73
11/19/2015 Westlaw                   1 $      0.29 $       0.29
11/20/2015 Westlaw                   1 $      0.29 $       0.29
11/24/2015 Westlaw                   1 $      1.44 $       1.44
 12/1/2015 Westlaw                   1 $      0.29 $       0.29
 12/2/2015 Westlaw                   1 $      1.73 $       1.73
 12/4/2015 Westlaw                   1 $      7.20 $       7.20
 12/4/2015 Westlaw                   1 $      0.86 $       0.86
 4/17/2016 Westlaw                   1 $      0.68 $       0.68
 4/19/2016 Westlaw                   1 $      1.74 $       1.74
 4/19/2016 Westlaw                   1 $      1.32 $       1.32
 4/20/2016 Westlaw                   1 $      0.75 $       0.75
  9/5/2016 Westlaw                   1 $      0.54 $       0.54
  9/6/2016 Westlaw                   1 $      0.23 $       0.23
 9/16/2016 Westlaw                   1 $      0.99 $       0.99
 9/18/2016 Westlaw                   1 $      0.23 $       0.23
 9/23/2016 Westlaw                   1 $      3.17 $       3.17
 10/4/2016 Westlaw                   1 $      0.92 $       0.92
 10/5/2016 Westlaw                   1 $      0.82 $       0.82
 10/8/2016 Westlaw                   1 $      5.58 $       5.58
 10/9/2016 Westlaw                   1 $      5.26 $       5.26
10/11/2016 Westlaw                   1 $      0.41 $       0.41
10/13/2016 Westlaw                   1 $      0.71 $       0.71
10/17/2016 Westlaw                   1 $      0.35 $       0.35
10/18/2016 Westlaw                   1 $      0.90 $       0.90
10/18/2016 Westlaw                   1 $      1.83 $       1.83
10/18/2016 Westlaw                   1 $      0.35 $       0.35
10/19/2016 Westlaw                   1 $      3.61 $       3.61
10/19/2016 Westlaw                   1 $      2.09 $       2.09
10/20/2016 Westlaw                   1 $      0.09 $       0.09
10/20/2016 Westlaw                   1 $      1.26 $       1.26
10/20/2016 Westlaw                   1 $      0.87 $       0.87
10/24/2016 Westlaw                   1 $      0.25 $       0.25
10/25/2016 Westlaw                   1 $      2.11 $       2.11
10/26/2016 Westlaw                   1 $      2.41 $       2.41
10/26/2016 Westlaw                   1 $      0.99 $       0.99
10/27/2016 Westlaw                   1 $      1.70 $       1.70
10/28/2016 Westlaw OF TOBY J. MARSHALL
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Date         Component          Units       Price          Value
10/30/2016   Westlaw                    1   $       6.20   $       6.20
10/31/2016   Westlaw                    1   $       4.20   $       4.20
10/31/2016   Westlaw                    1   $       0.05   $       0.05
 11/3/2016   Westlaw                    1   $       0.79   $       0.79
11/30/2016   Westlaw                    1   $       0.92   $       0.92
 12/6/2016   Westlaw                    1   $       0.25   $       0.25
 12/7/2016   Westlaw                    1   $       1.65   $       1.65
 12/8/2016   Westlaw                    1   $       0.83   $       0.83
 3/16/2017   Westlaw                    1   $       1.46   $       1.46
 3/21/2017   Westlaw                    1   $       0.34   $       0.34
 4/18/2017   Westlaw                    1   $       2.26   $       2.26
 4/20/2017   Westlaw                    1   $       0.24   $       0.24
 4/21/2017   Westlaw                    1   $       1.13   $       1.13
 4/21/2017   Westlaw                    1   $       6.50   $       6.50
 4/24/2017   Westlaw                    1   $       1.70   $       1.70
 4/28/2017   Westlaw                    1   $       0.60   $       0.60
                                                           $ 7,612.39

                                            Total          $ 68,673.58




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 1                                                THE HONORABLE ROBERT S. LASNIK

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 6

 7                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 8

 9   JOSEPH JEROME WILBUR, a Washington
     resident; JEREMIAH RAY MOON, a             NO. 2:11-cv-01100 RSL
10   Washington resident; and ANGELA MARIE
     MONTAGUE, a Washington resident,           PLAINTIFFS’ MOTION FOR AWARD
11   individually and on behalf of all others   OF ATTORNEYS’ FEES AND
     similarly situated,                        EXPENSES
12

13                      Plaintiffs,             NOTE ON MOTION CALENDAR:
                                                January 3, 2013
14         v.
                                                ORAL ARGUMENT REQUESTED
15   CITY OF MOUNT VERNON, a Washington
     municipal corporation; and CITY OF
16   BURLINGTON, a Washington municipal
     corporation,
17
                        Defendants.
18

19

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     PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’          TERRELL MARSHALL DAUDT & WILLIE PLLC
                                                                 936 North 34th Street, Suite 300
     FEES AND EXPENSES                                          Seattle, Washington 98103-8869
     CASE NO. 2:11-CV-01100 RSL                               TEL. 206.816.6603  FAX 206.350.3528
                                                                        www.tmdwlaw.com
            Case
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     PLAINTIFFS’ MOTION FOR AWARD OF ATTORNEYS’                                         TERRELL MARSHALL DAUDT & WILLIE PLLC
                                                                                                   936 North 34th Street, Suite 300
     FEES AND EXPENSES - i                                                                        Seattle, Washington 98103-8869
     CASE NO. 2:11-CV-01100 RSL                                                                 TEL. 206.816.6603  FAX 206.350.3528
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19   28 U.S.C. § 1920 .........................................................................................................................11
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25                                                                  OTHER

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     Indigent Defense Crisis, 47 Harvard Journal on Legislation 487 (2010) ......................................7


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 3   in Hurrell-Harring and Duncan, 45 U.C. Davis L. Rev. 193 (2011) ...........................................7
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 1                                              I.    INTRODUCTION
 2           This class action lawsuit has been, and will long continue to be, a case of exceptional
 3   importance. At issue was the fundamental right to the assistance of counsel that is guaranteed
 4   under the Sixth Amendment of the United States Constitution. Plaintiffs proved at trial that
 5   thousands of indigent defendants in the Cities of Mount Vernon and Burlington have been
 6   systematically deprived of this right. Plaintiffs also proved that the deprivation has been
 7   directly and predictably caused by the deliberate choices of the Cities’ municipal policymakers.
 8   The Court’s decision to remedy the constitutional violations through substantial injunctive
 9   relief greatly amplifies the notes of freedom and liberty that emerged from Gideon’s trumpet a
10   half a century ago, and it does so at a critical time. As Attorney General Eric Holder recently
11   noted, “America’s indigent defense systems continue to exist in a state of crisis.”1 The
12   important ruling delivered by the Court in this case will undoubtedly reverberate far beyond the
13   Cities’ borders, helping to raise public defense standards so that indigent defendants across the
14   nation get the assistance of counsel to which they are entitled.2
15           Plaintiffs and their attorneys achieved what they set out to do, but the path to success
16   was long and there were considerable obstacles along the way. The Cities aggressively
17   defended their illegal conduct and refused several good-faith attempts to resolve the case
18   through compromise. As a result, it was necessary for Class Counsel to rigorously and
19   thoroughly prosecute the action and ultimately prove Plaintiffs’ claims at trial. The stakes
20   demanded an in-depth investigation of the facts, an extensive review of the law, the marshaling
21   of substantial evidence, and the presentation of numerous witnesses. Throughout the entire
22   process, Class Counsel worked as efficiently as possible and had no incentive to waste time on
23
     1
24     Eric Holder, United States Attorney General, Remarks at the Annual Meeting of the American Bar Association’s
     House of Delegates (August 12, 2013) (transcript available at http://www.justice.gov/iso/opa/ag/speeches/2013/ag-
25   speech-130812.html); see also Statement of Interest of the United States, Dkt. No. 322 at 4:17 (“Our national
     difficulty to meet the obligations recognized in Gideon is well documented.”).
     2
26     See, e.g., Jesse Wegman, Editorial Page Editor’s Blog, The Right to an Attorney Who Actually Does His Job,
     N.Y. Times, December 9, 2013 (available at http://takingnote.blogs.nytimes.com/2013/12/09/the-right-to-an-
     attorney-who-actually-does-his-job/?hp&rref=opinion).


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 1   unnecessary endeavors. For the reasons set forth below, the attorneys’ fees and litigation
 2   expenses that Class Counsel incurred and seek to recover are reasonable and fair, particularly in
 3   light of the circumstances of the litigation and the extraordinary outcome achieved.
 4          Accordingly, Plaintiffs respectfully move as the prevailing parties for an award to Class
 5   Counsel of $2,425,916.52 in attorneys’ fees and $43,496.50 in litigation expenses, which shall
 6   be paid by the Cities. The motion is brought under 42 U.S.C. § 1988 and Civil Rules 23(h) and
 7   54(d)(2) and is based on the Court’s December 4, 2013 Memorandum of Decision.
 8
                                     II. FACTUAL BACKGROUND
 9
            In August 2010, attorneys Matt Zuchetto and Toby Marshall started researching and
10
     analyzing the systemic problems that have long plagued indigent defense systems and efforts to
11
     create reform through litigation. Marshall Decl. ¶ 25. The attorneys focused their investigation
12
     on the joint public defense system in Mount Vernon and Burlington. Id. Through public
13
     records requests, observations of court proceedings, and interviews with numerous individuals,
14
     Messrs. Zuchetto and Marshall determined that deprivations of the right to counsel were
15
     widespread and ongoing. Id. Thus, in June 2011 the attorneys filed this lawsuit in Skagit
16
     County Superior Court on behalf of Plaintiffs and a proposed class of indigent defendants,
17
     seeking declaratory and injunctive relief under 42 U.S.C. § 1983. See Dkt. No. 1-1, Ex. A.
18
     The Cities subsequently removed the case to this Court. Dkt. No. 1.
19
            Shortly after the action was filed, the ACLU of Washington and its cooperating
20
     attorneys at Perkins Coie offered to join Messrs. Zuchetto and Marshall and their firms in
21
     representing the Plaintiffs and proposed class members. Marshall Decl. ¶ 26. The ACLU and
22
     Perkins Coie had successfully litigated a class action against Grant County over indigent
23
     defense rights, and Messrs. Zuchetto and Marshall knew the organizations could provide
24
     substantial experience, expertise, and resources. Id. Thus, Messrs. Zuchetto and Marshall
25
     accepted the offer to co-counsel on this important case. Id.
26
            Within three weeks of filing the case, Plaintiffs’ counsel sent a letter to opposing


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 1   counsel offering to enter into early mediation with the Cities. Marshall Decl. ¶ 27. The Cities
 2   failed to respond. Id. Plaintiffs’ counsel raised the issue again during the Rule 26(f)
 3   conference, noting that the fees and expenses in an action of this magnitude would likely be
 4   great if the matter proceeded to judgment, but the Cities stated that they intended to litigate the
 5   case extensively and would not address mediation until after summary judgment and class
 6   certification issues were resolved. Dkt. No. 10 at 3:4-24. The Cities also asserted that they
 7   may simply choose to shut down their municipal courts rather than face an injunctive order
 8   from this Court, thereby setting the tone for their approach to the lawsuit. Id.
 9          Approximately one month after the filing of the parties’ joint status report, the Cities
10   made good on their intention to aggressively defend against Plaintiffs’ claims. The Cities filed
11   three separate summary judgment motions, each over 30 pages in length. See Dkt. Nos. 25-34.
12   Five weeks later, the Cities filed a motion for sanctions against Joseph Wilbur and a motion to
13   disqualify Plaintiffs’ counsel and their experts for alleged violations of the Rules of
14   Professional Conduct. See Dkt. Nos. 87-90. Plaintiffs’ counsel successfully defeated all of
15   these motions, but doing so required substantial evidence, testimony, and briefing. See Dkt.
16   Nos. 45-57, 93-106, 140, 142, 144 (noting “defense counsel had only a weak factual basis” for
17   the motion to disqualify, apparently acted “for tactical reasons,” and “arguably overstep[ed] the
18   bounds of zealous advocacy”). Around the same time, Plaintiffs’ counsel successfully moved
19   for class certification in the face of considerable opposition. See Dkt. Nos. 124-27, 143.
20          With the class certified and summary judgment denied, the case moved toward trial.
21   Extensive discovery was conducted by both sides, including eighteen depositions and the
22   production of thousands of pages of documents. Marshall Decl. ¶ 28. The work required of
23   Class Counsel to gather evidence for the prosecution of the case increased substantially when
24   the Cities made changes to their public defense system and argued those changes had rendered
25   the Class claims moot. Id.; see also Dkt. No. 218 at 1:14-16. Indeed, Class Counsel were
26   required to gather and present evidence on two different sets of public defenders. Marshall



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 1   Decl. ¶ 28. At the close of discovery, Defendants filed a motion for summary judgment on that
 2   ground, but Plaintiffs demonstrated there were genuine issues for trial. See Dkt. No. 271.
 3          After class certification was granted and again before trial, Class Counsel worked hard
 4   to obtain a resolution of the case through settlement and made substantial offers of
 5   compromise. Marshall Decl. ¶ 29. The Cities rejected the offers and chose to take their
 6   chances on a trial. See id.
 7          The case was tried during nine Court days in June 2013. Marshall Decl. ¶ 30. Thirty
 8   witnesses were called to testify and hundreds of exhibits were offered into evidence. Id. Post-
 9   trial briefing on key issues was submitted in August per the Court’s request. Id. On December
10   4, 2013, the Court issued a memorandum of decision. Dkt. No. 325. The Court declared that
11   indigent defendants in Mount Vernon and Burlington are systemically deprived of the
12   assistance of counsel and that the Cities’ municipal policymakers have made deliberate choices
13   regarding the funding, contracting, and monitoring of the public defense system that directly
14   and predictably caused the deprivation. Id. at 2:8-12. The Court ordered substantial injunctive
15   relief to remedy the constitutional violations and restore the rights of the Class. Id. at 17-23.
16
                                   III. ARGUMENT AND AUTHORITY
17
     A.     Plaintiffs Are the Prevailing Parties
18
            The prevailing party in a civil rights suit is entitled to an award of reasonable attorneys’
19
     fees and out-of-pocket expenses. 42 U.S.C. § 1988(b) (fees); Harris v. Marhoefer, 24 F.3d 16,
20
     19-20 (1994) (expenses). In reviewing section 1988 fee awards, the United States Supreme
21
     Court has noted:
22
                Congress expressly recognized that a plaintiff who obtains relief in a
23              civil rights lawsuit does so not for himself alone but also as a ‘private
                attorney general,’ vindicating a policy that Congress considered of the
24              highest importance . . . . [Thus,] [c]ounsel for prevailing parties should
                be paid . . . for all time reasonably expended on [the] matter.
25
26   City of Riverside v. Rivera, 477 U.S. 561, 574-75 (1986) (quotation marks and citations
     omitted); see also Leeds v. Watson, 630 F.2d 674, 677 (9th Cir. 1980) (section 1988 “was


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 1   designed to provide for awards of attorney fees in ‘private attorney general’ types of claims in
 2   order to encourage the private enforcement of civil rights laws and to fully vindicate” those
 3   rights); Ackerley Commc’ns v. City of Salem, 752 F.2d 1394, 1396-97 (9th Cir. 1985) (awards
 4   of attorneys’ fees “act as an effective incentive for injured parties to seek judicial relief for civil
 5   rights violations” and “stimulate voluntary compliance with the law”) (quoting Seattle Sch.
 6   Dist. No. 1 v. Washington, 633 F.2d 1338, 1348 (9th Cir. 1980)).
 7           A plaintiff “prevails” for purposes of section 1988 if there is a “material alteration of
 8   the parties’ legal relationship” that “is accompanied by ‘judicial imprimatur on the change.’”
 9   Higher Taste, Inc. v. City of Tacoma, 717 F.3d 712, 715 (9th Cir. 2013) (quoting Buckhannon
10   Bd. & Care Home, Inc. v. W. Va. Dep’t of Health & Human Res., 532 U.S. 598, 605 (2001)).
11   An order granting injunctive relief satisfies this requirement. See Gerling Global Reinsurance
12   Corp. of Am. v. Garamendi, 400 F.3d 803, 806, 811 (9th Cir. 2005). Because the Court ordered
13   substantial injunctive relief to the Class to remedy the Cities’ constitutional violations,
14   Plaintiffs are the prevailing parties in this lawsuit and are entitled an award of reasonable fees
15   and litigation expenses. See Dkt. No. 325 at 17-23.
16   B.      Class Counsel Are Entitled to an Award of Reasonable Attorneys’ Fees and
             Expenses Incurred in This Action
17
                 1. The Lodestar Establishes a Presumptively Reasonable Fee
18
             “In determining a reasonable attorney’s fee, the district court’s first step is to calculate a
19
     ‘lodestar’ by multiplying the number of hours it finds the prevailing party reasonably expended
20
     on the litigation by a reasonable hourly rate.” McGrath v. County of Nev., 67 F.3d 248, 252
21
     (9th Cir. 1995); Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). There is a “strong
22
     presumption” that the lodestar amount constitutes a “reasonable” fee. Perdue v. Kenny A. ex
23
     rel. Winn, 559 U.S. 542, 553-54 (2010). Thus, “it should only be enhanced or reduced in ‘rare
24
     and exceptional cases.’” Fischer v. SJB-P.D. Inc., 214 F.3d 1115, 1119 n.4 (9th Cir. 2000)
25
     (quoting Pennsylvania v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 565
26
     (1986)); see also Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir. 1975) (factors).


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 1            2.       Class Counsel’s Hourly Rates Are Reasonable
 2            Submitted in support of this motion are the declarations of Toby Marshall, Matthew
 3   Zuchetto, Sarah Dunne, and James Williams. Those declarations set forth the skill, experience,
 4   rates, hours worked, work performed, and need for time expended by each attorney and staff
 5   member that worked for Class Counsel on this matter. See Marshall Decl. ¶¶ 2-20; Zuchetto
 6   Decl. ¶¶ 2-15; Dunne Decl. ¶¶ 2-15; Williams Decl. ¶¶ 2-12. Nearly all of the work performed
 7   in prosecuting this case was accomplished by the following individuals, and Class Counsel seek
 8   fees at the current hourly rates noted for each: Toby Marshall, attorney ($375); James
 9   Williams, attorney ($580); Matt Zuchetto, attorney ($330); Breena Roos, attorney ($465);
10   Camille Fisher, attorney ($330); Jennifer Boschen, paralegal ($150); Nancy Talner, attorney
11   ($400); Sarah Dunne, attorney ($380); and Joel Higa, paralegal ($155).3
12            For purposes of the lodestar determination, reasonable fees are “calculated according to
13   the prevailing market rates in the relevant community, regardless of whether the plaintiff is
14   represented by private or nonprofit counsel.” Blum v. Stenson, 465 U.S. 886, 895 (1984). “The
15   relevant community is generally defined as the forum in which the district court sits.” Van
16   Skike v. Dir., Office of Workers’ Comp. Programs, 557 F.3d 1041, 1046 (2009) (quotation
17   marks and citation omitted). Thus, in assessing the rates requested by Class Counsel, the Court
18   should look to market rates in the Western District of Washington.
19            “[A]ffidavits of the plaintiffs’ attorneys and other attorneys regarding prevailing fees in
20   the community and rate determinations in other cases are satisfactory evidence of the prevailing
21   market rate.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 980 (9th Cir. 2008) (internal
22   marks omitted; quoting United Steelworkers of Am. v. Phelps Dodge Corp., 896 F.2d 403, 407
23
     3
       The application of current rates (as opposed to historical rates) throughout the case is an appropriate adjustment
24   because it compensates Class Counsel for the substantial delay in payment for work performed in this case. See
     Perdue, 559 U.S. at 556; see also Gates v. Deukmejian, 987 F.2d 1392, 1406 (9th Cir. 1992) (“We have long
25   recognized that district courts have the discretion to compensate prevailing parties for any delay in the receipt of
     fees by awarding fees at current rather than historic rates in order to adjust for inflation and loss of the use [of]
26   funds.”). Indeed, the Ninth Circuit has noted that a delay of “over three years” from counsel’s initial work is
     “particularly onerous” where the fees ultimately incurred “run[] in the millions of dollars.” 987 F.2d at 1406-07.
     That is precisely the situation here.


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 1   (9th Cir. 1990)). As set forth in the declarations accompanying this motion, the rates Class
 2   Counsel request are consistent with rates charged by other lawyers in this community of similar
 3   skill and experience. Marshall Decl. ¶ 16; Zuchetto Decl. ¶¶ 6-7; Dunne Decl. ¶ 2; Williams
 4   Decl. ¶ 12. Indeed, three well-respected and experienced practitioners from Seattle—Bradley
 5   Keller, Sal Mungia, and Joseph Shaeffer—attest as experts that Class Counsel’s rates are
 6   comparable to prevailing rates in the Seattle community. Keller Decl. ¶¶ 6-9; Mungia Decl.
 7   ¶ 3-10; Shaeffer Dec. ¶¶ 7-12. Recent awards in western Washington also show the rates
 8   requested are reasonable. Marshall Decl. ¶¶ 21-22; Zuchetto Decl. ¶¶ 6-7.
 9
            3.      The Time Class Counsel Spent Prosecuting This Case and Obtaining a
10                  Successful Outcome Was Reasonable

11          Class Counsel have filed detailed documentation of the time they spent investigating,

12   litigating, and trying this case. Summaries of the hours worked by timekeeper, including

13   applicable current rate and total fees, are provided in accompanying declarations. Marshall

14   Decl. ¶ 20; Zuchetto Decl. ¶ 11; Dunne Decl. ¶ 15. Also provided as Appendix A to this

15   motion is a consolidated spreadsheet that describes the tasks performed by every timekeeper on

16   a daily basis and the number of hours spent on those tasks. Class Counsel compiled this

17   spreadsheet from contemporaneously created time records. Marshall Decl. ¶ 16; Zuchetto

18   Decl. ¶¶ 13-14; Dunne Decl. ¶ 14; Williams Decl. ¶ 10. With respect to work performed on the

19   case up until this motion, Class Counsel respectfully seek payment of $2,396,423.52 in fees.

20           Successfully prosecuting an indigent defense reform case is notoriously difficult. See

21   Cara H. Drinan, The National Right to Counsel Act: A Congressional Solution to the Nation’s

22   Indigent Defense Crisis, 47 Harvard Journal on Legislation 487, 522 (2010) (“lawsuits raising

23   systemic deprivations of the right to counsel . . . have not been consistently successful in state

24   court, and they have been almost entirely unsuccessful in federal court”). Such cases typically

25   involve challenging and complex issues of justiciability, mootness, section 1983 liability, and

26   injunctive relief. See, e.g., William H.W. McKenna, The Gideon Split: Preconviction Indigent
     Defense Reform Litigation in Hurrell-Harring and Duncan, 45 U.C. Davis L. Rev. 193, 202-11

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 1   (2011); Hurrell-Harring v. State, 930 N.E.2d 217, 220-27 & n.5 (N.Y. 2010). It is obvious that
 2   few lawyers have experience litigating actions involving systemic Sixth Amendment violations.
 3            Despite the substantial risks presented to their firms, Matt Zuchetto and Toby Marshall
 4   endeavored to pursue Plaintiffs’ claims on a contingent fee basis after a thorough investigation
 5   of the Cities’ public defense system uncovered systemic and chronic violations of the right to
 6   counsel. Marshall Decl. ¶¶ 24-25. Once the case was filed, the ACLU of Washington and its
 7   cooperating attorneys at Perkins Coie offered to join in the representation, agreeing to the same
 8   substantial risks and bringing with them significant experience and resources.4 Id. ¶ 26. For
 9   example, attorneys Nancy Talner of the ACLU and Breena Roos of Perkins Coie had
10   previously litigated one of the few successful indigent defense cases brought in state court and
11   obtained a settlement after achieving class certification and partial summary judgment. Id.
12            From the outset, Class Counsel offered to discuss a resolution of the matter through
13   compromise and settlement, but the offers were rejected. Marshall Decl. ¶¶ 27, 29. The Cities
14   chose instead to vigorously defend their unlawful practices, and the positions they took
15   compounded the hours required to prosecute the Class claims. Id. The Cities maintained
16   throughout the case and during trial that their public defense system met constitutional
17   standards for the right to counsel, even when two part-time attorneys were handling more than
18   1,000 cases each. Indeed, rather than address the problems detailed in Plaintiffs’ complaint and
19   the briefing before the Court, the Cities went in the opposite direction—for example, amending
20   “ordinance[s] related to the provision of public defender services” in order to “remov[e] what
21   little ‘teeth’ the previous ordinances had.” Dkt. No. 325 at 15:23 –16:2.
22            After a full trial on the merits, this Court declared that the certified Class of “indigent
23   criminal defendants in Mount Vernon and Burlington are systematically deprived of the
24   assistance of counsel at critical stages of the prosecution and that municipal policymakers have
25   4
      Perkins Coie agreed to assist the ACLU of Washington on a pro bono basis. The Ninth Circuit has held that
26   attorneys’ fees should be paid for pro bono work in civil rights cases. See United States v. $12,248 U.S. Currency,
     957 F.2d 1513 (9th Cir. 1991) (affirming trial court’s determination that award of fees for pro bono work “truly
     serves the public policy rationale” of civil rights fee-shifting statute).


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     FEES AND EXPENSES - 8                                                             Seattle, Washington 98103-8869
     CASE NO. 2:11-CV-01100 RSL                                                      TEL. 206.816.6603  FAX 206.350.3528
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 1   made deliberate choices regarding the funding, contracting, and monitoring of the public
 2   defense system that directly and predictably caused the deprivation.” Dkt. No. 325 at 2:8-12.
 3   The Court also granted significant and extensive injunctive relief that, among other things,
 4   ordered the Cities to “re-evaluate their existing contract for the provision of public defense,” to
 5   “hire one part-time Public Defense Supervisor to work at least twenty hours per week,” to
 6   periodically provide randomly selected case files to Class Counsel “so that they may evaluate
 7   the Cities’ compliance” with the Court’s order. Id. at 18:16-21, 19:2-3, 22:14-17. The Public
 8   Defense Supervisor will oversee and evaluate the Cities’ public defense system, tracking and
 9   analyzing numerous subjective and objective factors and reporting every six months to Class
10   Counsel. Id. at 19:15 – 22:13. The Court will maintain jurisdiction over the case for three
11   years so that Class Counsel may seek additional relief if necessary. Id. at 22:17-19.
12          Class Counsel achieved an excellent result in this lawsuit. Preparing for and navigating
13   the many defenses to this successful outcome required great skill, knowledge, experience, and
14   hard work. Accordingly, Class Counsel are entitled to the requested fees.
15          4.      Class Counsel Have Exercised Billing Judgment and Reduced Their Fees
                    Appropriately to Exclude Any Unnecessary Duplication or Inefficiency
16

17          A court may reduce the overall number of hours only when it makes specific findings

18   that the work performed was “unnecessarily duplicative.” Moreno v. City of Sacramento, 534

19   F.3d 1106, 1113 (9th Cir. 2008) (emphasis in original). “One certainly expects some degree of

20   duplication as an inherent part of the process. There is no reason why the lawyer should

21   perform this necessary work for free.” Id. at 1112 (emphasis in original). A court should be

22   particularly reluctant to reduce hours for duplication where, as here, counsel handled the matter

23   on a contingency fee basis. Id. As the Ninth Circuit has noted, “lawyers are not likely to spend

24   unnecessary time on contingency cases in the hope of inflating their fees. The payoff is too

25   uncertain, as to both the result and the amount of the fee.” Id. Thus, “[b]y and large, the court

26   should defer to the winning lawyer’s professional judgment as to how much time was required
     to spend on the case; after all, he won, and might not have, had he been more of a slacker.” Id.


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 1            Class Counsel took care to best utilize the various talents of the lawyers and staff
 2   involved to efficiently manage and prosecute this case. Nevertheless, in computing their
 3   lodestar amount Class Counsel carefully exercised billing judgment and made reductions where
 4   time arguably could have been more efficiently spent. Marshall Decl. ¶¶ 17-18; Zuchetto Decl.
 5   ¶ 19; Dunne Decl. ¶ 14. As a result, the fees sought by Terrell Marshall Daudt & Willie PLLC
 6   represent a reduction of 3.5 percent from the firm’s recorded time on the matter; the fees sought
 7   by The Scott Law Group, P.S. represent a reduction of 3.3 percent from the firm’s recorded
 8   time on the matter; and the fees sought by the ACLU-WA for itself and its cooperating
 9   attorneys represent a reduction of 29 percent from the time recorded on the matter. Marshall
10   Decl. ¶ 18; Zuchetto Decl. ¶¶ 15, 19; Dunne Decl. ¶ 14. Thus, Class Counsel’s fee request is a
11   conservative lodestar (less than 82 percent of actual recorded time) based on work that was
12   reasonably and necessarily expended to secure the constitutional rights of the Class.5
13            5.       The Time Class Counsel Spent Preparing This Motion Was Reasonable
14            Time spent establishing the right to a fee award is compensable. Camacho, 523 F.3d at
15   981-82. In determining these additional fees, the Court applies the same lodestar analysis
16   outlined above. Id. at 982. A discount or flat-fee award is inappropriate, particularly where the
17   attorneys preparing the application have experience putting together such requests. Id.
18            As set forth in the declarations of Marshall, Zuchetto, and Dunne and detailed in
19   Appendix C to this motion, the fees incurred in preparing this motion and the accompanying
20   submissions were reasonable and necessary. Marshall Decl. ¶ 31; Zuchetto Decl. ¶ 12; Dunne
21   Decl. ¶ 14. Thus, Class Counsel are entitled to an award that includes those fees, which
22   currently amount to $29,493.00.6
23

24   5
       Class Counsel will incur additional fees for work performed in this case, including work associated with
25   reviewing the Public Defense Supervisor’s biannual reports and the Cities’ production of randomly selected case
     files. See Dkt. No. 325 at 22:1-24. Because it is not possible at this time to estimate the extent of this work, Class
26   Counsel reserve the right to move for additional fees in the future.
     6
       If the Cities object to or oppose either motion, Class Counsel will incur additional fees for the preparation of a
     reply. In that event, Class Counsel will revise the amount requested.


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 1   C.       Class Counsel Are Entitled to Recover Reasonable Litigation Expenses
 2            Under section 1988 and Rule 54(d)(1), Plaintiffs “may recover as part of the award of
 3   attorney’s fees those out-of-pocket expenses that ‘would normally be charged to a fee paying
 4   client.’” Harris, 24 F.3d at 20 (quoting Chalmers v. City of Los Angeles, 796 F.2d 1205, 1216
 5   n.7 (9th Cir. 1986)) (approving recovery of expenses such as “service of summons and
 6   complaint, service of trial subpoenas, fee for defense expert at deposition, postage, investigator,
 7   copying costs, hotel bills, meals, messenger service and . . . record reproduction”). The
 8   reasonable expenses incurred in this litigation (other than taxable costs being sought separately
 9   under 28 U.S.C. § 1920) are summarized in the declarations of Class Counsel and consolidated
10   for the Court’s reference as Appendix B to this motion.7 See Marshall Decl., ¶ 23; Zuchetto
11   Decl. ¶ 20; Dunne Decl. ¶ 16; Williams Decl. ¶ 13. These expenses are the type of expenses
12   customarily charged to and paid by hourly clients. Thus, Class Counsel are entitled to an award
13   reimbursing them for those expenses, which total $43,496.50.
14   D.       It Is Unnecessary to Provide Notice of This Motion to the Class
15            Rule 23 provides that in a certified class action, the district court may award reasonable
16   attorneys’ fees and nontaxable expenses as authorized by law. Fed. R. Civ. P. 23(h). The
17   claim for any such award must be made by motion under Rule 54(d)(2). Fed. R. Civ. P.
18   23(h)(1). The motion is usually “directed to class members in a reasonable manner.” Id. “In
19   adjudicated class actions,” however, “the court may calibrate the notice to avoid undue
20   expense.” Fed. R. Civ. P. 23 advisory committee’s note (2003).
21            Class Counsel searched case law for interpretations of the notice provision and
22   comments by the advisory committee, but the effort was to no avail. Two secondary sources
23   briefly address the issue, and both suggest that notice can be avoided altogether in certain
24   situations. See 3 William B. Rubenstein, Newberg on Class Actions § 8:23 (5th ed. 2013)
25
     7
26     To the extent any of the taxable costs requested in Plaintiffs’ Motion for Costs are denied, Plaintiffs respectfully
     request that those costs be awarded as non-taxable litigation expenses. The costs sought as taxable are detailed
     and supported in the declarations accompanying Plaintiffs’ Motion for Costs.


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 1   (finding advisory committee’s “rather cryptic statement likely reflects the . . . conclusion that in
 2   the rare case that is actually adjudicated, the court has a strong sense of counsel’s contributions
 3   and is better situated to monitor the fee award itself, hence lessening the need [for notice]”);
 4   Manual for Complex Litigation (Fourth) § 21.722 (2013) (notice is necessary “in cases
 5   involving settlement review” but may be unnecessary in “adjudicated class actions”).
 6            For several reasons, notice to the Class of this motion is unnecessary. First, the Court
 7   certified the case under Rule 23(b)(2), which—in contrast to Rule 23(b)(3)—does not require
 8   notice. See Dkt. No. 143 at 7:7-16; Fed. R. Civ. P. 23(c)(2)(A). Second, no monetary relief
 9   was sought, and an award of fees and expenses will have to be paid by the Cities rather than
10   from a common fund to which the Class would otherwise be entitled. Third, the case was fully
11   adjudicated and the Class obtained complete declaratory and injunctive relief; thus, there is no
12   possibility of a conflict between the interests of the Class and those of Class Counsel.
13            Plaintiffs respectfully ask the Court to hold that notice is unnecessary under these
14   circumstances. The general purpose of notice is to allow class members an opportunity to
15   object, and here there are no grounds for such an objection. If the Court finds notice must be
16   sent, Plaintiffs respectfully ask the Court to order the Cities to pay all expenses associated with
17   publishing notice in a local newspaper or by other means that the Court deems appropriate.8
18                                              IV.       CONCLUSION
19            “Where a plaintiff has obtained excellent results, his attorney should recover a fully
20   compensatory fee.” Hensley, 461 U.S. at 435 (“The result is what matters.”). Here, Plaintiffs
21   have secured substantial and significant injunctive relief that ensures thousands of indigent
22   defendants will receive the right to counsel provided for under the Sixth Amendment of the
23   United States Constitution. Accordingly, Plaintiffs respectfully request an award to Class
24   Counsel of $2,425,916.52 in attorneys’ fees and $43,496.50 in litigation expenses.
25   8
       If notice is deemed necessary, the language and form of the publication should be mutually approved by the
26   parties or approved by the Court. The notice should issue within three weeks of the Court’s order and should
     allow Class members at least 30 days in which to submit objections. A fairness hearing should be scheduled on
     the motion for fees and expenses, and the date, time, and location of that hearing should be included in the notice.


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 1         DATED this 18th day of December, 2013.
 2
                                          TERRELL MARSHALL DAUDT & WILLIE PLLC
 3

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                                         Attorneys for Plaintiffs
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 1                                   CERTIFICATE OF SERVICE

 2          I, Toby J. Marshall, hereby certify that on December 18, 2013, I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

 4   such filing to the following:

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 7                  Mount Vernon, Washington 98273-4212
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20                  Attorneys for Defendants Cities of Burlington, Washington and Mount Vernon,
                    Washington
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 3
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                                         Attorneys for Plaintiffs
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       — APPENDIX A —
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                      TIME
          DATE                  HOURS       RATE             SUBTOTAL                                       DESCRIPTION OF WORK
    1                KEEPER
    2    08/06/10   Zuchetto     1.00   $         330.00 $          330.00 Research re potential class action re indigent defense funding.
         08/10/10   Marshall     0.70   $         375.00 $          262.50 Researched and analyzed issues regarding systemic indigent defense reform [.7].
    3
    4    08/10/10   Zuchetto     0.75   $         330.00 $          247.50 Research re potential class action.
         08/11/10   Marshall     0.50   $         375.00 $          187.50 Researched and analyzed issues regarding systemic indigent defense reform [.5].
    5
    6    08/11/10   Zuchetto     0.50   $         330.00 $          165.00 Research re potential class action.
         08/12/10   Marshall     1.50   $         375.00 $          562.50 Researched and analyzed issues regarding systemic indigent defense reform [1.5].
    7
                                                                           E‐mail consulting expert re potential class action (.5); Research re indigent defense class
         08/12/10   Zuchetto     2.00   $         330.00 $          660.00
    8                                                                      action (1.5).
                                                                           Review/analyze e‐mail from consulting expert re potential class (.25); Research re:
         08/13/10   Zuchetto     1.75   $         330.00 $          577.50
     9                                                                     indigent defense class action (1.5).
    10   08/16/10   Zuchetto     0.25   $         330.00 $           82.50 Research re potential class action re funding of indigent defense.
         08/17/10   Marshall     1.50   $         375.00 $          562.50 Researched and analyzed issues regarding systemic indigent defense reform [1.5].
    11
    12   08/17/10   Zuchetto     1.75   $         330.00 $        577.50 Research re potential class re indigent defense.
                                                                         Telephone conference and email correspondence with co‐counsel regarding systemic
         09/07/10   Marshall     0.50   $         375.00 $        187.50
    13                                                                   indigent defense reform [.5].
                                                                         E‐mail consulting expert re potential class (.25); E‐mail co‐counsel/discuss re potential
         09/07/10   Zuchetto     0.75   $         330.00 $        247.50
    14                                                                   class (.5).
    15   09/08/10   Zuchetto     0.25   $         330.00 $         82.50 E‐mail co‐counsel re potential class.
    16   09/27/10   Zuchetto     0.20   $         330.00 $         66.00 Review e‐mail from consulting expert re potential indigent defense.
                                                                         Telephone conference with co‐counsel regarding systemic indigent defense reform and
         09/28/10   Marshall     0.30   $         375.00 $        112.50
    17                                                                   analyzed issues regarding same [.3].
                                                                         Researched and analyzed issues regarding potential civil rights litigation over failure of
         09/28/10   Marshall     5.40   $         375.00 $      2,025.00 Washington municipalities to provide indigent defendants with sixth amendment right
    18                                                                   to representation [5.4].
                                                                         Discuss potential case w/ Marshall (.25); Review e‐mail from consulting expert and
         09/28/10   Zuchetto     0.75   $         330.00 $        247.50
    19                                                                   respond re same (.5).
                                                                         Email correspondence with co‐counsel regarding research materials on indigent defense
         09/29/10   Marshall     0.30   $         375.00 $        112.50
    20                                                                   litigation [.3].
    21   09/29/10   Zuchetto     2.00   $         330.00 $        660.00 Research re potential class (1.75); E‐mail co‐counsel re same (.25).



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                     TIME
          DATE                  HOURS       RATE               SUBTOTAL                                        DESCRIPTION OF WORK
    1               KEEPER
         09/30/10   Marshall     0.20   $         375.00 $             75.00 Telephone conference with co‐counsel regarding indigent defense litigation [.2].
    22
    23   11/04/10   Marshall     0.20   $         375.00 $             75.00 Analyzed issues regarding potential class action [.2].
    24   11/05/10   Zuchetto     0.25   $         330.00 $             82.50 E‐mail co‐counsel re potential case.
                                                                               Researched and analyzed issues regarding potential indigent defense litigation [.4];
         11/08/10   Marshall     0.80   $         375.00 $            300.00
                                                                               telephone conferences with co‐counsel and consulting expert regarding same [.4].
    25
         11/08/10   Zuchetto     1.25   $         330.00 $            412.50 Call to consulting expert re potential indigent defense class and prep. for same.
    26
    27   11/16/10   Zuchetto     1.00   $         330.00 $          330.00 Research re potential class re indigent defense funding.
                                                                           Telephone conferences with co‐counsel and consulting expert regarding indigent
         11/29/10   Marshall     0.90   $         375.00 $          337.50
    28                                                                     defense litigation investigations [.9].
    29   11/29/10   Bledsoe      0.25   $         120.00   $         30.00 Review/research arraignment process for Zuchetto
    30   11/29/10   Zuchetto     1.50   $         330.00   $        495.00 Prep. for meeting w/ consulting expert (1.0); E‐mail re same (.5).
    31   11/30/10   Zuchetto     2.00   $         330.00   $        660.00 Research re potential class.
    32   12/03/10   Bledsoe      2.50   $         120.00   $        300.00 Review/research arraignment process for Zuchetto.
    33   12/03/10   Zuchetto     0.50   $         330.00   $        165.00 E‐mail BB re status update.
    34   12/08/10   Bledsoe      3.75   $         120.00   $        450.00 Continue investigation/research re arraignment practices.
    35   12/09/10   Bledsoe      3.00   $         120.00   $        360.00 Continue investigation/research re arraignment practices.
    36   12/15/10   Marshall     0.20   $         375.00   $         75.00 Email correspondence with consulting expert regarding investigations [.2].
    37   12/15/10   Zuchetto     0.50   $         330.00   $        165.00 E‐mail co‐counsel re potential case.
    38   12/17/10   Zuchetto     0.50   $         330.00   $        165.00 Research re potential case.
                                                                           Telephone conferences with consulting expert and co‐counsel regarding investigations
         12/20/10   Marshall     0.60   $         375.00 $          225.00
    39                                                                     and action items [.6].
                                                                           Conference call w/ consulting expert and co‐counsel re potential case and prepare for
         12/20/10   Zuchetto     1.50   $         330.00 $          495.00
    40                                                                     same.
    41   12/21/10   Zuchetto     1.00   $         330.00 $          330.00 Review/analyze consulting expert article re potential case.
                                                                           Reviewed research materials in preparation for visit to Mt. Vernon municipal court to
         01/17/11   Marshall     0.60   $         375.00 $          225.00
    42                                                                     observe arraignments [.6].
                                                                           Reviewed materials in preparation for trip to Mt. Vernon to view arraignments hearing
         01/18/11   Marshall     5.30   $         375.00 $        1,987.50
    43                                                                     [.5]; to Mt. Vernon to view arraignments hearing [4.8].
         01/18/11   Zuchetto     0.25   $         330.00 $             82.50 Discuss potential case w/ co‐counsel and review e‐mail from consulting expert re same.
    44



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          DATE                  HOURS       RATE             SUBTOTAL                                      DESCRIPTION OF WORK
    1               KEEPER
                                                                           Reviewed memos on arraignment observation; personal conference regarding same;
         01/24/11   Boschen      1.40   $         150.00 $          210.00
    45                                                                     prepared arraigment observation form.
                                                                           Worked on factual background issues [.4]; drafted memorandum regarding
                                                                           observations at Mt. Vernon court hearing [1.4]; email correspondence with co‐counsel
         01/24/11   Marshall     2.30   $         375.00 $          862.50
                                                                           and consulting expert regarding same [.2]; worked on task list and plan for completing
    46                                                                     action items [.3].
                                                                             Travel to Mount Vernon Municipal Court for arraignment proceedings; observed
         01/25/11   Boschen      4.00   $         150.00 $          600.00
                                                                             arraignment proceedings; return travel from arraignment proceedings.
    47
    48   01/26/11   Marshall     0.30   $         375.00 $          112.50 Worked on action item issues [.3].
    49   01/31/11   Boschen      0.50   $         150.00 $           75.00 Summarized court observation; telephone conference regarding same.
                                                                           Worked on file management issues [.2]; telephone conference with consulting expert
         01/31/11   Marshall     1.30   $         375.00 $          487.50 regarding factual background and legal issues [.4]; telephone conference with co‐
    50                                                                     counsel regarding same [.7].
    51   01/31/11   Zuchetto     1.00   $         330.00 $          330.00 Call w/ consulting expert re potential case and preparation re same.
                                                                           Researched hearing and trial calendars for Mount Vernon and Burlington municipal
         02/02/11   Boschen      0.50   $         150.00 $           75.00 courts; reviewed recording of Mount Vernon hearing; personal conference regarding
    52                                                                     court observations.
    53   02/02/11   Zuchetto     0.25   $         330.00 $           82.50 E‐mail from consulting expert/Marshall re phone conference.
                                                                           Telephone conference with Mount Vernon Municipal Court regarding hearing schedule;
         02/07/11   Boschen      0.10   $         150.00 $           15.00
    54                                                                     email correspondence regarding same.
    55   02/07/11   Zuchetto     0.10   $         330.00 $           33.00 E‐mail from co‐counsel re Mt. Vernon calendar.
         02/08/11   Boschen      9.30   $         150.00 $      1,395.00 Travel to and from Mount Vernon Municipal court; observed court proceedings.
    56
    57   02/09/11   Boschen      2.00   $         150.00 $          300.00 Drafted summary of court observation.
                                                                           Conference call with consulting and co‐counsel regarding court observations and next
         02/10/11   Boschen      1.80   $         150.00 $          270.00
    58                                                                     steps; personal conference regarding same.
                                                                           Worked on memorandum regarding Ms. Boschen's observations from visit to Mount
         02/10/11   Marshall     2.50   $         375.00 $          937.50 Vernon [1.3]; telephone conference with various individuals regarding factual
    59                                                                     background issues [.5]; worked on same [.7].
                                                                           Review memo. re Mt. Vernon arraignments and participate in conference call re
         02/10/11   Zuchetto     2.00   $         330.00 $          660.00
    60                                                                     potential case.
    61   02/11/11   Zuchetto     0.75   $         330.00 $          247.50 E‐mail consulting expert re meeting (.25); Research re potential case (.5).



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          DATE                  HOURS       RATE             SUBTOTAL                                       DESCRIPTION OF WORK
    1               KEEPER
                                                                             Meeting with co‐counsel regarding case strategy issues [.5]; telephone conference with
         02/14/11   Marshall     0.80   $         375.00 $          300.00
    62                                                                       consulting expert regarding factual background issues [.3].
         02/14/11   Zuchetto     0.50   $         330.00 $          165.00 Meeting w/ co‐counsel re potential case and call to consulting expert re same.
    63
                                                                             Telephone conference with Burlington Municipal Court regarding hearing calendar;
         02/15/11   Boschen      0.10   $         150.00 $           15.00
    64                                                                       correspondence regarding same.
    65   02/15/11   Marshall     0.20   $         375.00 $           75.00   Worked on case strategy issues [.2].
    66   02/16/11   Zuchetto     1.00   $         330.00 $          330.00   Review e‐mail from consulting expert re potential case.
    67   02/22/11   Marshall     0.20   $         375.00 $           75.00   Telephone calls from co‐counsel regarding action items [.2].
                                                                             Discuss potential case w/ co‐counsel and e‐mail consulting expert re scheduling new
         02/22/11   Zuchetto     0.25   $         330.00 $           82.50
    68                                                                       meeting.
                                                                             Meet with co‐counsel and other attorneys involved in similar cases and consulting
         02/25/11   Zuchetto     7.00   $         330.00 $      2,310.00
    69                                                                       expert, discuss case strategy (2.0); travel to Seattle re same (5.0).
                                                                           Telephone call from co‐counsel regarding case strategy issues [.3]; worked on same [.2];
         03/01/11   Marshall     2.20   $         375.00 $          825.00 telephone conference with witness regarding factual background issues [.4]; reviewed
                                                                           documents produced by Mount Vernon in response to public disclosure request [1.3].
    70
                                                                             Call w/ OAC personnel (.3); Review documents re contract and complaints and discuss
         03/01/11   Zuchetto     1.80   $         330.00 $          594.00
    71                                                                       w/ co‐counsel (1.5).
    72   03/02/11   Zuchetto     0.75   $         330.00 $          247.50   Draft notes re call w/ witness.
                                                                             Telephone conferences with witness regarding jail visit and bar complaints; personal
         03/03/11   Boschen      0.60   $         150.00 $           90.00
    73                                                                       conference regarding same.
    74   03/03/11   Marshall     0.20   $         375.00 $           75.00   Worked on case strategy issues [.2].
                                                                             Worked on case strategy issues [4]; telephone conference with co‐counsel regarding
         03/04/11   Marshall     1.60   $         375.00 $          600.00   same [.8]; telephone conference with indigent defendant regarding factual background
    75                                                                       issues [.4].
    76   03/04/11   Zuchetto     1.00   $         330.00 $          330.00   Call w/ witness and debrief with co‐counsel re same.
    77   03/06/11   Marshall     0.20   $         375.00 $           75.00   Worked on case strategy issues [.2].
    78   03/07/11   Zuchetto     1.30   $         330.00 $          429.00   Research re potential case.
                                                                             Researched and analyzed caseload data from Washington Courts website; reviewed
                                                                             Mount Vernon and Burlington public defender contract; personal conference regarding
         03/08/11   Boschen      2.30   $         150.00 $          345.00
                                                                             potential representative; telephone call to Mount Vernon police department regarding
    79                                                                       public disclosure request.



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          DATE                  HOURS       RATE             SUBTOTAL                                        DESCRIPTION OF WORK
    1               KEEPER
                                                                             Worked on case strategy and factual background issues [.3]; telephone conference with
         03/08/11   Marshall     0.60   $         375.00 $          225.00
    80                                                                       co‐counsel regarding same [.3].
                                                                             Travel to and from Skagit County Jail; meeting with witness and inmate interviews
                                                                             regarding indigent defense; reviewed PDR documents; queried Sybrandy and Witt bar
         03/09/11   Boschen      8.00   $         150.00 $      1,200.00
                                                                             numbers in Washington Courts for caseload analyses; telephone conference regarding
    81                                                                       same.
                                                                             Telephone conferences with co‐counsel and consulting expert regarding various issues
         03/09/11   Marshall     1.30   $         375.00 $          487.50
    82                                                                       [1.3].
    83   03/09/11   Zuchetto     1.00   $         330.00 $          330.00   Call w/ consulting expert re status (.25); Research re RPC 4.2 (.75).
                                                                             Telephone conference regarding jail visit and next steps; personal conference regarding
         03/10/11   Boschen      0.90   $         150.00 $          135.00
    84                                                                       same.
                                                                             Telephone conference with consulting experts, witness, and co‐counsel regarding
         03/10/11   Marshall     1.20   $         375.00 $          450.00   various issues [.7]; analyzed issues regarding same [.2]; telephone conference with co‐
    85                                                                       counsel regarding same [.3].
    86   03/10/11   Zuchetto     0.50   $         330.00 $          165.00   Call w/ team re investigation.
                                                                             Telephone conference with co‐counsel regarding case strategy issues [.7]; telephone
         03/11/11   Marshall     1.20   $         375.00 $          450.00   conference with indigent defendant and co‐counsel regarding factual background issues
    87                                                                       [.5].
                                                                             Call w/ class member (.75); Discuss case strategy/issues w/ co‐counsel (.5); Research re
         03/11/11   Zuchetto     2.00   $         330.00 $          660.00
    88                                                                       Sybrandy (.75).
    89   03/14/11   Marshall     0.20   $         375.00 $           75.00   Worked on factual background issues [.2].
    90   03/14/11   Zuchetto     1.00   $         330.00 $          330.00   Research re RPC 4.2 and contacting clients, and injunctive relief.
                                                                             Researched and analyzed issues regarding legal claims [.8]; researched and analyzed
         03/15/11   Marshall     1.60   $         375.00 $          600.00   issues regarding attorney‐client privilege [.5]; researched and analyzed issues regarding
    91                                                                       recording of public court hearings [.3].
         03/15/11   Zuchetto     2.00   $         330.00 $          660.00 Research re RPC 4.2 and sybrandy/witt and administrative exhaustion requirements.
    92
    93   03/16/11   Zuchetto     3.00   $         330.00 $          990.00 Research re admin. exhaustion, RPC 4.2.
                                                                           Reviewed recent decision regarding ineffective assistance of counsel in relation to
         03/17/11   Marshall     0.50   $         375.00 $          187.50
    94                                                                     deportation issues [.2]; analyzed issues regarding same [.3].
    95   03/17/11   Zuchetto     0.50   $         330.00 $          165.00 Review new WASCT case re failing to advise of immigration consequences.
                                                                           Telephone conferences with witness and co‐counsel regarding factual background
         03/18/11   Marshall     2.00   $         375.00 $          750.00 issues [.4]; left message with indigent defendant regarding same [.1]; worked on case
    96                                                                     strategy issues [1.5].


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    1               KEEPER
         03/18/11   Zuchetto     1.75   $         330.00 $          577.50 Discuss strategy w/ co‐counsel (1.0); call to class members (.5); call to witness (.25).
    97
    98   03/21/11   Marshall     0.20   $         375.00 $           75.00 Email correspondence with co‐counsel regarding witness issues [.2].
    99   03/22/11   Zuchetto     0.10   $         330.00 $           33.00 E‐mail co‐counsel re call to class member.
         03/23/11   Zuchetto     0.75   $         330.00 $          247.50 E‐mail co‐counsel re class member call (.25); Review complaint documents (.5).
100
                                                                             Telephone conference with co‐counsel and indigent defendant regarding factual
         03/25/11   Marshall     0.50   $         375.00 $          187.50
                                                                             background issues [.4]; left message with witness regarding same [.1].
101
102      03/25/11   Bledsoe      0.75   $         120.00 $           90.00 Worked on spreadsheet of complaints re Witt and Sybrandy.
                                                                           Call to class member and explain not representing on damages claim (.25); Work on
         03/25/11   Zuchetto     0.50   $         330.00 $          165.00
103                                                                        complaint spreadsheet (.25).
104      03/28/11   Marshall     0.20   $         375.00 $           75.00 Telephone call from witness regarding factual background issues [.2].
105      03/28/11   Bledsoe      1.00   $         120.00 $          120.00 Continue work on spreadsheet of complaints for Witt and Sybrandy.
                                                                           Correspondence and telephone conference regarding driving directions and parking for
         03/29/11   Boschen      0.50   $         150.00 $           75.00
106                                                                        meeting.
107      03/29/11   Marshall     0.60   $         375.00 $          225.00 Analyzed issues regarding factual background [.6].
                                                                           Review 1983 case from SCOTUS (.5); Review complaints and work on organization of
         03/29/11   Zuchetto     1.00   $         330.00 $          330.00
108                                                                        same (.5).
         03/31/11   Boschen      0.80   $         150.00 $          120.00 Reviewed complaints, summaries, and contracts; correspondence regarding same.
109
                                                                         Reviewed complaints and related documents [1.4]; worked on case management
                                                                         notebook [.1]; worked on gathering materials for preparation of complaint [1.1];
         03/31/11   Marshall     3.20   $         375.00 $      1,200.00
                                                                         telephone conference with co‐counsel regarding factual background and case strategy
110                                                                      issues [.6].
111      03/31/11   Zuchetto     2.00   $         330.00 $        660.00 Work on complaint/investigation re Sybrandy/Witt.
         04/01/11   Boschen      2.90   $         150.00 $          435.00 Meeting regarding ongoing investigation; preparation for same; drafted task list.
112
                                                                         Prepared for factual background meeting [.3]; meeting with consulting experts and
                                                                         witness and telephone conference with co‐counsel regarding factual background issues
         04/01/11   Marshall     3.80   $         375.00 $      1,425.00
                                                                         [3.0]; telephone conference with co‐counsel regarding case strategy issues and drafting
113                                                                      of complaint [.5].
114      04/01/11   Bledsoe      2.00   $         120.00 $        240.00 Work on Witt and Sybrandy schedule spreadsheets.



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    1              KEEPER
                                                                        Office conference with Zuchetto regarding information we need to track from
        04/01/11   Bergland     0.50   $         190.00 $         95.00 complainants and database (.2); office conference with BB re same (.1); review
115                                                                     exemplar Complaint forms (.2).
                                                                        Work on Sybrandy/Witt docket/caseload research (3.5); call w/co‐counsel and
        04/01/11   Zuchetto     4.00   $         330.00 $      1,320.00
116                                                                     consulting expert re investigation (.5).
                                                                        Worked on task list [.1]; worked on case management issues [.2]; reviewed guidelines
        04/02/11   Marshall     0.60   $         375.00 $        225.00
117                                                                     on indigent defense caseloads [.3].
                                                                        Telephone conferences with Mount Vernon Municipal Court regarding hearings,
        04/04/11   Boschen      0.40   $         150.00 $         60.00
118                                                                     recordings, and public disclosure requests.
                                                                        Researched and analyzed issues regarding factual background and court hearings
        04/04/11   Marshall     0.30   $         375.00 $        112.50
119                                                                     related to indigent defendant [.3].
120     04/04/11   Bledsoe      4.25   $         120.00 $        510.00 Continue work on Witt and Sybrandy schedule spreadsheets.
121     04/05/11   Bledsoe      5.00   $         120.00 $        600.00 Work on Witt and Sybrandy schedule spreadsheets.
                                                                          Telephone conference with Mount Vernon Municipal Court regarding recordings;
                                                                          correspondence and personal conferences regarding same; telephone calls to indigent
        04/06/11   Boschen      3.60   $         150.00 $          540.00
                                                                          defendant; researched indigent defendant contact information on Accurint; drafted
                                                                          public disclosure requests to Skagit County and the Mount Vernon Municipal Court.
122
123     04/06/11   Marshall     0.20   $         375.00 $           75.00 Analyzed factual background issues [.2].
124     04/06/11   Bledsoe      3.00   $         120.00 $          360.00 Work on Witt and Sybrandy schedule spreadsheets.
                                                                          Complete work on Witt and Sybrandy schedule spreadsheets and e‐mail final version to
        04/07/11   Bledsoe      1.50   $         120.00 $          180.00
125                                                                       Zuchetto.
        04/11/11   Murray       0.30   $         285.00 $           85.50 Reviewed complaint; personal conference regarding potential class representative.
126
                                                                            Analyzed issues regarding case strategy [.1]; researched and analyzed issues regarding
        04/11/11   Marshall     0.30   $         375.00 $          112.50   source of funding for indigent services [.1]; email from consulting expert regarding
127                                                                         declaration filed in New Hampshire case [.1].
128     04/12/11   Marshall     0.30   $         375.00 $          112.50   Worked on factual background issues [.3].
                                                                            Finalized and faxed public disclosure requests to Mount Vernon Municipal Court and
                                                                            Skagit County Records Management [.5]; telephone conference with Skagit County
        04/13/11   Boschen      0.70   $         150.00 $          105.00
                                                                            Records Management regarding same [.1]; telephone call to Office of Assigned Counsel
129                                                                         regarding same [.1].
130     04/13/11   Marshall     0.40   $         375.00 $          150.00   Worked on public disclosure requests [.4].
131     04/13/11   Zuchetto     1.25   $         330.00 $          412.50   Review expert declaration, research re potential case.


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 1                KEEPER
132   04/14/11   Boschen      0.10   $         150.00 $           15.00 Telephone conference regarding public defender contract [.1].
133   04/18/11   Marshall     0.30   $         375.00 $          112.50 Worked on case strategy issues [.3].
134   04/18/11   Zuchetto     0.25   $         330.00 $           82.50 Read e‐mail from co‐counsel re standing and research re same.
                                                                        Scanned, labeled and produced documents produced in response to public disclosure
      04/19/11   Boschen      1.70   $         150.00 $          255.00 requests [1.1]; updated task list and correspondence regarding same [.2]; reviewed
                                                                        documents produced in response to public disclosure requests [.4];
135
                                                                      Reviewed documents from Mount Vernon and Burlington [1.5]; worked on complaint
                                                                      [4.3]; researched and analyzed issues regarding same [2.0]; email correspondence and
      04/19/11   Marshall     8.70   $         375.00 $      3,262.50
                                                                      telephone conferences with co‐counsel regarding same [.5]; telephone conference with
                                                                      witness and co‐counsel regarding factual background issues [.4].
136
                                                                          Work on investigation (.5); call w/ Tein (.25); Discuss same w/ co‐counsel (.25); Research
      04/19/11   Zuchetto     1.75   $         330.00 $          577.50
137                                                                       re Gideon/misdemeanors (.75).

                                                                        Continued reviewing public disclosure request documents and correspondence
                                                                        regarding same [1.2]; telephone conference regarding complaint and task list [.7];
                                                                        correspondence transmitting public disclosure request production [.1]; telephone
                                                                        conference regarding referrals and public disclosure request [.3]; telephone conferences
                                                                        and correspondence with Skagit County office of records management regarding public
      04/20/11   Boschen      3.90   $         150.00 $          585.00
                                                                        disclosure request [.2]; telephone conferences and email correspondence with Mount
                                                                        Vernon Municipal Court and Skagit County clerk regarding public disclosure request [.2];
                                                                        email correspondence regarding referrals, conflicts, and complaints relating to public
                                                                        defenders [.6]; drafted public disclosure request to Burlington City Administrator and
                                                                        correspondence regarding same [.6].
138
139   04/20/11   Murray       0.20   $         285.00 $           57.00 Telephone conference with potential class representative.
                                                                      Worked on complaint [2.0]; researched and analyzed issues regarding same [.5];
                                                                      reviewed documents obtained through public disclosure requests [.5]; telephone
      04/20/11   Marshall     4.20   $         375.00 $      1,575.00 conference with co‐counsel and consulting expert regarding factual background and
                                                                      expert issues [.7]; worked on public disclosure request for bid materials [.2]; worked on
                                                                      case strategy issues [.2]; email correspondence with co‐counsel regarding same [.1].
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    1              KEEPER
                                                                          Call w/ co‐counsel, consulting expert and Nancy re investigation (1.0); Research re
        04/20/11   Zuchetto      2.50   $        330.00 $          825.00
141                                                                       authorities (1.5).
142     04/21/11   Murray        0.50   $        285.00 $          142.50 Correspondence with potential class representative.
        04/21/11   Marshall      3.30   $        375.00 $      1,237.50 Worked on complaint [2.6]; researched and analyzed issues regarding same [.7].
143
        04/21/11   Zuchetto      1.50   $        330.00 $          495.00 Research re authority cited by expert (1.0); Discuss caseload reqs. w/ co‐counsel (.5).
144
                                                                            Worked on complaint [2.0]; researched and analyzed issues regarding same [1.3];
        04/22/11   Marshall      4.00   $        375.00 $      1,500.00
145                                                                         reviewed documents from public disclosure requests [.7].
146     04/22/11   Zuchetto      2.00   $        330.00 $          660.00   Research re authority cited by our expert on caseloads.
147     04/25/11    Murray       0.30   $        285.00 $           85.50   Telephone conference with potential class representative.
                                                                            Worked on complaint [2.6]; researched and analyzed issues regarding same [1.7];
        04/25/11   Marshall      5.00   $        375.00 $      1,875.00     reviewed documents for same [.5]; telephone conference with co‐counsel regarding
148                                                                         same [.2].
                                                                            Worked on public disclosure request issues [.2]; commenced reviewing and indexing
        04/26/11   Boschen       0.50   $        150.00 $           75.00   documents produced in response to public disclosure request to the Office of Public
149                                                                         Defense [.3].
150     04/26/11   Marshall      1.00   $        375.00 $          375.00   Worked on complaint [1.0].
151     04/27/11   Boschen       0.20   $        150.00 $           30.00   Revised PDR to Skagit County; correspondence regarding same.
        04/27/11   Marshall      5.80   $        375.00 $      2,175.00 Worked on complaint [3.0]; researched and analyzed issues regarding same [2.8].
152
                                                                          Filed correspondence, production and standards; reviewed request for proposal;
        04/28/11   Boschen       1.10   $        150.00 $          165.00 revised PDR letter to City of Burlington; correspondence regarding same; Bates stamped
                                                                          supplemental production; correspondence regarding same.
153
                                                                            Worked on complaint [1.8]; researched and analyzed issues regarding same [2.0];
        04/28/11   Marshall      4.30   $        375.00 $      1,612.50
154                                                                         telephone conference with co‐counsel regarding same [.5].
        04/28/11   Zuchetto      1.75   $        330.00 $          577.50 E‐mail re PDR request, contents and timing issues (.75); Work on complaint (1.0).
155
                                                                          Telephone conference with Skagit County regarding public records request [.1];
        04/29/11   Boschen       0.60   $        150.00 $           90.00 prepared check request and letter to Mount Vernon Municipal Court regarding records
156                                                                       request [.5].
157     04/29/11   Marshall      0.30   $        375.00 $          112.50 Worked on complaint [.2]; email to co‐counsel regarding same [.1].
158     04/29/11   Zuchetto      1.00   $        330.00 $          330.00 Work on complaint.


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 1                KEEPER
159   05/02/11   Boschen       0.50   $        150.00 $           75.00 Continued reviewing and indexing PDR documents.
160   05/02/11   Zuchetto      1.00   $        330.00 $          330.00 Review and analyze complaint and e‐mail co‐counsel re same.
                                                                        Worked on case strategy issues [.2]; telephone conference with co‐counsel regarding
      05/03/11   Marshall      1.20   $        375.00 $          450.00
161                                                                     complaint [.2]; worked on same [.8].
                                                                        Review and analyze bar complaint re Sybrandy (.5); Review, edit and analyze draft
      05/03/11   Zuchetto      1.25   $        330.00 $          412.50
162                                                                     complaint (.75).
163   05/05/11   Boschen       0.40   $        150.00 $           60.00 Worked on summarizing case load data.
                                                                        Worked on complaint and related issues [.3]; telephone conference with co‐counsel
      05/05/11   Marshall      0.80   $        375.00 $          300.00
164                                                                     regarding same [.5].
165   05/05/11   Zuchetto      0.75   $        330.00 $          247.50 E‐mail co‐counsel re proposed changes to complaint and discuss same.
166   05/06/11   Zuchetto      0.50   $        330.00 $          165.00 Research re 1983 admin. exhaustion reqs.
                                                                        Telephone conference with witness regarding public disclosure request and
      05/09/11   Boschen       0.90   $        150.00 $          135.00
167                                                                     correspondence regarding same [.3]; continued caseload analysis [.6].
                                                                          Completed caseload analysis; commenced reviewing Mount Vernon and Skagit PDR
      05/10/11   Boschen       8.00   $        150.00 $      1,200.00
                                                                          documents; prepared copies of PDR documents for consulting expert.
168
                                                                        Analyzed issues regarding caseload limits [.4]; email correspondence with co‐counsel
      05/10/11   Marshall      0.60   $        375.00 $          225.00
169                                                                     regarding case strategy issues [.2].
170   05/10/11   Zuchetto      1.00   $        330.00 $          330.00 Research and analyze Sybrandy/Witt caseloads.
                                                                        Reviewed documents obtained from Skagit County [1.0]; telephone conference with co‐
      05/13/11   Marshall      1.20   $        375.00 $          450.00
171                                                                     counsel regarding case strategy issues [.2].
      05/13/11   Zuchetto      0.50   $        330.00 $          165.00 Research new docs. re complaints and caseloads and discuss same w/ co‐counsel.
172
173   05/14/11   Marshall      0.20   $        375.00 $           75.00 Worked on case management issues [.2].
      05/17/11   Marshall      2.40   $        375.00 $          900.00 Reviewed documents obtained from Skagit County [1.3]; worked on complaint [1.1].
174
                                                                        Reviewed PDR documents; correspondence and personal conference regarding
      05/18/11   Boschen       0.90   $        150.00 $          135.00
175                                                                     same[.9].
176   05/18/11   Zuchetto      0.50   $        330.00 $          165.00 Discuss case theory w/ co‐counsel (.25); Review Sybrandy documents (.25).
                                                                        Continued reviewing public disclosure request documents; compressed oversized files
      05/19/11   Boschen       2.80   $        150.00 $          420.00 for production; correspondence regarding public disclosure request documents; Bates
177                                                                     labeled public disclosure request productions.




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 1               KEEPER
                                                                      Email correspondence with witness and co‐counsel regarding factual background issues
                                                                      [.1]; researched and analyzed issues regarding representation for purposes of quashing
      05/19/11   Marshall      4.70   $        375.00 $      1,762.50 warrants [.2]; worked on factual background issues [.2]; reviewed documents produced
                                                                      by Skagit County [1.5]; worked on complaint [2.0]; researched and analyzed issues
                                                                      regarding caseload limits [.5]; email to co‐counsel regarding same [.2].
178
      05/19/11   Zuchetto      1.00   $        330.00 $          330.00 Review e‐mail from co‐counsel re draft complaint (.5); Review new material re PDR (.5).
179
      05/20/11   Boschen       3.40   $        150.00 $          510.00 Continued indexing PDR documents [2.2]; conference call regarding investigation [1.2].
180
                                                                      Worked on complaint [1.3]; email correspondence with co‐counsel regarding same [.2];
                                                                      email to consulting expert regarding same [.1]; worked on file management issues [.1];
      05/20/11   Marshall      3.40   $        375.00 $      1,275.00
                                                                      telephone conference with consulting experts regarding complaint and factual
                                                                      background issues [1.5]; meeting with co‐counsel regarding same [.2].
181
                                                                          Prepare for conference re strategy w/ consulting expert, John S. and co‐counsel, and
      05/20/11   Zuchetto      1.50   $        330.00 $          495.00
                                                                          conference re same (1.0); draft e‐mail to co‐counsel re amend (.5).
182
183   05/23/11    Kinsey       1.80   $        100.00 $          180.00 Reviewed and revised complaint.
                                                                      Researched and analyzed issues regarding conflict of interest in city attorney's selection
                                                                      of public defenders [.4]; worked on complaint [1.4]; drafted confirmation of
      05/23/11   Marshall      3.00   $        375.00 $      1,125.00 understanding for interviews with indigent defendants [.4]; researched and analyzed
                                                                      issues regarding [.2]; email correspondence with co‐counsel regarding same and
                                                                      complaint [.4]; email to consulting expert regarding complaint [.2].
184
185   05/23/11   Zuchetto      2.75   $        330.00 $          907.50 Work on complaint (2.0); Call to expert and discuss same w/ co‐counsel (.75).
                                                                          Researched and analyzed issues regarding requirements for submitting demand to
      05/25/11   Marshall      2.20   $        375.00 $          825.00
                                                                          attorney general's office [1.7]; worked on case strategy issues [.5].
186
187   05/26/11   Boschen       0.50   $        150.00 $         75.00 Personal conference regarding jail visitation.
                                                                      Telephone conference with co‐counsel regarding factual background development [.4];
      05/26/11   Marshall      4.40   $        375.00 $      1,650.00 worked on same [3.5]; researched and analyzed issues regarding jail roster data and
188                                                                   strategy for locating potential witnesses [.5].



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 1               KEEPER
                                                                            Review and analyze letter to AG and discuss same w/ co‐counsel (1.0); Review and
      05/27/11   Zuchetto      2.50   $        330.00 $            825.00
                                                                            analyze fee agreement (1.0); call to consulting expert re complaint (.5).
189
                                                                          Reviewed article on distinction between Strickland claims and systemic injunctive relief
                                                                          claims [.8]; researched and analyzed issues regarding same [.3]; worked on revisions to
      05/30/11   Marshall      2.00   $        375.00 $            750.00
                                                                          complaint [.3]; email to co‐counsel regarding same [.2]; drafted representation
                                                                          agreement for indigent defendants [.3]; email to co‐counsel regarding same [.1].
190
191   05/31/11   Marshall      0.20   $        375.00 $             75.00 Researched and analyzed issues regarding caseload standards [.2].
                                                                            Read and analyze e‐mail from expert re Giddeon/Hurrell (1.0); Review e‐mail from co‐
      05/31/11   Zuchetto      2.00   $        330.00 $            660.00
                                                                            counsel re same (1.5); Read and analyze joint rep. agreement (.5).
192
                                                                            Personal conferences, telephone conferences and correspondence regarding jail
      06/01/11   Boschen       1.20   $        150.00 $            180.00
193                                                                         visitation; researched jail visitation requirements and roster.
                                                                            Worked on case strategy issues [.2]; telephone conference with co‐counsel regarding
      06/01/11   Marshall      0.70   $        375.00 $            262.50
194                                                                         same [.2]; analyzed issues regarding jail roster data [.3].
195   06/01/11   Zuchetto      2.40   $        330.00   $          792.00   Work on complaint.
196   06/02/11   Boschen       0.20   $        150.00   $           30.00   Telephone conferences and personal conferences regarding jail visit.
197   06/02/11   Marshall      0.40   $        375.00   $          150.00   Analyzed issues regarding jail visits and related investigations [.4].
198   06/03/11   Boschen       0.10   $        150.00   $           15.00   Created index for jail visit.
199   06/03/11   Marshall      0.10   $        375.00   $           37.50   Worked on preparations for jail visit [.1].
                                                                            Researched and analyzed issues regarding Skagit Co. jail roster [.6]; worked on index of
      06/05/11   Marshall      1.00   $        375.00 $            375.00
200                                                                         potential interviewees [.4].
                                                                            Prepared for and traveled to Skagit County Jail for potential class representative
      06/06/11   Boschen      11.50   $        150.00 $        1,725.00     interviews; interviewed potential class representatives; returned from Skagit County
201                                                                         Jail.
                                                                            Researched and analyzed issues regarding factual background [.8]; to Skagit County jail
      06/06/11   Marshall     10.40   $        375.00 $        3,900.00     for interviews [1.2]; interviewed inmates [6.8]; returned from Skagit County jail [1.2];
202                                                                         worked on case strategy issues [.4].
                                                                            Commenced drafting class representative summaries; reviewed documents and notes;
      06/07/11   Boschen       3.50   $        150.00 $            525.00
                                                                            telephone and personal conferences regarding class representatives.
203




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 1               KEEPER
                                                                      Telephone conferences with co‐counsel regarding factual background issues and case
                                                                      strategy [.8]; email correspondence with experts regarding ethical and legal issues [.1];
      06/07/11   Marshall      3.90   $        375.00 $      1,462.50
                                                                      telephone conference with experts regarding same [1.0]; worked on task list [.4];
                                                                      researched and analyzed issues regarding conflicts of interest [1.6].
204
                                                                          Discuss and evaluate class reps. w/ co‐counsel (.75); Call w/ potential experts re r/
      06/07/11   Zuchetto      1.75   $        330.00 $          577.50
205                                                                       counsel, standards (1.0).
                                                                      Telephone conferences with Mount Vernon and Burlington and Municipal Courts and
                                                                      ABC Legal Services; telephone call to Clallam County District Court; continued work on
      06/08/11   Boschen       8.10   $        150.00 $      1,215.00 class representative summaries; researched class member case histories; travel to
                                                                      Burlington Municipal Court; obtained case files from Burlington Municipal Court; return
                                                                      travel from Burlington Municipal Court; personal conference regarding case files.
206
                                                                      Worked on case strategy issues [1.0]; telephone conference with co‐counsel regarding
      06/08/11   Marshall      5.40   $        375.00 $      2,025.00 same [.4]; reviewed case files for plaintiffs [.8]; analyzed issues regarding same [.8];
207                                                                   worked on complaint [2.4].
208   06/08/11   Zuchetto      1.00   $        330.00 $        330.00 Research re WSBA resolution re caseload standards.
                                                                        Reviewed, revised and finalized complaint; prepared summons for City of Mt. Vernon;
                                                                        prepared summons to City of Burlington; prepared civil cover sheet; Internet research
      06/09/11    Kinsey       2.20   $        100.00 $          220.00
                                                                        regarding ABC Legal Services Skagit County deliveries; requested check; telephone
                                                                        conference with ABC Legal Services regarding messenger delivery.
209
                                                                        Telephone conference with Mount Vernon Municipal Court regarding case status;
      06/09/11   Boschen       2.30   $        150.00 $          345.00 correspondence regarding same; reviewed Skagit County documents for information
                                                                        relating to class representatives; prepared exhibits to complaint.
210
                                                                      Researched and analyzed factual background issues [1.2]; worked on complaint [.6];
                                                                      telephone conference with Mr. Moon regarding case strategy issues [.3]; telephone
      06/09/11   Marshall      4.70   $        375.00 $      1,762.50 conference with co‐counsel same [1.1]; telephone conference with consulting expert
                                                                      regarding complaint [.3]; telephone conferences with Ms. Montague and Mr. Wilbur
                                                                      regarding case strategy issues [.6]; worked on case strategy issues [.6].
211
212   06/09/11   Zuchetto      1.75   $        330.00 $          577.50 Work on complaint.



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 1               KEEPER
                                                                      Compiled finalized version of complaint; email correspondence to Mr. Zuchetto
      06/10/11    Kinsey       0.60   $        100.00 $           60.00
213                                                                   regarding same.
                                                                      Worked on case strategy issues [.5]; email correspondence with co‐counsel regarding
                                                                      same [.1]; telephone call from consulting expert regarding filing of complaint [.2];
      06/10/11   Marshall      1.80   $        375.00 $        675.00
                                                                      researched and analyzed issues regarding substitution of public defense counsel based
214                                                                   on conflict of interests [1.0].
                                                                      Researched and analyzed issues regarding substitution of public defender based on
      06/11/11   Marshall      6.30   $        375.00 $      2,362.50
215                                                                   conflict of interest [3.9]; worked on motion regarding same [2.4].
                                                                      Researched and analyzed issues regarding substitution of public defender based on
      06/12/11   Marshall      5.80   $        375.00 $      2,175.00
216                                                                   conflict of interest [1.7]; worked on motion for same [4.1].
                                                                        Reviewed, revised and finalized motion and related pleadings regarding substitution of
                                                                        counsel (Wilbur); assembled exhibits; telephone conference with court clerk's office;
      06/13/11    Kinsey       1.50   $        100.00 $          150.00
                                                                        telephone conference with ABC Legal Services; retrieved non‐Washington authorities;
                                                                        prepared Marshall notice of appearance; assembled and finalized for filing and service.
217
                                                                        Telephone conference with Mount Vernon Municipal Court regarding hearing date;
                                                                        personal conference regarding same; telephone call to Skagit County Jail regarding
      06/13/11   Boschen       1.30   $        150.00 $          195.00
                                                                        facsimile procedures; prepared facsimile cover sheet for Limited Representation
218                                                                     Agreements; faxed same.
                                                                      Worked on motion to substitute public defense counsel for Mr. Wilbur and documents
      06/13/11   Marshall      6.40   $        375.00 $      2,400.00 related to same [5.4]; email correspondence with various individuals regarding filing of
                                                                      lawsuit [.5]; telephone conferences with Mr. Cammock regarding lawsuit [.5].
219
                                                                          Review, analyze and edit motion for substitution of counsel and discuss w/ co‐counsel
      06/13/11   Zuchetto      1.75   $        330.00 $          577.50
220                                                                       (1.25); Review retainer agreement (.5).
                                                                        Reviewed, revised and finalized motion and related pleadings regarding substitution of
                                                                        counsel (Moon); assembled exhibits; telephone conference with court clerk's office;
      06/14/11    Kinsey       1.00   $        100.00 $          100.00
                                                                        telephone conference with ABC Legal Services; retrieved non‐Washington authorities;
                                                                        prepared Marshall notice of appearance.
221




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 1               KEEPER
                                                                        Worked on motion to subsitute; telephone conferences, personal conferences and
                                                                        correspondence regarding same; telephone conference with Municipal Courts and jails;
      06/14/11   Boschen       4.90   $        150.00 $          735.00 facsimiles to clients; telephone conference with potential witness; telephone
                                                                        conferences with Phoenix Recovery Services, Upper Skagit Tribe Counseling and client
                                                                        regarding treatment process.
222

                                                                      Worked on service issues [.2]; telephone call from Mr. Moon regarding substitution of
                                                                      counsel [.2]; worked on motion to substitute public defense counsel for Mr. Moon and
                                                                      documents related to same [.8]; telephone conference with Mr. Eason's office regarding
                                                                      same [.1]; email correspondence with Mr. Eason regarding same [.1]; telephone call
                                                                      from Burlington Municipal Court clerk regarding hearing in Mr. Wilbur's case [.2];
      06/14/11   Marshall      8.00   $        375.00 $      3,000.00
                                                                      prepared for court hearing on motion to substitute defense counsel for Mr. Wilbur
                                                                      [1.0]; to Skagit county for same [1.2]; attended hearing on Mr. Wilbur's public defense
                                                                      representation [.8]; meeting with Mr. Cammock regarding lawsuit [.2]; filed papers at
                                                                      Burlington courthouse [.6]; return from Skagit county [1.2]; worked on case strategy
                                                                      issues [1.0]; worked on file management issues [.4].
223
                                                                          Discuss hearing with co‐counsel re substitution of counsel (.75); Review and analyze
      06/14/11   Zuchetto      1.00   $        330.00 $          330.00
224                                                                       defense counsel comments re case (.25).
                                                                        Worked on Montague Motion for Substitution; personal conference regarding same;
                                                                        telephone conference with Burlington Municipal Court regarding hearing schedules;
      06/15/11   Boschen       3.90   $        150.00 $          585.00 telephone conference with and call to Prosecutor Patrick Eason; telephone conferences
                                                                        with clients; facsimiles to clients; telephone conferences with Telmate regarding inmate
                                                                        phone credits; set up inmate phone credits.
225




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 1               KEEPER

                                                                      Worked on service issues [.3]; worked on responding to telephone calls from potential
                                                                      class members [1.0]; researched and analyzed factual background issues [.4]; worked on
                                                                      Ms. Montague's limited representation agreement [.2]; analyzed issues regarding
                                                                      communications with inmates at jail [.2]; worked on motion to substitute public
                                                                      defender for Ms. Montague and related documents [.4]; exchanged messages with Mr.
      06/15/11   Marshall      4.30   $        375.00 $      1,612.50 Hoff regarding motions to substitute him as public defense counsel [.2]; researched and
                                                                      analyzed issues regarding calculation of caseloads of Mr. Witt and Mr. Sybrandy [.3];
                                                                      email correspondence with Washington Defender's Association regarding filing of
                                                                      lawsuit [.1]; telephone conference with co‐counsel regarding case strategy issues [.4];
                                                                      worked on same [.5]; telephone conference with Mr. Moon regarding status of motion
                                                                      to substitute public defender and related issues [.3].
226
                                                                        Personal conference regarding case status and task list; telephone conferences with
      06/16/11   Boschen       1.90   $        150.00 $          285.00 class members; telephone call to Mount Vernon Municipal Court regarding hearing
                                                                        time; jail roster research; telephone conference with potential witnesses's mother.
227

                                                                      Email correspondence with co‐counsel regarding service and case strategy issues [.1];
                                                                      worked on discovery issues [.6]; telephone conference and email correspondence with
                                                                      Mr. Hoff regarding public defense representation [.4]; analyzed issues regarding same
                                                                      [.2]; worked on task list [.2]; email correspondence with consulting expert regarding
                                                                      case issues [.1]; telephone calls from clients regarding jail visits by Mr. Sybrandy and Mr.
      06/16/11   Marshall      4.50   $        375.00 $      1,687.50 Witt [.5]; researched and analyzed issues regarding same [.5]; telephone conference
                                                                      with co‐counsel regarding same [.3]; drafted letter to Mr. Sybrandy and Mr. Witt
                                                                      demanding that they cease contact [.5]; email correspondence with co‐counsel
                                                                      regarding same [.1]; email to Mr. Sullivan regarding Ms. Montague's attempts at in‐
                                                                      patient treatment [.2]; worked on issues regarding same [.2]; worked on document
                                                                      management issues [.2]; worked on case strategy issues [.4].
228
                                                                        Work on substitution of counsel issues (.5); Edit letters to Sybrandy and Witt re contact
      06/16/11   Zuchetto      1.25   $        330.00 $          412.50
229                                                                     w/ clients (.75).
                                                                        Reviewed, revised and finalized letter to Messrs. Sybrandy and Witt; arranged email
      06/17/11    Kinsey       0.30   $        100.00 $           30.00
230                                                                     delivery.


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 1               KEEPER
                                                                        Worked on letter to Mr. Sybrandy and Mr. Witt regarding contact with plaintiffs [.2];
                                                                        email correspondence with Mr. Hoff regarding public defender work [.1]; worked on
                                                                        follow‐up with class members [.1]; reviewed notices from courts regarding upcoming
      06/17/11   Marshall      2.20   $        375.00 $          825.00
                                                                        hearings for Mr. Moon and Mr. Wilbur [.1]; worked on discovery requests [.6];
                                                                        researched and analyzed issues regarding city contracts with public defenders [1.0]; left
231                                                                     message with Mr. Skelton [.1].
                                                                        Prepared stipulation and proposed order regarding substitution of counsel (Wilbur);
      06/20/11    Kinsey       0.80   $        100.00 $           80.00
232                                                                     prepared proposed order substituting defense counsel (Moon).
                                                                        Telephone conferences with Burlington and Mount Vernon Municipal Courts regarding
                                                                        hearing times and locations; telephone conference with Skagit County Jail regarding
      06/20/11   Boschen       2.90   $        150.00 $          435.00
                                                                        client's commitments; telephone conference with co‐counsel regarding case status;
                                                                        Westlaw research regarding prior Mount Vernon case; correspondence regarding same.
233

                                                                      Analyzed issues regarding scheduling of hearings on motions to substitute counsel [.2];
                                                                      telephone call from potential class member regarding scope of case [.1]; worked on case
                                                                      strategy issues and tasks [.9]; telephone conference with Mr. Sullivan regarding Ms.
                                                                      Montague's current commitment and request for in‐patient treatment [.2]; analyzed
                                                                      issues regarding same [.1]; drafted stipulation and proposed order granting Mr. Wilbur's
                                                                      motion for substitution of counsel [.4]; email to Mr. Cammock and Mr. Thomas
                                                                      regarding same [.1]; left message with Mr. Cammock regarding same [.1]; telephone
                                                                      conference with Mr. Thomas regarding same [.1]; left message with Mr. Eason regarding
      06/20/11   Marshall      7.40   $        375.00 $      2,775.00 same [.1]; worked on discovery requests [1.3]; worked on public disclosure requests
                                                                      [.3]; reviewed legal decision referring to excessive caseloads in Mount Vernon as early
                                                                      as 1992 [.4]; researched and analyzed issues regarding same [.4]; email correspondence
                                                                      and telephone conference with co‐counsel regarding same and case strategy issues
                                                                      [1.4]; email correspondence with Ms. Kenimond regarding bidding process [.1];
                                                                      telephone conference with Mr. Wilbur regarding various isues [.2]; email from Mr.
                                                                      Cammock regarding communication issues [.1]; researched and analyzed issues
                                                                      regarding substitution of counsel [.6]; worked on amended order substituting Mr. Hoff
                                                                      as counsel [.3].
234
                                                                          Work on case strategy/status and discuss w/ co‐counsel (.75); Call to city attorneys re
      06/20/11   Zuchetto      1.00   $        330.00 $          330.00
235                                                                       motions to substitute counsel (.25).


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       DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1               KEEPER
                                                                      Reviewed jail roster [.3]; worked on outline of argument for hearings on motion to
                                                                      substitute Glen Hoff as public defender in cases of Mr. Wilbur and Mr. Moon [1.0]; to
                                                                      Skagit County for same [1.2]; participated in same [.8]; meeting with Ms. Montague [.3];
      06/21/11   Marshall      7.40   $        375.00 $      2,775.00
                                                                      meeting with Mr. Wilbur [.3]; meetings with inmates regarding factual background
                                                                      issues [1.8]; returned from Skagit County [1.2]; telephone conferences with co‐counsel
                                                                      regarding factual background and case strategy issues [.5].
236
      06/21/11   Zuchetto      0.70   $        330.00 $          231.00 Research re grant county case predecessor (.2); Work on subst. of counsel (.5).
237
                                                                          Left voicemail messages with potential witness; personal conferences regarding case
      06/22/11   Boschen       1.40   $        150.00 $          210.00
                                                                          task list; correspondence with co‐counsel regarding agreements.
238
                                                                      Researched and analyzed issues regarding factual background [.4]; worked on file
                                                                      management issues [.1]; email correspondence with Mr. Carroll regarding assistance
                                                                      with lawsuit [.2]; email from Ms. Mergler regarding same [.1]; researched factual
      06/22/11   Marshall      3.30   $        375.00 $      1,237.50 background issues [.5]; worked on stipulation and proposed order substituting Mr. Hoff
                                                                      as public defender for Ms. Montague [.3]; email to Mr. Thomas regarding same [.1];
                                                                      telephone conferences with individuals previously represented by Mr. Witt and Mr.
                                                                      Sybrandy [1.6].
239
240   06/22/11   Zuchetto      1.70   $        330.00 $          561.00 Call to Sanchez re Sybrandy client (.5); Work on rep. agreements (1.2).
                                                                        Correspondence regarding Phoenix Recovery; voicemail to Phoenix Recovery; updated
      06/23/11   Boschen       0.30   $        150.00 $           45.00
241                                                                     case contacts.

                                                                        Telephone call from Ms. Talner regarding ACLU's potential involvement in litigation [.4];
                                                                        email correspondence with co‐counsel and Ms. Talner regarding same [.2]; telephone
                                                                        conference with Mr. Wilbur regarding in‐patient treatment issues [.1]; telephone
                                                                        conference with co‐counsel regarding ACLU and case strategy issues [.7]; analyzed
      06/23/11   Marshall      2.50   $        375.00 $          937.50
                                                                        issues regarding same [.1]; left message with Mr. Thomas regarding substitution of
                                                                        public defense counsel for Ms. Montague [.1]; left message with Mr. Sullivan regarding
                                                                        Ms. Montague's eligibility for in‐patient treatment [.1]; telephone conference with Ms.
                                                                        Montague regarding various issues [.3]; worked on factual background issues [.5].
242



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 1               KEEPER
                                                                        Discuss potential additional co‐counsel w/ Marshall and research re same (1.25); Review
      06/23/11   Zuchetto      1.75   $        330.00 $          577.50
243                                                                     and sign limited rep. agreements (.5).
                                                                        Read public records documents and pleadings filed to date; discuss documents
      06/23/11    Talner       1.50   $        400.00 $          600.00
244                                                                     reviewed with Sarah Dunne
                                                                        Prepared draft of Marshall notice of appearance; reviewed, revised and finalized motion
                                                                        for substitution of counsel; prepared exhibit to Marshall declaration; prepared table o
      06/24/11    Kinsey       1.20   $        100.00 $          120.00
                                                                        non‐Washington authorities; telephone conference with court clerk's office; prepared
                                                                        notice of hearing and declaration of service; arranged filing and service.
245
                                                                        Telephone conference regarding case status; personal conference regarding same;
                                                                        worked on labeling documents produced in response to public disclosure requests;
      06/24/11   Boschen       2.40   $        150.00 $          360.00
                                                                        correspondence with co‐counsel regarding same; created production log; telephone call
246                                                                     to Phoenix Recovery Service.
                                                                      Email correspondence with Mr. Thomas regarding substitution of public defense
                                                                      counsel for Ms. Montague [.1]; attempt to reach Mr. Thomas by telephone regarding
                                                                      same [.1]; telephone conference with co‐counsel regarding discovery and case strategy
                                                                      issues [.8]; email correspondence with Ms. Talner regarding ACLU's involvement in
                                                                      litigation [.1]; email correspondence with potential class member regarding factual
                                                                      background issues [.1]; worked on motion for substitution of public defense counsel for
      06/24/11   Marshall      4.50   $        375.00 $      1,687.50 Ms. Montague [.8]; email correspondence with Mr. Sullivan regarding Ms. Montague's
                                                                      eligibility for in‐patient treatment [.1]; worked on discovery issues [.3]; drafted
                                                                      memorandum regarding increased fees and costs due to opposing counsel's lack of
                                                                      cooperation [.3]; prepared for conference call with co‐counsel and experts [.3];
                                                                      participated in same [1.0]; telephone call from Mr. Wilbur regarding in‐patient
                                                                      treatment [.1]; worked on case strategy issues [.3]; telephone conference with co‐
                                                                      counsel regarding same [.1].
247
                                                                          Review and analyze e‐mail re NOA/substitution of counsel from defense counsel (1.7);
      06/24/11   Zuchetto      2.70   $        330.00 $          891.00
                                                                          Call w/ co‐counsel and expert (.5); E‐mail co‐counsel re joint agreements (.5).
248
249   06/24/11    Talner       1.40   $        400.00 $          560.00 Discuss fact investigation and next steps with T. Marshall and M. Zuchetto
250   06/25/11   Marshall      0.30   $        375.00 $          112.50 Worked on letter to opposing counsel regarding mediation request [.3].




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       DATE                  HOURS        RATE            SUBTOTAL                                          DESCRIPTION OF WORK
 1               KEEPER
                                                                        Telephone conferences with Upper Skagit Tribe; telephone conferences with Phoenix
      06/27/11   Boschen       1.80   $        150.00 $          270.00 Recovery; personal conferences regarding same; updated production log; produced PDR
                                                                        documents to co‐counsel; fax to Skagit County Jail; updated case contacts.
251

                                                                      Email to Mr. Hoff regarding orders assigning him as counsel in Mr. Wilbur and Mr.
                                                                      Moon's cases, issues related to same, and status of Ms. Montague's case [.4]; worked
                                                                      on case management issues [.2]; drafted letter to opposing counsel regarding early
                                                                      mediation [.4]; researched and analyzed issues regarding same [.2]; email
                                                                      correspondence with co‐counsel regarding same [.2]; worked on document
                                                                      management issues [.2]; message from class member regarding factual background
                                                                      issues [.1]; worked on discovery issues [.3]; worked on discovery requests to defendants
      06/27/11   Marshall      6.50   $        375.00 $      2,437.50
                                                                      [2.6]; analyzed issues regarding Mr. Wilbur's eligibility for in‐patient treatment [.3];
                                                                      telephone conferences with Mr. Wilbur regarding same [.4]; telephone conference with
                                                                      Mr. Hoff regarding status of cases [.2]; telephone conference with Ms. Dunne and Ms.
                                                                      Talner regarding joint prosecution of class action with ACLU [.4]; email correspondence
                                                                      with Ms. Dunne regarding same [.1]; telephone conference with co‐counsel regarding
                                                                      same [.2]; worked on case strategy issues [.1]; telephone call from indigent defendant
                                                                      regarding factual background issues [.2].
252
                                                                          Call w/ co‐counsel re joining additional plaintiff’s counsel (.5); Call to potential witness
      06/27/11   Zuchetto      3.50   $        330.00 $      1,155.00
                                                                          (.5); Research re class certification (2.0); Work on letter to def. counsel (.5).
253
254   06/28/11    Kinsey       0.40   $        100.00 $           40.00 Worked on draft of document preservation demand letter.
                                                                          Telephone conference with Phoenix Recovery; telephone call to Mr. Hoff regarding
      06/28/11   Boschen       0.70   $        150.00 $          105.00
                                                                          client; personal conferences regarding client's release and treatment.
255




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 1               KEEPER
                                                                      Drafted letter to Mr. Thomas regarding request for mediation [.1]; telephone
                                                                      conferences with co‐counsel and consulting expert regarding expert issues [.5]; analyzed
                                                                      issues regarding class member calls [.1]; meeting with Mr. Butler regarding factual
                                                                      background issues [.1]; worked on discovery requests to defendants [2.7]; email
                                                                      correspondence with co‐counsel regarding same [.3]; researched and analyzed issues
      06/28/11   Marshall      6.50   $        375.00 $      2,437.50
                                                                      regarding factual background [1.2]; drafted document data and preservation letter to
                                                                      opposing counsel [.3]; email correspondence with co‐counsel regarding same [.1];
                                                                      worked on subpoena duces tecum to Mr. Sybrandy [.8]; worked on issues regarding in‐
                                                                      patient treatment for Mr. Wilbur [.2]; telephone conference with Mr. Wilbur regarding
                                                                      same [.1].
256
                                                                          Work on discovery requests to MV and Burlington (1.0); Call w/ expert and discuss same
      06/28/11   Zuchetto      3.00   $        330.00 $          990.00
                                                                          w/ co‐counsel (.75); Work on document/data preservation letter (1.25).
257
                                                                        Prepared and finalized plaintiffs' first interrogatories and requests for production to
                                                                        defendants City of Burlington and City of Mt. Vernon; finalized discovery preservation
      06/29/11    Kinsey       4.20   $        100.00 $          420.00
                                                                        demand letter; prepared declaration of service; arranged service; updated caption;
                                                                        reviewed, revised and finalized subpoena in a civil case directed to Witt and Sybrandy.
258
                                                                        Worked on discovery issues [.2]; worked on subpoena duces tecum to Mr. Sybrandy
                                                                        [1.2]; email to opposing counsel regarding same [.1]; worked on document and data
      06/29/11   Marshall      2.20   $        375.00 $          825.00 preservation letter to opposing counsel [.1]; email correspondence with co‐counsel
                                                                        regarding same [.1]; worked on discovery requests to defendants [.4]; telephone call
                                                                        from Mr. Wilbur regarding status of in‐patient treatment [.1].
259
                                                                        Work on Subpoena Duces Tecum to Sybrandy (1.0); Review and edit document
      06/29/11   Zuchetto      2.00   $        330.00 $          660.00
260                                                                     preservation letter and e‐mail co‐counsel re same (1.0).
                                                                        Telephone conference with client; telephone conference with Phoenix recovery
                                                                        regarding client's bed date; voice mail to Mr. Hoff regarding client's release;
      06/30/11   Boschen       1.60   $        150.00 $          240.00 correspondence regarding bed date; researched current address and contact
                                                                        information for client; drafted and emailed public disclosure request to Mount Vernon
261                                                                     Municipal Court.




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 1               KEEPER
                                                                      Email from co‐counsel regarding subpoena duces tecum to Mr. Sybrandy [.1];
                                                                      researched and analyzed issues regarding factual background [.1]; left message with
                                                                      public defender in Seattle regarding misdemeanor caseloads [.1]; message from
      06/30/11   Marshall      4.40   $        375.00 $      1,650.00 potential class member [.1]; telephone conference with potential class member
                                                                      regarding factual background issues [.4]; worked on discovery requests [2.1]; worked on
                                                                      subpoenas to Mr. Witt and Mr. Sybrandy [1.2]; reviewed recent decisions on sixth
                                                                      amendment [.2]; regarding contact information for Mr. Moon [.1].
262
263   06/30/11   Zuchetto      1.30   $        330.00 $          429.00 Work on Subpoena Duces Tecum to Sybrandy/Witt.
                                                                          Finalized plaintiffs' first discovery responses to City of Burlington and City of Mt. Vernon
      07/01/11    Kinsey       0.80   $        100.00 $           80.00
                                                                          and Sybrandy and Witt subpoenas; arrange service on Mr. Cooley.
264
                                                                          Worked on discovery requests [.9]; researched and analyzed issues regarding guardian
                                                                          ad litem [1.0]; worked on subpoenas to Mr. Sybrandy and Mr. Witt [.5]; let message
      07/01/11   Marshall      3.00   $        375.00 $      1,125.00     with Mr. Wilbur's grandmother regarding transfer to in‐patient treatment [.1];
                                                                          telephone conferences with potential class members regarding issues with public
265                                                                       defenders [.5].
266   07/01/11   Zuchetto      2.00   $        330.00 $          660.00   Work on discovery requests and Subpoena Duces Tecums to Sybrandy/Witt.
267   07/01/11    Dunne        0.10   $        380.00 $           38.00   Email correspondence with co‐counsel re case
268   07/01/11   Williams      1.00   $        580.00 $          580.00   Begin reviewing background materials on Skagit County lawsuit;
                                                                          Researched and analyzed issues regarding class certification and standards for
      07/03/11   Marshall      1.30   $        375.00 $          487.50
269                                                                       prevailing on constitutional claims [1.3].
                                                                          Researched and analyzed issues regarding historical caseloads in Mount Vernon and
                                                                          Burlington municipal courts [.9]; researched and analyzed issues regarding withdrawal
      07/04/11   Marshall      1.20   $        375.00 $          450.00
                                                                          of limited representation in criminal cases of Mr. Wilbur and Mr. Moon [.2]; drafted
270                                                                       language for notices of withdrawal [.1].
                                                                          Telephone conferences and correspondence with Mount Vernon Municipal Court
      07/05/11   Boschen       0.50   $        150.00 $           75.00
271                                                                       regarding PDR.
                                                                      Analyzed issues regarding request for case files from Mount Vernon [.1]; researched and
                                                                      analyzed issues regarding guardian ad litem [.4]; reviewed defendants' notice of
      07/05/11   Marshall      2.70   $        375.00 $      1,012.50 removal [.2]; email correspondence with co‐counsel regarding same [.2]; researched
                                                                      and analyzed issues regarding same [1.0]; worked on public disclosure requests [.3];
                                                                      worked on case strategy issues [.5].
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 1                KEEPER
273   07/05/11   Zuchetto      1.00   $        330.00 $          330.00 Read and analyze notice of removal and limited notice of withdrawals.
274   07/05/11    Dunne        0.20   $        380.00 $           76.00 Review removal documents filed by Defendants
                                                                        Worked on document management issues [.1]; telephone conference with co‐counsel
      07/06/11   Marshall      0.60   $        375.00 $          225.00 regarding case strategy issues [.3]; analyzed issues regarding in‐patient treatment of Mr.
                                                                        Wilbur [.1]; reviewed letter from witness regarding indigent defense issues [.1].
275
276   07/06/11   Zuchetto      0.20   $        330.00 $           66.00 Review Judge assignment, analyze, discuss remand.
                                                                        Read letter from inmate and drafted response letter to same; telephone calls to and
      07/07/11   Boschen       3.20   $        150.00 $          480.00 conferences with potential witnesses; drafted public disclosure request to Skagit County
                                                                        Jail; updated task list; correspondence regarding same.
277
                                                                          Worked on witness interviews project [.5]; worked on scheduling of meeting with ACLU
      07/07/11   Marshall      0.70   $        375.00 $          262.50
278                                                                       regarding participation in case [.2].
      07/07/11   Zuchetto      0.50   $        330.00 $          165.00 E‐mail to co‐counsel re meeting (.25); Review and analyze fee agreement (.25).
279
                                                                        Telephone conference with client regarding treatment term; telephone conference with
                                                                        Mr. Hoff regarding same; telephone conference with Chief Wend regarding public
      07/08/11   Boschen       1.70   $        150.00 $          255.00
                                                                        disclosure request; personal conference and correspondence regarding witness calls;
                                                                        worked on researching phone numbers; updated contacts.
280
                                                                        Analyzed issues regarding prosecution of litigation with ACLU [.3]; email
                                                                        correspondence with co‐counsel regarding same [.2]; analyzed issues regarding public
      07/08/11   Marshall      0.80   $        375.00 $          300.00
                                                                        disclosure request to Skagit County jail for phone records [.2]; analyzed issues regarding
281                                                                     contact with client [.1].
282   07/08/11   Zuchetto      0.50   $        330.00 $          165.00 Review and analyze co‐counsel agreement and e‐mail co‐counsel re same.
283   07/10/11   Marshall      0.20   $        375.00 $           75.00 Worked on file management issues [.2].
                                                                          Analyzed issues regarding service of notice of withdrawal in Burlington and removal to
      07/11/11   Marshall      0.20   $        375.00 $           75.00
                                                                          federal court [.1]; emails from Ms. Talner regarding factual background issues [.1].
284
285   07/12/11   Boschen       0.60   $        150.00 $           90.00 Finalized letter to witness and prepared mailing of same.
                                                                        Prepared federal court caption; prepared certificate of service list; reviewed court
      07/13/11    Kinsey       0.80   $        100.00 $           80.00
286                                                                     docket for defendant attorney appearances.




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 1               KEEPER
                                                                        Researched and analyzed issues regarding amount spent by Defendants per capita and
                                                                        per case compared with amounts spent by other cities within Washington [.6]; email
      07/13/11   Marshall      1.10   $        375.00 $          412.50 correspondence with co‐counsel regarding same [.2]; worked on discovery and case
                                                                        strategy issues [.2]; email correspondence with co‐counsel regarding discovery issues
287                                                                     [.1].
288   07/13/11    Dunne        0.30   $        380.00 $          114.00 Review emails from co‐counsel and Nancy Talner regarding case facts
                                                                          Reviewed declaration of service of summons and complaint; email correspondence to
      07/14/11    Kinsey       0.30   $        100.00 $           30.00
                                                                          opposing counsel transmitting plaintiffs' discovery requests.
289
290   07/14/11   Williams      0.50   $        580.00 $          290.00 Review emails from ACLU containing background materials for review;
                                                                        Worked on issues regarding class member interviews [.1]; analyzed issues regarding
      07/18/11   Marshall      1.80   $        375.00 $          675.00 response to motion for subsitution of counsel [.5]; worked on reply in support of motion
291                                                                     for substitution of counsel [1.2].
                                                                          Reviewed, revised and finalized reply submission regarding motion for substitution
      07/19/11    Kinsey       1.30   $        100.00 $          130.00
                                                                          regarding Montague; prepared declaration of service; arranged filing and service.
292
                                                                        Reviewed Skagit County Jail Roster; prepared index of potential witnesses from same;
      07/19/11   Boschen       3.40   $        150.00 $          510.00
293                                                                     correspondence regarding same.
                                                                        Worked on reply in support of motion to substitute new public defense counsel for Ms.
                                                                        Montague [.7]; drafted proposed order granting same [.2]; worked on argument for
      07/19/11   Marshall      2.40   $        375.00 $          900.00
                                                                        hearing on same [1.0]; analyzed issues regarding docketing deadlines [.1]; worked on
294                                                                     document review issues [.4].
                                                                          Review and analyze response and reply re motion for substitution of counsel (.6);
      07/19/11   Zuchetto      1.30   $        330.00 $          429.00
                                                                          Review and analyze joint prosecution agreement and discuss same w/ co‐counsel (.7).
295
                                                                          Reviewed Order Regarding Initial Disclosures, Joint Status Report and Early Settlement;
      07/20/11   Boschen       0.50   $        150.00 $           75.00
296                                                                       reviewed docket for case; correspondence regarding deadlines.
                                                                      Telephone conference with co‐counsel regarding case strategy issues [.2]; prepared for
                                                                      hearing on motion to substitute counsel for Ms. Montague [.3]; prepared for interviews
                                                                      with witnesses at Skagit County jail [.4]; to Skagit County for hearing and witness
      07/20/11   Marshall      6.70   $        375.00 $      2,512.50
                                                                      interviews [1.2]; email from opposing counsel regarding cancellation of hearing [.1];
                                                                      personal conference with court clerk regarding same [.1]; interviewed witnesses at jail
                                                                      [3.2]; returned from Skagit County [1.2].
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 1                KEEPER
298   07/20/11   Zuchetto      0.50   $        330.00 $          165.00 Review and analyze answer.
                                                                        Reviewed and indexed supplemental production from Skagit County in response to
                                                                        public disclosure requested; bates labeled same; bates labeled documents produced by
      07/21/11   Boschen       2.80   $        150.00 $          420.00 Mount Vernon Municipal Court in response to public disclosure request; updated
                                                                        production log; correspondence regarding documents produced in response to public
299                                                                     disclosure requests.
                                                                        Email correspondence with co‐counsel regarding case strategy issues [.1]; worked on
                                                                        same [.4]; reviewed documents from Skagit Co. in response to public records request
                                                                        [.3]; email correspondence with co‐counsel regarding same [.1]; left message with Ms.
      07/21/11   Marshall      2.20   $        375.00 $          825.00 Russell regarding potential omissions in same [.1]; worked on compiling notes from jail
                                                                        inmate interviews and analyzing action items [.8]; email correspondence with co‐
                                                                        counsel regarding same [.2]; telephone call from Ms. Russell regarding public records
                                                                        request [.1]; email to co‐counsel regarding defendants' answer [.1].
300
                                                                          Review Answer filed by Defendants; conduct legal research on legal standard for
      07/21/11    Dunne        2.10   $        380.00 $          798.00
301                                                                       systemic indigent defense reform class action
                                                                      Researched and analyzed issues regarding standards to apply to preconviction claims
      07/22/11   Marshall      4.60   $        375.00 $      1,725.00 regarding sixth amendment rights [.8]; prepared for meeting with co‐counsel [.5];
                                                                      meetings with co‐counsel regarding factual background and case strategy issues [3.3].
302
                                                                      Participate in litigation strategy session w/ co‐counsel (2.0); Travel back to Spokane
      07/22/11   Zuchetto      6.50   $        330.00 $      2,145.00
303                                                                   (4.5).
                                                                      Meeting with J. Williams, N. Talner, M. Zuchetto, and T. Marshall regarding case
      07/22/11    Dunne        2.50   $        380.00 $        950.00
304                                                                   strategy and discovery;
305   07/22/11    Talner       2.50   $        400.00 $      1,000.00 Meeting with co‐counsel to discuss case strategy
      07/22/11   Williams      2.70   $        580.00 $      1,566.00 Review background material and prepare for meeting with co‐counsel on case status;
306
                                                                        Telephone call from co‐counsel regarding association with ACLU and case strategy
      07/25/11   Marshall      0.50   $        375.00 $          187.50 issues [.3]; email correspondence with ACLU and Perkins Coie attorneys regarding same
307                                                                     [.2].
                                                                        Work on scheduling Rule 26 conference, expert strategy, review and analyze 06 contract
      07/25/11   Zuchetto      0.30   $        330.00 $           99.00
308                                                                     re Burlington.




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       DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1               KEEPER
                                                                        Review contract for City of Burlington and City of Mount Vernon public defense contract
      07/25/11    Dunne        2.30   $        380.00 $          874.00 for 2006; conduct legal research on Sixth Amendment legal standard and draft memo
309                                                                     regarding same
      07/25/11   Williams      0.50   $        580.00 $          290.00 review Grant County docket and select documents for intranet access to all counsel;
310
                                                                        Worked on PDR production index and PDR review; telephone conference with Intelmate
                                                                        regarding client balances; set up intelmate account for indigent defendant; email
      07/26/11   Boschen       2.30   $        150.00 $          345.00 correspondence to Mount Vernon Municipal Court regarding PDR; telephone call to
                                                                        client; researched client contact; telephone call to Mr. Hoff regarding same; telephone
                                                                        conference with Ms. Johnson; correspondence regarding same.
311
                                                                        Drafted action items list and worked on implementing same [.4]; telephone conference
      07/26/11   Marshall      0.90   $        375.00 $          337.50 with co‐counsel regarding same [.2]; telephone call from co‐counsel regarding factual
312                                                                     background issues [.3].
313   07/26/11   Zuchetto      0.20   $        330.00 $           66.00 Work on case management/strategy and discuss same w/ co‐counsel.
      07/26/11   Williams      2.10   $        580.00 $      1,218.00 Review ACLU brief on case status and legal issues; begin developing case overview;
314
                                                                          Telephone conference with Mr. Hoff; correspondence regarding same; telephone call
      07/27/11   Boschen       0.20   $        150.00 $           30.00
                                                                          and voicemail to client; researched client cases; correspondence regarding same;
315
                                                                        Email from opposing counsel regarding scheduling of Rule 26(f) conference [.1];
                                                                        analyzed issues regarding communications with named plaintiffs [.1]; email from co‐
      07/27/11   Marshall      1.30   $        375.00 $          487.50 counsel regarding representation of named plaintiffs [.1]; worked on case strategy
                                                                        issues [.2]; telephone conference with expert and co‐counsel regarding factual
316                                                                     background and legal issues [.8].
      07/27/11   Zuchetto      0.40   $        330.00 $          132.00 Teleconference w/ expert (.25); research re right to counsel and parole hearings (.15).
317




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                  TIME
       DATE                  HOURS        RATE            SUBTOTAL                                      DESCRIPTION OF WORK
 1               KEEPER
                                                                        Telephone calls to and conferences with Burlington and Mount Vernon Municipal
                                                                        Courts; telephone conference with client; drafted public disclosure requests to
                                                                        Burlington and Mount Vernon Municipal Courts; drafted letter to Mount Vernon
                                                                        Municipal Court regarding previous public disclosure request; resesarched client contact
      07/28/11   Boschen       5.50   $        150.00 $          825.00
                                                                        information; telephone call to client; telephone conference with Skagit County Jail
                                                                        regarding client documents; personal conference regarding case status; worked on filing
                                                                        documents; prepared case files for co‐counsel; personal conference and
                                                                        correspondence regarding same.
318
                                                                      Telephone calls from indigent defendant regarding factual background issues [.2];
                                                                      worked on same [.3]; telephone call from co‐counsel regarding case strategy and expert
                                                                      issues [.3]; worked on same [.8]; worked on strategy for discovery and class certification
      07/28/11   Marshall      3.70   $        375.00 $      1,387.50
                                                                      [1.3]; email correspondence with co‐counsel regarding contact with plaintiffs [.1];
                                                                      analyzed issues regarding same [.2]; reviewed materials from other cases involving
                                                                      systemic public defense reform [.3]; worked on issues related to evidence files [.2].
319
320   07/28/11   Zuchetto      0.70   $        330.00 $        231.00 Analyze costs and case strategy and discuss same w/ co‐counsel.
321   07/28/11    Fisher       5.90   $        330.00 $      1,947.00 Draft initial disclosures;
322   07/29/11    Kinsey       0.80   $        100.00 $         80.00 Drafted initial disclosures and joint status report and discovery plan.
                                                                      Email correspondence with co‐counsel regarding representation of plaintiffs [.1];
      07/29/11   Marshall      5.00   $        375.00 $      1,875.00 drafted task list [.5]; drafted agenda for meeting with co‐counsel [.5]; analyzed case
323                                                                   strategy issues [.8]; worked on factual background issues [3.1].
324   07/29/11   Zuchetto      1.00   $        330.00 $        330.00 Research and analyze Judge Lasik’s decisions re class certification.
325   07/29/11   Zuchetto      0.70   $        330.00 $        231.00 Work on strategy/agenda re team meeting
                                                                      Prepare for Monday's meeting with co‐counsel by reviewing fact evidence in case to
      07/29/11    Talner       0.50   $        400.00 $        200.00
326                                                                   date
327   07/29/11    Fisher       1.70   $        330.00 $        561.00 Read background material for case;
      07/29/11   Williams      0.50   $        580.00 $          290.00 Exchange emails on CR 26(f) conference and plan for 8/1/22 strategy conference;
328




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       DATE                  HOURS        RATE            SUBTOTAL                                     DESCRIPTION OF WORK
 1               KEEPER
                                                                      Travel to and from Perkins Coie for case meeting; attended case meeting; telephone call
                                                                      to, conference and email with Pioneer Human Services; telephone conference and
                                                                      correspondence with Mount Vernnon Municipal Court regarding public disclosure
                                                                      request; telephone conference with Burlington Municipal Court regarding public
      08/01/11   Boschen       6.90   $        150.00 $      1,035.00
                                                                      disclosure request; correspondence regarding municipal court hearing dates and times;
                                                                      reviewed documents and correspondence pertaining to potential expert witnesses;
                                                                      prepared documents for client meeting; correspondence regarding same; reviewed
                                                                      client documents; filed same.
329

                                                                      Prepared for meeting with co‐counsel [.2]; worked on agenda for same [.1]; worked on
                                                                      task list [.3]; worked on case strategy issues [.4]; meeting with co‐counsel regarding
                                                                      case strategy issues, factual background issues, legal issues, expert issues, and action
                                                                      items [4.4]; email correspondence with co‐counsel regarding discovery issues [.2]; email
                                                                      correspondence with co‐counsel regarding legal standard to apply to preconviction sixth
      08/01/11   Marshall      7.00   $        375.00 $      2,625.00 amendment cases [.2]; researched and analyzed issues regarding same [.2]; analyzed
                                                                      issues regarding rescheduling of hearing on motion to substitute new public defender
                                                                      for Ms. Montague [.1]; revised confirmation of understanding for interviews with
                                                                      indigent defendants [.2]; reviewed documents from Ms. Johnson regarding upcoming
                                                                      court hearing [.2]; analyzed issues regarding same [.2]; worked on issues regarding
                                                                      representation of clients by ACLU and Perkins Coie [.2]; worked on expert issues [.1].
330
331   08/01/11   Zuchetto      1.00   $        330.00 $        330.00 Prepare for strategy meeting
332   08/01/11   Zuchetto      0.75   $        330.00 $        247.50 Research re GAL re witness/class rep.
                                                                      Meeting with J. Williams, C. Fisher, T. Marshall, M. Zuchetto, N. Talner regarding case
      08/01/11    Dunne        3.20   $        380.00 $      1,216.00
333                                                                   strategy and discovery
                                                                      Attend meeting with plaintiffs' attorneys and cooperating attorneys to discuss case
      08/01/11    Talner       3.50   $        400.00 $      1,400.00
334                                                                   strategy; read emails from those attorneys; research experts
                                                                      Attend meeting with team to discuss general issues of case and plan; begin initial
      08/01/11    Fisher       6.10   $        330.00 $      2,013.00 research on standard used for for the assistance of counsel, possible relief, and
335                                                                   defenses we are likely to see;
                                                                        Prepare for and meet with Wilbur litigation team to discuss case status, assignments,
      08/01/11   Williams      5.00   $        580.00 $      2,900.00
                                                                        and strategy; review emails from litigation team on post‐meeting action items;
336


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 1               KEEPER
                                                                        Prepared maps for travel to Sedro Woolley, Burlington and Mount Vernon; Travel to
                                                                        Pioneer Center North for client meeting; client meeting; travel from Pioneer Center
                                                                        North to Burlingon Municipal Court; obtained documents in response to public
      08/02/11   Boschen       8.60   $        150.00 $        1,290.00 disclosure request from Burlington Municipal Court; travel from Burlington Municipal
                                                                        Court to Mount Vernon Municipal Court; obtained documents in response to public
                                                                        disclosure requests from Mount Vernon Municipal Court; observed arraignment
                                                                        hearings; return travel from Mount Vernon Municipal Court.
337
                                                                        Email correspondence with Ms. Burton regarding status of case [.1]; worked on
                                                                        discovery issues [.3]; worked on expert issues [.2]; telephone conference with co‐
                                                                        counsel regarding same [.2]; prepared for interviews of indigent defendants [.5];
                                                                        telephone conference with co‐counsel regarding same [.4]; to Skagit County for meeting
      08/02/11   Marshall      8.60   $        375.00 $        3,225.00 with client [1.5]; meeting with Ms. Montague regarding various case issues [1.0];
                                                                        obtained case files from Burlington municipal court [.2]; attended arraignment hearing
                                                                        and interviewed indigent defendants [1.9]; returned from Skagit County [1.3];
                                                                        exchanged messages with co‐counsel regarding expert issues [.2]; analyzed issues
                                                                        regarding caseload standards [.3]; worked on case strategy issues [.5].
338
339   08/02/11   Zuchetto      0.40   $        330.00   $          132.00   Research GAL re potential rep. or witness.
340   08/02/11   Zuchetto      0.70   $        330.00   $          231.00   Review and analyze e‐mails from co‐counsel re expert witnesses.
341   08/02/11   Zuchetto      0.20   $        330.00   $           66.00   Call to class rep. re additional co‐counsel.
342   08/02/11    Dunne        0.20   $        380.00   $           76.00   Review emails from N. Talner and co‐counsel regarding possible experts
      08/02/11    Talner       1.90   $        400.00 $            760.00 Conduct research regarding possible experts and email co‐counsel about experts
343
                                                                        Draft email to Professor Saltzburg on Right to Counsel definition; review emails on
      08/02/11   Williams      1.00   $        580.00 $            580.00
344                                                                     potential expert witnesses;
                                                                        Research standard for assistance of counsel under sixth amendment; attend court
      08/02/11    Fisher       9.30   $        330.00 $        3,069.00
345                                                                     hearings at Mount Vernon Municipal Court;




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 1               KEEPER
                                                                        Scanned and bates labeled public disclosure requests from Mount Vernon and
                                                                        Burlington Municipal Courts; correspondence regarding same; updated production log;
                                                                        scanned and emailed client agreements; telephone conference with Sun Ray Courte
      08/03/11   Boschen       4.10   $        150.00 $          615.00 regarding client; telephone conference with Burlington Municipal Court regarding
                                                                        hearing schedule; personal conference and correspondence regarding same;
                                                                        resesarched Witt and Sybrandy open cases; prepared database of same; drafted
346                                                                     summary of client visit.

                                                                      Analyzed issues regarding requirement of Ms. Montague's presence at hearing on
                                                                      motion to substitute counsel [.1]; telephone conference with Mr. Hoff regarding same
                                                                      [.1]; email correspondence with co‐counsel regarding meeting with Ms. Montague [.1];
                                                                      analyzed issues regarding indigent defendant's factual background [.3]; analyzed issues
                                                                      regarding experts [.1]; email correspondence with co‐counsel regarding same [.1];
      08/03/11   Marshall      2.90   $        375.00 $      1,087.50
                                                                      telephone conference with co‐counsel regarding same and factual background issues
                                                                      with Mr. Osborne and Mr. Wilbur [.8]; telephone conference with co‐counsel and Mr.
                                                                      Wilbur regarding case status and representation by ACLU [.4]; telephone conference
                                                                      with co‐counsel and Ms. Kaiser regarding same [.2]; worked on expert issues and case
                                                                      strategy issues [.5]; worked on client issues [.2].
347
348   08/03/11   Zuchetto      2.00   $        330.00 $          660.00 Work on strategy w/ co‐counsel re experts and disabled plaintiff/witness.
349   08/03/11   Zuchetto      0.50   $        330.00 $          165.00 Call to Class Rep. to arrange meeting
                                                                        Review emails from co‐counsel re possible plaintiffs and respond to inquiry regarding
      08/03/11    Dunne        0.20   $        380.00 $           76.00
350                                                                     how to obtain military records of potential plaintiff
                                                                      Research cases where 6th Amendment violation found and share list with co‐counsel;
                                                                      telephone call with T. Marshall regarding legal issues in one potential plaintiff or
      08/03/11    Talner       3.00   $        400.00 $      1,200.00
                                                                      witness's case and strategy regarding experts; review records in potential plaintiff or
                                                                      witness's case and email comments to co‐counsel
351
352   08/04/11   Boschen       0.20   $        150.00 $           30.00 Correspondence regarding court observation and travel regarding same.




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 1               KEEPER
                                                                        Revised stipulation and proposed order substituting public defense counsel for Ms.
                                                                        Montague [.1]; email to Mr. Thomas requesting approval to file same [.1]; worked on
                                                                        document management issues [.2]; researched and analyzed issues regarding ability of
                                                                        sitting judge to testify as expert witness [.5]; email correspondence with co‐counsel
      08/04/11   Marshall      2.80   $        375.00 $        1,050.00
                                                                        regarding same [.1]; telephone call from expert regarding factual background and
                                                                        expert issues [.5]; worked on same [.6]; telephone conference with co‐counsel regarding
                                                                        same [.2]; email correspondence with co‐counsel and opposing counsel regarding
                                                                        scheduling issues [.2]; worked on case strategy issues [.3].
353
354   08/04/11   Zuchetto      1.30   $        330.00   $          429.00   Meeting w/ Joseph Wilbur.
355   08/04/11   Zuchetto      0.75   $        330.00   $          247.50   Discuss call w/ expert w/ co‐counsel and call to expert re role.
356   08/04/11   Zuchetto      0.50   $        330.00   $          165.00   Review, analyze and edit e‐mail to defense counsel re Rule 26 conference.
357   08/04/11   Zuchetto      0.70   $        330.00   $          231.00   Research re expert issues.
358   08/04/11    Talner       0.30   $        400.00   $          120.00   Emails with co‐counsel to arrange Mount Vernon court observation
                                                                            Worked on joint status report [1.8]; email correspondence with co‐counsel regarding
                                                                            same [.1]; researched and analyzed issues regarding legal claims [1.5]; telephone call
      08/05/11   Marshall      3.70   $        375.00 $        1,387.50
                                                                            from co‐counsel regarding same [.2]; left message with Ms. Osborne regarding witness
359                                                                         issues [.1].
360   08/05/11   Zuchetto      0.50   $        330.00 $            165.00   Work on letter to Wilbur re rep.
361   08/05/11   Zuchetto      0.50   $        330.00 $            165.00   Work on joint report.
                                                                            Discuss legal issues in case with ACLU expert on indigent defense; email to co‐counsel
      08/05/11    Talner       0.80   $        400.00 $            320.00
362                                                                         regarding experts; research on jury trial issue;
                                                                          Personal conference regarding witness search [.2]; worked on coordinating travel to
                                                                          Mount Vernon Municipal Court [.2]; worked on filing [.1]; researched client case history
                                                                          [.3]; correspondence regarding same [.1]; correpondence regarding client contact
      08/08/11   Boschen       1.90   $        150.00 $            285.00
                                                                          information [.1]; correspondence regarding correcting caption [.1]; reviewed court
                                                                          records regarding client's public defender [.5]; reviewed Answer to Complaint [.1];
                                                                          correspondence regarding same [.1]; personal conference regarding same [.1].
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 1               KEEPER

                                                                      Message from Mr. Moon regarding new contact information [.1]; email correspondence
                                                                      with co‐counsel regarding same [.1]; worked on task list [.1]; worked on document
                                                                      management issues [.1]; telephone calls from indigent defendant regarding
                                                                      representation by Mr. Witt [.4]; analyzed issues regarding same [.3]; telephone
                                                                      conference with co‐counsel regarding same [.3]; telephone conference with indigent
      08/08/11   Marshall      3.60   $        375.00 $      1,350.00 defendant regarding same [.5]; researched and analyzed issues regarding Mr. Witt's
                                                                      representation of Ms. Montague [.2]; interviewed Ms. Shields regarding experiences
                                                                      with public defenders [.3]; analyzed issues regarding same and drafted memorandum
                                                                      for file [.3]; email correspondence with co‐counsel regarding joint status report [.2];
                                                                      worked on strategy for witness interviews [.5]; telephone conference with Mr. Moon
                                                                      regarding status of case and representation by ACLU [.2].
364
                                                                          Call w/ co‐counsel re potential witness/class rep. and analyze same (.75); Work on joint
      08/08/11   Zuchetto      0.85   $        330.00 $          280.50
365                                                                       status report (.1).
                                                                          Review and revise Joint Status Report; review legal research on right to counsel from
      08/08/11    Dunne        0.90   $        380.00 $          342.00
                                                                          Michigan case; review emails from co‐counsel regarding case strategy
366
                                                                        Review and comment on draft discovery requests; telephone call with co‐counsel
      08/08/11    Talner       0.80   $        400.00 $          320.00
367                                                                     regarding new potential witness/plaintiff;
                                                                        Read the joint pre‐trial statement and discovery requests and subpoenas; take care of
      08/08/11    Fisher       0.60   $        330.00 $          198.00
368                                                                     the notice of appearance;
      08/09/11    Kinsey       0.40   $        100.00 $           40.00 Amended plaintiff attorney appearances in joint status report and master caption.
369
                                                                        Travel to and from Mount Vernon Municipal Court to meet with client [5.4]; scanned
                                                                        and emailed signed representation agreements [.1]; worked on filing agreements [.1];
      08/09/11   Boschen       6.20   $        150.00 $          930.00
                                                                        bates labeled and OCRd Mount Vernon PDRs [.4]; updated production log [.1];
                                                                        correspondence with co‐counsel regarding same [.1].
370
                                                                        Left message with Mr. Thomas regarding stipulation to substitute public defender for
                                                                        Ms. Montague [.1]; revised draft joint status report [.1]; email to opposing counsel
      08/09/11   Marshall      1.40   $        375.00 $          525.00 regarding scheduling of Rule 26(f) conference [.1]; email correspondence with co‐
                                                                        counsel regarding joint status report [.1]; worked on discovery and case strategy ssues
371                                                                     [1.0].


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 1               KEEPER
                                                                        Review and analyze class member treatment notes (.25); Review and Analyze joint
      08/09/11   Zuchetto      1.00   $        330.00 $          330.00 status report (.25); discuss strategy w/ co‐counsel (.25); Review and analyze substitution
                                                                        of counsel e‐mail from opposing counsel re class rep. (.25).
372
                                                                          Travel to and from Mount Vernon municipal court and observe pretrial hearings in
      08/09/11    Talner       5.80   $        400.00 $      2,320.00
373                                                                       municipal court and in‐custody hearings for municipal court
      08/09/11    Fisher       6.10   $        330.00 $      2,013.00 Attend hearings at Mount Vernon Municipal Court; draft notice of appearance;
374
                                                                          Revised draft joint status report; email correspondence regarding attorney trial counsel
                                                                          appearances; draft transmittal letter to Judge Gilbert enclosing stipulation; reviewed,
      08/10/11    Kinsey       0.30   $        100.00 $           30.00
                                                                          revised and finalized stipulation to substitute counsel; email correspondence with Mr.
375                                                                       Thomas.
                                                                          Worked on re‐labeling public disclosure documents [.4]; correspondence regarding
      08/10/11   Boschen       0.90   $        150.00 $          135.00   same [.2]; updated production log [.2]; correspondence regarding correcting caption
376                                                                       [.1].
377   08/10/11   Marshall      1.10   $        375.00 $          412.50   Worked on factual background investigation and related issues [1.1].
                                                                          Review and analyze communications re new counsel for Montague (.25); Research and
      08/10/11   Zuchetto      1.00   $        330.00 $          330.00
378                                                                       prep. for case strategy call (.5); Edit client letter (.25).
379   08/10/11    Dunne        0.10   $        380.00 $           38.00   Review and revise Notice of Appearance;
                                                                          Review court file documents on three named plaintiffs and identify issues relevant to
      08/10/11    Talner       0.60   $        400.00 $          240.00
380                                                                       case
                                                                          Conduct research on legal standard on assistance of counsel under the Sixth
      08/10/11    Fisher       2.50   $        330.00 $          825.00
381                                                                       Amendment;
                                                                          Telephone call to client's sister and correspondence regarding same [.1]; revised
      08/11/11   Boschen       0.70   $        150.00 $          105.00
382                                                                       witness search list [.5]; correspondence regarding same [.1].
                                                                          Prepared for and participated in Rule 26(f) conference [2.2]; meetings with co‐counsel
      08/11/11   Marshall      7.30   $        375.00 $      2,737.50
                                                                          regarding same and case strategy issues [4.4]; worked on discovery issues [.7].
383
                                                                      Travel to Seattle re Rule 26 conference and meeting w/ expert (1.5); Prepare for Rule 26
      08/11/11   Zuchetto      6.50   $        330.00 $      2,145.00 conference and participate in same (1.0); Strategy meeting w/ co‐counsel and meeting
384                                                                   w/ expert and debrief re same (4.0).




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 1               KEEPER
                                                                        Teleconference with David Carlson regarding "next friend" standing; review Rule
                                                                        17(c)(2) and conduct legal research concerning standard for rule; review and revise draft
      08/11/11   Dunne         2.50   $        380.00 $          950.00 discovery requests; meeting with N. Talner, J. Williams, C. Fisher, T. Marshall and M.
                                                                        Zuchetto regarding case strategy and mediation; mtg with B. Boruchowitz regarding
385                                                                     case and experts
                                                                          Attend meeting with co‐counsel and consulting expert regarding possible experts, legal
      08/11/11    Talner       1.50   $        400.00 $          600.00
                                                                          standards applicable to the case, and how to gather proof that that standard is met
386
                                                                      Prepare for and attend CR 26(f) conference on joint status report; discuss case strategy
                                                                      with T. Marshall; review correspondence from team on meeting with B. Boruchowitz;
      08/11/11   Williams      4.00   $        580.00 $      2,320.00
                                                                      meet with ACLU attorneys and co‐counsel to discuss expert witnesses; meet with B.
                                                                      Boruchowitz on expert witness testimony;
387
                                                                        Reviewed and revised plaintiffs' first discovery requests to each defendant; prepared
      08/12/11    Kinsey       1.80   $        100.00 $          180.00 declaration of service regarding same; email correspondence regarding Sybrandy and
388                                                                     Witt subpoenas.
                                                                      Telephone conference and email correspondence with co‐counsel regarding case
                                                                      strategy issues [.5]; worked on same [.3]; worked on revisions to joint status report [.6];
                                                                      researched and analyzed issues regarding ability to get fees where defendant
                                                                      voluntarily stops engaging in unconstitutional behavior [.3]; telephone call from
      08/12/11   Marshall      3.10   $        375.00 $      1,162.50
                                                                      consulting expert regarding expert issues [.2]; researched background of Mr. Boerner
                                                                      [.1]; email correspondence with co‐counsel regarding Mr. Boerner's services as expert
                                                                      witness [.2]; worked on document management issues [.1]; worked on discovery issues
                                                                      [.7]; left message with Mr. Boerner regarding expert services [.1].
389
      08/12/11   Dunne         0.20   $        380.00 $           76.00 Email correspondence with co‐counsel re legal standard for next friend standing
390
391   08/12/11   Williams      0.50   $        580.00 $        290.00 Review draft Joint Status Report and provide comments on same;
392   08/13/11    Fisher       0.70   $        330.00 $        231.00 Draft expert retention agreements;
                                                                      Worked on initial disclosures [1.0]; researched and analyzed issues regarding same [.4];
      08/14/11   Marshall      3.00   $        375.00 $      1,125.00 worked on discovery requests to Defendants [1.0]; worked on subpoenas for documents
393                                                                   to Mr. Sybrandy and Mr. Witt [.6].




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 1               KEEPER
                                                                        Email correspondence with co‐counsel regarding discovery requests [.2]; worked on
                                                                        same and subpoenas to Mr. Sybrandy and Mr. Witt [.5]; telephone call from Mr.
                                                                        Boerner regarding expert issues [.1]; email correspondence with co‐counsel regarding
      08/15/11   Marshall      2.50   $        375.00 $          937.50
                                                                        same [.1]; telephone call from co‐counsel regarding strategy for obtaining early
                                                                        summary judgment or preliminary injunction [.4]; telephone call from co‐counsel
                                                                        regarding discovery issues [.1]; worked on expert issues [1.1].
394
395   08/15/11   Zuchetto      2.30   $        330.00 $          759.00 Work on discovery requests to Mt. V and Burlington.
      08/15/11    Dunne        0.30   $        380.00 $          114.00 Review emails from co‐counsel regarding case strategy and discovery and experts
396
397   08/15/11    Talner       0.50   $        400.00 $          200.00 Review and revise draft discovery requests
                                                                        Reviewed and revised plaintiffs' initial disclosures; reviewed and revised exhibits to
                                                                        Sybrandy and Witt subpoenas; reviewed, revised and finalized plaintiffs' first discovery
      08/16/11    Kinsey       2.80   $        100.00 $          280.00 requests to City of Mount Vernon and City of Burlington; arranged delivery by
                                                                        messenger of same; email correspondence to and from service of process of Sybrandy
398                                                                     and Witt subpoenas.
      08/16/11   Boschen       5.50   $        150.00 $          825.00 Worked on Plaintiffs' Initial Disclosures and correspondence regarding same [5.5].
399
                                                                          Worked on subpoenas to Mr. Witt and Mr. Sybrandy [.4]; email correspondence with co‐
                                                                          counsel regarding same [.1]; worked on initial disclosures [.2]; meeting with experts
      08/16/11   Marshall      4.60   $        375.00 $      1,725.00     regarding various issues and telephone conference with co‐counsel regarding same
                                                                          [2.9]; telephone conferences with fact witnesses and worked on issues related to same
400                                                                       [1.0].
401   08/16/11   Zuchetto      1.50   $        330.00 $          495.00   Research and analyze injunctive and declaratory relief standards.
                                                                          Review and respond to emails from co‐counsel re discovery and motion for preliminary
      08/16/11    Dunne        0.20   $        380.00 $           76.00
402                                                                       injunction
                                                                          Meet with consulting expert, potential expert, and co‐counsel to discuss misdemeanor
      08/16/11    Talner       1.60   $        400.00 $          640.00
403                                                                       defense practices
                                                                          Research standard used by courts in regards to assistance of counsel in indigent defense
      08/16/11    Fisher       1.60   $        330.00 $          528.00
404                                                                       cases;
                                                                          Review emails on case strategy and status of experts; continue review of background
      08/16/11   Williams      1.50   $        580.00 $          870.00
405                                                                       materials;




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 1               KEEPER
                                                                          Reviewed, revised and finalized Sybrandy and Witt subpoenas; prepared declaration of
      08/17/11    Kinsey       1.20   $        100.00 $          120.00
                                                                          service; arranged service of process; arranged delivery by messenger.
406
                                                                          Drafted letter to Ms. Osborne and prepared mailing of same [.3]; continued work on
      08/17/11   Boschen       4.50   $        150.00 $          675.00
407                                                                       initial disclosures [4.2].
                                                                          Prepared for court hearing regarding conflict issues and travelled to Skagit County for
      08/17/11   Marshall      2.00   $        375.00 $          750.00
408                                                                       same [1.8]; worked on initial disclosures [.2].
409   08/17/11   Zuchetto      0.75   $        330.00 $          247.50   Work on initial disclosures.
410   08/17/11    Talner       0.10   $        400.00 $           40.00   Telephone call to potential expert witness
                                                                          Draft expert retention agreements for additional experts; read emails from team;
      08/17/11    Fisher       0.40   $        330.00 $          132.00
411                                                                       research issues;
                                                                        Continued work on initial disclosures and preparation of documents for production
                                                                        [3.1]; drafted letter regarding same [.2]; prepared mailing of same [.2]; correspondence
      08/18/11   Boschen       4.20   $        150.00 $          630.00
                                                                        regarding same [.2]; uploaded disclosures to repository [.1]; correspondence regarding
                                                                        experts [.1]; telephone conferences with witness [.2]; updated production log [.1].
412
                                                                      Email correspondence and telephone conference with co‐counsel regarding initial
                                                                      disclosures and expert witnesses [.4]; telephone conference with Ms. Kenimond
      08/18/11   Marshall      5.40   $        375.00 $      2,025.00 regarding factual background issues [.3]; worked on same [1.2]; worked on case strategy
                                                                      issues [.3]; telephone conferences with fact witnesses [1.8]; worked on factual
413                                                                   background issues [1.4].
                                                                      Research and analyze injunctive relief, discuss same w/ co‐counsel (1.75); Review and
      08/18/11   Zuchetto      2.50   $        330.00 $        825.00
414                                                                   analyze Defendants’ initial disclosures (.75).
                                                                        Teleconfernece with co‐counsel regarding case strategy and motion for preliminary
      08/18/11    Dunne        0.90   $        380.00 $          342.00 injunction; review emails from co‐counsel regarding experts; review emails from co‐
                                                                        counsel regarding documents; review and revise Plaintiff's Initial Disclosures
415
416   08/18/11    Talner       0.60   $        400.00 $        240.00 Telephone call with co‐counsel to discuss case strategy
                                                                      Edit initial discovery responses; research issues for brief; conference call regarding
      08/18/11    Fisher       4.00   $        330.00 $      1,320.00
417                                                                   preliminary injunction and declaratory relief motions;
                                                                          Email correspondence with expert regarding meeting [.1]; email correspondence with
      08/19/11   Marshall      0.20   $        375.00 $           75.00
                                                                          co‐counsel regarding discovery and factual background issues [.1].
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 1               KEEPER
      08/19/11   Dunne         0.30   $        380.00 $          114.00 Review emails from co‐counsel regarding case strategy and discovery and witnesses
419
                                                                          Telephone calls to potential expert witnesses; telephone call with potential expert
      08/19/11    Talner       0.60   $        400.00 $          240.00
                                                                          witness; emails to co‐counsel discussing communication with potential expert witnesses
420
                                                                      Review email exchange on motion to amend complaint to add disabled plaintiff Osborn;
      08/19/11   Williams      2.00   $        580.00 $      1,160.00 review email exchange on expert witness and suggest process for collecting
                                                                      declarations; coordinate with D. Boerner on meeting to discuss expert testimony;
421
                                                                          Research and write memo regarding the right to counsel, the standard for pre‐
      08/20/11    Fisher       5.70   $        330.00 $      1,881.00
422                                                                       conviction Sixth Amendment claims; defenses, and relief;
                                                                          Write memo regarding the right to counsel, the standard for pre‐conviction Sixth
      08/21/11    Fisher       5.10   $        330.00 $      1,683.00
423                                                                       Amendment claims; defenses, and relief;
                                                                          Worked on expert issues [.1]; email correspondence with co‐counsel regarding same
      08/22/11   Marshall      0.20   $        375.00 $           75.00
424                                                                       [.1].
                                                                          Telephone call with potential expert; telephone call with co‐counsel's paralegal
      08/22/11    Talner       0.10   $        400.00 $           40.00
425                                                                       regarding documents to give potential expert
426   08/22/11   Williams      2.00   $        580.00 $      1,160.00     Prepare for meeting with potential expert witness Dave Boerner;
                                                                        Loaded Plaintiffs' production to shared site [.7]; correspondence regarding same [.1];
                                                                        prepared productions to expert witnesses [.2]; correspondence regarding same;
                                                                        updated production log [.1]; telephone conference with Burlington Municipal Court
      08/23/11   Boschen       1.70   $        150.00 $          255.00
                                                                        regarding hearing date [.1]; uploaded files to secure FTP [.1]; correspondence regarding
                                                                        media files [.1]; reviewed Burlington's discovery requests [.2]; telephone call to client's
                                                                        sister regarding documents [.1].
427
                                                                      Telephone calls from Ms. Johnson regarding status of incarceration and upcoming
                                                                      hearings [.2]; analyzed issues regarding same [.2]; reviewed documents from Ms.
                                                                      Osborne [.3]; analyzed issues regarding inclusion of Mr. Osborne and Ms. Johnson in
      08/23/11   Marshall      4.90   $        375.00 $      1,837.50 lawsuit [.7]; email memorandum to co‐counsel regarding same [.2]; worked on expert
                                                                      issues [.3]; meeting with Mr. Boerner and co‐counsel regarding factual background and
                                                                      expert issues [2.6]; meeting with co‐counsel regarding potential additional named
428                                                                   plaintiffs [.4].
429   08/23/11   Dunne         0.20   $        380.00 $         76.00 Review emails from co‐counsel regarding possible new plaintiffs



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 1               KEEPER
                                                                      Read emails from co‐counsel regarding case strategy; meet with potential expert
      08/23/11    Talner       3.10   $        400.00 $      1,240.00 witness and co‐counsel; review newly obtained documents from one criminal case file
                                                                      and email co‐counsel regarding issues posed by those documents.
430
                                                                      Continue preparation for expert witness interview with Dave Boerner; meet with D.
      08/23/11   Williams      4.00   $        580.00 $      2,320.00 Boerner to discuss potential expert opinion for case; exchange emails with team on
431                                                                   discovery requests;
                                                                      Reviewed declarations of service of Sybrandy and Witt subpoenas; researched court
      08/24/11    Kinsey       0.40   $        100.00 $         40.00 filing requirements under Fed. R. Civ. P. and local rules; email correspondence regarding
432                                                                   same;
                                                                      Correspondence regarding expert productions and retainers [.2]; drafted and emailed
                                                                      public disclosure request to Mount Vernon Municipal Court [.3]; correspondence
      08/24/11   Boschen       0.80   $        150.00 $        120.00
                                                                      regarding audio files and productions [.2]; personal conference regarding calls to
433                                                                   potential witnesses [.1].
                                                                      Email to opposing counsel regarding joint status report [.1]; worked on expert and
                                                                      discovery issues [.4]; worked on witness interview issues [.2]; analyzed issues regarding
                                                                      Mr. Osborne's claims [.2]; left message with Ms. Osborne regarding factual background
                                                                      issues [.1]; email correspondence with co‐counsel regarding same [.1]; reviewed co‐
      08/24/11   Marshall      4.60   $        375.00 $      1,725.00 counsel's memorandum regarding legal standard for preconviction Sixth Amendment
                                                                      claims [.4]; researched and analyzed issues regarding same [.2]; worked on outline of
                                                                      relief being sought on preliminary injunction [1.1]; researched and analyzed issues
                                                                      regarding same [1.3]; worked on factual background section for preliminary approval
                                                                      motion [.5].
434
                                                                        Meeting with J. Strait regarding expert witness; review emails from co‐counsel
      08/24/11   Dunne         0.80   $        380.00 $          304.00
435                                                                     regarding possible new plaintiffs and discovery and case strategy
436   08/25/11    Kinsey       0.90   $        100.00 $           90.00 Reviewed, revised and finalized joint status report; arranged filing.
437   08/25/11   Boschen       0.10   $        150.00 $           15.00 Updated production log [.1].




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                                                                      Researched and analyzed issues regarding relief to obtain on preliminary injunction and
                                                                      legal standards supporting same [1.8]; drafted memorandum regarding same [1.0];
                                                                      telephone call from Ms. Howson regarding factual background issues [.3]; email
                                                                      memorandum to opposing counsel regarding same and notices that Mr. Witt and Mr.
                                                                      Sybrandy send to new clients [.5]; analyzed issues regarding defendants' revisions to
                                                                      joint status report [.1]; email correspondence with co‐counsel regarding same [.1];
      08/25/11   Marshall      8.40   $        375.00 $      3,150.00 worked on finalization of joint status report [.1]; reviewed Mr. Witt's objections to
                                                                      subpoena duces tecum [.1]; analyzed issues regarding same and motion to compel
                                                                      requested documents [.5]; email correspondence with co‐counsel regarding same [.1];
                                                                      researched and analyzed issues regarding ability of cities to shut down municipal courts
                                                                      [1.8]; telephone call from Mr. Howson regarding factual background issues [.2]; email to
                                                                      co‐counsel regarding same [.2]; worked on case strategy issues [.5]; telephone
                                                                      conference with witness regarding factual background issues [1.1].
438
                                                                        Review email from A. Rosenberg regarding Joint Status Report; email correspondence
      08/25/11   Dunne         0.30   $        380.00 $          114.00 with co‐counsel regarding same; review response from Witt to subpoena and email
                                                                        correspondence with co‐counsel regarding Witt's response and objections to subpoena
439
                                                                          Read emails from co‐counsel regarding case strategy; send emails to co‐counsel
      08/25/11    Talner       0.50   $        400.00 $          200.00
440                                                                       regarding possible legal issues in the case
                                                                          Review correspondence from co‐counsel on discovery dispute and Joint Status Report;
      08/25/11   Williams      1.50   $        580.00 $          870.00   meet with C. Fisher to discuss process for motion to compel production from Witt and
441                                                                       Sybrandy;
                                                                          Researched and analyzed issues regarding structure of municipal courts [.1]; email
      08/26/11   Marshall      1.20   $        375.00 $          450.00   correspondence with co‐counsel regarding same [.1]; telephone conference with co‐
442                                                                       counsel regarding expert issues [1.0].
                                                                          Read team emails; conduct preliminary research on consolidation of courts; review
      08/26/11    Fisher       0.60   $        330.00 $          198.00
443                                                                       material on Grant County case;
                                                                          Worked on expert and witness issues [.2]; worked on case strategy issues [.1];
      08/27/11   Marshall      1.40   $        375.00 $          525.00   researched and analyzed issues regarding legal standards applicable to systemic, pre‐
444                                                                       certification Sixth Amendment claims [1.1].
                                                                          Researched and analyzed issues regarding legal standards for systemic, pre‐certification
      08/28/11   Marshall      1.80   $        375.00 $          675.00
445                                                                       Sixth Amendment claims [1.8].


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 1               KEEPER
                                                                      Scanned and emailed expert contract [.1]; worked on supplemental witness disclosures
      08/29/11   Boschen       0.80   $        150.00 $        120.00 [.3]; reviewed correspondence and potential supplemental production [.2];
446                                                                   correspondence regarding discovery and production [.2];
                                                                      Researched and analyzed issues regarding legal standards for systemic, pre‐certification
      08/29/11   Marshall      2.80   $        375.00 $      1,050.00
447                                                                   Sixth Amendment claims [2.8].
                                                                      Office Conference with Zuchetto re: obtaining statutory history and obtained archived
      08/29/11   Bergland      0.10   $        190.00 $         19.00
448                                                                   version of statute available on Lexis.
                                                                      Analyze and research re combing municipal court w/ district court (1.25); Read and
      08/29/11   Zuchetto      1.50   $        330.00 $        495.00
449                                                                   analyze discovery to plaintiffs (.25).
                                                                      Telephone call to Glen Hoff's office [.1]; researched witnesses contact information [.2];
      08/30/11   Boschen       0.40   $        150.00 $         60.00
450                                                                   updated supplemental witness disclosure [.1];
                                                                      Worked on case strategy issues [.2]; worked on amended complaint [1.6]; researched
                                                                      and analyzed issues regarding factual background [1.4]; worked on client contact issues
                                                                      [.1]; worked on witness interview issues [.4]; analyzed issues regarding Mr. Sybrandy's
      08/30/11   Marshall      4.80   $        375.00 $      1,800.00 request for extension to produce documents [.2]; telephone conference with co‐counsel
                                                                      regarding motion for preliminary injunction and case strategy issues [.4]; email
                                                                      correspondence with co‐counsel regarding same [.1]; analyzed issues regarding
                                                                      representation of next friend [.4].
451
      08/30/11   Bergland      0.20   $        190.00 $           38.00 Research re: text of RCW 3.46.155 before repeal and e‐mail same to Zuchetto.
452
                                                                        Review and analyze Sybrandy letter re Subpoena Duces Tecum and discuss w/ co‐
      08/30/11   Zuchetto      0.25   $        330.00 $           82.50
453                                                                     counsel.
                                                                        Discuss strategy and work plan re discovery responses, meet and confer and preliminary
      08/30/11   Zuchetto      1.25   $        330.00 $          412.50
454                                                                     injunction (.5); review and work on same (.75).
455   08/31/11    Kinsey       0.30   $        100.00 $           30.00 Letter to Mr. Sybrandy regarding subpoena response time extension.
                                                                      Email correspondence with co‐counsel regarding case strategy issues [.2]; analyzed
                                                                      issues regarding Mr. Sybrandy's request for extension on response to subpoena [.2];
                                                                      drafted letter to Mr. Sybrandy regarding same [.3]; telephone conference with Ms.
      08/31/11   Marshall      4.00   $        375.00 $      1,500.00 Osborne regarding factual background issues and participation in lawsuit [1.0]; worked
                                                                      on amended complaint [1.2]; researched and analyzed issues regarding factual
                                                                      background [1.0]; email correspondence with co‐counsel regarding motion to compel
                                                                      production of documents by Mr. Witt [.1].
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 1               KEEPER
                                                                      Review material to draft motion to compel Witt to comply with subpoena duces tecum;
      08/31/11    Fisher       5.10   $        330.00 $      1,683.00 email J. Williams regarding suggestions on how to approach compliance from Witt;
457                                                                   organize materials; read team emails;
                                                                      Exchange emails on case action items and C. Fisher approach to setting up CR 37
      08/31/11   Williams      0.50   $        580.00 $        290.00
458                                                                   meeting in anticipation of motion to compel;
                                                                      Email correspondence from opposing counsel regarding Word versions of discovery
      09/01/11    Kinsey       0.50   $        100.00 $         50.00
459                                                                   requests; arranged email delivery of same.
460   09/01/11   Boschen       0.10   $        150.00 $         15.00 Telephone conference with Mr. Hoff's office regarding client contact [.1].

                                                                      Worked on document management issues [.2]; worked on amended complaint [.6];
                                                                      drafted declaration from Ms. Osborne [1.4]; email correspondence with co‐counsel
                                                                      regarding same [.1]; worked on revisions to same [.1]; worked on action items list for
                                                                      preliminary injunction and case strategy issues [.4]; email correspondence with co‐
                                                                      counsel regarding Ms. Osborne's involvement in case and related documents [.2]; left
                                                                      message with Mr. Dela Cruz regarding contact information for Ms. Montague [.1]; email
                                                                      correspondence with indigent defendant regarding same [.1]; worked on witness
      09/01/11   Marshall      5.50   $        375.00 $      2,062.50
                                                                      interviews [.2]; exchanged messages with Mr. Hoff's office [.1]; telephone conference
                                                                      with Mr. Hoff's assistant regarding discovery process in Mount Vernon and Burlington
                                                                      municipal courts [.2]; email correspondence with co‐counsel regarding same [.2];
                                                                      worked on motion to amend complaint [.6]; worked on responses to defendants'
                                                                      discovery requests [.2]; researched and analyzed issues regarding same [.4]; telephone
                                                                      conference and email correspondence with co‐counsel regarding same [.3]; email
                                                                      correspondence with co‐counsel regarding representation of Ms. Osborne [.1].
461
                                                                          Read and analyze letter to Witt counsel (.3); Work on Moon and Wilbur discovery
      09/01/11   Zuchetto      2.65   $        330.00 $          874.50
                                                                          responses (1.25); Read and analyze rep. agreement and declaration (1.1).
462
                                                                          Draft letter to M. Witt's counsel requesting a Rule 37 conference; send draft to J.
      09/01/11    Fisher       4.60   $        330.00 $      1,518.00
                                                                          Williams for approval; read emails from team; review and edit J. Osborne's declaration;
463
                                                                        Exchange emails on addition of Jaretta Osborne as class representative; edit CR 37 letter
      09/01/11   Williams      1.00   $        580.00 $          580.00
464                                                                     to attorney for Witt;
                                                                        Correspondence regarding document productions to experts [.1]; updated production
      09/02/11   Boschen       0.30   $        150.00 $           45.00
465                                                                     log [.1]; updated production log to PC document site [.1].


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                                                                      Analyzed issues regarding deadline for joining additional parties [.1]; email
                                                                      correspondence with co‐counsel regarding same [.1]; worked on witness interview
                                                                      issues [.3]; telephone conferences with co‐counsel regarding same [.2]; worked on
                                                                      expert issues [.3]; email correspondence with co‐counsel regarding same [.2]; email
                                                                      correspondence with co‐counsel regarding case strategy issues [.2]; drafted letter to
      09/02/11   Marshall      3.80   $        375.00 $      1,425.00
                                                                      Ms. Osborne regarding representation [.1]; finalized documentation for Ms. Osborne to
                                                                      sign regarding same [.2]; email correspondence with co‐counsel regarding factual
                                                                      background issues [.2]; worked on motion for leave to amend complaint [.8]; researched
                                                                      and analyzed issues regarding same [.5]; worked on amendments to complaint [.4];
                                                                      email correspondence with co‐counsel regarding case strategy issues [.2].
466
                                                                        Meeting with Zuchetto re: call persons on witness list who have been involved with
      09/02/11   Bledsoe       0.75   $        120.00 $           90.00 Sybrandy or Witt (.25); Called individuals on witness list attempting to gather their
                                                                        information on their experience with either on of them (.5).
467
                                                                        Call to potential witnesses and discuss same w/ co‐counsel (1.25); Work on Moon
      09/02/11   Zuchetto      3.00   $        330.00 $          990.00
468                                                                     discovery responses (1.75).
                                                                        Read emails from co‐counsel regarding additional evidence and comment on that
      09/02/11    Talner       0.20   $        400.00 $           80.00
469                                                                     evidence
                                                                        Review production log and prepare document index; download and print plaintiff
                                                                        production to expert D. Boerner; assemble D. Boerner working material binder for
      09/02/11     Higa        3.20   $        155.00 $          496.00
                                                                        attorney review; email conference with co‐counsel paralegal regarding status of
                                                                        production and production log, and prepare email report for attorney addressing same;
470
      09/02/11    Fisher       2.10   $        330.00 $          693.00 Edit amended complaint; draft and send rule 37 conference letter to opposing counsel;
471
472   09/03/11   Marshall      0.20   $        375.00 $           75.00 Worked on factual background issues [.2].
473   09/06/11    Kinsey       0.20   $        100.00 $           20.00 Reviewed, revised and finalized letter to indigent defendant.
                                                                        Correspondence regarding public disclosure requests and timelines [.2];
      09/06/11   Boschen       0.50   $        150.00 $           75.00 correspondence regarding client [.1]; correspondence regarding production [.1];
474                                                                     updated client contact information [.1].




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                                                                        Email correspondence with co‐counsel regarding court observations [.1]; analyzed
                                                                        issues regarding representation of indigent defendant [.1]; email correspondence with
                                                                        co‐counsel regarding same [.1]; message from Ms. Johnson regarding factual
                                                                        background issues [.1]; telephone conference with Ms. Johnson regarding factual
      09/06/11   Marshall      2.20   $        375.00 $          825.00 background issues and termination of representation [.2]; email correspondence with
                                                                        co‐counsel regarding expert issues [.2]; worked on responses to defendants' discovery
                                                                        requests [.8]; researched factual background issues regarding same [.2]; reviewed letter
                                                                        from Mr. Sybrandy regarding objections to subpoena [.1]; researched and analyzed
                                                                        issues regarding same [.2]; email correspondence with co‐counsel regarding same [.1].
475
                                                                          Review and analyze letter from Sybrandy re docs. (.25); Discuss w/ co‐counsel (.25);
      09/06/11   Zuchetto      2.50   $        330.00 $          825.00
                                                                          Work on discovery responses re Moon, Wilbur and Montague (2.0).
476
                                                                        Emails to co‐counsel regarding getting info to and from expert witnesses; review
      09/06/11    Talner       1.20   $        400.00 $          480.00 documents in potential new plaintiff or witness's case, research issues related to it, and
477                                                                     send comments to co‐counsel
                                                                        Prepare for rule 37 conference; participate in conference with J. Williams; draft letter
      09/06/11    Fisher       2.70   $        330.00 $          891.00
478                                                                     summarizing conference;
                                                                      Review discovery requests to M. Witt in preparation for CR 37 conference call with
      09/06/11   Williams      2.00   $        580.00 $      1,160.00 Witt's attorney on objections to M. Witt subpoena; CR 37 conference with M. Witt
                                                                      attorney on objections and extension of time to deliver unobjectionalbe documents;
479
                                                                          Personal conference regarding discovery responses [.5]; reviewed client case history
      09/07/11   Boschen       1.60   $        150.00 $          240.00
480                                                                       and interview notes [1]; correspondence regarding same [.1].
                                                                          Worked on responses to defendants' discovery requests [1.0]; worked on witness
      09/07/11   Marshall      2.60   $        375.00 $          975.00
481                                                                       declarations and related issues [1.6].
482   09/07/11   Zuchetto      1.75   $        330.00 $          577.50   Work on Moon discovery responses.
483   09/07/11    Talner       0.20   $        400.00 $           80.00   Emails with co‐counsel regarding discovery issues
                                                                          Draft letter summarizing rule 37 conference with M. Witt's attorney, J. Murphy; read
                                                                          emails from team regarding Osborne and amended complaint; read letter from R.
      09/07/11    Fisher       6.40   $        330.00 $      2,112.00     Sybrandy regarding production of documents; read plaintiffs and amicus curiae brief
                                                                          sent by N. Talner regarding deprivation of Sixth Amendment right to indigent
484                                                                       defendants in Texas;


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 1               KEEPER
485   09/07/11   Williams      0.50   $        580.00 $          290.00 Review, edit and approve CR 37 letter to attorney for Mr. Witt;
                                                                        Drafted PDR to Burlington Municipal Court and drafted email to Court regarding same
                                                                        [.3]; correspondence regarding same [.1]; telephone conference and correspondence
                                                                        with Burlington Municipal Court regarding PDR [.2]; personal conference regarding
      09/08/11   Boschen       3.90   $        150.00 $          585.00 client documents and discovery [.2]; prepared cover letter and mailing of PDR payment
                                                                        [.2]; reviewed discovery requests and client case files [1.1]; produced additional
                                                                        documents to experts [.2]; updated production log and online repository [.2]; reviewed
                                                                        client case files and commenced drafting timeline for declaration [1.4].
486
                                                                      Worked on factual background investigations [1.2]; worked on letter to Mr. Sybrandy
      09/08/11   Marshall      4.00   $        375.00 $      1,500.00 regarding subpoena [.6]; worked on factual background issues regarding Osbornes [1.0];
487                                                                   worked on declaration of Ms. Osborne [1.2].
                                                                      Work on Osborne/motion to amend complaint (.75); Work on response re Sybrandy
      09/08/11   Zuchetto      2.50   $        330.00 $        825.00
488                                                                   subpoena issue and research re same (1.75).
      09/08/11    Talner       0.80   $        400.00 $          320.00 Research protective order issues; email co‐counsel regarding info to share with experts
489
                                                                        Talk with J. Williams and T. Marshall about protective orders; research protective orders
      09/08/11    Fisher       2.10   $        330.00 $          693.00
490                                                                     in federal court; review draft of protective order;
                                                                        Review email from C. Fisher on request for protective order from Witt's attorney and
      09/08/11   Williams      0.50   $        580.00 $          290.00 discussion of same with C. Fisher; review emails from ACLU's Nancy Talner on recent
491                                                                     legal developments;
                                                                        Telephone conference with client and personal conference regarding same [1.6];
      09/09/11   Boschen       1.90   $        150.00 $          285.00
492                                                                     reviewed notes regarding same [.2]; printed letter to Sybrandy [.1];
                                                                      Telephone conference with co‐counsel regarding expert issues [.5]; worked on Ms.
                                                                      Montague's responses to defendants' discovery requests [1.2]; drafted letter to Mr.
      09/09/11   Marshall      3.10   $        375.00 $      1,162.50
                                                                      Sybrandy regarding subpoena [.2]; telephone conference with co‐counsel regarding
                                                                      discovery issues [.5]; worked on same [.7].
493
494   09/09/11   Zuchetto      0.75   $        330.00 $          247.50 Work on letter to Sybrandy.
495   09/09/11    Talner       0.30   $        400.00 $          120.00 Telephone call with co‐counsel to discuss protective order issues
                                                                        Attend conference call with team to discuss protective order and other matters; read
      09/09/11    Fisher       1.80   $        330.00 $          594.00 and reply to team emails; draft letter to J. Murphy in response to his request for a
496                                                                     protective order;



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 1               KEEPER
                                                                        Meet with C. Fisher to discuss protective order and confidentiality agreements;
      09/09/11   Williams      1.00   $        580.00 $          580.00
497                                                                     conference call with team on same;
                                                                        Continued work on client chronology; commenced drafting declaration for motion for
      09/10/11   Boschen       1.00   $        150.00 $          150.00
498                                                                     preliminary injunction.
      09/12/11   Boschen       1.30   $        150.00 $          195.00 Continued drafting client declaration for motion for preliminary injunction [1.3].
499
                                                                      Worked on motion for leave to amend complaint [.3]; researched and analyzed issues
                                                                      regarding same [.2]; telephone call from co‐counsel regarding same [.2]; reviewed
                                                                      documents for factual background investigation [.8]; telephone call from co‐counsel
                                                                      regarding discovery and case strategy issues [.4]; left message with and email to Ms.
                                                                      Osborne regarding declaration [.2]; worked on declaration of indigent defendant [.3];
      09/12/11   Marshall      4.10   $        375.00 $      1,537.50
                                                                      left message with indigent defendant regarding same [.1]; email correspondence with
                                                                      co‐counsel regarding same [.1]; email correspondence with co‐counsel regarding
                                                                      proposed amended complaint [.1]; worked on Mr. Moon's responses to defendants'
                                                                      discovery requests [.7]; worked on factual background issues for preliminary injunction
                                                                      motion [.7].
500
                                                                          Work on Moon discovery responses (3.0); Review, analyze and discuss motion to amend
      09/12/11   Zuchetto      4.00   $        330.00 $      1,320.00
                                                                          complaint w/ co‐counsel (.75); Review and analyze e‐mail from Witt witness (.25).
501
      09/12/11    Fisher       2.40   $        330.00 $          792.00 Edit and letter to J. Murphy regarding protective order; update research memo;
502
                                                                        Review emails and coordinate with C. Fisher on Judge Skilton and notice of interview to
      09/12/11   Williams      0.50   $        580.00 $          290.00
503                                                                     opposing counsel;
                                                                        Telephone call to and correspondence with client [.2]; completed draft of client
      09/13/11   Boschen       1.40   $        150.00 $          210.00 declaration for motion for preliminary injunction and correspondence regarding same
504                                                                     [1]; reviewed client case file [.2];




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                                                                      Telephone conference and email correspondence with co‐counsel regarding responses
                                                                      to defendants' discovery requests [.5]; researched and analyzed issues regarding same
                                                                      [.5]; worked on responses to defendants' discovery requests [2.1]; worked on
      09/13/11   Marshall      5.50   $        375.00 $      2,062.50 declaration of Ms. Montague [1.3]; worked on documents relating to motion for leave
                                                                      to amend complaint [.1]; worked on indigent defendant's declaration [.2]; telephone
                                                                      conference with indigent defendant regarding factual background issues and
                                                                      declaration [.5]; researched and analyzed issues regarding same [.3].
505
      09/13/11   Bledsoe       0.50   $        120.00 $           60.00 Assist Zuchetto in review of and response to Interrogatories 1‐4 in Wilbur discovery.
506
507   09/13/11   Zuchetto      2.80   $        330.00 $          924.00 Work on responses to Moon discovery requests.
      09/13/11    Talner       0.40   $        400.00 $          160.00 Review draft declaration of potential witness and send comments to co‐counsel
508
                                                                          Read team emails; conduct conference call with J. Murphy regarding production of
      09/13/11    Fisher       0.20   $        330.00 $           66.00
509                                                                       requested documents;
                                                                          Telephone calls to and correspondence with clients [.2]; reviewed draft amended
      09/14/11   Boschen       0.50   $        150.00 $           75.00
510                                                                       complaint [.2]; correspondence regarding same [.1];
                                                                          Worked on amended complaint [.3]; email correspondence with co‐counsel regarding
                                                                          same [.1]; telephone conference with Ms. Osborne regarding representation and
                                                                          declaration [.5]; email correspondence with Ms. Osborne regarding Mr. Osborne's case
      09/14/11   Marshall      2.10   $        375.00 $          787.50
                                                                          file [.1]; worked on Ms. Osborne's declaration [.2]; worked on Mr. Wilbur's responses to
                                                                          defendants' discovery requests [.6]; telephone conference with co‐counsel regarding
511                                                                       same [.3].
                                                                          Work on Moon and Wilbur discovery responses (2.25); Work on motion to amend
      09/14/11   Zuchetto      3.00   $        330.00 $          990.00
512                                                                       complaint (.75).
                                                                          Conduct legal research re interview of potential witnesses who are judicial officers and
      09/14/11    Fisher       0.90   $        330.00 $          297.00
513                                                                       subpoena process for same
      09/15/11    Kinsey       1.80   $        100.00 $          180.00 Reviewed, revised and finalized motion to amend complaint; arranged filing and service.
514
                                                                        Telephone calls to and correspondence with clients [.2]; telephone conferences and
                                                                        correspondence regarding declarations, supplemental disclosures, discovery requests
      09/15/11   Boschen       1.60   $        150.00 $          240.00
                                                                        [.2]; reviewed declarations, amended complaint and draft discovery responses [.3];
                                                                        bates labeled supplemental production [.2]; worked on disovery responses [.7];
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                                                                      Worked on document management issues [.2]; left message with Ms. Osborne
                                                                      regarding factual background issues [.1]; worked on supplemental disclosures [.3];
                                                                      worked on Wilbur discovery responses [1.0]; telephone conference with co‐counsel
                                                                      regarding same [.6]; worked on Montague discovery responses [.2]; reviewed Mount
      09/15/11   Marshall      4.20   $        375.00 $      1,575.00
                                                                      Vernon's discovery responses [.3]; left message with indigent defendant regarding
                                                                      declaration [.1]; telephone conference with Ms. Osborne regarding factual background
                                                                      issues [.2]; telephone conference with indigent defendant regarding factual background
                                                                      [.8]; worked on declaration of indigent defendant [.4].
516
                                                                        Work on response to Wilbur discovery requests (1.5); Review and analyze Mt. Vernon
      09/15/11   Zuchetto      3.00   $        330.00 $          990.00 discovery responses (.5); Analyze standing (.5); Work on response to Montague
517                                                                     discovery requests (.5).
518   09/15/11    Talner       0.20   $        400.00 $           80.00 Respond to co‐counsel email re public defender practices
                                                                        Research whether we may contact a person that defendants designated as their
      09/15/11    Fisher       1.20   $        330.00 $          396.00 witness; draft letter to opposing counsel informing them that we will be interviewing ex
519                                                                     parte S. Skelton; update research memo;
520   09/15/11   Williams      0.50   $        580.00 $          290.00 Edit letter to defendants advising of Judge Skelton witness interview;
                                                                      Worked on factual background issues regarding Judge Skelton [.2]; email
                                                                      correspondence with co‐counsel regarding same [.2]; worked on discovery issues [.4];
                                                                      reviewed defendants' document production [1.0]; worked on declaration of Mr.
                                                                      Sanchez [.4]; researched and analyzed issues regarding same [.1]; worked on declaration
                                                                      of Mr. Wilbur [.3]; worked on discovery responses of Mr. Wilbur [1.0]; email
      09/16/11   Marshall      6.80   $        375.00 $      2,550.00
                                                                      correspondence with co‐counsel regarding same [.2]; analyzed issues regarding factual
                                                                      background and testimony of Ms. Clements [.6]; worked on declaration of indigent
                                                                      defendant [1.0]; researched and analyzed issues regarding same [.4]; reviewed indigent
                                                                      defendant's case files [.8]; telephone call from indigent defendant regarding declaration
                                                                      [.2].
521
                                                                      Spoke with Joseph Wilbur re: discovery responses (.5); Prepare Notes re Wilbur call (.5);
      09/16/11   Bledsoe       2.00   $        120.00 $          240.00
522                                                                   Drafted Montague discovery responses for Zuchetto (1.0).
523   09/16/11   Zuchetto      3.50   $        330.00 $      1,155.00 Work on Wilbur/Montague discovery responses.
      09/16/11    Talner       0.40   $        400.00 $          160.00 Teleconference with potential expert witness and email co‐counsel about that
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 1               KEEPER
      09/16/11    Fisher       0.70   $        330.00 $          231.00 Edit and send letter to opposing counsel regarding ex parte interview with S. Skelton;
525
526   09/18/11   Marshall      0.10   $        375.00 $         37.50 Email correspondence with co‐counsel regarding discovery responses [.1].
527   09/18/11   Zuchetto      1.50   $        330.00 $        495.00 Work on discovery responses re WIlbur/Montague.
528   09/19/11   Boschen       0.20   $        150.00 $         30.00 Telephone calls to and conferences with clients [.2];
                                                                      Worked on discovery responses for Montague [.4]; worked on declaration of indigent
                                                                      defendant [.9]; telephone conferences with indigent defendant regarding same [.3];
                                                                      worked on declaration of indignet defendant [.5]; telephone conference with and email
      09/19/11   Marshall      4.60   $        375.00 $      1,725.00
                                                                      to indigent defendant regarding same [.6]; worked on discovery issues [.8]; worked on
                                                                      factual background investigation [.5]; worked on strategy for preliminary injunction
529                                                                   motion [.6].
                                                                      Went with Zuchetto to meet Joseph Wilbur (.5); Reviewed Wilbur docs re: all charges in
      09/19/11   Bledsoe       1.00   $        120.00 $        120.00
530                                                                   Mount Vernon and Burlington (.5).
531   09/19/11   Zuchetto      4.50   $        330.00 $      1,485.00 Work on Moon, Montague and Wilbur discovery responses.
                                                                      Read and reply to emails from team; draft letter to J. Murphy requesting a second CR 37
      09/19/11    Fisher       2.50   $        330.00 $        825.00
532                                                                   conference;
                                                                      Meet with C. Fisher to discuss strategy for responding to second request from Witt
      09/19/11   Williams      0.50   $        580.00 $        290.00
533                                                                   attorney to postpone production of documents;
                                                                        Worked on loading defendants' production and plaintiffs' supplemental production to
                                                                        shared site [.8]; updated production log [.2]; loaded same to shared site [.1]; telephone
      09/20/11   Boschen       1.70   $        150.00 $          255.00 conference with client [.1]; telephone conference with witness [.2]; correspondence
                                                                        regarding same [.1]; labeled supplemental production [.1]; telephone conference with
                                                                        Burlington Municipal Court [.1].
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                                                                      Email correspondence with co‐counsel regarding discovery issues [.2]; worked on same
                                                                      [.4]; telephone conferences with co‐counsel regarding same [.7]; email correspondence
                                                                      with co‐counsel regarding failure of Mr. Witt and Mr. Sybrandy to respond to subpoenas
                                                                      [.1]; analyzed issues regarding same [.1]; drafted letter to Mr. Sybrandy regarding same
                                                                      [.3]; email correspondence with co‐counsel regarding same [.1]; worked on discovery
                                                                      responses for Ms. Montague [.7]; worked on discovery responses for Mr. Moon [.2];
      09/20/11   Marshall      6.20   $        375.00 $      2,325.00
                                                                      worked on review of defendants' document production [.2]; worked on declaration of
                                                                      Mr. Howson [1.2]; email correspondence with co‐counsel regarding same [.1]; worked
                                                                      on declaration of Ms. Johnson [.2]; telephone conference with Ms. Johnson regarding
                                                                      same [.5]; email correspondence with co‐counsel regarding status of witness
                                                                      declarations [.3]; worked on factual background issues for preliminary injunction motion
                                                                      [.9].
535
                                                                          Met with Mr. Wilbur at treatment facility to go over discovery and get signature (1.0);
      09/20/11   Bledsoe       3.50   $        120.00 $          420.00
                                                                          Finalized Wilbur Discovery (1.0); Began drafting Wilbur declaration (1.5).
536
                                                                          Meeting w/ Joseph Wilbur (1.0); Work on discovery responses (1.5); Work on
                                                                          Moon/Montague discovery responses (2.0); Work on declarations in support of motion
      09/20/11   Zuchetto      5.70   $        330.00 $      1,881.00     for preliminary injunction (.75); Review, analyze and edit CR 37 letter/e‐mail and related
                                                                          issues re Sybrandy/WItt (.25); Review and analyze over length request and discuss w/ co‐
537                                                                       counsel (.2).
538   09/20/11    Talner       1.90   $        400.00 $          760.00   Draft outline to use in interviewing expert witness
                                                                          Prepare and participate in Rule 37 conference with J. Murphy regarding discovery
                                                                          production; draft letter to J. Murphy summarizing Rule 37 conference; send C. Kness all
      09/20/11    Fisher       3.60   $        330.00 $      1,188.00
                                                                          letters sent and received regarding M. Witt and J. Murphy; update research on sixth
539                                                                       amendment right to counsel;
                                                                          Review draft CR 37 dispute letter to attorney for Richard Sybrandy; review defendant's
      09/20/11   Williams      0.60   $        580.00 $          348.00
540                                                                       Motion for Overlength Brief;
                                                                        Email correspondence with client regarding discovery [.1]; correspondence regarding
      09/21/11   Boschen       0.80   $        150.00 $          120.00 declarations [.1]; downloaded and OCR'd Witt production in response to SDT [.3];
                                                                        updated production log [.2]; correspondence with expert [.1].
541



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 1               KEEPER

                                                                      Telephone call from Ms. Talner regarding rescheduling of meeting with Ms. Jackson [.1];
                                                                      email correspondence with co‐counsel regarding witness declarations and motion for
                                                                      preliminary injunction [.2]; worked on discovery issues [.4]; researched and analyzed
                                                                      issues regarding applicable evidentiary standards for preliminary injunction motions
      09/21/11   Marshall      6.00   $        375.00 $      2,250.00
                                                                      [.2]; email correspondence and telephone conference with co‐counsel regarding same
                                                                      [.2]; worked on factual background section of preliminary injunction motion [3.1];
                                                                      reviewed documents produced by Mr. Witt [.5]; reviewed defendants' discovery
                                                                      responses and document production [.8]; worked on factual background issues [.5].
542
                                                                          Finalize draft Wilbur declaration for Zuchetto (1.0); Work on finalized versions of
      09/21/11   Bledsoe       2.10   $        120.00 $          252.00
543                                                                       discovery (1.1).
                                                                          Work on Wilbur declaration (2.5); Research re evidentiary standards prelim. injunction
      09/21/11   Zuchetto      2.75   $        330.00 $          907.50
544                                                                       (.25).
                                                                          Review draft declarations of potential witnesses; review pleadings filed recently; review
      09/21/11    Talner       2.50   $        400.00 $      1,000.00     discovery responses and documents obtained or received to date; revise outline for
545                                                                       expert witness interview
                                                                          Coordinate scanning and uploading of discovery documents from M. Witt; read and
      09/21/11    Fisher       1.00   $        330.00 $          330.00
546                                                                       reply to emails from team;
                                                                          Reviewed order to show cause; prepared Chambers notebook regarding motion to
      09/22/11    Kinsey       0.70   $        100.00 $           70.00
547                                                                       amend; transmit to chambers.
                                                                          Correspondence regarding discovery, declarations, and experts [.3]; worked on
      09/22/11   Boschen       6.80   $        150.00 $      1,020.00
548                                                                       document review and indexing of same [6.5].




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       DATE                  HOURS        RATE            SUBTOTAL                                      DESCRIPTION OF WORK
 1               KEEPER

                                                                      Worked on witness declaration issues [.1]; worked on discovery issues [.3]; prepared for
                                                                      call with Mr. Sybrandy regarding document production [.3]; telephone conference with
                                                                      Mr. Sybrandy regarding same [.4]; researched and analyzed issues regarding payment of
                                                                      expenses incurred in responding to subpoena [.4]; email correspondence with co‐
                                                                      counsel regarding same and suggestions for dealing with Mr. Sybrandy [.4]; email
                                                                      correspondence with co‐counsel regarding motion for preliminary injunction [.3];
                                                                      analyzed issues regarding order to show cause on failure to delivery hard copy of
      09/22/11   Marshall      4.40   $        375.00 $      1,650.00
                                                                      motion for leave to amend complaint [.1]; worked on response to same [.2]; worked on
                                                                      declaration of Mr. Wilbur [.3]; telephone conference with co‐counsel regarding same
                                                                      [.2]; worked on factual background section of motion for preliminary injunction [.5];
                                                                      reviewed RFAs to Wilbur [.1]; email to co‐counsel regarding same [.1]; email
                                                                      correspondence with co‐counsel regarding witness declarations [.2]; reviewed indigent
                                                                      defendant's case file [.3]; email correspondence with co‐counsel regarding same [.1];
                                                                      worked on indigent defendant's declaration [.1].
549
                                                                      Work on Moon, Montague and Wilbur discovery responses (1.0); Prepare for and
                                                                      participate in Rule 37 conference re Sybrandy (1.0); Research re subpoena
      09/22/11   Zuchetto      3.90   $        330.00 $      1,287.00
                                                                      requirements (.5); Draft letter to Sybrandy re same (.2); Work on Wilbur declaration re
550                                                                   motion for preliminary injunction (1.2).
                                                                      Review documents exchanged in discovery and witness responses to subpoenas;
      09/22/11    Talner       4.20   $        400.00 $      1,680.00 prepare for expert witness interview; comment on draft witness declarations and
551                                                                   discovery responses
      09/22/11    Fisher       8.40   $        330.00 $      2,772.00 Revise and update legal memo for team; draft legal section for preliminary injunction;
552
                                                                        Finalized response to motion to show cause; arranged filing and service of response to
      09/23/11    Kinsey       0.80   $        100.00 $           80.00 motion to show cause. reviewed, revised and finalized letter to Mr. Sybrandy regarding
553                                                                     subpoena compliance.
                                                                        Telephone call to client [.1]; personal conference regarding client and document review
                                                                        [.1]; continued work on document review [2.2]; revised Declaration of Angela Montague
      09/23/11   Boschen       5.90   $        150.00 $          885.00
                                                                        and reviewed case file [3.1]; prepared mailing of declaration and discovery responses to
                                                                        client [.3]; telephone call to client to confirm mailing address [.1].
554



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 1               KEEPER
                                                                      Worked on discovery issues [.1]; worked on declaration of Mr. Howson [.5]; worked on
                                                                      factual background section of preliminary injunction motion [3.3]; to meeting with co‐
      09/23/11   Marshall      8.10   $        375.00 $      3,037.50 counsel and Ms. Jackson regarding declaration [.3]; attended same [2.2]; returned from
                                                                      same [.3]; worked on declaration of Ms. Montague [.8]; reviewed documents and
                                                                      analyzed issues regarding factual background [.6].
555
556   09/23/11   Zuchetto      2.25   $        330.00 $          742.50 Work on Wilbur declaration re preliminary injunction.
      09/23/11    Dunne        0.40   $        380.00 $          152.00 Review email from co‐counsel re case strategy and review declaration of J. Wilbur
557
558   09/23/11    Talner       3.30   $        400.00 $      1,320.00 Interview expert witness; review and revise on plaintiff declaration
559   09/23/11    Fisher       6.20   $        330.00 $      2,046.00 Draft legal section of preliminary injunction; read and reply to team emails;
                                                                      Worked on declaration of Mr. Moon [.2]; worked on factual background section of
      09/24/11   Marshall      6.50   $        375.00 $      2,437.50
560                                                                   motion for preliminary injunction [6.3].
561   09/24/11   Zuchetto      0.25   $        330.00 $         82.50 Work on Moon declaration.
                                                                        Worked on factual background section for preliminary injunction motion [3.2]; email
      09/25/11   Marshall      3.40   $        375.00 $      1,275.00
                                                                        correspondence with co‐counsel regarding factual background issues [.2].
562
563   09/26/11   Haynes        2.60   $        190.00 $          494.00 Research into motion for leave to amend standing issue (2.6).

                                                                      Worked on factual background section of motion for preliminary injunction [2.9]; email
                                                                      correspondence with co‐counsel regarding same [.1]; email correspondence with co‐
                                                                      counsel regarding witness declarations [.2]; left message with Mr. Howson regarding
                                                                      declaration [.1]; telephone conference with and email correspondence with Mr.
      09/26/11   Marshall      4.90   $        375.00 $      1,837.50 Howson regarding same [.2]; reviewed defendants' response to motion for leave to
                                                                      amend complaint [.2]; analyzed issues regarding same [.2]; email correspondence and
                                                                      telephone conference with co‐counsel regarding legal section for preliminary injunction
                                                                      motion [.3]; drafted motion for additional pages on preliminary injunction motion [.3];
                                                                      worked on filing of same [.2]; email to client regarding factual background issues [.2].
564
                                                                        Read and analyze response re motion to amend complaint (.2); Discuss/e‐mail co‐
      09/26/11   Zuchetto      0.80   $        330.00 $          264.00 counsel re same (.1); Read and analyze motion for preliminary injunction (.25);
565                                                                     Discuss/e‐mail co‐counsel re same (.25).




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 1               KEEPER
                                                                          Meeting with J. Strait regarding expert testimony and declaration; email corresondence
      09/26/11    Dunne        2.20   $        380.00 $          836.00
                                                                          with Strait regarding expert declaration and evidence; prepare for meeting with J. Strait
566
                                                                      Interview J. Strait for declaration; draft preliminary injunction legal argument section;
      09/26/11    Fisher       5.90   $        330.00 $      1,947.00
567                                                                   read and reply to team emails;
                                                                      Research into Osborne standing issue re: motion for leave to amend (4.0), drafted
      09/27/11   Haynes        5.90   $        190.00 $      1,121.00
568                                                                   memorandum regarding same (1.9).
      09/27/11    Kinsey       0.20   $        100.00 $           20.00 Prepared draft of reply memorandum in support of motion to amend complaint.
569
                                                                        Telephone calls and correspondence to clients [.2]; personal conferences and
      09/27/11   Boschen       6.30   $        150.00 $          945.00 correspondence regarding motion for preliminary injunction [.5]; pulled documents for
                                                                        motion for preliminary injunction [5.2]; reviewed defendant's video production [.4].
570
                                                                      Email correspondence with client regarding factual background issues [.1]; worked on
                                                                      issues regarding witness declarations [.4]; telephone calls from indigent defendants
                                                                      regarding same [.3]; telephone call from co‐counsel regarding preliminary injunction
                                                                      motion and defendants' response to motion for leave to amend [.4]; email to co‐counsel
      09/27/11   Marshall      7.40   $        375.00 $      2,775.00
                                                                      regarding same [.1]; worked on factual background section of motion for preliminary
                                                                      injunction [1.4]; worked on declaration of Mr. Boerner [.3]; telephone conference with
                                                                      co‐counsel regarding same [.2]; worked on reply in support of motion for leave to
                                                                      amend [4.2].
571
572   09/27/11   Bledsoe       0.25   $        120.00 $         30.00 Revisions re Wilbur declaration.
                                                                      Call w/ Jeremy Moon re declaration (.5); Analyze and edit Boerner declaration (1.2);
      09/27/11   Zuchetto      2.00   $        330.00 $        660.00
573                                                                   Strategy meeting (.3).
                                                                      Telephone conferences with co‐counsel regarding case strategy and cross‐motion for
      09/27/11    Dunne        0.70   $        380.00 $        266.00
574                                                                   preliminary injunction
                                                                      Discussions with co‐counsel regarding case strategy and scheduling, research motions
      09/27/11    Talner       1.80   $        400.00 $        720.00
575                                                                   issue
576   09/27/11    Fisher       4.20   $        330.00 $      1,386.00 Draft legal section for preliminary injunction; read and reply to team emails;




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 1               KEEPER
                                                                      Meet with C. Kness to discuss management of documents; conference call with N.
                                                                      Talner on motion strategy; meet with D. Burman on litigation strategy; conference call
      09/27/11   Williams      6.00   $        580.00 $      3,480.00 with ACLU on strategy of filing cross‐motion for preliminary injunction; conference call
                                                                      with full litigation team on timing of motion for preliminary injunction; edit D. Boerner
                                                                      declaration and coordinate with litigation team;
577
578   09/28/11   Haynes        0.40   $        190.00 $           76.00 Analyzed issues regarding standing (.4).
                                                                        Telephone conference with Ms. Osborne regarding declaration; prepared template for
      09/28/11    Kinsey       0.20   $        100.00 $           20.00
579                                                                     Mr. Howson declaration.
                                                                        Continued work on motion for preliminary injunction and personal conferences and
      09/28/11   Boschen       5.20   $        150.00 $          780.00 correspondence regarding same[5]; correspondence regarding expert productions and
580                                                                     search for documents related to same [.2];
                                                                        Worked on reply in support of motion to amend complaint and researched and analyzed
      09/28/11   Marshall      2.00   $        375.00 $          750.00
581                                                                     issues regarding same [2.0].
                                                                          Worked on issues regarding motion for leave to amend complaint [2.2]; worked on
      09/28/11   Marshall      3.30   $        375.00 $      1,237.50
                                                                          factual background issues [.4]; worked on discovery and expert issues [.7].
582
583   09/28/11   Bledsoe       0.50   $        120.00 $           60.00 Finished gathering data for Wilbur Requests for Admission.
                                                                      Work on motion for Preliminary Injunction (.7); Work on Boerner declaration (1.0);
      09/28/11   Zuchetto      4.50   $        330.00 $      1,485.00 Work on Montague discovery responses (1.1); Review Witt reimbursement request
                                                                      response (.2); Work on response to Requests for Admission (1.5).
584
                                                                          Draft letter to opposing counsel requesting a rule 37 conference; draft preliminary
      09/28/11    Fisher       3.30   $        330.00 $      1,089.00
585                                                                       injunction motion; read and reply to team emails;
                                                                      Review and approve CR 37 demand letter to defendants; exchange emails with litigation
                                                                      team on D. Boerner comments regarding defendants' request for expert testimony;
      09/28/11   Williams      5.50   $        580.00 $      3,190.00 review and edit draft statement of facts for plaintiffs' motion for preliminary injunction
                                                                      and opposition to motion for summary judgment; conference call with D. Boerner on
                                                                      status of case and plan for presenting D. Boerner declaration for review and edit;
586
                                                                          Correspondence with client[.1]; downloaded audio files from co‐counsel [.1]; telephone
      09/29/11   Boschen       0.30   $        150.00 $           45.00
587                                                                       calls to clients [.1].




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 1               KEEPER
                                                                      Analyzed issues regarding filing of motion for preliminary injunction [.1]; telephone call
                                                                      from and email correspondence with co‐counsel regarding issues with Mr. Witt's
      09/29/11   Marshall      8.70   $        375.00 $      3,262.50
                                                                      request for payment [.2]; researched and analyzed issues regarding defendants'
                                                                      response to motion for leave to amend complaint [3.1]; worked on reply to same [5.3].
588
                                                                      Review and analyze Def’s motion for summary judgment (.75); Call w/ Jeremy Moon
      09/29/11   Zuchetto      1.00   $        330.00 $          330.00
589                                                                   (.25).
                                                                      Write letter to J. Murphy regarding discovery progression and reimbursement; draft
      09/29/11    Fisher       4.50   $        330.00 $      1,485.00 preliminary motion; read and reply to team emails; call with T. Marshall to discuss
590                                                                   reimbursement;
                                                                      Review and edit motion for preliminary injunction and opposition to motion for
                                                                      summary judgment; coordinate with C. Fisher on discovery dispute with Witt's attorney
      09/29/11   Williams      6.50   $        580.00 $      3,770.00
                                                                      and letter on same; begin editing proposed order for injunctive relief; begin reviewing
                                                                      and analyzing Defendants' Summary Judgment motion against J. Wilber;
591
      09/30/11   Haynes        0.90   $        190.00 $          171.00 Researched and analyzed issues regarding reply to motion to amend complaint (.9)
592
                                                                        Reviewed, revised and finalized reply in support of motion to amend; reviewed and
      09/30/11    Kinsey       1.30   $        100.00 $          130.00
593                                                                     assembled appendix; arranged filing and service;
                                                                        Prepared mailings to clients [.5]; continued document review and indexing [5.6];
                                                                        researched client active cases and correspondence regarding same [.2]; correspondence
      09/30/11   Boschen       6.50   $        150.00 $          975.00
                                                                        with co‐counsel regarding document production [.1]; telephone calls to municipal courts
594                                                                     for client case status update [.1];
                                                                      Worked on reply in support of motion for leave to amend complaint [1.8]; telephone
                                                                      conferences and email correspondence with co‐counsel regarding same [.6]; reviewed
                                                                      documents produced by Mr. Witt and analyzed issues regarding factual background [.4];
      09/30/11   Marshall      4.40   $        375.00 $      1,650.00
                                                                      analyzed issues regarding deposition notices [.2]; reviewed defendants' motions for
                                                                      summary judgment [.7]; telephone conference with co‐counsel regarding same and case
                                                                      strategy issues [.7].
595
      09/30/11   Bledsoe       0.50   $        120.00 $           60.00 Put together/compiled date for Wilbur Requests for Admission’s for Zuchetto.
596




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 1               KEEPER
                                                                          Analyze, discuss response re dep notices w/ co‐counsel (.25); Work on response re
      09/30/11   Zuchetto      1.10   $        330.00 $          363.00
                                                                          motion to amend complaint (.75); Review/analyze expert declaration re Jackson (.1).
597
                                                                      Participate in call with J. Murphy; draft preliminary injunction motion; participate in call
      09/30/11    Fisher       4.10   $        330.00 $      1,353.00 with N. Talner regarding standing issues; edit plaintiffs reply in support of plaintiffs
                                                                      motion for leave to amend complaint; read and reply to team emails;
598
                                                                      Conference call with M. Witt attorney on production of documents; meet with C. Fisher
      09/30/11   Williams      4.50   $        580.00 $      2,610.00 on strategy for drafting preliminary injunction motion; review and comment on
599                                                                   Plaintiffs' reply brief on motion to amend;
                                                                      Write letter to opposing counsel regarding deposition dates for J. Wilbur, J. Moon, and
      10/02/11    Fisher       2.50   $        330.00 $        825.00
600                                                                   A. Montague; write motion for preliminary injunction;
                                                                      Review cities' summary judgment motions and exhibits and draft notes responding to
      10/03/11    Talner       3.50   $        400.00 $      1,400.00
601                                                                   them
      10/03/11    Fisher       4.00   $        330.00 $      1,320.00 Write letters to opposing counsel regarding depositions; write preliminary injunction;
602
                                                                      Review and provide input to C. Fisher on letters regarding deposition notice
      10/03/11   Williams      1.50   $        580.00 $          870.00
603                                                                   coordination;
604   10/04/11   Boschen       0.20   $        150.00 $         30.00 Correspondence regarding preliminary injunction exhibits [.2].
                                                                      Write preliminary injunction motion; write letter to opposing counsel regarding second
      10/04/11    Fisher       4.20   $        330.00 $      1,386.00
605                                                                   request for initial CR 37 conference;
                                                                      Review summary judgment motions against plaintiffs Moon and Montague; review
                                                                      discovery dispute letters from plaintiffs' counsel on deposition scheduling; coordinate
      10/04/11   Williams      4.00   $        580.00 $      2,320.00
                                                                      with C. Fisher on motion for protective order; coordinate with C. Fisher on response to
                                                                      opposing counsel; draft CR 37 letter to opposing counsel on re‐noting of depositions;
606
                                                                        Reviewed case‐related articles; telephone calls to and conference with Sun Ray Court;
                                                                        telephone call to and correspondence with client; telephone conference and
      10/05/11   Boschen       1.00   $        150.00 $          150.00
                                                                        correspondence with Mr. Howson; telephone conference with co‐counsel regarding
607                                                                     protective order.
      10/05/11   Bledsoe       0.05   $        120.00 $            6.00 Attempt to call Jeremy Moon regarding signature for declaration; No response.
608




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 1               KEEPER
                                                                      Research and write section regarding concurrent grant of preliminary injunction and
      10/05/11    Fisher       8.10   $        330.00 $      2,673.00 denial and summary judgment; write motion for protective order regarding depositions;
                                                                      write C. Fisher declaration in support of motion; write proposed order for motion;
609
                                                                      Review and edit Plaintiffs' Cross‐Motion for Preliminary Injunction and Opposition to
      10/05/11   Williams      7.50   $        580.00 $      4,350.00 Defendants' Motions for Summary Judgment; finalize discovery dispute letter to counsel
                                                                      for Defendants; coordinate with C. Fisher on drafting Motion for Protective Order;
610
                                                                      Correspondence regarding deposition scheduling and motion for protective order [.2];
      10/06/11   Boschen       0.30   $        150.00 $           45.00
611                                                                   reviewed, signed and scanned declaration [.1].
                                                                      Edit motion for protective order; edit C. Fisher declaration in support of motion; edit
      10/06/11    Fisher       3.40   $        330.00 $      1,122.00 proposed order for motion; draft J. Boschen's declaration in support of motion; review
612                                                                   R. Howson declaration;
                                                                          Edit plaintiffs' cross‐motion for preliminary injunction and opposition to motions for
      10/06/11   Williams      6.00   $        580.00 $      3,480.00
                                                                          summary judgment; edit motion for protective order and declaration supporting same;
613
                                                                          Worked on searching for new numbers for Steven Skelton [.5]; telephone call to witness
      10/07/11   Boschen       0.60   $        150.00 $           90.00
614                                                                       regarding declaration [.1];
615   10/07/11   Bledsoe       0.05   $        120.00 $            6.00   Attempt to call Jeremy Moon regarding signature on declaration; No answer.
                                                                          Meet with J. Williams to discuss preliminary injunction motion and response to
      10/07/11    Fisher       1.50   $        330.00 $          495.00   summary judgment; review defendants' motion to stay preliminary injunction or
616                                                                       expedite discovery;
                                                                          Review Defendants' Motion to Stay Plaintiffs' Preliminary Injunction; edit draft
      10/07/11   Williams      7.50   $        580.00 $      4,350.00     preliminary injunction order; meet with C. Fisher to discuss additional legal research for
617                                                                       preliminary injunction brief;
618   10/09/11   Marshall      0.40   $        375.00 $          150.00   Worked on various issues regarding discovery and motion practice [.4].
619   10/09/11    Fisher       0.80   $        330.00 $          264.00   Edit preliminary injunction motion and response to summary judgment;




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       DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1               KEEPER
                                                                      Worked on factual background issues regarding motions for summary judgment and
                                                                      preliminary injunction [2.5]; email correspondence with co‐counsel regarding same [.2];
                                                                      reviewed plaintiffs' motion for protective order [.2]; reviewed defendants' motion for
                                                                      stay of hearing on preliminary injunction [.1]; analyzed issues regarding defendants'
      10/10/11   Marshall      5.90   $        375.00 $      2,212.50
                                                                      motions for summary judgment [.6]; worked on response to same [.3]; telephone
                                                                      conference and email correspondence with co‐counsel regarding same [.4]; worked on
                                                                      expert issues and telephone conference with consulting expert and co‐counsel
                                                                      regarding same [1.6].
620
                                                                        Call w/ consulting expert re case strategy (.5); Calls to Jeremy Moon re declaration (.2);
      10/10/11   Zuchetto      1.50   $        330.00 $          495.00 discuss same w/ co‐counsel and related dep. dates (.1); Review and analyze motion for
                                                                        protective order and motion to stay discovery (.5); e‐mail co‐counsel re same (.2).
621
                                                                      Edit preliminary injunction motion and response to summary judgment; research
      10/10/11    Fisher       8.10   $        330.00 $      2,673.00
622                                                                   additional support for various arguments;
                                                                      Edit draft preliminary injunction order and coordinate with C. Fisher on revised cross‐
      10/10/11   Williams      5.00   $        580.00 $      2,900.00 motion for preliminary injunction; coordinate with litigation team on status of witness
623                                                                   declarations and discovery;
                                                                        Correspondence and personal conferences regarding preliminary injunction [.2];
                                                                        updated production log [.2]; prepared index of documents produced to expert [.3];
      10/11/11   Boschen       3.60   $        150.00 $          540.00 correspondence regarding potential witness [.1]; telephone conference with client [.1];
                                                                        continued work on motion for preliminary injunction and correspondence and personal
                                                                        conferences regarding same [2.7].
624
                                                                      Worked on response to motions for summary judgment and cross‐motion for
                                                                      preliminary injunction and supporting papers and researched and analyzed issues
      10/11/11   Marshall      9.50   $        375.00 $      3,562.50
                                                                      regarding same [8.7]; telephone conference with witness regarding factual background
                                                                      issues [.4]; worked on response to motion to stay preliminary injunction motion [.4].
625
                                                                        Strategy session re Preliminary Injunction and Summary Judgment response (.75); Work
                                                                        on Preliminary Injunction motion and response to Summary Judgment (1.5); Work on
      10/11/11   Zuchetto      3.00   $        330.00 $          990.00
                                                                        contacting Moon Preliminary Injunction motion (.25); Work on expert/Jackson
626                                                                     declaration (.5).



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       DATE                  HOURS        RATE            SUBTOTAL                                        DESCRIPTION OF WORK
 1               KEEPER
                                                                      Telephone conference with co‐counsel regarding case strategy, discovery and cross‐
      10/11/11    Dunne        0.90   $        380.00 $          342.00
627                                                                   motion for preliminary injunction motion
                                                                      Emails with co‐counsel re possible new witness; revisions to expert declaration;
      10/11/11    Talner       3.80   $        400.00 $      1,520.00 revisions to draft injunction motion and response to summary judgment; conference
628                                                                   call with co‐counsel re case strategy
                                                                      Meet with team to discuss preliminary injunction and response to summary judgment
      10/11/11    Fisher       4.10   $        330.00 $      1,353.00 motion; draft opposition to defendants motion to stay preliminary injunction hearing or
629                                                                   expedite discovery;
                                                                      Prepare for and participate in conference call with litigation team on strategy for filing
                                                                      preliminary injunction motion and opposing discovery motion; coordinate with D.
                                                                      Boerner on finalized version of declaration; exchange emails and meet with C. Fisher on
      10/11/11   Williams      7.00   $        580.00 $      4,060.00
                                                                      strategy and arguments to oppose motion to stay injunction and expedite discovery;
                                                                      edit draft opposition to defendant's motion to stay preliminary injunction or expedite
                                                                      discovery;
630
                                                                      Continued work on factual section of motion for preliminary injunction; correspondence
                                                                      and personal conferences regarding same; telephone conferences with Skagit County
      10/12/11   Boschen       9.80   $        150.00 $      1,470.00
                                                                      Jail regarding Ms. Perez Vargas; researched witness address, contacts, and prior cases;
                                                                      correspondence regarding same; reviewed supplemental production.
631
                                                                          Email to indigent defendant regarding witness declaration [.1]; worked on witness
                                                                          declaration issues [.1]; email correspondence with consulting expert regarding
      10/12/11   Marshall     11.30   $        375.00 $      4,237.50     preliminary injunction motion [.2]; telephone conferences with co‐counsel regarding
                                                                          same [.4]; worked on preliminary injunction motion and response to summary
632                                                                       judgment motions [10.5].
                                                                          Strategy call re Preliminary Injunction motion (.5); Work on response re motion to stay
      10/12/11   Zuchetto      1.50   $        330.00 $          495.00
633                                                                       (.5); Work on Moon declaration (.5).
                                                                          Conduct legal research for opposition to defendants' summary judgment motion and
      10/12/11    Dunne        1.20   $        380.00 $          456.00
634                                                                       cross‐motion for preliminary injunction
635   10/12/11    Talner       0.70   $        400.00 $          280.00   Emails with co‐counsel regarding possible new witness




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                  TIME
       DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1               KEEPER
                                                                      Edit Plaintiffs' Opposition to Defendants' Motion to Stay Preliminary Injunction and
                                                                      Expedite Discovery; meet with C. Fisher to discuss same; coordinate with trial team on
      10/12/11   Williams      6.50   $        580.00 $      3,770.00
                                                                      additional research and writing issues for the cross‐motion for preliminary injunction
                                                                      and begin drafting segment on Monell standard;
636
                                                                      Travel to Mount Vernon for client meeting and to Municipal Court for Public Disclosure
      10/13/11   Boschen      11.50   $        150.00 $      1,725.00 Request; return travel from Mount Vernon; continued work on motion for preliminary
                                                                      injunction; personal conferences and correspondence regarding same.
637
                                                                          Worked on response to summary judgment motions, motion for preliminary injunction,
      10/13/11   Marshall      6.80   $        375.00 $      2,550.00
638                                                                       and supporting papers [6.8].
                                                                          Work on Preliminary Injunction motion and Summary Judgment response (.25); Strategy
      10/13/11   Zuchetto      0.75   $        330.00 $          247.50
                                                                          call re same (.25); Review and analyze Court’s ruling re depositions re same (.25).
639
                                                                      Telephone conference with J. Strait regarding declaration and case; telephone
      10/13/11    Dunne        3.10   $        380.00 $      1,178.00 conference with co‐counsel regarding cross‐motion for preliminary injunction and case
                                                                      strategy; conduct legal research on standing for opposition to summary judgment
640
641   10/13/11    Talner       0.90   $        400.00 $          360.00 Discuss legal issues in summary judgment response with co‐counsel
                                                                      Continue legal research and edit insert for brief analyzing Monell and deliberate
                                                                      indifference standard; conference call with trial team on status of cross‐motion and
      10/13/11   Williams      8.00   $        580.00 $      4,640.00
                                                                      collection of evidence; review order from Court on re‐noting of Defendants' Motion to
                                                                      Stay; exchange emails with litigation team on filing of cross‐motion;
642
                                                                          Continued work on motion for preliminary injunction; drafted declaration in support of
      10/14/11   Boschen       9.50   $        150.00 $      1,425.00
643                                                                       same; correspondence regarding same.
      10/14/11   Zuchetto      0.50   $        330.00 $          165.00 Work on motion for Preliminary Injunction and opposition to Summary Judgment.
644
                                                                      Research issues related to summary judgment response; teleconference with expert
      10/14/11    Talner       2.80   $        400.00 $      1,120.00
645                                                                   witnesses; email co‐counsel with updates about the case
646   10/14/11    Fisher       0.90   $        330.00 $        297.00 Edit Monell argument section; review and edit cross‐motion;
                                                                      Edit and finalize cross‐motion insert on Monell deliberate indifference standard;
      10/14/11   Williams      5.00   $        580.00 $      2,900.00 exchange emails with litigation team on collection of declarations and additional inserts
647                                                                   on legal issues;


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       DATE                  HOURS        RATE            SUBTOTAL                                        DESCRIPTION OF WORK
 1               KEEPER
                                                                          Work on motion for preliminary injunction and opposition to summary judgment (1.0);
      10/16/11   Zuchetto      1.50   $        330.00 $          495.00
648                                                                       Work on response to Wilbur Requests for Admission (.5).
                                                                        Conduct legal research for opposition for defendants' motion for summary judgment
      10/16/11    Dunne        2.50   $        380.00 $          950.00 and cross‐motion for preliminary injunction; review and revise opposition for summary
                                                                        judgment and cross‐motion for preliminary injunction
649
650   10/16/11   Williams      2.50   $        580.00 $      1,450.00 Edit cross‐ motion and opposition to Motions for Summary Judgment;
                                                                      Reviewed motion for preliminary injunction and opposition to defendants' motions for
      10/17/11   Boschen       0.20   $        150.00 $         30.00
651                                                                   summary judgment; correspondence regarding same [.2].
      10/17/11   Zuchetto      1.25   $        330.00 $          412.50 Work on motion for Preliminary Injunction and opposition to Summary Judgment.
652
                                                                        Conduct legal research for opposition for defendants' motion for summary judgment
                                                                        and cross‐motion for preliminary injunction; review and revise opposition for summary
      10/17/11    Dunne        1.40   $        380.00 $          532.00
                                                                        judgment and cross‐motion for preliminary injunction; correspondence with J. Strait
653                                                                     regarding declaration
                                                                          Meet with expert witness; revisions to expert declaration; review final drafts of
      10/17/11    Talner       4.50   $        400.00 $      1,800.00
                                                                          summary judgment response and plaintiffs' preliminary injunction motion
654
                                                                      Finalize cross‐motion for preliminary injunction and opposition to defendants' motions
                                                                      for summary judgment; review declarations of expert witnesses, John Strait and Chris
      10/17/11   Williams      7.50   $        580.00 $      4,350.00
                                                                      Jackson in support of cross‐motion; review Court's order denying in part the motion to
                                                                      amend and add Osborne as plaintiff;
655
                                                                          Telephone conference with Sun Ray Courte regarding client [.1]; correspondence
      10/18/11   Boschen       1.40   $        150.00 $          210.00
                                                                          regarding same [.1]; worked on tracking productions and updating production log [1.2].
656
657   10/18/11   Zuchetto      0.25   $        330.00 $           82.50 Work on dep. preparations.
                                                                        Call A. Cooley to discuss deposition dates; email team discussion regarding deposition
      10/18/11    Fisher       0.60   $        330.00 $          198.00
658                                                                     dates;
                                                                        Researched client case history [.1]; reviewed, labeled and managed defendants'
      10/19/11   Boschen       2.20   $        150.00 $          330.00
659                                                                     productions [1.9]; updated production log [.2].
      10/19/11    Talner       0.50   $        400.00 $          200.00 Emails with co‐counsel regarding fact developments in named plaintiffs' criminal cases
660



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 1               KEEPER
                                                                          Draft letter to A. Cooley summarizing October 18th phone call; draft letter to A. Cooley
      10/19/11    Fisher       2.30   $        330.00 $          759.00
                                                                          regarding deposition locations; draft reply brief for protective order;
661
                                                                        Review and edit letter to counsel for defendants on place of depositions; meet with C.
      10/19/11   Williams      1.10   $        580.00 $          638.00 Fisher to discuss letter to counsel for defendants; exchange emails with team on
662                                                                     strategy;
                                                                        Drafted and finalized notice of withdrawal for Montague in Burlington Municipal Court
      10/20/11    Kinsey       0.70   $        100.00 $           70.00
663                                                                     action; arranged filing and service.
                                                                        Personal conferences regarding declarations and client status [.7]; telephone calls to
                                                                        clients [.1]; drafted declaration of Angela Montague ISO Motion for Protective Order
      10/20/11   Boschen       1.60   $        150.00 $          240.00
                                                                        and correspondence regarding same [.5]; reviewed case records from public disclosure
664                                                                     request [.2]; scanned and emailed same [.1].
                                                                      Email correspondence with co‐counsel regarding deposition scheduling [.1]; worked on
                                                                      notice of withdrawal from representation of Montague in Burlington municipal court
      10/20/11   Marshall      7.10   $        375.00 $      2,662.50 [.1]; worked on various briefing issues [2.2]; worked on discovery issues [3.7]; telephone
                                                                      conference with Mr. Hoff regarding warrant issues and worked on same [.5]; reviewed
                                                                      declaration of Mr. Stendal and analyzed issues regarding same [.5].
665
                                                                      Work on responses to Requests for Admission (2.5); Review and analyze depo.
      10/20/11   Zuchetto      3.30   $        330.00 $      1,089.00 location/protective order reply argument and e‐mail co‐counsel re same (.5); Read and
666                                                                   analyze Stendal declaration (.3).
667   10/20/11    Talner       0.90   $        400.00 $        360.00 Review and comment on draft requests for admission
668   10/20/11    Fisher       4.20   $        330.00 $      1,386.00 Write reply brief for protective order;
                                                                        Telephone calls to and conferences with Whatcom County Jail; correspondence
                                                                        regarding same; correspondence with clients regarding deposition schedule; labeled
      10/21/11   Boschen       1.20   $        150.00 $          180.00 defendant Burlington's second supplemental production; updated production log;
                                                                        loaded defendant documents onto PC document site; personal conferences and
                                                                        correspondence regarding deposition schedules and motion for protective order.
669




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 1               KEEPER
                                                                      Worked on reply in support of protective order on depositions [.8]; researched and
                                                                      analyzed issues regarding same [.3]; email correspondence with co‐counsel regarding
                                                                      same [.2]; worked on Mr. Wilbur's responses to RFAs [.7]; telephone conference and
      10/21/11   Marshall      5.60   $        375.00 $      2,100.00 email correspondence with co‐counsel regarding same [.2]; telephone call from Ms.
                                                                      Montague regarding declaration in support of protective order motion on depositions
                                                                      [.2]; worked on revisions same [.1]; email correspondence with co‐counsel regarding
                                                                      same [.1]; worked on discovery issues [3.0].
670
                                                                      Work on responses to Wilbur Requests for Admission (3.7); Read and analyze def’s
      10/21/11   Zuchetto      5.70   $        330.00 $      1,881.00 response to Summary Judgment (.75); Litigation strategy conference (1.0); Edit reply re
671                                                                   protective order (.25).
                                                                        Review and respond to email correspondence from co‐counsel regarding case strategy
                                                                        and discovery issues; review email correspondence from opposing counsel regarding
      10/21/11    Dunne        2.20   $        380.00 $          836.00
                                                                        discovery; conference call with co‐counsel re case strategy and depositions; review draft
                                                                        of plaintiffs' reply brief for protective order
672
                                                                      Conference call with co‐counsel regarding case strategy and discuss preparation for
      10/21/11    Talner       1.50   $        400.00 $          600.00
673                                                                   depositions with Sarah Dunne
                                                                      Write reply brief for protective order; write declaration for reply brief; write proposed
      10/21/11    Fisher       4.20   $        330.00 $      1,386.00 order for protective order; file brief, organize folders; participate in conference call with
674                                                                   team; file letter of withdrawal with court;
                                                                        Participate in litigation team strategy conference call on deposition coverage and
      10/21/11   Williams      1.50   $        580.00 $          870.00 defendants' summary judgment reply briefs; coordinate with C. Fisher on finalization of
                                                                        reply brief and declaration on plaintiffs' motion for protective order;
675
                                                                        Email correspondence with Ms. Montague and co‐counsel regarding scheduling of prep
      10/23/11   Marshall      0.30   $        375.00 $          112.50 session for deposition [.1]; email correspondence with co‐counsel regarding discovery
676                                                                     issues [.2].
677   10/23/11   Zuchetto      0.25   $        330.00 $           82.50 Work on response to defense counsel re Rule 37 conference.




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 1               KEEPER
                                                                      Worked on discovery issues [.2]; reviewed defendants' reply in support of summary
                                                                      judgment and motion to strike [.3]; researched and analyzed issues regarding standing
                                                                      and mootness [1.3]; email correspondence with co‐counsel regarding same [.2];
      10/24/11   Marshall      4.30   $        375.00 $      1,612.50 researched and analyzed issues regarding motion to strike [1.5]; email correspondence
                                                                      with co‐counsel regarding deposition scheduling [.2]; telephone conferences with
                                                                      Whatcom County Jail regarding Mr. Moon [.4]; worked on forms for access to inmates at
                                                                      Whatcom County Jail [.2].
678
                                                                        Work on responses to Requests for Admission (3.3); Draft letter to defense counsel re
      10/24/11   Zuchetto      4.80   $        330.00 $      1,584.00
                                                                        meet and confer (1.0); Analyze standing and e‐mail co‐counsel re same (.5).
679
680   10/24/11    Talner       0.80   $        400.00 $          320.00 Emails with co‐counsel regarding discovery issues
                                                                        Meet with team to discuss status and depositions; look at notes from meeting; prepare
      10/24/11    Fisher       2.30   $        330.00 $          759.00
681                                                                     for depositions;
                                                                        Coordinate with C. Fisher on plans for Moon preparation draft outline for witness
      10/24/11   Williams      0.80   $        580.00 $          464.00
682                                                                     preparation;
                                                                        Prepared draft of plaintiffs' response to motion to strike; prepared draft of notice of
      10/25/11    Kinsey       0.70   $        100.00 $           70.00
683                                                                     intent to file surreply; arranged filing and service of same.
684   10/25/11   Boschen       0.10   $        150.00 $           15.00 Telephone call to client; correspondence regarding same.
                                                                      Worked on plaintiffs' response to defendants' motion to strike [5.7]; researched and
                                                                      analyzed issues regarding same [.4]; email correspondence with co‐counsel regarding
                                                                      deposition preparation issues [.2]; telephone conference with Whatcom County Jail
                                                                      regarding communications with inmates [.3]; telephone conference with Mr. Moon
      10/25/11   Marshall      7.30   $        375.00 $      2,737.50
                                                                      regarding issues related to deposition [.2]; telephone conferences with co‐counsel and
                                                                      Mr. Hoff's assistant regarding same [.2]; email correspondence with co‐counsel and
                                                                      court reporter regarding deposition scheduling [.2]; email to Ms. Montague regarding
                                                                      deposition scheduling issues [.1].
685
686   10/25/11   Zuchetto      2.00   $        330.00 $        660.00 Work on deposition prep. (1.0); Draft letter re discovery responses (1.0).
                                                                      Emails with co‐counsel re discovery issues; read transcipts of depositions from prior
      10/25/11    Talner       3.20   $        400.00 $      1,280.00 indigent defense case to prepare for discovery in Wilbur case and summarize relevant
687                                                                   points for co‐counsel
                                                                      Prepare for deposition of J. Moon; research fifth amendment issues and who can invoke
      10/25/11    Fisher       1.30   $        330.00 $        429.00
688                                                                   privilege;


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 1               KEEPER
                                                                        Meet with C. Fisher and J. Higa on document review issues; send out meeting notice
      10/25/11   Williams      2.00   $        580.00 $        1,160.00 with agenda for deposition preparation; edit proposed outline for deposition
689                                                                     preparation;
                                                                        Reviewed, revised and finalized plaintiffs' response to motion to strike; assembled
      10/26/11    Kinsey       1.30   $        100.00 $          130.00
690                                                                     Marshall declaration exhibits; arranged filing and service.
                                                                        Worked on response to motion to strike and supporting papers and telephone
      10/26/11   Marshall      2.50   $        375.00 $          937.50
691                                                                     conference with co‐counsel regarding same [2.5].
                                                                        Work on opposition to Summary Judgment/motion for Preliminary Injunction re motion
      10/26/11   Zuchetto      4.25   $        330.00 $        1,402.50
692                                                                     to strike (2.0); Prepare for discovery conference (2.25).
693   10/26/11    Fisher       2.70   $        330.00 $          891.00 Prepare for depositions; research J. Moon's criminal history;
694   10/26/11   Williams      0.80   $        580.00 $          464.00 Review and comment on surreply brief opposing motion to strike hearsay;
                                                                          Attempted to reach Mr. Moon regarding deposition scheduling [.1]; left message with
      10/27/11   Marshall      1.30   $        375.00 $            487.50 Ms. Osborne regarding status of lawsuit [.1]; worked on case strategy issues and outline
                                                                          of action items [.9]; email to Mr. Hoff regarding factual background issues [.2].
695
696   10/27/11   Bledsoe       1.00   $        120.00   $        120.00     Create spreadsheet with Indigent clients’ charges for Zuchetto.
697   10/27/11   Zuchetto      2.25   $        330.00   $        742.50     Prepare for Rule 37 conference (1.0); Work on deposition preparation (1.25).
698   10/27/11    Dunne        0.30   $        380.00   $        114.00     Review draft of deposition outline for client deposition
699   10/27/11   Williams      1.00   $        580.00   $        580.00     Edit team deposition preparation outline;
700   10/27/11    Fisher       3.70   $        330.00   $      1,221.00     Review and pull documents in preparation for J. Moon's deposition;
                                                                          Personal conferences and correspondence regarding deposition arrangements [.3];
      10/28/11   Boschen       1.60   $        150.00 $            240.00 telephone call to client; telephone conferences with Whatcom County Jail regarding
                                                                          deposition [.4]; commenced review of Mount Vernon supplemental production [.9].
701
                                                                          Worked on various factual background issues [1.5]; analyzed issues regarding Mr.
      10/28/11   Marshall      2.20   $        375.00 $            825.00
702                                                                       Moon's arraignments and worked on same [.7].
703   10/28/11   Bledsoe       1.00   $        120.00 $            120.00 Obtain Montague, Wilbur, and Moon dockets from WA courts.
                                                                        Work on dep. prep. issues, including research re attorney client privilege (2.0);
      10/28/11   Zuchetto      5.25   $        330.00 $        1,732.50 Deposition preparation and discuss same w/ co‐counsel (1.5); Prepare for and conduct
                                                                        Rule 37 conference and draft e‐mail in response to same (1.75).
704
                                                                        Conference call with co‐counsel regarding case strategy; review files to prepare for
      10/28/11    Talner       5.60   $        400.00 $        2,240.00 client depositions; teleconference with plaintiffs' criminal defense lawyer; review
705                                                                     plaintiffs' court records to prepare for depositions


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 1               KEEPER
                                                                      Participate in litigation team conference call regarding deposition preparation and
      10/28/11   Williams      2.00   $        580.00 $      1,160.00 strategy; meet with C. Fisher on deposition preparation for J. Moon; exchange emails
706                                                                   with team on deposition preparation issues;
                                                                      Attend team conference call to discuss depositions; write letter to A. Cooley regarding J.
      10/28/11    Fisher       5.50   $        330.00 $      1,815.00 Moon's deposition and incarceration; prepare for J. Moon's deposition; call N. Talner
                                                                      and G. Hoff to discuss open and closed criminal cases;
707
                                                                      Telephone conference with Mr. Moon regarding factual background issues [.4]; worked
      10/29/11   Marshall      1.10   $        375.00 $        412.50 on same [.2]; analyzed issues regarding WSAMA brief and email correspondence with
708                                                                   expert regarding same [.5].
                                                                      Review of key documents binder for Jeremiah Moon deposition preparation and
      10/30/11   Williams      4.00   $        580.00 $      2,320.00
709                                                                   identify areas for mock cross‐examination;
                                                                      Email correspondence with co‐counsel regarding witness issues [.1]; analyzed issues
                                                                      regarding in preparation for depositions [.3]; email correspondence with co‐counsel
                                                                      regarding same [.2]; telephone call from co‐counsel regarding WSAMA amicus brief and
                                                                      strategy for responding to same [.3]; telephone conferences with Sergeant Buren at the
                                                                      Whatcom County Jail [.2]; email correspondence with opposing counsel regarding
      10/31/11   Marshall      9.20   $        375.00 $      3,450.00 deposition of Mr. Moon [.1]; worked on preparation for plaintiffs' depositions [.5]; to
                                                                      Sedro Woolley for meeting with Mr. Wilbur regarding deposition preparation [1.7];
                                                                      meeting with Mr. Wilbur regarding deposition [.8]; to Mount Vernon for meetings with
                                                                      co‐counsel and Ms. Montague in preparation for deposition [.3]; meetings with co‐
                                                                      counsel and Ms. Montague regarding depositions [3.3]; return from Mount Vernon
                                                                      [1.4].
710
                                                                        Review and analyze defendant’s supplemental discovery responses (.25); Review and
      10/31/11   Zuchetto      1.80   $        330.00 $          594.00 analyze amicus filing (.5); Discuss response w/ co‐counsel (.2); E‐mail team re same (.1);
711                                                                     Draft response re Rule 26 conference (.75).
                                                                        Email correspondence with co‐counsel re deposition of plaintiff and preparation for
      10/31/11    Dunne        0.20   $        380.00 $           76.00
712                                                                     same
                                                                      Travel to Mount Vernon and review court file of potential witness; travel to Whatcom
      10/31/11    Talner       4.40   $        400.00 $      1,760.00 County Jail to meet with plaintiff for deposition preparation; travel to Mount Vernon to
                                                                      meet with other plaintiff for deposition preparation
713



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 1               KEEPER
                                                                      Exchange emails with C. Fisher on logistical arrangements for client depositions; travel
                                                                      to Bellingham to meet with Jeremiah Moon in Bellingham prison to prepare for
      10/31/11   Williams      7.50   $        580.00 $      4,350.00
                                                                      deposition; meet with Angela Montague in Mt. Vernon at the Best Western to prepare
714                                                                   for deposition;
715   11/01/11   Boschen       0.10   $        150.00 $         15.00 Reviewed documents and correspondence regarding same;
                                                                      To Bellingham for deposition of Mr. Moon [1.8]; attended deposition of Mr. Moon [4.4];
      11/01/11   Marshall      8.80   $        375.00 $      3,300.00 meeting with co‐counsel regarding same [.6]; return from Bellingham [1.8]; email
                                                                      correspondence with co‐counsel regarding amicus filing [.2].
716
                                                                          Debrief re Moon deposition w/ co‐counsel re discovery supplement and case strategy
                                                                          (.25); Draft summary re same (.25); Review and analyze Perez‐Vargas information (.5);
      11/01/11   Zuchetto      2.05   $        330.00 $          676.50
                                                                          Work on discovery supplement letter (.75); Assist in dep. re review and provide
717                                                                       document Witt/Moon plea bargain (.3).
718   11/01/11    Fisher       8.50   $        330.00 $      2,805.00     Attend deposition of J. Moon; prepare for deposition of A. Montague;
                                                                          Prepare for and defend deposition of plaintiff Jeremiah Moon at Whatcom County Jail;
      11/01/11   Williams      9.00   $        580.00 $      5,220.00
719                                                                       travel from Whatcom County to Seattle;
                                                                          Drafted public disclosure request pertaining to Perez‐Vargas; correspondence with
      11/02/11   Boschen       0.30   $        150.00 $           45.00
720                                                                       Mount Vernon Municipal Court regarding same.
                                                                          To Mount Vernon for deposition of Ms. Montague [1.3]; defended deposition of Ms.
      11/02/11   Marshall     11.30   $        375.00 $      4,237.50     Montague [8.0]; meeting with Ms. Montague regarding same [.5]; return from Mount
721                                                                       Vernon [1.5].
                                                                          Analyze and discuss possible amicus response (.5); Draft letter re discovery supplement
      11/02/11   Zuchetto      1.50   $        330.00 $          495.00
722                                                                       (.7); Discuss Montague deposition w/ co‐counsel (.3).
723   11/02/11    Fisher      11.00   $        330.00 $      3,630.00     Attend deposition of A. Montague; travel to Seattle from Mount Vernon;
                                                                          Correspondence and personal conversations regarding amicus briefs, case status and
      11/03/11   Boschen       0.10   $        150.00 $           15.00
724                                                                       depositions.
                                                                          Worked on discovery issues [.4]; analyzed issues regarding amicus briefs [.2]; telephone
                                                                          conference with co‐counsel regarding same [1.2]; telephone call from co‐counsel
      11/03/11   Marshall      3.00   $        375.00 $      1,125.00     regarding same and case strategy issues [.2]; worked on case strategy issues [.2];
                                                                          worked on letter to opposing counsel regarding discovery issues [.3]; worked on
725                                                                       discovery and case strategy issues [.5].
                                                                          Analyze amicus filing and discuss response (2.25); Read and analyze e‐mail from def.
      11/03/11   Zuchetto      4.75   $        330.00 $      1,567.50     counsel re discovery (.25); Work on letter re discovery supplement (1.75); Respond to
726                                                                       def’s re dep. requests (.5).


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 1               KEEPER
                                                                        Teleconference with co‐counsel and consulting expert regarding response to amicus
      11/03/11    Talner       0.40   $        400.00 $          160.00
727                                                                     brief
                                                                        Exchange emails with litigation team on requesting amicus briefs in support; conference
      11/03/11   Williams      1.00   $        580.00 $          580.00
728                                                                     call with C. Fisher on Montague deposition result;
729   11/03/11    Fisher       0.40   $        330.00 $          132.00 Discuss depositions with team;
                                                                      Telephone conference with co‐counsel regarding various issues, including amicus filing,
                                                                      response to same, discovery, depositions, class certification, preliminary injunction, and
                                                                      case strategy [1.2]; email correspondence with co‐counsel regarding same [.5]; worked
      11/04/11   Marshall      3.30   $        375.00 $      1,237.50 on action items arising out of conference call [.4]; analyzed issues regarding deposition
                                                                      scheduling [.3]; email correspondence with opposing counsel regarding same [.2];
                                                                      reviewed discovery produced by Defendants [.4]; worked on class certification briefing
                                                                      [.3].
730
731   11/04/11   Dunne         0.80   $        380.00 $          304.00 Conference call with co‐counsel re case strategy and amicus briefs
732   11/04/11   Talner        0.80   $        400.00 $          320.00 Conference call with co‐counsel to discuss case strategy
      11/04/11    Fisher       0.80   $        330.00 $          264.00 Participate in team conference call to discuss amicus briefs, depositions, next steps;
733
734   11/05/11   Marshall      0.70   $        375.00 $        262.50 Worked on motion for class certification [.7].
                                                                      Researched and analyzed issues regarding standing and mootness in class actions [1.8];
      11/06/11   Marshall      6.90   $        375.00 $      2,587.50 researched and analyzed issues regarding certification under Rule 23(b)(2) [2.0]; worked
735                                                                   on plaintiffs' motion for class certification [3.1].
                                                                      Email correspondence with co‐counsel regarding deposition scheduling [.1]; prepared
                                                                      for meeting with Mr. Wilbur regarding deposition preparation [.5]; meetings with Mr.
                                                                      Wilbur's mother and efforts to contact Mr. Wilbur [1.2]; to Sedro Woolley for meeting
      11/07/11   Marshall      5.70   $        375.00 $      2,137.50 with Mr. Wilbur [1.6]; return from Sedro Woolley [1.6]; analyzed issues regarding
                                                                      deposition scheduling [.2]; left message with Mr. Sanchez regarding same [.1];
                                                                      telephone conference with Ms. Johnson regarding same [.2]; worked on motion for class
736                                                                   certification [.2].
                                                                      Correspondence with J. Strait re Defendants' summary judgment and amicus brief;
      11/07/11   Dunne         0.30   $        380.00 $        114.00
737                                                                   email correspondence with co‐counsel re plaintiffs' depositions
738   11/07/11    Talner       0.30   $        400.00 $        120.00 Emails with co‐counsel regarding litigation strategy
739   11/07/11   Williams      0.50   $        580.00 $        290.00 Review emails on discovery and upcoming depositions;
                                                                      Drafted Marshall declaration in support of motion for class certification; researched
      11/08/11    Kinsey       1.30   $        100.00 $        130.00
740                                                                   TMDW case files for inclusion.


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                                                                      Worked on narrowing requests in subpoenas to Mr. Sybrandy and Mr. Witt [.6]; drafted
                                                                      letter to Mr. Sybrandy regarding same [.3]; email correspondence with co‐counsel
                                                                      regarding same [.2]; email correspondence with co‐counsel regarding deposition
                                                                      scheduling [.2]; telephone call from co‐counsel regarding issues with Mr. Wilbur [.2];
                                                                      email correspondence with opposing counsel regarding same [.1]; analyzed issues
                                                                      regarding same [.2]; worked on motion for class certification [1.8]; researched and
      11/08/11   Marshall      7.60   $        375.00 $      2,850.00 analyzed issues regarding same [.3]; telephone call from and email correspondence with
                                                                      co‐counsel regarding motion for sanctions [.3]; analyzed issues regarding same [.2];
                                                                      telephone conference and email correspondence with Mr. Sanchez regarding deposition
                                                                      [.4]; left message with Mr. Howson regarding deposition [.1]; worked on declaration in
                                                                      support of motion for class certification [.3]; reviewed documents produced by
                                                                      Defendants [1.7]; worked on motion for class certification [.5]; email to co‐counsel
                                                                      regarding same [.2].
741
                                                                          Review and respond to team re Wilbur deposition issue (.25); Review and analyze
      11/08/11   Zuchetto      1.00   $        330.00 $          330.00
742                                                                       motion for sanctions (.75).
                                                                          Review draft of subpoena and email correspondence with co‐counsel re subpoena to
      11/08/11    Dunne        0.40   $        380.00 $          152.00   third‐party witnesses; email correspondence with co‐counsel re discovery issues and
743                                                                       depositions
                                                                          Review draft correspondence re subpoena to public defenders and email co‐counsel
      11/08/11    Talner       1.40   $        400.00 $          560.00
744                                                                       about it; review documents produced by one of the public defender
                                                                          Participate in call with A. Cooley regarding Wilbur's deposition; email team regarding
                                                                          call; telephone call T. Marshall to discuss Wilbur's deposition; compare documents M.
      11/08/11    Fisher       2.00   $        330.00 $          660.00
                                                                          Witt has produced, objected to, and still needs to produce; email team regarding
745                                                                       conclusions regarding M. Witt's production;
                                                                          Review emails and correspondence on Wilbur deposition; review motion for sanctions
      11/08/11   Williams      2.00   $        580.00 $      1,160.00     on Wilbur for failure to appear at deposition and accompanying declaration of A.
746                                                                       Cooley;




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 1               KEEPER
                                                                      Email correspondence with co‐counsel regarding case strategy issues [.1]; worked on
                                                                      same [.2]; worked on motion for class certification [3.7]; worked on declaration in
      11/09/11   Marshall      5.30   $        375.00 $      1,987.50 support of same [.3]; email correspondence with co‐counsel regarding same [.1];
                                                                      telephone conference with co‐counsel regarding same and discovery and case strategy
                                                                      issues [.7]; email to opposing counsel regarding deposition scheduling [.2].
747
748   11/09/11   Zuchetto      1.00   $        330.00 $          330.00 Review and edit motion for class certification.
                                                                        Conference call with co‐counsel re case strategy; draft Dunne declaration in support of
      11/09/11    Dunne        2.10   $        380.00 $          798.00 motion for class certification; review and revise motion for class certification; email
                                                                        correspondence with co‐counsel re discovery and depositions
749
                                                                        Draft declaration in support of class certification motion; review draft of class
      11/09/11    Talner       0.90   $        400.00 $          360.00
750                                                                     certification motion and provide comments on it
751   11/09/11    Fisher       0.90   $        330.00 $          297.00 Send transcripts of J. Moon's deposition to team; review pleadings;
                                                                      Coordinate with litigation team on strategy meeting; review and comment on class
                                                                      certification motion and declarations in support; conference call with litigation team on
      11/09/11   Williams      4.50   $        580.00 $      2,610.00 strategy for class certification and responding to sanctions motion and discovery; draft
                                                                      class certification declaration in support; review emails exchanged by litigation team on
                                                                      multiple subjects; meet with B. Roos to discuss role on litigation team;
752
                                                                        Reviewed, revised and finalized amended complaint; arranged filing and service;
                                                                        Reviewed, revised and finalized motion for class certification; prepared Marshall
      11/10/11    Kinsey       1.60   $        100.00 $          160.00 declaration; assembled exhibits; reviewed, revised and finalized Dunne, Zuchetto and
                                                                        Williams declarations; arranged filing and service of motion for class certification;
                                                                        prepared praecipe regarding amended complaint.
753
754   11/10/11   Boschen       0.70   $        150.00 $          105.00 Pulled and prepared exhibits for class certification motion [.7].




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 1               KEEPER
                                                                      Finalized amended complaint for filing [.1]; worked on motion for class certification [.5];
                                                                      email to co‐counsel regarding same [.2]; worked on declaration and exhibits in support
                                                                      of same [.2]; analyzed issues regarding amicus filing [.3]; telephone conference with
      11/10/11   Marshall      7.20   $        375.00 $      2,700.00 indigent defendant regarding factual background issues [.2]; worked on class
                                                                      certification filing [.5]; reviewed defendants' motion to disqualify and supporting
                                                                      documents [1.2]; researched and analyzed issues regarding same [3.5]; email
                                                                      correspondence and telephone conference with co‐counsel regarding same [.5].
755
                                                                          Review and analyze motion for disqualification (1.9); Prepare for and attend Rule 26
                                                                          conference re Requests for Admission (2.25); Call w/ Joseph Wilbur re deposition and
      11/10/11   Zuchetto      8.15   $        330.00 $      2,689.50     status (.75); Debrief w/ co‐counsel re same (.5); Analyze motion for class certification
                                                                          (.5); e‐mail co‐counsel re same (.25); Prepare declaration in support of class certification
756                                                                       (2.0).
                                                                          Read motion to disqualify and supporting declarations filed by cities and discuss with co‐
      11/10/11    Talner       0.90   $        400.00 $          360.00
757                                                                       counsel
                                                                          Review Defendants' motion to disqualify and accompanying declarations;
      11/10/11    Dunne        0.60   $        380.00 $          228.00
758                                                                       correspondence with J. Strait re motion to disqualify
                                                                          Coordinate research effort with research librarians to attempt to gather criminal docket
      11/10/11     Higa        0.30   $        155.00 $           46.50
759                                                                       numbers from Mt. Vernon and Burlington municipal courts;
                                                                          Finalize declaration in support of class certification; review email exchange on setting of
                                                                          depositions and on amicus briefs; review and comment on defendants' Motion to
      11/10/11   Williams      4.50   $        580.00 $      2,610.00
                                                                          Disqualify and related declarations; review finalized motion for class certification and
760                                                                       supporting declarations;
                                                                          Prepared Judge Lasnik's working copy of plaintiffs' motion for class certification;
      11/11/11    Kinsey       0.80   $        100.00 $           80.00
761                                                                       arranged delivery to court clerk's office.
                                                                        Personal conferences and correspondence regarding motion to disqualify; worked on
                                                                        removing kites from network and local machine; reviewed hard copy files for copies of
      11/11/11   Boschen       2.40   $        150.00 $          360.00
                                                                        kites; researched public disclosure request history, correspondence and conversations
                                                                        with Skagit County and the Office of Assigned Counsel; drafted summary of same.
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 1               KEEPER
                                                                      Email correspondence with co‐counsel regarding class certification filings [.1];
                                                                      researched and analyzed issues regarding motion to disqualify [2.8]; left message with
                                                                      Mr. Wend regarding factual background issues [.1]; worked on sequestering documents
      11/11/11   Marshall     10.00   $        375.00 $      3,750.00
                                                                      [1.4]; telephone conferences with co‐counsel regarding motion to disqualify [1.0];
                                                                      worked on response to same [4.4]; email correspondence with indigent defendants and
                                                                      witness regarding depositions [.2].
763
                                                                        Analyze motion for disqualification (4.25); discuss response w/ team (1.25); Research re
      11/11/11   Zuchetto      6.80   $        330.00 $      2,244.00
764                                                                     same (1.3).
765   11/11/11    Talner       1.00   $        400.00 $          400.00 Conference call with co‐counsel to discuss case strategy
                                                                        Conference call with co‐counsel re case strategy and motion to disqualify; conduct legal
      11/11/11    Dunne        1.90   $        380.00 $          722.00 research on RPC 4.4, kites as privileged documents and documents received through
766                                                                     public records request
                                                                      Conference call with litigation team on strategy for addressing motion to disqualify;
      11/11/11   Williams      3.00   $        580.00 $      1,740.00 draft letter to A. Cooley requesting additional time to respond to motion; review motion
                                                                      to disqualify; conference calls with M. Boman and L. Medway on motion to disqualify;
767
                                                                        Telephone conference with Ms. Johnson regarding deposition and factual background
      11/13/11   Marshall      0.70   $        375.00 $          262.50 issues [.2]; researched and analyzed issues regarding response to motion to disqualify
768                                                                     [.3]; prepared for Ms. Johnson's deposition [.2].
                                                                      Telephone conferences and email correspondence with co‐counsel regarding response
                                                                      to motion for disqualification and related issues [2.2]; worked on same and factual
                                                                      background issues [1.8]; worked on declaration of Tina Johnson regarding kites [.3];
                                                                      telephone conference with co‐counsel regarding same [.1]; to Mount Vernon for
                                                                      deposition of Ms. Johnson [1.2]; email correspondence with co‐counsel regarding same
      11/14/11   Marshall      9.90   $        375.00 $      3,712.50
                                                                      [.2]; meetings with Ms. Johnson regarding same [.5]; defended deposition of Ms.
                                                                      Johnson [1.8]; went to Skagit Co. Records department to research factual background
                                                                      issues [.4]; returned from Mount Vernon [.8]; telephone conference with Mr. Wend
                                                                      regarding factual background issues [.2]; telephone conference with Mr. Wilbur
                                                                      regarding factual background issues [.4].
769
                                                                      Prep. for and attend strategy session re motion to disqualify and motion for sanctions
      11/14/11   Zuchetto      5.75   $        330.00 $      1,897.50 (2.5); Call experts re ethics (1.5); Call w/ Joe Wilbur (.75); Followup w/ counselor (.5);
770                                                                   Work on Johnson declaration (.5).


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 1               KEEPER
                                                                      Conference calls with co‐counsel re motion to disqualify and jail documents; conference
      11/14/11    Dunne        1.30   $        380.00 $          494.00
771                                                                   call with J. Strait
                                                                      Prepare for and participate in litigation strategy conference call with team on motions
      11/14/11   Williams      2.00   $        580.00 $      1,160.00 to disqualify and motion for sanctions on missing Wilbur deposition; meet with B. Roos
772                                                                   and C. Fisher to develop arguments for briefs;
                                                                      Telephone conferences regarding motion to disqualify and motion for sanctions; review
      11/14/11    Roos         1.60   $        465.00 $        744.00
773                                                                   motion to disqualify;
                                                                      Telephone call to Phoenix Recovery [.1]; updated production log [.1]; bates labeled
      11/15/11   Boschen       0.40   $        150.00 $         60.00
774                                                                   public disclosure request documents from Mount Vernon [.2].
                                                                      Telephone conferences and email correspondence with co‐counsel regarding strategy
                                                                      for responding to motion to disqualify [1.0]; worked on issues regarding same [4.3];
                                                                      telephone conference and email correspondence with Mr. Weyrich regarding factual
      11/15/11   Marshall      6.30   $        375.00 $      2,362.50
                                                                      background issues [.3]; email to opposing counsel regarding scheduling of Rule 30(b)(6)
                                                                      deposition [.1]; telephone calls from Mr. Wilbur regarding legal issues [.4]; analyzed
                                                                      issues factual background issues related to Ms. Perez‐Vargas [.2]..
775
                                                                          Work on Requests for Admission amendment (.5); Debrief re Johnson deposition (.5);
                                                                          Work on obtaining expert declaration re motion to disqualify (1.25); Call w/ Joe Wilbur,
      11/15/11   Zuchetto      5.85   $        330.00 $      1,930.50
                                                                          follow up re dep. re same (1.0); Call w/ Skagit County prosecutor (.25); E‐mail team re
776                                                                       same (.25); Call declarants (2.1).
                                                                          Conference call with R. Aronson re declaration for motion to disqualify; email
      11/15/11    Dunne        0.90   $        380.00 $          342.00
777                                                                       correspondence with co‐counsel re same
778   11/15/11    Fisher       0.50   $        330.00 $          165.00   Read T. Johnson declaration; read and reply to team emails;
                                                                          Coordinate with litigation team on ideas for expert witnesses for opposition to
      11/15/11   Williams      2.00   $        580.00 $      1,160.00     disqualification motion; conference call with ACLU on making contact with Skagit
779                                                                       County;
                                                                          Draft opposition to motion to disqualify; research regarding same; telephone
      11/15/11    Roos         5.70   $        465.00 $      2,650.50
780                                                                       conference with S. Dunne regarding same;
                                                                          Travel to and from Skagit County Jail to have declarations signed [3]; worked on locating
      11/16/11   Boschen       3.30   $        150.00 $          495.00   correspondence regarding public disclosure request [.2]; reviewed documents in
781                                                                       preparation to response to Motion to Disqualify [.1].




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 1               KEEPER
                                                                      Telephone conference with Oscar regarding treatment for Mr. Wilbur [.2]; worked on
                                                                      response to motion to disqualify [4.7]; worked on declarations for response to same
                                                                      [1.2]; telephone conferences and email correspondence with Mr. Moon, Ms. Montague,
      11/16/11   Marshall     10.00   $        375.00 $      3,750.00
                                                                      Ms. Johnson, and co‐counsel regarding same [1.5]; worked on declaration of Prof.
                                                                      Aronson [.8]; telephone conference with co‐counsel regarding same [.3]; worked on
                                                                      factual background issues [.8]; worked on case strategy issues [.5].
782
                                                                         Work on response re motion for disqualification (4.0); Work on opposition re Summary
      11/16/11   Zuchetto      6.00   $        330.00 $      1,980.00
783                                                                      Judgment (2.0).
                                                                        Conference call with co‐counsel re motion to disqualify and case strategy; conference
      11/16/11    Dunne        1.70   $        380.00 $          646.00 call with ethics expert re jail documents and motion to disqualify; conference call with
                                                                        R. Aronson re his declaration in opposition to motion to disqualify;
784
                                                                         Draft opposition to defendants' motion for sanctions regarding cancellation of J.
      11/16/11    Fisher       4.10   $        330.00 $      1,353.00
                                                                         Wilbur's deposition; participate in team conference call; read and reply to emails;
785
                                                                         Draft opposition to motion to disqualify counsel; research relating to same; telephone
      11/16/11    Roos         9.20   $        465.00 $      4,278.00
786                                                                      conference relating to same;
                                                                      Prepare for litigation team conference call; attend litigation team conference call on
                                                                      deposition, motion for sanctions, and motion to disqualify; conference call with Skagit
      11/16/11   Williams      3.50   $        580.00 $      2,030.00
                                                                      County Prosecutor's Office on need for declaration from jail representative and PRA
                                                                      representative; review correspondence from ethics expert;
787
                                                                        Pulled documents for deposition of Letty Alvarez [1]; personal conferences and
      11/17/11   Boschen       1.30   $        150.00 $          195.00 correspondence regarding depositions and clients [.2]; reviewed documents produced
788                                                                     in response to public disclosure request [.1].
                                                                      Researched and analyzed factual background issues regarding kites [.9]; email
                                                                      correspondence and telephone conference with co‐counsel regarding same [.5];
      11/17/11   Marshall      7.40   $        375.00 $      2,775.00 analyzed issues regarding Mr. Wilbur's status [.2]; worked on issues regarding response
                                                                      to motion to disqualify [.1]; prepared for deposition of witness [3.4]; worked on various
                                                                      issues and materials related to response to motion to disqualify [2.3].
789




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 1               KEEPER
                                                                      Work on declarations re motion to disqualify (2.1); Work on declaration re motion for
      11/17/11   Zuchetto      4.15   $        330.00 $      1,369.50 sanctions (.4); Work on Requests for Admission responses (.7); Call w/ Joe Wilbur and
                                                                      Shannon re same (.4); Call w/ Jose Tarango re declaration (.3); Research re Kites (.25).
790
                                                                      Review and respond to emails from co‐counsel re opp'n to motion to disqualify; revise
      11/17/11    Dunne        0.60   $        380.00 $          228.00
791                                                                   attorney declaration in opp'n to motion to disqualify;
                                                                      Write opposition to defendants' motion for sanctions regarding cancellation of Wilbur's
      11/17/11    Fisher       3.60   $        330.00 $      1,188.00
792                                                                   deposition;
                                                                      Review email from Skagit County Prosecutor and coordinate request for inmate
                                                                      declaration with the team; conference call with Skagit County Prosecutor on
      11/17/11   Williams      6.00   $        580.00 $      3,480.00 declarations from Jail on Public Records Act representative; coordinate declaration with
                                                                      Sgt. J. O'Neill at Skagit County Jail; coordinate declaration of Cori Russell with Skagit
                                                                      County; edit opposition to motion for sanctions and supporting declarations;
793
794   11/17/11    Roos         5.90   $        465.00 $      2,743.50 Draft opposition to motion to disqualify counsel; research relating to same;
                                                                      Telephone conference with Mr. Hoff's office [.1]; telephone call to Phoenix Recovery
      11/18/11   Boschen       0.20   $        150.00 $         30.00
795                                                                   [.1].
                                                                      To Skagit County for deposition of witness [1.4]; defended same [5.2]; meetings with
                                                                      witness and counsel regarding same [.5]; worked on factual background issues [.8];
      11/18/11   Marshall     11.80   $        375.00 $      4,425.00 meetings with correctional officers and attorneys regarding kites and jail procedures
                                                                      [1.3]; worked on declarations for response to motion to disqualify [1.0]; telephone
                                                                      conference with co‐counsel regarding same [.2]; returned from Skagit County [1.4].
796
                                                                      Work on response to motion for sanctions (1.5); Work on response to motion to
      11/18/11   Zuchetto      6.75   $        330.00 $      2,227.50 disqualify (2.25); Work on supplement re Request for Admission responses (2.0); Team
                                                                      strategy meeting re response to motion to disqualify and witness deposition (1.0).
797
                                                                        Conference call with co‐counsel to discuss defense motion to disqualify, defense motion
      11/18/11    Talner       0.80   $        400.00 $          320.00 for sanctions, and case strategy; review draft opposition to defense motion for
798                                                                     sanctions
                                                                        Revise opposition to motion to disqualify; correspondence with R. Aronson re
      11/18/11    Dunne        0.40   $        380.00 $          152.00
799                                                                     declaration in support of opp'n to motion to disqualify counsel




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 1               KEEPER
                                                                      Participate in team call regarding motions and depositions; research cases to support
                                                                      opposition to motion to disqualify plaintiffs' attorneys including disqualification
      11/18/11    Fisher       3.80   $        330.00 $      1,254.00
                                                                      inappropriate when counsel did not act in bad faith and when opposing party did not
800                                                                   suffer prejudice or injury;
                                                                      Participate in conference call with litigation team; edit plaintiffs' opposition to motion
                                                                      for sanctions and declarations of T. Marshall and C. Fisher; research caselaw under CR
      11/18/11   Williams      5.00   $        580.00 $      2,900.00 37 on second chance to comply with discovery orders and civil rules; update opposition
                                                                      to sanctions motion to include CR 37 research; coordinate declarations for opposition to
801                                                                   motion to disqualify;
                                                                      Draft opposition to motion to disqualify; research regarding same; review declarations
      11/18/11    Roos         6.50   $        465.00 $      3,022.50
802                                                                   in support of same;
                                                                      Reviewed rough transcript of deposition of witness [.4]; email correspondence with co‐
                                                                      counsel regarding same [.2]; worked on opposition to motion to disqualify counsel [1.2];
                                                                      researched and analyzed issues regarding same [.4]; telephone call from co‐counsel
      11/19/11   Marshall      3.90   $        375.00 $      1,462.50
                                                                      regarding same [.4]; email correspondence with co‐counsel regarding same [.4]; worked
                                                                      on opposition to motion for sanctions and declarations in support of same [.8]; email
                                                                      correspondence with co‐counsel regarding same [.1].
803
804   11/19/11   Zuchetto      1.50   $        330.00 $          495.00 Work on response to motion to disqualify.
      11/19/11    Roos         2.10   $        465.00 $          976.50 Draft opposition to motion to disqualify; review declarations in support of same;
805
806   11/20/11   Zuchetto      1.00   $        330.00 $          330.00 Work on response to motion to disqualify.
                                                                        Edit opposition to motion for sanctions and opposition to motion for disqualification of
      11/20/11    Fisher       1.80   $        330.00 $          594.00
807                                                                     plaintiffs' attorneys;
      11/20/11    Roos         3.80   $        465.00 $      1,767.00 Draft opposition to motion to disqualify; review declarations in support of same;
808
                                                                      Prepared draft of and finalize letter to Judge Lasnik; arrange delivery of exhibits for in
      11/21/11    Kinsey       0.50   $        100.00 $           50.00
809                                                                   camera review.
                                                                      Telephone conference with Phoenix Recovery [.1]; reviewed deposition transcript of
      11/21/11   Boschen       0.40   $        150.00 $         60.00
810                                                                   Letty Alvarez [.3].
                                                                      Worked on response to motion to disqualify and issues related to same [4.7]; worked on
      11/21/11   Marshall      5.90   $        375.00 $      2,212.50 issues regarding Mr. Wilbur' treatment [.2]; worked on discovery and witness issues
811                                                                   [1.0].



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 1               KEEPER
                                                                          Work on response to motion to disqualify (3.75); Team strategy meeting re motion to
      11/21/11   Zuchetto      4.25   $        330.00 $      1,402.50
812                                                                       disqualify (.5).
      11/21/11    Talner       0.50   $        400.00 $          200.00 Conference call with co‐counsel regarding finalizing response to motion to disqualify
813
                                                                      Finalize opposition to motion for sanctions and coordinate filing; finalize opposition to
      11/21/11   Williams      4.50   $        580.00 $      2,610.00
814                                                                   motion to disqualify and declarations;
                                                                      Revise opposition to motion to disqualify; revise declarations in support of same;
      11/21/11    Roos         5.50   $        465.00 $      2,557.50
815                                                                   prepare same for filing; telephone conference regarding oppositions;
                                                                          Telephone conference with Sun Ray Courte [.2]; telephone call to client's relative [.1];
      11/22/11   Boschen       0.50   $        150.00 $           75.00
                                                                          correspondence regarding medical release and proof of treatment [.2].
816
                                                                      Telephone call from Mr. Sanchez regarding deposition [.4]; prepared for same [.1];
                                                                      researched and analyzed issues regarding immigration status [.2]; email correspondence
                                                                      with co‐counsel regarding same [.1]; email correspondence with co‐counsel regarding
                                                                      discovery issues [.2]; analyzed issues regarding same [.2]; telephone call from Mr.
      11/22/11   Marshall      5.70   $        375.00 $      2,137.50 Rosenberg regarding scheduling of class certification briefing [.1]; analyzed issues
                                                                      regarding same [.1]; email correspondence with co‐counsel and Mr. Rosenberg
                                                                      regarding same [.1]; to Mount Vernon for deposition of Mr. Sanchez [1.4]; meetings
                                                                      with Mr. Sanchez regarding same [.4]; defended Mr. Sanchez's deposition [1.1];
                                                                      returned from same [1.3].
817
                                                                        Analyze immigration issues re deposition (.4); E‐mail co‐counsel re same (.1); Debrief
                                                                        with counsel re deposition issues (.5); Analyze e‐mail re Subpoena Duces Tecum
      11/22/11   Zuchetto      2.25   $        330.00 $          742.50
                                                                        narrowing/issues (.25); Analyze discovery re bid proposals (.25); Draft discovery
818                                                                     deficiency letter re same (.75).
                                                                          Teleconference with co‐counsel regarding methods for further investigation of merits
      11/22/11    Talner       0.60   $        400.00 $          240.00
                                                                          of the case; teleconference and email with co‐counsel regarding deposition issues
819
                                                                      Review and exchange email with team on class certification; coordinate with experts
      11/22/11   Williams      2.00   $        580.00 $      1,160.00 and with Skagit County Prosecutor's office on opposition to motion to disqualify; review
                                                                      team emails on third‐party document production by Sybrandy and Witt;
820
821   11/22/11    Roos         0.30   $        465.00 $          139.50 Telephone conference with N. Talner regarding review of court files;



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 1               KEEPER
                                                                      Researched and analyzed issues regarding relevance objections at depositions [.1];
                                                                      analyzed issues regarding Mr. Wilbur's custody and treatment options [.2]; telephone
                                                                      conference with Mr. Wilbur regarding same [.2]; email to Mr. Hoff regarding same [.1];
                                                                      worked on gathering materials to mail to Mr. Wilbur regarding same [.2]; researched
                                                                      and analyzed issues regarding WSAMA's amicus brief [.3]; drafted response to same
      11/23/11   Marshall      3.90   $        375.00 $      1,462.50 [.2]; reviewed defendants' reply in support of motion for disqualification [.2]; analyzed
                                                                      issues regarding witness's testimony [.2]; email correspondence with co‐counsel
                                                                      regarding same [.1]; drafted and filed notice of intent to file surreply [.3]; drafted
                                                                      motion to strike false representations in defendants' reply in support of disqualification
                                                                      [1.5]; email correspondence and telephone conference with co‐counsel regarding same
                                                                      [.3].
822
                                                                        Analyze reply re motion for disqualification (1.1); Work on sur‐reply re motion for
      11/23/11   Zuchetto      2.80   $        330.00 $          924.00 disqualification (.7); Draft letter re discovery deficiency (.75); Analyze amicus re
823                                                                     potential response and discuss same w/ co‐counsel (.25).
                                                                          Read reply brief regarding cities' motion to disqualify; read reply brief regarding cities'
      11/23/11    Talner       0.50   $        400.00 $          200.00
                                                                          motion for sanctions; review plaintiffs' statement regarding WSAMA amicus brief
824
                                                                          Review reply regarding motion to disqualify; review reply regarding motion for
      11/23/11    Roos         1.20   $        465.00 $          558.00
825                                                                       sanctions; communications regarding same;
                                                                        Reviewed, revised and finalized statement regarding amicus curiae brief; arranged filing
      11/28/11    Kinsey       1.50   $        100.00 $          150.00 and service; reviewed, revised and finalized surreply regarding motion to exclude and
                                                                        disqualify experts; arranged filing and service.
826
                                                                        Finalized surreply on motion for disqualification and response to WSAMA motion for
      11/28/11   Marshall      0.40   $        375.00 $          150.00 leave to file amicus brief [.2]; telephone conference with Mr. Wilbur regarding
827                                                                     treatment issues [.2].
                                                                        Review and analyze response to motion for Preliminary Injunction (1.25); Work on
      11/28/11   Zuchetto      1.75   $        330.00 $          577.50
828                                                                     discovery letter (.5).
                                                                      Review defendants' Reply on Motion to Disqualify; review emails on surreply brief and
      11/28/11   Williams      1.80   $        580.00 $      1,044.00 other matters involving court filings; review Statement of Plaintiffs Regarding Motion of
                                                                      Washington Association of Municipal Attorneys to File Amicus Brief;
829



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 1               KEEPER
                                                                        Reviewed and annotated deposition testimony; personal conferences and
      11/29/11   Boschen       4.10   $        150.00 $          615.00 correspondence regarding same; printed transcripts and prepared mailings to
830                                                                     deponents.
                                                                      Telephone call from Mr. Wilbur regarding treatment issues [.1]; reviewed defendants'
                                                                      materials in response to motion for preliminary injunction and analyzed issues
                                                                      regarding same [4.2]; worked on response to same [.4]; telephone conference with co‐
                                                                      counsel regarding strategy for reply in support of motion for preliminary injunction [.9];
                                                                      left message with Mr. Hoff regarding Mr. Wilbur's ability to get into treatment [.1]; left
                                                                      message with Mr. Wilbur's friend regarding certificate of treatment completion [.1];
      11/29/11   Marshall      7.30   $        375.00 $      2,737.50 telephone conference with Mr. Wilbur regarding same [.1]; left message with Ms.
                                                                      Osborne regarding status of case [.1]; email to Ms. Osborne regarding same and
                                                                      disengagement [.3]; telephone call from Mr. Hoff regarding Mr. Wilbur's treatment
                                                                      issues [.1]; telephone conference with Mr. Howson regarding deposition [.2]; message
                                                                      from Ms. Osborne regarding status of case [.1]; exchanged messages with and
                                                                      telephone call from Ms. Montague regarding factual background issues [.3]; worked on
                                                                      same [.3].
831
                                                                          Analyze response re motion for Preliminary Injunction (1.25); Prepare for and attend
      11/29/11   Zuchetto      2.25   $        330.00 $          742.50
                                                                          team strategy session re reply to motion for Preliminary Injunction (1.0).
832
                                                                          Conference call with co‐counsel re case strategy and plaintiffs' reply for motion for a
      11/29/11    Dunne        1.10   $        380.00 $          418.00
                                                                          preliminary injunction; email correspondence with co‐counsel re WSBA standards
833
                                                                      Emails with co‐counsel to discuss reply brief re injunction motion; conference call with
      11/29/11    Talner       4.40   $        400.00 $      1,760.00 co‐counsel to discuss reply brief regarding injunction motion; research legal issues
                                                                      regarding reply brief, injunction motion and email research results to co‐counsel
834
                                                                      Conferences regarding reply regarding motion for preliminary injunction and related
      11/29/11    Roos         1.20   $        465.00 $          558.00
835                                                                   issues; communications regarding same;
836   11/29/11    Fisher       3.50   $        330.00 $      1,155.00 Draft reply to opposition to preliminary injunction motion;
                                                                      Review Cities' opposition to Plaintiffs' Motion for Preliminary Injunction; coordinate
      11/29/11   Williams      8.50   $        580.00 $      4,930.00 with litigation team on injunction and discovery questions; begin drafting plaintiffs'
                                                                      reply brief; send email to Skagit County Prosecutor on status of motion to disqualify;
837


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 1               KEEPER
                                                                     Continued reviewing and annotating deposition; drafted memorandum regarding same;
                                                                     correspondence regarding same; telephone conferneces with municipal courts
      11/30/11   Boschen      8.90   $        150.00 $      1,335.00
                                                                     regarding client case status; drafted public disclosure requests to municipal courts;
838                                                                  correspondence regarding same.
                                                                     Worked on getting additional case file documents for named plaintiffs [.1]; drafted
                                                                     notes from call with Mr. Hoff regarding Mr. Wilbur's ability to get into treatment [.1];
                                                                     worked on factual background issues for reply in support of motion for preliminary
                                                                     injunction [2.7]; worked on reply in support of motion for preliminary injunction [5.6];
      11/30/11   Marshall     9.90   $        375.00 $      3,712.50
                                                                     email correspondence with co‐counsel regarding same [.2]; reviewed hearing on Perez‐
                                                                     Vargas matter and drafted notes of same [.9]; email to co‐counsel regarding same [.1];
                                                                     telephone call from Mr. Wilbur regarding treatment issues [.1]; left message with Mr.
                                                                     Wilbur's sister regarding same [.1].
839
840   11/30/11   Zuchetto     0.70   $        330.00 $          231.00 Work on reply re motion for Preliminary Injunction.
                                                                         Review documents produced in discovery; research reply brief regarding injunction
      11/30/11    Talner      4.90   $        400.00 $      1,960.00
                                                                         motion; discuss reply brief regarding injunction motion with co‐counsel
841
                                                                         Conduct legal research on standing and mootness for reply brief for motion for
      11/30/11    Dunne       1.50   $        380.00 $          570.00
842                                                                      preliminary injunction; meeting with N. Talner re same
                                                                     Continue drafting and editing Plaintiffs' Reply on Cross‐Motion for preliminary
      11/30/11   Williams     6.50   $        580.00 $      3,770.00 judgment; continue review of Defendants' declarations in support of opposition; review
                                                                     emails from co‐counsel on additions to make to reply brief;
843
                                                                         Telephone conference with N. Talner; draft standing section for reply to opposition to
      11/30/11    Fisher      3.80   $        330.00 $      1,254.00
844                                                                      motion for preliminary injunction;
      12/01/11   Boschen      0.20   $        150.00 $           30.00 Reviewed reply on motion for preliminary injunction; correspondence regarding same.
845
                                                                     Worked on reply in support of motion for preliminary injunction [6.3]; researched and
                                                                     analyzed issues regarding same [2.4]; email correspondence and telephone conference
      12/01/11   Marshall    14.80   $        375.00 $      5,550.00
                                                                     with co‐counsel regarding same [.5]; to Mount Vernon for deposition of Mr. Howson
                                                                     [1.2]; defended deposition of Mr. Howson [2.8]; returned from Mount Vernon [1.6].
846
847   12/01/11   Zuchetto     4.40   $        330.00 $      1,452.00 Work on reply re Preliminary Injunction motion.



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 1               KEEPER
                                                                       Review draft reply brief regarding injunction motion, do additional research on it, do
      12/01/11    Talner      1.50   $        400.00 $          600.00
848                                                                    revisions to draft
849   12/01/11    Fisher      2.20   $        330.00 $          726.00 Draft reply brief;
850   12/01/11     Roos       0.40   $        465.00 $          186.00 Review reply in support of preliminary injunction motion;
                                                                     Worked on deposition exhibits to declaration in support of cross motion for preliminary
                                                                     injunction; prepared pleadings and exhibits for filing with court; filed pleadings with
      12/02/11   Boschen      6.90   $        150.00 $      1,035.00
                                                                     court; printed pleadings for court; correspondence and personal conferences regarding
                                                                     reply on cross motion for preliminary injunction.
851
                                                                     Worked on reply in support of motion for preliminary injunction [6.7]; worked on
      12/02/11   Marshall     8.60   $        375.00 $      3,225.00 declaration in support of same [.5]; email correspondence with co‐counsel regarding
                                                                     varioius issues [.5]; worked on filings [.4]; worked on case strategy issues [.5].
852
853   12/02/11   Zuchetto     3.30   $        330.00 $      1,089.00 Work on reply re motion for Preliminary Injunction.
854   12/02/11    Talner      1.90   $        400.00 $        760.00 Revisions to reply brief regarding injunction motion
                                                                     Review and edit plaintiffs' reply brief on cross‐petition for preliminary injunction and
      12/02/11   Williams     4.50   $        580.00 $      2,610.00 related declarations; coordinate with co‐counsel on filing arrangements for reply brief;
                                                                     coordinate Moon and Montague videotaped deposition synchronization;
855
                                                                       Email correspondence with court reporters, co‐counsel, and Ms. Miller regarding
      12/04/11   Marshall     0.20   $        375.00 $           75.00 depositions of witnesses [.1]; analyzed issues regarding signatures and correction sheets
856                                                                    for same [.1].
                                                                       Prepared notebook for Judge Lasnik containing reply in support of motion for
      12/05/11    Kinsey      1.10   $        100.00 $          110.00 preliminary injunction and opposition to defendants' motion for summary judgment;
857                                                                    arranged delivery by messenger.

                                                                       Worked on document management issues [.1]; telephone call from Mr. Wilbur
                                                                       regarding factual background issues [.2]; telephone call from co‐counsel regarding case
                                                                       strategy and witness issues [.3]; email correspondence with Ms. Montague regarding
      12/05/11   Marshall     1.30   $        375.00 $          487.50 additional witnesses [.1]; reviewed defendants' notice of intent to file surreply and
                                                                       analyzed issues regarding same [.1]; attempted to contact Mr. Wilbur's sister regarding
                                                                       treatment certificate [.1]; email correspondence with co‐counsel regarding class
                                                                       certification motion [.1]; analyzed issues regarding response to same [.3].
858


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 1                KEEPER
859   12/05/11   Zuchetto     1.25   $        330.00 $          412.50 Analyze def’s response to motion for class certification.
                                                                       Review pending motions regarding class certification, summary judgment and
      12/05/11    Roos        0.90   $        465.00 $          418.50
860                                                                    preliminary injunction;
                                                                         Read reply to opposition for preliminary injunction; discussion amending complaint and
      12/05/11    Fisher      1.30   $        330.00 $          429.00
                                                                         seeking new plaintiffs at jail; read opposition to motion for class certification;
861
                                                                     Review email on reply brief filing; review defendants' notice of mootness motion;
                                                                     review final reply brief on cross‐motion for preliminary injunction; conference call with
      12/05/11   Williams     1.90   $        580.00 $      1,102.00
                                                                     N. Talner of ACLU on same; begin review of Cities' opposition to class certification
862                                                                  motion;
                                                                     Telephone calls to clients; correspondence regarding jail visits; prepared letter and
      12/06/11   Boschen      0.30   $        150.00 $         45.00
863                                                                  mailing of transcript.
                                                                       Telephone conference with Mr. Wilbur regarding factual background issues [.2];
      12/06/11   Marshall     2.40   $        375.00 $          900.00 reviewed defendants' response to class certification motion and related documents
                                                                       [1.2]; telephone conference with co‐counsel regarding same [1.0].
864
                                                                         Research re flat fee PD contracts (.2); Work on reply re class certification. motion (2.75);
      12/06/11   Zuchetto     3.15   $        330.00 $      1,039.50
865                                                                      Analyze def’s filing re surreply (.2).
                                                                     Review cities' brief re class certification; conference call with co‐counsel re litigation
      12/06/11    Talner      3.40   $        400.00 $      1,360.00 strategy and planning for response to cities' brief; draft documents and conduct
                                                                     investigation regarding meeting with potential clients and witnesses
866
                                                                         Telephone conference regarding new class representatives and class certification reply;
      12/06/11    Roos        1.10   $        465.00 $          511.50
                                                                         review briefing regarding mootness due to change public defense system;
867
                                                                     Review opposition to Plaintiffs' Motion for Class Certification; participate in conference
      12/06/11   Williams     3.50   $        580.00 $      2,030.00 call with litigation team on case strategy; review Moon and Montague videotaped
868                                                                  deposition excerpts submitted to the Court;
                                                                     Worked on reply in support of class certification motion [3.4]; researched and analyzed
      12/07/11   Marshall     5.70   $        375.00 $      2,137.50
869                                                                  issues regarding same [2.3].
                                                                     Work on reply re class certification brief (3.5); Read and analzye def’s surreply re
      12/07/11   Zuchetto     3.90   $        330.00 $      1,287.00
870                                                                  Preliminary Injunction motion (.4).
                                                                     Travel to and from Skagit County Jail; meet with potential witnesses and clients at the
      12/07/11    Talner      7.40   $        400.00 $      2,960.00
871                                                                  jail; prepare witness and client statements


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 1               KEEPER
                                                                           Review defendants' surreply on motion for preliminary injunction; exchange emails with
      12/07/11   Williams     1.00   $        580.00 $            580.00
872                                                                        litigation team on identification of new class representatives;
                                                                           Telephone call to Burlington municipal court regarding documents [.1]; correspondence
      12/08/11   Boschen      0.20   $        150.00 $             30.00
873                                                                        regarding same [.1].
                                                                           Worked on reply in support of class certification motion [6.7]; researched and analyzed
      12/08/11   Marshall     9.20   $        375.00 $        3,450.00
874                                                                        issues regarding same [2.5].
875   12/08/11   Zuchetto     4.75   $        330.00   $      1,567.50     Work on class certification reply brief.
876   12/08/11    Dunne       0.20   $        380.00   $         76.00     Revise and process retainer agreements for new plaintiffs
877   12/08/11    Talner      0.30   $        400.00   $        120.00     Circulate witness documents to co‐counsel
878   12/08/11   Williams     0.50   $        580.00   $        290.00     Review email exchange on identification of additional class representatives;
                                                                         Reviewed, revised and finalized plaintiffs' reply in support of motion for class
      12/09/11    Kinsey      0.60   $        100.00 $             60.00 certification; finalized Hasty, Fowkes Barter and Martineau declarations regarding same;
                                                                         finalized Marshall declaration; arranged filing and service of same.
879
                                                                           Prepared letter to Burlington Municipal Court regarding public disclosure request;
      12/09/11   Boschen      0.90   $        150.00 $            135.00
880                                                                        correspondence regarding same.
                                                                       Worked on reply in support of class certification and declaration supporting same [3.4];
      12/09/11   Marshall     4.10   $        375.00 $        1,537.50 email correspondence with co‐counsel regarding same [.3]; worked on filing [.2];
                                                                       telephone conference with Ms. Osborne regarding case status [.2].
881
882   12/09/11   Zuchetto     1.50   $        330.00 $            495.00 Edit class certification brief.
                                                                         Analyzed issues regarding filing of reply in support of class certification [.1]; email
                                                                         correspondence with Ms. Montague regarding same and factual background issues [.2];
                                                                         telephone call from Mr. Wilbur regarding factual background and case issues [.2];
      12/12/11   Marshall     1.00   $        375.00 $            375.00
                                                                         worked on document management issues [.2]; drafted letter to Ms. Osborne regarding
                                                                         termination of representation [.2]; email correspondence with Ms. Osborne regarding
                                                                         order dismissing charge against her son [.1].
883
                                                                       Review and revise final version of Plaintiffs' Reply Re: Motion for Class Certification and
      12/12/11   Williams     1.50   $        580.00 $            870.00
884                                                                    supporting declarations;
                                                                       Continued document review and deposition preparation; correspondence and personal
      12/13/11   Boschen      6.90   $        150.00 $        1,035.00
885                                                                    conferences regarding same.
                                                                       Telephone conference with Mr. Wilbur regarding status of criminal case [.1]; email
      12/13/11   Marshall     0.20   $        375.00 $           75.00
886                                                                    correspondence with co‐counsel and Mr. Hoff regarding same [.1].


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 1               KEEPER
      12/14/11    Kinsey      0.30   $        100.00 $           30.00 Reviewed, revised and finalized letter to Ms. Osborne regarding client disengagement.
887
                                                                       Analyzed issues regarding deposition transcripts [.1]; email correspondence with co‐
      12/14/11   Marshall     0.20   $        375.00 $           75.00
888                                                                    counsel regarding same [.1].
                                                                       Correspondence regarding deposition testimony[.1]; researched client's upcoming
      12/15/11   Boschen      0.20   $        150.00 $           30.00
889                                                                    hearings in municipal court [.1].
                                                                         Analyzed issues regarding signature of Ms. Johnson for deposition transcript [.1]; email
      12/15/11   Marshall     0.20   $        375.00 $           75.00
                                                                         correspondence with co‐counsel regarding handling of deposition costs [.1].
890
                                                                         Email correspondence with co‐counsel and Mr. Howson regarding deposition transcript
                                                                         [.1]; email correspondence with co‐counsel regarding status of Mr. Wilbur's criminal
      12/16/11   Marshall     0.40   $        375.00 $          150.00
                                                                         case [.1]; analyzed issues regarding deposition costs [.1]; telephone call from Mr. Wilbur
891                                                                      regarding medication issues [.1].
892   12/16/11   Zuchetto     0.30   $        330.00 $           99.00   E‐mail co‐counsel re client issue.
                                                                         Reviewed order granting motion for leave to file amicus brief [.1]; telephone conference
      12/19/11   Marshall     0.20   $        375.00 $           75.00
893                                                                      and email correspondence with co‐counsel regarding same [.1].
894   12/19/11    Dunne       0.10   $        380.00 $           38.00   Review Order from court re motion for leave to file amicus brief
895   12/19/11    Fisher      0.40   $        330.00 $          132.00   Read amicus curiae brief submitted on behalf of defendants;
                                                                         Review amicus brief and consider options for response; communications regarding
      12/19/11    Roos        0.50   $        465.00 $          232.50
896                                                                      same;
                                                                     Email correspondence with indigent defendant regarding factual background issues [.2];
                                                                     telephone call from Mr. Wilbur regarding factual background and discovery issues [.3];
      12/20/11   Marshall     3.00   $        375.00 $      1,125.00 worked on same [.1]; analyzed issues regarding WSAMA brief and worked on response
                                                                     to same [2.0]; telephone call from Mr. Moon regarding factual background and
                                                                     discovery issues [.2]; analyzed legal issues [.2].
897
                                                                     Review amicus brief from Washington State Association of Municipal attorneys and
      12/20/11   Williams     2.50   $        580.00 $      1,450.00 discuss possible response with B. Roos and C. Fisher; conference call with team on
898                                                                  response to amicus brief;
899   12/20/11    Roos        0.70   $        465.00 $        325.50 Telephone conference regarding response to amicus brief; revise same;
900   12/21/11   Boschen      0.30   $        150.00 $         45.00 Drafted and printed letter to client; prepared mailing of same.
                                                                     Telephone call from co‐counsel regarding response to WSAMA brief [.2]; worked on
      12/21/11   Marshall     0.60   $        375.00 $        225.00
901                                                                  factual background and case strategy issues regarding same [.4].



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 1               KEEPER
                                                                         Telephone conferences with co‐counsel and Ms. Knox regarding factual background
      12/22/11   Marshall     1.10   $        375.00 $          412.50
902                                                                      issues [.8]; analyzed issues regarding same [.3].
      12/22/11   Zuchetto     0.70   $        330.00 $          231.00 Discuss amicus response w/ co‐counsel (.2); call to potential declarant re same (.5).
903
                                                                       Review summary judgment and preliminary injunction briefing; draft response to
      12/22/11    Roos        1.90   $        465.00 $          883.50
904                                                                    amicus curiae brief;
                                                                       Email from Mr. Hoff regarding plea deal offered to Mr. Wilbur [.1]; analyzed issues
      12/26/11   Marshall     0.20   $        375.00 $           75.00
905                                                                    regarding same [.1].
                                                                         Email correspondence with co‐counsel regarding Burlington's plea offer to Mr. Wilbur
      12/27/11   Marshall     0.30   $        375.00 $          112.50
                                                                         [.1]; analyzed issues regarding same [.1]; left message with Mr. Hoff regarding same [.1].
906
907   12/27/11    Roos        5.80   $        465.00 $      2,697.00 Draft response to WSAMA brief; research relating to same;
908   12/27/11   Williams     0.50   $        580.00 $        290.00 Exchange emails on Wilbur potential mootness issue;

                                                                       Email correspondence with counsel for witness regarding corrections to deposition
                                                                       transcript [.1]; telephone call from Mr. Hoff regarding Mr. Wilbur's criminal matters and
                                                                       other factual background issues [.1]; email to co‐counsel regarding same [.2];
                                                                       researched and analyzed issues regarding recent city council meeting minutes and
      12/28/11   Marshall     1.50   $        375.00 $          562.50
                                                                       agendas for Mount Vernon and Burlington [.2]; telephone call from Ms. Talner regarding
                                                                       issues surrounding contract extension and other factual background matters [.4];
                                                                       researched and analyzed issues regarding same [.2]; telephone conference with Mr.
                                                                       Zuchetto regarding same [.1]; drafted letter to opposing counsel regarding same [.2].
909
                                                                         Research and draft response to WSAMA amicus brief; discuss calls to clients with co‐
      12/28/11    Talner      3.50   $        400.00 $      1,400.00
910                                                                      counsel; discuss new info in case with co‐counsel
911   12/28/11    Roos        3.80   $        465.00 $      1,767.00     Draft response to WSAMA brief; research relating to same;
                                                                         Review email exchange from T. Marshall on status of Wilbur's criminal case; discuss
      12/28/11   Williams     0.70   $        580.00 $          406.00
912                                                                      draft response to amicus brief with B. Roos;
                                                                         Email correspondence with co‐counsel regarding response to WSAMA's amicus brief
      12/29/11   Marshall     0.60   $        375.00 $          225.00
913                                                                      [.1]; analyzed issues regarding same [.1]; worked on same [.4].
914   12/29/11   Zuchetto     1.10   $        330.00 $        363.00     Edit response re Amicus filing.
915   12/29/11     Roos       3.00   $        465.00 $      1,395.00     Revise response to WSAMA brief; incorporate team comments into same;




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 1               KEEPER
                                                                         Meet with B. Roos to discuss draft brief responding to Amicus; review and edit response
      12/29/11   Williams     1.00   $        580.00 $          580.00
                                                                         to Amicus brief from Washington State Association of Municipal Attorneys;
916
                                                                     Telephone conference with Mr. Wilbur regarding factual background issues [.1]; worked
      12/30/11   Marshall     1.20   $        375.00 $        450.00 on response to WSAMA brief [1.0]; email correspondence with co‐counsel regarding
917                                                                  same [.1].
                                                                     Review and revise plaintiffs' response to WASAMA amicus brief; meeting with L. Baker
      12/30/11    Dunne       0.40   $        380.00 $        152.00
918                                                                  re calls with R. Martineau
919   01/03/12    Roos        1.80   $        465.00 $        837.00 Revise response to WSAMA brief; draft declaration in support of same;
920   01/03/12   Williams     0.50   $        580.00 $        290.00 Edit and finalize opposition to WSAMA amicus brief;
                                                                     Teleconference with client regarding jail medical issues; discuss response to WSAMA
      01/04/12    Talner      0.40   $        400.00 $        160.00
921                                                                  amicus brief with co‐counsel
922   01/04/12    Roos        2.10   $        465.00 $        976.50 Revise response to WSAMA brief; prepare same for filing;
                                                                     Reviewed supplemental production of documents from defendants [.3]; analyzed issues
      01/17/12   Marshall     0.60   $        375.00 $        225.00 and email correspondence with co‐counsel regarding same [.1]; telephone conference
923                                                                  with Mr. Wilbur regarding status of lawsuit [.2].
                                                                     Email correspondence with co‐counsel regarding discovery and case strategy issues [.1];
      01/18/12   Marshall     0.20   $        375.00 $         75.00
924                                                                  worked on case management issues [.1].
                                                                     Review discovery responses; conference with J. Williams regarding same and plaintiffs'
      01/18/12    Roos        0.50   $        465.00 $        232.50
925                                                                  discovery;
926   01/19/12   Boschen      0.20   $        150.00 $         30.00 Updated production log [.1]; filed production [.1];
                                                                     Review email exchange on discovery questions; review and analyze defendants'
      01/19/12   Williams     1.50   $        580.00 $        870.00
927                                                                  supplemental responses to discovery;
928   01/20/12   Zuchetto     0.75   $        330.00 $        247.50 Edit response to Amicus filing.
                                                                     Email correspondence with co‐counsel regarding hearing on preliminary injunction and
                                                                     summary judgment motions [.2]; analyzed issues regarding same [.1]; email
      01/23/12   Marshall     0.40   $        375.00 $        150.00
                                                                     correspondence with co‐counsel on scheduling of call to discuss case strategy and
929                                                                  discovery issues [.1].
930   01/23/12    Fisher      0.30   $        330.00 $         99.00 Speak with team and R. Lasnik's office to set up oral argument;
                                                                     Coordinate with USDC on oral argument for outstanding motions; exchange emails with
      01/23/12   Williams     2.00   $        580.00 $      1,160.00 team on setting up strategy conference call; discuss oral argument strategy and
931                                                                  implications with D. Burman and B. Roos;




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 1               KEEPER
                                                                       Prepared for telephone conferences with co‐counsel regarding case strategy, discovery,
      01/24/12   Marshall     1.40   $        375.00 $          525.00 and hearing issues [.2]; participated in same [.9]; worked on action items regarding
                                                                       same [.2]; email correspondence with consulting expert regarding status of case [.1].
932
                                                                         Call w/ team re litigation strategy (1.0); Research re current status/Preliminary
      01/24/12   Zuchetto     2.00   $        330.00 $          660.00
933                                                                      Injunction (1.0).
                                                                         Conference call with co‐counsel re hearing on summary judgment motion and
      01/24/12    Dunne       0.80   $        380.00 $          304.00   preliminary injunction and class certification; review Order from court denying motion
934                                                                      for sanctions
                                                                         Telephone conference regarding discovery and hearing regarding preliminary injunction
      01/24/12    Roos        1.00   $        465.00 $          465.00
935                                                                      and summary judgment motions;
                                                                         Participate on conference call with litigation team on strategy and status of client
      01/24/12   Williams     1.50   $        580.00 $          870.00   representation; discuss case strategy with B. Roos and C. Fisher; review Court's Minute
936                                                                      Order;
                                                                         Reviewed order denying sanctions over Wilbur deposition [.1]; worked on update to
      01/25/12   Marshall     0.20   $        375.00 $           75.00
937                                                                      clients regarding status of litigation [.1].
938   01/25/12   Zuchetto     0.25   $        330.00 $           82.50   Review and analyze Court’s order denying motion for sanctions.
939   01/25/12     Roos       0.20   $        465.00 $           93.00   Review court order regarding motion for sanctions;
                                                                         Reviewed client case history [.2]; drafted and emailed public disclosure requests to
                                                                         Mount Vernon and Burlington [.5]; personal conference regarding same [.1]; telephone
      01/26/12   Boschen      1.20   $        150.00 $          180.00
                                                                         conference with client [.1]; telephone calls to clients [.1]; personal conferences
940                                                                      regarding hearing notebooks [.2].
941   01/26/12   Marshall     0.50   $        375.00 $          187.50   Worked on discovery and factual background issues [.5].
                                                                         Correspondence regarding public disclosure requests [.1]; submitted check requests for
      01/27/12   Boschen      0.20   $        150.00 $           30.00
942                                                                      same [.1].
943   01/31/12   Boschen      0.20   $        150.00 $           30.00   Prepared mailings to municipal courts for public disclosure requests [.2].
944   02/01/12   Boschen      0.10   $        150.00 $           15.00   Correspondence regarding client's status [.1].
                                                                         Begin reviewing defendant's summary judgment motions and cases cited in preparation
      02/01/12   Williams     2.50   $        580.00 $      1,450.00
945                                                                      for summary judgment oral argument;
946   02/02/12   Zuchetto     0.10   $        330.00 $           33.00   E‐mail co‐counsel re outstanding discovery.
                                                                         Continue review of defendants' Motions for Summary Judgment and cases cited as
                                                                         authority; begin developing outline of responses to defendants' Motions for Summary
      02/02/12   Williams     8.00   $        580.00 $      4,640.00
                                                                         Judgment; conference call with N. Talner on strategy for oral argument and Supreme
947                                                                      Court caselaw;


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 1               KEEPER
      02/03/12   Boschen      0.20   $        150.00 $           30.00 Reviewed discovery correspondence [.1]; email correspondence regarding same [.1].
948
949   02/06/12   Marshall     0.40   $        375.00 $          150.00 Telephone call from co‐counsel regarding discovery issues [.4].
      02/06/12   Zuchetto     0.70   $        330.00 $          231.00 Discuss Sybrandy/Witt productions with co‐counsel and e‐mail co‐counsel re same.
950
                                                                         Write letter to opposing counsel to retrieve audio and video records from courts; email
      02/06/12    Fisher      0.60   $        330.00 $          198.00
951                                                                      team regarding discovery issues;
952   02/06/12   Williams     1.00   $        580.00 $          580.00   Review emails and provide input on discovery letters to defendants;
                                                                         Reviewed Burlington and Mount Vernon documents produced in response to PDRs [.1];
                                                                         bates labeled productions [.2]; correspondence regarding same [.1]; updated
      02/07/12   Boschen      0.70   $        150.00 $          105.00
                                                                         production log [.1]; drafted letter to Burlington Municipal Court regarding issues with
953                                                                      PDR documents [.2];
954   02/07/12   Marshall     0.20   $        375.00 $           75.00   Worked on discovery issues [.2].
955   02/07/12   Zuchetto     0.75   $        330.00 $          247.50   Work on letter/release re Sybrandy/Witt client files.
956   02/07/12    Talner      0.50   $        400.00 $          200.00   Review new court documents regardng client case status
      02/08/12   Boschen      0.20   $        150.00 $           30.00 Prepared records releases for clients and correspondence regarding same [.2].
957
                                                                       E‐mail co‐counsel re consulting expert docs. and review material re same (.25); Review
      02/08/12   Zuchetto     1.50   $        330.00 $          495.00 briefing and prepare questions re oral argument on Motion for Summary
                                                                       Judgment/Preliminary Injunction (1.0); Discuss same w/ co‐counsel (.25).
958
                                                                       Prepared cover letters and mailings to Martineau, Moon, Montague and Wilbur
                                                                       regarding release of records [1]; personal conference and correspondence regarding
      02/09/12   Boschen      1.30   $        150.00 $          195.00
                                                                       same [.1]; telephone call to client [.1]; prepared mailing of payment to Burlington
                                                                       Municipal Court for PDR supplementation [.1].
959
                                                                       Researched and analyzed issues regarding arguments for hearing on preliminary
      02/09/12   Marshall     2.30   $        375.00 $          862.50 injunction and summary judgment motions [1.3]; telephone conferences and email
                                                                       correspondence with co‐counsel regarding same [.8]; worked on discovery issues [.2].
960
                                                                       Review def. expert report re sharing w/ consulting expert and discuss same w/ co‐
      02/09/12   Zuchetto     1.00   $        330.00 $          330.00 counsel (.5); Discuss oral argument/oral argument prep. re Motion for Summary
961                                                                    Judgment/Preliminary Injunction w/ co‐counsel (.5).



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 1               KEEPER
                                                                        Email and telephone call with T. Marshall about plaintiffs and oral arguments, follow‐up
                                                                        discovery requests from M. Witt and R. Sybrandy, in the process of gathering release
      02/09/12    Fisher       1.00   $        330.00 $          330.00
                                                                        statements from plaintiffs to obtain their records from M. Witt and R. Sybrandy; review
                                                                        M. Witt's discovery responses in preparation for letter requesting plaintiffs files;
962
                                                                      Conference call with co‐counsel on oral argument for summary judgment motions and
                                                                      motion for preliminary injunction; continue review of summary judgment motions and
      02/09/12   Williams      3.50   $        580.00 $      2,030.00
                                                                      preparation for oral argument; review emails on summary judgment motion
963                                                                   preparation;
                                                                      Worked on downloading and filing supplemental productions [.4]; uploaded same to
      02/10/12   Boschen       1.00   $        150.00 $        150.00 Dropbox and FTP site [.3]; correspondence regarding same [.1]; upated production log
964                                                                   [.1]; telephone call to client [.1].
                                                                        Analyzed issues regarding arguments for hearing on preliminary injunction motion [1.0];
      02/10/12   Marshall      2.10   $        375.00 $          787.50 researched issues regarding same [.6]; telephone conference with co‐counsel regarding
                                                                        same [.2]; email correspondence with co‐counsel regarding same [.3].
965
                                                                      Meet with C. Fisher to develop visual aides for oral argument; continue review of
      02/10/12   Williams      7.50   $        580.00 $      4,350.00 summary judgment and preliminary injunction briefing and case law; begin outlining
966                                                                   oral argument;
                                                                      Worked on discovery issues and preparation for hearing on motions for summary
      02/11/12   Marshall      0.30   $        375.00 $        112.50
967                                                                   judgment and preliminary injunction [.3].
                                                                      Continue outlining and developing oral arguments for summary judgment and
      02/11/12   Williams      4.50   $        580.00 $      2,610.00
968                                                                   preliminary injunction;
                                                                      Reviewed briefing in preparation for hearing on various motions [1.4]; analyzed issues
      02/12/12   Marshall      3.50   $        375.00 $      1,312.50 regarding same [.8]; email correspondence with co‐counsel regarding same [.3]; worked
                                                                      on outline of argument on class certification [1.0].
969
                                                                      Create document explaining why conflict counsel and substitute counsel are not the
                                                                      same right; create document listing reasons and excuses why R. Sybrandy and M. Witt
      02/12/12    Fisher       1.80   $        330.00 $        594.00
                                                                      do not meet with their clients; create document listing evidence supporting argument
970                                                                   of capable of repetition yet evading review;
                                                                      Continue developing plaintiffs' oral argument outline on preliminary injunction and
      02/12/12   Williams      2.50   $        580.00 $      1,450.00
971                                                                   summary judgment motions;



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       DATE                  HOURS        RATE            SUBTOTAL                                        DESCRIPTION OF WORK
 1               KEEPER
                                                                      Left messages with clients regarding status of case [.2]; researched and analyzed issues
                                                                      and arguments for hearing on various motions [2.6]; worked on outlines of argumenst
      02/13/12   Marshall      4.90   $        375.00 $      1,837.50
                                                                      [1.6]; telephone conference with co‐counsel regarding same [.3]; email correspondence
                                                                      with co‐counsel regarding same [.2].
972
                                                                        Work on letter to Sybrandy re Subpoena Duces Tecum (1.25); Prepare questions re oral
      02/13/12   Zuchetto      3.00   $        330.00 $          990.00 argument Motion for Summary Judgment/Preliminary Injunction (1.25); Analyze visual
                                                                        aide re oral argument and discuss same w/ co‐counsel (.5).
973
974   02/13/12    Talner       0.90   $        400.00 $        360.00 Preparation for motions hearing
                                                                      Continue developing oral argument for preliminary injunction motion and summary
      02/13/12   Williams      4.50   $        580.00 $      2,610.00 judgment motions; draft powerpoint presentation for same; practice oral argument and
975                                                                   refine comments;
                                                                        Reviewed supplemental productions[1.7]; reviewed MVMC 2.62 and compared to new
                                                                        ordinance [.5]; bates labled public disclosure request documents[.2]; correspondence
                                                                        regarding same [.1]; updated production log [.1]; downloaded video production [.2];
      02/14/12   Boschen       3.80   $        150.00 $          570.00
                                                                        burned DVDs for co‐counsel of same [.2]; prepared mailings of same [.3]; worked on
                                                                        troubleshooting video issues [.2]; telephone call to Mr. Hoff [.1]; worked on filing [.1];
                                                                        reviewed privilege log [.1].
976
                                                                      Worked on outlines for arguments [.5]; reviewed pleadings and researched and
                                                                      analyzed issues regarding same [2.8]; email correspondence with and telephone
      02/14/12   Marshall      6.80   $        375.00 $      2,550.00
                                                                      conference with co‐counsel regarding same [.3]; participated in moot court meeting
                                                                      [3.0]; telephone conference with co‐counsel regarding same [.2].
977
978   02/14/12   Bledsoe       0.25   $        120.00 $           30.00 Proofed/finalized letter from Zuchetto to Sybrandy.
                                                                      Prep. for and participate in oral argument prep. re Motion for Summary
                                                                      Judgment/Preliminary Injunction (3.3); Review class certification argument outline and
      02/14/12   Zuchetto      5.30   $        330.00 $      1,749.00
                                                                      discuss same w/ co‐counsel (.75); Draft letters to Sybrandy re Subpoena Duces Tecum
                                                                      and client files (1.0); Discuss same w/ co‐counsel (.25).
979
                                                                          Moot preparation for 2/15 hearing on summary judgment, preliminary injunction and
      02/14/12    Dunne        1.80   $        380.00 $          684.00
                                                                          class certification motions; email research to co‐counsel for upcoming argument
980


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       DATE                  HOURS        RATE            SUBTOTAL                                        DESCRIPTION OF WORK
 1               KEEPER
981   02/14/12   Talner        1.60   $        400.00 $        640.00 Preparation for motions hearing
                                                                      Attend moot argument regarding preliminary injunction and summary judgment
      02/14/12    Roos         2.50   $        465.00 $      1,162.50 motions; conference with team regarding same; prepare argument regarding mootness
982                                                                   due to voluntarily cessation of conduct;
983   02/14/12    Fisher       2.00   $        330.00 $        660.00 Prepare for oral arguments; attend moot of oral argument;
                                                                      Review U.S. Supreme Court cases on standing and Section 1983 reckless indifference
                                                                      standard; continue drafting oral argument for presentation to U.S. District Court;
      02/14/12   Williams      6.00   $        580.00 $      3,480.00
                                                                      participate in mock oral argument with trial team; modify visual aides and oral
984                                                                   argument presentation to include input from trial team;
                                                                      Telephone conference with Mr. Hoff regarding client and correspondence regarding
      02/15/12   Boschen       0.10   $        150.00 $         15.00
985                                                                   same [.1].
                                                                      Prepared for hearing on various motions [.7]; attended hearing on preliminary
      02/15/12   Marshall      3.90   $        375.00 $      1,462.50 injunction and summary judgment motions [2.8]; personal conference with co‐counsel
986                                                                   regarding same [.4].
987   02/15/12   Zuchetto      0.30   $        330.00 $         99.00 E‐mail team re oral argument (.1); Debrief w/ co‐counsel re same (.2).
988   02/15/12    Fisher       2.90   $        330.00 $        957.00 Attend oral arguments for motions;
                                                                      Attend hearing regarding preliminary injunction and summary judgment motions;
      02/15/12    Roos         3.00   $        465.00 $      1,395.00
989                                                                   conferences with team regarding same;
                                                                      Refine powerpoint slides and written presentation to prepare for oral argument on
                                                                      motions for summary judgment and cross‐motion for preliminary injunction; meet with
      02/15/12   Williams      4.50   $        580.00 $      2,610.00
                                                                      trial team at U.S.D.C. and participate in oral argument; review email from court on
                                                                      motion to disqualify and exchange emails on same with litigation team;
990
                                                                        Worked on document management issues [.1]; email correspondence with co‐counsel
      02/17/12   Marshall      0.30   $        375.00 $          112.50
991                                                                     regarding follow‐up to hearing [.2].
992   02/17/12    Roos         0.20   $        465.00 $           93.00 Review and respond to communications regarding potential witness;
                                                                          Review letter from citizen whose wife was falsely accused of shoplifting and forced to
      02/17/12   Williams      0.70   $        580.00 $          406.00
                                                                          pay for an attorney who did not appear; exchange emails with same;
993
      02/20/12   Marshall      0.20   $        375.00 $           75.00 Email correspondence with co‐counsel regarding letter from class member [.2].
994
995   02/20/12   Bledsoe       0.10   $        120.00 $           12.00 Finalized letter to Sybrandy.
996   02/20/12   Zuchetto      0.40   $        330.00 $          132.00 Edit letter to Sybrandy.
997   02/20/12   Williams      0.50   $        580.00 $          290.00 Review and exchange emails on litigation strategy;


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 1                KEEPER
                                                                           Contact potential witness on absence of counsel allegations; coordinate with team on
       02/21/12   Williams      1.00   $        580.00 $          580.00
998                                                                        same;
       02/22/12   Marshall      0.10   $        375.00 $           37.50 Email correspondence with co‐counsel regarding potential class member [.1].
999
       02/23/12   Boschen       0.30   $        150.00 $           45.00 Telephone conference with client [.1]; re‐mailed records release to client [.2].
1000
                                                                         Reviewed court's orders on class certification, summary judgment, and disqualification
       02/23/12   Marshall      2.40   $        375.00 $          900.00 motions [.5]; email correspondence and telephone conferences with co‐counsel
                                                                         regarding same [.8]; worked on case strategy issues [1.1].
1001
                                                                           Review and analyze Court’s ruling re Summary Judgment/Preliminary Injunction, class
       02/23/12   Zuchetto      1.40   $        330.00 $          462.00
                                                                           certification. and motion to disqualify (1.0); Debrief w/ team re same (.4).
1002
                                                                           Review Order on class cert, summary judgment and preliminary injunction motions;
       02/23/12    Dunne        0.90   $        380.00 $          342.00
                                                                           email correspondence with co‐counsel re same; correspondence with J. Strait re ruling
1003
                                                                         Review court orders regarding preliminary injunction, summary judgment,
       02/23/12    Roos         0.50   $        465.00 $          232.50 disqualification of counsel, and class certification; conference with J. Williams regarding
1004                                                                     same;
                                                                         Review and analyze Court's order denying motions for summary judgment and motion
       02/23/12   Williams      1.20   $        580.00 $          696.00 for preliminary injunction and motion to disqualify; review and analyze Court's order
                                                                         granting class certification; discuss same with B. Roos and other counsel;
1005
                                                                         Telephone conference regarding case strategy [1.1]; drafted letter to declarants [.2];
                                                                         prepared mailing to Ms. Osborne [.2]; telephone calls and correspondence with clients
       02/24/12   Boschen       2.40   $        150.00 $          360.00
                                                                         [.3]; reviewed case notes and tasks lists for outstanding public records and discovery
                                                                         sources [.5]; correspondence regarding same [.1].
1006
                                                                       Worked on document management issues [.2]; analyzed issues regarding case strategy
                                                                       [.8]; telephone conferences with co‐counsel regarding same [1.6]; email
       02/24/12   Marshall      3.00   $        375.00 $      1,125.00
                                                                       correspondence with witnesses and class members regarding court's orders [.2];
1007                                                                   worked on discovery issues [.2].
                                                                       Analyze Court’s orders re Summary Judgment/Preliminary Injunction/Class certification
       02/24/12   Zuchetto      2.30   $        330.00 $        759.00
1008                                                                   (1.3); Discuss same w/ team and litigation strategy (1.0).


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  1               KEEPER
1009   02/24/12   Dunne         0.90   $        380.00 $          342.00 Conference call with co‐counsel re court's ruling and case strategy
1010   02/24/12   Talner        0.90   $        400.00 $          360.00 Teleconference with co‐counsel to discuss case strategy
                                                                       Coordinate with team on news articles regarding Court's orders; create agenda for
       02/24/12   Williams      1.90   $        580.00 $      1,102.00 litigation strategy meeting; participate in conference call with team on strategy; meet
                                                                       with B. Roos to discuss proof analysis and potential expert witness input;
1011
                                                                         Participate in team call to discuss next steps in light of recent denial of defendants'
                                                                         motion for summary judgment; write PC News update regarding recent orders of denial
       02/24/12    Fisher       1.60   $        330.00 $          528.00
                                                                         of defendants' motion for summary judgment; speak with team regarding obtaining
                                                                         indigent defendants' criminal court files from the court;
1012
                                                                           Telephone conference with team regarding discovery and related issues; review
       02/24/12    Roos         2.70   $        465.00 $      1,255.50
1013                                                                       materials relating to proof of claims;
                                                                           Telephone call from co‐counsel regarding expert issues [.2]; email to expert regarding
       02/27/12   Marshall      1.20   $        375.00 $          450.00
                                                                           same [.1]; telephone conferences with expert and co‐counsel regarding same [.9].
1014
                                                                           Review e‐mail from co‐counsel re consulting expert (.25); call co‐counsel and consulting
       02/27/12   Zuchetto      0.75   $        330.00 $          247.50
1015                                                                       expert (.5).
1016   02/27/12    Talner       0.40   $        400.00 $          160.00   Draft letter to clients about court ruling
1017   02/27/12     Roos        1.40   $        465.00 $          651.00   Review documents regarding proof of claims; draft proof chart;
                                                                           Correspondence regarding PDR for case files [.2]; scanned and emailed records release
       02/28/12   Boschen       1.80   $        150.00 $          270.00   [.1]; telephone call to client [.1]; telephone conference with client [.1]; commenced
1018                                                                       work on witness list [1.3];
                                                                           Analyzed issues regarding potential deponents [.2]; analyzed issues regarding bids
       02/28/12   Marshall      0.40   $        375.00 $          150.00
1019                                                                       accepted by cities [.2].
                                                                           Email M. Hamad, J. Boschen, and J. Higa regarding scanning Mount Vernon and
       02/28/12    Fisher       0.60   $        330.00 $          198.00   Burlington court files from 2010; email J. Boschen and J. Higa regarding contacting
1020                                                                       Mount Vernon and Burlington courts to copy their 2010 court files;
1021   02/29/12   Boschen       0.60   $        150.00 $           90.00   Completed work on witness list [.6].
                                                                           Worked on discovery and case strategy issues [.5]; telephone conference with co‐
       02/29/12   Marshall      0.60   $        375.00 $          225.00
1022                                                                       counsel regarding same [.1].
       02/29/12   Zuchetto      0.20   $        330.00 $           66.00 Review and analyze potential deponent list (.1); E‐mail co‐counsel re same (.1).
1023



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 1                KEEPER
                                                                         Email team regarding Witt's production; coordinate transfer of M. Witt's documents to
       02/29/12    Fisher       0.20   $        330.00 $           66.00
1024                                                                     A. Cooley;
                                                                         Correspondence regarding PDR for case files [.1]; correspondence regarding Wilbur
       03/01/12   Boschen       0.50   $        150.00 $           75.00 release [.1]; scanned release [.1]; telephone call to client [.1]; reviewed correspondence
1025                                                                     regarding ex parte communications [.1].
                                                                         Worked on discovery issues [.3]; email from opposing counsel regarding request to
                                                                         communicate with class members [.1]; analyzed issues regarding same [.2]; email to co‐
       03/01/12   Marshall      1.40   $        375.00 $          525.00 counsel regarding strategy for resopnding to same [.1]; analyzed issues regarding public
                                                                         disclosure requests [.2]; telephone conference with co‐counsel regarding case strategy
                                                                         issues [.3]; telephone conference with Mr. Wilbur regarding status update [.2].
1026
                                                                         Discuss ex parte communication w/ class members by def. counsel w/ co‐counsel (.2);
       03/01/12   Zuchetto      1.10   $        330.00 $          363.00 Review and analyze e‐mails from def. counsel and co‐counsel re same (.5); Work on
1027                                                                     letter to Sybranyd re case files (.4).
                                                                         Email correspondence with co‐counsel re discovery issue and ex parte contact with class
       03/01/12    Dunne        0.20   $        380.00 $           76.00
1028                                                                     members
                                                                         Review and exchange emails on status of class members and prohibition against ex
       03/01/12   Williams      0.50   $        580.00 $          290.00
1029                                                                     parte interview;
                                                                         Contact Mount Vernon and Burlington Municipal Courts and ask about copying court
                                                                         files of all 2010 misdemeanor cases; write public disclosure letter to courts requesting
       03/01/12    Fisher       1.40   $        330.00 $          462.00
                                                                         court files; send J. Murphy J. Wilbur's signed statement authorizing release of M. Witt's
                                                                         case files pertaining to his criminal cases;
1030
1031   03/02/12   Boschen       0.10   $        150.00 $           15.00 Correspondence regarding potential witness [.1].
1032   03/02/12   Marshall      0.50   $        375.00 $          187.50 Telephone conferences with co‐counsel regarding case strategy issues [.5].
                                                                         Exchange emails on defendants' attempt to interview class members; review discovery
       03/02/12   Williams      1.70   $        580.00 $          986.00
1033                                                                     dispute correspondence; review list of potential deponents;
1034   03/02/12    Fisher       0.10   $        330.00 $           33.00 Email team about public disclosure requests pertaining to court files;
                                                                         Worked on discovery and case strategy issues [.5]; email to opposing counsel regarding
       03/05/12   Marshall      1.10   $        375.00 $          412.50 request for ex parte interviews of class members [.2]; researched and analyzed issues
1035                                                                     regarding same [.4].
1036   03/05/12   Zuchetto      0.10   $        330.00 $           33.00 E‐mail co‐counsel re Sybrandy discovery.
                                                                         Draft letter to update clients and witnesses about court's ruling; research regarding
       03/05/12    Talner       0.90   $        400.00 $          360.00
1037                                                                     cities' request to interview former class members


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 1                KEEPER
                                                                           email correspondence with co‐counsel re discovery issue and ex parte contact with class
       03/05/12    Dunne        0.10   $        380.00 $           38.00
1038                                                                       members
                                                                           Gather documents produced by M. Witt and send to A. Cooley per his request; research
       03/05/12    Fisher       1.70   $        330.00 $          561.00   whether defense can conduct ex parte communications with class members now that
1039                                                                       class has been certified;
                                                                           Review emails and approve of communication to defendants on objections to ex parte
       03/05/12   Williams      1.00   $        580.00 $          580.00
1040                                                                       class communication;
                                                                           Draft issues and proof of claim chart; review court orders and filings for same; review
       03/05/12    Roos         4.00   $        465.00 $      1,860.00
1041                                                                       documents from Grant County case for same;
                                                                           Reviewed correspondence regarding ex parte communications [.1]; telephone
       03/06/12   Boschen       0.20   $        150.00 $           30.00
1042                                                                       conference with client [.1].
                                                                         Worked on case strategy issues [.3]; analyzed issues regarding discovery and expert
                                                                         deadlines [.4]; drafted stipulation and proposed order to modify same [.4]; email
                                                                         correspondence with co‐counsel regarding same [.2]; email to opposing counsel
                                                                         regarding same [.1]; email correspondence with co‐counsel regarding discovery issues
       03/06/12   Marshall      2.00   $        375.00 $          750.00
                                                                         [.1]; emails to opposing counsel regarding Witt documents [.2]; analyzed issues
                                                                         regarding defendants' request to have ex parte communications with indigent
                                                                         defendants who allegedly fall outside the class [.2]; email correspondence with co‐
                                                                         counsel and opposing counsel regarding same [.1].
1043
1044   03/06/12   Zuchetto      0.20   $        330.00 $           66.00 E‐mail co‐counsel re adjustment of scheduling order.
                                                                         Review email exchange on legal research regarding class interviews; review proposed
       03/06/12   Williams      1.00   $        580.00 $          580.00
1045                                                                     change of case schedule;
1046   03/06/12    Roos         1.20   $        465.00 $          558.00 Draft proof of claims chart;
                                                                         Research regarding cities' request to interview former class members; investigate
       03/07/12    Talner       0.60   $        400.00 $          240.00
1047                                                                     possible new witness
                                                                         Review and analyze B. Roos proof analysis for Constitutional claims against Cities and
       03/07/12   Williams      1.50   $        580.00 $          870.00 draft master deposition outline from Grant County litigation; review and exchange
                                                                         emails with litigation team on class member interviews;
1048
                                                                         Review documents from witness; communications regarding contact of former class
       03/07/12    Roos         0.30   $        465.00 $          139.50
1049                                                                     members; review Grant County filings for same;
                                                                         Drafted letter to Mr. Hoff regarding records release and correspondence regarding
       03/08/12   Boschen       0.50   $        150.00 $           75.00
1050                                                                     same [.4]; telephone call to client [.1].


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 1                KEEPER
                                                                         Email correspondence with co‐counsel and opposing counsel regarding proposed
                                                                         modification to case schedule deadlines [.2]; telephone call from co‐counsel regarding
                                                                         Sybrandy documents [.2]; worked on discovery and case scheduling issues [.5]; email
       03/08/12   Marshall      1.50   $        375.00 $          562.50
                                                                         correspondence with co‐counsel regarding same [.2]; worked on obtaining client files
                                                                         from Mr. Hoff [.1]; worked on obtaining client files from Mr. Hoff [.2]; email
                                                                         correspondence with co‐counsel regarding same [.1].
1051
1052   03/08/12   Zuchetto      0.30   $        330.00 $           99.00 E‐mail/discuss discovery deadline stipulation w/ co‐counsel.
1053   03/08/12    Talner       0.50   $        400.00 $          200.00 Emails with co‐counsel regarding discovery issues
1054   03/08/12     Roos        0.50   $        465.00 $          232.50 Research regarding elements of sec. 1983 claims; revise proof chart;
                                                                         Review email exchange on modifying case schedule and response to counsel for Cities;
       03/08/12   Williams      0.80   $        580.00 $          464.00
1055                                                                     coordinate team meeting on litigation strategy;
                                                                           Personal conferences regarding case task list [.2]; correspondence regarding records
       03/09/12   Boschen       0.50   $        150.00 $           75.00
                                                                           release and witness location [.1]; conducted Accurint search for witness contact [.2];
1056
                                                                       Worked on discovery and case strategy issues [2.2]; telephone conference with co‐
                                                                       counsel regarding same and case scheduling issues [1.0]; worked on issues regarding
       03/09/12   Marshall      4.80   $        375.00 $      1,800.00
                                                                       draft stipulation to extend case scheduling deadlines and email correspondence with
                                                                       opposing counsel regarding same [.8]; worked on witness issues [.8].
1057
                                                                         Team meeting/call re litigation strategy (1.0); Edit/revise letter to Sybrandy re docs. (.5);
       03/09/12   Zuchetto      1.75   $        330.00 $          577.50
1058                                                                     Edit/revise e‐mail to def. counsel re discovery plan (.25).
1059   03/09/12    Dunne        1.00   $        380.00 $          380.00 Conference call with co‐counsel re discovery issues and case strategy
1060   03/09/12    Talner       1.00   $        400.00 $          400.00 Conference call with co‐counsel regarding case strategy
                                                                         Telephone conference with team regarding discovery issues; communications regarding
       03/09/12    Roos         1.40   $        465.00 $          651.00
1061                                                                     same;
                                                                         Participate in team call to discuss defendant's request to interview class members, case
                                                                         schedule and stipulated order, status of document production, deposition assignments,
                                                                         and creation of deposition outline; call Mount Vernon and Burlington Municipal courts
       03/09/12    Fisher       1.80   $        330.00 $          594.00
                                                                         to inquire about response to public disclosure request for 2010 court files; contact J.
                                                                         Murphy to inquire about production of M. Witt's files for J. Wilbur, A. Montague, and R.
                                                                         Martineau;
1062



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 1                KEEPER
                                                                           Prepare for and preside over conference call with litigation team; meet with B. Roos and
       03/09/12   Williams      1.40   $        580.00 $          812.00
1063                                                                       C. Fisher on scheduling of depositions;
       03/10/12   Marshall      0.60   $        375.00 $          225.00 Worked on document management issues [.4]; worked on witness issues [.2].
1064
                                                                           Researched and analyzed issues regarding communications with current and former
       03/12/12   Marshall      4.70   $        375.00 $      1,762.50     class members, drafted letter to opposing counsel regarding same, and telephone
1065                                                                       conference with co‐counsel regarding same [4.7].
                                                                           Review/edit correspondence to def. counsel re deadlines (.2); Review letter. to Court re
       03/12/12   Zuchetto      0.50   $        330.00 $          165.00
1066                                                                       case files and call w/ co‐counsel re same (.3).
                                                                           Write second letter to Mount Vernon and Burlington Municipal Courts requesting case
       03/12/12    Fisher       3.90   $        330.00 $      1,287.00     files; talk with M. Zuchetto about letter to courts and obtaining files from M. Witt and R.
1067                                                                       Sybrandy;
1068   03/12/12    Roos         0.20   $        465.00 $           93.00   Review draft communications with opposing counsel and court;
                                                                           Review emails and draft letter to Cities with Public Records Act requests; review email
       03/12/12   Williams      0.50   $        580.00 $          290.00
                                                                           exchange and final letter on ex parte communications with class members;
1069
                                                                         Travel to and from Mount Vernon Municipal Court for client meeting [3.9];
                                                                         correspondence with Mr. Hoff regarding records release [.1]; telephone conference
       03/13/12   Boschen       4.40   $        150.00 $          660.00
                                                                         with Mr. Denny regarding public records request [.1]; commenced preparing records
                                                                         request [.2]; correspondence regarding client [.1].
1070
                                                                           Reviewed email from opposing counsel regarding discovery issues [.1]; worked on
       03/13/12   Marshall      0.80   $        375.00 $          300.00   response to same and case strategy issues [.4]; email to opposing counsel regarding
1071                                                                       same [.1]; analyzed issues regarding status of client [.2].
1072   03/13/12    Talner       2.30   $        400.00 $          920.00   Review discovery ‐ court hearing recordings
                                                                           Read A. Cooley's email regarding extension of discovery and other pertinent schedule
       03/13/12    Fisher       0.30   $        330.00 $           99.00
1073                                                                       deadlines; read and reply to team emails;
1074   03/14/12   Boschen       0.10   $        150.00 $           15.00   Correspondence regarding client and public records request [.1].
1075   03/14/12    Dunne        0.20   $        380.00 $           76.00   Email correspondence with co‐counsel re discovery and case deadlines
       03/14/12    Talner       2.50   $        400.00 $      1,000.00 Review discovery ‐ court hearing recordings, obtain client/witness release forms
1076




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 1                KEEPER
                                                                           Read A. Cooley's email regarding extension of discovery and other deadlines; email
       03/14/12    Fisher       0.60   $        330.00 $            198.00 Judge Svaren to clarify we do not want courts to do the copying but would prefer to do
                                                                           so ourselves to cut back on costs for all parties involved;
1077
                                                                             Drafted, finalized and emailed public disclosure request to Skagit County Sheriff [.5];
                                                                             pulled caseload documents [.2]; updated witness list [.1]; reviewed corresondence
       03/15/12   Boschen       2.50   $        150.00 $            375.00   regarding witnesses, case files, disclosures, and records requests [.4]; drafted, finalized
                                                                             and emailed public records request to Mount Vernon [.2]; reviewed all discovery
1078                                                                         requests and responses [1.1].
                                                                             Telephone call from co‐counsel regarding case strategy issues [.1]; worked on same [.1];
       03/15/12   Marshall      0.50   $        375.00 $            187.50   analyzed issues regarding case schedule and trial date [.2]; email correspondence with
1079                                                                         co‐counsel regarding same [.1].
1080   03/15/12    Talner       0.20   $        400.00 $             80.00   Emails to co‐counsel regarding discovery issues
                                                                             Write and send J. Murphy letter enclosing J. Moon and D. Hayes statement of release;
       03/15/12    Fisher       1.20   $        330.00 $            396.00
1081                                                                         read and reply to team emails;
1082   03/15/12     Roos        0.20   $        465.00   $           93.00   Review deposition list;
1083   03/16/12   Boschen       0.20   $        150.00   $           30.00   Prepared check and mailing for public records request [.2].
1084   03/16/12    Talner       0.20   $        400.00   $           80.00   Emails to co‐counsel regarding discovery issues
1085   03/16/12    Fisher       0.40   $        330.00   $          132.00   Read and reply to team emails;
1086   03/19/12    Nusser       4.00   $        225.00   $          900.00   Worked on motion for continuance [4]
                                                                           Analyzed issues regarding need to extend trial date [.3]; worked on proposed order for
                                                                           same [.4]; email correspondence and telephone conference with co‐counsel regarding
       03/19/12   Marshall      1.40   $        375.00 $            525.00
                                                                           same [.3]; email to opposing counsel regarding same [.2]; email correspondence with co‐
                                                                           counsel regarding Mr. Wilbur [.2].
1087
       03/19/12   Zuchetto      0.10   $        330.00 $             33.00 Review and e‐mail co‐counsel re stipulation/motion to amend trial schedule.
1088
                                                                           Read T. Marshall email regarding stipulated case schedule and draft email to A. Cooley
                                                                           regarding schedule; write letter to J. Murphy requesting M. Witt's file pertaining to L .
       03/19/12    Fisher       0.80   $        330.00 $            264.00
                                                                           Rodriguez and enclosing L. Rodriguez's statement authorizing release of file; discuss
1089                                                                       deposition outline with B. Roose;
       03/19/12    Roos         0.70   $        465.00 $            325.50 Review deposition list; research regarding deponents; communications regarding same;
1090
1091   03/19/12   Williams      0.70   $        580.00 $            406.00 Review and exchange emails on motion to change case schedule;


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  1               KEEPER
1092   03/20/12   Nusser        5.60   $        225.00 $      1,260.00 Worked on motion for continuance and supporting documents [5.6]
                                                                       Worked on motion to continue trial date [1.2]; email correspondence with co‐counsel
       03/20/12   Marshall      1.70   $        375.00 $        637.50
1093                                                                   regarding same [.2]; worked on discovery issues [.3].
                                                                       Read emails exchanged with A. Cooley regarding extension of case schedule deadlines;
       03/20/12    Fisher       3.80   $        330.00 $      1,254.00 write facts section of T. Marshall's declaration regarding plaintiffs' request for court files
                                                                       and public defender case files; read and edit motion for continuance;
1094
                                                                         Reviewed RCW 70.48.100 [.1]; correspondence regarding PDR to Skagit County Sheriff
       03/21/12   Boschen       0.50   $        150.00 $           75.00 [.1]; Bates labeled third‐party production and correspondence regarding same [.2];
1095                                                                     updated production log [.1].
                                                                         Worked on motion to continue trial, declaration in support of same, and proposed order
       03/21/12   Marshall      2.10   $        375.00 $          787.50 granting same [1.7]; email correspondence with co‐counsel regarding same [.2];
                                                                         reviewed recent USSC decisions on Sixth Amendment [.2].
1096
1097   03/21/12   Zuchetto      0.20   $        330.00 $           66.00 Edit/revise motion for continuance.
1098   03/21/12    Dunne        0.20   $        380.00 $           76.00 Review and revise motion to continue trial
                                                                         Emails with co‐counsel regarding discovery issues,review documents produced by
       03/21/12    Talner       0.50   $        400.00 $          200.00
1099                                                                     witness
       03/21/12    Roos         0.40   $        465.00 $          186.00 Review Grant County documents regarding jail logs; communications regarding same;
1100
                                                                         Read team emails regarding jail logs and recent decisions regarding ineffective
       03/21/12    Fisher       2.20   $        330.00 $          726.00 assistance; edit and incorporate other's edits to the motion to modify case schedule and
1101                                                                     continue trial date;
       03/21/12   Williams      1.00   $        580.00 $          580.00 Review emails and letters from litigation team on changing trial schedule and discovery;
1102
                                                                         E‐filed, prepared exhibits for and finalized Plaintiffs' Motion to Modify Scheduling Order
                                                                         and Continue Trial [2.6]; Bates labeled documents produced in response to public
       03/22/12   Boschen       3.00   $        150.00 $          450.00
                                                                         disclosure request and email correspondence regarding same [.2]; updated production
                                                                         log [.1]; correspondence regarding municipal court records [.1].
1103
                                                                         Review and analyze motion to interview class members (.25); Discuss same w/ co‐
       03/22/12   Zuchetto      0.50   $        330.00 $          165.00
1104                                                                     counsel (.25).
1105   03/22/12    Dunne        0.10   $        380.00 $           38.00 Email correspondence with co‐counsel re discovery issues



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 1                KEEPER
                                                                         Finalize and send J. Boschen Plaintiffs' motion to modify scheduling order and continue
                                                                         trial date, T. Marshall's declaration in support of motion, and proposed order for
                                                                         motion; talk with Judge Svaren from Skagit County District Court about production of
       03/22/12    Fisher       2.00   $        330.00 $          660.00
                                                                         Mount Vernon and Burlington courts records; email team notes from conversation with
                                                                         Judge Svaren; read defendants' motion to allow reasonable communications with
                                                                         current and former indigent defendants and declaration in support of motion;
1106
1107   03/23/12   Zuchetto      0.25   $        330.00 $           82.50 Respond to co‐counsel re dep. scheduling/strategy.
                                                                         Review motion regarding contact with class members; communications with C. Fisher
       03/23/12    Roos         0.50   $        465.00 $          232.50
1108                                                                     regarding deposition scheduling;
                                                                         Write emails to team discussing scheduling of depositions with Cooley; draft letter to A.
       03/23/12    Fisher       0.90   $        330.00 $          297.00
1109                                                                     Cooley requesting dates he is unavailable to attend depositions;
                                                                         Email correspondence with co‐counsel regarding status of Mr. Wilbur [.1]; worked on
       03/25/12   Marshall      0.50   $        375.00 $          187.50 discovery and case strategy issues [.3]; email correspondence with co‐counsel regarding
1110                                                                     same [.1].
                                                                         Read team emails; draft and send team letter addressed to A. Cooley regarding
       03/25/12    Fisher       0.50   $        330.00 $          165.00
1111                                                                     scheduling of depositions;
1112   03/26/12   Murray        1.20   $        285.00 $          342.00 Reviewed reasonable communication brief; outlined response.
                                                                         Analyzed issues regarding cities' actions on public defense contracts [.2]; analyzed
                                                                         issues regarding opposition to defendants' motion for ex parte communications with
       03/26/12   Marshall      1.90   $        375.00 $          712.50
                                                                         current and former class members [1.3]; telephone conference and email
                                                                         correspondence with co‐counsel regarding same [.3]; worked on discovery issues [.1].
1113
1114   03/26/12    Talner       0.20   $        400.00 $         80.00 Emails with co‐counsel re discovery issues
                                                                       Write letter to A. Cooley regarding scheduling of depositions and send to him; read
       03/26/12    Fisher       0.60   $        330.00 $        198.00 team emails; write email to J. Murphy regarding production of Mr. Witt's case files
1115                                                                   pertaining to plaintiffs;
                                                                       Correspondence regarding public defense contracts, depositions, witnesses and
       03/27/12   Boschen       0.40   $        150.00 $         60.00
1116                                                                   response to motion pertaining to ex parte contact [.4].
1117   03/27/12   Murray        5.00   $        285.00 $      1,425.00 Worked on response to motion for reasonable communications.
                                                                       Worked on response to motion for ex parte communications with current and former
       03/27/12   Marshall      0.90   $        375.00 $        337.50
1118                                                                   class members [.5]; worked on discovery and expert issues [.4].
1119   03/27/12   Bledsoe       0.40   $        120.00 $         48.00 Prepare letter to Richard Sybrandy re: pending subpoena.



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 1                KEEPER
                                                                           Review and respond to e‐mail/info re Shields witness (.25); Draft letter to R. Sybrandy re
       03/27/12   Zuchetto      1.70   $        330.00 $          561.00
                                                                           Subpoena Duces Tecum (1.2); Discuss/analyze indigent disclosures w/ co‐counsel (.25).
1120
1121   03/27/12    Talner       0.50   $        400.00 $          200.00 Investigate new public defense contracts
       03/27/12    Fisher       0.40   $        330.00 $          132.00 Read team emails regarding expert disclosures and potential witness, J. Shields;
1122
1123   03/27/12    Roos         0.10   $        465.00 $         46.50 Communications regarding expert disclosures and fact witnesses;
                                                                       Drafted response to order to show cause [.2]; personal conferences and
                                                                       correspondence regarding same [.2]; prepared mailing of check to court [.1]; personal
       03/28/12   Boschen       0.70   $        150.00 $        105.00
                                                                       conferences regarding judge's notebook for Motion to Modify Scheduling Order and
1124                                                                   Continue Trial [.2].
1125   03/28/12   Murray        6.00   $        285.00 $      1,710.00 Worked on response to motion for reasonable communications.
                                                                       Worked on discovery issues [.2]; worked on response to motion regarding class member
       03/28/12   Marshall      0.80   $        375.00 $        300.00
1126                                                                   communications [.6].
1127   03/28/12    Dunne        0.10   $        380.00 $         38.00 Email correspondence with co‐counsel re Order to Show Cause
1128   03/28/12    Talner       0.10   $        400.00 $         40.00 Email to expert witness regarding information needed for expert disclosures
                                                                       Write letter to K. Rogerson and S. Thomas inquiring about their unavailability for April
       03/28/12    Fisher       0.80   $        330.00 $        264.00 and May for depositions; write letter to Judge Svaren about production of court case
1129                                                                   files;
                                                                       Review and exchange emails on scheduling of depositions and on obtaining discovery
       03/28/12   Williams      0.50   $        580.00 $        290.00
1130                                                                   from City court files;
                                                                       Prepared draft of and revised plaintiffs' response to motion for reasonable
       03/29/12    Kinsey       0.80   $        100.00 $         80.00
1131                                                                   communications.
                                                                       Filed with court response to order to show cause [.4]; correspondence and personal
                                                                       conference regarding same [.1]; telephone conference with messenger service
                                                                       regarding chambers copy of Motion to Modify Scheduling Order and Continue Trial [.1];
       03/29/12   Boschen       1.20   $        150.00 $        180.00
                                                                       commenced drafting declaration in support of response to motion to allow reasonable
                                                                       communication with current and former indigent defendants and personal conference
1132                                                                   regarding same [.6];
1133   03/29/12   Murray        8.40   $        285.00 $      2,394.00 Worked on response to motion for reasonable communication.
                                                                       Discuss/analyze production of docs from Court issue and response re motion to contact
       03/29/12   Zuchetto      0.25   $        330.00 $         82.50
1134                                                                   class members w/ co‐counsel.




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 1                KEEPER
                                                                         Send email to team regarding failure of J. Murphy to produce M. Witt's case files;
                                                                         response to N. Talner's emails regarding production of M. Witt's files and next steps;
                                                                         email team regarding costs to produce court files and inquire as to next steps; call J.
                                                                         Murphy's office to discuss production of M. Witt's files and leave message with front
       03/29/12    Fisher       2.10   $        330.00 $          693.00
                                                                         desk to have him call me back; read and edit draft of response to cities' motion to allow
                                                                         communication with current and former indigent defendants; send J. Murphy an email
                                                                         to document that I called him this morning and asked for a time to discuss production
                                                                         tomorrow; draft letter to Judge Svaren regarding production of court files;
1135
                                                                           Review and revise opposition to motion for communications with class members;
       03/29/12    Roos         1.90   $        465.00 $          883.50
1136                                                                       research regarding same; communications regarding court files;
                                                                           Review and exchange emails on obtaining copies of files from Cities of Mt. Vernon and
       03/29/12   Williams      1.00   $        580.00 $          580.00
1137                                                                       Burlington; meet with C. Fisher to discuss same;
                                                                           Continued work on opposition to response to motion to allow reasonable
                                                                           communication with current and former indigent defendants and correspondence
       03/30/12   Boschen       0.80   $        150.00 $          120.00   regarding same [.5]; searched current jail rosters for client [.1]; Bates labeled Kitsap
                                                                           County Court case files produced in response to public disclosure request [.1]; updated
1138                                                                       production log [.1].
1139   03/30/12   Murray        5.20   $        285.00 $      1,482.00     Finalized response to motion for reasonable communication.
                                                                           Prep. for attend telephonic team meeting (.25); Conference call w/ team re strategy on
       03/30/12   Zuchetto      1.25   $        330.00 $          412.50
1140                                                                       case files, deps. (1.0).
       03/30/12    Talner       0.20   $        400.00 $           80.00 Order court documents on plaintiff in response to cities' claim about her conviction
1141
                                                                       Coordinate with litigation team on strategy for discovery; conference call with litigation
                                                                       team on case status and discovery strategy; review plaintiffs' response to defendants'
       03/30/12   Williams      3.00   $        580.00 $      1,740.00
                                                                       motion to interview class and non‐class members; review and edit CR 37 letter to Witt's
1142                                                                   attorney;
                                                                           Create list of discussion points for team call; prepare for call; attend meeting; write
       03/30/12    Fisher       3.60   $        330.00 $      1,188.00
                                                                           letter to J. Murphy regarding production of M. Witt's case files;
1143
                                                                           Review and revise opposition to motion for communications with class members;
       03/30/12    Roos         2.10   $        465.00 $          976.50
                                                                           telephone conference with team regarding discovery and other issues;
1144
1145   04/01/12    Fisher       0.20   $        330.00 $           66.00 Create deposition chart;


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 1                KEEPER
       04/01/12    Roos         1.10   $        465.00 $          511.50 Review and revise opposition to motion to communicate with class members;
1146
                                                                         Reviewed, revised and finalized plaintiffs' response to cities' motion for communication
                                                                         with plaintiffs [1.3]; prepared table of contents and table of authorities [.5]; reviewed,
       04/02/12    Kinsey       3.00   $        100.00 $          300.00 revised and finalized Marshall supporting declaration [.3]; assembled Marshall
                                                                         declaration exhibits [.5]; reviewed, revised and finalized Fisher declaration [.2];
1147                                                                     arranged filing and service [.2].
1148   04/02/12   Murray        2.70   $        285.00 $          769.50 Revised response to motion for reasonable communication.
                                                                       Worked on issues regarding defendants' request for communications with current and
                                                                       former class members [1.2]; worked on declaration and proposed order for same [.2];
                                                                       telephone call from co‐counsel regarding discovery and case strategy issues [.2];
                                                                       researched, analyzed, and worked on discovery issues [1.2]; memorandum to co‐
       04/02/12   Marshall      5.70   $        375.00 $      2,137.50
                                                                       counsel regarding same [.4]; reviewed documents and discovery responses produced by
                                                                       defendants [1.1]; conference call with co‐counsel regarding discovery issues, deposition
                                                                       preparation, expert disclosures, briefing, and new public defense contract [1.0]; worked
                                                                       on expert disclosures and related issues [.4].
1149
1150   04/02/12   Bledsoe       0.25   $        120.00 $           30.00 Review documents from Mr. Sybrandy and Emailed to Zuchetto.
                                                                         Conference call with co‐counsel regarding discovery strategy; emails to expert witness
       04/02/12    Talner       1.40   $        400.00 $          560.00
1151                                                                     regarding expert disclosures; review draft expert disclosure
                                                                       Telephone conference regarding discovery and related issues; review letter to defense
                                                                       counsel regarding court files; review files regarding Grant County litigation for court
       04/02/12    Roos         2.30   $        465.00 $      1,069.50
                                                                       order relevant to same; review opposition to motion to communicate with class
                                                                       members; review opposition to motion to continue trial;
1152
                                                                         Create deposition chart for team; draft letter to opposing counsel requesting
       04/02/12    Fisher       2.70   $        330.00 $          891.00 production of court files; draft rule 34 request for files; draft notice of depositions;
                                                                         participate in team call; research whether courts fall under rule 34 or 45 request;
1153
                                                                         Prepare for and participate in litigation team strategy call; edit expert witness FRCP 26
       04/02/12   Williams      2.50   $        580.00 $      1,450.00
1154                                                                     disclosure;
                                                                         Prepared and finalized praecipe to replace page of Fisher declaration [.9]; revised Fisher
       04/03/12    Kinsey       1.20   $        100.00 $          120.00
1155                                                                     declaration [.1]; arranged filing and service [.2]



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 1                KEEPER
                                                                         Correspondence regarding expert CV [.1]; correspondence regarding third‐party
                                                                         productions, discovery requests and expert disclosures [.2]; updated production log [.1];
       04/03/12   Boschen       0.60   $        150.00 $           90.00
                                                                         correspondence regarding supplemental witness disclosures [.1]; correspondence
1156                                                                     regarding document storage access [.1].
                                                                         Finalized praecipe for Ms. Fisher's declaration and ensured service of court notebook
                                                                         [.1]; worked on discovery issues [.4]; worked on witness and expert disclosure issues
       04/03/12   Marshall      1.50   $        375.00 $          562.50
                                                                         [.4]; telephone call from co‐counsel regarding same [.1]; reviewed defendants'
                                                                         opposition to motion to continue trial and analyzed issues regarding same [.5].
1157
                                                                         Review letter and request for production; correspondence with J. Strait re expert
       04/03/12   Dunne         0.40   $        380.00 $          152.00
1158                                                                     disclosure
1159   04/03/12    Talner       0.50   $        400.00 $          200.00 Revisions to expert disclosure
                                                                         Read defendants' opposition to plaintiffs' motion to modify scheduling order; review
       04/03/12    Fisher       0.80   $        330.00 $          264.00
1160                                                                     documents produced by M. Witt;
                                                                       Edit Plaintiffs' Second Request for Production and cover letter regarding same; edit and
                                                                       finalize letter to counsel for cities on depositions of City Administrators and on Rule 34
       04/03/12   Williams      3.00   $        580.00 $      1,740.00
                                                                       production of documents; review and coordinate expert witness disclosures; review
                                                                       expert witness disclosures from defendants;
1161
                                                                           Correspondence regarding clients location [.1]; Bates labeled third party production and
       04/04/12   Boschen       0.40   $        150.00 $           60.00
                                                                           correspondence regarding same [.2]; updated production log [.1].
1162
                                                                       Worked on factual background issues [.1]; researched and analyzed factual background
       04/04/12   Marshall      3.90   $        375.00 $      1,462.50 and legal issues for reply in support of motion to modify case schedule [2.6]; worked on
1163                                                                   same [1.2].
                                                                       Review documents produced by one public defender, write summary of them for co‐
       04/04/12    Talner       1.90   $        400.00 $        760.00
1164                                                                   counsel
1165   04/04/12    Roos         0.80   $        465.00 $        372.00 Communications regarding discovery issues;
                                                                       Review M. Witt's case files of J. Moon and A. Montague produced on April 3, 2012 in
       04/04/12    Fisher       2.50   $        330.00 $        825.00 response to our February 14, 2012 request; meet with N. Talner and read M. Witt's case
1166                                                                   files;
                                                                       Worked on reply in support of motion to modify case schedule [3.4]; email
       04/05/12   Marshall      3.60   $        375.00 $      1,350.00
1167                                                                   correspondence with co‐counsel regarding same [.2].
1168   04/05/12   Williams      0.20   $        580.00 $        116.00 Review reply brief on motion to amend schedule;


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 1                KEEPER
                                                                         Drafted and finalized supplemental declaration in support of motion to modify
       04/06/12   Boschen       0.90   $        150.00 $          135.00 scheduling order and continue trial [.2]; pulled and prepared exhibits for same [.3];
                                                                         correspondence regarding same [.1]; drafted supplemental witness disclosure [.3];
1169
                                                                         Worked on revisions to reply in support of motion to modify case schedule [.3]; worked
       04/06/12   Marshall      1.60   $        375.00 $          600.00 on supplemental declaration in support of same [.7]; finalized documents for filing [.2];
                                                                         worked on factual background and discovery issues [.4].
1170
                                                                         Review cities' reply brief re communication with former class members and cities'
       04/06/12    Talner       0.80   $        400.00 $          320.00
1171                                                                     expert witness reports
1172   04/06/12    Roos         0.60   $        465.00 $          279.00 Review reply regarding motion to continue trial date;
                                                                         Exchange emails with team on subpoena for Chris Jackson records and other matters
       04/06/12   Williams      1.50   $        580.00 $          870.00
1173                                                                     related to pending motions;
                                                                         Reviewed index of public disclosure request documents and production [.3];
       04/09/12   Boschen       0.50   $        150.00 $           75.00
1174                                                                     correspondence regarding same [.2];

                                                                       Telephone call from co‐counsel regarding various discovery and case strategy issues [.3];
                                                                       telephone calls from co‐counsel regarding Sybrandy's production of documents and
                                                                       follow‐up issues [.8]; worked on preparation for depositions of contract managers [.5];
                                                                       telephone conference with co‐counsel regarding discovery, expert, and case strategy
       04/09/12   Marshall      4.00   $        375.00 $      1,500.00
                                                                       issues [.8]; reviewed defendants' supplemental expert disclosures [.3]; researched and
                                                                       analyzed issues regarding expert disclosures and motions to exclude testimony [.5];
                                                                       drafted letter to opposing counsel regarding same [.4]; email correspondence with co‐
                                                                       counsel regarding same [.2]; worked on supplemental witness disclosure [.2].
1175
                                                                           Team strategy call re Subpoenas Duces Tecum, deps. (1.0); Follow up w/ co‐counsel re
       04/09/12   Zuchetto      2.75   $        330.00 $          907.50
                                                                           same (.25); Draft letter to Sybrandy re Subpoena Duces Tecum (1.5).
1176
                                                                           Conference call with co‐counsel regarding discovery strategy; review draft witness
       04/09/12    Talner       0.90   $        400.00 $          360.00
1177                                                                       disclosures




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 1                KEEPER
                                                                         Reply to N. Talner's email regarding production of files; email T. Marshall and M.
                                                                         Zuchetto inquiring about kites and complaints sent to J. Aarstad and E. Stendal in
                                                                         preparation for their depositions; prepare for team call; participate in team call to
       04/09/12    Fisher       2.60   $        330.00 $          858.00
                                                                         discuss depositions, discovery, pending motions; talk with M. Zuchetto and T. Marshall
                                                                         about production from Sybrandy and Witt and decide to follow‐up with case files as well
                                                                         as request time spent on private matters;
1178
1179   04/09/12    Roos         0.80   $        465.00 $          372.00 Telephone conference with team regarding discovery issues;
                                                                       Review Cities' Reply Brief in Support of Motion to Contact Indigent Clients; begin review
                                                                       of J. Aarstad documents in preparation for his deposition; begin selecting documents for
                                                                       key documents binder; participate in team strategy call on discovery and C. Jackson
       04/09/12   Williams      7.00   $        580.00 $      4,060.00
                                                                       subpoena; review binder of E. Stendal documents to select documents for key
                                                                       documents binder; meet with B. Roos and C. Fisher on strategy for depositions; draft
                                                                       letter to accompany Notices of Deposition for Stendal and Aarstad;
1180
                                                                         Reviewed, revised and finalized letter to Mr. Cooley regarding objection to improper
       04/10/12    Kinsey       0.60   $        100.00 $           60.00 supplemental expert disclosures [.4]; email correspondence to Mr. Cooley, opposing
1181                                                                     counsel and co‐counsel regarding same [.2].
       04/10/12   Boschen       0.40   $        150.00 $           60.00 Worked on reviewing kites and complaints and correspondence regarding same [.4].
1182
                                                                         Worked on discovery issues [.9]; telephone call from consulting expert regarding public
                                                                         defense funding issues [.2]; analyzed issues regarding settlement proposal [.2]; email
       04/10/12   Marshall      1.70   $        375.00 $          637.50
                                                                         correspondence with co‐counsel regarding same [.2]; email correspondence with
                                                                         opposing counsel regarding expert disclosures [.2].
1183
                                                                         Call w/ co‐counsel re Subpoena Duces Tecum to Sybrandy/Witt (1.0); Draft letter to
       04/10/12   Zuchetto      2.75   $        330.00 $          907.50
1184                                                                     Sybrandy re same (1.75).
1185   04/10/12    Dunne        0.20   $        380.00 $           76.00 Email correspondence with co‐counsel re discovery issues
                                                                           Emails and teleconference with co‐counsel regarding issue of obtaining court and public
       04/10/12    Talner       1.40   $        400.00 $          560.00
                                                                           defender files; investigate facts regarding new public defense contract
1186




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 1                KEEPER
                                                                           Review and gather kites, complaints, and other relevant information for J. Aarstad and
                                                                           E. Stendal depositions; read emails regarding request for court documents; participate
       04/10/12    Fisher       3.40   $        330.00 $      1,122.00
                                                                           in phone call with N. Talner and M. Zuchetto; draft cover letter to accompany CR 45
1187                                                                       subpoena;
                                                                           Review T. Marshall exhibits binder from cross‐motion to identify key documents for
                                                                           depositions; continue drafting Master Deposition Outline; exchange correspondence
       04/10/12   Williams      7.50   $        580.00 $      4,350.00
                                                                           with opposing counsel on production of municipal court files; draft subpoena for
1188                                                                       Municipal Court files;
                                                                           Telephone conference with client [.3]; correspondence regarding same [.1];
                                                                           correspondence and personal conference regarding scanning court records [.3];
       04/11/12   Boschen       1.60   $        150.00 $          240.00   continued work on second supplemental witness disclosures [.4]; correspondence and
                                                                           personal conference regarding same [.3]; reviewed declarations and client agreements
1189                                                                       [.2].
                                                                           Worked on discovery issues [.5]; worked on witness list issues [.2]; telephone
       04/11/12   Marshall      1.10   $        375.00 $          412.50
1190                                                                       conference with expert regarding settlement issues [.4].
                                                                           Work on letter to Sybandy re Subpoena Duces Tecum (1.75); Conf. call w/ team and
       04/11/12   Zuchetto      2.25   $        330.00 $          742.50
1191                                                                       consulting expert (.4); E‐mail co‐counsel re same (.1).
                                                                           Coordinate with C. Fisher and C. Kness on subpoena to Municipal Courts of Mt. Vernon
       04/11/12   Williams      0.40   $        580.00 $          232.00
                                                                           and Burlington; review and approve letter to R. Sybrandy on failure to produce records;
1192
                                                                         Personal conference and correspondence regarding staffing scanning of court case files
       04/12/12   Boschen       0.30   $        150.00 $           45.00 [.2]; finalized second supplemental witness disclosures and correspondence regarding
1193                                                                     same [.1];
       04/12/12   Marshall      0.30   $        375.00 $          112.50 Telephone call from client regarding status update [.1]; worked on discovery issues [.2].
1194
1195   04/12/12    Talner       0.20   $        400.00 $         80.00 Emails with co‐counsel regarding supplemental witness disclosures
                                                                       Review correspondence from opposing counsel on scheduling depositions and respond
       04/12/12   Williams      2.50   $        580.00 $      1,450.00
1196                                                                   to same;
                                                                       Reviewed, revised and finalized plainitffs' second supplemental witness disclosures [.3];
       04/13/12    Kinsey       0.70   $        100.00 $         70.00 email correspondence to opposing and co‐counsel [.2]; arranged delivery by messenger
1197                                                                   [.2].
                                                                       Telephone call from co‐counsel regarding communications with witnesses [.1]; analyzed
       04/13/12   Marshall      0.20   $        375.00 $         75.00
1198                                                                   issues regarding same [.1].



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        DATE                  HOURS        RATE            SUBTOTAL                                         DESCRIPTION OF WORK
 1                KEEPER
                                                                           Draft letters to clients and witnesses regarding release of attorney files, emails with co‐
       04/13/12    Talner       0.30   $        400.00 $          120.00
1199                                                                       counsel regarding the draft letters to clients and witnesses
1200   04/15/12   Marshall      0.20   $        375.00 $           75.00   Worked on discovery issues [.2].
1201   04/16/12   Boschen       0.10   $        150.00 $           15.00   Correspondence regarding scanning of court records [.1].
1202   04/16/12    Talner       0.20   $        400.00 $           80.00   Emails with co‐counsel regarding obtaining court files
                                                                           Meet with C. Fisher and J. Higa on document production by Cities of court files pursuant
                                                                           to subpoena; conference call with Skagit County Prosecutor's office on stipulated
       04/16/12   Williams      1.50   $        580.00 $          870.00
                                                                           protective order and coordination on production of documents; send team an email
1203                                                                       summarizing same;

                                                                         Telephone conference with client [.1]; worked on downloading and Bates labeling
                                                                         production [.2]; updated production log [.2]; prepared transmittal and mailing to
                                                                         opposing for supplemental production [.2]; gathered and prepared documents for
                                                                         supplemental production [.9]; correspondence regarding same [.1]; vm from and
       04/18/12   Boschen       2.90   $        150.00 $          435.00
                                                                         telephone call to potential class member [.1]; researched potential class member's case
                                                                         history [.1]; reviewed discovery correspondence regarding depositions and
                                                                         supplemental productions in response to subpoenas and records releases [.5]; reviewed
                                                                         disclosures and updated witness list [.4]; correspondence regarding same [.1].
1204
1205   04/18/12   Marshall      0.40   $        375.00 $          150.00 Worked on discovery issues [.4].
1206   04/18/12   Zuchetto      0.50   $        330.00 $          165.00 Review/analyze Sybrandy production (.4); E‐mail team re same (.1).
                                                                         Emails to co‐counsel regarding discovery follow up, review new documents produced by
       04/18/12    Talner       0.50   $        400.00 $          200.00
1207                                                                     Sybrandy
                                                                         Finalize amended deposition notices for Aarstad and Stendal; continue development of
       04/18/12   Williams      1.00   $        580.00 $          580.00
1208                                                                     master deposition outline for team;
                                                                         Telephone conference with indigent defendant [.7]; drafted summary of same [.2];
       04/19/12   Boschen       1.00   $        150.00 $          150.00
1209                                                                     updated witness list [.1].
                                                                         Draft letter to J. Murphy regarding production of M. Witt's files pertaining to D. Hayes,
       04/19/12    Fisher       1.70   $        330.00 $          561.00
1210                                                                     L. Rodriguez, and R. Martineau; draft protective letter
                                                                           Draft letter to Skagit County Prosecutor's office on protocol for production of court files
       04/19/12   Williams      1.00   $        580.00 $          580.00
                                                                           from Mt. Vernon and Burlington; exchange emails with team regarding same;
1211




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 1                KEEPER
                                                                         Analyzed issues regarding expert rebuttal reports and email correspondence with co‐
       04/20/12   Marshall      0.90   $        375.00 $          337.50 counsel regarding same [.3]; worked on discovery issues and email correspondence with
                                                                         co‐counsel regarding same [.4]; worked on case strategy issues [.2].
1212
1213   04/20/12    Talner       0.30   $        400.00 $          120.00 Emails to co‐counsel regarding rebuttal expert disclosures
1214   04/20/12     Roos        0.30   $        465.00 $          139.50 Communications regarding court files and related discovery issues;
                                                                         Exchange emails with team on discovery related issues; meet with B. Roos and J. Higa
       04/20/12   Williams      0.50   $        580.00 $          290.00
1215                                                                     on Cities' production of court documents;
       04/21/12    Fisher       0.80   $        330.00 $          264.00 Draft protective order for Mount Vernon and Burlington Municipal Court files;
1216
1217   04/22/12    Fisher       1.50   $        330.00 $          495.00 Draft protective order for Mount Vernon and Burlington Court files;
                                                                         Reviewed witness interview notes [.1]; telephone conferences with co‐counsel
       04/23/12   Marshall      1.10   $        375.00 $          412.50
1218                                                                     regarding discovery, expert, and case strategy issues [1.0].
                                                                         Team meeting re outstanding discovery issues, litigation strategy (1.0); Discuss
       04/23/12   Zuchetto      1.25   $        330.00 $          412.50
1219                                                                     Sybrandy issues w/ Marshall in advance of meeting (.25).
                                                                         Conference call with co‐counsel discovery issues and case strategy; email
       04/23/12    Dunne        0.50   $        380.00 $          190.00
1220                                                                     correspondence with co‐counsel re discovery issues
                                                                       Read team emails; attend team meeting; draft letter to opposing counsel to schedule P.
                                                                       Eason and C. Cammock depositions; review defendants' responses and document
       04/23/12    Fisher       3.30   $        330.00 $      1,089.00
                                                                       production in response to our first set of interrogatories and requests for documents;
                                                                       draft letter to defendants to request a rule 37 conference;
1221
                                                                           Telephone conference with team regarding discovery issues; communications regarding
       04/23/12    Roos         1.20   $        465.00 $          558.00
1222                                                                       same;
                                                                       Exchange emails with Skagit County Prosecutor on City production of records and
                                                                       coordinate with litigation team; prepare for and participate in litigation team
       04/23/12   Williams      4.50   $        580.00 $      2,610.00
                                                                       conference call on outstanding discovery issues; continue development of master
                                                                       deposition outline for City administrators and prosecutors;
1223
                                                                       Correspondence regarding discovery [.3]; assessed production history, OCR'd
       04/24/12   Boschen       7.90   $        150.00 $      1,185.00 production, Bates labeled production, and uploaded documents to shared network
1224                                                                   [7.4]; updated production log [.2].
1225   04/24/12   Marshall      0.40   $        375.00 $        150.00 Worked on discovery issues [.4].



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 1                KEEPER
                                                                         Emails to co‐counsel regarding discovery follow up, teleconference with expert witness
       04/24/12    Talner       3.60   $        400.00 $        1,440.00
1226                                                                     re response to cities' experts
                                                                         Draft CR 37 request letter to defense counsel; organize and review discovery received in
       04/24/12    Fisher       3.80   $        330.00 $        1,254.00 case in preparation for depositions and CR 37 conference; send letters regarding
1227                                                                     scheduling of depositions for C. Cammock and P. Eason;
                                                                         Review email from C. Fisher on CR 37 letter; meet with C. Fisher on CR 37 letter to Cities
       04/24/12   Williams      6.50   $        580.00 $        3,770.00 and related issues; continue developing master deposition outline for city
1228                                                                     administrators and attorneys;
       04/25/12   Boschen       1.00   $        150.00 $            150.00 Continued OCR'ing production and uploading documents to shared network [1].
1229
1230   04/25/12   Marshall      0.30   $        375.00 $            112.50 Worked on discovery issues [.3].
1231   04/25/12    Talner       0.20   $        400.00 $             80.00 Emails with co‐counsel re discovery followup
                                                                         Continue developing master deposition outline using key documents and discovery
       04/25/12   Williams      5.20   $        580.00 $        3,016.00 produced by Cities; meet with C. Fisher on CR 37 letter to obtain additional discovery;
                                                                         review prior discovery responses from City for follow‐up requests;
1232
                                                                             Continued uploading production to shared network [.9]; researched class member case
                                                                             histories [.2]; drafted public disclosure requests for same [.3]; correspondence
       04/26/12   Boschen       1.80   $        150.00 $            270.00
                                                                             regarding discovery and records releases [.2]; produced documents to opposing counsel
1233                                                                         [.1]; updated production log [.1].
1234   04/26/12   Marshall      0.40   $        375.00   $          150.00   Worked on expert and discovery issues [.4].
1235   04/26/12   Bledsoe       0.25   $        120.00   $           30.00   Review and finalize letter to Sybrandy re: subpoena outstanding requests.
1236   04/26/12   Zuchetto      1.50   $        330.00   $          495.00   Work on letter to Sybrandy re Subpoena Duces Tecum.
1237   04/26/12    Dunne        0.10   $        380.00   $           38.00   Email correspondence with co‐counsel re discovery issues
       04/26/12    Talner       0.70   $        400.00 $            280.00 Emails with co‐counsel re discovery followup, investigate rebuttal expert witness
1238
                                                                           Draft letter to J. Murphy requesting M. Witt's case files, total number of cases, and
       04/26/12    Fisher       2.20   $        330.00 $            726.00 hours spent on non‐public defense cases; return N. Talner's voice message and discuss
1239                                                                       discovery and expert rebuttal issues;
                                                                             Continue review of discovery responses and documents produced by Cities to refine CR
       04/26/12   Williams      7.50   $        580.00 $        4,350.00
                                                                             37 request for supplementation and continue drafting master deposition outline;
1240
                                                                             Telephone call to client [.1]; finalized and transmitted public disclosure requests [.2];
       04/27/12   Boschen       0.70   $        150.00 $            105.00
1241                                                                         correspondence regarding discovery [.4].


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1242   04/27/12   Talner        0.20   $        400.00 $             80.00 Emails with co‐counsel re discovery followup
                                                                         Continue editing CR 37 letter to defendants on failure to adequately produce
       04/27/12   Williams      7.00   $        580.00 $        4,060.00 interrogatory answers or RFP responses to the first set of discovery from plaintiffs;
                                                                         coordinate with litigation team on potential rebuttal expert testimony;
1243
                                                                           Analyzed issues regarding depositions [.1]; email correspondence and telephone
                                                                           conference with co‐counsel regarding same [.2]; reviewed letter from opposing counsel
                                                                           regarding privilege log [.1]; email correspondence with co‐counsel regarding same [.1];
       04/30/12   Marshall      1.30   $        375.00 $            487.50 email to opposing counsel regarding scheduling of Sybrandy and Witt depositions [.1];
                                                                           email correspondence with co‐counsel regarding discovery issues [.1]; worked on same
                                                                           [.2]; telephone call from Mr. Wilbur regarding status of discovery [.1]; analyzed issues
                                                                           regarding caseload counts [.3].
1244
1245   04/30/12   Zuchetto      0.20   $        330.00   $           66.00   Discuss Sybrandy/Witt deps. w/ co‐counsel.
1246   04/30/12    Talner       0.10   $        400.00   $           40.00   Emails with co‐counsel re discovery followup
1247   04/30/12    Dunne        0.10   $        380.00   $           38.00   Correspondence with J. Strait
1248   04/30/12     Roos        0.20   $        465.00   $           93.00   Communications regarding depositions; review deposition notices;
                                                                           Read letter from J. Williams to A. Cooley regarding discovery productions; write and
       04/30/12    Fisher       1.30   $        330.00 $            429.00 send notice of depositions for C. Cammock and P. Eason; write and send letter to
                                                                           defense counsel regarding production and payment of court files;
1249
                                                                             Review binder containing Cities documents responding to discovery requests and
       04/30/12   Williams      7.50   $        580.00 $        4,350.00     continue selection of documents for key documents binder; exchange emails with team
1250                                                                         on potential evidence;
                                                                             Discovery correspondence [.2]; drafted subpoenas and notices pertaining to Sybrandy
       05/01/12   Boschen       0.90   $        150.00 $            135.00   and Witt depositions [.6]; personal conference regarding and correspondence regarding
1251                                                                         same [.1].
                                                                             Worked on discovery issues [.7]; researched and analyzed issues regarding same [.4];
                                                                             reviewed correspondence from opposing counsel regarding same [.2]; researched and
       05/01/12   Marshall      1.80   $        375.00 $            675.00
                                                                             analyzed issues regarding same [.3]; telephone conference with co‐counsel regarding
1252                                                                         same [.2].
1253   05/01/12   Zuchetto      1.10   $        330.00 $            363.00   Research re 3rd party Subpoena Duces Tecum costs/party costs.




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 1                KEEPER
                                                                       Continue review of discovery production from Cities to identify key documents for
       05/01/12   Williams      5.00   $        580.00 $      2,900.00 deposition examination; exchange emails with opposing counsel on setting up CR 37
1254                                                                   conference;
                                                                       Prepared draft of plaintiffs' first requests for admissions propounded to defendant City
       05/02/12    Kinsey       1.20   $        100.00 $        120.00 of Mount Vernon [.6]; prepared draft of plaintiffs' first requests for admissions to
1255                                                                   defendant City of Burlington [.6].
                                                                         Reviewed conference call agenda and researched discovery and production items [.2];
                                                                         telephone conference regarding discovery [1]; revised, finalized and emailed notices of
                                                                         deposition for Sybrandy and Witt [1.1]; telephone conferences and correspondence
                                                                         regarding deposition scheduling [.4]; telephone conference with Burlington Municipal
       05/02/12   Boschen       6.40   $        150.00 $          960.00
                                                                         Court regarding public disclosure request [.1]; worked on pulling documents for experts
                                                                         [.7]; correspondence regarding same [.1]; worked on Sybrandy and Witt deposition
                                                                         preparation [2.5]; researched attorney contact information and updated case contacts
                                                                         [.2]; updated production log [.1].
1256
                                                                       Worked on subpoenas to Mr. Sybrandy and Mr. Witt and issues regarding depositions
                                                                       [.2]; worked on discovery issues [.5]; telephone conferences with co‐counsel regarding
       05/02/12   Marshall      4.90   $        375.00 $      1,837.50 discovery, expert, lay witness, and case strategy issues [1.2]; worked on requests for
                                                                       admission [2.3]; researched and analyzed issues regarding same [.5]; telephone
                                                                       conference with co‐counsel regarding same [.2].
1257
                                                                           Work on Requests for Admission/Interrogatories to defendants (1.1); Team call re
       05/02/12   Zuchetto      2.85   $        330.00 $          940.50   litigation strategy (1.0); Research re costs in responding to Subpoena Duces Tecum
1258                                                                       (.75).
1259   05/02/12    Dunne        0.30   $        380.00 $          114.00   Conference call with J. Strait re case and expert disclosure
                                                                           Conference call with co‐counsel re discovery issues; draft rebuttal declaration for expert
       05/02/12    Talner       3.00   $        400.00 $      1,200.00     witness; review and comment on draft requests for admission; review documents to be
1260                                                                       sent to experts for review
                                                                           Participate in team call to discuss outstanding issues; write email to W. Honea letting
       05/02/12    Fisher       1.50   $        330.00 $          495.00   him know we will deliver the check for the court files either today or tomorrow and
1261                                                                       inquire as to how we will receive the files;
                                                                           Prepare for and participate in litigation strategy call; discuss action items with B. Roos
       05/02/12   Williams      1.90   $        580.00 $      1,102.00
1262                                                                       and C. Fisher;



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 1                KEEPER
                                                                       Telephone conference with defense team regarding discovery issues; draft letter and
       05/02/12    Roos         2.80   $        465.00 $      1,302.00 subpoena regarding jail visit logs; research regarding same; review correspondence
1263                                                                   regarding discovery issues;
                                                                         Reviewed, revised and finalized Sybrandy and Witt subpoenas and notices of deposition
                                                                         [.4]; arranged delivery by messenger and U.S. mail [.1]; prepared draft of plaintiffs'
       05/03/12    Kinsey       1.50   $        100.00 $          150.00 second interrogatories and third requests for production of documents to defendant
                                                                         City of Burlington [.5]; prepared draft of plaintiffs' second interrogatories and third
                                                                         requests for production of documents to defendant City of Mount Vernon [.5].
1264
                                                                         Correspondence regarding expert production [.2]; drafted letters and prepared
                                                                         production to experts [.6]; personal conference regarding same [.1]; updated
       05/03/12   Boschen       1.60   $        150.00 $          240.00
                                                                         production log [.1]; uploaded document to shared network [.1]; prepared mailing to
                                                                         Mount Vernon Municipal Court for public records [.2]; reviewed discovery requests [.3].
1265
                                                                       Email correspondence with witness regarding factual background issues [.1]; email
                                                                       correspondence with co‐counsel regarding requests for admission [.1]; worked on Ms.
                                                                       Jackson's rebuttal report [.6]; analyzed issues regarding exhibits to same [.4]; worked on
                                                                       revisions to requests for admission [.3]; worked on discovery issues and evidence to
                                                                       prove claims [.5]; prepared for conference call with opposing counsel regarding
       05/03/12   Marshall      5.20   $        375.00 $      1,950.00 discovery issues, reviewing various discovery materials and researched and analyzed
                                                                       issues regarding same [.8]; participated in same [.9]; telephone conference with co‐
                                                                       counsel regarding same [.1]; drafted memorandum regarding same [.4]; researched and
                                                                       analyzed issues regarding objections to questioning of immigration status of Mr.
                                                                       Sanchez [.4]; drafted memorandum regarding same [.4]; telephone conference with co‐
                                                                       counsel regarding same [.2].
1266
1267   05/03/12   Zuchetto      3.50   $        330.00 $      1,155.00 Work on motion to compel Sybrandy docs.
                                                                       Teleconferences with expert witness re revising draft rebuttal declaration and finalizing
       05/03/12    Talner       1.80   $        400.00 $        720.00
1268                                                                   it
                                                                           Attend Rule 37 conference regarding interrogatory and request for production
       05/03/12    Roos         0.90   $        465.00 $          418.50
                                                                           responses; telephone conference with T. Marshall regarding same;
1269
                                                                           Read team emails; write cover letter to W. Honea re payment for the court files; read
       05/03/12    Fisher       1.20   $        330.00 $          396.00
1270                                                                       email summarizing CR 37 conference;


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 1                KEEPER
                                                                       Review and approve correspondence with Skagit County on release of court files; review
                                                                       proposed rebuttal expert opinions and emails related thereto; coordinate with litigation
       05/03/12   Williams      2.50   $        580.00 $      1,450.00
                                                                       team on depositions of municipal court judges; review and approve draft Requests for
1271                                                                   Admission;
                                                                         Reviewed, revised and finalized plaintiffs' first requests for admissions to defendant City
                                                                         of Burlington [.2]; reviewed, revised and finalized plaintiffs' first requests for admission
                                                                         to defendant City of Mount Vernon [.2]; reviewed. reviewed, revised and finalized
       05/04/12    Kinsey       1.00   $        100.00 $          100.00 plaintiffs' second interrogatories and third requests for production to defendant City of
                                                                         Burlington [.2]; reviewed, revised and finalzied plaintiffs' second interrogatories and
                                                                         third requests for production to defendant City of Mount Vernon [.2]; arranged delivery
                                                                         by messenger regarding same [.2].
1272
                                                                         Personal conferences and correspondence regarding subpoenas; personal conferences
       05/04/12   Boschen       0.70   $        150.00 $          105.00 and correspondence regarding discovery requests; correspondence regarding court case
                                                                         files and labeling and uploading same; updated production log.
1273
                                                                       Worked on additional RFAs, interrogatories, and RFPs to Defendants [.8]; worked on Ms.
                                                                       Jackson's expert rebuttal report [.2]; worked on memorandum to co‐counsel regarding
       05/04/12   Marshall      3.50   $        375.00 $      1,312.50 discovery call [.2]; worked on analysis of issues defendants raised regarding Mr.
                                                                       Sanchez's deposition [.8]; telephone conference with co‐counsel regarding same [.5];
                                                                       email to opposing counsel regarding Rule 37 call [.4]; worked on discovery issues [.6].
1274
                                                                       Edit/revise Requests for Admission, Interrogatories and Requests for Production to
       05/04/12   Zuchetto      5.75   $        330.00 $      1,897.50 Defendants (1.75); Work on motion to compel Sybrandy (3.5); Analyze 5th amendment
                                                                       issues re depositions (.3); Discuss same w/ co‐counsel (.2).
1275
                                                                         Finalize rebuttal expert declaration, respond to co‐counsel re discovery issues (defense
       05/04/12    Talner       0.60   $        400.00 $          240.00
1276                                                                     demand to re‐open depositions)
                                                                         Draft letter regarding jail visit logs; communications regarding discovery issues; revise
       05/04/12    Roos         1.90   $        465.00 $          883.50
1277                                                                     summary of Rule 37 conference;
                                                                         Send deposition letters regarding Judge Svaren and Skelton; organize pick‐up of CDs
       05/04/12    Fisher       0.70   $        330.00 $          231.00
1278                                                                     containing court files; organize uploading files to extranet site;
       05/04/12   Williams      1.50   $        580.00 $          870.00 Coordinate with co‐counsel on setting up depositions and discovery responses;
1279


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  1               KEEPER
1280   05/06/12   Marshall      0.60   $        375.00 $          225.00 Worked on discovery and document management issues [.6].
                                                                         Finalized Morgan Witt deposition notice and subpoena [.2]; arranged service of process
                                                                         of deposition subponea on Morgan Witt an Richard Sybrandy [.3]; telephone conference
       05/07/12    Kinsey       1.00   $        100.00 $          100.00
                                                                         with Likkell & Associates regarding court reporting and conference room [.3]; arranged
                                                                         messenger delivery to opposing counsel [.2].
1281
                                                                         Email correspondence with co‐counsel and opposing counsel regarding scheduling of
                                                                         Witt deposition [.1]; exchanged messages with Mr. Murphy regarding same [.1];
                                                                         telephone calls from Mr. Murphy regarding same [.1]; docketed deposition and worked
       05/07/12   Marshall      1.70   $        375.00 $          637.50 on amending subpoena [.1]; sent email to opposing counsel and co‐counsel regarding
                                                                         new date [.1]; worked on motion to compel production of documents by Mr. Sybrandy
                                                                         [.5]; worked on discovery issues [.2]; worked on search terms for discovery requests to
                                                                         defendants [.5].
1282
                                                                           Work on motion to compel (3.5); Work on scheduling Sybrandy dep. (.25); Review WItt
       05/07/12   Zuchetto      4.00   $        330.00 $      1,320.00
                                                                           objections re Subpoena Duces Tecum and e‐mail defense counsel re same (.25).
1283
1284   05/07/12    Talner       1.30   $        400.00 $          520.00 Follow‐up to rebuttal expert declartion, begin review of court files
                                                                           Draft motion to compel production of documents; review J. Murphy's objections to
       05/07/12    Fisher       0.70   $        330.00 $          231.00
                                                                           recent request for documents in preparation for CR 37 conference;
1285
1286   05/07/12    Roos         0.30   $        465.00 $          139.50 Communications regarding discovery issues;
                                                                         Multiple telephone conferences with Diane at ABC regarding Sybrandy subpoena
       05/08/12    Kinsey       0.20   $        100.00 $           20.00
1287                                                                     service.
                                                                           Correspondence regarding cancelled depositions [.1]; reviewed electronic discovery
       05/08/12   Boschen       0.30   $        150.00 $           45.00
                                                                           search terms [.1]; correspondence regarding discovery requests [.1].
1288




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 1                KEEPER
                                                                         Worked on search term list for defendants' discovery production [.8]; email to co‐
                                                                         counsel regarding same [.1]; reviewed email from opposing counsel regarding discovery
                                                                         and analyzed issues regarding same [.2]; analyzed issues regarding Fifth Amendment
       05/08/12   Marshall      2.30   $        375.00 $          862.50 privilege objections [.2]; analyzed issues regarding document production [.1]; reviewed
                                                                         order extending case schedule deadlines [.1]; analyzed issues regarding same [.1];
                                                                         worked on expert, deposition, and discovery issues and email correspondence with co‐
                                                                         counsel regarding same [.7].
1289
1290   05/08/12   Bledsoe       0.50   $        120.00 $           60.00 Work on Motion to Compel with Subpoena Duces Tecum.
                                                                         Work on scheduling Sybrandy deposition (.25); Work on motion to compel Sybrandy
       05/08/12   Zuchetto      1.95   $        330.00 $          643.50
1291                                                                     (1.7).
       05/08/12    Talner       0.40   $        400.00 $          160.00 Emails with co‐counsel re discovery and schedule issues,continue review of court files
1292
                                                                           Read team emails; respond to opposing counsel's request for court records without
       05/08/12    Fisher       1.90   $        330.00 $          627.00
1293                                                                       payment;
                                                                           Review amended scheduling order; communications regarding discovery and scheduling
       05/08/12    Roos         0.40   $        465.00 $          186.00
1294                                                                       order;
                                                                           Worked on discovery issues [.1]; email to opposing counsel regarding cancellation of
       05/09/12   Marshall      0.20   $        375.00 $           75.00
1295                                                                       depositions [.1].
1296   05/09/12   Zuchetto      0.50   $        330.00 $          165.00   Review search terms re discovery requests and e‐mail co‐counsel re same.
1297   05/09/12    Fisher       0.90   $        330.00 $          297.00   Draft and send J. Murphy letter requesting Rule 37 conference;
1298   05/09/12     Roos        0.20   $        465.00 $           93.00   Review and revise search terms;
                                                                           Reviewed court's order on case schedule [.1]; analyzed issues regarding same [.1];
       05/10/12   Marshall      0.30   $        375.00 $          112.50
1299                                                                       cancelled depositions of Mr. Witt and Mr. Sybrandy [.1].
1300   05/10/12   Zuchetto      0.25   $        330.00 $           82.50   Review/analyze Court’s ruling re contact w/ class members.
                                                                           Review Order from court re questioning of class members; email correspondence with
       05/10/12    Dunne        0.20   $        380.00 $           76.00
1301                                                                       co‐counsel re same
                                                                           Read order granting in part and denying in part defendants' motion to allow
       05/10/12    Fisher       0.80   $        330.00 $          264.00   communications with former and current indigent defendants; draft motion to compel
1302                                                                       production;
                                                                           Communications regarding discovery issues; review court order regarding contact of
       05/10/12    Roos         0.30   $        465.00 $          139.50
1303                                                                       class members;
       05/11/12    Dunne        0.10   $        380.00 $           38.00 Email correspondence with co‐counsel re discovery issues and jail visitor logs
1304


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 1                KEEPER
       05/11/12    Fisher       2.90   $        330.00 $          957.00 Draft motion to compel R. Sybrandy and M. Witt to comply with subpoena duces tecum;
1305
1306   05/14/12   Marshall      0.10   $        375.00 $           37.50 Telephone call from co‐counsel regarding discovery issues [.1].
1307   05/14/12   Zuchetto      1.75   $        330.00 $          577.50 Review/incorp. co‐counsel revisions to Sybrandy motion to compel.
                                                                         Draft motion to compel R. Sybrandy and M. Witt to produce documents in response to
       05/14/12    Fisher       1.70   $        330.00 $          561.00
1308                                                                     Plaintiffs' subpoena;
                                                                           Review email exchanges on case strategy and discovery responses from counsel for
       05/14/12   Williams      1.50   $        580.00 $          870.00
                                                                           Cities; conference call with C. Fisher on production of documents from Cities;
1309
                                                                         Telephone call from Mr. Wilbur regarding status of case and factual background issues
       05/15/12   Marshall      1.00   $        375.00 $          375.00 [.4]; worked on discovery issues [.3]; telephone conference with Ms. Osborne regarding
                                                                         same and status of lawsuit [.2]; email to Ms. Osborne transmitting court orders [.1].
1310
       05/15/12   Zuchetto      3.25   $        330.00 $      1,072.50 Prepare declaration and order re motion to compel Sybrandy and edit motion re same.
1311
                                                                         Write declaration in support of motion to compel R. Sybrandy's and M. Witt's
       05/15/12    Fisher       2.60   $        330.00 $          858.00
1312                                                                     compliance with subpoenas;
                                                                         Review Court's Amended Order Setting Trial Date and Related Dates; review Court's
       05/15/12   Williams      1.00   $        580.00 $          580.00
1313                                                                     Order regarding Defendants' access to indigent defendants;
                                                                         Worked on motion to compel production of documents by Messrs. Witt and Sybrandy
                                                                         and related documents [.6]; researched and analyzed issues regarding Defendants'
                                                                         request for copies of subpoenaed court records without payment [.5]; email
       05/16/12   Marshall      1.90   $        375.00 $          712.50 correspondence with co‐counsel regarding same [.1]; drafted letter to opposing counsel
                                                                         regarding same [.3]; analyzed issues regarding Rule 37 conference with Mr. Witt's
                                                                         attorney [.1]; telephone conference with co‐counsel regarding same [.2]; email
                                                                         correspondence with co‐counsel regarding defendants' request for court records [.1].
1314
                                                                         Review and revise Pls Mtn to Compel Sybrandy’s Compliance with Subpoenas Duces
       05/16/12   Bledsoe       0.50   $        120.00 $           60.00
1315                                                                     Tecum.
1316   05/16/12   Zuchetto      0.30   $        330.00 $           99.00 Review/revise letter to defense counsel re case files.
1317   05/16/12    Dunne        0.10   $        380.00 $           38.00 Email correspondence with co‐counsel re discovery issues and case files
1318   05/16/12    Talner       0.20   $        400.00 $           80.00 Emails with co‐counsel re deposition scheduling




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 1                KEEPER
                                                                         Call J. Murphy to set up CR 37 conference; read motion to compel R. Sybrandy's
       05/16/12    Fisher       0.30   $        330.00 $           99.00 compliance with subpoena; read letter to opposing counsel regarding payment of court
1319                                                                     files;
1320   05/16/12   Williams      0.50   $        580.00 $          290.00 Exchange emails with litigation team on rescheduling of depositions;
                                                                         Email correspondence and telephone conference with co‐counsel regarding proof of
                                                                         service of subpoena on Mr. Sybrandy and requested relief in motion to compel [.2];
       05/17/12   Marshall      1.00   $        375.00 $          375.00
                                                                         worked on discovery issues [.4]; telephone conference with co‐counsel regarding same
1321                                                                     [.4].
1322   05/17/12   Bledsoe       1.00   $        120.00 $          120.00 Review and finalize Mtn to Compel Sybrandy and supporting docs.
                                                                         Review of and revisions to Motion to Compel Production; cite check same; review of
       05/17/12   Bergland      1.60   $        190.00 $          304.00
1323                                                                     and revisions to Zuchetto Declaration.
                                                                         Team meeting re dep. scheduling/case strategy (.5); Review/edit motion to compel
       05/17/12   Zuchetto      3.00   $        330.00 $          990.00
1324                                                                     Sybrandy (2.5).
                                                                         Conference call with co‐counsel re deposition scheduling, review and comment on
       05/17/12    Talner       0.70   $        400.00 $          280.00
1325                                                                     motion to compel production from Sybrandy
                                                                         Write and send letter to J. Murphy confirming CR 37 conference; participate in team call
       05/17/12    Fisher       2.00   $        330.00 $          660.00
1326                                                                     regarding depositions;
1327   05/17/12    Roos         0.50   $        465.00 $          232.50 Telephone conference regarding depositions and discovery;
                                                                           Conference call with team on rescheduling of depositions; draft letter to opposing
       05/17/12   Williams      2.00   $        580.00 $      1,160.00
                                                                           counsel on reasons for deposition rescheduling and probable dates;
1328
                                                                           Telephone call from co‐counsel regarding motion to compel production from Sybrandy
       05/18/12   Marshall      0.40   $        375.00 $          150.00
                                                                           and discovery issues [.2]; worked on filing of same [.1]; worked on discovery issues [.1].
1329
                                                                         Finalize Motion to Compel Sybrandy and supporting docs and e‐mail to Marshall for
       05/18/12   Bledsoe       0.50   $        120.00 $           60.00
1330                                                                     delivery to Judge.
1331   05/18/12   Zuchetto      1.75   $        330.00 $          577.50 Edit/finalize motion to compel Sybrandy.
       05/18/12    Dunne        0.10   $        380.00 $           38.00 Email correspondence with co‐counsel re discovery and scheduling of depositions
1332
                                                                         Review and respond to cities' list of claimed improper 5th Amendment objections in
       05/18/12    Talner       1.30   $        400.00 $          520.00
1333                                                                     depositions
                                                                         Finalize letter to counsel for defendants cancelling depositions and offering
       05/18/12   Williams      0.50   $        580.00 $          290.00
1334                                                                     rescheduling dates;
1335   05/18/12    Fisher       0.10   $        330.00 $           33.00 Review letter regarding re‐noting depositions;


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 1                KEEPER
                                                                         Review supplemental discovery material (.3); Discuss same w/ co‐counsel (.2); Analyze
       05/21/12   Zuchetto      1.75   $        330.00 $          577.50
1336                                                                     def. privilege log and e‐mail co‐counsel re same (1.25).
1337   05/21/12    Fisher       0.70   $        330.00 $          231.00 Prepare for CR 37 conference with J. Murphy;
1338   05/21/12   Williams      1.00   $        580.00 $          580.00 Review plaintiffs' motion to compel Sybrandy compliance with subpoena;
                                                                         Review cities' supplement production and emails to co‐counsel about it; research cities'
       05/22/12    Talner       1.90   $        400.00 $          760.00
1339                                                                     budget information re public defense funding
                                                                       Prepare for CR 37 conference with J. Murphy regarding M. Witt's production;
       05/22/12    Fisher       4.10   $        330.00 $      1,353.00 participate in CR 37 conference with J Murphy; draft motion to compel Cities to answer
                                                                       discovery requests; write letter to J. Murphy summarizing CR 37 conference;
1340
                                                                           Review and edit master deposition outline for counties to include exhibit examination
       05/22/12   Williams      4.00   $        580.00 $      2,320.00
                                                                           from key documents binder; review and edit CR 37 letter to counsel for Morgan Witt;
1341
                                                                           Prepare for and participate in fourth CR 37 conference with J. Murphy; draft and send J.
       05/23/12    Fisher       1.70   $        330.00 $          561.00
1342                                                                       Murphy letter summarizing conference;
       05/23/12   Williams      5.50   $        580.00 $      3,190.00 Continue drafting master deposition outline for City Administrators and City Attorneys;
1343
       05/24/12   Boschen       2.40   $        150.00 $          360.00 Worked on production and discovery issues and correspondence regarding same [2.4];
1344
                                                                           Worked on document management issues [.2]; email correspondence with Ms.
                                                                           Montague regarding status of lawsuit [.1]; researched and analyzed issues regarding
       05/24/12   Marshall      0.70   $        375.00 $          262.50
                                                                           factual background in preparation for depositions [.3]; email correspondence with co‐
1345                                                                       counsel regarding same [.1].
                                                                           Worked on bates labeling and converting native productions; personal conferences
       05/25/12   Boschen       6.90   $        150.00 $      1,035.00     regarding same; updated client contact information; reviewed discovery requests and
1346                                                                       responses; correspondence regarding same;
                                                                           Review discovery documents and send relevant parts to co‐counsel for deposition
       05/25/12    Talner       0.80   $        400.00 $          320.00
1347                                                                       preparation
                                                                           Exchange emails on production of client complaints that pre‐date 2006; review and edit
       05/25/12   Williams      0.70   $        580.00 $          406.00
1348                                                                       letter to Cooley on setting up depositions;
                                                                           Discuss production issues; write and send letter to A. Cooley regarding rescheduling of
       05/25/12    Fisher       0.70   $        330.00 $          231.00
1349                                                                       depositions; read and reply to team emails;




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 1                KEEPER
                                                                       Worked on discovery and document management issues [.3]; worked on witness issues
                                                                       [.2]; reviewed Ms. Coleman's bid to Cities for public defense services and analyzed
       05/27/12   Marshall      2.10   $        375.00 $        787.50 issues regarding same [.2]; researched and analyzed issues regarding response to
                                                                       defendants regarding objections on fifth amendment grounds [1.0]; email to co‐counsel
1350                                                                   regarding same [.4].
                                                                       Write letter to opposing counsel to schedule a CR 37 conference in order to discuss
       05/28/12    Fisher       0.60   $        330.00 $        198.00
1351                                                                   production of client complaints;
                                                                       Continued work on production issues; telephone conferences and correspondence
       05/29/12   Boschen       7.30   $        150.00 $      1,095.00 regarding same; commenced work on document review; updated pleading with Perkins
1352                                                                   Coie address change.
                                                                         Worked on response to opposing counsel regarding objections on fifth amendment and
       05/29/12   Marshall      0.50   $        375.00 $          187.50 relevance grounds [.2]; email correspondence with co‐counsel regarding same [.1];
                                                                         worked on discovery and deposition scheduling issues [.2].
1353
                                                                           Review 5th amendment objections/proposed compromise re depositions and e‐mail co‐
       05/29/12   Zuchetto      0.50   $        330.00 $          165.00
1354                                                                       counsel re same.
                                                                           Finalize letter to A. Cooley requesting CR 37 conference to discuss production of client
       05/29/12    Fisher       2.40   $        330.00 $          792.00
                                                                           complaints; review documents; read and respond to team emails;
1355
1356   05/29/12   Williams      0.50   $        580.00 $        290.00 Coordinate with litigation team on discovery issues;
1357   05/30/12   Boschen       7.10   $        150.00 $      1,065.00 Continued work on document review [7.1].
                                                                       Email J. Boschen list of depositions and deposers; draft motion to compel M. Witt to
       05/30/12    Fisher       2.90   $        330.00 $        957.00
1358                                                                   produce documents;
                                                                       Continued document review and indexing [5.6]; correspondence regarding same [.2];
       05/31/12   Boschen       7.00   $        150.00 $      1,050.00
1359                                                                   conference call regarding discovery and depositions [1.2];
                                                                         Prepared for conference call with co‐counsel regarding discovery and case strategy
                                                                         issues [.2]; participated in same [1.5]; worked on action item plan for discovery,
       05/31/12   Marshall      2.40   $        375.00 $          900.00 deposition, and case strategy issues [.2]; researched and analyzed issues regarding
                                                                         discoverability of names of attorney's clients and email correspondence with co‐counsel
                                                                         regarding same [.1]; reviewed recent document production by defendants [.4].
1360
1361   05/31/12   Zuchetto      1.50   $        330.00 $          495.00 Preparation for and attend teleconference team litigation strategy meeting.
                                                                         Conference call with co‐counsel to discuss discovery followup actions, emails regarding
       05/31/12    Talner       1.90   $        400.00 $          760.00
1362                                                                     pieces of evidence in cities' supplemental production


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        DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1                KEEPER
                                                                       Write agenda for today's call and send to team; draft motion to compel M. Witt's
                                                                       compliance with subpoena; talk with J. Murphy regarding document production'; write
       05/31/12    Fisher       3.90   $        330.00 $      1,287.00
                                                                       summary letter to J. Murphy regarding our call; draft letter to A. Cooley regarding his
1363                                                                   notice of unavailability;
                                                                       Prepare for and preside over litigation team strategy call; review newly produced
       05/31/12   Williams      3.00   $        580.00 $      1,740.00 documents for inclusion in hot documents binder; draft letter to Cooley responding to
1364                                                                   Notice of Unavailability;
                                                                           Telephone conference with team regarding discovery and related issues;
       05/31/12    Roos         1.20   $        465.00 $          558.00
                                                                           communications regarding legal research projects and deposition scheduling;
1365
                                                                           Drafted SDT to Mountain Law and correspondence regarding same [.4]; continued work
       06/01/12   Boschen       7.10   $        150.00 $      1,065.00
                                                                           on document review [6.5]; correspondence regarding discovery [.2].
1366
                                                                         Reviewed new public defense services contract [.4]; analyzed issues regarding
                                                                         subpoeana to Mountain Law [.4]; worked on same [.6]; email to co‐counsel regarding
                                                                         same [.3]; reviewed documents produced by defendants [.4]; analyzed issues regarding
       06/01/12   Marshall      2.40   $        375.00 $          900.00
                                                                         complaints to cities about public defense services [.1]; email correspondence with co‐
                                                                         counsel regarding same [.1]; telephone conference with co‐counsel regarding
1367                                                                     deposition scheduling [.1].
                                                                           Work on scheduling Sybrandy deposition and e‐mail co‐counsel re same (1.25);
       06/01/12   Zuchetto      2.00   $        330.00 $          660.00
                                                                           Review/analyze Requests for Admission/Interrogatory responses (.75).
1368
1369   06/01/12    Talner       1.50   $        400.00 $          600.00 Emails with co‐counsel re reviewing and revising discovery documents
                                                                           Review and exchange emails on discovery requests to new public defender; participate
       06/01/12   Williams      1.00   $        580.00 $          580.00
                                                                           in CR 37 conference on missing complaints from 2005‐08 on Sybrandy & Witt;
1370
                                                                           Work on notice of depositions; participate in CR 37 conference regarding complaints
       06/01/12    Fisher       1.50   $        330.00 $          495.00
1371                                                                       prior to 2008 and after April 30, 2012; review discovery responses;
       06/03/12   Marshall      0.20   $        375.00 $           75.00 Finalized subpoena to Mountain Law and analyzed issues regarding service on same [.2].
1372




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 1                KEEPER
                                                                           Worked on discovery and document management issues [.3]; message from Mr.
                                                                           Murphy and email correspondence with co‐counsel regarding deposition scheduling
                                                                           issues [.1]; analyzed issues and email correspondence with co‐counsel regarding same
       06/04/12   Marshall      1.10   $        375.00 $          412.50
                                                                           [.1]; reviewed defendants' supplemental discovery responses [.3]; analyzed issues
                                                                           regarding Mr. Rosenberg's letter of May 21 and left message with Mr. Rosenberg
1373                                                                       regarding same [.3].
1374   06/04/12   Zuchetto      1.00   $        330.00 $          330.00   Draft/finalize letter re scheduling depositions.
                                                                           Review Cities' responses to Requests for Admission and begin integration of responses
       06/04/12   Williams      2.00   $        580.00 $      1,160.00
1375                                                                       into deposition outline;
1376   06/04/12    Roos         0.20   $        465.00 $           93.00   Review and revise subpoenas and notices of deposition;
                                                                         Continued work on document and video production review [2.5]; correspondence
                                                                         regarding production and discovery [.2]; burned sets of defendants' productions for co‐
                                                                         counsel and prepared mailings for same [1.1]; downloaded production from FTP site
                                                                         [.2]; updated production log [.1]; correspondence with opposing counsel regarding
       06/05/12   Boschen       5.20   $        150.00 $          780.00
                                                                         production issues [.1]; researched SDT notice issues and correspondence and personal
                                                                         conference regarding same [.2]; drafted and finalized notice and subpoena [.5];
                                                                         prepared service and mailing of same [.2]; correspondence and telephone call to Mr.
                                                                         Murphy regarding scheduling Mr. Witt's deposition [.1].
1377
                                                                         Telephone conferences with co‐counsel regarding failure of Mr. Sybrandy to respond to
                                                                         motion to compel [.1]; researched and analyzed issues regarding service of motion on
                                                                         third party [.3]; prepared for call with opposing counsel regarding search terms and
                                                                         other discovery issues [.2]; telephone conference with opposing counsel regarding same
                                                                         [.2]; email correspondence with co‐counsel and opposing counsel regarding same [.2];
       06/05/12   Marshall      2.30   $        375.00 $          862.50
                                                                         analyzed issues regarding search terms [.3]; email correspondence with co‐counsel
                                                                         regarding same [.3]; reviewed documents produced by defendants [.4]; analyzed issues
                                                                         regarding SDT to Mountain Law [.1]; reviewed letter from opposing counsel regarding
                                                                         deposition of Mr. Rogerson [.1]; analyzed issues regarding document production by
                                                                         defendants [.1].
1378
                                                                           Review discovery resp. re bid proposal and e‐mail team re same (.25); Draft letter to
       06/05/12   Zuchetto      1.00   $        330.00 $          330.00
1379                                                                       Sybrandy re overdue responses (.75).
       06/05/12    Talner       0.60   $        400.00 $          240.00 Review documents produced in discovery and email about them to co‐counsel
1380


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 1                KEEPER
                                                                           Review documents produced by Cities; draft agenda for weekly team meeting; read and
       06/05/12    Fisher       2.50   $        330.00 $          825.00
                                                                           respond to emails; talk with J. Murphy about M. Witt's production;
1381
                                                                           Update deposition outline for E. Stendal with questions based on Mt. Vernon responses
       06/05/12   Williams      1.50   $        580.00 $          870.00
1382                                                                       to Requests for Admission and answers to Interrogatories;
                                                                         Continued document review [4.8]; correspondence regarding discovery and production
                                                                         [.2]; case status telephone conference [.5]; reviewed Sybrandy response to motion to
                                                                         compel [.1]; reviewed documents relevant to Sybrandy WSBA complaints and
       06/06/12   Boschen       6.10   $        150.00 $          915.00
                                                                         correspondence regarding same [.2]; personal confernece and correspondence
                                                                         regarding Rogerson deposition [.1]; correspondence with Mr. Murphy regarding Witt
                                                                         deposition [.1]; correspondence regarding court observation [.1].
1383
                                                                         Prepared for weekly conference call with co‐counsel regarding discovery, expert, legal,
                                                                         and case strategy issues [.1]; participated in same [.5]; reviewed email and document
                                                                         production from Mr. Sybrandy in response to motion to compel [.2]; worked on
       06/06/12   Marshall      1.70   $        375.00 $          637.50
                                                                         discovery issues [.3]; email to opposing counsel regarding meeting to discuss search
                                                                         terms and other discovery issues [.1]; reviewed Mr. Sybrandy's response to motion to
                                                                         compel production and analyzed issues regarding same [.5].
1384
                                                                           Review/analyze R. Sybrandy response re motion to compel and e‐mail co‐counsel and
       06/06/12   Zuchetto      1.75   $        330.00 $          577.50
1385                                                                       defense counsel re same.
       06/06/12    Talner       0.30   $        400.00 $          120.00 Review documents produced in discovery and email about them to co‐counsel
1386
                                                                         Telephone conference with team regarding discovery; communications regarding
       06/06/12    Roos         0.80   $        465.00 $          372.00
1387                                                                     research projects;
                                                                         Prepare for and participate in weekly team call; send T. Marshall a stipulated protective
                                                                         order signed by R. Lasnik; read R. Sybrandy's email and letter regarding motion to
       06/06/12    Fisher       1.10   $        330.00 $          363.00
                                                                         compel; read R. Sybrandy's declaration in response to plaintiff's motion to compel
1388                                                                     compliance with subpoena;
                                                                         Prepare for and coordinate litigation team conference call on case status; review
       06/06/12   Williams      1.50   $        580.00 $          870.00
1389                                                                     Sybrandy response to plaintiffs' Motion to Compel;
1390   06/07/12   Boschen       2.40   $        150.00 $          360.00 Continued document review [2.4].




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 1                KEEPER
                                                                           Analyzed issues regarding stipulation to extend reply brief deadline on motion to
                                                                           compel Sybrandy production [.2]; telephone conference with co‐counsel regarding same
                                                                           [.1]; telephone conference and email correspondence with Ms. Sunne regarding
       06/07/12   Marshall      0.80   $        375.00 $            300.00
                                                                           indigent defense investigation [.2]; email correspondence with co‐counsel regarding
                                                                           same [.1]; analyzed issues regarding reply in support of motion to compel Sybrandy
                                                                           production [.1]; worked on strategy for locating witnesses [.1].
1391
                                                                             Draft Stipulated Order re: extending deadline to reply to Sybrandy’s response to Motion
       06/07/12   Bledsoe       1.00   $        120.00 $            120.00
1392                                                                         to Compel (.7); Draft Note for Hearing re: same (.3).
       06/07/12   Zuchetto      2.50   $        330.00 $            825.00 Work on stipulation re continue deadline for reply re Subpoena Duces Tecum.
1393
                                                                           Prepared letter and mailing to Mr. Sybrandy for delivery of documents and
                                                                           correspondence regarding same [.5]; worked on production and discovery issues
       06/08/12   Boschen       3.30   $        150.00 $            495.00 relating to motion to compel and correspondence regarding same [.9]; correspondence
                                                                           with Mr. Murphy regarding the deposition of Morgan Witt [.1]; correspondence
                                                                           regarding court observations [.1]; continued reviewing documents [1.7].
1394
                                                                           Analyzed issues regarding Sybrandy production [.2]; reviewed defendants' proposed
                                                                           protective order and analyzed issues regarding same [.3]; worked on revisions to same
       06/08/12   Marshall      2.50   $        375.00 $            937.50 [.2]; researched and analyzed issues regarding same local rules on protective orders and
                                                                           HIPAA application [.3]; worked on reply in support of motion to compel Sybrandy
1395                                                                       production [1.5].
       06/08/12   Zuchetto      5.00   $        330.00 $        1,650.00 E‐mail Jen re Sybrandy docs. (.3); Work on reply re Sybrandy motion to compel (4.7).
1396
1397   06/08/12    Fisher       0.80   $        330.00   $          264.00   Write letter to J. Murphy proposing to inspect files ourselves;
1398   06/09/12   Zuchetto      0.10   $        330.00   $           33.00   Review proposed protective order and e‐mail co‐counsel re same.
1399   06/10/12   Zuchetto      3.00   $        330.00   $          990.00   Work on reply re Motion to Compel Sybrandy.
1400   06/11/12   Boschen       0.10   $        150.00   $           15.00   Correspondence with Mr. Murphy regarding Mr. Witt's deposition [.1].




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 1                KEEPER
                                                                         Worked on deposition scheduling issues and email correspondence with co‐counsel
                                                                         regarding same [.1]; analyzed issues regarding production of documents by Mr. Witt
                                                                         and Mr. Sybrandy [.2]; email correspondence with co‐counsel regarding revisions to
       06/11/12   Marshall      0.90   $        375.00 $          337.50 protective order proposed by opposing counsel [.1]; analyzed issues regarding same and
                                                                         email to opposing counsel regarding same [.2]; worked on reply in support of motion to
                                                                         compel Sybrandy documents [.2]; reviewed opposing counsel's revisions to protective
                                                                         order and analyzed issues regarding same [.1].
1401
                                                                       Office meeting with Zuchetto and MF re: depo notices and reply due to Mtn to Compel
       06/11/12   Bledsoe       1.00   $        120.00 $        120.00 Sybrandy (.25); Review of and forward Sybrandy’s replies to Pls discovery to TMDW
1402                                                                   (.25); Draft Deposition Notice for Richard Sybrandy (.5).
                                                                       Work on Reply re Sybrandy motion to compel (6.75); Call w/ witness re Sybrandy bar
       06/11/12   Zuchetto      7.05   $        330.00 $      2,326.50
1403                                                                   complaints (.3).
1404   06/11/12    Dunne        0.20   $        380.00 $         76.00 Review and revise proposed protective order
       06/11/12    Fisher       0.70   $        330.00 $          231.00 Edit and send letter to J. Murphy regarding proposal to inspect copies ourselves;
1405
                                                                         Email correspondence with Likkel and Associates regarding scheduling video depositions
                                                                         of Witt and Sybrandy [.3]; prepared drafts of and finalized amended subpoenas in a civil
                                                                         case to appear at deposition and notices of videotape deposition [.6]; prepared draft of
       06/12/12    Kinsey       1.60   $        100.00 $          160.00
                                                                         and finalized acceptance of service for Mr. Murphy on behalf of Mr. Witt [.2]; prepared
                                                                         draft and finalized acceptance of service on behalf of Mr. Sybrandy [.2]; prepared draft
                                                                         of transmittal letter to Mr. Sybrandy [.3].
1406
                                                                         Worked on labeling and tracking several document productions and producing to
                                                                         opposing counsel [1.5]; updated production log [.1]; personal conferences and
                                                                         correspondence regarding document productions [.5]; reviewed subpoenas and notices
       06/12/12   Boschen       3.00   $        150.00 $          450.00 [.1]; correspondence regarding same [.1]; worked on process serving subpoena duces
                                                                         tecum to Mountain Law PLLC [.4]; researched WSBA rules on confidentiality for
                                                                         grievances and correspondence regarding same [.2]; telephone conference with client
1407                                                                     [.1].




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 1                KEEPER
                                                                       Worked on reply in support of motion to compel production from Sybrandy [1.5];
                                                                       researched and analyzed issues regarding same [.7]; telephone conference with co‐
                                                                       counsel regarding same [.2]; reviewed documents produced by Mr. Sybrandy and
                                                                       analyzed issues regarding same [.5]; worked on production of documents [.2]; analyzed
       06/12/12   Marshall      4.60   $        375.00 $      1,725.00 issues regarding same [.2]; researched and analyzed issues regarding HIPAA application
                                                                       [.2]; worked on revisions to proposed protective order [.2]; reviewed proposed
                                                                       clawback agreement and worked on revisions to same [.2]; email to opposing counsel
                                                                       regarding same [.1]; worked on document production issues [.5]; worked on issues
                                                                       regarding subpoenas to Mr. Witt and Mr. Sybrandy [.1].
1408
                                                                           Finalize Reply to Sybrandy’s Response to Plaintiffs’ Motion to Compel (.5); Prepare
       06/12/12   Bledsoe       2.50   $        120.00 $          300.00
                                                                           Zuchetto declaration and gathered and finalized Zuchetto declaration exhibits (2.0).
1409
       06/12/12   Bergland      0.80   $        190.00 $          152.00 Review of and revisions to Reply in Support of Motion to Compel and cite check same.
1410
                                                                           Edit/finalize response re motion to compel Sybrandy (5.5); E‐mail Jen/discuss w/
       06/12/12   Zuchetto      6.25   $        330.00 $      2,062.50
                                                                           Brianna and co‐counsel supplemental discovery production (.75).
1411
       06/12/12    Dunne        0.30   $        380.00 $          114.00 Review and revise draft reply for motion to compel regarding discovery documents
1412
                                                                         Call and leave message with J. Murphy regarding inspection of M. Witt's case files; read
       06/12/12    Fisher       0.80   $        330.00 $          264.00 and edit reply to R. Sybrandy's opposition to motion to compel; call and leave another
                                                                         message with J. Murphy; review document production sent by J. Boschen;
1413
                                                                         Reviewed, revised and finalized Sybrandy and Witt deposition subpoenas and notices
       06/13/12    Kinsey       1.50   $        100.00 $          150.00 [.6]; arranged service [.4]; arranged videographer, court reporter and conference room
1414                                                                     locations [.5].
                                                                           Correspondence and telephone conference regarding deposition [.2]; correspondence
       06/13/12   Boschen       0.50   $        150.00 $           75.00
                                                                           regarding court observation, document productions and class member tracking [.3];
1415
                                                                         Worked on issues regarding the Cities' electronic searches for documents [.3]; reviewed
                                                                         final draft of stipulated protective order and email correspondence with opposing
       06/13/12   Marshall      0.50   $        375.00 $          187.50
                                                                         counsel regarding same [.1]; reviewed final draft of clawback agreement and sent copy
1416                                                                     of same to opposing counsel [.1].


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 1                KEEPER
                                                                       Discuss Witt/Sybrandy docs and deps. w/ co‐counsel and strategy re same (.75);
       06/13/12   Zuchetto      1.35   $        330.00 $        445.50 Edit/review subpoena material to Sybrandy re dep. (.3); Review/analyze new S.Ct.
1417                                                                   standard (.3).
                                                                       Email correspondence with co‐counsel re discovery issues; email correspondence with
       06/13/12    Dunne        0.30   $        380.00 $        114.00
1418                                                                   co‐counsel re WSBA standards and WA court rules
1419   06/13/12    Talner       0.30   $        400.00 $        120.00 Emails with co‐counsel re investigating facts and re new caseload standards
                                                                       Participate in weekly team call; draft motion to compel M. Witt's compliance with
       06/13/12    Fisher       3.90   $        330.00 $      1,287.00
1420                                                                   subpoena, proposed order, and declaration;
1421   06/13/12    Roos         0.20   $        465.00 $         93.00 Telephone conference regarding discovery issues;
                                                                       Participate in weekly team conference call on strategy; meet with C. Fisher to discuss
       06/13/12   Williams      0.50   $        580.00 $        290.00
1422                                                                   outline of motion to compel production by Witt;
                                                                         Reviewed search terms, compared to hit list, and correspondence regarding same in
                                                                         preparation for conference call with cities regarding same [1.5]; telephone conference
       06/14/12   Boschen       4.00   $        150.00 $          600.00 regarding search terms [1]; personal conferences and correspondence regarding same
                                                                         [.3]; researched Microsoft search functionality [.2]; updated production log [.1];
                                                                         continued reviewing document productions [.9].
1423
                                                                         Analyzed issues regarding electronic discovery and prepared for telephone conference
                                                                         with opposing counsel regarding same [.4]; researched and analyzed issues regarding
                                                                         mootness and effect of policy changes on claims for injunctive relief [.4]; email
       06/14/12   Marshall      2.30   $        375.00 $          862.50 correspondence with co‐counsel regarding same [.1]; analyzed issues regarding
                                                                         proposed deposition of Mr. Rogerson and reviewed documents in relation to same [.2];
                                                                         prepared for telephone conference with opposing counsel regarding search terms [.2];
                                                                         participated in same [.7]; analyzed issues regarding same [.3].
1424
                                                                       Prepare letter to Cooley (.25); Review and finalize letter and deposition notice to
       06/14/12   Bledsoe       0.65   $        120.00 $           78.00
1425                                                                   Richard Sybrandy (.4).
1426   06/14/12   Zuchetto      0.50   $        330.00 $        165.00 Work on letter to defense counsel re Rogerson dep.
                                                                       Complete motion to compel; attend meeting with B. Roos and J. Hong to discuss
       06/14/12    Fisher       3.70   $        330.00 $      1,221.00
1427                                                                   indemnification issue;
                                                                       Review Court's Stipulated Protective Order; review exchange of emails on new case law
       06/14/12   Williams      0.50   $        580.00 $        290.00
1428                                                                   from Texas Supreme Court on right to counsel;




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 1                KEEPER
                                                                           Continued document review [5.2]; correspondence and telephone conference with Mr.
                                                                           Murphy regarding Mr. Witt's deposition [.2]; researched client case history [.1];
       06/15/12   Boschen       6.40   $        150.00 $          960.00
                                                                           continued researching Windows and Outlook query functions and revising the ESI
1429                                                                       search term list [.9].
                                                                           Reviewed state supreme court order on indigent defense standards [.2]; analyzed issues
       06/15/12   Marshall      1.00   $        375.00 $          375.00   regarding same [.2]; reviewed production of case files from Sybrandy and analyzed
1430                                                                       issues regarding same [.6].
                                                                           Edit motion to compel M. Witt's compliance with subpoena and declaration; organize
       06/15/12    Fisher       1.90   $        330.00 $          627.00
1431                                                                       and chart all correspondence between J. Murphy and plaintiffs;
1432   06/16/12   Marshall      0.30   $        375.00 $          112.50   Worked on document management, discovery, and case strategy issues [.3].
                                                                           Telephone call from Mr. Gipe regarding extension of deadline to respond to subpoena
       06/18/12   Marshall      0.10   $        375.00 $           37.50
1433                                                                       to Mountain Law [.1].
1434   06/18/12    Talner       1.90   $        400.00 $          760.00   Review and summarize court files obtained in discovery
                                                                           Edit motion to compel M. Witt's compliance with subpoena; review case file
       06/18/12    Fisher       0.50   $        330.00 $          165.00
1435                                                                       information chart from N. Talner;
                                                                           Reviewed case file index and correspondence regarding same [.2]; reviewed 2012
       06/19/12   Boschen       0.40   $        150.00 $           60.00
1436                                                                       contract and correspondence regarding same [.2];
                                                                           Analyzed issues regarding municipal court visit [.2]; worked on search term issues for
       06/19/12   Marshall      0.40   $        375.00 $          150.00   electronic document production [.1]; analyzed issues regarding review of court videos
1437                                                                       [.1].
1438   06/19/12    Fisher       0.40   $        330.00 $          132.00   Research special master; compose and send out agenda for tomorrow's call;
       06/19/12   Williams      0.50   $        580.00 $          290.00 Review and exchange emails on motion to compel Witt production of documents;
1439
                                                                           Travel to and from Burlington for court observation; correspondence regarding same;
       06/20/12   Boschen       8.70   $        150.00 $      1,305.00
1440                                                                       continued work on revised ESI search term list.
                                                                         Prepared for weekly telephone conference with co‐counsel regarding discovery and
                                                                         case strategy issues [.1]; participated in same [.4]; analyzed issues regarding Wilbur
                                                                         court hearing and left message with Mr. Wilbur regarding same [.1]; analyzed issues
       06/20/12   Marshall      2.00   $        375.00 $          750.00 regarding practices of current public defense attorneys [.2]; reviewed document
                                                                         production regarding same [.5]; email correspondence with co‐counsel regarding same
                                                                         [.2]; analyzed issues regarding timing of settlement proposal [.3]; email correspondence
                                                                         and telephone conference with co‐counsel regarding same [.2].
1441
1442   06/20/12   Bledsoe       0.25   $        120.00 $           30.00 Draft letter to defense counsel re: Sybrandy Deposition.


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 1                KEEPER
                                                                       Review letter from Sybrandy re deposition and review letter to def. counsel re same
       06/20/12   Zuchetto      1.00   $        330.00 $          330.00
1443                                                                   (.5); Team meeting re strategy (.5).
                                                                       Observe Burlington court session, discuss with co‐observer, emails with co‐counsel re
       06/20/12    Talner       4.80   $        400.00 $      1,920.00
1444                                                                   case strategy
                                                                       Edit declaration for motion to compel M. Witt's compliance with subpoena; gather
       06/20/12    Fisher       2.80   $        330.00 $        924.00
1445                                                                   exhibits for motion;
1446   06/20/12   Williams      0.20   $        580.00 $        116.00 Exchange emails on motion to compel Witt production of documents;
       06/20/12    Roos         2.60   $        465.00 $      1,209.00 Review and revise motion to compel; conference regarding same with C. Fisher;
1447
                                                                         Continued work on revised ESI search term list and further research regarding
                                                                         same[1.2]; correspondence with opposing regarding same [.1]; continued work on
                                                                         document review [3.3]; updated production log [.1]; personal conference regarding
       06/21/12   Boschen       5.70   $        150.00 $          855.00
                                                                         production [.1]; copied and mailed Defendants' production to co‐counsel [.5]; worked
                                                                         on OCRing and Bates labeling Defendants' production [.3]; correspondence regarding
                                                                         summary of court observation[.1];
1448
                                                                         Telephone conferences and email correspondence with co‐counsel regarding
       06/21/12   Marshall      1.10   $        375.00 $          412.50 settlement strategy [.5]; worked on same [.2]; worked on motion to compel discovery
1449                                                                     from Witt and proposed order granting sme [.4].
1450   06/21/12   Zuchetto      0.50   $        330.00 $          165.00 Edit motion to compel Witt.
                                                                         email correspondence with co‐counsel re case strategy; telephone correspondence with
       06/21/12    Dunne        0.40   $        380.00 $          152.00
1451                                                                     co‐counsel re settlement
1452   06/21/12    Talner       0.50   $        400.00 $          200.00 Review draft motion to compel re Witt subpoena, investigate case
1453   06/21/12    Fisher       2.20   $        330.00 $          726.00 Edit motion to compel; file motion to compel;
1454   06/22/12   Boschen       4.70   $        150.00 $          705.00 Continued document review [4.7].
                                                                         Email correspondence with co‐counsel regarding filing of motion to compel [.1];
                                                                         personal conference with Ms. Boschen regarding observations of new public defense
       06/22/12   Marshall      1.40   $        375.00 $          525.00
                                                                         attorneys [.5]; worked on search terms and issues related to electronic discovery
1455                                                                     requests [.8].
1456   06/25/12    Roos         1.70   $        465.00 $          790.50 Review summer associate research; review materials relating to J. Aarstad;
                                                                         Revised and finalized ESI search terms and worked on troubleshooting Windows syntax
       06/26/12   Boschen       2.60   $        150.00 $          390.00
1457                                                                     for same [2.6].




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 1                KEEPER
                                                                         Prepared for and participated in telephone conference with Mr. Gipe regarding
                                                                         Mountain Law's response to SDT [.6]; email to Mr. Gipe regarding recently entered
       06/26/12   Marshall      1.20   $        375.00 $          450.00 protective order [.1]; exchanged messages with Mr. Wilbur regarding status of case [.1];
                                                                         telephone call from Mr. Wilbur regarding same [.1]; analyzed issues regarding existence
                                                                         of outstanding charges for Mr. Wilbur [.1]; worked on discovery issues [.2].
1458
1459   06/26/12   Bledsoe       1.00   $        120.00 $        120.00 Draft 2nd Amended Subpeona, depo notice and cover letter.
1460   06/26/12   Zuchetto      0.30   $        330.00 $         99.00 Prep/edit subpoena material re Sybrandy dep.
1461   06/26/12    Talner       4.20   $        400.00 $      1,680.00 Travel to and from and observe Mount Vernon court session
                                                                       Observe Mount Vernon Municipal Court's new public defenders; draft agenda for team
       06/26/12    Fisher       4.30   $        330.00 $      1,419.00
1462                                                                   meeting;
       06/26/12   Williams      0.50   $        580.00 $          290.00 Review and respond to emails on potential settlement of litigation with Cities;
1463
                                                                         Correspondence regarding electronic discovery search terms; weekly case status
       06/27/12   Boschen       1.10   $        150.00 $          165.00 conference call; personal conferences and correspondence regarding deposition
1464                                                                     exhibits.
                                                                         Prepared for weekly call with co‐counsel [.2]; participated in same [1.0]; worked on
                                                                         discovery, document review, and deposition strategy issues [.3]; worked on search
       06/27/12   Marshall      2.50   $        375.00 $          937.50
                                                                         terms for electronic discovery requests [.5]; email correspondence with co‐counsel and
                                                                         opposing counsel regarding same [.4]; worked on settlement strategy [.1].
1465
       06/27/12   Zuchetto      1.10   $        330.00 $          363.00 Team meeting/call re strategy (.7); Draft settlement letter to defense counsel (.4).
1466
1467   06/27/12    Dunne        0.50   $        380.00 $          190.00 Conference call with co‐counsel re case strategy and discovery
                                                                           Communications regarding summer associate research project; telephone conference
       06/27/12    Roos         0.90   $        465.00 $          418.50
                                                                           with team regarding settlement and outstanding discovery issues;
1468
1469   06/27/12    Fisher       1.30   $        330.00 $          429.00 Participate in weekly team call; read memorandum regarding 1983 liability;
                                                                         Conference call with litigation team on strategy for potential settlement and other
       06/27/12   Williams      1.00   $        580.00 $          580.00
1470                                                                     issues;
1471   06/28/12   Boschen       0.20   $        150.00 $           30.00 Finalized and prepared mailing of FRE 408 letter to opposing counsel.




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 1                KEEPER
                                                                           Worked on analysis of settlement strategy [.6]; worked on letter to opposing counsel
                                                                           regarding invitation to mediation or informal settlement talks [.4]; email
       06/28/12   Marshall      1.50   $        375.00 $          562.50   correspondence with co‐counsel regarding same [.1]; finalized same [.1]; reviewed
                                                                           order compelling Mr. Sybrandy to produce documents and analyzed issues regarding
1472                                                                       same [.3].
                                                                           Review/analyze Court’s order re motion to compel (.25); Edit/draft settlement letter
       06/28/12   Zuchetto      0.50   $        330.00 $          165.00
1473                                                                       (.25).
                                                                           Review court order re motion to compel; email correspondence with co‐counsel re
       06/28/12    Dunne        0.40   $        380.00 $          152.00
1474                                                                       settlement
1475   06/28/12   Williams      0.50   $        580.00 $          290.00   Review Court order compelling Sybrandy production;
                                                                           Personal conference regarding document production from Mountain Law PLLC;
       06/29/12   Boschen       1.10   $        150.00 $          165.00
1476                                                                       commenced review of same.
1477   06/29/12   Zuchetto      0.20   $        330.00 $           66.00   E‐mail co‐counsel re WItt production/motion.
                                                                           Email J. Murphy to set a time to discuss order compelling R. Sybrandy's compliance with
       06/29/12    Fisher       0.30   $        330.00 $           99.00
1478                                                                       subpoena;
                                                                           Analyzed issues regarding reply in support of motion to compel documents from Mr.
       07/02/12   Marshall      0.20   $        375.00 $           75.00
                                                                           Witt [.1]; telephone call from Mr. Wilbur regarding factual background issues [.1].
1479
                                                                         Review/analyze Witt’s response re Subpoena Duces Tecum/Motion to compel, e‐mail co‐
       07/02/12   Zuchetto      0.50   $        330.00 $          165.00
1480                                                                     counsel re same.
1481   07/02/12    Talner       0.90   $        400.00 $          360.00 Review documents produced in discovery and prepare deposition questions
                                                                         Read M. Witt's Response to Plaintiffs' motion to compel compliance with subpoena;
       07/02/12    Fisher       1.50   $        330.00 $          495.00
1482                                                                     draft reply;
1483   07/03/12    Kinsey       0.20   $        100.00 $           20.00 Reviewed and revised Mountain Law stipulated protective order.
                                                                         Worked on labeling and preparing documents for production; burned production to CD
       07/03/12   Boschen       3.10   $        150.00 $          465.00 and prepared mailing to opposing; drafted letter regarding same; correspondence
                                                                         regarding same; updated production log; uploaded production to FTP and Dropbox.
1484
                                                                         Analyzed issues regarding Mr. Wilbur's current situation [.2]; worked on getting
       07/03/12   Marshall      0.60   $        375.00 $          225.00 stipulated confidentiality order for Mountain Law production [.2]; worked on search
1485                                                                     term issues [.2].
1486   07/03/12   Zuchetto      0.30   $        330.00 $           99.00 E‐mail co‐counsel re proposed protective order language.
1487   07/03/12    Fisher       2.20   $        330.00 $          726.00 Draft reply to motion to compel M. Witt's compliance with subpoena;



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 1                KEEPER
                                                                           Review email from N. Talner with proposed deposition questions for City
       07/03/12   Williams      0.50   $        580.00 $          290.00
1488                                                                       Administrators;
                                                                         Correspondence regarding hearing transcription and other production issues [.2];
                                                                         reviewed outstanding document review projects [.2]; telephone call to Mr. Hoff
       07/05/12   Boschen       2.60   $        150.00 $          390.00
                                                                         regarding client [.1]; reviewed jail roster and case history regarding client and
                                                                         correspondence regarding same [.2]; continued document review [1.9].
1489
                                                                           Telephone call from opposing counsel regarding mediation [.1]; analyzed issues and
       07/05/12   Marshall      0.50   $        375.00 $          187.50
1490                                                                       email correspondence with co‐counsel regarding same [.4].
       07/05/12   Zuchetto      0.75   $        330.00 $          247.50 Edit reply re Witt motion to compel (.5); E‐mail co‐counsel re mediation (.25).
1491
                                                                         Exchange emails with litigation team on proposed mediation; review and edit Reply
       07/05/12   Williams      1.00   $        580.00 $          580.00
1492                                                                     Brief on Witt Motion to Compel;
1493   07/05/12    Fisher       3.00   $        330.00 $          990.00 Draft reply to motion to compel;
                                                                         Draft outline for deposition of J. Aarstad; review summer associate research;
       07/05/12    Roos         2.10   $        465.00 $          976.50
1494                                                                     communications regarding mediation;
                                                                         Telephone conference and email correspondence with co‐counsel regarding mediation
       07/06/12   Marshall      1.00   $        375.00 $          375.00 scheduling and strategy [.4]; left message with opposing counsel regarding mediation
                                                                         scheduling [.1]; worked on selection of mediator and scheduling of mediation [.5].
1495
1496   07/06/12   Zuchetto      0.50   $        330.00 $          165.00 Review/edit brief re motion to compel Witt.
                                                                         Telephone conference regarding settlement; draft letters to third‐party witnesses
       07/06/12    Roos         0.80   $        465.00 $          372.00
1497                                                                     regarding depositions;
                                                                         Finalize reply and declaration; participate in team call about mediation and depositions;
       07/06/12    Fisher       1.70   $        330.00 $          561.00
1498                                                                     draft and send A. Cooley letter regarding mediation dates;
                                                                           Conference call with team on settlement strategy and postponement of discovery;
       07/06/12   Williams      1.00   $        580.00 $          580.00
                                                                           review letters to opposing counsel and third‐party witnesses on postponing discovery;
1499
1500   07/09/12    Talner       2.60   $        400.00 $      1,040.00 Review and summarize court files provided in discovery
1501   07/09/12   Williams      0.50   $        580.00 $        290.00 Coordinate with opposing counsel and team on mediation data;
                                                                       Telephone calls to and conferences with client and his relatives [.4]; correspondence
       07/10/12   Boschen       0.60   $        150.00 $         90.00 and personal conference regarding mediation costs [.1]; telephone conferences with
1502                                                                   JAMS regarding mediation scheduling [.1];
1503   07/10/12    Talner       5.30   $        400.00 $      2,120.00 Review and summarize court files provided in discovery


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  1               KEEPER
1504   07/10/12   Williams      0.50   $        580.00 $            290.00 Exchange emails on discovery delay and mediation;
                                                                           Telephone Conference with Jenn Boschen re: Mediation, depos, and discovery
       07/11/12   Bledsoe       0.25   $        120.00 $             30.00
1505                                                                       productions.
1506   07/11/12   Williams      0.70   $        580.00 $            406.00 Prepare for and preside over weekly litigation team call; review emails;
                                                                           Worked on locating client and calling same [.2]; correspondence regarding production
       07/12/12   Boschen       0.30   $        150.00 $             45.00
1507                                                                       and discovery issues [.1].
                                                                           Worked on mediation, discovery, and action item issues and email correspondence with
                                                                           co‐counsel regarding same [.5]; analyzed issues regarding Mr. Sybrandy's failure to
       07/16/12   Marshall      0.80   $        375.00 $            300.00
                                                                           comply with court order [.1]; telephone conference with co‐counsel regarding
1508                                                                       mediation strategy [.2].
1509   07/16/12   Bledsoe       0.40   $        120.00   $           48.00 Review and finalize letter to Mr. Sybrandy.
1510   07/16/12   Zuchetto      0.50   $        330.00   $          165.00 Draft letter to Sybrandy re production.
1511   07/16/12    Fisher       0.10   $        330.00   $           33.00 Reply to T. Marshall's email about mediation questions;
1512   07/16/12   Williams      0.50   $        580.00   $          290.00 Review email exchange on discovery dispute;
                                                                           Worked on reviewing, gathering and disseminating documents in preparation for
       07/17/12   Boschen       2.60   $        150.00 $            390.00 mediation and correspondence regarding same [2.1]; drafted and finalized letters to
                                                                           clients regarding mediation [.4]; email correspondence with client regaridng same [.1];
1513
                                                                           Analyzed issues regarding response to proposed protective order for Mountain Law
                                                                           production [.1]; email correspondence with Mr. Gipe regarding same [.1]; analyzed
                                                                           issues regarding notice to clients of mediation and participation in same [.2]; email
       07/17/12   Marshall      1.40   $        375.00 $            525.00
                                                                           correspondence with co‐counsel regarding same [.1]; worked on letter to clients
                                                                           regarding same [.2]; worked on mediation strategy issues [.1]; worked on review of
                                                                           recently produced documents [.1]; worked on mediation submission [.5].
1514
                                                                             Reviewed mediation materials from WAMS [.1]; prepared draft of plaintiffs' mediation
       07/18/12    Kinsey       0.50   $        100.00 $             50.00
1515                                                                         submission to Ms. Keller [.4].
                                                                             Telephone calls to Chehalis to locate client and telephone conference with client [.2];
       07/18/12   Boschen       0.50   $        150.00 $             75.00
                                                                             telephone conference with Mr. Cecil [.2]; correspondence regarding same [.1].
1516
                                                                             Prepared for and participated in weekly conference call with co‐counsel, focusing on
       07/18/12   Marshall      3.70   $        375.00 $        1,387.50
                                                                             mediation tasks and strategy [.6]; worked on mediation letter [3.1].
1517
1518   07/18/12   Zuchetto      0.75   $        330.00 $            247.50 Participate in telephonic team meeting


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 1                KEEPER
                                                                           Draft agenda for weekly meeting; participate in team call; draft and send letter to A.
                                                                           Cooley regarding new deposition dates; draft letters to D. Svaren, J. Aarstad, C.
       07/18/12    Fisher       1.70   $        330.00 $          561.00
                                                                           Cammock regarding new deposition date; read J. Hong memorandum regarding
1519                                                                       prospective injunction and voluntary cessation;
                                                                           Attend team conference call on case status; discuss settlement strategy with B. Roos
       07/18/12   Williams      1.00   $        580.00 $          580.00
1520                                                                       and C. Fisher;
1521   07/19/12   Marshall      2.20   $        375.00 $          825.00   Worked on mediation submission and related issues [2.2].
1522   07/19/12    Talner       0.20   $        400.00 $           80.00   Email co‐counsel re witness release, follow‐up re obtaining court files
                                                                           Draft letter to A. Cooley regarding depositions and respond to his email about his
                                                                           unavailability; speak with T. Marshall about M. Witt and R. Sybrandy depositions;
       07/19/12    Fisher       1.30   $        330.00 $          429.00
                                                                           discuss deposition dates with J. Williams and B. Roos; review draft settlement
1523                                                                       agreement;
       07/19/12    Roos         2.10   $        465.00 $          976.50 Draft settlement agreement; communications regarding deposition scheduling;
1524
                                                                         Drafted, finalized, mailed, emailed and filed letter to Mr. Murphy regarding Witt
       07/20/12   Boschen       0.90   $        150.00 $          135.00 deposition [.3]; worked on reviewing and pulling documents for mediation and
1525                                                                     correspondence regarding same [.6];
                                                                           Worked on mediation submission and researched and analyzed issues for same [4.1];
       07/20/12   Marshall      4.30   $        375.00 $      1,612.50
                                                                           email correspondence with co‐counsel regarding fees and costs issues [.2].
1526
1527   07/20/12   Zuchetto      0.25   $        330.00 $           82.50 Review/sign letter re Sybrandy dep.
1528   07/20/12   Williams      1.50   $        580.00 $          870.00 Review and edit proposed class action settlement agreement language;
       07/21/12   Marshall      3.50   $        375.00 $      1,312.50 Worked on mediation submission and researched and analyzed issues for same [3.5].
1529
                                                                       Worked on mediation submission and researched and analyzed issues regarding same
       07/22/12   Marshall      6.00   $        375.00 $      2,250.00
1530                                                                   [6.0].
1531   07/22/12   Zuchetto      0.25   $        330.00 $         82.50 Research re mootness doctrine.
                                                                       Worked on plaintiffs' mediation submission [1.5]; email correspondence with and
                                                                       telephone conferences with co‐counsel regarding same [.7]; worked on fee and cost
       07/23/12   Marshall      3.40   $        375.00 $      1,275.00 calculations in advance of mediation [1.0]; telephone call from Mr. Cooley regarding
                                                                       mediation discussions and stay of discovery [.1]; email correspondence with co‐counsel
1532                                                                   regarding same [.1].
1533   07/23/12   Zuchetto      0.30   $        330.00 $         99.00 Review/edit mediation letter.



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 1                KEEPER
                                                                         Coordinate deposition dates; draft letter to A. Cooley proposing new deposition dates;
       07/23/12    Fisher       0.80   $        330.00 $          264.00
1534                                                                     read mediation statement and make comments;
1535   07/23/12    Roos         1.80   $        465.00 $          837.00 Review and revise mediation statement; revise draft settlement agreement;
       07/24/12    Kinsey       0.30   $        100.00 $           30.00 Reviewed, revised and finalized plaintiffs' mediation submission letter to Ms. Keller.
1536
                                                                           Worked on mediation statement exhibits and cites; correspondence and personal
                                                                           conferences regarding same; telephone conference with mediator regarding same;
       07/24/12   Boschen       7.10   $        150.00 $      1,065.00
                                                                           prepared documents for attorney's noteboook for same; prepared mediators' notebook
1537                                                                       and ABC form.
                                                                           Worked on mediation submission [1.4]; telephone conferences with co‐counsel
       07/24/12   Marshall      1.90   $        375.00 $          712.50
1538                                                                       regarding mediation strategy [.5].
1539   07/24/12    Dunne        0.40   $        380.00 $          152.00   Conference call with co‐counsel re case strategy and settlement
1540   07/24/12     Roos        0.50   $        465.00 $          232.50   Review mediation statement;
1541   07/25/12   Boschen       0.10   $        150.00 $           15.00   Messengered mediator's notebook [.1].
                                                                       Analyzed issues regarding mediation submissions and email to opposing counsel
                                                                       regarding same [.1]; researched and analyzed issues regarding ability to recover fees as
                                                                       prevailing party after obtaining court‐approved class settlement [1.6]; email to co‐
       07/25/12   Marshall      3.00   $        375.00 $      1,125.00
                                                                       counsel regarding same [.2]; researched and analyzed issues regarding burden of proof
                                                                       on mootness assertion and municipal liability standards [.6]; worked on mediation
                                                                       strategy [.4]; telephone call from Mr. Wilbur regarding mediation [.1].
1542
1543   07/25/12   Zuchetto      0.75   $        330.00 $          247.50 Prepare for mediation and research re fees.
       07/25/12    Dunne        0.30   $        380.00 $          114.00 Email correspondence with co‐counsel re settlement and upcoming mediation
1544
                                                                         Read and reply to emails; participate in meeting with E. Mendoza and B. Roos to discuss
       07/25/12    Fisher       2.20   $        330.00 $          726.00 attorneys' fees; read mediation statement and settlement agreement in anticipation of
1545                                                                     mediation preparation;
       07/25/12    Roos         0.60   $        465.00 $          279.00 Conference with summer associate regarding recovery of attorneys' fees research;
1546
1547   07/25/12   Williams      1.00   $        580.00 $          580.00 Review and exchange emails on settlement of case;
1548   07/26/12   Boschen       0.10   $        150.00 $           15.00 Worked on mediation preparation [.1];




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 1                KEEPER
                                                                           Exchanged messages with Ms. Montague regarding mediation [.1]; researched and
       07/26/12   Marshall      1.30   $        375.00 $            487.50 analyzed issues regarding requirements for obtaining prevailing party status where
                                                                           settlement is reached [.8]; drafted memorandum to co‐counsel regarding same [.4].
1549
                                                                             Prepared for mediation and reviewed various materials [2.4]; meetings with co‐counsel
       07/26/12   Marshall      7.40   $        375.00 $        2,775.00
                                                                             in preparation for mediation [4.0]; worked on mediation arguments [1.0].
1550
       07/26/12   Bergland      0.20   $        190.00 $             38.00 Preparation of report re: hours and fees to date in case; e‐mail to Zuchetto re same.
1551
                                                                             Travel to Seattle re mediation (4.5); preparation for same (1.5); team meeting re same
       07/26/12   Zuchetto      8.00   $        330.00 $        2,640.00
1552                                                                         (2.0)..
1553   07/26/12    Dunne        1.80   $        380.00 $            684.00   Preparation for mediation
                                                                             Review and analyze plaintiffs' mediation statement in preparation for mediation
                                                                             strategy session with litigation team; meet with D. Burman to discuss settlement
       07/26/12   Williams      3.50   $        580.00 $        2,030.00
                                                                             strategy; meet with litigation team to discuss media strategy; review materials in
1554                                                                         preparation for mediation;
1555   07/26/12    Fisher       1.50   $        330.00   $        495.00     Participate in mediation preparation;
1556   07/27/12   Marshall      9.40   $        375.00   $      3,525.00     Prepared for, traveled to, and participated in mediation [9.4].
1557   07/27/12   Zuchetto      8.00   $        330.00   $      2,640.00     Attend/participate in mediation.
1558   07/27/12    Dunne        7.50   $        380.00   $      2,850.00     Attend mediation
1559   07/27/12   Williams      7.80   $        580.00   $      4,524.00     Prepare for and attend mediation of case with Margo Keller of WAMS;
                                                                             Finalized notice of occurrence of alternative dispute resolution [.1]; prepared certificate
       07/30/12    Kinsey       0.40   $        100.00 $             40.00   of service [.1]; arranged filing and service [.1]; email correspondence to mediator
1560                                                                         transmitting copy [.1].
                                                                           Worked on action item list [.1]; telephone call from mediator [.1]; analyzed issues
                                                                           regarding mediation [.4]; telephone call from co‐counsel regarding letter to opposing
       07/30/12   Marshall      1.80   $        375.00 $            675.00 counsel on mediation [.2]; worked on same [.6]; worked on deposition scheduling issues
                                                                           [.2]; analyzed issues regarding proposed protective order for Mountain Law [.1]; left
                                                                           message with and email to Mr. Gipe regarding same [.1].
1561
                                                                             Draft letter to Mr. Sybrandy re: Deposition date (.5); Revise and finalize Deposition
       07/30/12   Bledsoe       1.50   $        120.00 $            180.00
                                                                             Notice for Mr. Sybrandy, and Subpoena for Zuchetto’s review (1.0)
1562
1563   07/30/12   Zuchetto      1.00   $        330.00 $            330.00 Work on letter to R. Sybrandy, deposition notice and subpoena.


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 1                KEEPER
                                                                         Draft second letter to A. Cooley regarding rescheduling of depositions; speak with T.
       07/30/12    Fisher       0.80   $        330.00 $          264.00 Marshall and M. Zuchetto about deposition dates and times for R. Sybrandy and M.
1564                                                                     Witt;
                                                                         Review letter to A. Cooley on depositions and expert reports; meet with B. Roos and C.
       07/30/12   Williams      0.80   $        580.00 $          464.00 Fisher to discuss action items and outline of examination for municipal court judges;
                                                                         review and exchange emails on case status with L. Medway;
1565
1566   07/30/12    Roos         0.20   $        465.00 $         93.00 Conference with J. Williams and C. Fisher regarding discovery;
                                                                       Commenced drafting second amended subpoena, notice and acceptance of service for
       07/31/12   Boschen       0.30   $        150.00 $         45.00 Morgan Witt deposition [.2]; telephone conference and correspondence regarding same
1567                                                                   [.1];
                                                                       Worked on letter to opposing counsel regarding mediation discussions [1.7]; email
                                                                       correspondence and telephone conference with co‐counsel regarding same [.2]; worked
       07/31/12   Marshall      3.20   $        375.00 $      1,200.00 on discovery and case strategy issues [.9]; email correspondence and telephone
                                                                       conference with opposing counsel regarding search terms and electronic discovery
1568                                                                   production [.4].
1569   07/31/12   Zuchetto      1.20   $        330.00 $        396.00 Edit/revise letter to def. counsel re settlement, discuss same w/ co‐counsel.
1570   07/31/12   Williams      0.50   $        580.00 $        290.00 Review and approve settlement demand letter to Cities;
                                                                       Draft and send proposed meeting agenda for weekly call; read order requiring M. Witt's
       07/31/12    Fisher       0.50   $        330.00 $        165.00 production of documents; read and edit settlement letter; read email regarding update
1571                                                                   on electronic discovery;
                                                                         Telephone conferences with client [.2]; finalized FRE 408 letter and prepared for mailing
                                                                         [.3]; finalized and prepared for mailing second amended subpoena and notice for
                                                                         Morgan Witt deposition [.4]; worked on document review and correspondence
       08/01/12   Boschen       3.60   $        150.00 $          540.00 regarding same [.6]; personal conference and correspondence regarding Sybrandy
                                                                         response to SDT [.3]; researched Sybrandy time management software and tested demo
                                                                         of same [1.4]; Bates labeled and OCRd Sybrandy supplemental production [.2];
                                                                         correspondence regarding same [.1]; updated production log [.1];
1572




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 1                KEEPER
                                                                         Email correspondence with co‐counsel regarding status of Mountain Law document
                                                                         production and cancellation of team meeting [.1]; reviewed document production from
                                                                         Sybrandy and analyzed issues regarding same [.5]; revised letter to opposing counsel
       08/01/12   Marshall      2.70   $        375.00 $        1,012.50
                                                                         regarding additional mediation discussions [.3]; worked on settlement and case strategy
                                                                         issues [1.0]; worked on discovery issues and strategy for obtaining court‐ordered
                                                                         documents from Mr. Sybrandy [.8].
1573
                                                                         Review Sybrandy e‐mail re response to Court Order/Subpoena, review same, review
       08/01/12   Zuchetto      5.75   $        330.00 $        1,897.50 materials provided (2.5); Work on letter to Sybrandy (1.75); Discuss same w/ co‐counsel
                                                                         (.5); Edit/revise settlement letter (.75); Discuss same w/ co‐counsel (.25).
1574
       08/01/12    Talner       0.40   $        400.00 $            160.00 Review supplemental production from Sybrandy and email co‐counsel about it
1575
1576   08/01/12   Williams      0.20   $        580.00 $          116.00 Exchange emails with team on settlement demand letter;
                                                                         Worked on arrangements for Morgan Witt deposition [.1]; correspondence regarding
       08/02/12   Boschen       0.20   $        150.00 $           30.00
1577                                                                     document productions [.1].
1578   08/02/12   Zuchetto      1.25   $        330.00 $          412.50 Work on letter to Richard Sybrandy re Court’s Order.
1579   08/02/12    Fisher       0.10   $        330.00 $           33.00 Schedule depositions;
                                                                         Downloaded production and correspondence regarding same and updated production
       08/03/12   Boschen       0.30   $        150.00 $           45.00
1580                                                                     log [.3].
                                                                         Office conference with Zuchetto re: file review and review of spreadsheet provided by
       08/03/12   Bergland      0.20   $        190.00 $           38.00
1581                                                                     co‐counsel.
1582   08/03/12     Roos        1.10   $        465.00   $        511.50 Preparation for deposition of S. Skelton;
1583   08/05/12    Dunne        0.30   $        380.00   $        114.00 Review and revise deposition outline for J. Skelton
1584   08/05/12     Roos        3.60   $        465.00   $      1,674.00 Prepare for deposition of S. Skelton;
1585   08/06/12   Marshall      0.80   $        375.00   $        300.00 Worked on outline for deposition of Judge Skelton [.8].
1586   08/06/12   Bledsoe       1.00   $        120.00   $        120.00 Process, review and save all Sybrandy PDF e‐mails to the Server.
                                                                         Review e‐mails from Sybrandy (.8); e‐mail co‐counsel re same (.2); Review e‐
       08/06/12   Zuchetto      2.25   $        330.00 $          742.50
1587                                                                     mails/docs. from R. Sybrandy (1.25).
1588   08/06/12    Roos         5.20   $        465.00 $        2,418.00 Prepare for and attend deposition of S. Skelton; conference regarding same;




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 1                KEEPER
                                                                         Personal conferences and correspondence regarding production estimate [.3];
                                                                         downloaded Sybrandy supplemental production and correspondence regarding same
       08/07/12   Boschen       0.90   $        150.00 $          135.00
                                                                         [.3]; updated production log [.1]; telephone calls to, conference with and
                                                                         correspondence with Mr. Murphy regarding deposition of Morgan Witt [.2].
1589
                                                                         Telephone call from Mr. Cooley regarding settlement negotiations [.3]; telephone
       08/07/12   Marshall      1.60   $        375.00 $          600.00 conference and email correspondence with co‐counsel regarding same [.5]; researched
1590                                                                     and analyzed issues regarding same [.8].
1591   08/07/12   Zuchetto      1.00   $        330.00 $          330.00 Team strategy call, f/u w/ co‐counsel re settlement parameters.
       08/07/12   Williams      1.00   $        580.00 $          580.00 Review and exchange email string on Cooley proposed settlement discussions;
1592
1593   08/07/12    Roos         0.20   $        465.00 $           93.00 Communications regarding settlement proposal;
                                                                         Reviewed outline for conference call [.1]; conference call regarding case status [.5];
       08/08/12   Boschen       1.80   $        150.00 $          270.00 worked on brainstorming complaint and oversight options for settlement negotiations
                                                                         and personal conferences and correspondence regarding same [1.2].
1594
                                                                       Team call regarding settlement negotiations and strategy for responding comments of
       08/08/12   Marshall      5.60   $        375.00 $      2,100.00 opposing counsel [.5]; researched and analyzed issues regarding same [2.8]; drafted
                                                                       letter to opposing counsel regarding settlement proposal [2.3].
1595
       08/08/12   Zuchetto      0.85   $        330.00 $          280.50 E‐mail co‐counsel re motion to compel Witt (.1); Discuss settlement w/ co‐counsel (.75).
1596
                                                                           Conference call with co‐counsel to discuss case strategy; research re public defense
       08/08/12    Talner       1.50   $        400.00 $          600.00
1597                                                                       complaint processes
       08/08/12    Dunne        0.10   $        380.00 $           38.00 Email correspondence with co‐counsel re discovery issues and document production
1598
1599   08/08/12    Roos         0.50   $        465.00 $          232.50 Telephone conference regarding settlement options and discovery;
                                                                         Prepared draft of, reviewed and revised letter to Mr. Cooley regarding proposed
       08/09/12    Kinsey       0.40   $        100.00 $           40.00
1600                                                                     settlement terms.
                                                                         Personal conference regarding settlement negotiations [.1]; reviewed settlement
       08/09/12   Boschen       0.70   $        150.00 $          105.00 correspondence and provided feedback on same [.4]; personal conference and
1601                                                                     correspondence regarding same [.2].




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 1                KEEPER
                                                                           Telephone calls from co‐counsel regarding settlement proposal issues [.7]; worked on
                                                                           revisions to settlement letter to opposing counsel [.9]; researched and analyzed issues
       08/09/12   Marshall      2.50   $        375.00 $            937.50
                                                                           regarding same [.4]; worked on document management issues [.2]; analyzed issues
                                                                           regarding deposition of Judge Skelton [.3].
1602
1603   08/09/12   Zuchetto      0.25   $        330.00   $           82.50 Review settlement letter and e‐mail co‐counsel re same.
1604   08/09/12    Dunne        0.30   $        380.00   $          114.00 Review letter re settlement; email correspondence with co‐counsel re same
1605   08/09/12    Talner       0.50   $        400.00   $          200.00 Discussions with co‐counsel about settlement offer
1606   08/09/12    Fisher       0.30   $        330.00   $           99.00 Read and edit second settlement offer letter to A. Cooley;
1607   08/09/12   Williams      0.50   $        580.00   $          290.00 Review and approve of Class proposed settlement offer letter;
                                                                           Worked on settlement strategy issues [.3]; analyzed issues regarding Sybrandy's failure
       08/10/12   Marshall      0.50   $        375.00 $            187.50
1608                                                                       to poduce documents [.2].
                                                                           Email to opposing counsel regarding settlement issues [.1]; worked on same [.1];
       08/13/12   Marshall      0.40   $        375.00 $            150.00
1609                                                                       worked on discovery issues [.2].
                                                                           Review Sybrandy e‐mail re docs. provided (1.25); Prepare response re same (.75);
       08/13/12   Zuchetto      2.25   $        330.00 $            742.50
1610                                                                       Review settlement e‐mail and discuss same w/ co‐counsel (.25).
                                                                           Read emails regarding R. Sybrandy's production in response to motion to compel;
       08/13/12    Fisher       0.20   $        330.00 $             66.00 discuss deposition preparation with B. Roos; send email to T. Marshall and M. Zechetto
                                                                           inquiring about deposition preparation and email production progress;
1611
1612   08/13/12   Williams      0.20   $        580.00 $            116.00 Review email to Cooley on failed settlement negotiations;
                                                                           Correspondence with, telephone call to and conferences with vendor regarding
                                                                           electronic discovery [.6]; researched Mr. Sybrandy's version of Timeslips and telephone
       08/14/12   Boschen       1.80   $        150.00 $            270.00 conference with Sage regarding same [.4]; reviewed ESI project estimate [.2]; personal
                                                                           conferences and summarized same [.3]; copied production for vendor [.2]; researched
                                                                           current Burlington City Administrator and correspondence regarding same [.1];
1613
                                                                           Email correspondence with opposing counsel and co‐counsel regarding status of
                                                                           Burlington emails [.2]; email correspondence with Mr. Gipe regarding status of
       08/14/12   Marshall      0.80   $        375.00 $            300.00
                                                                           protective order [.1]; analyzed issues regarding deduplication of Cities' production of
                                                                           emails [.3]; worked on case strategy issues [.2].
1614




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 1                KEEPER
                                                                         Read emails from T. Marshall regarding depositions and email productions and discuss
                                                                         with B. Roos; research when we have to file a motion or stipulated order to extend
       08/14/12    Fisher       0.40   $        330.00 $          132.00
                                                                         expert report deadline; email T. Marshall and M. Zuchetto about expert report deadline;
                                                                         send out agenda for tomorrow's meeting;
1615
1616   08/14/12   Williams      0.20   $        580.00 $          116.00 Review email exchanges on settlement discussions;
                                                                         Conference call regarding case status; demoed Clearwell email review application; Bates
                                                                         labeled and produced Sybrandy supplemental productions; updated production log;
       08/15/12   Boschen       5.10   $        150.00 $          765.00
                                                                         personal conferences and correspondence regarding management of electronic
                                                                         discovery and associated costs; reivewed documents;
1617
                                                                           Telephone conference and email correspondence with co‐counsel regarding various
                                                                           case strategy and discovery issues [.6]; worked on same [.3]; telephone conference with
                                                                           Mr. Gipe regarding status of proposed stipulated protective order for Mountain Law
       08/15/12   Marshall      1.50   $        375.00 $          562.50
                                                                           production [.1]; email correspondence with opposing counsel regarding same [.1];
                                                                           worked on issues regarding de‐duplication and review of email production from cities
1618                                                                       [.4].
1619   08/15/12   Bledsoe       0.10   $        120.00 $           12.00   Conference with Zuchetto re files received from TMDW.
                                                                           Office conference with Zuchetto re e‐mail production and need for removal of
       08/15/12   Bergland      1.25   $        190.00 $          237.50   duplicates (.2); import e‐mails into Outlook (.25); research re: duplicate removal,
1620                                                                       download and review script (.8).
                                                                           Team meeting re litigation strategy (.5); Review cities’ e‐mail production and work on
       08/15/12   Zuchetto      2.00   $        330.00 $          660.00
1621                                                                       process to de‐dupe. (1.5).
1622   08/15/12    Roos         1.00   $        465.00 $          465.00   Conference with team regarding discovery issues;
                                                                           Read email regarding R. Sybrandy's production in response to motion to compel
                                                                           compliance with subpoena; participate in weekly team call; draft letter to J. Murphy
       08/15/12    Fisher       2.50   $        330.00 $          825.00   regarding order to compel production; draft letter to A. Rosenberg and B. Augenthaler
                                                                           regarding J. Aarstad and B. Harrison depositions and extension of expert report
1623                                                                       deadline;
1624   08/15/12   Williams      0.20   $        580.00 $          116.00   Review and approve of letters to defense counsel on depositions;
                                                                           Reviewed ESI catalogue and correspondence regarding same [.1]; corrected acceptance
       08/16/12   Boschen       0.40   $        150.00 $           60.00   of service and correspondence regarding same [.1]; personal conferences and
1625                                                                       correspondence regarding email production [.2];



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        DATE                  HOURS        RATE            SUBTOTAL                                      DESCRIPTION OF WORK
 1                KEEPER
                                                                           Worked on plan for effectively reviewing email documents produced by Mount Vernon
       08/16/12   Marshall      0.40   $        375.00 $          150.00
                                                                           and telephone conference with co‐counsel regarding same [.4].
1626
                                                                           Office conference wtih Zuchetto re: de‐duping e‐mails and saving same as PDFs (.25);
       08/16/12   Bergland      1.00   $        190.00 $          190.00
1627                                                                       Review of capabilities of Outlook re same (.75).
                                                                           Review Mt. Vernon e‐mail production and work on de‐duping and deleting irrelevant
       08/16/12   Zuchetto      5.00   $        330.00 $      1,650.00
1628                                                                       (4.5); Discuss same w/ co‐counsel (.5).
                                                                           Telephone conference and correspondence regarding email production [.3]; researched
                                                                           OLM to PST converters [.1]; telephone conferences with client aobut outstanding
       08/17/12   Boschen       1.10   $        150.00 $          165.00
                                                                           charges [.3]; worked on scheduling depositions and personal conferences and
1629                                                                       correspondence regarding same [.4].
1630   08/17/12   Webster       2.50   $        80.00 $           200.00   Attempt to delete duplicates of e‐mails and resend as usable files.
                                                                           Work on de‐duping project re Mt. Vernon e‐mails (6.0); Respond to co‐counsel re
       08/17/12   Zuchetto      6.25   $        330.00 $      2,062.50
1631                                                                       Sybrandy deposition (.25).
                                                                           Email T. Marshall and M. Zuchetto about depositions and email production; figure out
       08/17/12    Fisher       0.70   $        330.00 $          231.00
1632                                                                       deposition scheduling;
                                                                           Correspondence and telephone conference regarding email production and processing
       08/20/12   Boschen       0.20   $        150.00 $           30.00
1633                                                                       [.2].
                                                                         Email correspondence with opposing counsel regarding status of Burlington email
                                                                         production [.2]; worked on discovery, document management, and deposition issues,
                                                                         especially issues related to deduplication of emails from Mount Vernon [.4]; telephone
       08/20/12   Marshall      1.10   $        375.00 $          412.50 conference with co‐counsel regarding same [.2]; analyzed issues regarding extension of
                                                                         expert disclosure deadline and discovery cutoff for expert depositions and email
                                                                         correspondence with co‐counsel regarding same [.2]; email to Mr. Gipe regarding status
                                                                         of protective order for Mountain Law documents [.1].
1634
1635   08/20/12   Zuchetto      0.50   $        330.00 $          165.00 Discuss Mt. Vernon e‐mail production w/ co‐counsel/de‐duping process.
1636   08/20/12    Dunne        0.20   $        380.10 $           76.02 Email correspondence with co‐counsel re case strategy and case deadlines
1637   08/20/12    Fisher       1.80   $        330.00 $          594.00 Draft motion to modify expert report deadline;
                                                                         Review emails on discovery issues and change of deposition dates; approve letter to
       08/20/12   Williams      0.50   $        580.00 $          290.00
1638                                                                     Cities on same;
1639   08/21/12   Boschen       0.20   $        150.00 $           30.00 Worked on deposition scheduling and correspondence regarding same [.2].




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 1                KEEPER
                                                                           Email correspondence with opposing counsel and co‐counsel regarding discovery issues
                                                                           [.1]; worked on same [.3]; telephone conference with opposing counsel regarding same
       08/21/12   Marshall      0.80   $        375.00 $          300.00
                                                                           [.1]; worked on case strategy issues [.1]; finalized stipulated protective order for
1640                                                                       Mountain Law documents [.2].
1641   08/21/12    Talner       0.80   $        400.00 $          320.00   Email and telephone call with consulting expert re evidence in our case
                                                                           Draft and send letter to A. Rosenberg and B. Aughenthaler regarding intent to file
       08/21/12    Fisher       3.80   $        330.00 $      1,254.00
1642                                                                       motion to modify; draft motion to modify dates;
                                                                           Reviewed, revised and finalized proposed stipulated protective order regarding
       08/22/12    Kinsey       0.30   $        100.00 $           30.00   Mountain Law subpoena [.2]; email correspondence to Judge's chambers regarding
1643                                                                       same [.1].
                                                                         Correspondence and telephone conference with vendor regarding email production;
       08/22/12   Boschen       1.90   $        150.00 $          285.00 conference call regarding case status; correspondence regarding jail visitation;
                                                                         correspondence with court reporter regarding deposition schedule.
1644
                                                                         Worked on filing of stipulated protective order for Mountain Law documents and
                                                                         analyzed issues regarding deadline for filing of amended pleadings [.1]; prepared for
                                                                         and participated in conference call with co‐counsel regarding discovery and case
       08/22/12   Marshall      2.00   $        375.00 $          750.00
                                                                         strategy issues [.9]; telephone conference with co‐counsel regarding strategy for
                                                                         defeating mootness argument [.6]; worked on same [.3]; worked on stipulated motion
                                                                         to extend disclosure and discovery deadlines [.1].
1645
                                                                       Participate in team litigation call (.8); Discuss alternate theory of liability w/ Marshall
       08/22/12   Zuchetto      1.00   $        330.00 $          330.00
1646                                                                   (.2).
                                                                       Conference call with co‐counsel re case strategy; investigation re potential additional
       08/22/12    Talner       1.50   $        400.00 $        600.00
1647                                                                   witnesses
                                                                       Conference regarding discovery; communications regarding same; prepare for
       08/22/12    Roos         2.40   $        465.00 $      1,116.00
1648                                                                   deposition of C. Cammock;
                                                                           Draft agenda for weekly meeting; participate in meeting; draft stipulated motion to
       08/22/12    Fisher       1.30   $        330.00 $          429.00
                                                                           modify scheduling order; send order to opposing counsel for comments;
1649
                                                                         Review proposed Mountain Law Group protective order; prepare for team conference
       08/22/12   Williams      0.40   $        580.00 $          232.00
1650                                                                     call on status of litigation;
1651   08/23/12   Haynes        1.10   $        190.00 $          209.00 Researched and analyzed issues in preparation for jail visit [1.1].



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 1                KEEPER
                                                                        Personal and telephone conferences regarding jail visitation [1.4]; telephone
       08/23/12   Boschen       9.30   $        150.00 $      1,395.00 conference with ESI vendor regarding email production [.2]; worked on document
1652                                                                   review [7.7].
1653   08/23/12   Marshall      0.80   $        375.00 $        300.00 Worked on preparation for jailhouse interviews and strategy for same [.8].
1654   08/23/12    Talner       0.60   $        400.00 $        240.00 Discuss investigation of potential witnesses with co‐counsel
1655   08/23/12    Fisher       0.80   $        330.00 $        264.00 Draft proposed order; edit motion in light of opposing counsel's comments;
                                                                       Continued work on document review; software training with vendor; telephone
       08/24/12   Boschen       6.00   $        150.00 $        900.00
1656                                                                   conference and correspondence regarding same.
                                                                       Email correspondence with co‐counsel regarding case strategy issues and opposing
       08/24/12   Marshall      0.10   $        375.00 $         37.50
1657                                                                   counsel regarding document production [.1].
       08/24/12   Dunne         0.10   $        380.00 $           38.00 Email correspondence with co‐counsel re discovery issues and expert deadlines
1658
       08/24/12    Fisher       1.30   $        330.00 $          429.00 Revise stipulated motion and send to opposing counsel; file motion and order;
1659
1660   08/27/12   Haynes        3.80   $        190.00 $          722.00 Researched and analyzed issues in preparation for jail visits [3.8].
                                                                         Personal conference regarding electronic discovery; Bates labeled production; updated
       08/27/12   Boschen       4.10   $        150.00 $          615.00 production log; prepared and revised forms for jail visit; reviewed jail roster and revised
                                                                         index; personal conferences regarding same; worked on document review.
1661
                                                                         Analyzed issues regarding witness interviews [.2]; reviewed stipulated protective order
       08/27/12   Marshall      0.60   $        375.00 $          225.00 entered by court, transmitted same to Mr. Gipe, and requested deadline for production
                                                                         [.1]; worked on issues regarding Mr. Sybrandy's production of documents and data [.3].
1662
1663   08/27/12   Williams      0.50   $        580.00 $          290.00 Coordinate on re‐schedule of City representative depositions;
       08/28/12   Haynes        9.30   $        190.00 $      1,767.00 Conducted interviews at Skagit County Jail and traveled to and from same [9.3].
1664
                                                                         Travel to and from Mount Vernon for witness interviews at Skagit County Jail and data
       08/28/12   Boschen       9.50   $        150.00 $      1,425.00
1665                                                                     extraction from Mr. Sybrandy's time reporting system [9.5].
                                                                         Email correspondence with opposing counsel regarding status of production of
                                                                         Burlington emails [.1]; researched and analyzed issues regarding Defendants' ability to
                                                                         present evidence generated and gathered after the close of discovery [.2]; reviewed
       08/28/12   Marshall      0.90   $        375.00 $          337.50
                                                                         settlement counteroffer from defendants and analyzed issues regarding same [.2];
                                                                         analyzed issues regarding witness interviews and collection of documents and data from
1666                                                                     Mr. Sybrandy [.4].


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        DATE                  HOURS        RATE            SUBTOTAL                                        DESCRIPTION OF WORK
 1                KEEPER
                                                                         Review defense counsel response re Burlington e‐mail production and e‐mail co‐counsel
       08/28/12   Zuchetto      1.00   $        330.00 $          330.00 re same (.5); Review e‐mail from JB re Sybrandy material and respond to same (.25);
                                                                         Review/analyze Defendants’ settlement offer and e‐mail co‐counsel re same (.25).
1667
1668   08/28/12    Talner       7.50   $        400.00 $      3,000.00 Travel to and interview potential witnesses
                                                                       Schedule depositions; read information regarding Burlington email production; email W.
       08/28/12    Fisher       0.90   $        330.00 $        297.00
1669                                                                   Honea to schedule S. Svaren's deposition;
1670   08/28/12   Williams      0.50   $        580.00 $        290.00 Meet with C. Fisher to discuss rescheduling of depositions;
                                                                       Telephone conference regarding case status; correspondence regarding deposition
       08/29/12   Boschen       0.90   $        150.00 $        135.00
1671                                                                   scheduling and Burlington email production.
                                                                       Telephone conferences with co‐counsel regarding settlement, discovery, and case
                                                                       strategy issues [.3]; prepared for and participated in weekly team call [.7]; telephone
       08/29/12   Marshall      2.20   $        375.00 $        825.00 conference and email correspondence with opposing counsel regarding email
                                                                       production issues [.3]; worked on same and other discovery issues [.6]; worked on
1672                                                                   settlement issues [.3].
                                                                           Team litigation strategy call (.8); Followup re same w/ co‐counsel (.2); Review proposed
       08/29/12   Zuchetto      1.25   $        330.00 $          412.50
                                                                           withdrawal of stipulation and e‐mail/call co‐counsel re same (.25).
1673
1674   08/29/12    Talner       0.50   $        400.00 $          200.00 Conference call with co‐counsel to discuss case strategy
                                                                         Email correspondence with opposing counsel and co‐counsel re case deadlines; review
       08/29/12    Dunne        0.40   $        380.00 $          152.00
1675                                                                     notice to withdraw stipulated motion re case deadlines
                                                                         Telephone conference with team regarding discovery; communications regarding
       08/29/12    Roos         0.90   $        465.00 $          418.50
1676                                                                     deposition scheduling and expert disclosures;
                                                                         Participate in weekly team meeting; send letter to C. Cammock regarding rescheduling
       08/29/12    Fisher       1.70   $        330.00 $          561.00 deposition; draft letter to opposing counsel regarding deposition schedule; draft and file
                                                                         withdrawal of stipulated motion to modify;
1677
                                                                         Conference call with Judge Lasnik's chambers on adjustment of trial and related dates;
       08/29/12   Williams      1.00   $        580.00 $          580.00 prepare for and participate in team strategy call; exchange emails with Cooley on trial
1678                                                                     date extension;
1679   08/30/12    Fisher       0.10   $        330.00 $           33.00 Speak with W. Honea about scheduling S. Svaren's deposition;
                                                                           Telephone conference regarding expert reports; worked on preparing exhibits for
       08/31/12   Boschen       0.90   $        150.00 $          135.00
                                                                           experts and correspondence regarding same; reviewed documents.
1680


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 1                KEEPER
                                                                           Analyzed issues regarding expert disclosures [.2]; worked on discovery issues [.4]; email
       08/31/12   Marshall      0.70   $        375.00 $          262.50
                                                                           correspondence with Mr. Gipe regarding status of Mountain Law production [.1].
1681
1682   08/31/12    Dunne        0.30   $        380.00 $          114.00 Correspondence with J. Strait re supplemental declaration
                                                                         Participate in call to discuss expert report deadline; discuss deposition dates with A.
       08/31/12    Fisher       1.10   $        330.00 $          363.00
1683                                                                     Cooley;
                                                                         Exchange emails with C. Fisher and B. Roos on expert reports and scheduling of
       08/31/12   Williams      0.70   $        580.00 $          406.00
1684                                                                     depositions;
       09/04/12   Boschen       0.20   $        150.00 $           30.00 Personal conference and correspondence regarding third party production [.2].
1685
1686   09/04/12   Marshall      0.50   $        375.00 $          187.50 Worked on expert issues [.5].
1687   09/04/12    Dunne        0.40   $        380.00 $          152.00 Correspondence with J. Strait re supplemental declaration
1688   09/05/12   Haynes        0.60   $        190.00 $          114.00 Email correspondence regarding jail visits [.6].
                                                                         Worked on downloading productions from FTP; correspondence regarding same;
                                                                         worked on uploading productions; telephone conference regarding case status; updated
       09/05/12   Boschen       4.60   $        150.00 $          690.00
                                                                         production log; worked on document review; personal conference and correspondence
1689                                                                     regarding jail visits.
                                                                         Prepared for and participated in weekly team meeting [.9]; reviewed documents
                                                                         produced by Mountain Law and analyzed issues regarding same [.4]; worked on second
       09/05/12   Marshall      2.30   $        375.00 $          862.50
                                                                         SDT to Mountain Law [.4]; worked on witness interview issues [.1]; worked on discovery
                                                                         and expert issues [.3]; analyzed issues regarding evidence to use at trial [.2].
1690
                                                                           Participate in team litigation strategy call (.7); Review expert declarations. re
       09/05/12   Zuchetto      0.95   $        330.00 $          313.50
1691                                                                       supplement and discuss same w/ co‐counsel (.25).
1692   09/05/12    Dunne        0.60   $        380.00 $          228.00   Correspondence with J. Strait re supplemental declaration
                                                                           Read emails regarding Burlington email production; participate in team meeting;
       09/05/12    Fisher       4.60   $        330.00 $      1,518.00     coordinate and email opposing counsel plaintiffs' second supplemental expert
1693                                                                       disclosures
                                                                           Telephone conference with team regarding discovery; draft deposition notice to Cities;
       09/05/12    Roos         1.20   $        465.00 $          558.00
1694                                                                       communications regarding expert disclosures; review same;
                                                                           Correspondence regarding deposition scheduling and expert productions; updated
                                                                           production log; researched public defender contact information; commenced
       09/06/12   Boschen       2.10   $        150.00 $          315.00
                                                                           preparation of subpoena duces tecum to Mountain Law; personal conferences and
1695                                                                       correspondence regarding same.


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 1                KEEPER
                                                                         Worked on second subpoena duces tecum to Mountain Law and researched and
                                                                         analyzed issues regarding same [.6]; analyzed issues regarding Rule 30(b)(6) deps [.1];
       09/06/12   Marshall      1.00   $        375.00 $          375.00
                                                                         analyzed issues regarding email production from cities [.1]; reviewed defendants'
                                                                         motion to extend trial date and analyzed issues regarding same [.2].
1696
                                                                           Review/edit Subpoena Duces Tecum to Mountain Law (.5); Review/analyze motion for
       09/06/12   Zuchetto      0.75   $        330.00 $          247.50
1697                                                                       continuance (.25).
       09/06/12    Roos         0.90   $        465.00 $          418.50 Draft deposition notice for City of Burlington; review motion to continue trial date;
1698
1699   09/06/12   Williams      0.50   $        580.00 $          290.00 Review draft 30(b)(6) deposition notice and provide comments;
                                                                         Analyzed issues regarding response to defendants' motion to extend trial date [.2];
       09/07/12   Marshall      1.70   $        375.00 $          637.50 drafted memorandum to co‐counsel regarding same [.6]; worked on subpoena duces
                                                                         tecum to Mountain Law [.6]; worked on case strategy issues [.3].
1700
                                                                           Review declaration re Bewick and e‐mail team re same (.5); Work on Subpoenas Duces
       09/07/12   Zuchetto      1.75   $        330.00 $          577.50
                                                                           Tecum re phone records (1.0); e‐mail team re strategy (.25).
1701
1702   09/07/12   Dunne         0.30   $        380.00 $          114.00 Review draft document request to Mountain Law
1703   09/07/12    Fisher       0.70   $        330.00 $          231.00 Draft and send letter to A. Cooley regarding depositions;
1704   09/07/12   Williams      0.30   $        580.00 $          174.00 Coordinate with team on response to Cities' Motion to continue trial date;
                                                                           Communications regarding depositions; review documents for deposition of Burlington;
       09/07/12    Roos         1.10   $        465.00 $          511.50
                                                                           communications regarding opposition to motion to continue trial date;
1705
1706   09/10/12   Talner        2.30   $        400.00 $          920.00 Draft declarations from jail visit witnesses
1707   09/11/12   Haynes        0.30   $        190.00 $           57.00 Email correspondence regarding jail visit and declarations [.3].
                                                                         Prepared subpoenas, acceptances of service and notices of subpoenas and mailings for
                                                                         same [1]; prepared letter to Mr. Gipe regarding same [.1]; email correspondence with
       09/11/12   Boschen       1.30   $        150.00 $          195.00
                                                                         opposing counsel and Mr. Gipe regarding same [.1]; telephone conference regarding
1708                                                                     production [.1].
                                                                         Worked on revisions to second SDT to Mountain Law [.2]; researched and analyzed
       09/11/12   Marshall      1.20   $        375.00 $          450.00 issues regarding same and email correspondence with co‐counsel regarding same [.3];
                                                                         drafted SDT to Baker Lewis and researched and analyzed issues regarding same [.7].
1709
1710   09/11/12   Zuchetto      2.25   $        330.00 $          742.50 Team call re case strategy/status.


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        DATE                  HOURS        RATE              SUBTOTAL                                         DESCRIPTION OF WORK
  1               KEEPER
1711   09/11/12   Talner        0.90   $        400.00 $            360.00 Draft declarations for jail visit witnesses
                                                                           Read and edit inmate declarations; draft and send out agenda for weekly team meeting;
       09/11/12    Fisher       0.60   $        330.00 $            198.00
1712                                                                       schedule depositions;
       09/12/12   Haynes        1.00   $        190.00 $            190.00 Personal conferences and email correspondence regarding jail visit and declarations [1].
1713
                                                                           Conference call regarding case status [.5]; updated case contacts [.1]; reviewed
                                                                           recordings, meeting minutes and contracts and drafted summary of same [1.9];
                                                                           prepared list of recording speakers for court reporter [.2]; telephone conference with
       09/12/12   Boschen       4.30   $        150.00 $            645.00 court reporter regarding transcription [.1]; downloaded production and filed same [.2];
                                                                           reviewed declaration and edited same [.4]; personal conferences and correspondence
                                                                           regarding same [.4]; telephone call to jail [.1]; reviewed jail roster [.1]; reviewed jail visit
                                                                           notes [.1]; reviewed public defender dockets [.2].
1714
1715   09/12/12   Zuchetto      0.50   $        330.00   $          165.00   Team meeting re case status/strategy.
1716   09/12/12    Dunne        0.40   $        380.00   $          152.00   Conference call with co‐counsel re case strategy
1717   09/12/12    Fisher       0.40   $        330.00   $          132.00   Edit and resend agenda for weekly meeting; schedule depositions;
1718   09/12/12   Williams      0.80   $        580.00   $          464.00   Prepare for and preside over trial team strategy conference call;
1719   09/13/12    Haynes       1.10   $        190.00   $          209.00   Reviewed and edited class member declarations [1.1].
                                                                           Telephone conferences with witnesses [.8]; worked on revising, finalizing and printing
                                                                           declarations and personal conferences and correspondence regarding same [4.6];
       09/13/12   Boschen       6.40   $        150.00 $            960.00 printed out jail roster and reviewed for potential witnesses [.3]; correspondence with
                                                                           court reporter and co‐counsel regarding deposition schedule [.2]; personal conference
                                                                           regarding deposition preparation [.3]; prepared for jail visit and witness interviews [.2].
1720
                                                                           Worked on preparation for deposition of Mr. Witt [.7]; worked on settlement issues [.2];
       09/13/12   Marshall      1.50   $        375.00 $            562.50 telephone conference with co‐counsel regarding witness declarations [.1]; worked on
                                                                           same [.4]; analyzed issues regarding SDT for kites [.1].
1721
                                                                           Teleconferences with witnesses to review declarations from jail visit, revisions to
       09/13/12    Talner       0.90   $        400.00 $            360.00
1722                                                                       witness declarations
                                                                           Draft letter regarding depositions; schedule depositions; speak with W. Honea about
       09/13/12    Fisher       1.70   $        330.00 $            561.00
1723                                                                       Svaren's deposition and subpoena for kites;
1724   09/13/12   Williams      0.50   $        580.00 $            290.00 Coordinate with team on deposition scheduling and settlement;
1725   09/13/12    Roos         1.20   $        465.00 $            558.00 Revise 30(b)(6) deposition notices; communications regarding depositions;


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 1                KEEPER
                                                                           Drove to/from Mt. Vernon, met with class members, and worked on declarations for
       09/14/12   Haynes        8.30   $        190.00 $      1,577.00
1726                                                                       same [8.3].
                                                                           Prepared for and traveled to and from Mount Vernon for witness interviews; drafted
       09/14/12   Boschen       9.00   $        150.00 $      1,350.00
1727                                                                       declarations; correspondence regarding same.
                                                                           Drafted letter to opposing counsel regarding settlement counteroffer [.7]; researched
       09/14/12   Marshall      1.70   $        375.00 $          637.50   and analyzed issues regarding same [.7]; email correspondence with and telephone call
1728                                                                       from co‐counsel regarding same [.3].
1729   09/14/12   Zuchetto      0.25   $        330.00 $           82.50   Review settlement offer and e‐mail co‐counsel re same.
                                                                           Conduct legal research re court jurisdiction and monitoring in institutional cases; email
       09/14/12    Dunne        0.40   $        380.00 $          152.00
1730                                                                       with co‐counsel re same
                                                                           Schedule depositions; work on 30(b)(6) subpoenas; begin research for opposition to
       09/14/12    Fisher       5.10   $        330.00 $      1,683.00
1731                                                                       motion to continue trial date;
1732   09/14/12    Roos         0.30   $        465.00 $          139.50   Review response to settlement offer; communications regarding same;
                                                                           Scanned and emailed signed declarations; correspondence regarding witnesses and
       09/15/12   Boschen       0.40   $        150.00 $           60.00
1733                                                                       declarations.
1734   09/16/12    Fisher       4.00   $        330.00 $      1,320.00     Draft opposition to motion to continue trial;
                                                                           Email correspondence regarding class member declarations [.3]; worked on class
       09/17/12   Haynes        3.30   $        190.00 $          627.00   member declarations [2.7]; telephone conference with co‐counsel regarding class
1735                                                                       member declarations [.3].
1736   09/17/12   Boschen       0.10   $        150.00 $           15.00   Correspondence regarding witness interviews and declarations.
                                                                         Researched and analyzed issues regarding Mr. Cooley's accusation of ex parte
                                                                         communications with insurance adjuster and drafted response to same [1.0]; telephone
       09/17/12   Marshall      2.10   $        375.00 $          787.50 conferences and email correspondence with co‐counsel regarding same [.4]; reviewed
                                                                         defendants' insurance policy and analyzed issues regarding same [.3]; email to opposing
                                                                         counsel regarding same [.1]; worked on witness declarations [.3].
1737
                                                                         Researched and analyzed issues regarding Mr. Cooley's accusation of ex parte
                                                                         communications with insurance adjuster and drafted response to same [1.0]; telephone
       09/17/12   Marshall      2.10   $        375.00 $          787.50 conferences and email correspondence with co‐counsel regarding same [.4]; reviewed
                                                                         defendants' insurance policy and analyzed issues regarding same [.3]; email to opposing
                                                                         counsel regarding same [.1]; worked on witness declarations [.3].
1738
                                                                           Review/edit declaration re Mountain Law current clients (.25); Review/edit response re
       09/17/12   Zuchetto      0.55   $        330.00 $          181.50
1739                                                                       defense counsel e‐mail re contact w/ ins. adjuster (.3).


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 1                KEEPER
       09/17/12    Dunne        0.50   $        380.00 $          190.00 Correspondence with J. Strait; email correspondence with co‐counsel re discovery issues
1740
1741   09/17/12    Talner       1.20   $        400.00 $          480.00 Research re Mountain Law, research to prepare for jail visit on 9/18
1742   09/17/12     Roos        0.40   $        465.00 $          186.00 Revise 30(b)(6) deposition notices; communications regarding same;
                                                                         Correspondence regarding production, declarations, depositions, discovery and
                                                                         subpoenas [.7]; prepared and finalized letter to opposing regarding supplementation of
                                                                         discovery responses [.3]; worked on deposition preparation [1.5]; telephone
       09/18/12   Boschen       5.20   $        150.00 $          780.00
                                                                         conference with witness [.1]; telephone conference regarding declarations [.1]; revised
                                                                         witness declaration [2]; copied and circulated Burlington email production [.2]; updated
                                                                         production log [.1]; continued document review [.2].
1743

                                                                       Worked on preparation for Witt deposition [.3]; email correspondence and telephone
                                                                       conference with Mr. Gipe regarding SDTs to Mountain Law and Baker Lewis [.3];
                                                                       analyzed issues regarding same and request for extension [.2]; drafted letter to
                                                                       opposing counsel requesting supplementation of contract documents [.1]; analyzed
                                                                       issues regarding same [.1]; analyzed issues regarding review of Burlington email
       09/18/12   Marshall      3.30   $        375.00 $      1,237.50
                                                                       production [.2]; worked on deposition and document review issues [.2]; worked on
                                                                       witness declarations [.3]; researched and analyzed issues regarding defendants' request
                                                                       for continuance of trial date and email correspondence with co‐counsel regarding
                                                                       response to same [.2]; worked on response to motion for continuance of trial date and
                                                                       telephone conference with co‐counsel regarding same [1.4].
1744
                                                                       Office conference with Zuchetto re: production of e‐mails (.2); E‐mails to and from Jen
       09/18/12   Bergland      0.80   $        190.00 $        152.00 re: same (.2); Review of capability of Outlook re: e‐mails (.3); Office conference with AW
1745                                                                   re: same (.1).
                                                                       Edit response re motion to continue and discuss same w/ co‐counsel (.75); E‐mail co‐
       09/18/12   Zuchetto      1.05   $        330.00 $        346.50
1746                                                                   counsel re Burlington e‐mail production and discuss same w/ KB (.3).
                                                                       Travel to and from Skagit County jail; interview witnesses at the jail; draft and revise
       09/18/12    Talner       4.50   $        400.00 $      1,800.00
1747                                                                   witness declarations;
                                                                       Email correspondence with co‐counsel re discovery issues; review letter to opposing
       09/18/12    Dunne        0.50   $        380.00 $        190.00 counsel re discovery; revise witness declaration; review and revise opp'n to defendants'
1748                                                                   motion to continue trial
1749   09/18/12    Fisher       2.70   $        330.00 $        891.00 Edit opposition to defendants' motion to continue trial date;


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        DATE                  HOURS        RATE            SUBTOTAL                                      DESCRIPTION OF WORK
  1               KEEPER
1750   09/18/12    Roos         0.40   $        465.00 $          186.00 Review opposition to motion to continue trial date;
                                                                         Telephone conference regarding case status [.7]; continued document review [1.3];
                                                                         researched current client criminal case activity [.1]; worked on proofreading response to
       09/19/12   Boschen       3.00   $        150.00 $          450.00 motion to stay trial date and correspondence regarding same [.4]; reviewed production
                                                                         history and correspondence regarding same [.2]; worked on deposition scheduling [.2];
                                                                         correspondence regarding subpoenas [.1].
1751
                                                                         Worked on response to Cities' motion for continuance [1.0]; participated in weekly call
       09/19/12   Marshall      1.80   $        375.00 $          675.00
1752                                                                     with co‐counsel [.7]; worked on discovery issues [.1].
                                                                         Edit response re motion to continue trial and discuss same w/ co‐counsel (1.1); Prepare
       09/19/12   Zuchetto      2.35   $        330.00 $          775.50
1753                                                                     for Sybrandy deposition (1.25).
1754   09/19/12    Dunne        0.70   $        380.00 $          266.00 Review and revise opp'n to defendants' motion to continue trial
                                                                         Edit opposition to defendants' motion to continue trial; edit and serve 30(b)(6)
       09/19/12    Fisher       2.30   $        330.00 $          759.00
1755                                                                     subpoenas;
       09/19/12    Roos         0.80   $        465.00 $          372.00 Review opposition to motion to continue trial date; communications regarding same;
1756
                                                                       Coordinate with team and preside over litigation strategy call; conference call with
                                                                       Skagit County Attorneys' office on subpoena compliance and delivery of documents;
       09/19/12   Williams      2.50   $        580.00 $      1,450.00
                                                                       draft email to Skagit County Attorney addressing subpoena modification and jail log
1757                                                                   delivery;
1758   09/20/12   Boschen       0.10   $        150.00 $         15.00 Correspondence regarding production and witnesses [.1].
                                                                         Email correspondence with Mr. Gipe and co‐counsel regarding SDTs to Mountain Law
                                                                         and Baker Lewis and worked on issues regarding same [.2]; analyzed issues regarding
       09/20/12   Marshall      1.40   $        375.00 $          525.00 production of confidential documents by Skagit Co. and proposed stipulated protective
                                                                         order for same [.2]; worked on general discovery and case strategy issues [.5]; worked
                                                                         on preparations for deposition of Mr. Witt [.5].
1759
1760   09/20/12   Dunne         0.20   $        380.00 $           76.00 Email correspondence with co‐counsel re discovery issues and jail kites
1761   09/20/12   Fisher        0.90   $        330.00 $          297.00 Draft letter to A. Denny regarding jail logs and inmate communications;
1762   09/21/12   Haynes        0.30   $        190.00 $           57.00 Personal conferences regarding jail visits and class member declarations [.3].
                                                                         Prepared draft of and finalized letter to Mr. Gipe responding to letter regarding
       09/21/12    Kinsey       0.30   $        100.00 $           30.00
1763                                                                     improper client contact.
                                                                         Researched whether a party can introduce evidence at trial that is generated and
       09/21/12   Nusser        3.90   $        225.00 $          877.50
1764                                                                     gathered after the discovery cutoff date [3.9]


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 1                KEEPER
                                                                         Prepared production to opposing counsel and letter regarding same; personal
       09/21/12   Boschen       1.30   $        150.00 $          195.00 conferences and correspondence regarding confirmations of understanding; personal
                                                                         conference and correspondence regarding deposition preparation.
1765
                                                                       Researched and analyzed issues regarding Mountain Law's accusations of improper ex
                                                                       parte contacts [1.0]; telephone conferences with co‐counsel and expert regarding same
       09/21/12   Marshall      4.20   $        375.00 $      1,575.00 [.6]; drafted letter to Mr. Gipe regarding same [.2]; email correspondence with co‐
                                                                       counsel regarding same [.1]; prepared for deposition of Mr. Witt and worked on outline
1766                                                                   for same [2.3].
                                                                       Prepare outline/docs. for Sybrandy deposition (4.0); Discuss letter from Mountain Law
       09/21/12   Zuchetto      5.25   $        330.00 $      1,732.50 attorney re contact w/ current clients w/ co‐counsel (.25); Research re same (.5);
                                                                       Review/analyze Defendants’ response re motion for continuance (.5).
1767
                                                                           Email correspondence with co‐counsel re discovery issues and correspondence from
       09/21/12    Dunne        0.40   $        380.00 $          152.00
1768                                                                       opposing counsel
                                                                           Draft and send letters to A. Cooley regarding J. Feldman and D. Svaren depositions and
       09/21/12    Fisher       1.20   $        330.00 $          396.00
                                                                           30(b)(6) documents; read defendants' reply in support of motion to continue trial;
1769
                                                                       Review Cities' motion to continue trial date and attached exhibits; review plaintiffs'
       09/21/12   Williams      2.00   $        580.00 $      1,160.00 opposition to motion to continue trial date and declarations in support; review Cooley
1770                                                                   letter on deposition scheduling;
                                                                       Reviewed defendants' reply in support of motion to continue trial date and analyzed
       09/22/12   Marshall      3.40   $        375.00 $      1,275.00 issues regarding same [.2]; prepared for deposition of Mr. Witt, reviewed documents for
1771                                                                   same, and worked on outline for same [3.2].
1772   09/22/12   Webster       3.00   $        80.00 $         240.00 Work on deleting duplicates from outlook e‐mail files.
       09/23/12   Marshall      4.10   $        375.00 $      1,537.50 Worked on outline for deposition of Mr. Witt and reviewed documents for same [4.1].
1773
1774   09/23/12   Zuchetto      4.00   $        330.00 $      1,320.00 Prepare outline and docs. for Sybrandy deposition.
1775   09/24/12   Boschen       0.20   $        150.00 $         30.00 Correspondence regarding deposition preparation and production [.2].
                                                                       Telephone conferences with co‐counsel regarding preparations for depositions of Witt
       09/24/12   Marshall      6.60   $        375.00 $      2,475.00 and Sybrandy [.7]; worked on outline of Witt deposition and reviewed documents for
1776                                                                   same [5.9].
1777   09/24/12   Webster       2.50   $         80.00 $        200.00 Delete duplicates of e‐mails through Scott T. Constitution.
1778   09/24/12   Zuchetto      4.00   $        330.00 $      1,320.00 Prepare for Sybrandy deposition.


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 1                KEEPER
                                                                           Teleconference with co‐counsel to prepare for Sybrandy and Witt depositions, and list
       09/24/12    Talner       1.90   $        400.00 $          760.00
1779                                                                       evidence relevant to those for co‐counsel
1780   09/24/12   Williams      0.50   $        580.00 $          290.00   Review Cities' reply regarding motion to continue trial date;
                                                                           Communications regarding depositions and 30(b)(6) deposition notices; revise
       09/24/12    Roos         0.40   $        465.00 $          186.00
1781                                                                       deposition notices;
                                                                           Continued researching whether a party can introduce evidence at trial that is generated
       09/25/12   Nusser        2.50   $        225.00 $          562.50
1782                                                                       and gathered after the discovery cutoff date [2.5].
                                                                           Worked on deposition preparation and personal conferences and correspondence
                                                                           regarding same; worked on Sybrandy data analysis and correspondence regarding same;
       09/25/12   Boschen       7.90   $        150.00 $      1,185.00
                                                                           worked on preparing all files for reproduction to opposing counsel; telephone
1783                                                                       conference with client.
                                                                           Worked on outline for deposition of Mr. Witt and reviewed documents for same [6.7];
       09/25/12   Marshall      7.20   $        375.00 $      2,700.00
1784                                                                       meeting with co‐counsel regarding same [.5].
1785   09/25/12   Webster       5.00   $         80.00 $        400.00     Delete duplicates of e‐mails through Bryan H Caseload.
1786   09/25/12   Zuchetto     10.75   $        330.00 $      3,547.50     Prepare for Sybrandy deposition (5.25); Travel to Mt. Vernon re same (5.5).
                                                                         Bates labeled Skagit County production; telephone conference and correspondence
                                                                         regarding same; drafted letter to opposing counsel regarding past productions;
       09/26/12   Boschen       3.00   $        150.00 $          450.00 prepared index for same; updated production log; correspondence regarding deposition
                                                                         testimony; continued work on deposition scheduling and correspondence regarding
                                                                         same; correspondence regarding supplemental production.
1787
                                                                       To Mount Vernon for deposition of Mr. Sybrandy [1.3]; meetings with co‐counsel
       09/26/12   Marshall     12.20   $        375.00 $      4,575.00 regarding same [1.7]; attended deposition of Mr. Sybrandy [7.7]; prepared for
1788                                                                   deposition of Mr. Witt [1.5].
                                                                       Create master file for all PDF’s extracted from outlook files and begin filling it with one
       09/26/12   Webster       2.50   $        80.00 $         200.00
1789                                                                   of each e‐mail.
       09/26/12   Zuchetto     10.00   $        330.00 $      3,300.00 Preparation for and take Sybrandy deposition and debrief with co‐counsel re same.
1790
1791   09/26/12    Talner       8.00   $        400.00 $      3,200.00 Attend Sybrandy deposition; travel to and from deposition
                                                                       Continue creating deposition examination outline for Mt. Vernon City official Eric
       09/26/12   Williams      5.00   $        580.00 $      2,900.00
1792                                                                   Stendal;




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 1                KEEPER
                                                                         Filed deposition transcripts; correspondence regarding deposition testimony; worked
                                                                         on production; correspondence regarding same; telephone conference and
       09/27/12   Boschen       3.10   $        150.00 $          465.00
                                                                         correspondence with vendor regarding email data export; telephone conference with
                                                                         Mr. Gipe regarding objections to subpoena.
1793
                                                                       Prepared for deposition of Mr. Witt [.5]; deposed Mr. Witt [7.4]; meetings and
       09/27/12   Marshall     10.70   $        375.00 $      4,012.50 telephone conferences with co‐counsel regarding same [1.2]; returned to Seattle from
1794                                                                   same [1.6].
1795   09/27/12   Webster       2.50   $        80.00 $         200.00 Work on master “de‐duped” file with outlook e‐mails up to Bryan Hoac.
                                                                         Preparation for and attend Witt deposition (7.0); Travel home (5.0); Review motions re
       09/27/12   Zuchetto     12.75   $        330.00 $      4,207.50
                                                                         Judge Svaren deposition and Mountain Law motion for protective order (.75).
1796
                                                                       Attend Witt deposition; travel to and from deposition; review documents produced by
       09/27/12    Talner       5.10   $        400.00 $      2,040.00
1797                                                                   county and email co‐counsel about them
                                                                       Meet with B. Roos to discuss opposition to Cities' motion for protective order and
       09/27/12   Williams      3.00   $        580.00 $      1,740.00 motion to extend discovery cutoff for Judge Svaren deposition; continue to prepare for
1798                                                                   E. Stendal deposition;
                                                                         Prepare for deposition of J. Aarstad; telephone conference with A. Gipe regarding
       09/27/12    Roos         3.20   $        465.00 $      1,488.00
                                                                         Mountain Law subpoenas; prepare for same; communications regarding same;
1799
                                                                         Telephone conference and correspondence with vendor and co‐counsel regarding email
       09/28/12   Boschen       4.00   $        150.00 $          600.00 export; continued work on production; continued work on deposition scheduling;
                                                                         prepared third amended notice and subpoena for Judge Svaren;
1800
                                                                       Analyzed issues regarding regarding scheduling of continuation of of Mr. Witt's
                                                                       deposition and email correspondence with Mr. Murphy and opposing counsel regarding
                                                                       same [.2]; memorandum to co‐counsel regarding deposition of Mr. Witt and analyzed
                                                                       issues regarding same [.5]; worked on strategy for depositions [.3]; reviewed Mountain
       09/28/12   Marshall      3.90   $        375.00 $      1,462.50
                                                                       Law's motion for protective order and researched and analyzed issues raised in same
                                                                       [2.5]; analyzed issues regarding motion to extend discovery cutoff for deposition of
                                                                       Judge Svaren [.3]; email correspondence and exchange of messages with Mr.
                                                                       Augenthaler regarding same [.1].
1801
1802   09/28/12   Webster       0.50   $        80.00 $            40.00 Work on individual files for Aarstad and Stendal.


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 1                KEEPER
                                                                             Office conference with Zuchetto re: review of Burlington e‐mails and upcoming
       09/28/12   Bergland      0.80   $        190.00 $            152.00
1803                                                                         depositions.
                                                                         Analyze information provided re Sybrandy/Witt depositions (1.25); Review/analyze
                                                                         motion for protective order re Mountain Law, discuss same w/ co‐counsel (2.5); Work
       09/28/12   Zuchetto      5.00   $        330.00 $        1,650.00
                                                                         on Burlington discovery production review (.75); Review/analyze motion to take dep.
                                                                         after discovery cut‐off and discuss same w/ co‐counsel (.5).
1804
                                                                           Emails with co‐counsel re discovery issues; review outline for upcoming deposition;
       09/28/12    Talner       0.90   $        400.00 $            360.00
1805                                                                       research re jail kites issue
                                                                           Email correspondence with co‐counsel re pending motions; conference calls with A.
       09/28/12    Dunne        1.10   $        380.00 $            418.00 Denny re jail kites; email correspondence with co‐counsel re same; correspondence
1806                                                                       with R. Aronson re declaration
                                                                             Prepare for deposition of J. Aarstad; communications regarding opposition to motion
       09/28/12    Roos         4.90   $        465.00 $        2,278.50
                                                                             for protective order; communications regarding Burlington email production;
1807
                                                                         Coordinate with ACLU on coverage of opposition to Mountain Law's Motion for
       09/28/12   Williams      7.50   $        580.00 $        4,350.00 Protective Order; continue review of documents and creation of Stendal deposition
                                                                         outline; review correspondence with Skagit County on production of Kites;
1808
1809   09/29/12   Webster       2.00   $         80.00   $        160.00     Work on Aarstad e‐mail file.
1810   09/29/12    Roos         3.30   $        465.00   $      1,534.50     Prepare for deposition of J. Aarstad; review emails relating to same;
1811   09/30/12   Marshall      0.20   $        375.00   $         75.00     Analyzed issues regarding Stendal and Aarstad depositions [.2].
1812   09/30/12   Webster       3.00   $         80.00   $        240.00     Work on Stendal e‐mails and send to Zuchetto.
1813   09/30/12    Roos         1.80   $        465.00   $        837.00     Prepare for deposition of J. Aarstad;
       09/30/12   Williams      2.10   $        580.00 $        1,218.00 Continue creating deposition outline for Mt. Vernon Contract administrator, E. Stendal
1814
                                                                           Prepared draft response to Mountain Law's motion for protective order [.2]; prepared
       10/01/12    Kinsey       0.60   $        100.00 $             60.00 Marshall declaration supporting same [.2]; prepared proposed order denying motion
1815                                                                       [.2].
1816   10/01/12    Nusser       0.40   $        225.00 $             90.00 Conference regarding response to motion for protective order [.4]
1817   10/01/12   Boschen       0.30   $        150.00 $             45.00 Worked on production issues and correspondence regarding same.




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 1                KEEPER
                                                                       Reviewed supplemental production from defendants and email correspondence with co‐
                                                                       counsel regarding same [1.8]; researched and analyzed issues regarding Mountain Law's
       10/01/12   Marshall      7.00   $        375.00 $      2,625.00
                                                                       motion for protective order and worked on response to same [4.1]; telephone
                                                                       conferences with co‐counsel regarding same [.5]; worked on expert issues for same [.6].
1818
1819   10/01/12   Webster       2.50   $        80.00 $           200.00 Work on Sybrandy e‐mails and send to Zuchetto.
                                                                           Discuss supplemental expert witness disclosures w/ co‐counsel re e‐mail re same (1.25);
       10/01/12   Zuchetto      2.75   $        330.00 $          907.50
                                                                           Analyze draft declaration re Prof. Aronson and discuss same w/ co‐counsel (1.5).
1820
                                                                         Correspondence with R. Aronson re declaration; email correspondence with co‐counsel
       10/01/12    Dunne        0.40   $        380.00 $          152.00
1821                                                                     re discovery and pending motions
                                                                         Teleconference with expert witness re supplemental report, review documents
       10/01/12    Talner       1.50   $        400.00 $          600.00
1822                                                                     produced by Baker Lewis and email co‐counsel about them
                                                                           Continue editing E. Stendal outline to include examination on exhibits belatedly
       10/01/12   Williams      1.50   $        580.00 $          870.00
                                                                           produced by Cities on 10/1/12; conference call with B. Roos on Arstaad deposition;
1823
       10/02/12   Nusser        7.80   $        225.00 $      1,755.00 Worked on response to motion for protective order and supporting documents [7.8]
1824
                                                                           Worked on response to Mountain Law's motion for protective order and researched and
       10/02/12   Marshall      6.80   $        375.00 $      2,550.00     analyzed issues regarding same [6.1]; worked on expert declaration for same [.4];
1825                                                                       worked on discovery issues [.3].
                                                                           Work on e‐mail file for Aarstad and filled it with de‐duped e‐mails through User PST,
       10/02/12   Webster       5.00   $        80.00 $           400.00
1826                                                                       ACLU file.
                                                                           Research/work on communication with class member issue (1.25); Review/edit
       10/02/12   Zuchetto      2.75   $        330.00 $          907.50
1827                                                                       declaration re contacting class members (1.5).
                                                                           Prepare for and take deposition of Mt. Vernon Special Projects Administrator E. Stendal
       10/02/12   Williams     11.00   $        580.00 $      6,380.00
1828                                                                       in Mt. Vernon;
                                                                           Reviewed, revised and finalized plaintiffs' response to Mountain Law's motion for
                                                                           protective order [.9]; reviewed and finalized Roos declaration [.3]; reviewed and
       10/03/12    Kinsey       2.00   $        100.00 $          200.00
                                                                           finalized Aronson declaration [.3]; reviewed and finalized Marshall declaration [.3];
1829                                                                       arranged filing and service [.2].
                                                                           Researched shifting costs to party requesting documents by subpoena [2]; worked on
       10/03/12   Nusser        6.80   $        225.00 $      1,530.00     revisions to response to motion for protective order and supporting documents, and
1830                                                                       finalized the same for filing [4.8].


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 1                KEEPER
                                                                           Worked on response to Mountain Law's motion for protective order, worked on
                                                                           documents in support of same, and researched and analyzed issues regarding same
       10/03/12   Marshall      7.80   $        375.00 $      2,925.00
                                                                           [6.8]; weekly telephone conference with co‐counsel regarding various discovery, case
1831                                                                       strategy, and expert issues [1.0].
1832   10/03/12   Webster       2.50   $        80.00 $           200.00   Continue to work on adding e‐mails to Aarstad folder.
                                                                           Work on MV e‐mail production (1.75); Review/edit response re motion for protective
       10/03/12   Zuchetto      5.45   $        330.00 $      1,798.50
1833                                                                       order (2.7); Team meeting/call re strategy/status (1.0).
                                                                           Correspondence with R. Aronson re his declaration for opposition to motion for
       10/03/12    Dunne        0.40   $        380.00 $          152.00
1834                                                                       protective order
                                                                           Draft summary of E. Stendal deposition; participate in trial team conference call; review
       10/03/12   Williams      2.00   $        580.00 $      1,160.00     draft opposition to motion for protective order; begin developing case time line and
1835                                                                       theory;
                                                                           Telephone conference with team regarding case status; revise opposition to Mountain
       10/03/12    Roos         2.10   $        465.00 $          976.50   Law motion for a protective order; draft declaration in support of same; telephone
1836                                                                       conference with T. Marshall regarding same;
                                                                         Worked on discovery and case strategy issues [.4]; worked on issues with deposition
       10/04/12   Marshall      1.30   $        375.00 $          487.50 exhibits [.2]; telephone call from Mr. Honea regarding scheduling of deposition of Judge
                                                                         Svaren [.1]; worked on Burlington email review project [.6].
1837
                                                                       Complete work on Aarstad file and begin to work on general file for indigent case e‐
       10/04/12   Webster       2.50   $        80.00 $           200.00
1838                                                                   mails.
1839   10/04/12   Bledsoe       0.15   $        120.00 $         18.00 Draft letter to Richard Sybrandy.
                                                                       E‐mail co‐counsel re Burlington e‐mail production (.75); Review Burlington e‐mail
       10/04/12   Zuchetto      4.50   $        330.00 $      1,485.00
1840                                                                   production (3.0); Draft/edit letter to Sybrandy (.75).
                                                                       Prepared draft of plaintiffs' demand for City of Mount Vernon to supplement discovery
       10/05/12    Kinsey       0.60   $        100.00 $         60.00 responses [.3]; prepared draft of plaintiffs' demand for City of Burlington to supplement
1841                                                                   discovery responses [.3].
                                                                         Drafted, finalized and served subpoena and notice to Mountain Law for 30(b)(6)
                                                                         deposition; personal conferences and correspondence regarding same; correspondence
       10/05/12   Boschen       4.40   $        150.00 $          660.00
                                                                         regarding experts and production; revised, finalized and served Plaintiffs Demand to
                                                                         Supplement Discovery; personal conferences and correspondence regarding same.
1842




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        DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1                KEEPER
                                                                         Worked on draft of supplementation request to defendants [.1]; worked on subpoena
                                                                         to Mountain Law for deposition pursuant to Rule 30(b)(6) and researched and analyzed
       10/05/12   Marshall      1.40   $        375.00 $          525.00
                                                                         issues regarding same [.6]; worked on discovery and deposition scheduling issues [.4];
                                                                         worked on expert issues [.2]; telephone call from co‐counsel regarding same [.1].
1843
1844   10/05/12   Webster       2.00   $         80.00 $        160.00 Continue work on general file for indigent case e‐mails.
1845   10/05/12   Zuchetto      1.00   $        330.00 $        330.00 Review/analyze Mountain Law docs.
                                                                       Reviewed Mountain Law's reply in support of protective order motion [.2]; worked on
       10/07/12   Marshall      0.50   $        375.00 $        187.50
1846                                                                   document management and case file issues [.3].
1847   10/08/12   Boschen       0.10   $        150.00 $         15.00 Correspondence regarding document productions [.1].
                                                                       Email correspondence with Mr. Gipe regarding scheduling of Mountain Law deposition
       10/08/12   Marshall      0.10   $        375.00 $         37.50
1848                                                                   [.1].
                                                                       Read reply to motion for protective order by Mountain Law and supporting
       10/08/12    Fisher       1.60   $        330.00 $        528.00 declarations; review discovery production from cities; read R. Sybrandy's deposition
1849                                                                   transcript;
                                                                       Review reply in support of Mountain Law's motion for protective order; revise Rule
       10/08/12    Roos         1.60   $        465.00 $        744.00
1850                                                                   30(b)(6) notices, including review of documents for same;
                                                                       Review email correspondence from team on litigation strategy and continue developing
       10/08/12   Williams      1.80   $        580.00 $      1,044.00
1851                                                                   trial plan;
                                                                       Telephone conference with client [.1]; commenced document review and
       10/09/12   Boschen       1.40   $        150.00 $        210.00
1852                                                                   correspondence regarding same [1.3].
                                                                       Reviewed court's order continuing trial date and analyzed issues regarding same [.2];
       10/09/12   Marshall      0.30   $        375.00 $        112.50
1853                                                                   worked on discovery issues [.1].
                                                                       Read R. Sybrandy's deposition transcript; review discovery; send agenda for weekly
       10/09/12    Fisher       1.60   $        330.00 $        528.00
1854                                                                   meeting;
                                                                           Revise Rule 30(b)(6) notices, including review of documents for same; review court
       10/09/12    Roos         1.70   $        465.00 $          790.50
                                                                           order regarding motion to continue trial dates; communications regarding same;
1855
                                                                         Review district court order granting trial date extension; review email on team litigation
       10/09/12   Williams      1.00   $        580.00 $          580.00
1856                                                                     strategy;
                                                                         Conference call regarding case status [1.1]; worked on production and discovery issues
       10/10/12   Boschen       3.70   $        150.00 $          555.00 [2.3]; telephone conference regarding privileged production issue [.1]; correspondence
1857                                                                     regarding same [.2].



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 1                KEEPER
                                                                         Prepared for and participated in weekly team meeting regarding various discovery and
                                                                         case strategy issues [1.1]; researched and analyzed issues regarding handling of
       10/10/12   Marshall      2.20   $        375.00 $          825.00 inadvertently produced materials that may be privileged or protected [.4]; worked on
                                                                         same [.3]; email correspondence with co‐counsel and opposing counsel regarding same
                                                                         [.2]; telephone conference with opposing counsel regarding same [.2].
1858
       10/10/12    Talner       1.40   $        400.00 $          560.00 Teleconference with main plaintiff, conference call with co‐counsel re case strategy
1859
                                                                       Research attorney fee issue; listen to court recordings of R. Martineau's, J. Norman's,
                                                                       participate in weekly team call; read M. Witt's deposition transcript; draft letter to A.
       10/10/12    Fisher       5.90   $        330.00 $      1,947.00
                                                                       Cooley regarding rescheduling of depositions; draft letter to M. Witt regarding
1860                                                                   production of withheld documents;
                                                                       Review legal research on mootness theory and standard of proof at trial and prepare for
                                                                       call with litigation team; prepare for and participate in litigation team conference call;
       10/10/12   Williams      2.50   $        580.00 $      1,450.00
                                                                       begin outlining potential case theory for trial; coordinate on printing Witt and Sybrandy
1861                                                                   deposition transcripts;
                                                                         Telephone conference and email correspondence with Mr. Gipe regarding Mountain
       10/11/12   Marshall      0.50   $        375.00 $          187.50 Law deposition and analyzed issues regarding same [.2]; analyzed issues regarding same
                                                                         case strategy and telephone conference with co‐counsel regarding same [.3].
1862
1863   10/11/12   Zuchetto      0.25   $        330.00 $           82.50 Review Court order setting new schedule.
                                                                         Review new discovery and trial schedule; communications regarding same;
       10/11/12    Roos         0.70   $        465.00 $          325.50
1864                                                                     communications regarding expert discovery;
1865   10/11/12   Williams      1.00   $        580.00 $          580.00 Begin outlining and drafting case overview in preparation for trial;
                                                                         Worked on produciton issues and telephone conferences and correspondence regarding
       10/12/12   Boschen       6.40   $        150.00 $          960.00 same [6.2]; telephone conference and correspondence with vendor regarding
                                                                         Defendants' inadvertent production of privileged documents [.2].
1866
                                                                         Analyzed issues regarding handling of inadvertently produced materials in Burlington
                                                                         email production [.4]; analyzed issues regarding witness disclosures [.1]; worked on case
       10/12/12   Marshall      0.70   $        375.00 $          262.50
                                                                         strategy and expert issues [.1]; analyzed issues regarding documents withheld by Mr.
                                                                         Witt on grounds of attorney‐client privilege and work product [.1].
1867
1868   10/12/12   Zuchetto      1.25   $        330.00 $          412.50 Review files re destroy re inadvertent privilege production by defendants.


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 1                KEEPER
                                                                        Read M. Witt's deposition transcript and begin gathering evidence to support claims;
       10/12/12    Fisher      2.60   $        330.00 $          858.00 edit and send letter to J. Murphy regarding privilege log and calendar of meetings with
1869                                                                    clients;
                                                                        Reviewed letter from indigent defendant regarding relief sought in lawsuit and drafted
       10/14/12   Marshall     0.20   $        375.00 $           75.00
1870                                                                    response to same [.2].
1871   10/15/12    Roos        0.50   $        465.00 $          232.50 Communications regarding deposition scheduling;
                                                                        Draft letter to A. Cooley regarding cancellation and rescheduling of depositions;
       10/15/12    Fisher      0.90   $        330.00 $          297.00 coordinate deposition dates with Perkins, T. Marshall, M. Zuchetto, W. Honea, and D.
                                                                        Svaren; read partial summary judgment filed in Grant County case;
1872
                                                                        Voicemail from client regarding status; telelphone and personsal conferences with and
                                                                        regarding client and correspondence regarding same; correspondence regarding
       10/16/12   Boschen      4.30   $        150.00 $          645.00
                                                                        deposition schedule; telephone conference and correspondence with vendor regarding
1873                                                                    production issues.
                                                                          Analyzed issues regarding Mr. Wilbur and factual background [.3]; worked on research
       10/16/12   Marshall     0.60   $        375.00 $          225.00
                                                                          regarding ability of Cities to present evidence obtained after discovery cutoff [.3].
1874
       10/16/12   Zuchetto     0.75   $        330.00 $          247.50 Review letter from def. counsel re depositions and discuss same w/ co‐counsel.
1875
                                                                        Call W. Honea to schedule D. Svaren's deposition; send letter to A. Cooley regarding
       10/16/12    Fisher      1.60   $        330.00 $          528.00 cancellation and rescheduling of depositions; draft meeting agenda; talk with J. Boschen
                                                                        about Burlington email production and J. Wilbur; review M. Witt's 50 case files;
1876
                                                                        Review C. Fisher correspondence; respond to questions on deposition scheduling;
       10/16/12   Williams     1.00   $        580.00 $          580.00
1877                                                                    review new case law on potential constitutional issue;
                                                                        Worked on production issues; telephone conference with opposing counsel regarding
                                                                        same; telephone conference and correspondence with vendor regarding same; worked
       10/17/12   Boschen      3.10   $        150.00 $          465.00 on discovery issues relating to public defense certification; personal conference and
                                                                        correspondence regarding same; call to Chehalis Tribal Jail; telephone conference with
1878                                                                    client's brother.
                                                                        Prepared for weekly strategy call with co‐counsel [.1]; participated in same [.5];
       10/17/12   Marshall     1.30   $        375.00 $          487.50 accounting issues and email correspondence with opposing counsel regarding handling
                                                                        of inadvertently produced emails [.3]; worked on discovery issues [.4].
1879


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  1                KEEPER
1880   10/17/12   Zuchetto     1.00   $        330.00 $          330.00 Team meeting re case status/strategy.
                                                                        Conference call with A. Denny re jail log process and kite process; email correspondence
       10/17/12    Dunne       0.60   $        380.00 $          228.00
1881                                                                    with co‐counsel re same
                                                                        Telephone conference with team regarding ongoing issues; conference with J. Williams
       10/17/12    Roos        0.80   $        465.00 $          372.00
1882                                                                    regarding trial strategy;
                                                                        Update and send team meeting agenda; talk with S. Dunne about Skagit County
       10/17/12    Fisher      1.90   $        330.00 $          627.00 subpoena regarding jail logs and kites; draft letter to A. Cooley regarding depositions in
                                                                        response to his October 16 letter criticizing us for rescheduling depositions;
1883
                                                                          Prepare for and participate in team strategy call; coordinate with associates on creation
       10/17/12   Williams     1.20   $        580.00 $          696.00
1884                                                                      of case theory; coordinate with ACLU on jail 30(b)(6) witness;
                                                                        Continued work on production issues and document review [.7]; correspondence
       10/18/12   Boschen      1.90   $        150.00 $          285.00 regarding deposition transcripts and scheduling [.1]; telephone conferences with client,
                                                                        Chehalis Tribal Jail, Mr. Chesnin and personal conferences regarding same [1.1].
1885
                                                                      Analyzed issues regarding public records act request for certifications filed by Mountain
       10/18/12   Marshall     0.40   $        375.00 $        150.00 Law attorneys [.1]; analyzed issues regarding discovery from Skagit Co. [.1]; analyzed
1886                                                                  issues regarding status of Mr. Wilbur [.2].
                                                                      Review and edit letter to counsel for defendants on rescheduling depositions and
       10/18/12   Williams     2.00   $        580.00 $      1,160.00
1887                                                                  civility;
                                                                          Draft letter to A. Cooley regarding rescheduling of depositions to January 2013; draft
       10/18/12    Fisher      2.40   $        330.00 $          792.00
                                                                          case overview; speak with J. Boschen about J. Wilbur; read L. Alvarez deposition;
1888
                                                                        Prepared PDR to Burlington and Mount Vernon municipal courts [.4]; continued work on
                                                                        production issues and correspondence with vendor regarding same [1.5]; telephone
       10/19/12   Boschen      3.40   $        150.00 $          510.00 conferences regarding client and personal conferences regarding same [.6]; telephone
                                                                        call to class member [.1]; correspondence regarding deposition scheduling [.1];
                                                                        telephone call to Upper Skagit Court [.1]; continued work on document review [.6].
1889
1890   10/19/12   Marshall     0.40   $        375.00 $        150.00 Analyzed issues regarding status of Mr. Wilbur [.4].
                                                                      Continue drafting letter to counsel for Cities on scheduling depositions and request for
       10/19/12   Williams     3.50   $        580.00 $      2,030.00
1891                                                                  civility;




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 1                KEEPER
                                                                      Read E. Stendal's deposition; review documents produced by Cities' regarding their
       10/19/12    Fisher      3.20   $        330.00 $      1,056.00 budgets; draft case overview; draft first amended notice of deposition for J. Feldman
                                                                      and fourth amended notice of deposition for D. Svaren;
1892
1893   10/20/12   Marshall     0.40   $        375.00 $          150.00 Prepared for continuation of Mr. Witt's deposition [.4].
       10/21/12   Marshall     0.50   $        375.00 $          187.50 Reviewed documents in preparation for continuation of Mr. Witt's deposition [.5].
1894
1895   10/22/12   Boschen      0.20   $        150.00 $         30.00 Telephone conference and correspondence regarding deposition [.2].
                                                                      To Mount Vernon for continuation of Mr. Witt's deposition [1.3]; participated in same
       10/22/12   Marshall     7.70   $        375.00 $      2,887.50
1896                                                                  [4.7]; returned from same [1.4]; analyzed issues regarding same [.3].
                                                                          Draft case overview; read E. Stendal's deposition and add to proof chart; draft and serve
       10/22/12    Fisher      1.60   $        330.00 $          528.00
                                                                          subpoenas on J. Feldman and D. Svaren; save depositions and transcripts to DMS
1897
                                                                        Continued work on production issues and correspondence with vendor regarding same
                                                                        [.2]; continued work on document review and personal conferences regarding same
       10/23/12   Boschen      3.80   $        150.00 $          570.00
                                                                        [2.9]; correspondence regarding depositions [.2]; telephone conferences with and
1898                                                                    regarding client [.5].
                                                                        Worked on document review issues and issues regarding potentially inadvertent
       10/23/12   Marshall     0.60   $        375.00 $          225.00
1899                                                                    production of privileged materials [.6].
                                                                        Review correspondence from attorney for Cities and exchange emails on same; send A.
       10/23/12   Williams     0.50   $        580.00 $          290.00
1900                                                                    Cooley second request for CR 37 conference;
                                                                        Case status conference call and prep for same [.5]; worked on deposition scheduling and
                                                                        related issues [.5]; telephone conference with Mr. Augenthaler regarding inadvertently
       10/24/12   Boschen      1.40   $        150.00 $          210.00 produced privilege documents and personal conference regarding same [.2]; telephone
                                                                        calls to and correspondence with vendor regarding same [.1]; telephone conference
                                                                        with client [.1];
1901
                                                                        Prepared for and participated in weekly call with co‐counsel [.6]; analyzed issues
                                                                        regarding second production of privileged emails from Burlington and telephone
                                                                        conference with opposing counsel regarding same [.4]; analyzed issues regarding
       10/24/12   Marshall     1.30   $        375.00 $          487.50 deposition scheduling and telephone conference with Mr. Gipe regarding same [.1];
                                                                        email to Mr. Murphy regarding production of potentially privileged emails [.1]; left
                                                                        message with Mr. Murphy factual background issues with Mr. Witt and worked on same
1902                                                                    [.1].


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  1                KEEPER
1903   10/24/12   Zuchetto     1.00   $        330.00 $        330.00 Team meeting re litigation strategy.
                                                                      Participate in team meeting; organize Feldman deposition room; discuss production
       10/24/12    Fisher      1.50   $        330.00 $        495.00
1904                                                                  with J. Boschen;
                                                                      Prepare for and preside over litigation team coordination conference call; draft letter to
       10/24/12   Williams     2.00   $        580.00 $      1,160.00 A. Cooley on CR 37 conference to discuss 30(b)(6) deposition dates; coordinate with
1905                                                                  Cooley's staff on CR 37 conference;
                                                                          Draft amended notice of depositions for Mount Vernon and Burlington 30(b)(6)
       10/25/12    Fisher      0.60   $        330.00 $          198.00
                                                                          depositions; meet with B. Roos to discuss documents and topics for depositions;
1906
1907   10/25/12    Roos        0.20   $        465.00 $           93.00 Conference regarding city deposition notices; review and revise same;
                                                                        Draft letter to counsel for Cities rejecting proposal to extend discovery cutoff and
       10/25/12   Williams     1.00   $        580.00 $          580.00 finalize 30(b)(6) deposition dates for Cities; edit 30(b)(6) notice to include additional
1908                                                                    examination areas;
1909   10/26/12   Boschen      0.30   $        150.00 $           45.00 Worked on deposition issues [.2]; correspondence regarding clients [.1];
1910   10/26/12   Zuchetto     1.00   $        330.00 $          330.00 Draft letter to Sybrandy.
1911   10/26/12   Williams     0.70   $        580.00 $          406.00 Edit Cities' 30(b)(6) deposition notice;
                                                                        Worked on scheduling of Mountain Law deposition and email correspondence with
       10/29/12   Marshall     0.20   $        375.00 $           75.00
1912                                                                    opposing counsel and Mr. Gipe regarding same [.2].
1913   10/29/12   Zuchetto     0.75   $        330.00 $          247.50 Review cost/invoices (.5); E‐mail team re same (.25).
1914   10/30/12   Boschen      1.40   $        150.00 $          210.00 Worked on deposition issues [1.4];
                                                                          Analyzed issues regarding deposition transcripts [.1]; analyzed issues regarding Mr.
       10/30/12   Marshall     0.20   $        375.00 $           75.00
                                                                          Witt's documents and left message with Mr. Murphy regarding same [.1].
1915
1916   10/30/12    Roos        0.30   $        465.00 $          139.50 Revise Burlington deposition notice;
                                                                          Edit Mt. Vernon and Burlington 30(b)(6) notices; draft cover letter to Cooley on 30(b)(6)
       10/30/12   Williams     2.50   $        580.00 $      1,450.00
                                                                          deposition notices; begin review of L. Alvarez deposition testimony;
1917
                                                                          Worked on deposition issues [.1]; conference call regarding case status [.6];
       10/31/12   Boschen      1.00   $        150.00 $          150.00
                                                                          correspondence regarding public records request [.2]; worked on production issues [.1];
1918
                                                                        Analyzed issues regarding deposition transcripts and video [.1]; participated in weekly
                                                                        co‐counsel call [.6]; worked on additional discovery requests [.2]; analyzed issues
       10/31/12   Marshall     1.40   $        375.00 $          525.00
                                                                        regarding Witt production and related issues [.2]; telephone conference with Mr.
1919                                                                    Murphy regarding same [.3].


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 1                KEEPER
       10/31/12   Zuchetto     1.30   $        330.00 $          429.00 Team meting re case status/strategy (1.0); Work on discovery supplement (.3).
1920
                                                                          Telephone conference with team regarding discovery issues; review motion to continue
       10/31/12    Roos        0.60   $        465.00 $          279.00
1921                                                                      discovery deadline;
                                                                      Prepare for and preside over conference call with litigation team on strategy; review
                                                                      Cooley motion to extend discovery cutoff; continue review of L. Alvarez deposition
       10/31/12   Williams     3.00   $        580.00 $      1,740.00
                                                                      testimony and creation of key events timeline; review and comment on email exchange
                                                                      involving Murphy claim of privilege;
1922
1923   11/01/12   Boschen      0.20   $        150.00 $         30.00 Telephone conferences with client and correspondence regarding same [.2];
1924   11/01/12   Marshall     0.10   $        375.00 $         37.50 Worked on discovery issues [.1].
1925   11/01/12   Zuchetto     3.10   $        330.00 $      1,023.00 Work on outstanding discovery requests.
                                                                      Continue to review deposition transcripts and create summaries of expected trial
       11/01/12   Williams     3.50   $        580.00 $      2,030.00
1926                                                                  testimony; continue to identify documents for Hot Docs Binder;
1927   11/02/12   Boschen      0.70   $        150.00 $        105.00 Worked on amending Mountain Law subpoena and serving same [.7];
       11/02/12   Marshall     0.50   $        375.00 $          187.50 Telephone conferences with co‐counsel regarding issues with litigation expenses [.5].
1928
                                                                      Call w/ co‐counsel re case costs and review same (.5); Legal research re mootness
       11/02/12   Zuchetto     2.00   $        330.00 $          660.00
1929                                                                  doctrine (1.5).
                                                                      Take care of Witt's privileged emails; draft letter to J. Murphy regarding privilege log
       11/02/12    Fisher      1.20   $        330.00 $        396.00 and electronic calendar meetings; draft letter to W. Honea regarding amended notice
1930                                                                  and subpoena;
                                                                      Coordinate with C. Fisher on draft opposition to motion to change trial date; review
                                                                      amended 30(b)(6) notice for Mountain Law; review amended deposition notices for
       11/02/12   Williams     2.50   $        580.00 $      1,450.00 Judge Svaren and expert Feldman; review letter to J. Murphy on Witt production issues;
                                                                      continue development of potential case theory based on L. Alvarez deposition
1931                                                                  testimony;
                                                                      Email team secretaries regarding saving documents to DMS; draft opposition to
       11/05/12    Fisher      2.30   $        330.00 $        759.00
1932                                                                  defendants' motion to continue discovery deadline;
       11/05/12   Williams     1.50   $        580.00 $          870.00 Continue review of E. Stendal deposition to identify trial testimony and exhibits;
1933




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 1                KEEPER
                                                                        Bates labeled, OCRd and produced documents received by the Mount Vernon Municipal
       11/06/12   Boschen      0.50   $        150.00 $           75.00 Court in response to public records request [.3]; updated production log [.1];
                                                                        correspondence regarding deposition transcript and exhibits [.1];
1934
1935   11/06/12   Zuchetto     1.25   $        330.00 $          412.50 Edit response re motion to continue.
                                                                        Review and comment regarding opposition to defendants' motion for relief from
       11/06/12    Roos        0.40   $        465.00 $          186.00
1936                                                                    discovery deadline;
                                                                        Finish opposition to defendants' motion for relief from discovery deadline; draft and
       11/06/12    Fisher      2.20   $        330.00 $          726.00
1937                                                                    send agenda for tomorrow's meeting to team;
                                                                          Review and edit plaintiffs' opposition to Cities' Motion to Change Discovery Cutoff;
       11/06/12   Williams     1.80   $        580.00 $      1,044.00
                                                                          continue review of Stendal deposition and identification of trial testimony;
1938
                                                                          Conference call regarding case status [.6]; telephone conference with class member and
       11/07/12   Boschen      1.70   $        150.00 $          255.00
                                                                          correspondence regarding same [1]; worked on document review [.1].
1939
1940   11/07/12   Marshall     0.20   $        375.00 $           75.00 Worked on response to motion to continue [.2].
                                                                        Team meeting re case strategy/status (.75); Review/edit reply re motion for relief from
       11/07/12   Zuchetto     1.75   $        330.00 $          577.50
1941                                                                    discovery deadline (1.0).
                                                                        Edit opposition to motion for relief from discovery deadline; update agenda; participate
       11/07/12    Fisher      1.80   $        330.00 $          594.00
1942                                                                    in team call;
                                                                        Prepare for and chair team meeting on litigation strategy; coordinate on finalization of
       11/07/12   Williams     1.50   $        580.00 $          870.00
1943                                                                    opposition to Cities' motion to extend discovery cutoff;
1944   11/08/12   Boschen      5.50   $        150.00 $          825.00 Continued document review [5.5].
                                                                        Review proposal re contact w/ Mountain Law current client (.25); E‐mail team re same
       11/08/12   Zuchetto     0.50   $        330.00 $          165.00
1945                                                                    (.25).
1946   11/08/12    Fisher      0.40   $        330.00 $          132.00 Draft letter to J. Murphy regarding production;
1947   11/09/12   Boschen      2.30   $        150.00 $          345.00 Continued work on document review [2.3].
                                                                        Reviewed order compelling documents from Mountain Law and analyzed issues
       11/09/12   Marshall     0.20   $        375.00 $           75.00
1948                                                                    regarding same [.2].
1949   11/09/12   Zuchetto     0.25   $        330.00 $           82.50 Review/analyze def. reply re motion to continue discovery deadline.
       11/09/12    Fisher      0.90   $        330.00 $          297.00 Edit and send letter to J. Murphy regarding production of non‐privileged documents;
1950
                                                                          Worked on discovery and witness issues [.1]; telephone conference with co‐counsel
       11/12/12   Marshall     0.20   $        375.00 $           75.00
1951                                                                      regarding same [.1].


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 1                KEEPER
       11/12/12   Zuchetto     0.75   $        330.00 $          247.50 Review Court’s order re Mountain Law motion (.25); discuss same w/ co‐counsel (.5).
1952
                                                                      Review court order compelling Mountain Law's production of documents in response to
       11/12/12   Williams     6.00   $        580.00 $      3,480.00 subpoena; continue review of E. Stendal deposition transcript and identification of trial
                                                                      testimony; continue creating timeline of key events and documents;
1953
1954   11/13/12   Boschen      5.90   $        150.00 $          885.00 Continued document review [5.9].
                                                                        Analyzed issues regarding class counsel's ability to communicate with clients who are
                                                                        currently represented by public defense attorneys in Mount Vernon and Burlington and
       11/13/12   Marshall     0.50   $        375.00 $          187.50
                                                                        email correspondence with co‐counsel regarding same [.3]; analyzed issues regarding
                                                                        injunctive relief and standards for showing mootness [.2].
1955
                                                                          Read team emails; draft and send team agenda for tomorrow's meeting; draft letter to
       11/13/12    Fisher      1.10   $        330.00 $          363.00
1956                                                                      A. Cooley rescheduling P. Hayden's deposition;
       11/14/12   Boschen      3.00   $        150.00 $          450.00 Continued document review [2.6]; prepared transcripts for deposition notebooks [.4];
1957
                                                                      Prepared for and participated in weekly conference call with co‐counsel regarding
       11/14/12   Marshall     1.00   $        375.00 $        375.00 various case strategy, expert, and discovery issues [.9]; telephone conference with co‐
1958                                                                  counsel regarding same [.1].
1959   11/14/12   Zuchetto     1.00   $        330.00 $        330.00 team meeting re litigation strategy and case status.
                                                                      Update and send agenda; participate in team meeting; draft letter to A. Cooley
       11/14/12    Fisher      1.20   $        330.00 $        396.00
1960                                                                  regarding P. Hayden as an untimely disclosure;
                                                                      Prepare for team conference call; chair conference call with litigation team on strategy;
       11/14/12   Williams     2.00   $        580.00 $      1,160.00 review and edit letter to attorney for Cities advising that expert Hayden should be
1961                                                                  excluded because of untimely disclosure;
1962   11/15/12   Marshall     0.20   $        375.00 $         75.00 Analyzed issues regarding late disclosure of expert testimony [.2].
1963   11/15/12    Fisher      0.30   $        330.00 $         99.00 Edit and send A. Cooley letter regarding P. Hayden;
1964   11/16/12   Zuchetto     0.30   $        330.00 $         99.00 review/edit letter to defense counsel re expert.
                                                                      Draft letter to B. Authenthaler regarding P. Hayden as untimely disclosure; read
       11/16/12    Fisher      2.50   $        330.00 $        825.00
1965                                                                  depositions and work on case overview;
1966   11/19/12   Marshall     0.90   $        375.00 $        337.50 Worked on trial witness and discovery issues [.9].
                                                                      Review recordings from court (.75); Discuss same w/ co‐counsel (.25); Review/edit
       11/19/12   Zuchetto     1.50   $        330.00 $        495.00
1967                                                                  letter to def. counsel re expert disclosures (.5).



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 1                KEEPER
       11/19/12    Dunne       0.20   $        380.00 $           76.00 Email correspondence with co‐counsel re discovery and experts and case strategy
1968
1969   11/19/12    Roos        0.10   $        465.00 $         46.50 Review and comment on letter regarding expert depositions;
                                                                      Edit letter regarding P. Hayden; read response from B. Augenthaler; discuss conflict
       11/19/12    Fisher      1.60   $        330.00 $        528.00 counsel issue with N. Talner; listen to audio recordings of Burlington and Mount Vernon
1970                                                                  court hearings;
                                                                      Review and approve letters to and from counsel for Cities on expert Hayden's untimely
       11/19/12   Williams     1.40   $        580.00 $        812.00 disclosure and objections to same; continue review of E. Stendal deposition to identify
1971                                                                  testimony and exhibits;
1972   11/20/12   Boschen      0.20   $        150.00 $         30.00 Worked on production issues and correspondence regarding same [.2].
1973   11/20/12   Marshall     1.00   $        375.00 $        375.00 Worked on discovery and factual background research issues [1.0].
1974   11/20/12    Dunne       0.50   $        380.00 $        190.00 Meeting with N. Talner re expert witnesses
                                                                      Meet with Sarah to discuss expert witnesses; research re evidence needed for
       11/20/12    Talner      2.50   $        400.00 $      1,000.00
1975                                                                  permanent injunction order
                                                                      Research expert disclosure issue regarding P. Hayden; draft and send agenda; work on
       11/20/12    Fisher      1.50   $        330.00 $        495.00
1976                                                                  case overview;
       11/20/12   Williams     1.50   $        580.00 $          870.00 Continue selection of potential testimony for trial and creation of trial timeline;
1977
1978   11/21/12   Boschen      0.90   $        150.00 $        135.00 Case status conference call [.9].
1979   11/21/12   Marshall     0.90   $        375.00 $        337.50 Prepared for and participated in weekly conference call with co‐counsel [.9].
1980   11/21/12   Zuchetto     1.00   $        330.00 $        330.00 Team meeting re case strategy/status.
                                                                      Conference call with co‐counsel to discuss case strategy re discovery and expert
       11/21/12    Talner      1.80   $        400.00 $        720.00 witnesses, continue reviewing deposition transcripts and preparing outline of evidence
1981                                                                  relevant to expert witnesses
                                                                      Edit agenda; participate in weekly team meeting; edit and send letter regarding P.
       11/21/12    Fisher      6.00   $        330.00 $      1,980.00 Hayden's and J. Ladenburg's depositions; research expert disclosure issue; review M.
1982                                                                  Witt's production
                                                                         Prepare for and chair weekly litigation team conference call; continue creating timeline
       11/21/12   Williams     3.50   $        580.00 $      2,030.00
                                                                         of key events and documents; continue identifying Stendal trial testimony and exhibits;
1983
                                                                        Review deposition transcripts and documents from supplemental production and
       11/23/12    Talner      3.50   $        400.00 $      1,400.00
1984                                                                    continue outline of evidence relevant to expert witnesses
                                                                        Worked on discovery and expert issues and email correspondence with co‐counsel
       11/26/12   Marshall     0.40   $        375.00 $          150.00
1985                                                                    regarding same [.4].


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  1               KEEPER
1986   11/26/12   Dunne        0.10   $        380.00 $           38.00 Email correspondence with co‐counsel re discovery issues
                                                                      Review letter from A. Cooley on plaintiffs' depositions exceeding ten allowed by federal
                                                                      rules and coordinate with C. Fisher on response; continue selection of Stendal trial
       11/26/12   Williams     5.50   $        580.00 $      3,190.00
                                                                      testimony and exhibits; coordinate with ACLU on J. Strait writings; begin review of
                                                                      Feldman declarations and reports for expert deposition;
1987
                                                                          Correspondence regarding experts and production [.2]; continued document review
       11/27/12   Boschen      1.30   $        150.00 $          195.00
1988                                                                      [1.1].
                                                                          Worked on witness disclosure issuse [.1]; worked on discovery and expert issues and
       11/27/12   Marshall     0.30   $        375.00 $          112.50
1989                                                                      email correspondence with co‐counsel regarding same [.2].
                                                                          Draft memo regarding 10‐deposition limit; discuss saving files to DMS with C. Kness;
       11/27/12    Fisher      1.20   $        330.00 $          396.00
1990                                                                      discuss M. Witt production with J. Higa;
                                                                          Review order from court denying Cities' request to extend discovery deadline and
       11/27/12   Williams     0.40   $        580.00 $          232.00
1991                                                                      discuss implication with team;
                                                                          Case status conference call [.6]; updated production log [.1]; correspondence regarding
                                                                          experts and production issues [.2]; reviewed deposition testimony for potential
       11/28/12   Boschen      4.90   $        150.00 $          735.00
                                                                          witnesses and commenced drafting third supplemental witness disclosures [3.7];
1992                                                                      continued document review [.3].
                                                                          Worked on witness issues [.1]; analyzed issues regarding deposition strategy and
       11/28/12   Marshall     0.30   $        375.00 $          112.50
1993                                                                      experts [.2].
                                                                          Team meeting re case status/strategy (.75); Discuss expert depositions w/ co‐counsel
       11/28/12   Zuchetto     1.20   $        330.00 $          396.00
1994                                                                      (.25); Prepare e‐mail to co‐counsel re evidentiary issue (.2).
1995   11/28/12    Dunne       0.70   $        380.00 $          266.00   Conference call with co‐counsel re case strategy and discovery
                                                                          Conference call with co‐counsel to discuss case strategy re discovery and expert
       11/28/12    Talner      1.40   $        400.00 $          560.00
1996                                                                      witnesses, compile documents for expert witness to review
1997   11/28/12    Roos        1.10   $        465.00 $          511.50   Telephone conference with team regarding ongoing discovery;
                                                                          Worked on reviewing depositions and production for supplemental witness disclosures
       11/29/12   Boschen      5.70   $        150.00 $          855.00
1998                                                                      and correspondence regarding same [5.7].
                                                                          Worked on discovery issues and email correspondence with opposing counsel regarding
       11/29/12   Marshall     0.20   $        375.00 $           75.00
1999                                                                      same [.2].
2000   11/30/12   Boschen      4.30   $        150.00 $          645.00   Continued document review [4.3].
2001   11/30/12   Zuchetto     0.20   $        330.00 $           66.00   E‐mail team re Feldman dep.
2002   11/30/12    Fisher      0.90   $        330.00 $          297.00   Read J. Aarstads deposition and create summary and expected testimony;



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 1                KEEPER
       12/03/12   Marshall      0.60   $        375.00 $          225.00 Telephone conference with co‐counsel regarding discovery and case strategy issues [.6].
2003
2004   12/03/12   Zuchetto      0.20   $        330.00 $         66.00 Discuss witness depositions w/ co‐counsel.
                                                                       Read and take notes from J.Aarstad's deposition; work on case overview; read and reply
       12/03/12    Fisher       2.70   $        330.00 $        891.00
2005                                                                   to team emails;
                                                                       Correspondence regarding document production [.1]; continued document review [6.7];
       12/04/12   Boschen       7.30   $        150.00 $      1,095.00 drafted letter and prepared mailing to indigent defendant [.4]; worked on production
2006                                                                   issues [.1].
                                                                       Analyzed issues regarding experts, factual background, and depositions and email
       12/04/12   Marshall      0.50   $        375.00 $        187.50
2007                                                                   correspondence with co‐counsel regarding same [.5].
                                                                       E‐mail team re Feldman’s deposition (.5); Discuss same w/ co‐counsel (.25); Discuss
                                                                       evidentiary issue w/ co‐counsel (.2); Review docs/research re same (.5); Call back CM re
       12/04/12   Zuchetto      1.95   $        330.00 $        643.50
                                                                       status update (.25); Work on expert supplement re supplement discovery and e‐mail co‐
2008                                                                   counsel re same (.25).
2009   12/04/12    Dunne        0.50   $        380.00 $        190.00 Conference call with co‐counsel re case strategy, experts, and discovery
                                                                       Read L. Alvarez's deposition and draft summary of deposition and expected testimony;
       12/04/12    Fisher       1.50   $        330.00 $        495.00 draft and send agenda for weekly meeting; read S. Svaren's deposition and create
2010                                                                   summary of deposition and expected testimony;
                                                                       Continued document review [5.8]; case status conference call and personal conference
       12/05/12   Boschen       7.00   $        150.00 $      1,050.00 regarding same [1.o]; correspondence regarding witness disclosures [.1];
2011                                                                   correspondence regarding production [.1].
                                                                         Prepared for and participated in weekly call with co‐counsel and analyzed issues
       12/05/12   Marshall      1.50   $        375.00 $          562.50 regarding experts and discovery [1.0]; worked on witness disclosure and discovery
                                                                         issues and email correspondence with co‐counsel regarding same [.5].
2012
2013   12/05/12   Zuchetto      1.00   $        330.00 $          330.00 Team meeting re litigation strategy/status.
2014   12/05/12    Dunne        0.40   $        380.00 $          152.00 Conference call with J. Strait re his health and expert declaration
2015   12/05/12     Roos        1.10   $        465.00 $          511.50 Telephone conference with team regarding ongoing discovery;
                                                                         Read and summarize S. Skelton's deposition; participate in team call; discuss expert
                                                                         documents and M. Witt's production with N. Talner and the possiblity of asking M. Witt
       12/05/12    Fisher       1.80   $        330.00 $          594.00
                                                                         whether he produced everything or if documents, such as plea statements, are missing;
2016                                                                     compose index of M. Witt's case files;
                                                                         Continued document review [3.2]; worked on document production and
       12/06/12   Boschen       4.10   $        150.00 $          615.00
2017                                                                     correspondence regarding same [.9].


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 1                KEEPER
                                                                       Telephone call from co‐counsel regarding case strategy issues, experts, and depositions
       12/06/12   Marshall      0.70   $        375.00 $          262.50
2018                                                                   [.5]; worked on same [.2].
                                                                       Conference call with J. Williams and C. Fisher re case; email correspondence with co‐
       12/06/12    Dunne        0.30   $        380.00 $        114.00
2019                                                                   counsel re depositions
2020   12/06/12    Roos         0.20   $        465.00 $         93.00 Review and comment regarding letter addressing expert depositions;
2021   12/06/12   Williams      2.50   $        580.00 $      1,450.00 Continue creating expert witness deposition outline for James A. Feldman;
                                                                       Discuss P. Hayden, J. Ladenburg, and D. Svaren's depositions with J. Williams; T.
       12/06/12    Fisher       3.40   $        330.00 $      1,122.00 Marshall and S. Dunne; draft letter to J. Murphy regarding case files and calendar
                                                                       meetings; draft letter to A. Cooley regarding depositions; review discovery issues;
2022
                                                                           Telephone conference with potential witness [.3]; continued work on document review
       12/07/12   Boschen       6.20   $        150.00 $          930.00
                                                                           [4.6]; worked on production issues and correspondence regarding same [1.3].
2023
       12/07/12   Marshall      1.00   $        375.00 $          375.00 Telephone conference with co‐counsel regarding factual background issues [1.0].
2024
2025   12/07/12   Zuchetto      2.00   $        330.00 $          660.00 Review expert docs. re Chris Jackson (1.5); Discuss same w/ co‐counsel (.5).
                                                                         Teleconference with co‐counsel to discuss expert witness, emails to co‐counsel re
       12/07/12    Talner       1.20   $        400.00 $          480.00
2026                                                                     discovery issues
                                                                           Coordinate with C. Fisher on correspondence to A. Cooley regarding expert depositions;
       12/07/12   Williams      4.00   $        580.00 $      2,320.00
                                                                           continue developing outline of expert deposition examination for James A. Feldman;
2027
                                                                           Edit letter to A. Cooley regarding depositions; edit letter to J. Murphy regarding M.
       12/07/12    Fisher       0.50   $        330.00 $          165.00   Witt's case files and calendars; read team emails regarding discovery and documents to
2028                                                                       be sent to experts;
                                                                           Worked on discovery, expert, and witness issues and email correspondence with co‐
       12/10/12   Marshall      0.40   $        375.00 $          150.00
2029                                                                       counsel regarding same [.4].
2030   12/10/12   Zuchetto      0.50   $        330.00 $          165.00   Respond to inquiry re co‐counsel.
2031   12/10/12    Talner       0.90   $        400.00 $          360.00   Review documents newly produced by Mountain Law
                                                                       Meet with C. Fisher on scheduling of expert depositions; conference calls with T.
                                                                       Marshall and S. Dunne on expert witness depositions; coordinate with C. Fisher on
       12/10/12   Williams      4.00   $        580.00 $      2,320.00 letter to counsel for Cities on expert depositions; continue review of Feldman records in
                                                                       anticipation of Feldman deposition; review prior declarations of Strait, Jackson, and
                                                                       Boerner in preparation for Feldman deposition;
2032


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 1                KEEPER
                                                                         Worked on production issues and correspondence regarding same [.4]; continued
       12/11/12   Boschen       3.40   $        150.00 $          510.00
2033                                                                     document review [3].
                                                                         Reviewed recent productions by Cities and Mountain Law and analyzed issues regarding
       12/11/12   Marshall      1.40   $        375.00 $          525.00 same [.8]; worked on expert issues and email correspondence with co‐counsel regarding
2034                                                                     same [.6].
2035   12/11/12   Dunne         0.20   $        380.00 $           76.00 Review and revise witness disclosure list
                                                                           Teleconference with expert witness to discuss discovery documents, emails with co‐
       12/11/12    Talner       1.30   $        400.00 $          520.00
                                                                           counsel re reviewing newly produced documents from Mountain Law
2036
       12/11/12   Williams      1.50   $        580.00 $          870.00 Continue creating expert witness examination outline for James Feldman deposition;
2037
                                                                         Case status conference call [.5]; continued work on document review [2.1]; worked on
       12/12/12   Boschen       4.00   $        150.00 $          600.00 witness disclosures [1]; correspondence with Mr. Gipe regarding production [.1];
2038                                                                     worked on production issues [.3].
                                                                         Prepared for and participated in weekly conference call with co‐counsel [.6]; worked on
       12/12/12   Marshall      0.70   $        375.00 $          262.50
2039                                                                     discovery issues [.1].
2040   12/12/12    Roos         0.60   $        465.00 $          279.00 Telephone conference with team regarding discovery issues;
2041   12/12/12   Williams      0.80   $        580.00 $          464.00 Preparation for and chair litigation team conference call;
                                                                         Continued work on document review [.5]; worked on witness disclosures [.7];
       12/13/12   Boschen       1.30   $        150.00 $          195.00
2042                                                                     correspondence with all counsel regarding same [.1];
2043   12/13/12   Marshall      0.30   $        375.00 $          112.50 Worked on witness disclosure issues [.3].
       12/13/12   Williams      1.50   $        580.00 $          870.00 Prepare outline and organize exhibits for expert witness deposition of James Feldman;
2044
                                                                           Continued work on document review [3.2]; telephone conference with Mr. Gipe
       12/14/12   Boschen       3.80   $        150.00 $          570.00
                                                                           regarding production issues [.2]; drafted and finalized letter regarding same [.4].
2045
2046   12/14/12   Williams      6.50   $        580.00 $      3,770.00 Prepare for and take expert deposition of James Feldman;
                                                                       Call W. Honea to tell him that we are cancelling D. Svaren's deposition; write and send
       12/17/12    Fisher       0.90   $        330.00 $        297.00 follow‐up letter to W. Honea regarding cancelling deposition; discuss depositions with
2047                                                                   M. Walsh;
                                                                       Continued document review [10.3]; worked on production issues and correspondence
       12/18/12   Boschen      11.10   $        150.00 $      1,665.00
2048                                                                   regarding same [.8];
2049   12/18/12    Fisher       0.90                   $             ‐ Sort out discovery document issues; draft and send meeting agenda;



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 1                KEEPER
                                                                           Continued document review [6.2]; correspondence regarding witness disclosures and
       12/19/12   Boschen       6.90   $        150.00 $      1,035.00
2050                                                                       production issues [.2]; case status conference call [.5];
2051   12/19/12   Zuchetto      1.25   $        330.00 $          412.50   Team call re strategy/status (1.0); E‐mail co‐counsel re same (.25).
                                                                           Prepare for and preside over litigation team conference call on strategy; review and
       12/19/12   Williams      0.80   $        580.00 $          464.00
2052                                                                       approve letter to attorney for Cities on expert witness report;
                                                                           Participate in team call; draft letter to A. Cooley regarding C. Jackson's supplemental
       12/19/12    Fisher       1.40   $        330.00 $          462.00
2053                                                                       expert report; gather information for J. Ladenburg's subpoena;
2054   12/19/12    Roos         0.60   $        465.00 $          279.00   Telephone conference with team regarding discovery issues;
                                                                           Continued document review [2]; worked on production issues and correspondence and
       12/20/12   Boschen       5.60   $        150.00 $          840.00
2055                                                                       personal conference regarding same [3.6].
2056   12/20/12   Marshall      0.30   $        375.00 $          112.50   Worked on discovery and expert issues [.3].
                                                                           Coordinate subpoena, notice of deposition, and letter to A. Cooley regarding C.
       12/20/12    Fisher       0.90   $        330.00 $          297.00   Jackson's supplemental report; edit subpoena and notice of depositions; read email
2057                                                                       from A. Gipe about production issues;
2058   12/21/12   Boschen       2.10   $        150.00 $          315.00   Continued document review [2.1].
2059   12/21/12   Marshall      0.80   $        375.00 $          300.00   Worked on discovery and case strategy issues [.8].
                                                                           Review new contract re pd services (1.0); Discuss same w/ co‐counsel (.25); Review
       12/21/12   Zuchetto      2.00   $        330.00 $          660.00
2060                                                                       supplemental discovery (.75).
2061   12/21/12   Williams      0.30   $        580.00 $          174.00   Review letter from counsel for Cities on expert discovery issues;
                                                                           Read letter from A. Cooley regarding C. Jackson's supplemental expert report; read N.
       12/21/12    Fisher       0.20   $        330.00 $           66.00   Talner's email regarding court files; send email to team regarding supplemental expert
2062                                                                       report position;
                                                                           Drafted, finalized, emailed, mailed and messengered subpoena and notice of deposition
       12/26/12   Boschen       9.20   $        150.00 $      1,380.00
2063                                                                       regarding Pat Hayden [.5]; continued document review [8.7].
                                                                           Researched and analyzed issues regarding expert disclosures and factual background
       12/26/12   Marshall      0.70   $        375.00 $          262.50   issues and telephone conference and email correspondence with co‐counsel regarding
2064                                                                       same [.7].
                                                                           Review def. counsel correspondence re complaint system, e‐mail team and discuss
       12/26/12   Zuchetto      1.50   $        330.00 $          495.00
2065                                                                       same w/ co‐counsel.
                                                                           Continued document review [5.9]; worked on production issues and correspondence
       12/27/12   Boschen       6.40   $        150.00 $          960.00
2066                                                                       regarding same [.5].
2067   12/27/12    Dunne        0.30   $        380.00 $          114.00   Conference call with J. Strait re his health and supplemental expert report
                                                                           Drafted and finalized public disclosure requests to municipal courts [.2]; continued work
       12/28/12   Boschen       5.60   $        150.00 $          840.00
2068                                                                       on document review [5.4].


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 1                KEEPER
                                                                           Worked on discovery issues and analysis of court files needed for deposition of
       12/28/12   Marshall      0.60   $        375.00 $          225.00
                                                                           Mountain Law [.5]; email correspondence with co‐counsel regarding same [.1].
2069
                                                                       Discuss discovery issues with Sarah Dunne, discuss documents reviewed and documents
       12/28/12    Talner       2.60   $        400.00 $      1,040.00 needed with expert witness, review Mountain Law attorney files and draft list of court
2070                                                                   files needed
       12/31/12    Dunne        0.10   $        380.00 $           38.00 Email correspondence from attorney witness who now represents former client of Witt
2071
                                                                           Case status conference call [.8]; correspondence regarding public records requests [.1];
       01/02/13   Boschen       1.10   $        150.00 $          165.00
                                                                           worked on production issues and correspondence regarding same [.2];
2072
                                                                         Prepared for and participated in weekly strategy call with co‐counsel [.9]; worked on
                                                                         outline for deposition of Mountain Law and reviewed documents in preparation for
       01/02/13   Marshall      1.10   $        375.00 $          412.50
                                                                         same [.1]; email correspondence with co‐counsel regarding factual background issues
2073                                                                     related to Mountain Law [.1].
                                                                           Conference call with co‐counsel to discuss case strategy; research Mountain law
       01/02/13    Talner       1.50   $        400.00 $          600.00
                                                                           attorneys, continue outline of points to cover in Mountain Law deposition
2074
                                                                           Worked on deposition preparation; personal conferences and correspondence
       01/03/13   Boschen       4.50   $        150.00 $          675.00
2075                                                                       regarding same; worked on document review.
                                                                           Email correspondence with co‐counsel regarding case strategy issues [.2]; prepared for
       01/03/13   Marshall      1.90   $        375.00 $          712.50   deposition of Mountain Law, worked on outline for same, and reviewed documents for
2076                                                                       same [1.7].
2077   01/03/13    Fisher       0.10   $        330.00 $           33.00   Discuss deposition schedule with J. Boschen;
2078   01/04/13   Boschen       5.90   $        150.00 $          885.00   Continued document review and deposition preparation [5.9].
2079   01/04/13   Marshall      0.20   $        375.00 $           75.00   Worked on preparations for deposition of Mountain Law [.2].
                                                                           Review draft letter to opposing counsel re supplementing expert reports; finish outline
       01/04/13    Talner       1.50   $        400.00 $          600.00
2080                                                                       of questions for Mountain Law deposition
                                                                           Worked on document review and deposition preparation for Hayden and Laws
       01/07/13   Boschen       8.20   $        150.00 $      1,230.00
2081                                                                       depositions [8.2].
                                                                           Worked on preparation for mountain law deposition and telephone conference and
       01/07/13   Marshall      2.00   $        375.00 $          750.00
2082                                                                       email correspondence with co‐counsel regarding same [2.0].
                                                                           Discuss 30b6 dep. prep./case strategy w/ co‐counsel (.75); Review e‐mails re pd
       01/07/13   Zuchetto      1.00   $        330.00 $          330.00
2083                                                                       performance (.25).


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 1                KEEPER
                                                                       Teleconference with co‐counsel and research documents to prepare for Mountain Law
       01/07/13    Talner       3.50   $        400.00 $      1,400.00 deposition;review court files and summarize for Mountain Law deposition; research
2084                                                                   potential additional witnesses
                                                                       Continued document review and deposition preparation [4.1]; downloaded and filed
       01/08/13   Boschen       4.20   $        150.00 $        630.00
2085                                                                   expert production[.1].
2086   01/08/13   Marshall      5.80   $        375.00 $      2,175.00 Worked on preparations for deposition of Mountain Law [5.8].
       01/08/13   Zuchetto      1.25   $        330.00 $          412.50 Discuss 30b6 depo. w/ co‐counsel re preparation for same (.5); Research re same (.75).
2087
                                                                       Email expert witness about cities' request to take her deposition; review newly provided
       01/08/13    Talner       2.50   $        400.00 $      1,000.00 full case files from Mountain Law and newly provided court files; emails with co‐counsel
                                                                       to prepare for Mountain Law and expert depositions
2088
                                                                           Exchange emails with litigation team on setting Chris Jackson deposition; coordinate
       01/08/13   Williams      0.60   $        580.00 $          348.00
                                                                           with Chris Jackson and N. Talner on deposition preparation for Chris Jackson;
2089
2090   01/09/13   Haynes        9.10   $        190.00 $      1,729.00 Performed interviews at Skagit County Jail [9.1].
                                                                       Continued document review and deposition preparation[7.5]; case status conference
       01/09/13   Boschen       7.90   $        150.00 $      1,185.00
2091                                                                   call [.4].
                                                                           Worked on preparation for deposition of Mountain Law and reviewed documents for
       01/09/13   Marshall      7.90   $        375.00 $      2,962.50
                                                                           same [7.5]; weekly telephone conference with co‐counsel [.4].
2092
                                                                       Litigation/strategy call (1.0); Review/analyze recent SCOTUS case re
                                                                       mootness/voluntary cessation and e‐mail co‐counsel re same (.5); Review/edit dep.
       01/09/13   Zuchetto      2.50   $        330.00 $        825.00
                                                                       outline re Mountain Law (.75); Review Burlington ordinance and e‐mail co‐counsel re
2093                                                                   same (.25).
2094   01/09/13    Talner       3.60   $        400.00 $      1,440.00 Interview potential witnesses
                                                                       Telephone conference with team regarding discovery issues; review documents for Rule
       01/09/13    Roos         2.10   $        465.00 $        976.50
2095                                                                   30(b)(6) deposition of Burlington;
                                                                       Review correspondence on discovery from opposing counsel; review email from M.
                                                                       Zuchetto on new U.S. Supreme Court mootness case; prepare for and chair litigation
       01/09/13   Williams      4.50   $        580.00 $      2,610.00
                                                                       team conference call on strategy and depositions; begin creating Mt. Vernon 30(b)(6)
                                                                       deposition outline; meet with team to discuss set up of 30(b)(6) documents for review;
2096
2097   01/10/13   Haynes        0.30   $        190.00 $           57.00 Email correspondence regarding jail visit [.3].


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 1                KEEPER
                                                                       Correspondence regarding witness interviews [.1]; worked on production and clawback
       01/10/13   Boschen       2.90   $        150.00 $        435.00 issues and personal conferences and correspondence regarding same [1.1]; continued
2098                                                                   preparation for Hayden deposition [1.7].
                                                                       Prepared for, traveled to, took, and returned from deposition of Mountain Law [10.6];
       01/10/13   Marshall     11.30   $        375.00 $      4,237.50
2099                                                                   analyzed issues regarding same [.7].
2100   01/10/13   Zuchetto      1.00   $        330.00 $        330.00 Review/analyze co‐counsel notes re jail visits and e‐mail re same.
       01/10/13    Talner       1.20   $        400.00 $          480.00 Emails with co‐counsel re expert witness subpoena, summarize witness interviews
2101
                                                                       Prepare for Rule 30(b)(6) deposition of Burlington, including review of documents
       01/10/13    Roos         2.80   $        465.00 $      1,302.00
2102                                                                   relating to same;
2103   01/10/13    Fisher       0.30   $        330.00 $         99.00 Review emails and rules regarding objections to C. Jackson's subpoena;
                                                                       Continue drafting outline for Mt. Vernon 30(b)(6) deposition; exchange emails with
       01/10/13   Williams      2.50   $        580.00 $      1,450.00
2104                                                                   paralegal on assembling documents;
                                                                       Analyzed issues regarding Mountain Law deposition and drafted memorandum to co‐
                                                                       counsel regarding same [.8]; analyzed issues regarding ordering of expedited transcript
                                                                       and email correspondence with court reporter regarding same [.1]; email
       01/11/13   Marshall      2.80   $        375.00 $      1,050.00 correspondence with opposing counsel regarding counsel's alleged production of work
                                                                       product [.1]; telephone call from co‐counsel regarding supplementation of expert report
                                                                       [.3]; analyzed issues regarding same [.3]; worked on outline for deposition of Mount
                                                                       Vernon [1.2].
2105
2106   01/11/13   Zuchetto      0.50   $        330.00 $          165.00 Review co‐counsel summary re Mountain Law deposition.
                                                                         Prepare for Rule 30(b)(6) deposition of Burlington, including review of documents and
       01/11/13    Roos         2.10   $        465.00 $          976.50
2107                                                                     drafting outline;
                                                                       Review summary of Mountain Law deposition; review correspondence from attorney
       01/11/13   Williams      3.50   $        580.00 $      2,030.00 for Cities on claw back of privileged materials; continue drafting outline for 30(b)(6)
                                                                       deposition of Mt. Vernon and coordinate same with T. Marshall and B. Roos;
2108
                                                                       Analyzed issues regarding recent jail interviews and email correspondence with co‐
       01/12/13   Marshall      0.10   $        375.00 $           37.50
2109                                                                   counsel regarding same [.1].
2110   01/13/13    Roos         2.10   $        465.00 $        976.50 Review documents for Rule 30(b)(6) deposition;
                                                                       Continue drafting outline of questions and selection of exhibits for Mt. Vernon 30(b)(6)
       01/13/13   Williams      2.00   $        580.00 $      1,160.00
2111                                                                   deposition;



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 1                KEEPER
                                                                         Worked on SDT to Mr. Powers, investigator for Mountain Law, and analyzed issues
                                                                         regarding same [.3]; researched and analyzed issues regarding Mr. Hayden in
                                                                         preparation for deposition [.2]; reviewed documents and worked on outline for same
       01/14/13   Marshall      1.10   $        375.00 $          412.50
                                                                         [.1]; worked on preparations for Mount Vernon 30(b)(6) deposition and email
                                                                         correspondence with co‐counsel regarding same [.4]; email to opposing counsel
                                                                         regarding issue with inadvertently disclosed document [.1].
2112
                                                                           Discuss Hayden dep. w/ co‐counsel (.25); Review e‐mails/outline re Mt. Vernon
       01/14/13   Zuchetto      0.55   $        330.00 $          181.50
2113                                                                       deposition (.3).
2114   01/14/13    Dunne        0.10   $        380.00 $           38.00   Correspondence with co‐counsel re expert witness subpoena
                                                                           Continue to identify exhibits and draft questions for Mt. Vernon 30(b)(6) deposition
       01/14/13   Williams      3.50   $        580.00 $      2,030.00
2115                                                                       outline;
                                                                           Prepare for Rule 30(b)(6) deposition of Burlington, including review of documents and
       01/14/13    Roos         3.10   $        465.00 $      1,441.50
2116                                                                       drafting outline;
                                                                           Researched waiver of the attorney‐client privilege where attorney plans to testify at
       01/15/13   Nusser        1.50   $        225.00 $          337.50
2117                                                                       trial [1.5].

                                                                       Worked on SDT to Mr. Powers, who provides investigative services to Mountain Law
                                                                       [.2]; worked on SDT to Mountain Law for case reports [.2]; worked on PRA request to
                                                                       Everett for complaints against Baker Lewis attorneys [.1]; reviewed documents in
                                                                       preparation for deposition of Mr. Hayden and worked on outline for same [3.5]; worked
       01/15/13   Marshall      4.90   $        375.00 $      1,837.50 on outline for deposition of Burlington and email correspondence with co‐counsel
                                                                       regarding same [.3]; telephone conference with co‐counsel regarding opposing
                                                                       counsel's use of script with witness at deposition and researched and analyzed issues
                                                                       regarding same [.4]; analyzed issues regarding inadvertently disclosed document and
                                                                       email correspondence with opposing counsel regarding same [.2].
2118
                                                                       Review summary re Mt. Vernon deposition (.25); Discuss Mt. B. dep. w/ co‐counsel
       01/15/13   Zuchetto      1.25   $        330.00 $        412.50 (.25); Research re dep. witness (.5); Research re privilege and e‐mail co‐counsel re same
2119                                                                   (.25).
                                                                       Prepare for deposition of Burlington, including drafting outline regarding same; conduct
       01/15/13    Roos         4.90   $        465.00 $      2,278.50
2120                                                                   legal research regarding use of script at deposition;




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        DATE                  HOURS        RATE            SUBTOTAL                                        DESCRIPTION OF WORK
 1                KEEPER
                                                                       Prepare for, travel to, and take 30(b)(6) deposition of City of Mt. Vernon in Mt. Vernon;
       01/15/13   Williams      9.50   $        580.00 $      5,510.00 draft summary of key points from deposition; review with B. Roos and C. Fisher strategy
                                                                       for addressing use of script at 30(b)(6) deposition;
2121
                                                                           Researched waiver of the attorney‐client privilege where attorney plans to testify at
       01/16/13   Nusser        3.00   $        225.00 $          675.00
2122                                                                       trial [3]
                                                                       Reviewed documents in preparation for deposition of Mr. Hayden and worked on
                                                                       outline of same [7.2]; prepared for and participated in weekly conference call with co‐
       01/16/13   Marshall      8.20   $        375.00 $      3,075.00
                                                                       counsel [.9]; reviewed memorandum regarding waiver of attorney‐client privilege and
                                                                       work product for attorneys identified as witnesses for trial [.1].
2123
                                                                           Team call re litigation strategy (.9); Review e‐mail from co‐counsel re potential witness
       01/16/13   Zuchetto      1.40   $        330.00 $          462.00
2124                                                                       (.5).
                                                                           Attend and take deposition of Burlington in Mount Vernon, Washington; prepare for
       01/16/13    Roos        10.20   $        465.00 $      4,743.00     same; conferences with C. Fisher and J. Williams regarding same; draft summary of
2125                                                                       same;
2126   01/16/13    Fisher       9.00   $        330.00 $      2,970.00     Attend deposition of B. Harrison on behalf of Burlington;
                                                                           Prepared for, traveled to, took, and returned from deposition of Mr. Hayden [7.9];
       01/17/13   Marshall      8.90   $        375.00 $      3,337.50     telephone conference with co‐counsel regarding same [.2]; drafted memorandum to co‐
2127                                                                       counsel regarding same [.8].
                                                                           Review/analyze 30b6 dep. summary (.5); Review/analyze Hayden dep. summary and
       01/17/13   Zuchetto      3.00   $        330.00 $          990.00   discuss same w/ co‐counsel (.75); Review/summarize current cm issues and e‐mail team
2128                                                                       re same (1.75).
                                                                           additional preparation re addition to witness list, teleconference with expert witness re
       01/17/13    Talner       0.90   $        400.00 $          360.00
2129                                                                       responding to deposition subpoena
                                                                           Review email from B. Roos and T. Marshall on deposition results; conference call with
       01/17/13   Williams      1.50   $        580.00 $          870.00
2130                                                                       ACLU on Chris Jackson production of documents;
2131   01/18/13   Marshall      0.30   $        375.00 $          112.50   Worked on discovery and case strategy issues [.3].
                                                                           Emails with co‐counsel and teleconference with expert witness re responding to
       01/18/13    Talner       0.40   $        400.00 $          160.00
2132                                                                       deposition subpoena
                                                                           Reviewed transcript from Mountain Law deposition and worked on expert issues in
       01/20/13   Marshall      3.50   $        375.00 $      1,312.50
2133                                                                       relation to same.




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 1                KEEPER
                                                                           Reviewed transcript from Mountain Law deposition and email correspondence with Ms.
       01/21/13   Marshall      1.20   $        375.00 $          450.00
                                                                           Jackson and co‐counsel regarding same and expert issues.
2134
                                                                           Correspondence with expert witness re rescheduled deposition and send expert
       01/21/13    Talner       0.70   $        400.00 $          280.00
2135                                                                       documents for her review
                                                                           Worked on preparing documents for expert report [.2]; reviewed Hayden deposition
       01/22/13   Boschen       3.30   $        150.00 $          495.00   summary [.1]; reviewed witness interview summary [.1]; worked on document
2136                                                                       production and witness issues [2.9].
2137   01/22/13   Marshall      0.30   $        375.00 $          112.50   Worked on case strategy issues [.3].
2138   01/22/13   Zuchetto      0.25   $        330.00 $           82.50   Discuss expert declaration and witness interview w/ co‐counsel.
                                                                           Gather documents for expert witness, investigate potential witnesses, review draft
       01/22/13    Talner       1.80   $        400.00 $          720.00
2139                                                                       expert supplemental report
                                                                           Prepared draft of and finalized stipulation and proposed order extending Mountain Law
       01/23/13    Kinsey       0.80   $        100.00 $           80.00
                                                                           deposition deadline; arranged filing and service; email correspondence to chambers.
2140
                                                                           Case status conference call [.8]; worked on document production [.9]; worked on
       01/23/13   Boschen       3.50   $        150.00 $          525.00
2141                                                                       preparing documents related to expert report [1.8].
                                                                       Worked on expert issues [.2]; worked on deposition scheduling issues and stipulation
       01/23/13   Marshall      3.40   $        375.00 $      1,275.00 regarding same [.4]; telephone conferences with opposing counsel and court regarding
                                                                       same [.3]; worked on supplemental declaration of Ms. Jackson [2.5].
2142
                                                                           Review/edit Chris Jackson declaration (3.0); Discuss same w/ co‐counsel (1.0); Team
       01/23/13   Zuchetto      4.90   $        330.00 $      1,617.00
2143                                                                       meeting re litigation status/strategy (.9).
                                                                           Conference call with co‐counsel to discuss case strategy, finalize collection of
       01/23/13    Talner       1.90   $        400.00 $          760.00
2144                                                                       documents responding to expert deposition subpoena
                                                                           Prepare for and chair meeting of litigation team on strategy, upcoming depositions and
       01/23/13   Williams      2.00   $        580.00 $      1,160.00     outstanding discovery; coordinate with N. Talner of ACLU on production of documents
2145                                                                       for C. Jackson deposition;
                                                                           Reviewed and revised Christine Jackson declaration; email correspondence to and from
       01/24/13    Kinsey       0.80   $        100.00 $           80.00
2146                                                                       Ms. Jackson regarding same.
                                                                           Prepared exhibits for expert report; telephone conferences and correspondence
       01/24/13   Boschen       5.10   $        150.00 $          765.00
2147                                                                       regarding same.
                                                                           Worked on Ms. Jackson's second supplemental expert declaration and researched and
       01/24/13   Marshall      3.10   $        375.00 $      1,162.50
2148                                                                       analyzed issues regarding same [3.1].


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        DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
  1                KEEPER
2149   01/24/13   Zuchetto      0.50   $        330.00 $        165.00 Review/edit Chris Jackson declaration.
                                                                       Begin creating Christine Jackson deposition preparation outline and review of Jackson
       01/24/13   Williams      5.50   $        580.00 $      3,190.00 declarations; begin creating deposition outline for Cities expert John Ladenburg and
2150                                                                   review of Ladenburg expert opinions;
                                                                       Conference with D. Steele regarding mootness issue for anticipated summary judgment
       01/24/13    Roos         0.50   $        465.00 $        232.50
2151                                                                   motion; review documents regarding same;
       01/25/13   Haynes        1.50   $        190.00 $          285.00 Telephone call to witness [.6]; email correspondence regarding potential witness [.9].
2152
                                                                           Worked on deposition issues [.1]; finalized expert report and supporting documents
       01/25/13   Boschen       1.80   $        150.00 $          270.00
2153                                                                       [1.1]; telephone conference regarding same [.6].
                                                                           Worked on expert and discovery issues [.3]; telephone call from Ms. Jackson regarding
       01/25/13   Marshall      1.30   $        375.00 $          487.50
                                                                           revisions to supplemental declaration and factual background issues [1.0].
2154
                                                                           Call w/ expert re declaration and review/edit same (1.25); E‐mail co‐counsel re expert
       01/25/13   Zuchetto      1.75   $        330.00 $          577.50   declaration (.1); Review/analyze co‐counsel e‐mail re additional witness and respond to
2155                                                                       same (.4).
                                                                           Revise letter to A. Cooley regarding use of notes at deposition; review C. Jackson
       01/25/13    Roos         0.70   $        465.00 $          325.50
2156                                                                       documents for privilege;
                                                                           Continue editing Chris Jackson deposition preparation outline; continue creating
       01/25/13   Williams      2.00   $        580.00 $      1,160.00
2157                                                                       deposition outline for J. Ladenburg;
                                                                           Prepare for meeting with C. Jackson; meet with C. Jackson and B. Roos for Jackson
       01/26/13   Williams      3.20   $        580.00 $      1,856.00
2158                                                                       expert witness preparation;
       01/26/13    Roos         3.00   $        465.00 $      1,395.00 Conference with J. Williams and C. Jackson regarding deposition preparation;
2159
2160   01/27/13   Marshall      0.20   $        375.00 $         75.00 Worked on case management and discovery issues [.2].
2161   01/27/13   Williams      1.80   $        580.00 $      1,044.00 Continue creating examination outline for Cities' expert John Ladenburg;
2162   01/28/13   Zuchetto      0.50   $        330.00 $        165.00 Review Jackson dep. preparation notes and e‐mail co‐counsel re same.
                                                                       Continue preparation for Ladenburg expert witness deposition outline and selection of
       01/28/13   Williams      4.50   $        580.00 $      2,610.00
2163                                                                   deposition exhibits;
2164   01/29/13   Boschen       0.20   $        150.00 $         30.00 Downloaded document production; updated production log.
                                                                       Reviewed Mountain Law's response to third subpoena and analyzed issues regarding
       01/29/13   Marshall      0.30   $        375.00 $        112.50
2165                                                                   same [.3].
                                                                       Continue editing Ladenburg deposition outline and selection of deposition exhibits; take
       01/29/13   Williams      6.00   $        580.00 $      3,480.00
2166                                                                   deposition of City expert John Ladenburg;


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 1                KEEPER
       01/30/13   Boschen       2.30   $        150.00 $          345.00 Worked on document review and productions; correspondence regarding same.
2167
                                                                         Worked on witness disclosure issues [.1]; participated in weekly conference call with co‐
       01/30/13   Marshall      1.30   $        375.00 $          487.50 counsel and worked on case strategy issues [.7]; worked on issues regarding motion for
                                                                         summary judgment [.1]; worked on privilege log for expert communications [.4].
2168
                                                                         Team meeting re litigation strategy/status (1.0); Review draft privilege log and e‐mail co‐
       01/30/13   Zuchetto      1.75   $        330.00 $          577.50
2169                                                                     counsel re same (.75).
                                                                         Conference call with co‐counsel re case strategy; revise privilege log for Jackson
       01/30/13    Dunne        0.90   $        380.00 $          342.00
2170                                                                     deposition; conference call with J. Strait re supplemental report
2171   01/30/13    Fisher       0.70   $        330.00 $          231.00 Participate in weekly team meeting;
                                                                         Telephone conference with team regarding discovery issues and summary judgment;
       01/30/13    Roos         0.70   $        465.00 $          325.50
2172                                                                     review and communications regarding privilege log;
                                                                       Prepare overview of Ladenburg deposition results; chair litigation team discussion of
       01/30/13   Williams      4.00   $        580.00 $      2,320.00 case strategy; continue developing case overview for trial and identification of final
                                                                       exhibits; finalize summary of Eric Stendal deposition testimony;
2173
                                                                         Worked on privilege log and production issues [.2]; telephone call to class member [.1];
       01/31/13   Boschen       2.20   $        150.00 $          330.00 worked on supplemental witness disclosures [1.1]; worked on production issues and
2174                                                                     correspondence regarding same [.8].
                                                                         Analyzed issues regarding privilege log for expert communications and email
       01/31/13   Marshall      0.70   $        375.00 $          262.50 correspondence with co‐counsel regarding same [.2]; worked on discovery and expert
2175                                                                     issues [.4]; worked on witness disclosure supplementation [.1].
2176   01/31/13   Zuchetto      1.50   $        330.00 $          495.00 Review privilege log, research re same and e‐mail co‐counsel re same.
                                                                         Save documents to DMS; discuss privilege issues with team; draft letter to A. Cooley
       01/31/13    Fisher       0.70   $        330.00 $          231.00 making second attempt to schedule rule 37 conference to discuss scripted answers used
2177                                                                     during Rule 30(b)(6) depositions;
                                                                         Review letter to A. Cooley regarding meet and confer conference; communications
       01/31/13    Roos         0.20   $        465.00 $           93.00
2178                                                                     regarding privilege logs;
                                                                       Review order from U.S. District Court extending Mountain Law deposition; review email
                                                                       exchange on discovery; review N. Talner email on most recent Supreme Court caselaw;
       01/31/13   Williams      3.50   $        580.00 $      2,030.00
                                                                       review emails on production of Chris Jackson documents; review and approve letter to
                                                                       A. Cooley on 30(b)(6) deponents using scripted testimony;
2179


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 1                KEEPER
                                                                       Telephone call to class member [.1]; finalized witness disclosures [.6]; telephone
       02/01/13   Boschen       1.70   $        150.00 $        255.00 conference and correspondence regarding expert reports [.2]; worked on production
2180                                                                   issues [.8].
2181   02/01/13   Dunne         0.30   $        380.00 $        114.00 Draft and revise letter to A. Cooley re Strait report
2182   02/01/13   Williams      5.50   $        580.00 $      3,190.00 Prepare for and defend deposition of Christine Jackson at Keating Bucklin;
                                                                       Attend and defend deposition of C. Jackson; conferences with J. Williams and C. Jackson
       02/01/13    Roos         8.50   $        465.00 $      3,952.50
2183                                                                   regarding same; communications regarding summary of same;
                                                                           Analyzed issues regarding witness disclosures [.1]; worked on expert document issues
       02/04/13   Marshall      0.20   $        375.00 $           75.00
                                                                           and email correspondence with co‐counsel regarding same [.1].
2184
2185   02/04/13   Zuchetto      0.50   $        330.00 $          165.00 Review/analyze summary of discovery supplements.
       02/04/13    Talner       1.10   $        400.00 $          440.00 Review cities' supplemental production and provide comments to co‐counsel
2186
                                                                         Follow up from C. Jackson deposition; revise letter to defense counsel regarding C.
       02/04/13    Roos         2.10   $        465.00 $          976.50 Jackson documents; conference with C. Fisher regarding summary judgment motion;
2187                                                                     review materials regarding same;
                                                                           Meet with B. Roos to discuss conclusion of Christine Jackson deposition; begin review
       02/04/13   Williams      1.50   $        580.00 $          870.00
                                                                           and summary of Mt. Vernon 30(b)(6) deposition for trial preparation;
2188
                                                                       Telephone conference regarding production [.4]; downloaded, labeled and reviewed
       02/05/13   Boschen       4.50   $        150.00 $          675.00
2189                                                                   document productions [4.1].
                                                                       Worked on strategy for and outline of summary judgment motion and telephone
       02/05/13   Marshall      3.00   $        375.00 $      1,125.00 conferences with co‐counsel regarding same [1.6]; reviewed transcript from deposition
2190                                                                   of Mr. Aarstad [1.4].
                                                                       Review/edit outline re Motion for Summary Judgment (1.5); Discuss same w/ co‐
       02/05/13   Zuchetto      2.25   $        330.00 $        742.50
2191                                                                   counsel (.75).
                                                                       Communications regarding summary judgment motion; research regarding permanent
       02/05/13    Roos         2.20   $        465.00 $      1,023.00
2192                                                                   injunctive relief;
                                                                         Draft and send T. Marshall, M. Zuchetto, and B. Roos email outlining summary judgment
       02/05/13    Fisher       0.50   $        330.00 $          165.00 motion; save documents to DMS; draft and send weekly team agenda to team; meet
                                                                         with B. Roos to discuss summary judgment motion;
2193




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 1                KEEPER
                                                                       Draft outline of expected trial testimony for Mt. Vernon 30(b)(6) testimony of Eric
       02/05/13   Williams      2.20   $        580.00 $      1,276.00 Stendal; begin review of expert James Feldman's deposition and identification of trial
2194                                                                   testimony;
                                                                       Worked on document review and expert productions [.8]; correspondence regarding
       02/06/13   Boschen       1.50   $        150.00 $        225.00
2195                                                                   depositions and subpoenas [.1]; case status conference call [.6].
                                                                         Participated in weekly call with co‐counsel regarding factual background and case
                                                                         strategy issues [.7]; worked on preparation for continuation of Mountain Law deposition
       02/06/13   Marshall      1.30   $        375.00 $          487.50
                                                                         [.2]; reviewed documents for same [.3]; left message with Mr. Powers regarding failure
                                                                         to respond to subpoena duces tecum [.1].
2196
                                                                         Team meeting re litigation strategy (.9); Review fee payment info. re Mountain Law and
       02/06/13   Zuchetto      1.15   $        330.00 $          379.50
2197                                                                     discuss same w/ co‐counsel (.25).
2198   02/06/13    Dunne        0.70   $        380.00 $          266.00 Meeting with co‐counsel re case strategy
                                                                         Conference call with co‐counsel re case strategy; review Mountain Law deposition
       02/06/13    Talner       1.50   $        400.00 $          600.00 transcript part 1 and send comments to co‐counsel to prep for part 2 of Mountain Law
2199                                                                     deposition
                                                                           Telephone conference with team regarding discovery follow up and summary judgment
       02/06/13    Roos         4.30   $        465.00 $      1,999.50
                                                                           motions; draft summary judgment motion; research regarding same;
2200
                                                                           Continue drafting of trial examination outline for Cities' expert James Feldman; prepare
       02/06/13   Williams      6.00   $        580.00 $      3,480.00
2201                                                                       for and chair litigation team strategy meeting;
                                                                           Worked on document review and expert productions [3]; telephone conference and
       02/07/13   Boschen       3.20   $        150.00 $          480.00
                                                                           correspondence with vendor regarding document database [.2].
2202
                                                                           Prepared for second day of Mountain Law deposition and reviewed documents for same
       02/07/13   Marshall      4.10   $        375.00 $      1,537.50
2203                                                                       [4.1].
2204   02/07/13    Roos         1.90   $        465.00 $          883.50   Draft motion for summary judgment;
                                                                           Edit outline of expected trial testimony for Cities' expert Feldman; begin review of
       02/07/13   Williams      3.50   $        580.00 $      2,030.00     Richard Sybrandy deposition and creation of chronology of key events and documents
2205                                                                       list;
2206   02/08/13   Boschen       0.10   $        150.00 $           15.00   Downloaded and filed deposition transcripts [.1];
                                                                           Traveled to and participated in deposition of Mountain Law [5.1]; analyzed issues
       02/08/13   Marshall      5.50   $        375.00 $      2,062.50
2207                                                                       regarding same [.4]. .
2208   02/08/13   Zuchetto      0.75   $        330.00 $          247.50   Review proposed order material.


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 1                KEEPER
       02/11/13   Marshall      0.10   $        375.00 $           37.50 Worked on factual background section for motion for summary judgment [.1].
2209
                                                                       Review/highlight R.Sybrandy deposition transcript re Summary Judgment Motion (3.1);
       02/11/13   Zuchetto      4.10   $        330.00 $      1,353.00
2210                                                                   Review material re relief request (1.0).
                                                                       Continue review of R. Sybrandy deposition and creation of chronology of key events and
       02/11/13   Williams      2.70   $        580.00 $      1,566.00
2211                                                                   documents;
                                                                       Correspondence regarding deposition testimony [.1]; worked on document review and
       02/12/13   Boschen       3.50   $        150.00 $        525.00
2212                                                                   expert production [3.3]; downloaded expert production [.1];
                                                                       Analyze M. Witt deposition transcript re Summary Judgment Motion (4.75); Analyze R.
       02/12/13   Zuchetto      6.75   $        330.00 $      2,227.50 Sybrandy dep. transcript re Summary Judgment Motion and e‐mail co‐counsel re same
                                                                       (1.0); Conference call re remedial relief request and prepare for same (1.0).
2213
                                                                           Conference call with N. Talner and M. Zuchetto re remedy; gather documents for J.
       02/12/13    Dunne        1.30   $        380.00 $          494.00
2214                                                                       Strait
2215   02/12/13    Talner       0.80   $        400.00 $          320.00   Discuss proposed relief order with co‐counsel
                                                                           Continue review of Sybrandy deposition transcript to identify key admissions for case at
       02/12/13   Williams      5.50   $        580.00 $      3,190.00
2216                                                                       trial and in draft opening statement;
                                                                           Case status conference call [.3]; researched witness [.1]; worked on production issues
       02/13/13   Boschen       1.20   $        150.00 $          180.00
2217                                                                       [.7]; updated witness list [.1].
2218   02/13/13   Marshall      0.40   $        375.00 $          150.00   Worked on discovery, case strategy, and summary judgment issues [.4].
                                                                           Team call re litigation strategy/case status (.7); Analyze M. Witt deposition transcript re
       02/13/13   Zuchetto      4.70   $        330.00 $      1,551.00
2219                                                                       Summary Judgment Motion and e‐mail co‐counsel re same (4.0).
2220   02/13/13    Dunne        0.50   $        380.00 $          190.00   Conference call with co‐counsel re case strategy
2221   02/13/13    Talner       0.50   $        400.00 $          200.00   Conference call with co‐counsel re case strategy
       02/13/13    Roos         0.50   $        465.00 $          232.50 Telephone conference with team regarding summary judgment and injunctive relief;
2222
                                                                         Read letter from A. Cooley regarding scripted answers used during 30(b)(6) depositions
       02/13/13    Fisher       2.60   $        330.00 $          858.00 and send to team; participate in weekly team meeting; research law for summary
2223                                                                     judgment motion;
                                                                       Begin review and analysis of Morgan Witt deposition and identification of testimony to
       02/13/13   Williams      4.50   $        580.00 $      2,610.00 support case theory; prepare for and chair litigation team conference call; review email
                                                                       correspondence on Cities' production of 30(b)(6) scripts;
2224



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 1                KEEPER
                                                                       Worked on expert production and correspondence regarding same [.4]; worked on
       02/14/13   Boschen       0.90   $        150.00 $        135.00 document review [.1]; personal conferences regarding motion for summary judgment
2225                                                                   and trial preparation[.4].
                                                                       Worked on factual background section of motion for summary judgment and reviewed
       02/14/13   Marshall      6.20   $        375.00 $      2,325.00
2226                                                                   documents for same [6.2].
                                                                           Review/analyze def. counsel deposition script and e‐mail team re same (.5); Review and
       02/14/13   Zuchetto      1.00   $        330.00 $          330.00
                                                                           analyze expert issue re co‐counsel update and draft e‐mail re same (.5).
2227
2228   02/14/13    Dunne        1.50   $        380.00 $          570.00 Meeting with J. Strait re expert report
       02/14/13   Williams      2.50   $        580.00 $      1,450.00 Continue review of Morgan Witt deposition and selection of testimony for case theory;
2229
                                                                         Printed all expert reports [.3]; telephone conference with client and correspondence
                                                                         regarding same [.3]; worked on preparing key case documents and testimony and
       02/15/13   Boschen       3.80   $        150.00 $          570.00
                                                                         personal conferences regarding same [.4]; downloaded production and updated
                                                                         production log [.2]; worked on document review [2.6].
2230
                                                                           Worked on factual background section of motion for summary judgment and
       02/15/13   Marshall      2.90   $        375.00 $      1,087.50
2231                                                                       researched and analyzed issues regarding same [2.9].
2232   02/15/13   Zuchetto      0.25   $        330.00 $           82.50   Discuss Motion for Summary Judgment/strategy w/ co‐counsel.
2233   02/15/13    Fisher       2.00   $        330.00 $          660.00   Draft summary judgment motion; read email on mootness;
                                                                           Worked on factual background for motion for summary judgment and reviewed
       02/16/13   Marshall      6.50   $        375.00 $      2,437.50
2234                                                                       documents and deposition transcripts for same [6.5].
2235   02/17/13   Boschen       2.50   $        150.00 $          375.00   Worked on document review and correspondence regarding same [2.5].
                                                                           Worked on factual background for motion for summary judgment and reviewed
       02/17/13   Marshall     10.40   $        375.00 $      3,900.00
2236                                                                       documents and deposition transcripts for same [10.4].
                                                                           Worked on factual section of motion for summary judgment and reviewed documents,
       02/18/13   Marshall      4.80   $        375.00 $      1,800.00
2237                                                                       deposition transcripts, and declarations for same [4.8].
2238   02/19/13   Boschen       1.00   $        150.00 $          150.00   Continued document review [.9]; personal conference regarding same [.1].
                                                                           Worked on factual section of motion for summary judgment and reviewed documents
       02/19/13   Marshall      8.30   $        375.00 $      3,112.50
2239                                                                       and deposition transcripts for same [8.3].
                                                                           Review/edit fact section re Motion for Summary Judgment and e‐mail co‐counsel re
       02/19/13   Zuchetto      1.25   $        330.00 $          412.50
2240                                                                       same.
2241   02/19/13    Talner       2.50   $        400.00 $      1,000.00     Draft proposed remedial order
2242   02/19/13    Fisher       1.90   $        330.00 $        627.00     Draft summary judgment motion;


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        DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1                KEEPER
                                                                         Review Volume II of Morgan Witt deposition transcript to identify trial testimony;
       02/19/13   Williams      4.50   $        580.00 $      2,610.00
2243                                                                     continue editing and updating case overview;
                                                                         Analyzed issues regarding Mr. Powers's failure to respond to subpoena duces tecum
       02/20/13   Marshall      0.10   $        375.00 $           37.50
2244                                                                     [.1].
                                                                           Edit fact section re Summary Judgment Motion and e‐mail co‐counsel re same (2.75);
       02/20/13   Zuchetto      4.00   $        330.00 $      1,320.00
                                                                           Edit relief section re Summary Judgment Motion and e‐mail co‐counsel re same (1.25).
2245
                                                                           Complete review and analysis of Morgan Witt Deposition Day #2; begin review and
       02/20/13   Williams      4.50   $        580.00 $      2,610.00
                                                                           analysis of Cities' expert witness, J. Ladenburg's deposition testimony;
2246
2247   02/20/13    Fisher       3.10   $        330.00 $      1,023.00 Draft summary judgment motion;
       02/21/13   Marshall      0.20   $        375.00 $           75.00 Analyzed issues regarding factual section for motion for summary judgment [.2].
2248
                                                                           Discuss fact section re Motion for Summary Judgment w/ co‐counsel and
       02/21/13   Zuchetto      0.50   $        330.00 $          165.00
2249                                                                       review/analyze e‐mail from co‐counsel re same.
2250   02/21/13    Fisher       2.30   $        330.00 $          759.00   Draft summary judgment motion;
                                                                           Reviewed facts section of draft motion for summary judgment and commenced
       02/22/13   Boschen       2.40   $        150.00 $          360.00
2251                                                                       preparing exhibits for same [2.4].
2252   02/22/13   Zuchetto      0.25   $        330.00 $           82.50   E‐mail re co‐counsel request for 30b6 deposition summary/analysis.
                                                                           Conference with C. Fisher regarding summary judgment motion; draft same; conference
       02/22/13    Roos         1.20   $        465.00 $          558.00
2253                                                                       with D. Steele regarding mootness argument;
2254   02/22/13    Fisher       3.80   $        330.00 $      1,254.00     Draft summary judgment motion;
2255   02/23/13     Roos        2.60   $        465.00 $      1,209.00     Draft summary judgment motion;
                                                                           Worked on factual section for motion for summary judgment and reviewed documents
       02/24/13   Marshall      7.20   $        375.00 $      2,700.00
2256                                                                       and deposition transcripts for same [7.2].
2257   02/24/13    Roos         0.90   $        465.00 $          418.50   Draft summary judgment motion;
                                                                           Worked on factual section for motion for summary judgment and reviewed documents
       02/25/13   Marshall     10.60   $        375.00 $      3,975.00
2258                                                                       and deposition transcripts for same [10.6].
                                                                           Review/analyze 30b6 deps. re highlights for Motion for Summary Judgment and e‐mail
       02/25/13   Zuchetto      3.00   $        330.00 $          990.00
2259                                                                       co‐counsel re same.
2260   02/25/13    Dunne        0.80   $        380.00 $          304.00   Revise proposed order for plaintiffs' summary judgment motion
2261   02/25/13    Talner       1.90   $        400.00 $          760.00   Revisions to plaintiffs' draft summary judgment motion
2262   02/25/13    Fisher       1.40   $        330.00 $          462.00   draft and revise summary judgment motion;



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        DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1                KEEPER
                                                                           Continue review of Ladenburg deposition transcript and identify trial testimony; begin
       02/25/13   Williams      3.00   $        580.00 $      1,740.00
2263                                                                       creating outline for Ladenburg examination;
                                                                           Continued work on motion for summary judgment and personal conference regarding
       02/26/13   Boschen       3.50   $        150.00 $          525.00
2264                                                                       same [3.5].
                                                                           Worked on factual section for motion for summary judgment and reviewed documents
                                                                           in regard to same [2.2]; worked on proposed order granting motion for summary
       02/26/13   Marshall      3.10   $        375.00 $      1,162.50
                                                                           judgment [.1]; telephone conferences with co‐counsel regarding factual and legal issues
2265                                                                       in motion for summary judgment [.8].
                                                                           Discuss Motion for Summary Judgment/case strategy w/ co‐counsel (.25); Review draft
       02/26/13   Zuchetto      1.25   $        330.00 $          412.50
2266                                                                       Motion for Summary Judgment (1.0).
                                                                           Revise motion for summary judgment; communications with J. Williams and team
       02/26/13    Roos         2.50   $        465.00 $      1,162.50
2267                                                                       regarding same;
                                                                           Work on summary judgment motion; meet with J. Williams and B. Roos to discuss
       02/26/13    Fisher       2.90   $        330.00 $          957.00
2268                                                                       summary judgment motion;
                                                                       Review ACLU's proposed order granting relief from plaintiffs' summary judgment;
       02/26/13   Williams      2.50   $        580.00 $      1,450.00 continue drafting outline for trial examination of Cities' expert John Ladenburg;
                                                                       coordinate with co‐counsel on strategy for summary judgment argument;
2269
                                                                       Prepared draft of motion for summary judgment; prepared Marshall declaration in
       02/27/13    Kinsey       0.40   $        100.00 $           40.00
2270                                                                   support of motion for summary judgment.
                                                                       Case status conference call [.8]; worked on testimony and exhibits in support of motion
       02/27/13   Boschen       9.80   $        150.00 $      1,470.00 for summary judgment and personal conferences and correspondence regarding same
2271                                                                   [9].
                                                                       Researched and analyzed issues regarding standards for injunctive relief [2.1];
       02/27/13   Marshall      7.50   $        375.00 $      2,812.50 telephone conferences with co‐counsel regarding motion for summary judgment [1.4];
2272                                                                   worked on motion for summary judgment [4.0].
                                                                       Review/analyze Motion for Summary Judgment and discuss same w/ co‐counsel (1.5);
       02/27/13   Zuchetto      2.50   $        330.00 $        825.00
2273                                                                   Team meeting re same (1.0).
       02/27/13    Roos         1.00   $        465.00 $          465.00 Telephone conference with team regarding summary judgment motion and opposition;
2274
                                                                       Review draft summary judgment statement of facts and legal arguments in preparation
       02/27/13   Williams      3.00   $        580.00 $      1,740.00 for litigation team strategy call; participate in litigation strategy call with team on
                                                                       whether to file summary judgment motion and other matters;
2275


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        DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1                KEEPER
                                                                         Prepared draft and finalized motion for leave to file overlength brief; prepared draft and
       02/28/13    Kinsey       0.60   $        100.00 $           60.00 finalized proposed order granting motion to file overlength brief; arranged filing and
                                                                         service; emailed proposed order to chambers.
2276
                                                                           Continued work on testimony and exhibits in support of motion for summary judgment
       02/28/13   Boschen       7.50   $        150.00 $      1,125.00
2277                                                                       [7.5].
                                                                           Worked on motion for summary judgment and researched and analyzed issues
       02/28/13   Marshall      8.80   $        375.00 $      3,300.00
2278                                                                       regarding same [8.8].
                                                                           Review Motion for Summary Judgment/motion to short time and e‐mail co‐counsel re
       02/28/13   Zuchetto      0.40   $        330.00 $          132.00
2279                                                                       same.
2280   02/28/13    Dunne        0.10   $        380.00 $         38.00     Correspondence with J. Strait
2281   02/28/13    Talner       2.50   $        400.00 $      1,000.00     Revise summary judgment motion; revise proposed remedial order
                                                                           Begin review and analysis of draft summary judgment motion; begin review and analysis
       02/28/13   Williams      3.50   $        580.00 $      2,030.00
2282                                                                       of Vol. I of Mountain Laws' Michael Laws' deposition transcript;
2283   03/01/13   Boschen      11.40   $        150.00 $      1,710.00     Continued work on motion for summary judgment facts [11.4].
                                                                           Worked on motion for summary judgment and researched and analyzed issues
       03/01/13   Marshall     10.20   $        375.00 $      3,825.00
                                                                           regarding same [9.7]; telephone call from co‐counsel regarding same [.5].
2284
                                                                           Review and analyze testimony from Montague, Moon, Sanchez, Johnson and Howson
       03/01/13   Zuchetto      5.00   $        330.00 $      1,650.00
                                                                           depositions re Summary Judgment Motion and e‐mail co‐counsel re same.
2285
                                                                           Worked on motion for summary judgment and researched and analyzed issues
       03/02/13   Marshall      2.80   $        375.00 $      1,050.00
2286                                                                       regarding same [2.8].
2287   03/03/13   Boschen       8.50   $        150.00 $      1,275.00     Continued work on motion for summary judgment facts [8.5].
                                                                           Worked on motion for summary judgment and researched and analyzed issues
       03/03/13   Marshall      8.70   $        375.00 $      3,262.50
2288                                                                       regarding same [8.7].
                                                                           Reviewed, retrieved and assembled exhibits to use in support of motion for summary
       03/04/13    Kinsey       1.10   $        100.00 $          110.00
2289                                                                       judgment.
2290   03/04/13   Boschen      14.30   $        150.00 $      2,145.00     Continued work on facts for summary judgment motion [14.3].
                                                                           Worked on motion for summary judgment and researched and analyzed issues
       03/04/13   Marshall     10.80   $        375.00 $      4,050.00
2291                                                                       regarding same [10.8].
                                                                           Review/edit Motion for Summary Judgment and e‐mail co‐counsel re same (1.5);
       03/04/13   Zuchetto      1.75   $        330.00 $          577.50
2292                                                                       Review Sybrandy/Eason newly produced e‐mails (.25).
2293   03/04/13   Williams      1.00   $        580.00 $          580.00   Begin reviewing revised Plaintiffs' summary judgment motion;


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 1                KEEPER
                                                                         Reviewed, revised and finalized Plaintiffs' motion for summary judgment; prepared and
       03/05/13    Kinsey       5.30   $        100.00 $          530.00 finalized table of contents and table of authorities; finalized Marshall declaration and
                                                                         associated exhibits; finalized Boschen declaration; arranged filing and service.
2294
2295   03/05/13   Boschen      12.00   $        150.00 $      1,800.00 Completed work on motion for summary judgment [12].
                                                                       Worked on motion for summary judgment and related documents; worked on filing
       03/05/13   Marshall     11.60   $        375.00 $      4,350.00
2296                                                                   issues [11.6].
                                                                         Review/edit Motion for Summary Judgment/proposed order and e‐mail co‐counsel re
       03/05/13   Zuchetto      3.25   $        330.00 $      1,072.50
                                                                         same (2.5); Review/analyze Def’s motion for summary judgment (.75).
2297
       03/05/13    Talner       0.50   $        400.00 $          200.00 Revisions to draft proposed remedial order and plaintiffs' summary judgment motion
2298
                                                                         Review plaintiffs' draft motion for summary judgment; review orders from Court on
       03/05/13   Williams      2.00   $        580.00 $      1,160.00
2299                                                                     overlength briefs;
                                                                         Arranged delivery of Plaintiffs' motion for summary judgment to chambers; drafted
       03/06/13    Kinsey       1.00   $        100.00 $          100.00
2300                                                                     praecipe to replace Boschen declaration; arranged filing and service.
                                                                         Summarized facts for opposition to Defendants' motion for summary judgment and
       03/06/13   Boschen       1.00   $        150.00 $          150.00 correspondence regarding same [.4]; researched factual issues [.5]; transmitted
                                                                         electronic files of motion for summary judgment exhibits [.1].
2301
                                                                         Worked on various post‐filing issues, including praecipe to correct declaration of
                                                                         Jennifer Boschen [.7]; telephone conference with co‐counsel regarding motions for
       03/06/13   Marshall      1.30   $        375.00 $          487.50
                                                                         summary judgment [.3]; worked on witness issues [.1]; analyzed issues regarding
                                                                         settlement conference and mediation deadlines [.2].
2302
2303   03/06/13   Zuchetto      0.75   $        330.00 $        247.50 Review final Motion for Summary Judgment and discuss same w/ co‐counsel.
2304   03/06/13    Talner       0.20   $        400.00 $         80.00 Emails with co‐counsel re witness follow‐up
                                                                       Review and analyze Cities' motion for summary judgment on mootness grounds; review
       03/06/13   Williams      2.50   $        580.00 $      1,450.00
2305                                                                   and analyze plaintiffs' motion for summary judgment;
                                                                       Researched facts for opposition to Defendants' motion for summary judgment and
       03/07/13   Boschen       0.50   $        150.00 $         75.00
2306                                                                   correspondence regarding same [.5].
2307   03/07/13   Marshall      0.20   $        375.00 $         75.00 Analyzed issues regarding defendants' motion for summary judgment [.2].




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 1                KEEPER
                                                                       Telephone conference with co‐counsel regarding strategy for response to defendants'
       03/08/13   Marshall      2.70   $        375.00 $      1,012.50 motion for summary judgment [.3]; reviewed defendants' motion for summary
                                                                       judgment and researched and analyzed issues regarding same [2.4].
2308
2309   03/09/13    Fisher       5.30   $        330.00 $      1,749.00 Draft opposition to defendants' motion for summary judgment;
2310   03/10/13   Marshall      0.50   $        375.00 $        187.50 Researched and analyzed caselaw regarding mootness [.5].
2311   03/10/13    Fisher       6.00   $        330.00 $      1,980.00 Draft opposition to Defendants' motion for summary judgment;
                                                                       Researched and analyzed issues regarding response to defendants' motion for summary
                                                                       judgment and email correspondence with co‐counsel regarding same [2.4]; meeting
       03/11/13   Marshall      6.60   $        375.00 $      2,475.00 with co‐counsel regarding strategy for response to defendants' motion for summary
                                                                       judgment and for trial of claims [2.2]; traveled to and from same [.8]; telephone
                                                                       conference with co‐counsel regarding strategy for response to mootness claim [1.2].
2312
                                                                           Review Defs’ Motion for Summary Judgment (.5); Team meeting re response and trial
       03/11/13   Zuchetto      2.00   $        330.00 $          660.00
                                                                           planning (1.0); Discuss Motion for Summary Judgment w/ co‐counsel (.5).
2313
2314   03/11/13    Dunne        1.00   $        380.00 $          380.00 Meeting with co‐counsel re case strategy and trial prep
       03/11/13    Talner       1.50   $        400.00 $          600.00 In person meeting with co‐counsel to discuss case strategy re preparing for trial
2315
                                                                           Conference with team regarding opposition to motion for summary judgment and trial
       03/11/13    Roos         2.50                   $               ‐
                                                                           preparation; review motion for summary judgment in preparation for same;
2316
                                                                           Prepare for and attend litigation team strategy meeting on summary judgment motions
       03/11/13   Williams      1.80   $        580.00 $      1,044.00
2317                                                                       and pretrial planning;
                                                                           Draft opposition to Defendants' motion for summary judgment; participate in team
       03/11/13    Fisher       5.00   $        330.00 $      1,650.00
2318                                                                       meeting to discuss opposition, trial roles, other steps;
                                                                           Telephone calls to courts regarding attorney search; researched attorney cases on
       03/12/13   Boschen       0.50   $        150.00 $           75.00
2319                                                                       Washington Courts website.
                                                                           Reviewed law on establishing mootness, researched and analyzed issues regarding
       03/12/13   Marshall      5.70   $        375.00 $      2,137.50
2320                                                                       same, and worked on memorandum regarding same [5.7].
                                                                           Discuss response to def’s Motion for Summary Judgment w/ co‐counsel (.5); Dall to
       03/12/13   Zuchetto      1.25   $        330.00 $          412.50
2321                                                                       Perkins re same (.25); Research re same (.5).
2322   03/12/13    Dunne        0.20   $        380.00 $           76.00   Conference call with J. Strait re supplemental expert report
2323   03/12/13    Talner       0.20   $        400.00 $           80.00   Teleconference with co‐counsel and expert witness


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 1                KEEPER
                                                                           Conference regarding opposition to motion for summary judgment; conference with C.
       03/12/13    Roos         1.10   $        465.00 $          511.50
2324                                                                       Jackson regarding trial testimony and action items;
                                                                           Read Mt. Law deposition; draft opposition to defendants' motion for summary
       03/12/13    Fisher       2.20   $        330.00 $          726.00
2325                                                                       judgment;
                                                                           Worked on memorandum regarding arguments and legal principles to use in response
       03/13/13   Marshall      3.00   $        375.00 $      1,125.00
2326                                                                       to defendants' motion for summary judgment [3.0].
2327   03/13/13    Fisher       3.20   $        330.00 $      1,056.00     Draft opposition to defendants' motion for summary judgment;
2328   03/14/13    Fisher       3.30   $        330.00 $      1,089.00     Draft opposition to defendants' motion for summary judgment;
       03/15/13   Marshall      0.20   $        375.00 $           75.00 Analyzed issues regarding response to defendants' motion for summary judgment [.2].
2329
2330   03/15/13     Roos        1.10   $        465.00 $          511.50 Draft opposition to motion for summary judgment;
2331   03/15/13    Fisher       2.40   $        330.00 $          792.00 Draft opposition to defendants' summary judgment motion;
       03/17/13    Roos         4.50   $        465.00 $      2,092.50 Draft opposition to motion for summary judgment, including research regarding same;
2332
2333   03/18/13   Zuchetto      0.50   $        330.00 $        165.00 E‐mail co‐counsel re Michael Laws issue and research re same.
2334   03/18/13     Roos        2.90   $        465.00 $      1,348.50 Draft opposition to motion for summary judgment;
                                                                       Begin review of Mountain Law deposition of Michael Lewis and begin drafting five key
       03/18/13   Williams      3.50   $        580.00 $      2,030.00
2335                                                                   arguments for defending mootness motion;
2336   03/19/13   Boschen       0.70   $        150.00 $        105.00 Personal conference regarding trial preparation [.7].
2337   03/19/13   Marshall      0.80   $        375.00 $        300.00 Analyzed and worked on issues regarding trial witnesses [.8].
                                                                       Continue review of Mountain Law deposition of Michael Laws and development of
       03/19/13   Williams      3.80   $        580.00 $      2,204.00 counter arguments to mootness motion; begin review and editing of Plaintiffs'
                                                                       opposition to Defendants Cities' Motion for Summary Judgment;
2338
2339   03/19/13    Fisher       1.50   $        330.00 $        495.00 Draft opposition to defendants' motion for summary judgment;
                                                                       Draft opposition to motion for summary judgment; conference with J. Williams
       03/19/13    Roos         3.40   $        465.00 $      1,581.00
2340                                                                   regarding same;
       03/20/13   Marshall      0.40   $        375.00 $          150.00 Analyzed issues regarding response to defendants' motion for summary judgment [.4].
2341
       03/20/13   Zuchetto      0.70   $        330.00 $          231.00 Review new SCOTUS case re mootness doctrine and e‐mail co‐counsel re same.
2342
                                                                           Continue editing and drafting plaintiffs' opposition to Cities' summary judgment motion
       03/20/13   Williams      2.50   $        580.00 $      1,450.00
2343                                                                       on mootness;



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 1                KEEPER
                                                                         Draft opposition to motion for summary judgment, including rebuttal of Rule 702
       03/20/13    Roos         3.20   $        465.00 $      1,488.00
2344                                                                     motion to exclude testimony of C. Jackson;
2345   03/21/13   Boschen       0.10   $        150.00 $           15.00 Correspondence regarding production [.1].
                                                                         Email correspondence with co‐counsel regarding factual background issues for reply to
       03/21/13   Marshall      0.40   $        375.00 $          150.00 defendants' motion for summary judgment on mootness [.1]; worked on settlement
                                                                         issues and email to opposing counsel regarding same [.3].
2346
                                                                           Discuss settlement conf. w/ co‐counsel, review Court’s order/LR re same, review e‐mail
       03/21/13   Zuchetto      0.75   $        330.00 $          247.50
2347                                                                       re same.
                                                                           Background research re new court rule on public defense standards, email to co‐counsel
       03/21/13    Talner       0.40   $        400.00 $          160.00
2348                                                                       about it
                                                                           Continue drafting plaintiffs' opposition to defendants' Mootness Motion and identifying
       03/21/13   Williams      3.50   $        580.00 $      2,030.00
2349                                                                       deposition testimony in support;
                                                                           Draft opposition to motion for summary judgment, including rebuttal of Rule 702
       03/21/13    Roos         2.60   $        465.00 $      1,209.00
2350                                                                       motion to exclude testimony of C. Jackson;
                                                                           Telephone conference with co‐counsel regarding settlement conference [.2]; telephone
                                                                           conference with Judge Donohue's chambers regarding availability for mediation [.1];
       03/22/13   Marshall      2.40   $        375.00 $          900.00   analyzed issues regarding settlement strategy [.4]; worked on response to defendants'
                                                                           motion for summary judgment and telephone conference with co‐counsel regarding
2351                                                                       same [1.7].
                                                                           Discuss settlement conference w/ co‐counsel (1.75); Draft e‐mail to def. counsel re
       03/22/13   Zuchetto      3.75   $        330.00 $      1,237.50     same (.75); Review/edit response re Motion for Summary Judgment and discuss same
2352                                                                       w/ co‐counsel (1.25).
                                                                       Finalize first draft of plaintiffs' opposition to defendants' Mootness Motion and
       03/22/13   Williams      1.80   $        580.00 $      1,044.00 coordinate same with team; resume review of Mountain Law deposition; discuss with B.
                                                                       Roos strategy for completing citations to authority for opposition brief;
2353
                                                                       Revise opposition to motion for summary judgment, including finding factual and legal
       03/22/13    Roos         3.10   $        465.00 $      1,441.50
2354                                                                   support for new arguments;
                                                                       Revise opposition to motion for summary judgment; review factual record for support
       03/24/13    Roos         5.30   $        465.00 $      2,464.50
2355                                                                   for same; draft declaration supporting same;
                                                                       Email correspondence with opposing counsel and co‐counsel regarding mediation [.1];
       03/25/13   Marshall      2.50   $        375.00 $        937.50 analyzed and worked on issues regarding same [.2]; worked on response to defendants'
2356                                                                   motion for summary judgment [2.2].


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 1                KEEPER
                                                                       Edit response re Cities’ Motion for Summary Judgment and e‐mail team re same (.75);
                                                                       Review Cities’ response re Pltffs’ Motion for Summary Judgment and e‐mail co‐counsel
       03/25/13   Zuchetto      2.10   $        330.00 $        693.00
                                                                       re same (1.1); E‐mail co‐counsel re settlement conference/response to def. counsel re
2357                                                                   same (.25).
                                                                       Revise opposition to motion for summary judgment; prepare factual support for same;
       03/25/13    Roos         7.20   $        465.00 $      3,348.00
2358                                                                   conferences with J. Williams, C. Fisher, and J. Higa regarding same;
                                                                         Review and coordinate edits to Plaintiffs' Opposition to Mootness Motion for Summary
       03/25/13   Williams      1.50   $        580.00 $          870.00 Judgment; review and edit declaration in support of opposition; develop plan for next
                                                                         steps in litigation and allocation of personnel;
2359
2360   03/26/13    Kinsey       0.30   $        100.00 $         30.00 Prepared draft of reply in support of motion for summary judgment.
                                                                       Discuss reply brief w/ co‐counsel and e‐mail team re same (1.0); Work on outline re
       03/26/13   Zuchetto      5.50   $        330.00 $      1,815.00
2361                                                                   reply (4.5).
                                                                       Begin review of Cities' opposition to Plaintiffs' Summary Judgment Motion; begin
       03/26/13   Williams      6.00   $        580.00 $      3,480.00 drafting Plaintiffs' Reply for Summary Judgment brief; exchange emails with team on
2362                                                                   strategy for distributing work;
                                                                         Reviewed witness files; correspondence and telephone conferences with witnesses;
       03/27/13   Boschen       2.20   $        150.00 $          330.00 prepared summaries of conversations with witnesses; commenced preparation of
                                                                         exhibits in support of reply in support of motion for summary judgment.
2363
                                                                       Reviewed defendants' response to plaintiffs' motion for summary judgment, researched
       03/27/13   Marshall     11.20   $        375.00 $      4,200.00 and analyzed issues regarding same, and worked on reply in support of motion for
2364                                                                   summary judgment [11.2].
                                                                       Draft outline re reply Plaintiffs’ Motion for Summary Judgment (2.0); discuss same w/ co‐
       03/27/13   Zuchetto      3.00   $        330.00 $        990.00
2365                                                                   counsel (.5); E‐mail co‐counsel re mediation (.5).
2366   03/27/13    Dunne        0.40   $        380.00 $        152.00 Correspondence with J. Strait re supplemental report
                                                                           Conference regarding reply to motion for summary judgment; communications
       03/27/13    Roos         0.40   $        465.00 $          186.00
                                                                           regarding same; review opposition to motion for summary judgment;
2367
                                                                           Continue drafting reply on plaintiffs' summary judgment motion; coordinate with T.
       03/27/13   Williams      1.50   $        580.00 $          870.00
2368                                                                       Marshall on handing off reply brief for T. Marshall completion;
       03/28/13   Boschen       0.90   $        150.00 $          135.00 Witness research and telephon conferences and correspondence regarding same [.9].
2369



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 1                KEEPER
                                                                       Worked on reply in support of motion for summary judgment and researched and
       03/28/13   Marshall     10.50   $        375.00 $      3,937.50 analyzed issues regarding same [10.3]; telephone call from court clerk regarding
                                                                       settlement conference [.1]; email correspondence with co‐counsel regarding same [.1].
2370
                                                                         Review/edit reply re Motion for Summary Judgment (1.5); Review Strait supplemental
       03/28/13   Zuchetto      2.25   $        330.00 $          742.50
2371                                                                     declaration and e‐mail co‐counsel re same (.75).
2372   03/28/13    Dunne        0.30   $        380.00 $          114.00 Correspondence with J. Strait re supplemental report
2373   03/28/13    Talner       0.70   $        400.00 $          280.00 Revisions to reply brief re plaintiffs' summary judgment motion,
       03/29/13    Kinsey       0.30   $        100.00 $           30.00 Prepared draft of reply in support of plaintiffs' motion for summary judgment.
2374
       03/29/13   Boschen       2.60   $        150.00 $          390.00 Worked on facts in support of reply in support of motion for summary judgment [2.6];
2375
2376   03/29/13   Marshall      3.30   $        375.00 $      1,237.50 Worked on reply in support of motion for summary judgment [3.3].
       03/29/13   Zuchetto      1.25   $        330.00 $          412.50 Review reply re Motion for Summary Judgment and e‐mail co‐counsel re same.
2377
2378   03/30/13   Marshall      0.40   $        375.00 $          150.00 Worked on settlement strategy issues [.4].
                                                                         Review second supplemental declaration of John Strait and Reply of Cities on Mootness
       03/30/13   Williams      1.50   $        580.00 $          870.00
2379                                                                     Summary Judgment Motion;
                                                                         Email correspondence with magistrate judge's clerk regarding scheduling of mediation
       04/01/13   Marshall      0.10   $        375.00 $           37.50
2380                                                                     [.1].
                                                                         Coordinate with litigation team and U.S. District Court on available mediation dates;
       04/01/13   Williams      1.50   $        580.00 $          870.00
2381                                                                     review plaintiffs' reply on summary judgment motion;
       04/02/13   Boschen       0.20   $        150.00 $           30.00 Updated trial witness list; correspondence and personal conference regarding same [.2].
2382
                                                                         Email from Judge Donohue's clerk regarding scheduling of mediation, analyzed issues
                                                                         regarding same, and email correspondence with co‐counsel regarding same [.3];
       04/02/13   Marshall      1.40   $        375.00 $          525.00 telephone call from ACLU regarding efforts to schedule earlier mediation [.4]; telephone
                                                                         conference and email correspondence with co‐counsel regarding same [.3]; email to
                                                                         Judge Donahue's clerk regarding same [.1]; worked on trial witness issues [.3].
2383
2384   04/02/13    Dunne        0.40   $        380.00 $          152.00 Email correspondence with co‐counsel re settlement conference




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 1                KEEPER
                                                                           Review exchange of emails with Magistrate Donohue's chambers on settlement;
       04/02/13   Williams      1.50   $        580.00 $            870.00 exchange emails with Wilbur litigation team on mediation options; exchange emails
                                                                           with C. Fisher and B. Roos on strategy for mediation with Cities;
2385
                                                                             E‐mail team re cancel litigation meeting until Judge Donahue schedules settlement
       04/03/13   Zuchetto      0.25   $        330.00 $             82.50
2386                                                                         conference.
       04/04/13   Zuchetto      0.20   $        330.00 $             66.00 Review Court’s order re settlement conference and discuss same w/ co‐counsel.
2387
2388   04/08/13   Zuchetto      0.25   $        330.00 $           82.50 E‐mail team re agenda for litigation call.
                                                                         Review order from Judge Donohue setting May 16 settlement conference; discuss prior
                                                                         week team conference call with C. Fisher; discuss with C. Fisher plan for May 2 pretrial
       04/08/13   Williams      2.00   $        580.00 $        1,160.00 conference; send email to team addressing tasks identified in Judge Donohue's order;
                                                                         review new Supreme Court order on case‐weighting policy and coordinate with
2389                                                                     litigation team;
                                                                         Read recent Washington State Supreme Court regarding indigent defense standards
                                                                         implementation; draft agenda for weekly meeting, upcoming dates and deadlines, and
       04/09/13    Fisher       0.50   $        330.00 $          165.00
                                                                         division of labor for trial preparation; email S. Dunne regarding Sgt. O'Neill and jail log
2390                                                                     and complaint process;
2391   04/10/13   Boschen       0.60   $        150.00 $           90.00 Case status conference call [.6].
                                                                         Prepare for and chair conference call with litigation team on assignment of pre‐
       04/10/13   Williams      1.00   $        580.00 $          580.00
2392                                                                     mediation tasks;
2393   04/11/13   Zuchetto      4.00   $        330.00   $      1,320.00 Draft settlement brief.
2394   04/12/13   Zuchetto      0.50   $        330.00   $        165.00 Work on settlement brief and e‐mail team re same.
2395   04/13/13   Zuchetto      3.00   $        330.00   $        990.00 Work on settlement memo.
2396   04/15/13    Talner       0.40   $        400.00   $        160.00 Research AOC caseloads reports for data relevant to case
2397   04/16/13    Fisher       2.20   $        330.00   $        726.00 Draft pretrial order; send agenda for weekly meeting;
2398   04/17/13   Boschen       1.20   $        150.00   $        180.00 Telephone conference with client [.1]; worked on trial witness analysis [1.1].
2399   04/17/13   Zuchetto      1.20   $        330.00   $        396.00 E‐mail team re meeting (.1); Work on settlement memo (1.1).
2400   04/17/13    Fisher       0.20   $        330.00   $         66.00 Draft pretrial statement and send to J. Williams;
                                                                         Begin selecting exhibits for trial and pre‐trial statement; begin editing pretrial
       04/17/13   Williams      3.00   $        580.00 $        1,740.00
2401                                                                     statement;
                                                                         Worked on identification and location of trial witnesses; worked on reviewing proposed
       04/18/13   Boschen       3.20   $        150.00 $          480.00
2402                                                                     trial exhibits; worked on new server purchase issues;



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 1                KEEPER
                                                                       Work on settlement brief (1.75); Review/analyze exhibit list and e‐mail team re same
       04/18/13   Zuchetto      3.00   $        330.00 $          990.00
2403                                                                   (1.25).
2404   04/18/13    Roos         3.20   $        465.00 $      1,488.00 Review and revise exhibit list;
       04/18/13   Williams      4.00   $        580.00 $      2,320.00 Continue review and edit of trial exhibit list; continue drafting pretrial statement;
2405
       04/19/13   Boschen       9.50   $        150.00 $      1,425.00 Continued work on trial witnesses and trial exhibits for pre‐trial statement [9.5].
2406
2407   04/19/13   Marshall      0.50   $        375.00 $        187.50 Worked on trial witness issues [.5].
2408   04/19/13   Zuchetto      1.50   $        330.00 $        495.00 Review/analyze trial exhibits and e‐mail team re same.
                                                                       Coordinate with litigation team on trial exhibit list; continue editing pretrial statement;
       04/19/13   Williams      2.50   $        580.00 $      1,450.00
2409                                                                   send draft of pretrial statement to litigation team;
2410   04/20/13    Fisher       0.50   $        330.00 $        165.00 Review and add to pretrial statement exhibit list;
2411   04/21/13   Boschen       2.50   $        150.00 $        375.00 Reviewed proposed trial exhibits [2.5].
2412   04/21/13   Zuchetto      1.25   $        330.00 $        412.50 Review/edit pretrial statement and e‐mail team re same.
                                                                       Continued work on trial exhibits and witnesses for pretrial statement and personal
       04/22/13   Boschen       6.90   $        150.00 $      1,035.00
2413                                                                   conferences and correspondence regarding same [6.9].
                                                                       Worked on pre‐trial statement and trial exhibit list and email correspondence and
       04/22/13   Marshall      6.80   $        375.00 $      2,550.00 telephone conferences with co‐counsel regarding same [6.5]; worked on document
2414                                                                   management issues [.3].
                                                                           Discuss pretrial statement/case status w/ co‐counsel (1.25); Edit settlement brief (3.5);
       04/22/13   Zuchetto      5.00   $        330.00 $      1,650.00
                                                                           Review revised pretrial statement and e‐mail co‐counsel re same (.25).
2415
                                                                       Telelconference with co‐counsel to discuss potential trial witnesses; review draft
       04/22/13    Talner       1.50   $        400.00 $          600.00
2416                                                                   pretrial statement and provide revisions to co‐counsel.
2417   04/22/13     Roos        1.10   $        465.00 $        511.50 Communications regarding pretrial statement; review and revise same;
2418   04/22/13    Fisher       2.90   $        330.00 $        957.00 Review pretrial statement; work on exhibit list; finalize pretrial statement;
                                                                       Coordinate with litigation team on Pretrial Statement; review and finalize Pretrial
       04/22/13   Williams      3.00   $        580.00 $      1,740.00
2419                                                                   Statement with input from litigation team;
                                                                           Telephone conference with client [.1]; worked on trial exhibits and witnesses and
       04/23/13   Boschen       3.70   $        150.00 $          555.00
                                                                           personal conferences and correspondence regarding same [3.6].
2420
2421   04/23/13   Marshall      0.30   $        375.00 $        112.50 Worked on trial issues [.3].
                                                                       Work on settlement brief (1.5); Review LR re pretrial statement (.75); Continue Work on
       04/23/13   Zuchetto      6.25   $        330.00 $      2,062.50
2422                                                                   Settlement Brief (4.0).


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 1                KEEPER
                                                                         Review pre‐trial order, compare same to trial exhibit list to determine bates range;
       04/23/13     Higa        2.90   $        155.00 $          449.50 review document database to find same; prepare trial document tracking spreadsheet;
                                                                         re‐format documents for inclusion into electronic database;
2423
                                                                         Coordinate with counsel for Cities on pretrial statement exhibits; provide instructions to
       04/23/13   Williams      0.20   $        580.00 $          116.00
2424                                                                     paralegal on same;
                                                                         Participated in weekly conference call regarding case strategy issues and trial
       04/24/13   Marshall      1.40   $        375.00 $          525.00 preparation [.8]; telephone conference with co‐counsel regarding mediation materials
2425                                                                     and settlement strategy [.6].
                                                                           Participate in team meeting re litigation status and strategy (1.0); Work on settlement
       04/24/13   Zuchetto      2.00   $        330.00 $          660.00
                                                                           memo. (.75); Discuss same and confidential memo w/ co‐counsel (.25).
2426
                                                                         Review pre‐trial order, compare same to trial exhibit list to determine bates range;
       04/24/13     Higa        6.10   $        155.00 $          945.50 review document database to find same; prepare trial document tracking spreadsheet;
                                                                         re‐format documents for inclusion into electronic database;
2427
       04/24/13    Roos         1.60   $        465.00 $          744.00 Conference with team regarding trial preparation and mediation; draft trial plan;
2428
                                                                       Prepare for and coordinate conference call with litigation team; meet with Perkins Coie
       04/24/13   Williams      1.50   $        580.00 $          870.00
2429                                                                   litigation team members to discuss assignments;
                                                                       Draft and send email to A. Denny regarding Sgt. O'Neill; update and send agenda;
       04/24/13    Fisher       1.70   $        330.00 $        561.00
2430                                                                   participate in team call; draft motions in limine;
                                                                       Worked on mediation submission (settlement brief), analyzed issues regarding same
                                                                       and confidential memorandum, and telephone conference with co‐counsel regarding
       04/25/13   Marshall      5.40   $        375.00 $      2,025.00
                                                                       same [5.0]; reviewed court's order denying summary judgment motions and analyzed
2431                                                                   issues regarding same [.4].
2432   04/25/13   Zuchetto      3.75   $        330.00 $      1,237.50 Draft/edit confidential settlement memo.
                                                                         Review pre‐trial order, compare same to trial exhibit list to determine bates range;
       04/25/13     Higa        2.70   $        155.00 $          418.50 review document database to find same; prepare trial document tracking spreadsheet;
                                                                         re‐format documents for inclusion into electronic database;
2433
                                                                           Review order regarding motion for summary judgment; communications regarding
       04/25/13    Roos         1.60   $        465.00 $          744.00
2434                                                                       same; draft findings of fact;



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 1                KEEPER
                                                                           Review court order denying motions for summary judgment and exchange emails with
       04/25/13   Williams      0.80   $        580.00 $          464.00
2435                                                                       litigation team on same;
                                                                           Read court's order denying both parties' summary judgment motions; draft motions in
       04/25/13    Fisher       1.10   $        330.00 $          363.00
2436                                                                       limine outline;
2437   04/26/13   Boschen       1.10   $        150.00 $          165.00   Continued work on trial exhibits and witness location [1.1].
                                                                           Analyzed issues regarding search for Mr. Moon [.2]; worked on settlement brief [.4];
       04/26/13   Marshall      5.90   $        375.00 $      2,212.50     worked on confidential memorandum to Judge Donohue and researched and analyzed
2438                                                                       issues regarding same [5.3].
2439   04/26/13   Bledsoe       1.00   $        120.00 $          120.00   Prepare Plaintiffs’ settlement brief for Zuchetto.
       04/26/13   Zuchetto      2.00   $        330.00 $          660.00 Edit settlement memo and confidential memo (1.5); Discuss same w/ co‐counsel (.5).
2440
                                                                         Review pre‐trial order, compare same to trial exhibit list to determine bates range;
                                                                         review document database to find same; prepare trial document tracking spreadsheet;
       04/26/13     Higa        5.20   $        155.00 $          806.00
                                                                         re‐format documents for inclusion into electronic database; prepare email and ftp
                                                                         transfer to transmit same to opposing counsel and litigation team;
2441
                                                                       Review motion in limine; conference regarding same with C. Fisher, A. Locke, and S.
       04/26/13    Roos         3.40   $        465.00 $      1,581.00 Kung; draft trial plan and findings of fact; communications regarding Rule 1006
2442                                                                   summary of caseloads;
                                                                       Draft motion in limine outline and send to A. Locke and S. Kung; meet with A. Lock, S.
       04/26/13    Fisher       1.80   $        330.00 $        594.00
2443                                                                   Kung, and B. Roos to discuss motion in limine;
                                                                       Worked on confidential memorandum to Judge Donohue and researched and analyzed
       04/28/13   Marshall      2.60   $        375.00 $        975.00
2444                                                                   issues for same [2.6].
                                                                       Worked on confidential mediation memorandum to Judge Donohue and researched and
                                                                       analyzed issues regarding same [3.0]; email correspondence with co‐counsel regarding
                                                                       same [.2]; analyzed issues regarding trial exhibits and email correspondence with co‐
       04/29/13   Marshall      4.60   $        375.00 $      1,725.00
                                                                       counsel regarding same [.2]; worked on settlement brief and analyzed issues regarding
                                                                       same [.6]; worked on case strategy issues [.1]; analyzed issues regarding fees and costs
                                                                       [.3]; analyzed issues regarding trial tasks [.2].
2445
                                                                           Edit confidential memo and e‐mail co‐counsel re same (1.75); Incorporate co‐counsel
       04/29/13   Zuchetto      3.75   $        330.00 $      1,237.50
                                                                           revisions into settlement brief and work on fees/costs calculation (2.0).
2446



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 1                KEEPER
                                                                           Review and suggest revisions to confidential settlement brief; add to list of witnesses
       04/29/13    Talner       0.80   $        400.00 $          320.00
2447                                                                       that go with exhibits for trial.
                                                                           Review and approve draft Confidential Memorandum for Mediation before Judge
       04/29/13   Williams      1.20   $        580.00 $          696.00
2448                                                                       Donohue; review and approve of Plaintiffs' settlement statement;
2449   04/29/13    Roos         2.30   $        465.00 $      1,069.50     Draft findings of fact;
                                                                           Continued work on trial witness identification and location and personal conferences
       04/30/13   Boschen       1.10   $        150.00 $          165.00   and correspondence regarding same [.3]; downloaded and resized Plaintiffs' proposed
2450                                                                       trial exhibits [.8].
                                                                           Worked on trial witness and strategy issues and email correspondence with co‐counsel
       04/30/13   Marshall      1.70   $        375.00 $          637.50   regarding same [1.0]; worked on mediation submissions [.3]; analyzed issues regarding
2451                                                                       pretrial and attorney conferences [.4].
                                                                           Review email from opposing counsel and prepare response regarding duplicate exhibits
       04/30/13     Higa        1.20   $        155.00 $          186.00   in proposed exhibit list; review email from counsel and prepare ftp transfer to opposing
2452                                                                       counsel's paralegal;
       04/30/13    Roos         2.10   $        465.00 $          976.50 Communications regarding motion in limine; draft trial plan and findings of fact;
2453
       04/30/13   Williams      0.30   $        580.00 $          174.00 Review emails on indigent defendant trial witnesses and plan for motions in limine;
2454
                                                                           Reviewed, revised and finalized plaintiffs' settlement brief; prepared table of contents
       05/01/13    Kinsey       2.80   $        100.00 $          280.00
2455                                                                       and table of authorities.
                                                                           Continued work on trial preparation and personal conferences and correspondence
       05/01/13   Boschen       2.80   $        150.00 $          420.00
2456                                                                       regarding same [2.8].
                                                                           Worked on mediation submissions and related issues [1.0]; worked on trial witness
       05/01/13   Marshall      5.10   $        375.00 $      1,912.50     issues [.5]; meetings with co‐counsel in preparation for pretrial conference and trial
2457                                                                       [3.6].
                                                                           Travel to Seattle re Pretrial Conference (5.0); Team meeting re strategy/preparation for
       05/01/13   Zuchetto      7.00   $        330.00 $      2,310.00
2458                                                                       Pretrial Conference (2.0).
2459   05/01/13    Dunne        0.20   $        380.00 $           76.00   Email correspondence with co‐counsel re upcoming mediation
                                                                           Review and comment on proposed trial witness list and provide additional info on
       05/01/13    Talner       1.50   $        400.00 $          600.00   potential witnesses to co‐counsel; meeting w/co‐counsel to discuss pretrial conference
2460                                                                       and trial preparation.
                                                                           Draft findings of fact; prepare trial testimony; conference with team regarding trial and
       05/01/13    Roos         4.20   $        465.00 $      1,953.00
2461                                                                       pretrial conference; revise motion in limine;



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        DATE                  HOURS        RATE            SUBTOTAL                                        DESCRIPTION OF WORK
 1                KEEPER
                                                                           Prepare for and participate in litigation team meeting on pretrial conference strategy;
       05/01/13   Williams      3.00   $        580.00 $      1,740.00
2462                                                                       review Defendants' settlement brief;
                                                                           Edit motions in limine; participate in team meeting in preparation for pretrial
       05/01/13    Fisher       2.50   $        330.00 $          825.00
2463                                                                       conference with Judge Lasnik;
2464   05/01/13     Higa        1.80   $        155.00 $          279.00   Attend pre‐trial hearing litigation team meeting;
                                                                           Attend telephone conference with opposing counsel regarding plaintiff's pre‐trial
       05/01/13     Higa        0.30   $        155.00 $           46.50
2465                                                                       exhibits;
2466   05/02/13   Boschen       0.50   $        150.00 $           75.00   Personal conferences and correspondence regarding trial strategy [.5].
                                                                           Telephone conference for pretrial conference and meetings with co‐counsel regarding
       05/02/13   Marshall      5.00   $        375.00 $      1,875.00     same and trial strategy [3.1]; worked on trial witnes and trial preparation issues [.5];
2467                                                                       worked on motions in limine [1.4].
                                                                           Preparation for and attend pretrial conference and debrief w/ co‐counsel re same (2.0);
       05/02/13   Zuchetto      7.20   $        330.00 $      2,376.00     Travel from Seattle to Spokane re pretrial conference (5.0); Review Defendants’ pretrial
2468                                                                       statement (.2).
                                                                           Prepare for and attend pretrial conference; meeting with co‐counsel re same; meeting
       05/02/13    Dunne        1.20   $        380.00 $          456.00
2469                                                                       with N. Talner re same
                                                                           Discuss pretrial conference w/co‐counsel; discuss documents needed in connection
       05/02/13    Talner       0.80   $        400.00 $          320.00   w/witness testimony and motions in limine; review and suggest revisions to draft
2470                                                                       motions in limine.
                                                                           Attend pretrial conference; conference with team regarding same; prepare for motion
       05/02/13    Roos         3.60   $        465.00 $      1,674.00     in limine meet and confer; review defendants' pretrial statement; prepare trial
2471                                                                       testimony;
                                                                           Prepare for pretrial conference with Judge Lasnik; attend pretrial conference with trial
       05/02/13   Williams      2.50   $        580.00 $      1,450.00
                                                                           team before Judge Lasnik; discuss results of pretrial conference with litigation team;
2472
2473   05/02/13    Fisher       3.30   $        330.00 $      1,089.00 Prepare and participate in pretrial conference with Judge Lasnik;
                                                                       Continued locating witnesses for trial [.2]; continued work on trial exhibits and
       05/03/13   Boschen       0.90   $        150.00 $        135.00
2474                                                                   correspondence regarding same [.7].
2475   05/03/13   Marshall      0.30   $        375.00 $        112.50 Worked on trial preparation issues [.3].
                                                                       Telephone conference with J. Strait re trial testimony; email correspondence with co‐
       05/03/13    Dunne        0.70   $        380.00 $        266.00
2476                                                                   counsel re same; email correspondence with J. Strait re trial
                                                                       Prepare for and attend motion in limine meet and confer conference; communications
       05/03/13    Roos         0.90   $        465.00 $        418.50
2477                                                                   regarding same;



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        DATE                  HOURS        RATE              SUBTOTAL                                       DESCRIPTION OF WORK
 1                KEEPER
                                                                             Coordinate and exchange emails with ACLU and litigation team on expert testimony of
       05/03/13   Williams      0.50   $        580.00 $            290.00
2478                                                                         John Strait and J. Boerner;
                                                                         Prepare for and participate in phone conference with A. Rosenberg to discuss motions
       05/03/13    Fisher       3.60   $        330.00 $        1,188.00 in limine, conference of attorneys, and admission of deposition transcript testimony;
                                                                         coordinate meeting time with Sgt. O'Neil and A. Denny; draft motions in limine;
2479
                                                                             Review case file production and prepare email to co‐counsel paralegal regarding same;
       05/03/13     Higa        3.20   $        155.00 $            496.00
                                                                             review hard copy trial exhibits and prepare notebooks of same;
2480
2481   05/05/13   Marshall      2.10   $        375.00 $          787.50 Worked on strategy, witness, and exhibit issues for trial [2.1].
                                                                         Worked on motions in limine and researched and analyzed issues regarding same [1.5];
                                                                         email correspondence with co‐counsel regarding same [.2]; worked on trial exhibits,
       05/06/13   Marshall      4.40   $        375.00 $        1,650.00
                                                                         trial task list, trial witness issues, and trial strategy [2.3]; telephone conference with co‐
2482                                                                     counsel regarding same [.4].
                                                                         Review/edit Motion in Limine (.4); Discuss trial prep. and work on same w/ co‐counsel
       05/06/13   Zuchetto      1.40   $        330.00 $          462.00
2483                                                                     (1.0).
2484   05/06/13    Talner       0.30   $        400.00   $        120.00 Review and comment on draft motions in limine.
2485   05/06/13   Williams      0.50   $        580.00   $        290.00 Review and exchange emails with litigation team on trial preparation;
2486   05/06/13     Roos        0.90   $        465.00   $        418.50 Revise motion in limine; communications regarding smae;
2487   05/06/13    Fisher       3.90   $        330.00   $      1,287.00 Finalize motions in limine;
                                                                         Continued work on locating trial witnesses [.5]; continued review of and work on trial
       05/07/13   Boschen       0.80   $        150.00 $          120.00
2488                                                                     exhibits [.3].
                                                                         Worked on trial tasks, including deposition designations, and email correspondence
                                                                         with co‐counsel regarding same [.4]; worked on trial exhibits and strategy for admitting
       05/07/13   Marshall      6.40   $        375.00 $        2,400.00 same [2.4]; reviewed additional exhibits for amendment to pretrial statement and email
                                                                         correspondence with co‐counsel regarding same [.9]; worked on designations for Witt
                                                                         deposition [2.7].
2489
       05/07/13   Zuchetto      0.35   $        330.00 $            115.50 E‐mail co‐counsel re deposition designations (.1); Review draft findings (.25).
2490
                                                                           Review and exchange emails with litigation team on trial preparation and scheduling
       05/07/13   Williams      1.50   $        580.00 $            870.00
2491                                                                       issues;
2492   05/07/13     Higa        0.30   $        155.00 $             46.50 Finalize assembly of Trial Exhibit binders;



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 1                KEEPER
                                                                           Conference regarding opposition to motion in limine; review defendants' motion in
       05/07/13    Roos         0.70   $        465.00 $          325.50
2493                                                                       limine;
       05/07/13    Fisher       0.80   $        330.00 $          264.00 Organize conference of attorneys; draft agenda; read defendants' motions in limine;
2494
                                                                       Case status conference call [.9]; telephone and correspondence with witness [1.2];
                                                                       drafted summary regarding same [.6]; drafted and finalized public disclosure request
       05/08/13   Boschen       6.80   $        150.00 $      1,020.00
                                                                       [.2]; continued work on trial exhibit review and witness location [3.5]; worked on
                                                                       deposition designations [.2]; personal conference regarding trial preparation [.2].
2495
                                                                       Participated in weekly conference call with co‐counsel regarding various trial
                                                                       preparation, witness, and exhibit issues [.9]; updated trial task list and email to co‐
       05/08/13   Marshall      3.80   $        375.00 $      1,425.00 counsel regarding same [.1]; worked on various trial task issues [.8]; analyzed issues
                                                                       regarding class member as trial witness [.4]; reviewed deposition transcripts of Mr. Witt
2496                                                                   and Mr. Moon in preparation for trial [1.6].
                                                                       Work on trial witness/deposition designation issues (3.0); Work on trial witness prep.
       05/08/13   Zuchetto      5.25   $        330.00 $      1,732.50
2497                                                                   (1.25); Team meeting re litigation strategy/case status (1.0).
                                                                       Teleconference with co‐counsel to discuss case strategy and trial preparation; emails
       05/08/13    Talner       0.60   $        400.00 $        240.00
2498                                                                   w/co‐counsel to discuss potential trial witnesses.
       05/08/13   Williams      0.50   $        580.00 $          290.00 Exchange emails with litigation team and discuss results of team meeting with C. Fisher;
2499
                                                                       Attend trial team litigation conference; revise page/line deposition designations and
       05/08/13     Higa        2.10   $        155.00 $          325.50
2500                                                                   prepare same for filing;
                                                                       Telephone conference regarding trial preparation; designate deposition testimony to be
       05/08/13    Roos         3.90   $        465.00 $      1,813.50
2501                                                                   offered in lieu of live testimony;
       05/08/13    Fisher       2.30   $        330.00 $          759.00 Participate in team meeting; outline interview questions for call with Sgt. O'Neil;
2502
                                                                       Continued work on deposition designations, trial witnesses and objections and
       05/09/13   Boschen       7.40   $        150.00 $      1,110.00 stipulations to Defendants' proposed trial exhibits; personal conferences and
2503                                                                   correspondence regarding same.
2504   05/09/13   Zuchetto      1.25   $        330.00 $        412.50 Finalize witness deposition review and designations re trial.
2505   05/09/13     Higa        3.20   $        155.00 $        496.00 Revise and assemble electronic copies of page/line deposition designations;
2506   05/09/13     Roos        3.10   $        465.00 $      1,441.50 Designate deposition testimony to be offered in lieu of live testimony;
       05/09/13    Fisher       3.50   $        330.00 $      1,155.00 Complete deposition designations for J. Ladenburg and E. Stendal; interview Sgt. O'Neil;
2507


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 1                KEEPER
                                                                           Continued work on objections and stipulations to Defendants' proposed trial exhibits;
       05/10/13   Boschen       5.50   $        150.00 $          825.00
2508                                                                       continued work on witness location.
                                                                           Worked on trial preparation, including deposition designations, trial exhibit issues, and
       05/10/13   Marshall      2.80   $        375.00 $      1,050.00     pretrial statement amendment issues; email correspondence with co‐counsel regarding
2509                                                                       same [2.1]; worked on trial witness issues [.7].
2510   05/10/13   Zuchetto      2.75   $        330.00 $          907.50   Finalize deposition review/analysis and designations.
                                                                           Review and compile factual evidence for proof of claim; draft memo re same for
       05/10/13    Talner       2.70   $        400.00 $      1,080.00
2511                                                                       purposes of settlement conference and trial.
2512   05/10/13    Higa         1.20   $        155.00 $          186.00   Revise page line deposition designations;
2513   05/10/13    Roos         0.40   $        465.00 $          186.00   Revise deposition designations;
                                                                           Organize and send deposition designations to defendants; edit and send amended
       05/10/13    Fisher       2.80   $        330.00 $          924.00
2514                                                                       pretrial statement to defendants;
2515   05/11/13   Marshall      0.40   $        375.00 $          150.00   Worked on trial preparation [.4].
2516   05/13/13   Boschen       4.10   $        150.00 $          615.00   Continued work on objections and stipulations to Defendants trial exhibits;
                                                                           Review and compile factual evidence for proof of claim; draft memo re same for
       05/13/13    Talner       3.10   $        400.00 $      1,240.00
2517                                                                       purposes of settlement conference and trial.
                                                                           Conference with D. Steele regarding pretrial order; communications regarding
       05/13/13    Roos         1.70   $        465.00 $          790.50
                                                                           deposition designations; review deposition transcript of C. Jackson;
2518
                                                                         Review various emails on pretrial statement, exchange of exhibits and filing of
       05/13/13   Williams      0.50   $        580.00 $          290.00
2519                                                                     deposition designations;
                                                                         Worked on witness location; telephone conferences, personal conferences and
       05/14/13   Boschen       2.70   $        150.00 $          405.00
2520                                                                     correspondence regarding same; telephone conference with client.
                                                                         Worked on stipulations and objections to defendants' exhibits and other trial
       05/14/13   Marshall      1.80   $        375.00 $          675.00
2521                                                                     preparation issues [1.8].
                                                                         Review and compile factual evidence for proof of claim; draft memo re same for
       05/14/13    Talner       1.50   $        400.00 $          600.00
2522                                                                     purposes of settlement conference and trial.
                                                                           Review attorney memorandum and insure that page line deposition designations
       05/14/13     Higa        4.40   $        155.00 $          682.00
                                                                           comport with same; review case file trial exhibit for redactions per LCR 5.2;
2523
                                                                       Find documents to support motion in limine opposition; discuss deposition designation
       05/14/13    Fisher       4.00   $        330.00 $      1,320.00 and exhibits with J. Higa and B. Roos; look for places where Cities said their systems
2524                                                                   would be adequate by January 2013;
2525   05/14/13    Roos         3.80   $        465.00 $      1,767.00 Revise opposition to motion in limine; research regarding same;


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 1                KEEPER
                                                                       Continued work on objections and stipulations to Defendants' proposed trial exhibits;
                                                                       personal conferences and correspondence regarding same; telephone conferences with
       05/15/13   Boschen       8.40   $        150.00 $      1,260.00
                                                                       class member and client; researched witness location; telephone conferences and
2526                                                                   correspondence regarding same.
                                                                       Analyzed issues regarding settlement conference and strategy for same [.2]; telephone
                                                                       conference with co‐counsel regarding various trial and settlement issues [1.0]; worked
       05/15/13   Marshall      6.10   $        375.00 $      2,287.50
                                                                       on deposition designations, pretrial order, and other trial issues [1.9]; worked on
                                                                       proposed settlement terms and strategy for settlement conference [3.0].
2527
                                                                         Team litigation meeting re mediation and trial prep. and follow up re same w/ co‐
       05/15/13   Zuchetto      3.50   $        330.00 $      1,155.00
2528                                                                     counsel.
2529   05/15/13    Dunne        1.90   $        380.00 $          722.00 Prepare for upcoming mediation; correspondence with co‐counsel re same
       05/15/13    Talner       0.80   $        400.00 $          320.00 Teleconference with co‐counsel to discuss case strategy and trial preparation.
2530
       05/15/13     Higa        3.90   $        155.00 $          604.50 Attend litigation team conference; continue LCR 5.2 redaction review of trial exhibits;
2531
                                                                       Edit pretrial order; participate in team call; draft and send letter to A. Rosenberg
       05/15/13    Fisher       2.80   $        330.00 $        924.00 regarding deposition designations; draft agenda for conference of attorneys; edit
2532                                                                   oppositions to motions in limine;
                                                                       Revise pretrial order; conference with trial team regarding trial preparation; revise
       05/15/13    Roos         7.10   $        465.00 $      3,301.50 opposition to motion in limine; research relating to same; review deposition transcript
2533                                                                   of C. Jackson in preparation of direct testimony;
                                                                       Prepare for litigation team conference call on trial preparation and settlement
                                                                       discussions; participate in litigation team conference call; provide instructions to Perkins
       05/15/13   Williams      5.00   $        580.00 $      2,900.00
                                                                       team on witnesses, exhibits and visual aides; review and edit proposed settlement
2534                                                                   terms;
                                                                       Continued work on trial exhibits and correspondence regarding same [.8]; finalized
       05/16/13   Boschen       1.50   $        150.00 $        225.00 objections and stipulations to Defendants' proposed trial exhibits and correspondence
2535                                                                   regarding same [.7].
                                                                       Meeting with co‐counsel in preparation for mediation [.4]; traveled to, participated in,
       05/16/13   Marshall     10.90   $        375.00 $      4,087.50 and returned from mediation [8.8]; meeting with co‐counsel regarding same [.5];
2536                                                                   worked on settlement issues [1.2].
2537   05/16/13   Zuchetto     14.00   $        330.00 $      4,620.00 Preparation for and attend mediation (9); Travel back to Spokane (5).



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 1                KEEPER
                                                                       Review our stipulations and objections to defendants' exhibit list; edit opposition to
       05/16/13    Fisher       2.00   $        330.00 $          660.00
2538                                                                   motions in limine and draft declaration thereto;
2539   05/16/13    Dunne       10.00   $        380.00 $      3,800.00 Meeting with co‐counsel in prep for mediation; attend mediation
                                                                           Review and exchange emails with Sarah Dunne of ACLU on fees and disbursements;
       05/16/13   Williams     10.00   $        580.00 $      5,800.00
                                                                           prepare for and attend mediation of case with Magistrate Judge Donohue;
2540
                                                                       Telephone conferences with co‐counsel, Mr. Hardesty, and Mr. Rogerson regarding
                                                                       settlement negotiations [2.3]; analyzed issues regarding same [1.7]; worked on final
       05/17/13   Marshall      8.80   $        375.00 $      3,300.00
                                                                       settlement agreement [1.6]; worked on revisions to defendants' proposed settlement
                                                                       terms and analyzed issues regarding same [3.2].
2541
2542   05/17/13   Zuchetto      3.25   $        330.00 $      1,072.50 Work on settlement and e‐mail co‐counsel and adjuster re same.
2543   05/17/13    Dunne        0.80   $        380.00 $        304.00 Correspondence with co‐counsel re settlement terms and fees and costs
2544   05/17/13     Higa        3.10   $        155.00 $        480.50 Continue review of Trial Exhibits for CR 5.2 redactions;
                                                                           Save and review email from A. Rosenberg regarding parties' trail exhibits; participate in
       05/17/13    Fisher       0.80   $        330.00 $          264.00
                                                                           conference of attorneys; discuss case with J. Williams and B. Roos;
2545
                                                                           Conference with A. Rosenberg regarding pretrial order; prepare for same;
       05/17/13    Roos         2.10   $        465.00 $          976.50
2546                                                                       communications regarding same; revise opposition to motion in limine;
                                                                           Meeting with A. Rosenburg on pretrial statement; meet with B. Roos and C. Fisher on
       05/17/13   Williams      1.20   $        580.00 $          696.00
                                                                           case status and results of 05/16/13 mediation before Judge Donohue;
2547
                                                                         Worked on settlement issues [.2]; worked on response to defendants' motions in limine
       05/18/13   Marshall      1.20   $        375.00 $          450.00 and analyzed issues regarding same [.7]; worked on trial strategy issues [.2]; worked on
2548                                                                     document management issues [.1].
                                                                         Worked on settlement agreement terms and researched and analyzed issues regarding
       05/19/13   Marshall      1.90   $        375.00 $          712.50 same [1.5]; email correspondence with co‐counsel regarding same [.1]; worked on trial
2549                                                                     preparation [.3].
       05/19/13   Zuchetto      1.50   $        330.00 $          495.00 Edit/revise response re Motion in Limine and proposed settlement agreement.
2550
                                                                         email correspondence with co‐counsel re settlement terms; review and revise
       05/19/13    Dunne        1.10   $        380.00 $          418.00
2551                                                                     settlement agreement
2552   05/19/13    Roos         1.10   $        465.00 $          511.50 Revise opposition to motion in limine;



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                                                                       Email correspondence with co‐counsel regarding draft settlement agreement [.2];
                                                                       analyzed issues regarding same [.2]; email to opposing counsel regarding same [.1];
                                                                       worked on strategy for resolving fees and costs [.9]; worked on settlement negotiations
                                                                       and email correspondence and telephone conferences with Mr. Hardesty and co‐
       05/20/13   Marshall      6.40   $        375.00 $      2,400.00 counsel regarding same [1.8]; email correspondence with Judge Donohue regarding
                                                                       assistance with same [.2]; telephone conferences and email correspondence with co‐
                                                                       counsel regarding settlement negotiations and strategy for same [.8]; researched and
                                                                       analyzed issues regarding entitlement to fees [.3]; worked on trial preparation [1.1];
                                                                       telephone conferences with co‐counsel and Judge Donohue regarding mediation [.8].
2553
                                                                       Discuss settlement negotiations w/ co‐counsel work on response/strategy re same and
       05/20/13   Zuchetto      4.35   $        330.00 $      1,435.50 participate in settlement conference w/ Judge Donahue (4.1); Review Cities’ response
2554                                                                   to Motion in Limine (.25).
2555   05/20/13    Dunne        0.80   $        380.00 $        304.00 correspondence with co‐counsel re settlement terms and fees and costs
                                                                       Conference call with litigation team on status of settlement terms and attorneys' fees;
       05/20/13   Williams      3.50   $        580.00 $      2,030.00 exchange emails on same; begin trial preparation with review of summary judgment
2556                                                                   motions; editing of opening statement;
                                                                       Revise opposition to motion in limine; prepare direct testimony of C. Jackson; telephone
       05/20/13    Roos         2.30   $        465.00 $      1,069.50
2557                                                                   conference with team regarding trial and mediation;
                                                                       Continued work on trial preparation and witness location and subpoenas; personal
       05/21/13   Boschen       8.50   $        150.00 $      1,275.00
2558                                                                   conferences and correspondence regarding same.
                                                                       Prepared for, traveled to, participated in, and returned from settlement conference
                                                                       with Judge Donohue [2.6]; analyzed issues regarding same [.1]; telephone conference
                                                                       with co‐counsel regarding trial preparation [.2]; worked on trial preparation [1.6];
       05/21/13   Marshall      8.90   $        375.00 $      3,337.50 worked on exhibit issues [.4]; telephone conferences with Mr. Williams and witness
                                                                       regarding trial testimony [1.4]; telephone conference with Mr. Zuchetto regarding trial
                                                                       assignments [.4]; worked on trial witness issues [.6]; worked on trial lineup chart [.8];
                                                                       worked on trial brief [.8].
2559
2560   05/21/13   Zuchetto      0.75   $        330.00 $        247.50 Prepare for call to R. Howson (.25); Discuss trial prep. w/ co‐counsel (.5).
                                                                       Prepare for and attend settlement conference; correspondence with co‐counsel re
       05/21/13    Dunne        2.80   $        380.00 $      1,064.00
2561                                                                   settlement; email correspondence re witnesses in jails



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 1                KEEPER
                                                                       Communications regarding trial subpoenas and mediation; review pretrial order;
       05/21/13    Roos         2.80   $        465.00 $      1,302.00
2562                                                                   prepare for direct testimony of C. Jackson;
                                                                       Attend conference regarding trial technology support; continue review of case file
       05/21/13     Higa        9.40   $        155.00 $      1,457.00 exhibits for LCR 5.2 redactions; review trial exhibits for material that references L.
2563                                                                   Alvarez and prepare email providing summary of same;
2564   05/21/13    Fisher       0.20   $        330.00 $         66.00 Email A. Denny asking to accept service of Sgt. O'Neil's trial subpoena;
                                                                       Exchange emails with litigation team on status of settlement discussions; conference
                                                                       call with litigation team on trial preparation plan; conference call with T. Marshall and L.
       05/21/13   Williams      4.00   $        580.00 $      2,320.00
                                                                       Alvarez on expected witness testimony; draft witness subpoena for L. Alvarez; send
                                                                       email to J. Higa on collecting Alvarez correspondence;
2565
                                                                         Personal conference regarding case timeline for trial; telephone conferences and
                                                                         correspondence with inmate counselors; telephone conference with chambers
       05/22/13   Boschen       3.40   $        150.00 $          510.00
                                                                         regarding telephonic testimony; continued work on witness location; telephone
2566                                                                     conference to jail regarding with witness.
                                                                       Worked on trial preparation issues [.3]; analyzed issues regarding proposed testimony
                                                                       of Mr. Howson and telephone conference with co‐counsel regarding same [.4]; worked
                                                                       on proposed witness order in plaintiffs' case and email correspondence with co‐counsel
                                                                       regarding same [.8]; prepared for, traveled to, participated in, and returned from trial
       05/22/13   Marshall      7.40   $        375.00 $      2,775.00
                                                                       strategy meeting with co‐counsel [4.1]; analyzed issues regarding presentation of
                                                                       testimony from incarcerated individuals and attempted to contact opposing counsel
                                                                       regarding same [.3]; reviewed materials for Mr. Osborn and Mr. Norman in preparation
                                                                       for trial testimony [1.2]; worked on exhibit issues [.3].
2567
       05/22/13   Zuchetto      0.50   $        330.00 $          165.00 Call to Roy Howson re potential trial witness and discuss same w/ co‐counsel.
2568
                                                                       Conference with trial team regarding trial schedule and strategy; review trial exhibits for
       05/22/13    Roos         5.20   $        465.00 $      2,418.00 direct testimony of C. Jackson, J. Aarstad and B. Harrison; revise pretrial order and
2569                                                                   deposition designations;
                                                                         Continue review of trial exhibits for LCR 5.2 redactions; attend weekly litigation
                                                                         conference; revise page and line deposition designations; finalize collection and review
       05/22/13     Higa        5.60   $        155.00 $          868.00
                                                                         of L. Alvarez review material; review additional exhibits from co‐counsel and revise trial
                                                                         exhibit collection; review trial witness assignments and revise proposed trial schedule;
2570


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 1                KEEPER
                                                                       Various meetings with trial team to discuss witnesses and prepare for trial; continue
       05/22/13   Williams      7.30   $        580.00 $      4,234.00 developing direct examination of L. Alvarez; begin drafting opening statement visual
2571                                                                   aids; coordinate on final pretrial order;
                                                                       Prepared draft of stipulation and proposed order regarding incarcerated witness
       05/23/13    Kinsey       0.40   $        100.00 $         40.00
2572                                                                   testimony.
                                                                         Worked on corrected trial exhibits and correspondence and personal conference
                                                                         regarding same [1.5]; reviewed witness direct examination outline and correspondence
       05/23/13   Boschen       4.50   $        150.00 $          675.00
                                                                         regarding same [.2]; telephone conferences with trial witnesses and personal
                                                                         conference regarding same [2.1]; continued work on trial preparation [.7].
2573
                                                                       Worked on exhibit issues [.6]; researched and analyzed issues regarding hearsay
                                                                       exception [.4]; telephone conference with Mr. Osborn regarding trial testimony [.7];
                                                                       telephone conference with Mr. Norman regarding trial testimony [.7]; worked on
                                                                       outlines of direct examinations of indigent defendants [2.8]; telephone conference and
       05/23/13   Marshall      8.20   $        375.00 $      3,075.00
                                                                       email correspondence with with opposing counsel regarding testimony of incarcerated
                                                                       defendants via telephonic transmission [.3]; worked on stipulation for same [.1];
                                                                       analyzed issues regarding same [.3]; worked on trial witness issues [.8]; worked on
                                                                       various trial preparation issues [1.5].
2574
2575   05/23/13   Zuchetto      0.10   $        330.00 $           33.00 Respond re hearsay issue.
                                                                           Communications regarding exhibits; communications regarding service of subpoena on
       05/23/13    Roos         1.90   $        465.00 $          883.50
                                                                           J. Aarstad; review trial exhibits for direct testimony of witnesses;
2576
                                                                       Continue to prepare for trial by creating examination outlines for Letty Alvarez, John
       05/23/13   Williams      7.80   $        580.00 $      4,524.00 Stendal, and John Strait; coordinate with D. Steele on legal research of hearsay
2577                                                                   exception;
                                                                         Review Stendal fact and 30b6 depositions and ascertain correlating trial exhibits for
                                                                         witness preparation; review recent drafts of Trial Exhibit and Witness Tracking Sheet to
       05/23/13     Higa        4.60   $        155.00 $          713.00
                                                                         determine which exhibits to pull; attend telephone conference and prepare email
                                                                         regarding trial logistics with Judge Lasnik's clerk;
2578




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 1                KEEPER
                                                                         Telephone conference with witness; telephone calls, telephone conferences and email
       05/24/13   Boschen       3.80   $        150.00 $          570.00 correspondence with witnesses; drafted subpoenas, acceptances of service and cover
                                                                         letters; prepared mailings for same; personal conferences regarding trial witnesses.
2579
                                                                       Analyzed issues regarding authentication and admissibility of certain exhibits [.1];
                                                                       worked on outline for Alvarez direct and reviewed exhibits to be used during same [.7];
                                                                       worked on direct examination outlines for Mr. Osborn and Mr. Norman and reviewed
                                                                       documents in regard to same [2.2]; worked on witness issues [1.1]; reviewed
       05/24/13   Marshall      8.10   $        375.00 $      3,037.50
                                                                       defendants' reply on motion in limine and analyzed issues regarding inappropriateness
                                                                       of filing same [.2]; telephone conference with Mr. Muenscher regarding trial testimony
                                                                       [.5]; telephone conference with class member regarding potential trial testimony [.6];
                                                                       worked on trial preparation [2.7].
2580
2581   05/24/13    Roos         1.10   $        465.00 $        511.50 Draft outline for direct testimony of C. Jackson;
                                                                       Continue to prepare for trial by creating examination outlines for Letty Alvarez, John
       05/24/13   Williams      7.20   $        580.00 $      4,176.00
2582                                                                   Stendal, and John Strait;
                                                                       Prepare email summary of trial logistics; reformat trial exhibits for inclusion into Trial
                                                                       Director database; attend conference regarding setup of same; review original
       05/24/13    Higa         3.20   $        155.00 $        496.00
                                                                       deposition transcripts in file and prepare email to co‐counsel paralegal inquiring as to
2583                                                                   status of same;
                                                                       Worked on outline of direct examination of Mr. Muenscher [.8]; worked on outlines of
                                                                       direct examinations of Mr. Moon and Ms. Montague and reviewed documents in regard
       05/25/13   Marshall      5.40   $        375.00 $      2,025.00
                                                                       to same [4.1]; reviewed documents in preparation for cross examination of Mr. Laws
2584                                                                   [.5].
                                                                         Worked on outline of Moon direct examination and reviewed documents in regard to
       05/26/13   Marshall      4.90   $        375.00 $      1,837.50
                                                                         same [1.6]; worked on trial preparation issues [.6]; worked on trial brief [2.7].
2585
2586   05/26/13    Roos         2.10   $        465.00 $        976.50 Draft outline of direct testimony of C. Jackson;
                                                                       Finalize reformatting of trial exhibits for inclusion in Trial Director Database; perform
       05/26/13    Higa         4.00   $        155.00 $        620.00 dry run of functions; assemble trial logistic information and prepare emails regarding
2587                                                                   same;
                                                                       Continue to prepare for trial by editing examination outlines for Letty Alvarez, John
       05/26/13   Williams      8.10   $        580.00 $      4,698.00
2588                                                                   Stendal, and John Strait; begin working on opening statement;
2589   05/26/13    Fisher       0.20   $        330.00 $         66.00 Check cites for Stendal's cross‐examination;


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 1                KEEPER
                                                                       Worked on trial brief [5.5]; worked on trial exhibits [.2]; worked on outline for
       05/27/13   Marshall      6.90   $        375.00 $      2,587.50 examination of Mr. Stendal [.7]; researched and analyzed issues regarding Rule 43 and
                                                                       presentation of testimony of incarcerated individuals [.5].
2590
                                                                       Check cites for Stendal's cross‐examination; send J. Williams list of Feldman's
       05/27/13    Fisher       2.80   $        330.00 $          924.00
2591                                                                   recommendations that the Cities have not implemented;
                                                                       Draft outline for direct testimony of C. Jackson; review exhibits relating to same; draft
       05/27/13    Roos         5.10   $        465.00 $      2,371.50
2592                                                                   motion to strike;
                                                                           Continue to prepare for trial by editing examination outlines for Letty Alvarez, John
       05/27/13   Williams      8.20   $        580.00 $      4,756.00
                                                                           Stendal, and John Strait; continue working on opening statement;
2593
                                                                       Coordinated accommodations and transportation for trial witnesses; telephone
                                                                       conferences and correspondence with witnesses; prepared subpoenasworked on
       05/28/13   Boschen       8.90   $        150.00 $      1,335.00 exhibits; conference call regarding trial preparation; drafted Declaration of Shari Hall in
                                                                       support of motion to allow witnesses to testify telephonically; telephone conference
                                                                       with Attorney General's office and corrections facilities regarding same.
2594

                                                                       Analyzed issues regarding difficulty with transporting prisonors for testimony and
                                                                       analyzed issues regarding proposal for telephonic testimony [.5]; telephone conference
                                                                       and email correspondence with opposing counsel regarding same [.2]; worked on
                                                                       general trial preparation and email correspondence with co‐counsel regarding same
                                                                       [.3]; worked on trial brief [1.0]; worked on appendix to same [.3]; worked on issues
                                                                       regarding witness lineup and related time constraints [.3]; worked on issues regarding
       05/28/13   Marshall     10.10   $        375.00 $      3,787.50
                                                                       direct examination of witness [.1]; telephone conferences with opposing counsel and
                                                                       court regarding request for telephonic motion over presentation of testimony of
                                                                       incarcerated individuals [.2]; researched and analyzed issues regarding same and
                                                                       worked on motion to allow telephonic testimony [5.6]; telephone conference with co‐
                                                                       counsel regarding various trial issues [.5]; worked on witness examination outline for
                                                                       Ms. Montague and other trial preparation issues [1.1].
2595
2596   05/28/13   Zuchetto      1.25   $        330.00 $          412.50 Review/edit trial brief (.75); Participate in pretrial litigation strategy call (.5).




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 1                KEEPER
                                                                       prepare for and attend litigation team conference; review additional trial exhibits from
                                                                       co‐counsel and reformat same to include in trial exhibits; perform final review of trial
       05/28/13    Higa         6.50   $        155.00 $      1,007.50 exhibits and coordinate transfer of same to vendor for preparation of court copies;
                                                                       attend conferences, prepare emails, and attend telephonic conferences to resolve Trial
2597                                                                   Director support issues;
                                                                       Check E. Stendal deposition cites for accuracy; participate in team call; draft direct
       05/28/13    Fisher       1.50   $        330.00 $        495.00
2598                                                                   examination outline for J. O'Neill;
                                                                          Telephone conference with team regarding trial witness preparation and strategy; draft
       05/28/13    Roos         7.90   $        465.00 $      3,673.50
                                                                          outline of direct testimony of C. Jackson; review witness outlines and exhibit list;
2599
                                                                          Continue to prepare for trial by editing examination outlines for Letty Alvarez, John
       05/28/13   Williams      7.70   $        580.00 $      4,466.00
                                                                          Stendal, and John Strait; continue working on opening statement;
2600
                                                                         Reviewed, revised and finalized trial brief; arranged filing and service of same; prepared
                                                                         draft of, reviewed, revised and finalized motion to allow incarcerated witnesses testify;
                                                                         prepared and finalized supporting Marshall declaration; finalized declarations of Shari
       05/29/13   Kinsey        3.10   $        100.00 $          310.00
                                                                         Hall and Kathleen Glennon; prepared and finalized proposed order; arranged filing and
                                                                         service of same; transmission of proposed order to chambes; coordinate notebook
                                                                         transmission to chambers.
2601
                                                                       Continued work on trial witnesses, evidence, and exhibits; continued work on
       05/29/13   Boschen       9.10   $        150.00 $      1,365.00 declarations in support of motion to allow telephonic testimony; personal conferences
2602                                                                   and correspondence regarding same.




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                                                                       Analyzed issues regarding expert testimony and email correspondence with co‐counsel
                                                                       regarding same [.1]; worked on witness issues and email to Ms. Montague regarding
                                                                       same [.2]; worked on motion to allow telephonic testimony of incarcerated witnesses
                                                                       and declarations in support of same [2.0]; worked on amendment to exhibit list for
                                                                       pretrial order [.1]; finalized trial brief [.5]; worked on exhibit admission issues [.2];
                                                                       telephone conference with Ms. Osborne regarding trial testimony [1.0]; worked on
                                                                       revisions to outline for direct examination of Ms. Osborne [.4]; worked on revisions to
       05/29/13   Marshall     11.90   $        375.00 $      4,462.50
                                                                       witness lineup [.5]; worked on trial and witness preparation [1.5]; worked on plan for
                                                                       admitting documents that defendants are challenging on authenticity and admissibility
                                                                       grounds and telephone conference with co‐counsel regarding same [2.2]; analyzed
                                                                       issues regarding expert declaration submissions and worked on notice of Mr. Boerner's
                                                                       declaration [.2]; researched and analyzed issues regarding refreshing of recollection [.4];
                                                                       reviewed documents and deposition transcripts in preparation for outline of Montague
                                                                       direct examination [2.6].
2603
                                                                           Edit/review motion re telephonic testimony (.4); Research re prevailing party
       05/29/13   Zuchetto      2.65   $        330.00 $          874.50
2604                                                                       requirements and e‐mail co‐counsel re same (1.75); Edit trial brief (.5).
                                                                       Review vendor's copy of plaintiff's trial exhibits and coordinate delivery of same to
                                                                       Court; review correspondence and task lists to prepare for and attend litigation team
       05/29/13     Higa        7.40   $        155.00 $      1,147.00 conference; review draft witness outlines and prepare exhibit notebooks for same;
                                                                       review draft witness outlines and prepare electronic workbooks in Trial Director for
                                                                       same; review exhibits for additional testimony related to target witnesses;
2605
                                                                           Draft outline of C. Jackson direct examination; draft outline of B. Harrison direct
       05/29/13    Roos         7.40   $        465.00 $      3,441.00
                                                                           examination; telephone conference with trial team regarding exhibits;
2606
                                                                           Continue to prepare for trial by editing examination outlines for Letty Alvarez, John
       05/29/13   Williams     10.10   $        580.00 $      5,858.00
                                                                           Stendal, and John Strait; continue working on opening statement and visual aids;
2607
       05/30/13   Boschen      10.50   $        150.00 $      1,575.00 Continued work on trial preparation, witnesses, exhibits, evidence and logistics.
2608




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 1                KEEPER
                                                                       Telephone conference with co‐counsel regarding themes in opening and key evidence
                                                                       [.3]; worked on trial preparations [.3]; telephone conference and email correspondence
                                                                       with Mr. Gipe regarding witness subpoena for Mr. Laws and worked on issues related to
       05/30/13   Marshall     12.10   $        375.00 $      4,537.50
                                                                       same [.3]; worked on trial exhibit issues [.4]; telephone conference with opposing
                                                                       counsel regarding same [.1]; worked on witness examination outlines [9.7]; worked on
                                                                       trial technology issues [1.0].
2609
                                                                         Work on Sybrandy cross outline (4.25); Review/analyze trial exhibits and e‐mail co‐
       05/30/13   Zuchetto      4.55   $        330.00 $      1,501.50
2610                                                                     counsel re same (.3).

                                                                       Prepare email to court clerk regarding tech dry run plans; review exhibits for J. Strait
                                                                       declarations and prepare email regarding same; attend conference calls with co‐counsel
                                                                       paralegal to discuss trial exhibit modification and trial logistics; review revised exhibits
                                                                       11 and 12, reformat same for production to Court and counsel, and ftp to co‐counsel
       05/30/13     Higa        8.40   $        155.00 $      1,302.00 paralegal; attend technology dry run at Court and prepare email summarizing
                                                                       conference with Court Clerk; review draft powerpoint and compare to trial exhibits to
                                                                       perform citation check of same; review revised witness outlines and revise trial witness
                                                                       exhibits accordingly; load deposition transcripts into Trial Director and revise formatting
                                                                       of same; prepare back‐up copies of data for Trial Director and format backup laptop;
2611
                                                                         Conference with C. Jackson regarding direct examination; revise outline for same; draft
       05/30/13    Roos         6.50   $        465.00 $      3,022.50
2612                                                                     outline of B. Harrison direct examination;
                                                                         Continue to prepare for trial by editing examination outlines for Letty Alvarez, John
       05/30/13   Williams      7.20   $        580.00 $      4,176.00
                                                                         Stendal, and John Strait; continue working on opening statement and visual aids;
2613
       05/31/13   Boschen       8.40   $        150.00 $      1,260.00 Continued work on trial preparation, witnesses, exhibits, evidence and logistics.
2614
                                                                       Worked on outline for Ms. Montague's direct examination [.8]; worked on opening and
       05/31/13   Marshall     11.60   $        375.00 $      4,350.00 closing issues [.6]; traveled to, participated in, and returned from meeting with co‐
                                                                       counsel regarding opening statement [3.0]; worked on trial preparation [7.2].
2615
                                                                         Finalize Sybrandy cross and e‐mail team re same (3.25); Review opening statement
       05/31/13   Zuchetto      5.50   $        330.00 $      1,815.00
2616                                                                     material and provide feedback re same (2.25).



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 1                KEEPER
                                                                       Attend dry run of opening statement; review Exhibit 107 and revise same; review
                                                                       powerpoint and revise formatting to fit screen; attend conference regarding screen
                                                                       resolution and powerpoint formatting issues; review deposition designations for
       05/31/13    Higa         6.80   $        155.00 $      1,054.00
                                                                       Aarstad, Stendal, Mt. Vernon, and Harrison to determine where deposition exhibits
                                                                       were designated; review trial exhibits to correlate designated deposition exhibits and
                                                                       prepare chart and email summarizing same;
2617
                                                                         Continue preparing witness outline for expert John Strait; continue creating opening
       05/31/13   Williams      8.30   $        580.00 $      4,814.00
                                                                         statement and do dry run of same with trial team; discuss trial strategy with team;
2618
                                                                       Draft outlines for direct testimony of J. Aarstad and B. Harrison; conference with trial
       05/31/13    Roos         5.10   $        465.00 $      2,371.50
2619                                                                   team regarding witness testimony and opening statements;
                                                                       Participate in opening statement presentation; edit opening statement slides; prepare
       05/31/13    Fisher       3.30   $        330.00 $      1,089.00
2620                                                                   for trial;
2621   06/01/13   Marshall      8.20   $        375.00 $      3,075.00 Worked on cross examination outlines and trial preparation [8.2].
                                                                         Review powerpoint for opening, Alvarez, and Stendal examinations, revise formatting of
       06/01/13    Higa         4.00   $        155.00 $          620.00 same; begin citation check of examinations; review witness outlines and prepare exhibit
                                                                         collections for same; prepare trial exhibit collections;
2622
                                                                       Prepare for motions in limine arguments; draft cross examinations for witnesses; review
       06/01/13    Fisher       2.40   $        330.00 $        792.00 defendants' exhibits; determine which of defendants' exhibits were produced and/or
2623                                                                   generated after discovery deadline;
                                                                       Continued work on trial preparation, witnesses, exhibits, evidence, and closing
       06/02/13   Boschen       8.10   $        150.00 $      1,215.00
2624                                                                   statement.
                                                                       Traveled to, participated in, and returned from meeting with co‐counsel and witness
       06/02/13   Marshall      9.80   $        375.00 $      3,675.00 regarding trial testimony [3.8]; worked on trial preparation, direct examination outlines,
2625                                                                   and cross‐examination outlines [6.0].
                                                                       Attend L. Alvarez preparation session; revise powerpoint formatting; gather trial
       06/02/13    Higa         5.00   $        155.00 $        775.00
2626                                                                   preparation material;
2627   06/02/13    Fisher       2.50   $        330.00 $        825.00 Prepare for motions in limine argument;
                                                                       Meet with L. Alvarez and trial team for witness preparation; continue preparing opening
       06/02/13   Williams      3.60   $        580.00 $      2,088.00
2628                                                                   statement for trial;




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        DATE                  HOURS        RATE            SUBTOTAL                                         DESCRIPTION OF WORK
 1                KEEPER
                                                                           Draft outlines for direct testimony of J. Aarstad and B. Harrison; review documents
       06/02/13    Roos         5.90   $        465.00 $      2,743.50
                                                                           relating to same; revise outline for direct testimony of C. Jackson;
2629
                                                                       Continued work on trial preparation, witnesses, exhibits, evidence and closing
       06/03/13   Boschen       8.60   $        150.00 $      1,290.00
2630                                                                   statement.
                                                                       Prepared for, traveled to, participated in, and returned from trial [9.1]; prepared for
       06/03/13   Marshall     13.30   $        375.00 $      4,987.50
2631                                                                   next trial day and worked on examination outlines [4.2].
                                                                       Attend and support trial team logistics and technology services; transport material for
       06/03/13    Higa        13.00   $        155.00 $      2,015.00 war room and assemble same; review email regarding trial exhibits and prepare
2632                                                                   response to same;
2633   06/03/13    Fisher       9.60   $        330.00 $      3,168.00 Attend trial; meeting with trial team
                                                                           Prepare for and attend trial day no. 1 in U.S. District Court; debrief with team on results
       06/03/13   Williams     12.00   $        580.00 $      6,960.00
                                                                           of the day; meet with C. Jackson and B. Roos to review expert testimony;
2634
                                                                           Attend trial; conference with trial team regarding same; conference regarding and
       06/03/13    Roos        11.70   $        465.00 $      5,440.50
                                                                           prepare for direct testimony of C. Jackson; review exhibits relating to same;
2635
                                                                           Continued work on trial preparation, witnesses, exhibits, evidence and closing
       06/04/13   Boschen       3.80   $        150.00 $          570.00
2636                                                                       statement.
                                                                           Prepared for, traveled to, participated in, and returned from trial [9.5]; prepared for
       06/04/13   Marshall     13.10   $        375.00 $      4,912.50
2637                                                                       next trial day and worked on examination outlines [3.6].
                                                                           Attend and support trial team logistics and technology services; review exhibits in
       06/04/13    Higa        14.50   $        155.00 $      2,247.50     anticipation of following days' examinations; review witness outlines to prepare for
2638                                                                       same; review C. Jackson testimony;
                                                                           Prepare for direct examination of C. Jackson; attend trial; conference with trial team
       06/04/13    Roos        10.10   $        465.00 $      4,696.50
2639                                                                       regarding same; prepare for direct examination of B. Harrison;
                                                                           Prepare for and attend trial day #2 in U.S. District Court; prepare for expert witness
       06/04/13   Williams     10.70   $        580.00 $      6,206.00
2640                                                                       examination of John Strait;
2641   06/04/13    Fisher       3.50   $        330.00 $      1,155.00     Attend trial
       06/05/13   Boschen       2.60   $        150.00 $          390.00 Continued work on trial preparation, evidence, exhibits and closing statement.
2642
                                                                           Prepared for, traveled to, participated in, and returned from trial [9.7]; prepared for
       06/05/13   Marshall     13.40   $        375.00 $      5,025.00
2643                                                                       next trial day and worked on examination outlines [3.7].



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        DATE                  HOURS        RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1                KEEPER
                                                                       Attend and support trial team logistics and technology services; review exhibits in
       06/05/13     Higa       10.50   $        155.00 $      1,627.50 anticipation of following days' examinations; review witness outlines to prepare for
2644                                                                   same;
                                                                       Prepare for direct examination of B. Harrison and J. Aarstad; attend trial; conference
       06/05/13    Roos        12.70   $        465.00 $      5,905.50 with trial team regarding same; prepare for direct examination of J. O'Neill; conference
                                                                       with J. Williams and J. Strait regarding expert witness testimony;
2645
                                                                         Attend Day #3 of trial; meet with trial team for #4 strategy; meet with expert John Strait
       06/05/13   Williams     12.10   $        580.00 $      7,018.00
2646                                                                     on trial preparation;
                                                                         Continued work on trial preparation, exhibits, evidence and closing statement; personal
       06/06/13   Boschen       3.50   $        150.00 $          525.00
2647                                                                     conferences and correspondence regarding same.
                                                                          Prepared for, traveled to, participated in, and returned from trial [6.4]; meeting with
       06/06/13   Marshall     12.30   $        375.00 $      4,612.50
                                                                          experts regarding trial strategy [.5]; worked on cross‐examination outlines [5.4].
2648
2649   06/06/13   Zuchetto      0.25   $        330.00 $         82.50 Discuss trial strategy/status w/ co‐counsel.
2650   06/06/13     Higa       11.60   $        155.00 $      1,798.00 Attend and support trial team logistics and technology services;
                                                                       Prepare for and attend Trial Day #4 in U.S. District Court; meet with trial team for
       06/06/13   Williams      8.20   $        580.00 $      4,756.00 debrief and strategy session on upcoming week; develop cross‐examination outline for
                                                                       Snyder and Feldman; exchange emails with trial team;
2651
                                                                       Prepare for direct examination of J. Aarstad and J. O'Neill; attend trial; conference with
       06/06/13    Roos         6.10   $        465.00 $      2,836.50
2652                                                                   trial team regarding same;
                                                                       Continued work on trial preparation, witnesses, exhibits and evidence; personal
       06/07/13   Boschen       6.40   $        150.00 $        960.00
2653                                                                   conferences and correspondence regarding same.
                                                                       Telephone conference with Mr. Gipe regarding admission of confidential documents at
       06/07/13   Marshall     11.40   $        375.00 $      4,275.00 trial and analyzed issues regarding same [.3]; worked on cross‐examinations and other
2654                                                                   trial preparation [11.1].
                                                                       Order transcript from Strait testimony, coordinate delivery and transmission to team;
       06/07/13     Higa        2.10   $        155.00 $        325.50 attend litigation team conference to prepare for cross examination of defendants'
2655                                                                   witnesses;
                                                                       Begin research on Scott Snyder background and prepare cross‐examination outline;
       06/07/13   Williams      5.00   $        580.00 $      2,900.00 meet with trial team to discuss approach to cross examining City Attorneys and
                                                                       prosecutors; begin preparing for cross examination of expert Feldman;
2656


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        DATE                  HOURS        RATE            SUBTOTAL                                         DESCRIPTION OF WORK
 1                KEEPER
                                                                       Communications regarding trial status; conference with J. Williams regarding cross
       06/07/13    Roos         3.20   $        465.00 $      1,488.00 examinations of defendants' witnesses; review documents relating to same; review C.
                                                                       Jackson testimony in preparation for cross examinations of defendants' witnesses;
2657
2658   06/07/13    Fisher       3.40   $        330.00 $      1,122.00 Create admitted exhibits list; create outline for cross of M. Van de Grift;
                                                                       Worked on trial preparation and cross‐examination outlines and and reviewed
       06/08/13   Marshall      7.10   $        375.00 $      2,662.50
2659                                                                   documents for examinations [7.1].
       06/08/13    Higa         2.00   $        155.00 $          310.00 Review exhibits for cross‐examination of witnesses and prepare collection of same;
2660
                                                                         Continue trial preparation and development of Snyder cross examination; begin drafting
       06/08/13   Williams      5.00   $        580.00 $      2,900.00
2661                                                                     cross examination for prosecutors and Municipal Court judges;
2662   06/08/13    Fisher       1.20   $        330.00 $          396.00 Draft cross examination outline for M. Van De Grfit;
                                                                           Continued work on trial preparation, witnesses, exhibits, evidence and closing
       06/09/13   Boschen       8.10   $        150.00 $      1,215.00
                                                                           statement; personal conferences and correspondence regarding same.
2663
                                                                         Worked on trial preparation and cross‐examination outlines and reviewed documents
       06/09/13   Marshall     10.20   $        375.00 $      3,825.00
2664                                                                     for same [10.2].
2665   06/09/13    Fisher       1.40   $        330.00 $          462.00 Edit cross‐examination outline for M. Van De Grift; read transcripts;
                                                                           Review defendants' trial exhibit list, reformat, and incorporate same into trial exhibit
       06/09/13    Higa         4.50   $        155.00 $          697.50
                                                                           tracking sheet; review exhibits for material in anticipation of cross examination;
2666
                                                                           Continue trial preparation and development of Snyder cross examination; begin drafting
       06/09/13   Williams      4.60   $        580.00 $      2,668.00
2667                                                                       cross examination for prosecutors and Municipal Court judges;
       06/09/13    Roos         3.20   $        465.00 $      1,488.00 Review documents relating to C. Cammock; prepare cross examination of same;
2668
                                                                           Continued work on trial preparation, witnesses, exhibits, evidence and closing
       06/10/13   Boschen      11.40   $        150.00 $      1,710.00
                                                                           statement; personal conferences and correspondence regarding same.
2669
                                                                       Prepared for, traveled to, participated in, and returned from trial [9.3]; worked on cross‐
       06/10/13   Marshall     14.40   $        375.00 $      5,400.00
2670                                                                   examination outlines for Mr. Witt and Mr. Sybrandy [5.1].
2671   06/10/13    Higa         9.00   $        155.00 $      1,395.00 Attend and support trial team logistics and technology services;
                                                                       Attend trial; conference with trial team regarding same; prepare for cross examinations
       06/10/13    Roos         9.90   $        465.00 $      4,603.50
2672                                                                   of witnesses;
2673   06/10/13    Fisher       2.30   $        330.00 $        759.00 Edit M. Van De Grift outline for cross examination; pull Eason exhibits;


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 1                KEEPER
                                                                         Attend trial Day #5; meet with trial team and continue developing cross examination of
       06/10/13   Williams     10.00   $        580.00 $      5,800.00
2674                                                                     prosecutor Eason;
2675   06/11/13   Boschen       7.30   $        150.00 $      1,095.00   Continued work on trial preparation, exhibits and closing statement.
                                                                         Prepared for, traveled to, participated in, and returned from trial [9.1]; worked on cross‐
       06/11/13   Marshall     11.60   $        375.00 $      4,350.00
2676                                                                     examination outlines [2.5].
                                                                         Attend and support trial team logistics and technology services; review cross‐
                                                                         examination outlines and prepare Trial Director workbooks and exhibits in anticipation
       06/11/13    Higa        14.50   $        155.00 $      2,247.50   of cross examinations; review trial exhibits for documents related to Judges and prepare
                                                                         email summarizing findings; re‐format depositions for upcoming witnesses and load
2677                                                                     same into Trial Director;
                                                                         Attend trial; conference with trial team regarding same; draft summary of trial
       06/11/13    Roos        10.50   $        465.00 $      4,882.50
2678                                                                     testimony; prepare for cross examinations of witnesses;
2679   06/11/13    Fisher       3.90   $        330.00 $      1,287.00   Read transcripts from June 4, 2013; trial; update admitted trial exhibits;
                                                                       Prepare for and attend Day #6 of trial; meet with trial team to discuss strategy for Day
       06/11/13   Williams     12.00   $        580.00 $      6,960.00 #7; continue preparation of Ladenberg and Feldman cross examinations; continue
                                                                       developing cross examination of Municipal Court judges;
2680
                                                                       Continued work on closing statement; personal conferences and correspondence
       06/12/13   Boschen       6.80   $        150.00 $      1,020.00
2681                                                                   regarding same.
                                                                       Prepared for, traveled to, participated in, and returned from trial [9.5]; worked on
       06/12/13   Marshall     11.80   $        375.00 $      4,425.00
2682                                                                   summarizing materials for closing argument [2.3].
                                                                       Attend and support trial team logistics and technology services; attend conference
                                                                       regarding closing arguments and prepare email to co‐counsel paralegal to coordinate
       06/12/13    Higa         8.50   $        155.00 $      1,317.50 technology support; coordinate additional technological support for co‐counsel by
                                                                       attending telephone conferences and preparing email requests for equipment; review
                                                                       file for defendants' exhibits and provide same to co‐counsel paraelgal;
2683
                                                                       Attend trial; conference with trial team regarding same; prepare for cross examinations
       06/12/13    Roos        10.80   $        465.00 $      5,022.00
2684                                                                   of judges; review documents relating to same;
2685   06/12/13    Fisher       8.20   $        330.00 $      2,706.00 Attend trial
                                                                         Prepare for and attend trial day #7; draft cross‐examination outline for Judge Svaren;
       06/12/13   Williams     12.00   $        580.00 $      6,960.00
                                                                         exchange emails with trial team on strategy for cross‐examining judges;
2686



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 1                KEEPER
                                                                       Continued work on closing statement; personal conferences and correspondence
       06/13/13   Boschen       3.70   $        150.00 $        555.00 regarding same; coordinated closing presentation logistics; telephone conference with
2687                                                                   client.
                                                                       Prepared for, traveled to, participated in, and returned from trial [4.1]; worked on
       06/13/13   Marshall      9.80   $        375.00 $      3,675.00 exhibit issues [.1]; worked on summaries of testimony and exhibits for closing argument
2688                                                                   [5.6].
2689   06/13/13   Zuchetto      0.50   $        330.00 $        165.00 Discuss case status/strategy w/ co‐counsel.
                                                                       Attend and support trial team logistics and technology services; prepare revised
       06/13/13     Higa        5.50   $        155.00 $        852.50 Plaintiffs' exhibit list and send same to Court Clerk; coordinate clean‐up of court war
2690                                                                   room with messengers and attend clean‐up;
                                                                       Attend trial; conference with trial team regarding same; review notes from trial in
       06/13/13    Roos         5.60   $        465.00 $      2,604.00
2691                                                                   preparation for closing arguments;
                                                                       Review judge's cross‐examination outlines; cross‐check exhibits for closing purposes;
       06/13/13    Fisher       4.10   $        330.00 $      1,353.00
2692                                                                   trial;
                                                                       Continue creating cross‐examination outline for Judge Svaren; prepare for and attend
       06/13/13   Williams      7.50   $        580.00 $      4,350.00
2693                                                                   trial day #8;
                                                                       Telephone conference regarding closing arguments; continued work on closing
       06/14/13   Boschen       2.30   $        150.00 $        345.00
2694                                                                   statement.
                                                                       Worked on outline of closing argument [6.7]; meeting with co‐counsel regarding same
       06/14/13   Marshall      9.60   $        375.00 $      3,600.00
2695                                                                   and travel to and from meeting [2.9].
                                                                       Review closing outline/presentation, participate in prep. of closing, and e‐mail co‐
       06/14/13   Zuchetto      2.00   $        330.00 $        660.00
2696                                                                   counsel re same.
                                                                       Attend conference regarding closing argument and prepare technology support for
       06/14/13     Higa        2.00   $        155.00 $        310.00
2697                                                                   same;
2698   06/14/13    Roos         2.50   $        465.00 $      1,162.50 Conference with team regarding closing arguments;
       06/14/13    Fisher       2.60   $        330.00 $          858.00 Organize notes; add exhibits admitted; prepare for closing argument meeting;
2699
                                                                       Prepare for and meet with trial team to discuss content of closing argument and
       06/14/13   Williams      4.00   $        580.00 $      2,320.00
2700                                                                   strongest testimony for Wilbur case;
2701   06/15/13   Boschen       0.20   $        150.00 $         30.00 Worked on closing statement [.2].
                                                                       Worked on closing argument and powerpoint presentation and reviewed exhibits for
       06/15/13   Marshall      5.40   $        375.00 $      2,025.00
2702                                                                   same [5.4].
       06/16/13   Boschen       0.20   $        150.00 $           30.00 Continued work on closing statement and correspondence regarding same [.2].
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 1                KEEPER
                                                                           Reviewed exhibits and testimony for closing argument, worked on outline of same, and
       06/16/13   Marshall      9.10   $        375.00 $      3,412.50
2704                                                                       worked on powerpoint presentation [9.1].
2705   06/17/13   Boschen       3.20   $        150.00 $          480.00   Worked on closing statement [3.2].
                                                                           Worked on closing argument and powerpoint presentation for same; reviewed exhibits
       06/17/13   Marshall     14.60   $        375.00 $      5,475.00
2706                                                                       and testimony for closing argument [14.6].
2707   06/17/13   Zuchetto      2.00   $        330.00 $          660.00   Review closing statement exhibits and work on closing w/ co‐counsel.
2708   06/17/13    Fisher       0.80   $        330.00 $          264.00   Reply to T. Marshall's email regarding deposition designations;
                                                                           Review evidence and assist with preparation of closing argument; participate in dry‐run
       06/17/13   Williams      4.00   $        580.00 $      2,320.00
2709                                                                       of closing argument; discuss strategy with trial team;
       06/18/13   Boschen       9.70   $        150.00 $      1,455.00 Completed work on closing statement; travel to court for closing arguments [9.7]
2710
                                                                       Worked on outline for closing argument and powerpoint presentation for same [5.8]; to
       06/18/13   Marshall      9.50   $        375.00 $      3,562.50 court for hearing on closing argument [.4]; attended same [2.7]; meeting with co‐
2711                                                                   counsel regarding same [.2]; returned from same [.4].
2712   06/18/13   Zuchetto      0.25   $        330.00 $         82.50 Debrief co‐counsel re closing.
                                                                           Attend closing arguments at US District Court; meet with trial team after closing
       06/18/13   Williams      4.00   $        580.00 $      2,320.00
                                                                           arguments to discuss supplemental briefing and comments from the Court;
2713
2714   06/18/13    Fisher       3.00   $        330.00 $        990.00 Attend closing arguments;
2715   06/18/13     Roos        3.20   $        465.00 $      1,488.00 Attend closing arguments; conferences regarding same;
                                                                       Review emails from trial team; conference call with ACLU on trial results and likelihood
       06/20/13   Williams      0.50   $        580.00 $        290.00
2716                                                                   of success;
                                                                       Telephone call from Mr. Wilbur regarding trial and case status [.2]; reviewed court's
       06/24/13   Marshall      0.30   $        375.00 $        112.50
2717                                                                   witness and exhibit lists from trial [.1].
2718   06/27/13   Boschen       0.20   $        150.00 $         30.00 Personal confrence regarding class representative.
                                                                       Reviewed court order regarding post‐trial briefing and researched and analyzed issues
       06/28/13   Marshall      1.50   $        375.00 $        562.50
2719                                                                   regarding same [1.5].
2720   06/28/13   Zuchetto      0.50   $        330.00 $        165.00 Review and analyze Court’s order re supplemental briefing.
                                                                       Review Order from court re supplemental briefing; email correspondence with co‐
       06/28/13    Dunne        3.70   $        380.00 $      1,406.00 counsel re same; email with J. Strait re Order from Court re supplemental briefing;
                                                                       conduct legal research re Order requesting supplemental briefing.
2721
                                                                           Review court order regarding additional briefing; review prior research relating to same;
       06/28/13    Roos         0.80   $        465.00 $          372.00
2722                                                                       communications relating to same;


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 1                KEEPER
                                                                         Review Court's order requesting supplemental briefing on four questions; coordinate
       06/28/13   Williams      1.50   $        580.00 $          870.00 with trial team on four questions from court and set up conference call; exchange
2723                                                                     emails with expert witnesses on same;
                                                                           Researched and analyzed issues for response to court's questions regarding caseloads,
       07/02/13   Marshall      1.10   $        375.00 $          412.50
                                                                           etc., and email correspondence with co‐counsel and experts regarding same [1.1].
2724
                                                                       Researched and analyzed issues for responses to court's questions on caseload
       07/03/13   Marshall      2.70   $        375.00 $      1,012.50 standards, etc. [1.0]; and telephone conference with Mr. Zuchetto regarding same [.4];
                                                                       telephone conference with co‐counsel and experts regarding same [1.3].
2725
                                                                           Preparation for team meeting re supplemental briefing and participate in same (2.75);
       07/03/13   Zuchetto      3.75   $        330.00 $      1,237.50
2726                                                                       Discuss post trial questions from Court w/ co‐counsel (1.0).
                                                                         Telephone conference with co‐counsel re Order for supplemental briefing; telephone
       07/03/13    Dunne        1.90   $        380.00 $          722.00 conference with J. Strait re Order for supplemental briefing; email and telephone
                                                                         correspondence with DOJ re Order for supplemental briefing.
2727
                                                                           t/c w/co‐counsel to discuss response to court's briefing order; research re court's
       07/03/13    Talner       3.40   $        400.00 $      1,360.00
2728                                                                       briefing order
                                                                           Telephone conference with team regarding post‐trial briefing; communications
       07/03/13    Roos         1.50   $        465.00 $          697.50
2729                                                                       regarding follow‐up from same;
                                                                           Prepare for and participate in trial team conference call; develop strategy for
       07/03/13   Williams      2.50   $        580.00 $      1,450.00     responding to Court's request for supplemental briefing; meet with Perkins Coie team
2730                                                                       to discuss division of labor;
2731   07/03/13    Fisher       1.30   $        330.00 $          429.00   Participate in team call; draft and send team deadlines and tasks;
                                                                           Telephone conference and email correspondence with D. Leff re Order for supplemental
       07/05/13    Dunne        0.20   $        380.00 $           76.00
2732                                                                       briefing.
                                                                           Draft post‐trial brief; research regarding caseload standards and previous holdings
       07/05/13    Roos         3.20   $        465.00 $      1,488.00
2733                                                                       under Monell;
                                                                           Review emails from ACLU on progress made to provide data to support answers to the
       07/05/13   Williams      1.00   $        580.00 $          580.00
                                                                           Court's questions; review emails to and from M. Boman on caseload information;
2734
                                                                         Researched and analyzed issues regarding jurisdictions with hard caseloads [.4];
       07/08/13   Marshall      0.70   $        375.00 $          262.50 telephone conferences with co‐counsel regarding possibility for amicus brief by DOJ [.2];
2735                                                                     analyzed issues regarding same [.1].


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 1                KEEPER
                                                                         Email correspondence with DOJ re potential amicus brief; telephone conference with T.
                                                                         Marshall re supplemental briefing and amicus briefs; telephone conference with J.
       07/08/13    Dunne        1.50   $        380.00 $          570.00
                                                                         Williamson re supplemental briefing and amicus briefs; email correspondence with
                                                                         national experts regarding supplemental briefing and amicus briefs.
2736
                                                                          t/c's w/indigent defense experts to answer questions in judge's briefing order; research
       07/08/13    Talner       3.50   $        400.00 $      1,400.00
                                                                          and gather materials to answer questions in judge's briefing order
2737
2738   07/08/13    Roos         2.40   $        465.00 $      1,116.00 Research regarding post‐trial briefing issues;
                                                                       Researched and analyzed issues regarding caseload limitations in other states and email
                                                                       correspondence with co‐counsel regarding same [.3]; reviewed Washington city and
       07/09/13   Marshall      4.50   $        375.00 $      1,687.50 county codes regarding caseload limits and supervision requirements, drafted
                                                                       memorandum and prepared spreadsheet regarding same, and email correspondence
                                                                       with co‐counsel regarding same [4.2].
2739
2740   07/09/13   Zuchetto      0.10   $        330.00 $           33.00 E‐mail co‐counsel re consulting expert.
                                                                         Conduct legal research and gather materials to answers questions in judge's briefing
       07/09/13    Talner       2.20   $        400.00 $          880.00
2741                                                                     order
       07/09/13    Roos         1.60   $        465.00 $          744.00 Conference with J. Williams regarding post‐trial briefing; research relating to same;
2742
                                                                         Researched and analyzed issues for post‐trial briefing response to Question 4 [2.0];
       07/10/13   Marshall      2.50   $        375.00 $          937.50 telephone conference with co‐counsel regarding post‐trial briefing response to all
2743                                                                     questions [.5].
                                                                         research and gather materials to answer questions in judge's briefing order, t/c w/co‐
       07/10/13    Talner       1.10   $        400.00 $          440.00
2744                                                                     counsel to discuss response to the briefing order
       07/10/13    Roos         1.80   $        465.00 $          837.00 Conference with team regarding post‐trial briefing; research relating to same;
2745
                                                                         Prepare for and participate in trial team conference call on response to Judge's request
       07/10/13   Williams      1.00   $        580.00 $          580.00 for supplemental briefing; meet with B. Roos and C. Fisher to discuss Perkins Coie action
2746                                                                     items for supplemental briefing;
       07/11/13   Zuchetto      0.50   $        330.00 $          165.00 Research re prevailing party/mootness issues and e‐mail co‐counsel re same.
2747
2748   07/11/13    Dunne        0.40   $        380.00 $        152.00 Telephone conference with L. Dupers re amicus brief.
2749   07/11/13    Talner       3.50   $        400.00 $      1,400.00 research and gather materials to answer questions in judge's briefing order,


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 1                KEEPER
                                                                       Research regarding post‐trial briefing; communications regarding relevant documents
       07/11/13    Roos         0.90   $        465.00 $          418.50
2750                                                                   from Grant County matter; prepare same for potential amicus;
2751   07/11/13   Williams      0.80   $        580.00 $        464.00 Exchange emails with ACLU on status of responses to supplemental briefing;
                                                                       Researched and analyzed issues regarding court's post‐trial questions [2.3]; telephone
       07/12/13   Marshall      2.90   $        375.00 $      1,087.50
2752                                                                   conference with ACLU affiliates regarding same [.6].
       07/12/13   Zuchetto      0.25   $        330.00 $           82.50 Discuss research re prevailing party w/ co‐counsel and review comments. re same.
2753
                                                                           t/c w/national experts on indigent defense cases, research and gather materials to
       07/12/13    Talner       0.50   $        400.00 $          200.00
2754                                                                       answer questions in judge's briefing order
                                                                           Draft post‐trial briefing relating to caseload standards; telephone conference with ACLU
       07/12/13    Roos         1.90   $        465.00 $          883.50
2755                                                                       counsel regarding same;
2756   07/15/13   Boschen       0.10   $        150.00 $           15.00   Telephone conference with client [.1].
                                                                           Telephone conferences with co‐counsel and consulting expert regarding potential
       07/15/13   Marshall      2.10   $        375.00 $          787.50   amicus briefs [1.3]; analyzed and worked on issues regarding same [.3]; worked on
2757                                                                       research for court's post‐trial questions [.5].
                                                                           Review e‐mail from co‐counsel re supplemental briefing and discuss same w/ co‐counsel
       07/15/13   Zuchetto      1.75   $        330.00 $          577.50
2758                                                                       and call to potential amici/support re same.
                                                                           t/c w/expert re briefing order; research and draft answers court's questions in briefing
       07/15/13    Talner       4.80   $        400.00 $      1,920.00
2759                                                                       order
                                                                           Telephone conference with ACLU regarding post‐trial briefing; review ACLU outline and
       07/15/13    Roos         2.90   $        465.00 $      1,348.50
2760                                                                       documents regarding same; draft post‐trial briefing;
                                                                       Researched and analyzed issues regarding response to question 4 [1.0]; researched and
       07/16/13   Marshall      3.40   $        375.00 $      1,275.00 analyzed issues regarding response to question 1, particularly waiver of abstention
                                                                       defense for cases removed to federal court, and worked on outline to same [2.4].
2761
2762   07/16/13   Zuchetto      0.25   $        330.00 $         82.50 Review transcript re response to Judge’s questions.
2763   07/16/13    Talner       2.80   $        400.00 $      1,120.00 research and draft answers to court's questions in briefing order
2764   07/16/13     Roos        1.50   $        465.00 $        697.50 Draft post‐trial briefing;
                                                                       Telephone conferences with co‐counsel regarding progress of response to Court's post‐
       07/17/13   Marshall      1.00   $        375.00 $        375.00
2765                                                                   trial questions [.5]; worked on post‐trial briefing [.5].
                                                                       Participate in litigation strategy call (.5); E‐mail consulting expert re potential amicus
       07/17/13   Zuchetto      0.75   $        330.00 $        247.50
2766                                                                   issues (.25).
                                                                       t/c w/co‐counsel to discuss court's briefing order; research and draft answers to court's
       07/17/13    Talner       2.20   $        400.00 $        880.00
2767                                                                   questions in briefing order


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 1                KEEPER
                                                                       Prepare for and participate in trial team conference call on supplemental submission;
       07/17/13   Williams      1.00   $        580.00 $          580.00
2768                                                                   meet with B. Roos to discuss strategic use of ACLU materials;
                                                                       Telephone conference with team regarding post‐trial briefing; draft post‐trial briefing;
       07/17/13    Roos         2.90   $        465.00 $      1,348.50
2769                                                                   review ACLU outline regarding same;
                                                                       Worked on outline of response to Question 4 [.8]; researched and analyzed issues
       07/18/13   Marshall      2.20   $        375.00 $        825.00
2770                                                                   regarding same [1.4].
       07/18/13   Zuchetto      0.75   $        330.00 $          247.50 Review draft outline re response to Court’s questions and e‐mail co‐counsel re same.
2771
                                                                           Telephone conference with co‐counsel re supplemental briefing and potential amicus
       07/18/13    Dunne        0.80   $        380.00 $          304.00
2772                                                                       briefs.
2773   07/18/13    Talner       2.50   $        400.00 $      1,000.00     research and draft answers to court's questions in briefing order
                                                                           Draft post‐trial briefing regarding court enforcement of public defense standards;
       07/18/13    Roos         3.30   $        465.00 $      1,534.50
2774                                                                       research relating to same;
                                                                           Draft post‐trial briefing regarding caseloads and court enforcement of public defense
       07/19/13    Roos         2.70   $        465.00 $      1,255.50
2775                                                                       standards; research relating to same;
                                                                           Analyzed issues regarding responses to questions one and three and materials in
       07/22/13   Marshall      3.40   $        375.00 $      1,275.00     support of same [.2]; researched and analyzed issues for response to question number
2776                                                                       four [3.2].
                                                                           Draft post‐trial briefing; research relating to same; prepare appendices in support of
       07/22/13    Roos         3.60   $        465.00 $      1,674.00
2777                                                                       same;
2778   07/23/13   Boschen       0.60   $        150.00 $           90.00   Filing regarding additional briefing.
                                                                           Continued researching and analyzing issues for response to question number four [4.4];
       07/23/13   Marshall      6.20   $        375.00 $      2,325.00
2779                                                                       worked on draft of same [1.8].
                                                                           Draft post‐trial briefing; research relating to same; prepare appendices in support of
       07/23/13    Roos         4.90   $        465.00 $      2,278.50
2780                                                                       same;
                                                                           Review and exchange emails with ACLU on input for supplemental questions from Judge
       07/23/13   Williams      0.30   $        580.00 $          174.00
2781                                                                       Lasnik;
                                                                           Worked on response to question four [4.7]; researched and analyzed issues regarding
       07/24/13   Marshall      5.80   $        375.00 $      2,175.00     same [.5]; telephone conference and email correspondence with with co‐counsel
2782                                                                       regarding same [.6].
                                                                           Review/edit supplement brief re questions from Judge Lasnik and discuss same w/ co‐
       07/24/13   Zuchetto      2.00   $        330.00 $          660.00
2783                                                                       counsel.
                                                                           Draft post‐trial briefing; research relating to same; prepare appendices in support of
       07/24/13    Roos         3.90   $        465.00 $      1,813.50
2784                                                                       same;


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 1                KEEPER
                                                                           Review and edit plaintiffs' post‐trial brief response to June 28, 2013, order; meet with B.
       07/24/13   Williams      2.50   $        580.00 $      1,450.00
2785                                                                       Roos to discuss same;
       07/25/13   Zuchetto      0.25   $        330.00 $           82.50 Review draft response re Judge Lasnik question and e‐mail co‐counsel re same.
2786
2787   07/25/13    Roos         2.10   $        465.00 $        976.50 Draft post‐trial briefing; research relating to same;
                                                                       Continue editing plaintiffs' post‐trial brief and integrate answer to question no. 4 from
       07/25/13   Williams      3.50   $        580.00 $      2,030.00
2788                                                                   T. Marshall and M. Zuchetto;
                                                                       Draft post‐trial briefing; research relating to same; prepare appendices in support of
       07/26/13    Roos         3.70   $        465.00 $      1,720.50
2789                                                                   same;
                                                                       Meet with B. Roos to discuss draft of plaintiffs' response to court's request for
       07/26/13   Williams      0.70   $        580.00 $        406.00 supplemental briefing; review final draft of response to court's request for
2790                                                                   supplemental briefing and B. Roos transmittal to trial team;
                                                                       review revised draft of post‐trial brief and provide comments to co‐counsel, research
       07/29/13    Talner       0.80   $        400.00 $        320.00
2791                                                                   supporting documents for post‐trial brief
                                                                       Communications regarding post‐trial briefing; revise post‐trial briefing to incorporate
       07/29/13    Roos         1.80   $        465.00 $        837.00
2792                                                                   team comments;
                                                                       Worked on post‐trial brief and researched and researched and analyzed issues
       07/30/13   Marshall      2.80   $        375.00 $      1,050.00
2793                                                                   regarding same [2.8].
       07/30/13   Zuchetto      1.00   $        330.00 $          330.00 Edit brief re supplement brief request from Judge Lasnik and e‐mail co‐counsel re same.
2794
                                                                         Revise pretrial brief; prepare appendices regarding same; research regarding
       07/30/13    Roos         2.60   $        465.00 $      1,209.00
2795                                                                     Washington county caseload standards;
                                                                         Worked on post‐trial briefing [.1]; telephone conference with co‐counsel regarding
       07/31/13   Marshall      0.50   $        375.00 $          187.50
2796                                                                     same [.4].
       07/31/13   Zuchetto      1.00   $        330.00 $          330.00 Prepare for and participate in litigation strategy call re Judge Lasnik’s questions.
2797
                                                                         Telephone conference with team regarding post‐trial briefing; revise post‐trial briefing;
       07/31/13    Roos         2.10   $        465.00 $          976.50
2798                                                                     prepare appendices relating to same;
                                                                         Prepare for and participate in conference call with trial team on finalization of brief
       07/31/13   Williams      1.50   $        580.00 $          870.00
2799                                                                     responding to Court's supplemental questions;
                                                                           Researched and analyzed issues regarding post‐trial brief and email correspondence
       08/01/13   Marshall      1.10   $        375.00 $          412.50
                                                                           with co‐counsel regarding same [.4]; worked on post‐trial briefing [.7].
2800
2801   08/01/13   Zuchetto      1.00   $        330.00 $          330.00 Review/analyze brief re amicus and e‐mail co‐counsel re same.


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  1               KEEPER
2802   08/01/13    Roos         0.40   $        465.00 $          186.00 Revise post‐trial brief; review exhibits for inclusion in appendices for same;
       08/02/13   Marshall      0.40   $        375.00 $          150.00 Telephone call from co‐counsel regarding WDA amicus brief [.2]; worked on same [.2].
2803
                                                                         Review and approve final draft of plaintiffs' post‐trial brief in response to June 28, 2013,
       08/02/13   Williams      1.00   $        580.00 $          580.00 order from Court; meet with B. Roos and C. Fisher to discuss finalization of appendix
2804                                                                     and filing with Court;
                                                                         Searched internet and databases for executed version of Flournoy consent decree [.3];
                                                                         emails to Ms. Lucas, Mr. Caplan, and Ms. Velez regarding same [.3]; worked on
       08/06/13   Marshall      1.10   $        375.00 $          412.50
                                                                         obtaining additional materials for post‐trial briefing [.3]; reviewed materials from
2805                                                                     Flournoy case [.2].
                                                                       Telephone conference with co‐counsel and Ms. Jackson regarding post‐trial briefing and
                                                                       related issues [.3]; telephone conference with Mr. Zuchetto regarding Washington
                                                                       jurisdictions with caseload standards [.2]; worked on WDA brief and email to co‐counsel
       08/07/13   Marshall      2.80   $        375.00 $      1,050.00
                                                                       regarding same [.5]; researched and analyzed issues regarding additional citations for
                                                                       post‐trial brief and reviewed materials related to same [1.5]; email correspondence
                                                                       with co‐counsel regarding same [.1]; worked on revisions to post‐trial brief [.2].
2806
                                                                         Prepare for and participate in litigation strategy call and discuss amici/supplemental
       08/07/13   Zuchetto      2.50   $        330.00 $          825.00 brief w/ co‐counsel (1.0); Review/analyze amicus brief (.25); Discuss amicus filing w/ co‐
                                                                         counsel and review research/codes re same (1.25).
2807
                                                                           Telephone conference with co‐counsel re post‐trial briefing; email and telephone
       08/07/13    Dunne        1.10   $        380.00 $          418.00   correspondence with DOJ re DOJ amicus brief; review email correspondence with co‐
2808                                                                       counsel re case examples for post‐trial briefing;
                                                                           Participate in trial team conference call with experts on draft supplemental briefing;
       08/07/13   Williams      0.80   $        580.00 $          464.00
2809                                                                       coordinate with B. Boruchowitz on expert witness report;
                                                                           Telephone conference with expert regarding post‐trial brief [.1]; email correspondence
       08/08/13   Marshall      0.20   $        375.00 $           75.00
2810                                                                       with co‐counsel regarding materials to include in same [.1].
2811   08/08/13    Dunne        0.50   $        380.00 $          190.00   Telephone conference with J. Strait re post‐trial brief on remedy
2812   08/08/13    Fisher       1.80   $        330.00 $          594.00   Edit post‐trial brief to include additional cites;
                                                                           Participate in conference call with expert John Strait and ACLU on Supplemental Brief;
       08/08/13   Williams      0.50   $        580.00 $          290.00
2813                                                                       provide instructions to C. Fisher on finalization of brief;




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 1                KEEPER
                                                                             Analyzed issues regarding Mr. Cooley's request to omit appendices from post‐trial
                                                                             briefing and email correspondence with co‐counsel and opposing counsel regarding
       08/09/13   Marshall      0.50   $        375.00 $            187.50
                                                                             same [.2]; reviewed final version of post‐trial brief and appendices in support of same
2814                                                                         [.3].
                                                                             Coordinate team response to Cities' attorney on use of appendices for Supplemental
       08/09/13   Williams      0.50   $        580.00 $            290.00
2815                                                                         Briefing;
2816   08/11/13   Williams      1.00   $        580.00 $            580.00   Review final draft of Supplemental Briefing;
                                                                             Exchange emails with trial team on amicus brief and plan for filing supplemental
       08/12/13   Williams      0.50   $        580.00 $            290.00
2817                                                                         briefing;
2818   08/13/13   Zuchetto      0.50   $        330.00 $            165.00   Review NY court decision re monitor and e‐mail co‐counsel re same.
                                                                             Prepared draft and finalized TMDW notice of change of address; arranged filing and
       08/14/13    Kinsey       0.30   $        100.00 $             30.00
2819                                                                         service.
                                                                             Reviewed Department of Justice's statement of interest and analyzed issues regarding
       08/14/13   Marshall      0.90   $        375.00 $            337.50
                                                                             same [.6]; reviewed defendants' post‐trial brief and analyzed issues regarding same [.3].
2820
2821   08/14/13   Zuchetto      0.75   $        330.00 $            247.50 Review amicus filings.
                                                                         Review Defender Association motion for leave to file amicus brief and attached amicus
                                                                         brief; final review and edits to plaintiffs' post‐trial brief in response to June 28, 2013,
       08/14/13   Williams      2.40   $        580.00 $        1,392.00
                                                                         order; review statement of interest of United States Department of Justice; review
                                                                         Cities' response to court's order for further briefing;
2822
2823   08/15/13   Zuchetto      0.25   $        330.00   $           82.50 Review defs’ supplemental briefing.
2824   09/03/13   Boschen       0.10   $        150.00   $           15.00 Telephone conference with client [.1].
2825   09/08/13   Marshall      0.10   $        375.00   $           37.50 Email correspondence with mother of potential class member [.1].
2826   09/11/13   Boschen       0.10   $        150.00   $           15.00 Telephone conference with client [.1].
2827   09/26/13   Boschen       0.20   $        150.00   $           30.00 Received message and telephone call from client [.2].
                                                                           Reviewed court's memorandum of decision and analyzed issues regarding same [1.4];
       12/04/13   Marshall      1.60   $        375.00 $            600.00
2828                                                                       worked on website notice update regarding decision [.2].
2829   12/04/13   Zuchetto      1.50   $        330.00 $            495.00 Review/analyze Court’s order and discuss same w/ co‐counsel.
                                                                         Review and analyze Court's Memorandum Decision with findings and conclusions;
       12/04/13   Williams      4.00   $        580.00 $        2,320.00 coordinate with trial team on case results; coordinate with C. Fisher on drafting talking
                                                                         points and Q&A memos; begin search for potential system supervisor suggestions;
2830



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                   TIME
        DATE                  HOURS         RATE            SUBTOTAL                                       DESCRIPTION OF WORK
 1                KEEPER
                                                                          Email correspondence with various individuals regarding court's ruling and order of
       12/05/13   Marshall      0.40    $        375.00 $          150.00 injunctive relief [.3]; drafted letter to Mr. Wilbur and email to Ms. Montague regarding
2831                                                                      same [.1].
2832   12/05/13   Zuchetto      1.50    $        330.00 $          495.00 Review Court’s order and discuss same and next steps w/ team.
       12/05/13    Dunne        0.40    $        380.00 $          152.00 Telephone conference with DOJ and US Attorneys office re verdict and injunctive relief;
2833
                                                                          Prepared for telephone conference with co‐counsel and analyzed issues regarding
                                                                          selection of supervisor and filing of motion for fees and costs [.2]; telephone conference
                                                                          with co‐counsel regarding court's ruling, selection of supervisor, motion for fees and
       12/06/13   Marshall      1.80    $        375.00 $          675.00 costs, and division of work [1.0]; worked on docketing of various deadlines [.1]; left
                                                                          messages with Mr. Moon and Ms. Osborne regarding court's decision [.1]; email to Mr.
                                                                          Moon regarding same [.1]; telephone call from Mr. Moon regarding same [.2]; email to
                                                                          team updating them on Mr. Moon [.1].
2834
                                                                          Prepare for trial team meeting on court's order and action items; chair trial team
       12/06/13   Williams      1.30    $        580.00 $          754.00 conference call and cover agenda items; coordinate with C. Fisher on assembly of fee
2835                                                                      petition;
2836   12/06/13    Dunne        0.80    $        380.00 $          304.00 Telephone conference with co‐counsel re remedy implementation
2837   12/12/13    Dunne        0.30    $        380.00 $          114.00 Telephone conference with Bryan Harrison re remedy implementation
2838   12/12/13   Zuchetto      0.50    $        330.00 $          165.00 Discuss call w/ Harrision w/ co‐counsel. re supervisor selection process.
2839
2840                          6868.95                   $ 2,396,423.52




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       — APPENDIX B —
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 1      DATE                      DESCRIPTION OF CHARGE            AMOUNT
 2   1/18/2011      Reproduction (B&W)                         $         0.15
 3   1/18/2011      Reproduction (Color)                       $         7.00
 4   1/18/2011      Westlaw charges                            $        31.77
 5   1/24/2011      Reproduction (B&W)                         $         2.85
 6    3/2/2011      Reproduction (B&W)                         $         8.40
 7    3/8/2011      Meals                                      $        32.23
 8    3/8/2011      Mileage                                    $        61.12
 9    3/8/2011      Mileage                                    $        61.12
10    3/8/2011      Mileage                                    $        61.14
11    3/8/2011      Parking                                    $        15.00
12    3/9/2011      Reproduction (B&W)                         $        11.10
13   3/14/2011      Mileage                                    $        60.27
14   3/14/2011      Parking                                    $        15.00
15   3/17/2011      Reproduction (B&W)                         $         4.65
16   3/31/2011      Reproduction (B&W)                         $        79.35
17   3/31/2011      Reproduction (Color)                       $         3.75
18    4/1/2011      Reproduction (B&W)                         $         4.65
19     Apr‐11       Research                                   $         7.93
20    4/8/2011      Reproduction (Scans)                       $         1.60
21   4/12/2011      Reproduction (B&W)                         $        97.50
22   4/12/2011      Reproduction (Color)                       $         0.25
23   4/12/2011      Reproduction (Scans)                       $         0.05
24   4/13/2011      Reproduction (B&W)                         $         1.05
25   4/13/2011      Reproduction (Scans)                       $         0.10
26   4/14/2011      Reproduction (B&W)                         $         0.30
27   4/14/2011      Reproduction (Scans)                       $         0.10
28   4/19/2011      Reproduction (B&W)                         $         2.40
29   4/19/2011      Reproduction (Scans)                       $        20.40
30   4/19/2011      Westlaw charges                            $        22.97
31   4/20/2011      Reproduction (B&W)                         $         1.95
32   4/20/2011      Reproduction (Scans)                       $         0.10
33   4/27/2011      Reproduction (B&W)                         $         0.45
34   4/27/2011      Westlaw charges                            $       134.30
35   4/27/2011      Westlaw charges                            $       115.62
36     May‐11       Research                                   $         4.45
37    5/2/2011      Reproduction (B&W)                         $        10.50
38    5/2/2011      Reproduction (Scans)                       $         0.20
39    5/5/2011      Reproduction (B&W)                         $         5.40
40    5/6/2011      Accurint online research                   $        24.14
41   5/11/2011      Reproduction (Scans)                       $        13.55
42   5/18/2011      Postage                                    $         3.36
43   5/19/2011      Westlaw charges                            $        54.60
44   5/23/2011      Westlaw charges                            $       216.60
45   5/25/2011      Westlaw charges                            $       119.21
46   5/26/2011      Westlaw charges                            $        58.81


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 1      DATE                    DESCRIPTION OF CHARGE              AMOUNT
47   5/27/2011      Reproduction (B&W)                         $         0.30
48   5/27/2011      Reproduction (Color)                       $         0.25
49   5/27/2011      Westlaw charges                            $        44.55
50   5/30/2011      Westlaw charges                            $        28.55
51     Jun‐11       Research                                   $         3.56
52    6/6/2011      Reproduction (B&W)                         $        16.80
53    6/7/2011      Westlaw charges                            $       134.67
54    6/9/2011      Reproduction (B&W)                         $        25.35
55   6/11/2011      Westlaw charges                            $       129.23
56   6/12/2011      Westlaw charges                            $       143.62
57   6/13/2011      Courier/process server                     $        25.00
58   6/13/2011      Reproduction (B&W)                         $        24.60
59   6/13/2011      Reproduction (Color)                       $        40.25
60   6/13/2011      Reproduction (Scans)                       $         1.25
61   6/13/2011      Westlaw charges                            $        37.87
62   6/14/2011      Courier/process server                     $       137.45
63   6/14/2011      Courier/process server                     $        11.00
64   6/14/2011      Reproduction (B&W)                         $       113.85
65   6/14/2011      Reproduction (Color)                       $        40.25
66   6/14/2011      Reproduction (Scans)                       $         1.70
67   6/15/2011      Reproduction (B&W)                         $         1.05
68   6/16/2011      Meals                                      $        13.07
69   6/16/2011      Mileage                                    $        60.18
70   6/16/2011      Mileage                                    $        63.24
71   6/16/2011      Telephone Calls                            $        20.57
72   6/16/2011      Telephone Calls                            $        20.57
73   6/16/2011      Telephone Calls                            $        20.57
74   6/17/2011      Reproduction (Color)                       $         1.00
75   6/20/2011      Courier/process server                     $        71.50
76   6/20/2011      Postage                                    $         1.32
77   6/20/2011      Westlaw charges                            $         4.86
78   6/20/2011      Westlaw charges                            $        47.57
79   6/21/2011      Reproduction (B&W)                         $         4.05
80   6/22/2011      Reproduction (Scans)                       $         1.85
81   6/23/2011      Courier/process server                     $        71.50
82   6/23/2011      Meals                                      $         8.05
83   6/23/2011      Mileage                                    $        60.18
84   6/23/2011      Reproduction (Scans)                       $         8.60
85   6/28/2011      Courier/process server                     $        59.00
86   6/29/2011      Reproduction (B&W)                         $       131.40
87   6/29/2011      Reproduction (Color)                       $         1.50
88   6/29/2011      Reproduction (Scans)                       $        15.25
89    7/1/2011      Westlaw charges                            $        98.99
90    7/1/2011      Westlaw charges                            $        38.51
91    7/5/2011      Courier/process server                     $        25.00


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 1       DATE                      DESCRIPTION OF CHARGE            AMOUNT
92     7/5/2011      Reproduction (B&W)                         $        56.25
93     7/5/2011      Reproduction (Color)                       $         1.00
94     7/5/2011      Reproduction (Scans)                       $         6.35
95     7/5/2011      Westlaw charges                            $       163.47
96     7/5/2011      Westlaw charges                            $        18.00
97     7/6/2011      Reproduction (B&W)                         $         4.80
98     7/6/2011      Reproduction (Scans)                       $         0.45
99     7/7/2011      Postage Hard                               $        16.95
100    7/7/2011      Reproduction (Scans)                       $         5.20
101    7/8/2011      Accurint online research                   $        43.85
102    7/8/2011      Courier/process server                     $        87.50
103   7/12/2011      Reproduction (Scans)                       $         0.25
104   7/18/2011      Postage                                    $        13.92
105   7/21/2011      Reproduction (B&W)                         $         7.05
106   7/21/2011      Reproduction (Scans)                       $         2.10
107   7/22/2011      Courier/process server                     $       125.00
108   7/22/2011      Reproduction (B&W)                         $        15.30
109   7/22/2011      Reproduction (Color)                       $         0.50
110   7/28/2011      Reproduction (B&W)                         $         1.65
111   7/29/2011      Reproduction (B&W)                         $         5.55
112    8/1/2011      Reproduction (B&W)                         $         7.50
113    8/1/2011      Reproduction (Scans)                       $         0.15
114    8/2/2011      Reproduction (B&W)                         $         2.55
115    8/3/2011      Mileage                                    $        64.26
116    8/3/2011      Parking                                    $        20.50
117    8/3/2011      Telephone Calls                            $        21.30
118    8/3/2011      Reproduction (B&W)                         $        13.65
119    8/3/2011      Reproduction (Scans)                       $         4.40
120    8/3/2011      Westlaw charges                            $        35.25
121    8/4/2011      Westlaw charges                            $        30.59
122    8/5/2011      Accurint online research                   $        18.23
123    8/9/2011      Mileage                                    $        69.38
124    8/9/2011      Mileage                                    $        73.95
125    8/9/2011      Reproduction (B&W)                         $         3.75
126    8/9/2011      Reproduction (Color)                       $         1.25
127   8/10/2011      Reproduction (B&W)                         $         4.65
128   8/10/2011      Reproduction (Color)                       $         0.25
129   8/10/2011      Reproduction (Scans)                       $         0.30
130   8/11/2011      Meals                                      $        10.50
131   8/11/2011      Reproduction (B&W)                         $        13.65
132   8/11/2011      Westlaw charges                            $        14.17
133   8/12/2011      Westlaw charges                            $        11.58
134   8/16/2011      Reproduction (B&W)                         $        45.75
135   8/18/2011      Courier/process server                     $        22.00
136   8/18/2011      Courier/process server                     $        70.00


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 1       DATE                      DESCRIPTION OF CHARGE            AMOUNT
137   8/18/2011      Reproduction (B&W)                         $        13.65
138   8/18/2011      Reproduction (Scans)                       $         2.80
139   8/18/2011      Westlaw charges                            $        93.06
140   8/18/2011      Travel                                     $        47.00
141   8/19/2011      Courier/process server                     $        25.00
142   8/22/2011      Courier/process server                     $        29.95
143   8/22/2011      Courier/process server                     $        42.25
144   8/23/2011      Reproduction (B&W)                         $         0.15
145   8/23/2011      Reproduction (Color)                       $         0.25
146   8/23/2011      Reproduction (Scans)                       $         0.55
147   8/24/2011      Reproduction (B&W)                         $         9.60
148   8/24/2011      Reproduction (Color)                       $         0.75
149   8/24/2011      Reproduction (Scans)                       $         0.15
150   8/25/2011      Reproduction (B&W)                         $         9.60
151   8/25/2011      Reproduction (Color)                       $         0.75
152   8/25/2011      Reproduction (Scans)                       $         0.25
153   8/25/2011      Westlaw charges                            $        46.05
154   8/26/2011      Reproduction (B&W)                         $         0.15
155   8/26/2011      Reproduction (Color)                       $         0.50
156   8/26/2011      Reproduction (Scans)                       $         0.05
157   8/27/2011      Courier/process server                     $        63.75
158   8/29/2011      Reproduction (B&W)                         $        14.40
159   8/29/2011      Travel                                     $         4.50
160   8/31/2011      Accurint online research                   $        75.60
161   8/31/2011      Reproduction (Scans)                       $         0.10
162    9/2/2011      Reproduction (B&W)                         $         4.35
163    9/2/2011      Reproduction (Color)                       $         0.25
164    9/6/2011      Long distance telephone charges            $        11.47
165    9/8/2011      Reproduction (B&W)                         $         1.20
166    9/9/2011      Long distance telephone charges            $         0.16
167   9/11/2011      Reproduction (Scans)                       $         0.15
168   9/12/2011      Westlaw charges                            $        21.25
169   9/13/2011      Reproduction (B&W)                         $         1.80
170   9/13/2011      Long distance telephone charges            $         0.62
171   9/15/2011      Reproduction (B&W)                         $         4.20
172   9/15/2011      Reproduction (Color)                       $         0.25
173   9/16/2011      Reproduction (B&W)                         $        15.75
174   9/16/2011      Reproduction (Scans)                       $         5.55
175   9/19/2011      Postage                                    $        27.99
176   9/19/2011      Reproduction (B&W)                         $         8.85
177   9/20/2011      Reproduction (B&W)                         $       129.30
178   9/20/2011      Long distance telephone charges            $         0.16
179   9/21/2011      Reproduction (B&W)                         $         1.80
180   9/21/2011      Reproduction (Color)                       $         1.00
181   9/21/2011      Westlaw charges                            $        80.59


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 1       DATE                    DESCRIPTION OF CHARGE              AMOUNT
182   9/22/2011      Meals                                      $        15.18
183   9/22/2011      Parking                                    $         6.50
184   9/22/2011      Parking                                    $         9.00
185   9/23/2011      Reproduction (B&W)                         $        11.40
186   9/26/2011      Westlaw charges                            $       744.09
187   9/27/2011      Parking                                    $         8.00
188   9/27/2011      Reproduction (B&W)                         $         9.60
189   9/27/2011      Westlaw charges                            $     1,730.85
190   9/27/2011      Westlaw charges                            $         2.23
191   9/28/2011      Reproduction (B&W)                         $        28.50
192   9/28/2011      Westlaw charges                            $       187.03
193   9/29/2011      Westlaw charges                            $     1,044.69
194   9/30/2011      Accurint online research                   $        40.50
195   9/30/2011      Reproduction (B&W)                         $        12.75
196   9/30/2011      Reproduction (Color)                       $         0.75
197   9/30/2011      Westlaw charges                            $        93.86
198   9/30/2011      Westlaw charges                            $         1.27
199   10/3/2011      Reproduction (B&W)                         $         0.15
200   10/3/2011      Westlaw charges                            $        52.13
201   10/5/2011      Travel                                     $         6.00
202   10/7/2011      Long distance telephone charges            $         0.16
203   10/10/2011     PACER                                      $         0.32
204   10/10/2011     Reproduction (B&W)                         $         9.60
205   10/10/2011     Westlaw charges                            $        75.99
206   10/11/2011     Reproduction (B&W)                         $        16.20
207   10/11/2011     Westlaw charges                            $        76.65
208   10/12/2011     Reproduction (B&W)                         $         5.40
209   10/12/2011     Reproduction (Color)                       $        25.00
210   10/12/2011     Westlaw charges                            $        59.40
211   10/13/2011     Reproduction (B&W)                         $         8.25
212   10/14/2011     Mileage                                    $        68.15
213   10/14/2011     Travel                                     $         6.00
214   10/19/2011     Postage                                    $        29.42
215   10/20/2011     Reproduction (B&W)                         $         7.20
216   10/20/2011     Reproduction (Color)                       $         0.25
217   10/20/2011     Reproduction (Scans)                       $         1.80
218   10/20/2011     Westlaw charges                            $        63.75
219   10/24/2011     Reproduction (B&W)                         $        10.80
220   10/24/2011     Reproduction (Scans)                       $         1.65
221   10/24/2011     Westlaw charges                            $       206.85
222   10/24/2011     Long distance telephone charges            $         0.31
223   10/24/2011     Long distance telephone charges            $         1.71
224   10/24/2011     Long distance telephone charges            $         0.16
225   10/25/2011     Westlaw charges                            $       277.95
226   10/26/2011     Telephone conference calls                 $         4.17


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 1       DATE                      DESCRIPTION OF CHARGE            AMOUNT
227   10/28/2011     Long distance telephone charges            $         0.16
228   10/28/2011     Long distance telephone charges            $         0.16
229   10/28/2011     Long distance telephone charges            $         0.47
230   10/28/2011     Long distance telephone charges            $         0.16
231   10/28/2011     Air express charge                         $         8.30
232   10/31/2011     Travel expense ‐                           $       366.00
233   10/31/2011     Travel expense meals ‐                     $        28.79
234   10/31/2011     Travel expense ‐                           $       372.78
235   10/31/2011     Travel expense meals ‐                     $        27.78
236   10/31/2011     Long distance telephone charges            $         0.16
237    11/2/2011     Meals                                      $         9.60
238    11/2/2011     Parking                                    $         4.00
239    11/2/2011     Parking                                    $         5.00
240    11/2/2011     Reproduction (B&W)                         $        45.45
241    11/6/2011     Westlaw charges                            $       275.25
242    11/7/2011     Meals                                      $        18.61
243    11/7/2011     Mileage                                    $        61.05
244    11/7/2011     Mileage                                    $        78.81
245    11/7/2011     Mileage                                    $       101.01
246    11/7/2011     Mileage                                    $        68.82
247    11/7/2011     Reproduction (B&W)                         $        34.35
248    11/8/2011     Reproduction (B&W)                         $         4.20
249    11/8/2011     Westlaw charges                            $        25.80
250   11/9/2011      Mileage                                    $        78.81
251   11/9/2011      Westlaw charges                            $         1.95
252   11/10/2011     Westlaw charges                            $       128.25
253   11/11/2011     PACER                                      $         4.16
254   11/11/2011     PACER                                      $         4.16
255   11/14/2011     Reproduction (B&W)                         $        23.40
256   11/14/2011     Reproduction (Scans)                       $         3.95
257   11/15/2011     Accurint online research                   $       130.50
258   11/15/2011     Long distance telephone charges            $         0.16
259   11/16/2011     Westlaw charges                            $        84.30
260   11/17/2011     Mileage                                    $        68.82
261   11/17/2011     Mileage                                    $        68.82
262   11/17/2011     Reproduction (Scans)                       $         0.50
263   11/17/2011     Westlaw charges                            $        91.50
264   11/18/2011     Travel                                     $        50.00
265   11/19/2011     Westlaw charges                            $        93.00
266   11/21/2011     Courier/process server                     $        29.00
267   11/21/2011     Mileage                                    $        73.26
268   11/21/2011     PACER                                      $         0.40
269   11/21/2011     PACER                                      $         0.40
270   11/21/2011     Postage                                    $        51.25
271   11/21/2011     Reproduction (B&W)                         $       136.65


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272   11/21/2011     Reproduction (Color)                       $         3.00
273   11/21/2011     Reproduction (Scans)                       $         4.20
274   11/21/2011     Westlaw charges                            $        23.85
275   11/23/2011     Westlaw charges                            $        56.70
276   11/28/2011     Reproduction (B&W)                         $         6.90
277   11/28/2011     Reproduction (Scans)                       $         0.40
278   11/29/2011     Reproduction (B&W)                         $        48.45
279   11/30/2011     Westlaw charges                            $       113.85
280    12/1/2011     Reproduction (B&W)                         $        10.80
281      Dec‐11      Long Distance                              $        10.00
282    12/2/2011     PACER                                      $         2.80
283    12/2/2011     PACER                                      $         2.80
284    12/2/2011     Westlaw charges                            $        11.70
285    12/5/2011     Courier/process server                     $        30.00
286    12/5/2011     Reproduction (B&W)                         $        36.90
287    12/5/2011     Reproduction (Scans)                       $        14.85
288    12/6/2011     PACER                                      $         0.16
289    12/6/2011     PACER                                      $         0.16
290    12/6/2011     Reproduction (B&W)                         $         7.05
291    12/6/2011     Westlaw charges                            $         3.90
292    12/7/2011     Courier/process server                     $        29.00
293    12/7/2011     Mileage                                    $        68.82
294    12/7/2011     Mileage                                    $        68.82
295   12/7/2011      Reproduction (B&W)                         $        13.50
296   12/7/2011      Westlaw charges                            $        45.30
297   12/8/2011      Westlaw charges                            $       160.95
298   12/9/2011      Westlaw charges                            $        13.65
299   12/12/2011     Reproduction (B&W)                         $         0.15
300   12/19/2011     Postage                                    $         5.12
301   12/20/2011     Reproduction (B&W)                         $         3.60
302   12/20/2011     Travel                                     $        52.00
303   12/20/2011     Conference calls                           $        25.90
304   12/22/2011     Reproduction (B&W)                         $         5.25
305   12/30/2011     Telephone conference calls                 $        56.84
306      Jan‐12      Long Distance                              $        10.00
307     1/3/2012     Courier/process server                     $        29.00
308     1/5/2012     PACER                                      $         1.04
309    1/19/2012     Postage                                    $         0.64
310    1/26/2012     Reproduction (B&W)                         $         1.95
311    1/26/2012     Reproduction (Color)                       $       598.25
312      Feb‐12      Long Distance                              $        10.00
313      Feb‐12      Postage                                    $         0.45
314     2/6/2012     Reproduction (B&W)                         $         0.90
315     2/9/2012     Reproduction (B&W)                         $         0.75
316     2/9/2012     Reproduction (Scans)                       $         0.30


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 1       DATE                      DESCRIPTION OF CHARGE            AMOUNT
317   2/10/2012      Westlaw charges                            $        73.20
318   2/13/2012      Reproduction (B&W)                         $        35.40
319   2/13/2012      Westlaw charges                            $         1.95
320   2/13/2012      Telephone conference calls                 $         5.38
321   2/14/2012      Parking                                    $        22.00
322   2/14/2012      Reproduction (B&W)                         $         7.80
323   2/15/2012      Reproduction (B&W)                         $         0.30
324   2/21/2012      Telephone conference calls                 $         5.38
325   2/23/2012      Conference calls                           $        14.90
326   2/27/2012      Postage                                    $         5.70
327   2/27/2012      Reproduction (B&W)                         $         3.75
328   2/27/2012      Reproduction (Color)                       $         0.25
329   2/28/2012      Reproduction (B&W)                         $         4.35
330     Mar‐12       Long Distance                              $        10.00
331     Mar‐12       Postage                                    $         0.90
332    3/1/2012      Long distance telephone charges            $         0.48
333    3/1/2012      Travel                                     $        12.20
334    3/5/2012      Westlaw charges                            $        63.45
335    3/9/2012      Accurint online research                   $        16.26
336    3/9/2012      Long distance telephone charges            $         0.32
337    3/9/2012      Long distance telephone charges            $         0.32
338   3/12/2012      Westlaw charges                            $       118.80
339   3/13/2012      Mileage                                    $        68.27
340   3/14/2012      Reproduction (B&W)                         $         3.75
341   3/14/2012      Reproduction (Scans)                       $         0.05
342   3/19/2012      Postage                                    $         1.30
343   3/19/2012      Westlaw charges                            $        39.45
344   3/20/2012      Westlaw charges                            $        13.65
345   3/22/2012      Electronic document production costs       $       175.86
346   3/26/2012      Reproduction (B&W)                         $         0.60
347   3/26/2012      Reproduction (Scans)                       $         0.05
348   3/27/2012      Reproduction (B&W)                         $         3.60
349   3/27/2012      Westlaw charges                            $        25.05
350   3/28/2012      Reproduction (B&W)                         $        21.60
351   3/28/2012      Westlaw charges                            $        57.15
352   3/29/2012      Courier/process server                     $        29.00
353   3/29/2012      Reproduction (B&W)                         $         4.80
354   3/29/2012      Westlaw charges                            $         5.85
355   3/29/2012      Long distance telephone charges            $         0.32
356   3/30/2012      Conference calls                           $        10.43
357     Apr‐12       Long Distance                              $        10.00
358     Apr‐12       Postage                                    $         0.65
359    4/2/2012      Reproduction (B&W)                         $         5.40
360    4/2/2012      Reproduction (Color)                       $         0.75
361    4/3/2012      Reproduction (B&W)                         $         9.75


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 1       DATE                      DESCRIPTION OF CHARGE            AMOUNT
362    4/3/2012      Westlaw charges                            $        18.00
363    4/4/2012      Reproduction (B&W)                         $         5.85
364    4/4/2012      Westlaw charges                            $       375.60
365    4/5/2012      Courier/process server                     $        25.00
366    4/5/2012      Reproduction (B&W)                         $         1.65
367    4/9/2012      Westlaw charges                            $        55.50
368    4/9/2012      Long distance telephone charges            $         2.88
369   4/10/2012      Long distance telephone charges            $         0.32
370   4/11/2012      Accurint online research                   $        14.78
371   4/11/2012      Long distance telephone charges            $         0.32
372   4/13/2012      Telephone conference calls                 $        33.42
373   4/14/2012      Telephone conference calls                 $        35.09
374   4/17/2012      Courier/process server                     $        39.95
375   4/18/2012      Postage                                    $         2.35
376   4/23/2012      Telephone conference calls                 $        13.95
377    5/1/2012      Westlaw charges                            $        19.95
378     May‐12       Long Distance                              $        10.00
379     May‐12       Research                                   $        24.92
380    5/2/2012      Reproduction (B&W)                         $         2.55
381    5/3/2012      Telephone conference calls                 $        10.45
382   5/3/2012       Court Files                                $     2,080.00
383   5/3/2012       Court Files                                $       600.00
384   5/3/2012       Court Files                                $       400.00
385    5/7/2012      Courier/process server                     $        25.00
386    5/7/2012      Reproduction (B&W)                         $        30.75
387    5/7/2012      Reproduction (Scans)                       $         0.50
388   5/10/2012      Courier/process server                     $        56.55
389   5/16/2012      Westlaw charges                            $        75.45
390   5/16/2012      Air express charge                         $        15.43
391   5/16/2012      Long distance telephone charges            $         0.64
392   5/20/2012      Courier/process server                     $        25.00
393   5/21/2012      Courier/process server                     $        25.00
394   5/22/2012      Postage                                    $        20.65
395   5/22/2012      Reproduction (B&W)                         $         0.30
396   5/22/2012      Reproduction (Scans)                       $         5.15
397   5/22/2012      Long distance telephone charges            $         0.16
398   5/29/2012      Reproduction (B&W)                         $         0.45
399   5/29/2012      Reproduction (Scans)                       $         0.15
400   5/30/2012      Reproduction (B&W)                         $         0.45
401   5/30/2012      Reproduction (Color)                       $         0.25
402   5/30/2012      Reproduction (Scans)                       $         0.20
403   5/31/2012      Telephone conference calls                 $        28.80
404   5/31/2012      Messenger service                          $         8.00
405   5/31/2012      Long distance telephone charges            $         2.72
406     Jun‐12       Long Distance                              $        10.00


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407     Jun‐12       Postage                                    $         9.84
408     Jun‐12       Research                                   $         2.66
409    6/1/2012      Long distance telephone charges            $         0.80
410    6/4/2012      Reproduction (B&W)                         $         0.45
411    6/4/2012      Reproduction (Scans)                       $         0.15
412    6/4/2012      Messenger service                          $         8.00
413    6/6/2012      Reproduction (B&W)                         $         3.15
414    6/6/2012      Reproduction (B&W)                         $         3.90
415    6/6/2012      Reproduction (Color)                       $         0.50
416    6/6/2012      Reproduction (Scans)                       $         0.35
417    6/6/2012      Telephone conference calls                 $         7.52
418    6/7/2012      Courier/process server                     $        25.00
419    6/7/2012      Reproduction (B&W)                         $         0.15
420   6/11/2012      Reproduction (B&W)                         $         1.80
421   6/11/2012      Reproduction (Color)                       $         0.50
422   6/11/2012      Reproduction (Scans)                       $         0.05
423   6/11/2012      Long distance telephone charges            $         0.32
424   6/12/2012      Reproduction (B&W)                         $         1.65
425   6/12/2012      Long distance telephone charges            $         0.48
426   6/12/2012      Long distance telephone charges            $         0.32
427   6/13/2012      Reproduction (B&W)                         $         0.45
428   6/13/2012      Reproduction (Scans)                       $         0.10
429   6/13/2012      Telephone conference calls                 $         1.61
430   6/14/2012      Reproduction (Color)                       $         0.75
431   6/18/2012      Courier/process server                     $       144.45
432   6/18/2012      Postage                                    $        51.71
433   6/18/2012      Reproduction (B&W)                         $         0.75
434   6/20/2012      Air express charge                         $         8.50
435   6/20/2012      Air express charge                         $         7.91
436   6/20/2012      Long distance telephone charges            $         0.96
437   6/20/2012      Long distance telephone charges            $         0.16
438   6/21/2012      Mileage                                    $        70.39
439   6/21/2012      Reproduction (Color)                       $         1.50
440   6/21/2012      Reproduction (Scans)                       $        21.25
441   6/22/2012      Messenger service                          $        10.00
442   6/25/2012      Reproduction (Color)                       $         0.75
443   6/25/2012      Reproduction (Scans)                       $         0.05
444   6/27/2012      Reproduction (B&W)                         $         2.40
445   6/27/2012      Telephone conference calls                 $        18.57
446      Jul‐12      Long Distance                              $        10.00
447      Jul‐12      Postage                                    $         2.45
448    7/3/2012      Reproduction (B&W)                         $         0.15
449    7/5/2012      Reproduction (Color)                       $         0.25
450    7/5/2012      Reproduction (Scans)                       $         0.15
451    7/6/2012      PACER                                      $         0.80


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 1        DATE                     DESCRIPTION OF CHARGE            AMOUNT
452    7/11/2012     Telephone conference calls                 $         5.69
453    7/18/2012     Reproduction (B&W)                         $         1.05
454    7/18/2012     Reproduction (Scans)                       $         0.20
455    7/18/2012     Westlaw charges                            $         3.90
456   7/18/2012      Telephone conference calls                 $         7.07
457   7/19/2012      Reproduction (B&W)                         $         5.10
458   07/19/2012     Flight                                     $       299.60
459   07/19/2012     Travel                                     $       166.87
460   7/20/2012      Westlaw charges                            $        10.95
461   07/20/2012     Lodging                                    $       289.84
462   7/21/2012      Westlaw charges                            $        29.70
463   7/22/2012      Westlaw charges                            $        40.65
464   7/23/2012      Postage                                    $         2.20
465   7/23/2012      Reproduction (Color)                       $         0.25
466   7/23/2012      Westlaw charges                            $         3.90
467   7/24/2012      Reproduction (B&W)                         $         0.60
468    7/24/2012     Reproduction (Color)                       $         3.75
469    7/24/2012     Westlaw charges                            $        12.90
470    7/25/2012     Reproduction (B&W)                         $       105.00
471    7/25/2012     Reproduction (Color)                       $         8.50
472    7/25/2012     Westlaw charges                            $       196.65
473    7/26/2012     Courier/process server                     $        29.00
474   7/26/2012      Meals                                      $        60.56
475   7/26/2012      Meals                                      $         4.27
476   7/26/2012      Reproduction (B&W)                         $         8.85
477   7/26/2012      Reproduction (Color)                       $         7.00
478   7/26/2012      Reproduction (Scans)                       $          ‐
479   7/26/2012      Westlaw charges                            $        17.55
480   7/27/2012      Parking                                    $        26.00
481   7/30/2012      Reproduction (B&W)                         $        33.75
482    8/1/2012      Reproduction (B&W)                         $         4.35
483    8/1/2012      Reproduction (Color)                       $         0.50
484     8/1/2012     Reproduction (Scans)                       $         0.05
485      Aug‐12      Long Distance                              $        10.00
486      Aug‐12      Research                                   $         1.55
487     8/6/2012     Travel expense meals ‐                     $         8.50
488     8/6/2012     Travel expense ‐                           $        90.82
489     8/7/2012     Reproduction (B&W)                         $         0.45
490     8/7/2012     Reproduction (Color)                       $         0.50
491     8/7/2012     Messenger service                          $         8.00
492     8/8/2012     Reproduction (B&W)                         $         1.05
493     8/8/2012     Telephone conference calls                 $        11.10
494     8/9/2012     Reproduction (B&W)                         $         5.40
495    8/10/2012     Air express charge                         $         7.77
496    8/13/2012     Air express charge                         $         8.36


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497    8/14/2012     Reproduction (B&W)                         $         2.55
498    8/15/2012     Reproduction (B&W)                         $         0.30
499    8/15/2012     Telephone conference calls                 $        12.45
500    8/16/2012     Reproduction (Color)                       $         0.50
501    8/20/2012     Postage                                    $         2.45
502    8/22/2012     Reproduction (B&W)                         $         0.60
503    8/22/2012     Reproduction (Scans)                       $         0.20
504    8/27/2012     Reproduction (B&W)                         $        21.60
505    8/28/2012     Reproduction (B&W)                         $        49.05
506    8/29/2012     Telephone conference calls                 $        15.72
507    8/31/2012     Electronic document production costs       $     1,242.63
508    8/31/2012     Telephone conference calls                 $         9.84
509      Sep‐12      Long Distance                              $        10.00
510     9/5/2012     Mileage                                    $        65.58
511     9/5/2012     Reproduction (B&W)                         $         4.20
512     9/5/2012     Reproduction (Color)                       $         0.25
513     9/5/2012     Reproduction (Scans)                       $         0.10
514     9/5/2012     Westlaw charges                            $        19.95
515     9/5/2012     Telephone conference calls                 $        20.83
516     9/6/2012     Messenger service                          $         8.00
517    9/11/2012     Reproduction (B&W)                         $         0.30
518    9/12/2012     Reproduction (B&W)                         $        14.25
519    9/12/2012     Reproduction (Color)                       $         0.25
520    9/12/2012     Reproduction (Scans)                       $         0.10
521    9/13/2012     Reproduction (B&W)                         $         1.20
522    9/17/2012     Reproduction (B&W)                         $        18.90
523    9/18/2012     Meals                                      $         8.75
524    9/18/2012     Mileage                                    $        65.58
525    9/18/2012     Reproduction (B&W)                         $         0.45
526    9/18/2012     Reproduction (Color)                       $         0.25
527    9/18/2012     Reproduction (Scans)                       $         0.40
528    9/18/2012     Westlaw charges                            $        28.50
529    9/18/2012     Air express charge                         $         7.88
530    9/19/2012     Postage                                    $         6.60
531    9/19/2012     Telephone conference calls                 $        15.13
532    9/19/2012     Messenger service                          $        12.00
533    9/20/2012     Reproduction (B&W)                         $         0.15
534    9/21/2012     Westlaw charges                            $       463.20
535    9/21/2012     Westlaw charges                            $        14.85
536   09/21/2012     Flight                                     $       343.60
537   09/21/2012     Lodging                                    $       284.32
538   09/21/2012     Travel                                     $       278.69
539   9/24/2012      Electronic document production costs       $       355.88
540   9/24/2012      Reproduction (B&W)                         $        50.70
541    9/24/2012     Reproduction (Scans)                       $         0.20


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542    9/24/2012     Westlaw charges                                  $        92.10
543    9/24/2012     Messenger service                                $        16.00
544    9/25/2012     Reproduction (B&W)                               $       175.20
545    9/25/2012     Reproduction (Color)                             $         0.25
546    9/25/2012     Reproduction (Scans)                             $         2.40
547    9/25/2012     Westlaw charges                                  $       101.10
548   09/25/2012     Fax                                              $         1.50
549    9/25/2012     Messenger service                                $         8.00
550    9/26/2012     Hotel Charges                                    $       142.16
551    9/26/2012     Meals                                            $        51.82
552    9/26/2012     Mileage                                          $        70.82
553    9/26/2012     Reproduction (B&W)                               $       168.90
554    9/26/2012     Reproduction (Color)                             $         0.25
555    9/27/2012     Meals                                            $         3.35
556    9/27/2012     Reproduction (Color)                             $         0.25
557    9/27/2012     Telephone conference calls                       $         2.42
558    9/28/2012     Westlaw charges                                  $        10.95
559    9/30/2012     Electronic document production costs             $     1,015.00
560    10/1/2012     Reproduction (B&W)                               $        19.35
561    10/1/2012     Reproduction (Color)                             $         0.25
562    10/1/2012     Westlaw charges                                  $       131.40
563      Oct‐12      Courier                                          $         5.00
564      Oct‐12      Long Distance                                    $        10.00
565      Oct‐12      Postage                                          $         0.90
566      Oct‐12      Research                                         $        19.75
567      Oct‐12      Research                                         $         3.50
568    10/2/2012     Westlaw charges                                  $       108.60
569    10/3/2012     Westlaw charges                                  $         1.95
570    10/3/2012     Westlaw charges                                  $       141.45
571    10/3/2012     Telephone conference calls                       $        20.17
572    10/4/2012     Courier/process server                           $        16.25
573    10/4/2012     Reproduction (B&W)                               $        21.00
574    10/8/2012     Reproduction (B&W)                               $         6.60
575    10/8/2012     Reproduction (Scans)                             $         0.05
576   10/10/2012     Reproduction (B&W)                               $         0.60
577   10/10/2012     Telephone conference calls                       $        24.47
578   10/11/2012     Messenger Service (CDs)                          $        25.00
579   10/12/2012     Courier/process server                           $        46.95
580   10/16/2012     Office services/special handling ‐ copy center   $        71.00
581   10/17/2012     Courier/process server                           $         7.00
582   10/17/2012     Reproduction (Color)                             $         1.00
583   10/17/2012     Telephone conference calls                       $        12.91
584   10/22/2012     Meals                                            $        11.47
585   10/22/2012     Mileage                                          $        66.60
586   10/23/2012     Reproduction (B&W)                               $         9.30


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587   10/24/2012     Telephone conference calls                 $         9.82
588   10/31/2012     Reproduction (B&W)                         $         1.65
589   10/31/2012     Reproduction (Scans)                       $         0.05
590   10/31/2012     Messenger service                          $        12.00
591   10/31/2012     Telephone conference calls                 $        13.82
592      Nov‐12      Long Distance                              $        10.00
593    11/5/2012     Courier/process server                     $        45.00
594    11/7/2012     Telephone conference calls                 $        10.91
595   11/12/2012     Reproduction (B&W)                         $         7.95
596   11/12/2012     Reproduction (Scans)                       $         0.10
597   11/14/2012     Reproduction (B&W)                         $       297.75
598   11/14/2012     Telephone conference calls                 $        11.38
599   11/19/2012     Postage                                    $         1.95
600   11/20/2012     Reproduction (B&W)                         $         1.20
601   11/21/2012     Telephone conference calls                 $        17.80
602   11/28/2012     Telephone conference calls                 $        12.55
603      Dec‐12      Long Distance                              $        10.00
604   12/5/2012      Telephone conference calls                 $        25.31
605   12/12/2012     Telephone conference calls                 $        18.11
606   12/15/2012     Courier/process server                     $        25.00
607   12/17/2012     Reproduction (B&W)                         $         4.65
608   12/17/2012     Reproduction (Scans)                       $         0.25
609   12/18/2012     Postage                                    $         3.40
610   12/19/2012     Telephone conference calls                 $         8.42
611   12/20/2012     Messenger service                          $        12.00
612   12/30/2012     Courier/process server                     $        39.95
613   12/31/2012     Electronic document production costs       $     2,213.22
614      Jan‐13      Long Distance                              $        10.00
615      Jan‐13      Research                                   $         2.99
616     1/2/2013     Reproduction (B&W)                         $        35.10
617     1/2/2013     Reproduction (Scans)                       $         0.05
618     1/2/2013     Telephone conference calls                 $        17.99
619     1/4/2013     Mileage                                    $        80.23
620     1/5/2013     Westlaw charges                            $         1.95
621     1/7/2013     Courier/process server                     $        79.50
622     1/9/2013     Meals                                      $         3.25
623     1/9/2013     Reproduction (B&W)                         $       263.10
624     1/9/2013     Reproduction (Scans)                       $         0.10
625     1/9/2013     Telephone conference calls                 $         7.93
626    1/10/2013     Parking                                    $        13.00
627    1/10/2013     Reproduction (B&W)                         $       121.95
628    1/10/2013     Reproduction (Color)                       $         2.00
629   1/14/2013      Reproduction (B&W)                         $         3.75
630   1/15/2013      Reproduction (B&W)                         $         0.15
631   1/15/2013      Westlaw charges                            $        19.95


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 1       DATE                      DESCRIPTION OF CHARGE                  AMOUNT
632   1/15/2013      Westlaw charges                                  $        11.70
633   1/15/2013      Photocopies and printing                         $       122.00
634   1/15/2013      Long distance telephone charges                  $         0.32
635   1/15/2013      Long distance telephone charges                  $         2.24
636   1/16/2013      Westlaw charges                                  $       104.70
637   1/16/2013      Telephone conference calls                       $        16.77
638   1/17/2013      Mileage                                          $        65.54
639   1/17/2013      Reproduction (B&W)                               $       147.60
640   1/17/2013      Reproduction (B&W)                               $        10.05
641   1/17/2013      Reproduction (Color)                             $         0.25
642   1/22/2013      Postage                                          $        13.77
643   1/22/2013      Reproduction (B&W)                               $        61.05
644   1/23/2013      Courier/process server                           $       119.50
645   1/23/2013      Telephone conference calls                       $        13.72
646   1/24/2013      Westlaw charges                                  $        34.80
647   1/26/2013      Telephone conference calls                       $         8.60
648   1/30/2013      Travel expense meals ‐                           $        11.50
649   1/30/2013      Telephone conference calls                       $        15.55
650   1/31/2013      Messenger service                                $         8.00
651     Feb‐13       Long Distance                                    $        10.00
652     Feb‐13       Research                                         $         9.09
653    2/1/2013      Messenger service                                $        50.00
654    2/4/2013      Reproduction (B&W)                               $         7.20
655    2/5/2013      Courier/process server                           $        39.95
656    2/6/2013      Reproduction (B&W)                               $         0.45
657    2/6/2013      Telephone conference calls                       $        12.80
658    2/7/2013      Accurint online research                         $        10.84
659    2/7/2013      Reproduction (B&W)                               $         1.80
660    2/8/2013      Parking                                          $         4.50
661   2/11/2013      Reproduction (B&W)                               $        19.80
662   2/13/2013      Delivery of documents to Professor John Strait   $        65.00
663   2/14/2013      Reproduction (B&W)                               $         9.75
664   2/19/2013      Postage                                          $         0.92
665   2/19/2013      Reproduction (B&W)                               $        14.10
666   2/20/2013      Reproduction (B&W)                               $         4.05
667   2/20/2013      Delivery of documents to Professor John Strait   $        27.00
668   2/25/2013      Reproduction (B&W)                               $        33.00
669   2/26/2013      Westlaw charges                                  $        14.85
670   2/27/2013      Reproduction (B&W)                               $        10.65
671   2/27/2013      Westlaw charges                                  $        80.55
672   2/28/2013      Reproduction (B&W)                               $        25.80
673   2/28/2013      Westlaw charges                                  $        84.30
674   2/28/2013      Delivery of documents to Professor John Strait   $        20.00
675    3/1/2013      Westlaw charges                                  $        44.85
676     Mar‐13       Long Distance                                    $        10.00


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677     Mar‐13       Research                                   $         2.10
678    3/1/2013      Air express charge                         $       760.00
679    3/3/2013      Westlaw charges                            $       240.45
680    3/4/2013      Reproduction (B&W)                         $        53.85
681    3/4/2013      Reproduction (Color)                       $         5.50
682    3/4/2013      Westlaw charges                            $        49.65
683    3/5/2013      Reproduction (B&W)                         $        21.15
684    3/5/2013      Reproduction (Color)                       $         7.75
685    3/5/2013      Westlaw charges                            $        41.40
686    3/6/2013      Reproduction (B&W)                         $       317.85
687    3/6/2013      Reproduction (Color)                       $        13.00
688    3/7/2013      Reproduction (B&W)                         $        73.35
689   3/10/2013      Westlaw charges                            $        69.60
690   3/11/2013      Parking                                    $        16.00
691   3/11/2013      Reproduction (B&W)                         $        27.30
692   3/11/2013      Telephone conference calls                 $        19.62
693   3/11/2013      Records request fee                        $       105.00
694   3/12/2013      Reproduction (B&W)                         $         2.10
695   3/12/2013      Westlaw charges                            $        41.10
696   3/13/2013      Westlaw charges                            $        88.20
697   3/13/2013      Photocopies and printing                   $       662.80
698   3/14/2013      Messenger service                          $        32.00
699   3/18/2013      Postage                                    $         0.92
700   3/18/2013      Air express charge                         $         7.31
701   3/25/2013      Reproduction (B&W)                         $        13.65
702   3/26/2013      Messenger service                          $        16.00
703   3/27/2013      Reproduction (B&W)                         $        34.20
704   3/27/2013      Westlaw charges                            $       153.30
705   3/28/2013      Reproduction (B&W)                         $         0.15
706   3/28/2013      Reproduction (Color)                       $         0.25
707   3/28/2013      Reproduction (Scans)                       $         0.10
708   3/28/2013      Westlaw charges                            $        25.80
709    4/1/2013      Courier/process server                     $        25.00
710    4/1/2013      Reproduction (B&W)                         $        15.00
711     Apr‐13       Long Distance                              $        10.00
712   4/10/2013      Telephone conference calls                 $        11.29
713   4/23/2013      Postage                                    $         0.46
714   4/23/2013      Reproduction (B&W)                         $        11.70
715   4/23/2013      Reproduction (Color)                       $         0.50
716   4/24/2013      Telephone conference calls                 $        14.02
717   4/28/2013      Westlaw charges                            $        18.75
718   4/29/2013      Reproduction (B&W)                         $         3.60
719   4/29/2013      Reproduction (B&W)                         $        55.95
720   4/29/2013      Westlaw charges                            $        80.70
721    5/1/2013      Parking                                    $         7.00


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722     5/1/2013     Reproduction (B&W)                         $         6.00
723     5/1/2013     Westlaw charges                            $        10.80
724      May‐13      Long Distance                              $        10.00
725      May‐13      Research                                   $         6.99
726     5/2/2013     Parking                                    $        13.00
727     5/2/2013     Reproduction (B&W)                         $        14.70
728     5/2/2013     Westlaw charges                            $        43.80
729     5/6/2013     Reproduction (B&W)                         $         6.15
730     5/6/2013     Westlaw charges                            $        37.95
731   05/06/2013     Travel                                     $       325.03
732     5/7/2013     Messenger service                          $        10.00
733     5/8/2013     Reproduction (B&W)                         $         0.45
734     5/8/2013     Telephone conference calls                 $        25.81
735     5/9/2013     Long distance telephone charges            $         5.60
736    5/13/2013     Reproduction (B&W)                         $        35.70
737    5/15/2013     Meals                                      $        15.04
738    5/15/2013     Reproduction (B&W)                         $        10.65
739    5/15/2013     Westlaw charges                            $         7.80
740    5/16/2013     Meals                                      $         7.58
741    5/16/2013     Parking                                    $        16.00
742    5/16/2013     Reproduction (B&W)                         $         1.20
743    5/16/2013     Westlaw charges                            $        77.85
744   5/17/2013      Private Investigator                       $       273.00
745   5/17/2013      Westlaw charges                            $         8.25
746   5/20/2013      Reproduction (B&W)                         $         3.15
747   5/20/2013      Messenger service                          $        10.00
748   5/21/2013      Parking                                    $         8.00
749   05/21/2013     Travel                                     $       351.06
750   5/22/2013      Parking                                    $        16.00
751   5/22/2013      Reproduction (B&W)                         $       423.45
752   5/22/2013      Reproduction (Color)                       $         3.25
753   5/22/2013      Reproduction (Scans)                       $         0.20
754    5/23/2013     Messenger service                          $        20.00
755    5/27/2013     Westlaw charges                            $        63.75
756    5/28/2013     Reproduction (B&W)                         $       362.85
757    5/28/2013     Reproduction (Color)                       $         0.75
758    5/28/2013     Reproduction (Scans)                       $         0.55
759    5/28/2013     Westlaw charges                            $        96.45
760    5/29/2013     Reproduction (B&W)                         $        10.65
761    5/29/2013     Reproduction (Scans)                       $         0.60
762    5/29/2013     Westlaw charges                            $       120.45
763    5/29/2013     Messenger service                          $        48.00
764    5/30/2013     Meals                                      $        27.91
765    5/30/2013     Parking                                    $         8.00
766    5/30/2013     Reproduction (B&W)                         $       125.70


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 1        DATE                     DESCRIPTION OF CHARGE            AMOUNT
767    5/30/2013     Reproduction (Color)                       $         0.25
768    5/30/2013     Reproduction (Scans)                       $         0.20
769    5/31/2013     Courier/process server                     $        29.00
770   5/31/2013      Parking                                    $        22.00
771   5/31/2013      Parking                                    $         2.75
772   05/31/2013     Fed Ex                                     $        41.32
773      Jun‐13      Long Distance                              $        10.00
774     6/2/2013     Parking                                    $        11.00
775     6/3/2013     Hotel Charges‐Muenscher                    $       168.06
776     6/3/2013     Meals                                      $        35.54
777     6/3/2013     Parking                                    $        16.00
778     6/3/2013     Parking                                    $         7.00
779     6/3/2013     Parking                                    $         8.00
780     6/3/2013     Reproduction (B&W)                         $       360.90
781     6/3/2013     Reproduction (Color)                       $        15.75
782     6/3/2013     Reproduction (Scans)                       $        13.10
783     6/3/2013     Witness Fee‐Montague (2nd day)             $        40.00
784     6/3/2013     Witness Fee‐Moon (2nd day)                 $        40.00
785     6/4/2013     Hotel Charges‐Moon                         $       250.66
786     6/4/2013     Hotel Charges‐Montague                     $       290.93
787     6/4/2013     Meals                                      $        30.43
788     6/4/2013     Meals                                      $        83.86
789     6/4/2013     Meals                                      $        47.36
790     6/4/2013     Parking                                    $        23.00
791     6/4/2013     Reproduction (B&W)                         $        11.10
792     6/4/2013     Reproduction (Color)                       $         1.25
793     6/4/2013     Transcripts                                $       472.50
794     6/5/2013     Parking                                    $        16.00
795     6/5/2013     Reproduction (B&W)                         $        40.50
796     6/5/2013     Witness Fee‐Muenscher (2nd day)            $        40.00
797     6/6/2013     Parking                                    $        16.00
798     6/6/2013     Reproduction (B&W)                         $         4.50
799     6/7/2013     Courier/process server                     $        79.50
800     6/7/2013     Transcripts                                $       245.70
801     6/8/2013     Westlaw charges                            $        74.10
802     6/9/2013     Westlaw charges                            $         1.95
803    6/10/2013     Parking                                    $        16.00
804    6/10/2013     Reproduction (B&W)                         $       171.90
805    6/11/2013     Accurint online research                   $        21.68
806    6/11/2013     Parking                                    $        16.00
807   6/12/2013      Parking                                    $        16.00
808   6/12/2013      Reproduction (B&W)                         $         9.75
809   6/12/2013      Reproduction (Color)                       $        32.25
810   6/12/2013      Westlaw charges                            $        54.00
811   6/13/2013      Parking                                    $        13.00


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812    6/13/2013     Reproduction (B&W)                         $         5.40
813    6/13/2013     Westlaw charges                            $        64.80
814   6/13/2013      Messenger service                          $        38.00
815   6/14/2013      Parking                                    $        22.00
816   6/15/2013      Westlaw charges                            $        99.75
817   6/17/2013      Parking                                    $         9.00
818   6/17/2013      Reproduction (B&W)                         $        86.70
819   6/17/2013      Reproduction (Color)                       $        10.00
820   6/17/2013      Reproduction (Scans)                       $         0.55
821   6/18/2013      Parking                                    $        15.00
822   6/18/2013      Postage                                    $         4.74
823   6/18/2013      Reproduction (B&W)                         $         9.15
824   6/18/2013      Reproduction (Color)                       $        10.25
825   6/19/2013      Reproduction (B&W)                         $         0.45
826   6/19/2013      Reproduction (Color)                       $        84.25
827   6/21/2013      Private Investigator                       $       312.00
828     7/1/2013     Reproduction (B&W)                         $         0.90
829       Jul‐13     Long Distance                              $        10.00
830       Jul‐13     Research                                   $         3.40
831    7/10/2013     Reproduction (B&W)                         $         1.50
832    7/10/2013     Westlaw charges                            $        84.45
833    7/12/2013     Westlaw charges                            $       209.85
834    7/15/2013     Westlaw charges                            $         9.75
835    7/16/2013     Westlaw charges                            $       117.15
836    7/18/2013     Westlaw charges                            $        34.35
837   7/22/2013      Westlaw charges                            $       265.80
838   7/22/2013      Westlaw charges                            $       265.80
839   7/22/2013      Westlaw charges                            $       265.80
840   7/23/2013      Reproduction (B&W)                         $         4.95
841   7/24/2013      Reproduction (B&W)                         $         5.70
842    7/24/2013     Westlaw charges                            $        36.30
843    7/29/2013     Reproduction (B&W)                         $         0.30
844    7/30/2013     Westlaw charges                            $         7.80
845      Aug‐13      Long Distance                              $        10.00
846     8/5/2013     Reproduction (Color)                       $         1.00
847     8/7/2013     Westlaw charges                            $        18.75
848    8/14/2013     Westlaw charges                            $         5.85
849   8/15/2013      Messenger service                          $        16.00
850   8/19/2013      Reproduction (B&W)                         $        16.20
851      Sep‐13      Long Distance                              $        10.00
852      Oct‐13      Courier                                    $         1.13
853      Oct‐13      Long Distance                              $        10.00
854   10/14/2013     Reproduction (Color)                       $         0.50
855   10/17/2013     Reproduction (B&W)                         $         0.30
856   10/28/2013     Reproduction (B&W)                         $         1.20


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 1       DATE                     DESCRIPTION OF CHARGE                AMOUNT
857     Nov‐13       Long Distance                                 $        10.00
858   11/18/2013     Reproduction (B&W)                            $         3.60
859   11/21/2013     Reproduction (B&W)                            $         0.15
860   11/21/2013     Reproduction (Color)                          $         0.50
861     Dec‐13       Long Distance                                 $        10.00
862    12/4/2013     Reproduction (B&W)                            $         3.45
863    12/9/2013     Westlaw charges                               $       216.30
864   12/12/2013     Reproduction (B&W)                            $         5.55
865   12/17/2013     Reproduction (B&W)                            $        84.45
866                                                  GRAND TOTAL   $    43,496.50




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    1    DATE      TIME KEEPER     HOURS        RATE     LINE TOTAL DESCRIPTION
                                                                   Researched and analyzed issues regarding recovery of attorneys'
                                                                   fees and expenses [2.4]; telephone conference with co‐counsel
        12/9/13     Marshall        3.30    $    375.00 $ 1,237.50 regarding same [.2]; researched and analyzed issues regarding Rule
                                                                   23(h) requirement of notice for fees motion and advisory
    2                                                              committee note regarding court's ability to 'calibrate' same [.7].
                                                                        Conference call with co‐counsel re fee petition; conduct legal
        12/10/13     Dunne          1.30    $    380.00 $     494.00
    3                                                                   research for fee petition;
    4   12/10/13    Marshall        0.10    $    375.00 $         37.50 Worked on review of fees and expenses [.1].
                                                                   Telephone conferences with co‐counsel regarding strategy and
                                                                   division of work for submission of motions for fees and litigation
        12/10/13    Marshall        3.60    $    375.00 $ 1,350.00 expenses [1.5]; researched and analyzed issues regarding fees and
                                                                   expenses standards under section 1988 [1.1]; worked on
    5                                                              compilations of fees and expenses [1.0].
    6   12/10/13    Zuchetto        1.00    $    330.00 $     330.00 Conference call w/ co‐counsel re fee/expense petition.
    7   12/10/13    Zuchetto        1.50    $    330.00 $     495.00 Work on SLG fee/expense petition.
                                                                     Office conference with Zuchetto re: Fee Petition (.2); work on
        12/11/13    Bergland        1.30    $    190.00 $     247.00 analysis of time entries (1.0); Office conference with KAR re: cost
    8                                                                summary needed (.1).
    9   12/11/13    Bergland        0.90    $    190.00 $     171.00 Begin draft of Zuchetto Declaration in support of Fee Petition.
                                                                     Telephone conference with co‐counsel re fee petition and email
        12/11/13     Dunne          0.80    $    380.00 $     304.00 correspondence re same; telephone correspondence with S.
10                                                                   Mungia re fee declaration;
                                                                   Worked on materials in support of fees and expenses motion and
        12/11/13    Marshall        2.90    $    375.00 $ 1,087.50 researched and analyzed issues regarding same [2.6]; telephone
11                                                                 conference with co‐counsel regarding same [.3].
12      12/11/13     Stanley        0.20    $    100.00 $      20.00 Worked on motion for attorneys' fees.
                                                                     Coordinate with D. Burman and B. Keller on submitting fee
        12/11/13     Williams       0.50    $    580.00 $     290.00
13                                                                   declaration supporting fee request;


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    1     DATE     TIME KEEPER        HOURS      RATE   LINE TOTAL DESCRIPTION
14      12/11/13     Zuchetto          2.75    $ 330.00 $    907.50 Work on fee/expense petition.
15      12/11/13     Zuchetto          0.75    $ 330.00 $    247.50 Participate in conference call and e‐mail co‐counsel re same.
                                                                    Revisions to Fee Petition Declaration and preparation of lodestar
        12/12/13    Bergland           1.50    $ 190.00 $    285.00
16                                                                  analysis.
                                                                            Telephone conference with co‐counsel regarding call with Mr.
        12/12/13    Marshall           0.20    $   375.00 $         75.00
17                                                                          Harrison and plan for implementing injunctive relief [.2].
                                                                     Worked on motion and supporting documents for award of fees
                                                                     and expenses and researched and analyzed issues regarding same
        12/12/13    Marshall           4.70    $   375.00 $ 1,762.50
                                                                     [2.9]; worked on review, redaction, and reduction of time records
18                                                                   [1.8].
                                                                       Review and edit declarations of James F. Williams and Bradley
        12/12/13     Williams          0.70    $   580.00 $     406.00
19                                                                     Keller in support of Motion for Award of Attorneys' Fees;
20      12/12/13    Zuchetto           1.00    $   330.00 $     330.00 Analyze/review SLG time entries re fee petition.
                                                                       Final revisions to Declaration; Office conference with Zuchetto re:
        12/13/13    Bergland           1.50    $   190.00 $     285.00
21                                                                     Fee Petition; prepare spreadsheet for Fee Petition.
                                                                     Telephone conference with J. Shaeffer re fee declaration; review
        12/13/13     Dunne             5.60    $   380.00 $ 2,128.00 time sheets for ACLU and Perkins Coie; conduct legal research for
22                                                                   fee petition;
                                                                            Edit B. Keller's declaration in support of fee petition; edit J.
        12/13/13      Fisher           1.00    $   330.00 $     330.00
23                                                                          Williams' declaration in support of fee petition;
                                                                     Worked on declaration in support of motion for award of attorneys'
                                                                     fees and expenses [1.1]; worked on review, redaction, and
        12/13/13    Marshall           3.50    $   375.00 $ 1,312.50
                                                                     reduction of fees [1.8]; reviewed case file for summary of work
24                                                                   done in litigation [.6].
25      12/13/13    Zuchetto           1.25    $   330.00 $     412.50 Review/edit decl. iso fee petition and email co‐counsel re same.
                                                                       Worked on motion for award of attorneys' fees and litigation
        12/14/13    Marshall           2.00    $   375.00 $     750.00
26                                                                     expenses [2.0].




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           A            B                C          D            E                                         F
    1    DATE      TIME KEEPER        HOURS        RATE      LINE TOTAL DESCRIPTION
                                                                      draft and revise Dunne declaration in support of fee petition; revise
                                                                      Williams declaration in support of fee petition; review timesheets
        12/15/13     Dunne             3.50    $    380.00 $ 1,330.00 for ACLU and Perkins Coie; email correspondence with S. Mungia re
                                                                      fee declaration; email correspondence with J. Shaeffer re fee
27                                                                    declaration
                                                                          Worked on motion for award of attorneys' fees and expenses and
        12/15/13    Marshall           3.70    $    375.00 $ 1,387.50
28                                                                        researched and analyzed issues regarding same [3.7].
                                                                          Office conference with Zuchetto re: Fee Petition; work on allocation
        12/16/13    Bergland           1.50    $    190.00 $     285.00
29                                                                        of fee petition time re co‐counsel instructions.
                                                                        Meeting with co‐counsel re fee petition; telephone conference with
        12/16/13     Dunne             2.40    $    380.00 $     912.00 co‐counsel re fee petition; revise Dunne and Williams declarations
30                                                                      for fee petition
                                                                        Read motion for attorneys' fees and expenses; participate in
                                                                        conference with J. Williams, S. Dunn, and T. Marshall regarding fee
        12/16/13      Fisher           0.60    $    330.00 $     198.00
                                                                        petition; gather updated time sheets and breakdown of
31                                                                      disbursements;

                                                                      Worked on motion for award of fees and expenses and researched
                                                                      and analyzed issues regarding same [1.8]; meeting and telephone
        12/16/13    Marshall           4.60    $    375.00 $ 1,725.00
                                                                      conference with co‐counsel regarding review, redaction, and
                                                                      reduction of time records [2.5]; worked on same [.3].
32

                                                                        Prep. for and participate in conference call w/ Marshall, Sarah re
        12/16/13    Zuchetto           2.50    $    330.00 $     825.00 fees/expenses and review same (2.25), discuss same w/ James (.25),
                                                                        work on SLG fee/expense petition and discuss same w/ KB (1.0).
33
                                                                        Office conference with Zuchetto re: Fee Petition (.2); revisions to
        12/17/13    Bergland           4.20    $    190.00 $     798.00 time entries to standardize and consolidate same; preparation of
34                                                                      revised spreadsheets; e‐mail co‐counsel re: same (4.0).


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           A            B             C          D            E                                         F
    1    DATE      TIME KEEPER     HOURS        RATE     LINE TOTAL DESCRIPTION
                                                                   Draft and revise cost sheets for ACLU and Perkins for Section 1988
        12/17/13     Dunne          3.50    $    380.00 $ 1,330.00 fee petition; email correspondence with co‐counsel re same; revise
35                                                                 fee petition; revise Dunne and Williams declarations

                                                                   Worked on presentation of detailed fees [1.4]; telephone
                                                                   conference with co‐counsel regarding same [.1]; worked on motion
        12/17/13    Marshall        5.00    $    375.00 $ 1,875.00
                                                                   for fees and expenses and declarations in support of same [3.3];
                                                                   email correspondence with co‐counsel regarding same [.2].
36
                                                                   Review/edit brief in support of fee petition and email co‐counsel re
        12/17/13    Zuchetto        5.25    $    330.00 $ 1,732.50 same (1.0); review SLG fee/expenses and supporting decl. re same
37                                                                 (1); edit/finalize supporting declaration (3.25).
                                                                      Worked on finalizing all materials in support of motion for fees and
        12/18/13    Marshall        4.80    $    375.00 $ 1,800.00
38                                                                    expenses [4.8].
39                                  85.40                $29,493.00




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               Exhibit A-5
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            COMPLAINT
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 1                                                                                      KING COUNTY
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 5

 6                         SUPERIOR COURT FOR THE STATE OF WASHINGTON
                                     IN AND FOR KING COUNTY
 7

 8   KURT SKAU, on behalf of himself and on behalf
     of others similarly situated,
                                                          NO.
 9
                                Plaintiff,                CLASS ACTION COMPLAINT FOR
10
                                                          DAMAGES
11          v.

12   JBS CARRIERS, INC., a Delaware corporation,
13                              Defendant.
14

15          Plaintiff Kurt Skau brings this action on his own behalf and on behalf of all others
16   similarly situated and alleges as follows:
17                                           I. INTRODUCTION
18          1.1     Nature of Action. Plaintiff Kurt Skau brings this class action against JBS Carriers,
19   Inc. (“Defendant”). Defendant is a truckload transportation company that delivers goods
20   throughout the United States, including the state of Washington. Plaintiff alleges Defendant
21   has engaged in a common course of failing to compensate its Washington-based driver
22   employees for the paid rest breaks to which they are entitled, failing to compensate driver
23   employees for all hours of work, and failing to pay overtime wages.
24                                    II. JURISDICTION AND VENUE
25          2.1     Jurisdiction. Defendant is within the jurisdiction of this Court. Defendant
26   conducts business in Washington. Defendant hires drivers that reside in Washington and have
27
                                                                         TERRELL MARSHALL LAW GROUP PLLC
                                                                              936 North 34th Street, Suite 300
                                                                             Seattle, Washington 98103-8869
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 1   commercial driver’s licenses issued by the state of Washington. Thus, Defendant has obtained
 2   the benefits of the laws of Washington as well as Washington’s commercial and labor
 3   markets.
 4          2.2     Venue. Venue is proper in King County because Defendant operates and
 5   transacts business in King County, and Plaintiff performed work for Defendant in King County.
 6          2.3     Governing Law. The claims asserted on behalf of Plaintiff and Class members in
 7   this complaint are brought solely under state law causes of action and are governed
 8   exclusively by Washington law.
 9                                            III. PARTIES
10          3.1     Plaintiff Kurt Skau. Plaintiff worked for Defendant from approximately
11   November 9, 2015 to May 5, 2017. Plaintiff worked as part of Defendant’s Western Regional
12   fleet and regularly transported goods within the western part of the United States, including
13   the state of Washington. Plaintiff has a commercial driver’s license issued by the state of
14   Washington. During the duration of his employment, Plaintiff was a resident of Port Orchard,
15   Washington. Plaintiff performed work for Defendant in King County, Washington.
16          3.2     Defendant JBS Carriers, Inc. Defendant is a Delaware corporation that is
17   headquartered in Greeley, Colorado and does business in Washington. Defendant is an
18   interstate and regional truckload transportation company that primarily transports meat and
19   poultry products. Defendant maintains a fleet of over 600 trucks and 800 employees.
20   Defendant’s Western Regional fleet operates in the western part of the United States,
21   including the state of Washington. Defendant recruits individuals who reside in Washington to
22   work for the Western Regional fleet. Defendant has employed Plaintiff and hundreds of other
23   Washington-based drivers and has exercised control over how and when those employees
24   were paid.
25

26

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 1                                  IV. CLASS ACTION ALLEGATIONS
 2          4.1     Class Definition. Under Civil Rule 23(a) and (b)(3), Plaintiff brings this case as a
 3   class action against Defendant on behalf of the class defined as follows (the “Class”):
 4                  All current and former employees of JBS Carriers, Inc. who
                    worked as drivers for the company while residing in the state of
 5                  Washington at any time between September 5, 2014 and the
 6                  date of final disposition of this action.

 7   Excluded from the Class are any entity in which Defendant has a controlling interest or that

 8   has a controlling interest in Defendant, and Defendant’s legal representatives, assignees, and

 9   successors. Also excluded are the judge to whom this case is assigned and any member of the

10   judge’s immediate family.

11          4.2     Numerosity. Plaintiff believes that more than one hundred persons have

12   worked as driver employees for Defendant while based in Washington during the proposed

13   class period. The Class members are so numerous that joinder of all members is impracticable.

14   Moreover, the disposition of the claims of the Class in a single action will provide substantial

15   benefits to all parties and the Court.

16          4.3     Commonality. There are numerous questions of law and fact common to

17   Plaintiff and Class members. These questions include, but are not limited to, the following:

18                  a.      Whether Defendant has engaged in a common course of failing to pay

19                          Class members at no less than minimum wage for all hours spent in

20                          mandatory orientation and driver training;

21                  b.      Whether Defendant has engaged in a common course of failing to pay

22                          Class members at no less than minimum wage for all non-driving work

23                          performed;

24                  c.      Whether Defendant has engaged in a common course of failing to pay

25                          Class members overtime compensation for hours worked beyond 40 in

26                          a week;

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 1                  d.      Whether Defendant has engaged in a common course of failing to
 2                          separately pay Class members for rest breaks, whether received or not;
 3                  e.      Whether Defendant has engaged in a common course of failing to keep
 4                          true and accurate time records for all hours worked by Class members;
 5                  f.      Whether Defendant’s failure to pay all wages owed to Class members
 6                          was willful;
 7                  g.      Whether Defendant has violated RCW 49.12.020;
 8                  h.      Whether Defendant has violated WAC 296-126-092;
 9                  i.      Whether Defendant has violated RCW 49.46.090;
10                  j.      Whether Defendant has violated RCW 49.46.130;
11                  k.      Whether Defendant has violated WAC 296-128-012;
12                  l.      Whether Defendant has violated RCW 49.46.040;
13                  m.      Whether Defendant has violated WAC 296-128-010;
14                  n.      Whether Defendant has violated WAC 296-128-011;
15                  o.      Whether Defendant has violated WAC 296-128-020;
16                  p.      Whether Defendant has violated WAC 296-126-040;
17                  q.      Whether Defendant has violated WAC 296-126-050;
18                  r.      Whether Defendant has violated RCW 49.48.010;
19                  s.      Whether Defendant has violated RCW 49.52.050; and
20                  t.      The nature and extent of Class-wide injury and the measure of
21                          compensation for such injury.
22          4.4     Typicality. Plaintiff’s claims are typical of the claims of the Class. Plaintiff has
23   performed work for Defendant as a driver employee while residing in the state of Washington
24   and is thus a member of the Class. Plaintiff’s claims, like the claims of the Class, arise out of
25   the same common course of conduct by Defendant and are based on the same legal and
26   remedial theories.
27
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 1           4.5    Adequacy. Plaintiff will fairly and adequately protect the interests of the Class.
 2   Plaintiff has retained competent and capable attorneys who have significant experience in
 3   complex and class action litigation, including employment law. Plaintiff and his counsel are
 4   committed to prosecuting this action vigorously on behalf of the Class and have the financial
 5   resources to do so. Neither Plaintiff nor his counsel have interests that are contrary to or that
 6   conflict with those of the Class.
 7           4.6    Predominance. Defendant has engaged in a common course of wage and hour
 8   abuse toward Plaintiff and members of the Class. The common issues arising from this
 9   conduct that affect Plaintiff and members of the Class predominate over any individual issues.
10   Adjudication of these common issues in a single action has important and desirable
11   advantages of judicial economy.
12           4.7    Superiority. Plaintiff and Class members have suffered and will continue to
13   suffer harm and damages as a result of Defendant’s unlawful and wrongful conduct. Absent a
14   class action, however, most Class members likely would find the cost of litigating their claims
15   prohibitive. Class treatment is superior to multiple individual suits or piecemeal litigation
16   because it conserves judicial resources, promotes consistency and efficiency of adjudication,
17   provides a forum for small claimants, and deters illegal activities. There will be no significant
18   difficulty in the management of this case as a class action. The Class members are readily
19   identifiable from Defendant’s records.
20                             V. SUMMARY OF FACTUAL ALLEGATIONS
21           5.1    Common Course of Conduct: Failure to Pay for All Hours of Work. Defendant
22   has engaged in a common course of failing to pay Plaintiff and Class members for each hour
23   worked.
24           5.2    Defendant pays its drivers a piece rate for driving work—specifically, a certain
25   amount for each mile driven. Defendant also pays drivers a piece rate for certain other
26   activities.
27
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 1           5.3     Defendant has engaged in a common course of failing to pay Plaintiff and Class
 2   members at least minimum wage for all hours of work performed during mandatory
 3   orientation and driver training. Defendant requires new drivers to attend a mandatory
 4   orientation at Defendant’s headquarters in Greeley, Colorado. Defendant pays drivers a set
 5   weekly rate for this orientation. Defendant also requires new drivers to complete at least
 6   15,000 miles of driver training. Defendant pays drivers a set weekly rate for hours spent
 7   training.
 8           5.4     Defendant has engaged in a common course of failing to pay Plaintiff and Class
 9   members at least minimum wage for all hours spent performing many work activities,
10   including but not limited to pickups, deliveries, waiting and detention time, fueling, scaling,
11   loading, washing and cleaning trailers and tractors, unloading, pre-trip and post-trip
12   inspections, communicating with dispatch, completing paperwork, completing online training
13   courses, assisting new driver orientation, transporting drivers to and from Defendant’s
14   facilities, and moving trailers at Defendant’s facilities.
15           5.5     Defendant has engaged in a common course of encouraging Plaintiff and Class
16   members to perform non-driving work activities while off the clock and in “off-duty” or
17   “sleeper berth” status.
18           5.6     Defendant has had actual or constructive knowledge of the facts set forth in
19   Paragraphs 5.1 through 5.5.
20           5.7     Common Course of Conduct: Failure to Provide Paid Rest Breaks. Defendant
21   has engaged in a common course of failing to provide Plaintiff and Class members with a paid
22   ten-minute rest break for every four hours of work.
23           5.8     Defendant has engaged in a common course of failing to separately pay Class
24   members for rest breaks, whether received or not, at their average hourly rate.
25           5.9     Defendant has had actual or constructive knowledge of the facts set forth in
26   Paragraphs 5.7 through 5.8.
27
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 1           5.10   Common Course of Conduct: Failure to Pay Overtime Wages. Defendant has
 2   engaged in a common course of failing to pay overtime wages to Plaintiff and Class members.
 3           5.11   Defendant has engaged in a common course of failing to pay overtime wages to
 4   Plaintiff and Class members for hours worked in excess of forty hours per week. Defendant’s
 5   piece-rate compensation system fails to pay drivers the reasonable equivalent of overtime
 6   pay.
 7           5.12   Defendant has had actual or constructive knowledge of the facts set forth in
 8   Paragraphs 5.10 through 5.11.
 9           5.13   Common Course of Conduct: Failure to Maintain and Provide Accurate Wage
10   Statements. Defendant has engaged in a common course of failing to keep true and accurate
11   time records for all hours worked by Plaintiff and Class members.
12           5.14   Defendant has engaged in a common course of failing to provide proper payroll
13   documents to Plaintiff and Class members.
14           5.15   Defendant has had actual or constructive knowledge of the facts set forth in
15   Paragraphs 5.13 through 5.14.
16                                   VI. FIRST CLAIM FOR RELIEF
                         (Violations of RCW 49.12.020 and WAC 296-126-092 —
17
                                  Failure to Provide Paid Rest Periods)
18
             6.1    Plaintiff realleges and incorporates by reference each and every allegation set
19
     forth in the preceding paragraphs.
20
             6.2    RCW 49.12.010 provides that “[t]he welfare of the state of Washington
21
     demands that all employees be protected from conditions of labor which have a pernicious
22
     effect on their health. The state of Washington, therefore, exercising herein its police and
23
     sovereign power declares that inadequate wages and unsanitary conditions of labor exert
24
     such pernicious effect.”
25

26

27
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 1          6.3     RCW 49.12.020 provides that “[i]t shall be unlawful to employ any person in
 2   any industry or occupation within the state of Washington under conditions of labor
 3   detrimental to their health.”
 4          6.4     Under RCW 49.12.005 and WAC 296-126-002, “conditions of labor” “means
 5   and includes the conditions of rest . . . periods” for employees.
 6          6.5     WAC 296-126-092 provides that employees shall be allowed certain paid rest
 7   periods during their shifts.
 8          6.6     Under Washington law, Defendant has an obligation to separately pay
 9   employees for each rest break to which they are entitled, regardless of whether the
10   employees receive those rest breaks.
11          6.7     By the actions alleged above, Defendant has violated the provisions of RCW
12   49.12.020 and WAC 296-126-092.
13          6.8     As a result of the unlawful acts of Defendant, Plaintiff and members of the
14   Class have been deprived of compensation in amounts to be determined at trial, and Plaintiff
15   and members of the Class are entitled to the recovery of such damages, including interest
16   thereon, attorneys’ fees under RCW 49.48.030, and costs.
17                                 VII. SECOND CLAIM FOR RELIEF
                  (Violation of RCW 49.46.090 — Payment of Wages Less than Entitled)
18
            7.1     Plaintiff realleges and incorporates by reference each and every allegation set
19
     forth in the preceding paragraphs.
20
            7.2     RCW 49.46.020 provides that every employer shall pay its employees not less
21
     than the minimum hourly wage in effect at the time the work is performed.
22
            7.3     RCW 49.46.090 provides that “[a]ny employer who pays any employee less
23
     than wages to which such employee is entitled under or by virtue of [the Minimum Wage Act],
24
     shall be liable to such employee affected for the full amount of such wage rate, less any
25
     amount actually paid to such employee by the employer, and for costs and such reasonable
26
     attorney's fees as may be allowed by the court.”
27
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 1          7.4     By the actions alleged above, Defendant has violated the provisions of RCW
 2   49.46.090.
 3          7.5     As a result of the unlawful acts of Defendant, Plaintiff and members of the
 4   Class have been deprived of compensation in amounts to be determined at trial, and Plaintiff
 5   and members of the Class are entitled to the recovery of such damages, including interest
 6   thereon, as well as attorneys’ fees and costs under RCW 49.46.090.
 7                                  VIII. THIRD CLAIM FOR RELIEF
                    (Violations of RCW 49.46.130 – Failure to Pay Overtime Wages)
 8
            8.1     Plaintiff realleges and incorporate by reference each and every allegation set
 9
     forth in the preceding paragraphs.
10
            8.2     RCW 49.46.130 provides that “no employer shall employ any of his employees
11
     for a workweek longer than 40 hours unless such employee receives compensation for his
12
     employment in excess of the hours above specified at a rate not less than one and one-half
13
     times the regular rate at which he is employed.”
14
            8.3     RCW 49.46.130 (f) excludes an individual employed as a truck or bus driver who
15
     is subject to the provisions of the Federal Motor Carrier Act (49 U.S.C. Sec. 3101 et seq. and 49
16
     U.S.C. Sec. 10101 et seq.), if the compensation system under which the truck or bus driver is
17
     paid includes overtime pay, reasonably equivalent to that required by this subsection, for
18
     working longer than forty hours per week. Upon information and belief, Defendant did not
19
     employ a “reasonably equivalent” method to pay overtime to Plaintiff and Class members.
20
            8.4     WAC 296-128-012 provides a method for compensating truck drivers for
21
     overtime pay. Defendant did not compensate Plaintiff and Class members for overtime hours
22
     worked.
23
            8.5     By the actions alleged above, Defendant has violated the provisions of RCW
24
     49.46.130.
25
            8.6     As a result of the unlawful acts of Defendant, Plaintiff and members of the
26
     Class have been deprived of compensation in amounts to be determined at trial, and Plaintiff
27
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 1   and members of the Class are entitled to recovery of such damages, including interest
 2   thereon, as well as attorneys’ fees and costs under RCW 49.46.090.
 3                                  IX. FOURTH CLAIM FOR RELIEF
                    (Violation of RCW 49.48.010 — Unpaid Wages on Termination)
 4
            9.1     Plaintiff realleges and incorporates by reference each and every allegation set
 5
     forth in the preceding paragraphs.
 6
            9.2     RCW 49.48.010 provides that “[w]hen any employee shall cease to work for an
 7
     employer, whether by discharge or by voluntary withdrawal, the wages due him or her on
 8
     account of his or her employment shall be paid to him or her at the end of the established pay
 9
     period.” The statute further provides that “[i]t shall be unlawful for any employer to withhold
10
     or divert any portion of an employee’s wages . . . .”
11
            9.3     By the actions alleged above, Defendant has violated the provisions of RCW
12
     49.48.010 by failing to pay wages to Plaintiff and Class members for rest breaks, by failing to
13
     pay wages to Plaintiff and Class members for all hours of work, and by failing to pay overtime
14
     wages to Plaintiff and Class members.
15
            9.4     As a result of the unlawful acts of Defendant, Plaintiff and members of the
16
     Class have been deprived of compensation in amounts to be determined at trial, and Plaintiff
17
     and members of the Class are entitled to the recovery of such damages, including interest
18
     thereon, attorneys’ fees under RCW 49.48.030, and costs.
19
                                     X. FIFTH CLAIM FOR RELIEF
20
                     (Violation of RCW 49.52.050 — Willful Deprivation of Wages)
21
            10.1    Plaintiff realleges and incorporates by reference each and every allegation set
22
     forth in the preceding paragraphs.
23
            10.2    RCW 49.52.050(2) provides that “[a]ny employer or officer, vice principal or
24
     agent of any employer . . . who . . . [w]ilfully and with intent to deprive the employee of any
25
     part of his or her wages, shall pay any employee a lower wage than the wage such employer is
26

27
                                                                        TERRELL MARSHALL LAW GROUP PLLC
                                                                             936 North 34th Street, Suite 300
                                                                            Seattle, Washington 98103-8869
     CLASS ACTION COMPLAINT FOR DAMAGES - 10                              TEL. 206.816.6603 • FAX 206.319.5450
                                                                                 www.terrellmarshall.com
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 1   obligated to pay such employee by any statute, ordinance, or contract” shall be guilty of a
 2   misdemeanor.
 3          10.3    Defendant’s violations of RCW 49.12.020, WAC 296-126-092, RCW 49.46.090,
 4   RCW 49.46.130, and RCW 49.48.010 as discussed above, were willful and constitute violations
 5   of RCW 49.52.050.
 6          10.4    RCW 49.52.070 provides that any employer who violates the provisions of RCW
 7   49.52.050 shall be liable in a civil action for twice the amount of wages withheld, attorneys’
 8   fees, and costs.
 9          10.5    As a result of the willful, unlawful acts of Defendant, Plaintiff and members of
10   the Class have been deprived of compensation in amounts to be determined at trial and
11   Plaintiff and members of the Class are entitled to recovery of twice such damages, including
12   interest thereon, as well as attorneys’ fees and costs under RCW 49.52.070.
13                                        XI. PRAYER FOR RELIEF
14          WHEREFORE, Plaintiff, on his own and on behalf of the members of the Class, prays for
15   judgment against Defendant as follows:
16          A.      Certify the proposed Class;
17          B.      Appoint Plaintiff as representative of the Class;
18          C.      Appoint the undersigned attorneys as counsel for the Class;
19          D.      Aware compensatory and exemplary damages to Plaintiff and Class members
20                  for violation of Washington’s wage and hour laws, in amounts to be proven at
21                  trial;
22          E.      Award attorneys’ fees and costs to Plaintiff and Class members, as allowed by
23                  law;
24          F.      Award prejudgment and post-judgment interest to Plaintiff and Class members,
25                  as provided by law;
26

27
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 1          G.     Permit Plaintiff and members of the Class leave to amend the complaint to
 2                 conform to the evidence presented at trial; and
 3          H.     Grant such other and further relief as the Court deems necessary, just, and
 4                 proper.
 5          RESPECTFULLY SUBMITTED AND DATED this 5th day of September, 2017.
 6                                             TERRELL MARSHALL LAW GROUP PLLC
 7

 8                                             By: /s/ Toby J. Marshall, WSBA #32726
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20                                             Attorneys for Plaintiff
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JS 44 (Rev. 06/17)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
KURT SKAU, on behalf of himself and on behalf of others similarly                                           JBS CARRIERS, INC.
situated
   (b) County of Residence of First Listed Plaintiff King County                                              County of Residence of First Listed Defendant              Delaware
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
See Attachment A                                                                                            See Attachment A



II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1       u 1       Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 490 Cable/Sat TV
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)           u 850 Securities/Commodities/
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))               Exchange
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 890 Other Statutory Actions
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))               u 891 Agricultural Acts
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 893 Environmental Matters
                                             Medical Malpractice                                            Leave Act                                                     u 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS                    Act
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 896 Arbitration
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)             u 899 Administrative Procedure
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party                  Act/Review or Appeal of
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609                     Agency Decision
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                       u 950 Constitutionality of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          State Statutes
                                             Employment                 Other:                       u 462 Naturalization Application
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 U.S.C. § 1332; 28 U.S.C. § 1367
VI. CAUSE OF ACTION Brief description of cause:
                                           Plaintiff alleges failure to pay wages owed under state law
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
10/05/2017                                                              /s/ Michael Killeen
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
Case 2:18-cv-00681-RAJ
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Jonathon Watson (Pro Hac Vice application forthcoming)
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 5

 6                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 7                                                AT SEATTLE
 8
      KURT SKAU, on behalf of himself and on
 9    behalf of others similarly situated,                     No.
10                                      Plaintiff,             CERTIFICATE OF SERVICE
11              v.
12    JBS CARRIERS, INC., a Delaware corporation,
13                                      Defendant.
14

15              I hereby certify that on October 5, 2017, I electronically filed a Notice of Removal,
16
      Certificate of Filing, Civil Cover Sheet, Verification of State Court Records, Defendant’s
17
      Corporate Disclosure Statement, and this Certificate of Service with the Clerk of the Court
18
      using the CM/ECF system and served copies of such filings to the following in the manner
19

20    noted below:

21       TERRELL MARSHALL LAW GROUP LLC                      ☐   Via Legal Messenger
         Toby J. Marshall, WSBA # 32726                      ☐   U.S. Mail, postage prepaid
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                                                                                   Davis Wright Tremaine LLP
     4848-4905-2497v.1 0036800-000002                                                       L AW O F FI CE S
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                                                                                        Seattle, WA 98101-3045
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 4        Seattle, WA 98109
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 5        Facsimile: (206) 577-3924
 6

 7
                DATED this 5th day of October 2017.
 8

 9

10                                                Davis Wright Tremaine LLP
11                                                By: /s/ Michael J. Killeen
12                                                    Michael J. Killeen, WSBA # 7837
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                                                  Sherman & Howard LLC
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19                                                    Jonathon Watson (Pro Hac Vice application
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23    .
                                                  Attorneys for Defendant JBS Carriers, Inc.
24

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                                        CERTIFICATE OF SERVICE
 1

 2              I hereby declare under penalty of perjury under the laws of the State of Washington that
 3    on October 5, 2017, I electronically filed the foregoing with the Clerk of the Court using the
 4    CM/ECF system and served a copy of such filing to the following in the manner noted below:
 5
         TERRELL MARSHALL LAW GROUP LLC                     ☐   Via Legal Messenger
 6                                                          ☐   U.S. Mail, postage prepaid
         Toby J. Marshall, WSBA # 32726
         Email: tmarshall@terrellmarshall.com               ☐   Federal Express
 7                                                          ☐   Facsimile
         Maria Hoisington-Bingham, WSBA # 51493             ☐   E-Serve Application
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         REKHI & WOLK, P.S.                                 ☐   Via Legal Messenger
12       Hardeep S. Rekhi, WSBA #34579                      ☐   U.S. Mail, postage prepaid
         Email: Hardeep@rekhiwolk.com                       ☐   Federal Express
13                                                          ☐   Facsimile
         Gregory A. Wolk, WSBA #28946                       ☐   E-Serve Application
         Email: greg@rekhiwolk.com                          ☒   Email
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15       Seattle, WA 98109
         Telephone: (206) 388-5887
16       Facsimile: (206) 577-3924
17
                DATED this 5th day of October 2017.
18
                                                     /s/ Daniela Najera
19                                                   Daniela Najera, Legal Secretary
20

21

22

23

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25

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27
     CERTIFICATE OF SERVICE - 3
                                                                                  Davis Wright Tremaine LLP
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                   Exhibit C
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                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 2                                        AT SEATTLE

 3   KURT SKAU, on behalf of himself and on      )
     behalf of others similarly situated,        )
 4                                               )           No.
                           Plaintiff,            )
 5                                               )           DECLARATION OF DARRIN
           v.                                    )           TAYLOR IN SUPPORT OF
 6                                               )           DEFENDANT JBS CARRIERS,
     JBS CARRIERS, INC., a Delaware corporation, )           INC'S NOTICE OF REMOVAL
 7                                               )
                           Defendant.            )
 8   ~~~~~~~~~~~~~~~~-)
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10            I, Darrin Taylor, declare:

11            1.      I am the Director of Sales & Regional Operations for Defendant, JBS Carriers,

12   Inc. ("JBS Carriers"). As Director of Sales & Regional Operations and in preparation for this

13   declaration, I reviewed Mr. Skau's settlement sheets, paycheck stubs, and his available Hours

14   of Service Logs ("HOS Logs"). I have personal knowledge of the facts stated herein and if

15   called to testify thereto could do so competently.

16
              2.     This declaration sets forth information I have compiled from other corporate
17   depaiiments located here in Greeley, Colorado. This information is maintained in the ordinary
18
     course of business, was prepared at or near the time of events or matters described therein, and
19   records such data accurately. I have access, either directly or indirectly, to these business and
20
     corporate records in the ordinary course of business, and I periodically refer to them.
21
              3.      JBS Carriers employs over the road truck drivers who transport product from
22
     production facilities to customers throughout the United States. Much of the product
23
     transported is animal proteins and agricultural products produced by a related entity, JBS USA
24
     Food Company ("JBS"). JBS Carriers is headquartered in Greeley, Colorado and does not have
25
     any offices or terminals in Washington. The majority of JBS Carriers' administrative functions
26
27   DECLARATION OF DARRIN TAYLOR IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC. 'S NOTICE OF
     REMOVAL                                                                    Davis Wright Tremaine LLP
     46827062.1                                                                          LAW OFFICES
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 1   (including that of legal, payroll, human resources, operation, and planning) are conducted in

 2   Greeley, Colorado. Greeley, Colorado is where the actual center of direction, control, and

 3   coordination for JBS Carriers takes place. JBS Carriers' principal place of business is in

 4   Colorado.

 5            4.    Plaintiff Kurt Skau was a resident of Washington during his employment with
 6   JBS Carriers, and I do not have any reason to believe Plaintiff is no longer a resident of
 7   Washington. Plaintiff was employed by JBS Carriers from November 9, 2015 until May 5,
 8   2017.
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              5.    Drivers at JBS Carriers are paid on a per-trip basis, determined by factors
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     including the length of the haul, and the driver's base per-mile rate, which varies depending on
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     the level of experience and the length of the trip.
12
              6.    Pursuant to Department of Transportation ("DOT") regulations, JBS Carriers
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     maintains a detailed HOS Log for rolling six month periods. The HOS Log is an electronic
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     record of drivers' daily activities, as recorded into four primary categories; (1) off duty, (2)
15
     sleeper birth; (3) driving; and (4) on duty, not driving. The HOS Log is a requirement of DOT
16
     regulations.
17

18            7.    Mr. Skau filed his Complaint on September 5, 2017, and given a reasonable

19   amount of time after service occurred, JBS Carriers stopped the six month period from

20   continuing to roll. Therefore, the most accurate records of Mr. Skau's hours of service date

21   from March 26, 2017 to May 1, 2017 (Mr. Skau's last day of driving).

22            8.    By analyzing JBS Carriers' records, I calculate Mr. Skau earned an average
23   hourly rate of approximately $25.81 per hour. I calculated this number based on the five weeks
24   of Mr. Skau's available HOS Log (from March 26, 2017 until May, 1 2017), excluding one
25   week in which Mr. Skau did not work. Based on this data, I divided the total gross pay for the
26   same time period ($5,047.37) by the total number of hours that Mr. Skau worked (195.53
27   DECLARATION OF DARRIN TAYLOR IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC.'S NOTICE OF
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     hours). Dividing $5,047.37 by 195.53 hours equals approximately $25.81, which 1s a

 2   reasonable estimate of Mr. Skau's hourly pay.

 3            9.        By analyzing Plaintiffs HOS       Log,   I calculate that Mr.           Skau spent
 4   approximately three hours per week working, but not driving. This number was calculated by
 5   reviewing the HOS Log data from the five week period, and excluding the week Mr. Skau did
 6   not work. As noted above, the HOS Log indicates how much time Plaintiff spent driving and
 7   also working, but not driving. Using the HOS Log, I first totaled all of the time Mr. Skau spent
 8   working, but not driving, which amounted to 13 .02 hours, or 781.2 minutes. I then divided that
 9   number by the days Mr. Skau worked in the period (30), which equals approximately 26.04
10   minutes per day of on duty, not driving time. Next, I multiplied the average minutes per day of
11   on duty, not driving time (26.04) by seven days to get the weekly average (182.28 minutes).
12   Based on the above calculations, I determined that Mr. Skau spent an average of three hours per
13   week working, but not driving (182.28 minutes divided by 60 minutes per hour).
14
                  10.   Also by analyzing Mr. Skau's HOS Log, I calculate that Mr. Skau worked an
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     average of 49 hours per week. (This number combines the time Mr. Skau spent driving and the
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     time spent working, but not driving.) I calculated this number by analyzing the available HOS
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     Log data from the five week period, excluding the week Mr. Skau did not work. Using this data
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     I totaled all of the time Mr. Skau spent working (195.53 hours) and divided it by the number of
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     weeks Mr. Skau worked (4 weeks), Based on the above calculations, I determined that Mr.
20
     Skau spent an average of 49 hours per week working.
21
              11.       Based on Mr. Skau's available HOS Logs, I estimate that he drove 10,410 miles
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     during the five week period of March 26, 201 7 to May 1, 2017. As noted above, Mr. Skau
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     worked approximately 195.53 hours during this period, which includes both on duty driving
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     and on duty, not driving time. Thus, I estimate that Mr. Skau traveled approximately 53 miles
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     per hour during the period in which his HOS Logs are available.
26

27   DECLARATION OF DARRIN TAYLOR IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC.'S NOTICE OF
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     II


                       I declare under penalty of perjury under the laws of the United Stutes that the foregoing
 2        is true and correct.

 3                     Executed    at                                                                                             on

 4
          September..l~ 2017.
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27        DECLARATION OF DARRIN TAYLOR IN SUPPORT
          OF DEFENDANT JBS CARRIERS, INC.'S NOTICE OF
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                   Exhibit D
               Case 2:18-cv-00681-RAJ
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 2                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHING TON
 3                                         AT SEATTLE

 4   KURT SKAU, on behalf of himself and on             )
     behalf of others similarly situated,               )
 5                                                      )    No.
                                  Plaintiff,            )
 6                                                      )    DECLARATION OF MICHAEL
               v.                                       )    McQUADE IN SUPPORT OF
 7                                                      )    DEFENDANT JBS CARRIERS,
     JBS CARRIERS, INC., a Delaware corporation, )           INC'S NOTICE OF REMOVAL
 8                                               )
                           Defendant.            )
 9                                                      )
10

11             I, Michael McQuade, declare:

12                 1.   I am the Human Resources Director for Defendant, JBS Carriers, Inc. ("JBS
13
     Carriers"). In my role as Human Resources Director, I oversee all human resources operations
14
     for JBS Carriers.      As Human Resources Director and in preparation for this declaration, I
15
     reviewed Mr. Skau's personnel file and other documents relating to Mr. Skau. As such, I have
16
     personal knowledge of the facts stated herein and if called to testify thereto could do so
17   competently.
18
               2.       This declaration sets forth information I have compiled from other corporate
19
     departments located here in Greely, Colorado. This information is maintained in the ordinary
20
     course of business, was prepared at or near the time of events or matters described therein, and
21
     records such data accurately. I have access, either directly or indirectly, to these business and
22
     corporate records in the ordinary course of business, and I periodically refer to them.
23
               3.       JBS Carriers is a subsidiary of Swift Brands Company, which falls under the
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     JBS USA Food Company ("JBS") umbrella. JBS is a food processing company with plants
25
     around the country.       JBS Carriers employs over the road truck drivers who, in large part,
26
27   DECLARATION OF MICHAEL MCQUADE IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC. 'S NOTICE OF
     REMOVAL                                                                    Davis Wright Tremaine LLP
     46816360. l                                                                         LAW OFFICES
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                                                                              206.622.l 150 main· 206.757.7700 fax
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     transport JBS' animal protein and agricultural products from production facilities to customers

 2   throughout the United States. JBS Carriers operates nationwide.

 3             4.    JBS and JBS Carriers are both headquartered in Greeley, Colorado. Almost all
 4   of JBS Carriers' human resources, payroll, accounting, hiring, recruiting, and training
 5   personnel are located and operated out of Greeley, Colorado. The only exception is that JBS
 6   Carriers employs one recruiter in Green Bay, Wisconsin and Hyrum, Utah, and one billing
 7   specialist in Texas. As JBS CmTiers' HR Director, my office is located in Greeley, Colorado.
 8   JBS Carriers' principal place of business is in Colorado.
 9
               5.   Plaintiff Kurt Skau was a resident of Washington during his employment with
10
     JBS Carriers, and I do not have any reason to believe plaintiff is no longer a resident of
11
     Washington. Plaintiff was employed by JBS Carriers from November 9, 2015 until May 5,
12
     2017.
13
               6.   Every new driver, including Mr. Skau attends an orientation program that occurs
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     m Greeley, Colorado. The orientation program offered to new drivers of JBS Carriers is
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     approximately four days long, with drivers arriving on Monday and being relieved of work at
16
     varying times throughout the day on Thursday. The length of orientation is between 24-32
17
     hours, depending on the driver.
18

19             7.   In addition to the orientation program, some drivers also participate in a driving

20   training program, known as the "Trainee/Mentor Program." The Trainee/Mentor Program pairs

21   new drivers with a mentor for approximately 15,000 miles. The number of miles required

22   varies depending on the new driver's experience and development. Generally, it takes new

23   drivers 5 weeks to complete the training, but, again, it can take more or less time depending on

24   the experience and development of each individual. Once the new driver completes the

25   Trainee/Mentor Program, he is offered routes to drive on his own.

26
27   DECLARATION OF MICHAEL MCQUADE IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC.'S NOTICE OF
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               I declare under penalty of perjury under the laws of the United States that the foregoing
 2   is true and correct.

 3             Executed     at                                                                                          on
     September 2..<\ , 2017.
 4

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 6
                                                            Michael McQuade
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27   DECLARATION OF MICHAEL MCQUADE IN SUPPORT
     OF DEFENDANT JBS CARRIERS, INC. 'S NOTICE OF
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